Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 1 of 475




  wilderness at less than 5% on the forest. The analysis does not describe the very significant
  contributions the proposed wilderness additions make to expanding representation of these
  ecosystems.

  The Butterfly Creek and Miller Creek components at the north end of the Sangres are
  particularly valuable wilderness additions for their contribution of Rocky Mountain Gambel
  Oak-Mixed Montane Shrubland to the range of ecological representation within Rio Grande
  National Forest wilderness areas. This is a very poorly represented ecosystem both within the
  Rio Grande as well as nationally. Wilderness designation of these two additions will bring
  representation of this oak savanna ecosystem to over 20% on the forest. The rare oak savanna at
  the lowest elevations of the Butterfly Creek and Miller Creek additions lies within the Sangres
  Alluvial Fan Potential Conservation Area, ranked by the Colorado Natural Heritage Program as
  High Biodiversity Significance. The Sangres Alluvial Fan PCA supports an excellent and large
  occurrence of an unusual association of Gambel's oak (Quercus gambelii) with needle-and-
  thread grass (Hesperostipa comata), the only documented occurrence in the world. In addition,
  the creeks that run through the savanna from the Sangre de Cristo mountains exhibit unusually
  high-quality occurrences of riparian forest dominated by either aspen or oak.

  The Butterfly Creek and Miller Creek addition bring the Sangre de Cristo Wilderness boundary
  to a more logical contour along the range’s lower slopes in the northern San Luis Valley. Large
  undulating alluvial fans characterize the wilderness additions, and a rare oak savanna ecosystem
  occurs across the lower slopes and riparian corridors of the two areas. It also includes sagebrush
  habitat for the only population of Gunnison sage grouse in the San Luis Valley. The addition
  creates a continuous wilderness ecosystem transition from sagebrush, oak and grasslands at the
  foot of the range through aspen and spruce-fir forests to the alpine ecosystems near and at the
  crest of the Sangre de Cristo mountains.

  The Crestone and Cotton Creek addition contains significant ecological values that should be
  incorporated into the analysis. This section of proposed wilderness spans six Potential
  Conservation Areas (PCA) identified by the Colorado Natural Heritage Program. Each of these
  incorporates several miles of drainages that possess uncommon riparian forest and streamside
  ecological communities in excellent condition.
      • Starting at the northernmost end of the addition, Valley View PCA is a site of High
         Biodiversity Significance that includes the slopes and stream bottom of Hot Springs
         Canyon. The site was identified because of the excellent example of bristle cone pine
         distributed throughout the canyon.
      • The Garner Creek PCA supports a dense stand of Douglas-fir with an understory of
         Rocky Mountain maple. Garner Canyon is wider than most of the other gorges draining
         the western flank of the Sangre de Cristo Mountains, and the valley bottom is less steep.
         It is of Moderate Biodiversity Significance.
      • The lower end of the Cotton Creek PCA includes a streamside community that is a very
         diverse collection of aspen, river birch, Rocky Mountain maple, Drummond's willow, and
         Woods rose. A key feature of the Cotton Creek PCA is its unusually healthy and large
         stands of river birch occurring in a high-quality montane riparian forest, along with
         adjacent foothills riparian shrubland. It ranks as a site of High Biodiversity Significance.


                                                  21

                                                                       Rvsd Plan - 00005093
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 2 of 475




     •   The addition includes the lower segment of the Wild Cherry Creek PCA, where a good
         example of a quaking aspen and red-osier dogwood community fills the canyon and ranks
         as Moderate Biodiversity Significance.
     •   The upper portion of Rito Alto Bosque PCA is located within the wilderness addition and
         ranks as High Biodiversity Significance. Extensive stands of aspen/western birch and
         narrow-leaf cottonwood/western birch riparian forests line the riparian corridor that
         extends along the alluvial fan from the mouth of Rito Alto Canyon.
     •   The Dimick Gulch PCA is the highest ranked site within the wilderness addition, and is
         considered of Very High Biodiversity Significance. The entirety of this 1,747-acre
         conservation area is situated within the proposed wilderness addition. The site contains
         very uncommon narrowleaf cottonwood and Rocky Mountain juniper dominated riparian
         areas, and occurs here because of the narrow character of this steep-sided canyon.

  As to be expected with the abundance of lower elevation slopes along the foot of the Sangre de
  Cristo range, the Cotton Creek-Crestone addition would significantly contribute to several
  ecosystem types most under-represented within the Rio Grande’s existing designated wilderness.
  The most substantial increases in ecological representation occur for Southern Rocky Mountain
  Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland, and
  Southern Rocky Mountain Pinyon-Juniper Woodland. Collectively, the addition would add over
  6,000 acres of these poorly represented ecosystem types for which less than 5% of available
  acreage is presently contained within designated wilderness.

  The Kit Carson Peak addition also spans another six Potential Conservation Areas identified by
  the Colorado Natural Heritage Program. These encompass each of the primary drainages that
  flow west off the crest of the Sangres - Willow Creek, Spanish Creek, Cottonwood Creek, and
  Deadman Creek. As with the drainages farther north of Crestone, the biodiversity values are
  associated with healthy riparian corridors.
      • The upper portion of the Willow Creek-Western Sangres PCA in Copper Gulch is located
         within the proposed wilderness addition. The PCA is ranked as High Biodiversity
         Significance, but primarily for a narrowleaf cottonwood-Rocky Mountain juniper
         woodland at the lowest elevations below the proposed wilderness. At the elevation of
         subalpine forest within the potential wilderness unit, the riparian corridor is a mixed
         conifer and deciduous forest and shrubland that includes Douglas-fir, white fir, blue
         spruce, Engelmann spruce, aspen, Rocky Mountain maple, and mountain spray.
      • The Head of Spanish Creek PCA site encompasses the ridge and south-facing open
         slopes above Spanish Creek and below Challenger Point, and is entirely within the
         proposed wilderness. This 110-acre site is ranked as High Biodiversity Significance for a
         globally rare mustard species.
      • The entire length of the Spanish Creek drainage comprises the Spanish Creek PCA, most
         of which is located within the proposed wilderness. This is a site of Very High
         Biodiversity Significance owing to its narrowleaf cottonwood-Rocky Mountain juniper
         montane riparian forest. The upstream watershed is included within the site boundary to
         protect the floodplain and the sources of both surface and groundwater recharge and flow,
         which are responsible for supplying water to the riparian plant community.
      • Cottonwood Creek-Western Sangres is another PCA of Very High Biodiversity
         Significance, also for its globally imperiled narrowleaf cottonwood-Rocky Mountain

                                                22

                                                                    Rvsd Plan - 00005094
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 3 of 475




         juniper montane riparian forest. In addition, the site includes a Douglas fir-water birch
         community, which is considered globally rare. As with Spanish Creek, the majority of the
         PCA is within the proposed wilderness, and the upstream watershed is included to protect
         water sources.
     •   The central portion of the Deadman Creek-Western Sangres PCA is located within the
         proposed wilderness. Deadman Creek is ranked as Very High Biodiversity Significance
         owing to the state’s exemplary and largest occurrence of narrowleaf cottonwood-Rocky
         Mountain juniper montane riparian forest. The PCA also includes an excellent example
         of aspen-Rocky Mountain maple, a breeding colony of the pale lump-nosed bat and a
         hybridized Rio Grande cutthroat trout population.
     •   Cedar Canyon is another PCA with a quality example of narrowleaf cottonwood-Rocky
         Mountain juniper montane riparian forest. It is also ranked Very High Biodiversity
         Significance. The creek is a clear stream that runs over the alluvial fan at the canyon’s
         mouth.

  The narrative should mention that the Kit Carson Peak addition greatly improves wilderness
  manageability by placing the wilderness boundary on a topographic contour rather than the
  straight-line and 90-degree corner that the current boundary follows as a historic remnant of the
  prior national forest/private land boundary. The Baca Mountain Tract acquisition eliminated this
  artificial boundary and provided the Rio Grande NF with the opportunity to propose a more
  sensible wilderness boundary.

  The narrative appropriately describes in detail the cultural significance of the Blanca Peak
  addition to native tribes. In addition to the cultural significance, the proposed Blanca Peak
  addition enhances the ecological effectiveness of the Sangre de Cristo Wilderness by expanding
  the size of the protected area. It specifically interconnects to the Huerfano River headwaters and
  Lily Lake on Blanca Peak’s northern slope on the adjacent Pike-San Isabel National Forest,
  creating overarching protection for the entirety of the Blanca Peak massif when considered in
  conjunction with the conserved lands on the adjacent Trinchera Ranch to the south. See more
  below under “Blanca Peak Area Recommended Wilderness Addition.

  The proposed Sangres wilderness addition collectively includes a large expanse of diverse
  watersheds. Some receive substantial recreational use, such as the access to Kit Carson Peak, but
  the many other drainages are lightly used, topographically isolated and provide outstanding
  solitude.

  The narrative includes in its description of social characteristics a misleading and inaccurate
  statement that the popular Lake Como road accessing Blanca Peak is within the area. The Lake
  Como jeep road is excluded from the analysis area that is proposed for wilderness, and is
  managed for dispersed recreation in the proposed plan. The Rio Grande National Forest Draft
  Wilderness Evaluation Report (Sept 2016) is specific about this point, noting that NFSR 975
  (Lake Como Road) is outside and adjacent to the proposed wilderness.


     E. MANAGEMENT OF RECOMMENDED WILDERNESS


                                                  23

                                                                       Rvsd Plan - 00005095
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 4 of 475




  We support the management strategy for recommended wilderness areas, and not allowing
  motorized or mechanized uses within these areas. This approach is consistent with the agency’s
  obligation to manage those areas to preserve their suitability for wilderness designation by
  Congress. See 36 C.F.R. § 219.10(b)(1) (plans must “protect and maintain the ecological and
  social characteristics that provide the basis for [a recommended wilderness area’s] suitability for
  wilderness designation”); FSM 1923.03(3) (“Any area recommended for wilderness . . .
  designation is not available for any use or activity that may reduce [its] wilderness potential.”).


    F. BLANCA PEAK AREA RECOMMENDED WILDERNESS ADDITION

  We support the proposal to recommend adding land to the Sangre de Cristo Wilderness west of
  Mt Blanca.

  As proposed in alternative B, the GIS data provided by the RGNF indicates that the end segment
  of the Mt Blanca road #975 would be closed at a point (37°34'13.02"N3 105°31'30.94"W)
  approximately 0.54 miles before its current designated end point at the west shore of Lake
  Como.

  This action would help protect Lake Como and the riparian area around it. It would also help
  protect additional land and forage for Bighorn Sheep in a CPW identified summer concentration
  area.

  Closing this segment of road would further enhance the safety and desired experiences of the
  estimated 1000-3000 individuals who hike on this route and trail 886 to climb Mt. Blanca each
  year. The vast majority of these individuals hike road 975 from points far below and to the
  west. Due to the rough and extreme nature of Forest Road 975, it is possible that foot travel
  exceeds motor vehicle travel on this route.

  This proposal could help prevent the continued unauthorized motorized use that is regularly
  occurring beyond Como Lake. Closing the road at the proposed point would offer the advantage
  of a more defensible and enforceable pinch point than that which currently exists at the lake.

  It would also remove about 460 yards of motorized use that appears to be intruding within the
  existing designated Sangre de Cristo Wilderness area boundary. Segments of this road appear to
  be up to 70 yards inside the designated Wilderness boundary.

  Existing conditions on the ground and use are resulting in unauthorized motor vehicle use within
  a designated Wilderness area. By law, non-emergency motorized use is not permitted in
  designated Wilderness areas.

  We believe that the evidence presented below indicates that the current Conejos Peak District
  MVUM is improperly suggesting and facilitating unauthorized motorized use in a designated
  Wilderness area. It also indicates that the existing route on the ground is located within the

                                                  24

                                                                       Rvsd Plan - 00005096
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 5 of 475




  designated Wilderness area. Motorized users are violating the Wilderness Act, and causing
  significant negative impacts upon Wilderness characteristics, by driving on the road all the way
  to Como Lake.

  We strongly support the proposal to correct this situation by closing the road before it enters the
  Wilderness Area.

                           Current Sangre de Cristo Wilderness Area




  Road shown in red intruding into Wilderness. All data used is USFS GIS data from RGNF Alt.
  B, USFS GIS Data Clearinghouse, and the MVUM.




  Red wilderness line USGS GIS data overlayed on USGS map




                                                                      25

                                                                           Rvsd Plan - 00005097
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 6 of 475




  Existing road in red with mapped and currently existing and used road on the ground in relation
  to Wilderness Boundary




  Location of the road as depicted on the MVUM, the Wilderness boundary line, and with actual
  route alignment (red) with common public names for features and obstacles/ You can see that
  the depicted (and currently existing and used) road on this map clearly crosses into the existing
  Wilderness area.


     G. SUMMARY OF OUR RECOMMENDATIONS



                                                  26

                                                                       Rvsd Plan - 00005098
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 7 of 475




  The RGNF should adopt the wilderness recommendations in Alternative D in the final plan and
  Record of Decision.

  The final EIS must recognize and analyze the significant ecological benefits associated with
  recommended wilderness and other conservation designations and integrate that information into
  the analysis of alternatives for recommended wilderness and into the analysis of how the plans
  provide for ecological sustainability, ecosystem integrity, species diversity, and climate change
  adaptation.

  The RGNF should supplement the DEIS to include alternatives with wilderness allocations that
  reflect larger percentages of inventoried acres. Logical options include an alternative that
  analyzes all or almost all of the inventoried acres, and another alternative that analyzes all the
  acres ranked high to moderate. This would ensure an adequate range of alternatives and a robust
  analysis of the trade-offs and impacts associated with recommending most (if not all) of the
  inventoried areas.
  Appendix A needs supplementation to improve the descriptions of wilderness characteristics of
  the proposed units, particularly for the various elements of the Sangres additions and for the
  Cumbres addition to the South San Juans.


  III. PROPOSED SPECIAL INTEREST AREAS AND RESEARCH NATURAL AREAS

    A. BACKGROUND

  A required element in forest planning is to determine whether to administratively designate (or
  recommend for designation) additional areas to recognize and protect special values, features,
  and resources,17 including those that “carry out the distinctive role and contributions of the plan
  area in the broader landscape or contribute to achieving desired conditions for the plan area.”
  FSH 1909.12, chapter 20, section 24(b). Designated areas may include areas defined in FSM
  2372.05 such as botanical areas, zoological areas, recreation areas, as well as other types of areas
  that embody the culture, niche, unique characteristics, or ecological conditions of a specific
  forest or landscape.18 Forests in the past have established a variety of designations, and, as the
  RGNF has done in the past, referred to them as speical interest areas.

  Designated areas can play a critical role in ensuring ecological integrity and biological diversity
  as required in §219.8 and §219.9 of the 2012 planning rule. For example, the RGNF can
  establish designated areas that specifically protect rare or imperiled species, rare or imperiled
  ecosystem elements, wildland recovery areas, wetland complexes (including recharge zones),

  17 36 C.F.R. §§ 219.7(c)(2)(vii), 219.19 (A designated area is “[a]n area or feature identified and managed to
  maintain its unique special character or purpose^.Examples of administratively designated areas are experimental
  forests, research natural areas, scenic byways, botanical areas, and significant caves.”)
  18 The list of administrative designation categories provided in Exhibit 01 in FSH 1909.12, section 24 is not intended
  to be comprehensive, as explained in the response to comments in the final planning rule. See 77 Fed. Reg. 68
  (21245) (“the Department clarified the definition of designated areas to explicitly show that the list of examples is
  not exhaustive^”) Section 24 affirms this (“Exhibit 01 lists some types of designated areas that the Responsible
  Official may consider recommending for designation.”)

                                                           27

                                                                                    Rvsd Plan - 00005099
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 8 of 475




  specific wildlife corridors, and other important ecological elements and processes. Individual
  designated areas, if designed with purpose, can contribute to the establishment of a larger mosiac
  of protected areas across the national forest that, in aggregate, contributes to achieving the rule’s
  substantive ecological and diversity provisions.

  Establishing designated areas is also an effective way to draw people to visit and learn about the
  national forests and its unique resources, thereby connecting people with nature, as addressed in
  36 CFR §219.10(a)(10). This concept is reinforced in the Forest Service’s Framework for
  Sustainable Recreation that emphasizes the important role that designated areas play in providing
  for recreation: “[The Forest Service] will evaluate other areas within the National Forest System
  that have outstanding recreational, scenic, historic, or other values of high attractiveness for
  designation and management as special areas.”19

  Forests are required to develop management direction for each special designated area to provide
  for its appropriate management based on the applicable authorities and the specific purposes for
  which each area was designated or recommended for designation. FSM 2370, section 2372.03(5)
  (“Include management direction for each area in the forest plan.”) and 36 CFR §219.10(b)(1)(vi).
  Plan components and management direction can only allow uses and activities to occur that are
  in harmony with the purpose for which the area was designated and compatible with the basis of
  the recommendation.” FSH 1909.12, Chapter 20, section 24.2(1)(b), FSM 2370, section 2372.4
  In addition, Forest Service policy is generally to keep developments such as roads, trails, and
  facilities to the minimum necessary for public enjoyment and interpretation of the area. FSM
  2370, section 2372.4. In developing management direction, forests should consider how
  designated areas contribute to sustainability and advance the overarching objectives of the
  planning rule. FSH 1909.12, chapter 20, section 24.2(1)(d).


    B. DESIGNATE THE SPECIAL INTEREST AREAS IN ALTERNATIVE D

  We heartily support the special interest areas proposed in Alternative D because they contain
  special resources and values deserving of special recognition, interpretation, and conservation.
  As the DEIS notes, these areas “contain features unique to and of special interest in the forest
  ecosystem. Many designations would enhance habitat connectivity, native fish habitat, and
  watershed protection.” DEIS at 313. Also see Appendix 7 of Rocky Smith et al’s scoping
  comments, and Appendix G of The Wilderness Society’s comments both submitted on October
  28, 2017. Establishing special interest area may be the best available planning strategy to ensure
  that the areas’ values are retained. We ask that the RGNF establish these special interest areas in
  the final plan.
  Unfortunately, the draft plan (Alternative B) fails to designate deserving special areas, eliminates
  one current special interest area entirely without providing for the protection of an important
  resource therein, and reduces the acreage of another area. This approach puts unique and
  remarkable resources at risk.


  19 USFS. Connecting People with America’s Great Outdoors: A Framework for Sustainable Recreation. June 25,
  2010. Sec. IV, p. 6.

                                                       28

                                                                              Rvsd Plan - 00005100
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 9 of 475




    C. REVISION TOPIC DESCRIPTION IS INACCURATE

  The DEIS describes Revision Topic 1: Special Designations inaccurately. While the DEIS
  acknowledges that the public submitted proposals for additional special designations, it then
  states:

         A need to revise forest plan direction was related to changes in the management of:
            • Inclusion of direction for the Old Spanish National Historic Trail,

             •   Regional and national direction for the Continental Divide National Scenic Trail,

             •   Inclusion of the Sangre de Cristo National Heritage Area,

             •   Inclusion of the Rio Grande del Norte National Monument,

             •   Inclusion of the Cumbres & Toltec National Historic Landmark,

             •   Evaluation of Mt. Blanca Massif as a significant area,

             •   Evaluation of the Natural Arch as a significant area, and

             •   Evaluation of the existing boundary of the John C. Fremont Winter Camp Special
                 Interest Area.


  DEIS at 17.

  There is no mention of the need to evaluate additional areas proposed by the public. In contrast,
  the Need for Change document, published in July 2017 includes item C8 that says, “Evaluate
  additional areas for special designation, including areas with cultural values, ecosystem types
  known to be heavily fragmented, and areas important for the protection of plant communities and
  special habitats vulnerable to climate change. Evaluate additional protection of two critically
  significant areas, Mt. Blanca Massif and the Natural Arch, while maintaining motorized access.”
  The draft plan’s language concerns us, as it makes it seem as if the RGNF does not have the
  intention to consider additional special interest areas in the final decision.


    D. OVERLAPPING DESIGNATIONS

  Alternative D has fewer acres allocated to the Roadless Management Areas because the acres are
  assigned instead to Special Interest Areas. See DEIS at 313 (“Alternative D addresses the
  roadless designation the same as alternative B, with fewer areas considered due to additional
  designations for special interest areas, research natural areas, and recommended wilderness.”).
  While it makes sense to allocate roadless areas recommended as wilderness to MA 1.1a
  (because the management of recommended wilderness is stricter than the management of
  Colorado Roadless Areas), it does not necessarily make sense to switch roadless areas from
  management area 3.5 and 3.6 to management area 3.1. The requirements of the Colorado

                                                  29

                                                                      Rvsd Plan - 00005101
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 10 of 475




   Roadless Rule still apply to Colorado Roadless Areas regardless if they are proposed as special
   interest areas. Therefore, we recommend that the final plan overlap management areas 3.5/3.6
   with 3.1 where applicable.20


     E. PLAN COMPONENTS FOR MANAGEMENT AREA 3.1

   We are concerned that the plan components for Management Area 3.1 do not provide adequate
   direction for the management, interpretation, and conservation of the proposed special interest
   areas, all of which are unique and special in their own right. The entirety of the plan components
   for all the special interest areas are one guideline and one desired condition statement. The draft
   plan also includes four management approaches. The aggregate management direction is anemic
   and will not provide the management direction for the proposed special interest areas necessary
   to ensure the protection of the areas’ primary values.

   Further, Forest Service policy requires the forest plan to include management direction for each
   area. FSM 2370, section 2372.03(5) (“Include management direction for each area in the forest
   plan.”) This makes sense, as each area requires specific customized direction to ensure that the
   primary values for which areas are established are not diminished. We therefore recommend that
   the final plan create nested management areas under Management Area 3.1 (e.g., 3.1a, 3.1b) for
   each designated special interest area. The nested management areas should have their own set of
   plan components designed to complement the overarching plan components of Management
   Area 3.1. The narratives for each nested management areas should describe the primary values or
   resources for which the area is being established. In our comments below, we first propose
   additional over-arching plan components for Management Area 3.1 that would apply to all
   special interest areas, and then propose area-specific plan components for the special interest
   areas proposed in Alternative D.

   Given that special interest areas contain unique or remarkable examples of plant and animal
   communities, geological features, scenic grandeur, or other special attributes that merit special
   management21, we recommend the following modifications and additions to the plan components
   proposed in the draft Plan for Management Area 3.1. These recommendations are designed to
   ensure that management is consistent with Forest Service policy discussed above.

   DESIRED CONDITIONS

           Special interest areas are places with unique or remarkable characteristics that merit
           special management. Special interest areas typically contain unique botanical, geologic,
           historical, scenic, or cultural locations and values.

            •   Forest Service management maintains or enhances the primary values of the special
                interest areas. Other activities are allowed so long as they do not diminish the


   20 Similarly, Research Natural Areas that are within Colorado Roadless Areas should also be overlapped for the
   same reason.
   21 See FSM 2370, page 3 where this concept is articulated.

                                                           30

                                                                                   Rvsd Plan - 00005102
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 11 of 475




                resources and values for which the area was designated (or recommended for
                designation).

            •   Management emphasizes interpretation of the area’s resources and values.

            •   Each area has a management plan. The Forest Service encourages and invites
                participation by the public and relevant entities in the development and
                implementation of these area-specific management plans.

            •   The public feels an enhanced level of pride about the forest and the special places
                within, and enjoys visiting and learning about the special interest areas and their
                remarkable resources and values.



   OBJECTIVES:

       •   Develop and implement management plans for each special interest area in partnership
           with interested stakeholders. Encourage continued engagement by stakeholders in the
           management and monitoring of the area.

       •   Provide interpretive services to enhance visitor's understanding and appreciation of the
           area's special features.



   STANDARDS:

       •   Allow occupancy and use of the area to the extent they neither diminish the primary
           values for which the area was established nor negatively affect the visitor's experience.

       •   Where applicable or deemed important to protect area values, the area shall be withdrawn
           from mineral entry under the General Mining Law of 1872.22

       •   Restrict motorized and mechanized travel to designated routes, and prohibit motorized
           game retrieval off designated routes.



   GUIDELINES:

       •   Allow development of facilities and infrastructure only to the degree that it is necessary
           for public enjoyment of and education around the principal features of the area and
           ensures protection of the of the special values for which the area was established.



   22 The standard is included for administrative special designations in the Shoshone National Forest 2015 Land and
   Resource Management Plan. See, for example, MA2.2A-STAND-08.

                                                           31

                                                                                   Rvsd Plan - 00005103
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 12 of 475




   SUITABILITY
      • Unsuitable for energy leasing and development (fossil fuel or renewable).
      • Unsuitable for commercial timber production.
      • Unsuitable for common variety mineral extraction for administrative or commercial use.

   MANAGEMENT APPROACHES
     • Decommission and reclaim unauthorized routes and unneeded system roads.
     • In travel management planning, consider the primary values of the area when identifying
       the minimum road system and unneeded roads for decommissioning pursuant to 36 CFR
       212 subpart A.


     F. COMMENTS ON SPECIFIC SPECIAL INTEREST AREAS IN ALTERNATIVE D

   We offer the following comments on the specific areas for your consideration. For each area, we
   have proposed a list of primary values and area-specific plan components intended to
   complement the general plan components for MA 3.1 suggested in the previous section. Each
   special interest area should be a nested management area within the larger MA 3.1.

                         1. Spruce Hole/Osier/Toltec Special Interest Area


   This area is important for regional scale wildlife connectivity and for numerous species of
   conservation concern and rare habitats. DEIS at 314. Designating it would help achieve the 2012
   planning rule’s requirement to enhance ecosystem integrity at 36 CFR 219.8(a)(1) and 36 CFR
   219.9. The area is adjacent to the 117,035-acre San Antonio Management Area proposed by the
   Carson National Forest in the December 2017 version of the Carson National Forest’s Proposed
   Preliminary Draft Plan.23 See Figure 1 showing the location of the proposed San Antonio
   Management Area. As proposed, the San Antonio Management Area emphasizes the
   sustainability of wildlife and fish species by reducing barriers to movement and human
   disturbance, and the enjoyment of the area by the public for primitive and semi-primitive
   recreation and wildlife watching. Designating the adjacent Spruce Hole/Osier/Toltec Special
   Interest Area would facilitate multi-scale management and enhance the diversity and resilience
   of the biological communities in this sub-region.

   The Final Plan should describe the primary values of this area as:

       •   Wildlife migration and connectivity for large game species, including mule deer, elk,
           pronghorn, and Rocky Mountain bighorn sheep, as well as for carnivores such as Canada
           lynx, mountain lions, and black bears. DEIS at 314.

       •   High quality wildlife habitat for species of conservation concern and federally protected
           species, including boreal owl, peregrine falcon, Brewer’s sparrow, flammulated owl, Rio
           Grande cutthroat trout, Gunnison’s prairie dog; Ripley’s milkvetch, slender cliffbrake,

   23 See Proposed Preliminary Draft Land Management Plan for the Carson National Forest, Version 2 that is
   available at: https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd566266.pdf. Pages 222-224.

                                                          32

                                                                                 Rvsd Plan - 00005104
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 13 of 475




          Plumber’s cliff fern, Colorado divide whitlow grass, and flowered gilia; federally
          protected species such as Mexican spotted owl, southwestern willow flycatcher, yellow­
          billed cuckoo, and New Mexico meadow jumping mouse; migratory birds including
          ferruginous hawks, black swifts, sage sparrows, burrowing owls, Cassin’s finches,
          Grace’s warblers, gray vireos, juniper titmouse, Lewis’s woodpeckers, loggerhead
          shrikes, long-billed curlews, mountain plovers, pinyon jays, and Virginia’s warblers. (See
          DEIS at 314.)


   Site specific plan components and management approaches should include:

   DESIRED CONDITIONS

              •   This SIA is managed for wildlife movement and habitat connectivity and for the
                  enjoyment of the public as they recreate, learn about, and observe wildlife.
                  Natural conditions prevail in the area while providing an opportunity for
                  interpretation, education, and research.
              •    Habitat conditions and functions support sustainable and healthy populations of
                  at-risk species and provide educational and research opportunities.
              •   Interpretive signing is used to explain major features of the area and explain
                  protection of sensitive ecosystems.
              •   Management activities will limit the surface disturbance footprint temporally and
                  spatially to minimize adverse impacts to wildlife.
              •   The Forest Service in cooperation with permittees, Colorado Department of
                  Transportation, Colorado Department of Parks and Wildlife, and other
                  stakeholders implements projects to reduce and minimize barriers to wildlife
                  movement such as fences and dangerous road crossings.


   STANDARDS

      •   Authorized activities shall be harmonious with the primary values of wildlife movement,
          habitat connectivity, and habitat condition for at-risk species.

      •   New permanent roads within the corridor will not be constructed in order to maintain
          unfragmented habitat for wildlife migration and dispersal.
      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect watershed condition, minimize wildlife
          disturbance, and prevent illegal motorized use.
      •   New or reconstructed fencing shall allow for wildlife passage and prevent wildlife
          entrapment, taking into consideration seasonal migration and access to water resources
          (except where specifically intended to exclude wildlife -- e.g., elk exclosure fence -­
          and/or to protect human health and safety).
      •   New rights-of-way for energy development that would negatively impact wildlife, their
          habitat and its connectivity will not be issued.

                                                  33

                                                                      Rvsd Plan - 00005105
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 14 of 475




       •   Projects will consider the cumulative impacts of ground-disturbing projects that are
           occurring or will occur on adjacent lands and will strive to minimize as possible the
           spatial, temporal, or other design features can mitigate impacts to connectivity.
       •   The area is not suitable for timber production.
       •   The area is suitable for oil and gas leasing with no surface occupancy


   GUIDELINES

           Do not exceed a motorized route density of one mile per square mile generally, or a
           threshold determined by best available science for specific at-risk species.24


   MANAGEMENT APPROACHES

       •   Where motorized route densities exceed one mile per square mile, develop and
           implement a strategy to reduce the densities to below this threshold level.
       •   In coordination with the Colorado Department of Transportation, develop and implement
           a strategy for mitigating highway related barriers to wildlife movement.
       •   As possible, augment wildlife values through purchase from willing sellers, exchange,
           transfer, or donation of additional acreage of crucial wildlife habitat for their migration,
           movement and dispersal.
       •   Work with livestock permittees to identify fencing that is not critical for livestock
           operations. Remove fencing that is not critical for livestock operations and that is
           impeding wildlife movement. As possible, modify existing fencing that is not wildlife
           friendly.




                         2. Chama Basin Special Interest Area

   24 See Lyon 1979; Van Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Reed et al. 1996; Strittholt and
   DellaSala 2001; Davidson et al. 1996 for discussions of route density thresholds.

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                                                                                   Rvsd Plan - 00005106
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 15 of 475




   This area is important for the protection of an entire intact watershed with remarkable
   occurrences of montane riparian forest systems. See DEIS at 85 and 314. It is the municipal
   watershed for Chama, New Mexico. Designating it would help achieve the 2012 planning rule’s
   requirement to enhance ecosystem integrity at 36 CFR 219.8(a) and protect the values of eligible
   river segments at 36 CFR 219.10(b)(1)(v). The Final Plan should describe the primary values of
   this area as:

      •   An entire intact and undisturbed headwaters watershed with a remarkable montane
          riparian forest ecosystem; and

      •   Remarkable biodiversity elements including mountain willow (Salix monticola)/mesic
          graminoid montane riparian willow carr, and a narrowleaf cottonwood/thinleaf alder
          (Pcpulus angustifolia/Alnus incana) montane riparian forest.


   Site specific plan components should include:

   DESIRED CONDITIONS

              •   The Chama Basin is a place where natural processes dominate, water quality is
                  high, and hydrologic processes are unimpeded.

              •   Visitors enjoy the stunning vistas hiking, on horseback, and in vehicles.

              •   The few travel routes in the area provide visitors the opportunity to explore while
                  preserving the natural features and function.

              •   Grazing is allowed so long as it does not impede hydrologic function or degrade
                  water quality. Eligible wild and scenic rivers are managed to retain their
                  eligibility.



   STANDARDS

      •   New permanent roads will not be constructed.
      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect watershed condition and prevent illegal
          motorized use.
      •   New rights-of-way for energy development that would negatively impact hydrologic
          function or condition are prohibited.
      •   Eligible wild and scenic rivers are managed to retain their eligibility. (See plan
          components for Management Area 3.4.)
      •   Disallow ground disturbing activities or placement of infrastructure within buffers around
          streams and wetlands unless activities’ primary purpose is to improve riparian and aquatic
          health.

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                                                                        Rvsd Plan - 00005107
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 16 of 475




      •    The area is not suitable for timber production.

      •    The area is discretionary no lease for oil and gas.



   GUIDELINES

       •   Best management practices for water are in place and monitored regularly to ensure
           effectiveness.



   MANAGEMENT APPROACHES

      •    Work with grazing permittees to prevent cattle from encroaching on stream and riparian
           buffer zones.



                       3. Summer Coon/La Ventana Special Interest Area


   We are glad to see that the Natural Arch/La Ventana area will be added to the existing Elephant
   Rocks SIA under Alternative B. DEIS at 27. However, what is proposed in Alternative B for
   addition is much less than what deserves recognition and protection as a special area. The
   addition under Alternative B is only about 270 acres. This includes the volcanic dike that has the
   actual natural arch, and a little more adjacent acreage on the east side of this dike. This is far
   short of the 22,000-acre area we believe should be in a special interest area here, as we proposed
   in our alternative, submitted with our organizations’ scoping comments.

   Alternative D’s Summer Coon La Ventana Special Interest Area offers a unique opportunity to
   explore the well-exposed interior of a composite volcano (similar in scale to today’s Mount
   Rainier) that formed in the Southern Rocky Mountain Volcanic Field and that has been preserved
   along the edge of the younger Rio Grande Rift. This proposed area incorporates much of an
   ancient stratovolcano (a composite layered structure built up from sequential outpourings of
   eruptive materials), a nearly perfect pattern of radial dikes, and the La Ventana Natural Arch
   eroded into the center of one of the most prominent dikes. The area has significant tribal,
   botanical and ecological values in addition to its notable geological importance.

   The proposed addition to the existing special interest area in Alternative D protects a much larger
   expanse of the ancient volcanic system than the Alternative B addition, and overlaps the
   Elephant Rocks and Eagle Mountain Potential Conservation Areas identified by the Colorado
   Natural Heritage Program. The Elephant Rocks Potential Conservation Area is a complex of
   volcanic boulders, rock outcrops, and shrublands separating the prairie of the valley floor from
   the San Juan Mountains and contains both rare plant and animal species, which results in its rank
   of High Biodiversity Significance. Specific biodiversity elements present include a medium­
   sized population of the rock-loving Neoparrya - an herb that is restricted to south-central

                                                      36

                                                                        Rvsd Plan - 00005108
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 17 of 475




   Colorado; a rare milkvetch (Astragalus cerussatus) with only 20 known occurrences; and a silky
   pocket mouse subspecies population found here that is restricted to the San Luis Valley and is
   rare within its range.25
   The Eagle Mountain PCA is also located within the proposed Summer Coon La Ventana
   Geologic Area. The PCA includes the cliffs around Eagle Mountain and Eagle Rock, and is
   identified as being of General Biodiversity Interest because of its nesting habitat for peregrine
   falcons.26 The proposed geologic area is rated by the Colorado Department of Parks and Wildlife
   as very high priority habitat for bighorn sheep, containing important winter range and lambing
   grounds, and a high priority habitat for elk containing over 15,000 acres of a winter
   concentration area.27
   The Final Plan should designate the Elephant Rocks/La Ventana Special Interest Area proposed
   in Alternative D (as opposed to the much smaller expansion proposed in Alternative B). This
   proposed special interest area appropriately encompasses more of the geologic outcrops that tell
   the story of this ancient volcano, along with rare and remarkable biological values. Moreover,
   this area is getting much more use than it formerly did. Having a larger area would make it easier
   for the RGNF to manage visitation as needed to best protect the values, resources, and character
   of the area and provide a rich interpretive experience and ecotourism opportunity.

   The Final Plan should describe the primary values of this area as:

       •   The rare opportunity to explore the well-exposed interior of an ancient volcano on the
           size of Mt. Rainier.

       •   The educational and scientific opportunities to study an ancient volcano.

       •   The cultural value of the Natural Arch to the local tribes.

       •   The high-quality bighorn sheep, peregrine falcon, and winter elk habitat.

       •   Various rare plants and animals including rock-loving Neoparrya - an herb that is
           restricted to south-central Colorado, a rare milkvetch (Astragalus cerussatus) with only
           20 known occurrences, and a silky pocket mouse subspecies population found here that is
           restricted to the San Luis Valley and is rare within its range.
   Site specific plan components should include:

   DESIRED CONDITIONS

       •   The Summer Coon/Elephant Rocks Special Interest Area provides visitors a relatively
           unique experience of exploring the well-preserved interior of an ancient and massive
           volcano.


   25 See CHNP Potential Conservation Area Report, 2015. Available at
   http://www.cnhp.colostate.edu/download/gis/pca reports.asp.
   26 Ibid.
   27
       Colorado Department of Parks and Wildlife 2017. Available at
   http://www.arcgis.com/home/item.html?id=190573c5aba643a0bc058e6f7f0510b7

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 18 of 475




      •   Visitors can drive or bike a day-long interpretive tour where they can learn about the
          significance of the imposing and beautiful geologic formations and the rare biological
          resources throughout the area. The tour loops between Del Norte and Monte Vista
          providing ecotourism opportunities to both communities. The grasslands and scrub lands
          that comprise the lower elevations of the area provide a stunning backdrop to the unusual
          geologic features.

      •   The area is in a substantially natural condition and ecosystems primarily reflect the
          influence of natural processes.

      •   Local residents and communities are proud of this unusual and special place, and assist
          the Forest Service in managing and monitoring the area.



   STANDARDS

      •   New permanent roads will not be constructed.
      •   Trails will only be constructed if they advance the understanding, appreciation,
          enjoyment, and protection of the primary values.
      •   Rock climbing on the dike on which the arch is located is prohibited to protect cultural
          values.

      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect primary values and prevent illegal
          motorized use.
      •   New right-of-ways for energy development that would negatively impact the primary
          values or the scenic vistas are prohibited.


   GUIDELINES

      •   Best management practices for water are in place on all access routes and monitored
          regularly to ensure effectiveness.



   MANAGEMENT APPROACHES

      •   Develop an interpretive program for the area that includes, but is not limited to, an
          interpretive driving/biking tour that teaches about the area’s unique and special qualities.
          The Forest Service should consider developing non-motorized interpretive trails as well.
          Interpretation of cultural values should be done in close cooperation with Native
          American tribes.

      •   Allow non-disturbing research to continue (e.g., rock sampling).

                                                   38

                                                                        Rvsd Plan - 00005110
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 19 of 475




        •   Monitor impacts of dispersed recreation and implement necessary management actions to
            address impacts, including obliterating unauthorized routes.



                        4. Carnero Creek and Jim Creek Special Interest Areas


   Carnero Creek and Jim Creek are strongholds for native Rio Grande cutthroat trout. Both possess
   outstanding recreational and scenic values, as well as high-quality water resources such as
   wetlands and riparian zones. Restoration and habitat improvement work has occurred in both
   Carnero and Jim Creek proposed special interest areas. We support the designation of these
   special interest areas because conserving entire watersheds is an important and possibly
   necessary measure to ensure long-term viability of the Rio Grande Cutthroat Trout in the context
   of a warming and changing climate (USFWS 2014). Designating the areas would contribute to
   achieving the 2012 planning rule’s requirement to enhance ecosystem integrity and maintain and
   restore watersheds at 36 CFR 219.8(a).

   Establishing the Carnero and Jim Creek Special Interest Areas to conserve the Rio Grande
   Cutthroat Trout and the riparian and aquatic ecosystems is consistent with recent direction from
   the Washington Office issued in a September 30, 2015 memo to regional foresters clarifying the
   that forests can identify conservation watersheds in land management plans. The memo
   explained that “Conservation Watersheds are . . . strategic and long-term designations helping to
   provide conditions that maintain or restore habitat for aquatic species in highly dynamic
   environments over the duration of a land management plan.”28 Attachment A to the memo
   explains that conservation watersheds are a dynamic and flexible designation that generally “1)
   conform[] to sub-watershed boundaries and generally rang[e] in size from 10,000 to 40,000
   acres, 2) contain[] threatened, endangered, or at-risk species, and 3) form[] a connected network
   of aquatic habitats important for ensuring the long-term persistence of those species.” In
   addition, the recently revised Rise to the Future: National Fish and Aquatic Strategy identifies
   conservation watersheds as a major strategy for conserving species on national forest lands and
   sets a goal that the agency will identify conservation watersheds throughout the system by
   2020.29

   Other forests are adopting the concept in land management plan revisions under the 2012
   planning rule. For example, the Flathead National Forest proposed a Conservation Watershed
   Network in its recent draft revised forest plan.30 Similarly, the Sierra, Sequoia, and Inyo National
   Forests are developing an aquatic conservation strategy that will include designation of “critical
   aquatic refuges” as part of their ongoing plan revisions.


   28 Memo from Chris French & Robert Harper to Regional Foresters Re “Clarification on Conservation Watersheds
   in Land Management Plans” (Sept. 30, 2016) (Attached as Exhibit 7).
   29 Rise to the Future: National Fish and Aquatic Strategy. December 2017 at 10. Available at
   https://www.fs.fed.us/naturalresources/fisheries/resources/risetothefuturestrategynov2017.pdf .
   30 See Flathead National Forest Draft Revised Plan at 20-22 & Appendix E, available at
   http://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd502201.pdf . While the Flathead’s draft plan
   components for designated conservation watersheds were generally too weak to accomplish the objectives of the
   network, the concept is a good one.

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                                                                                Rvsd Plan - 00005111
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 20 of 475




   The Final Plan should describe the primary values of the Carnero Creek area as:

      •   Critical habitat for Rio Grande cutthroat trout (over 275 km). All of the populations in the
          proposed area are considered to be genetically pure conservation populations.

      •   Over one thousand acres of mapped wetlands. Most are associated with Carnero Creek
          and its tributaries, and consist of freshwater emergent wetlands, freshwater ponds, and
          freshwater forested/scrub shrub wetlands.

      •   Community occurrences of globally rare montane grasslands (Festuca arizonica-
          Muhlenbergia montana), shrublands (Alnus incana/mesic graminoid), and woodlands
          (Pinus aristata/Festuca thurberi).


   The Final Plan should describe the primary values of the Jim Creek area as:

      •   Critical habitat for Rio Grande Cutthroat Trout (about 37 km). All of the populations in
          Jim Creek are considered to be genetically pure conservation populations, with less than
          1% of foreign genes detected.
      •   53 acres of mapped wetlands. The majority of these wetlands are associated with Jim and
          Torsido Creeks and their tributaries, and consist of freshwater emergent wetlands,
          freshwater ponds, and freshwater forested/scrub shrub wetlands.

   Site specific plan components should include:

   DESIRED CONDITIONS

              •   The Rio Grande Cutthroat Trout habitat is conserved and restored.

              •   The watersheds provide multi-scale connectivity for the Rio Grande Cutthroat
                  Trout and other aquatic species, and the ecosystem components needed to sustain
                  long-term persistence of species.

              •   Partners work with the Forest Service to survey, implement habitat restoration
                  projects, and monitor.

              •   The public enjoys the scenery and recreation that naturally functioning watersheds
                  provide.



   OBJECTIVE

   •     Establish measurable water quality and riparian health standards and a monitoring protocol,
   and monitor regularly.




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                                                                        Rvsd Plan - 00005112
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 21 of 475




   STANDARDS

      •   Disallow ground disturbing activities or placement of infrastructure within buffers around
          streams and wetlands unless the activities’ primary purpose is to improve riparian and aquatic
          health.

      •   Permanent roads will not be constructed or reconstructed unless doing so clearly will
          improve riparian and aquatic health overall. No net increase in permanent road mileage will
          occur.
      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect watershed condition and prevent illegal
          motorized use.
      •   Best management practices for water are in place and monitored regularly to ensure
          effectiveness.

      •   New rights-of-way for energy development that would negatively impact hydrologic
          function or condition are prohibited.


   MANAGEMENT APPROACHES
     • Include the removal of unneeded or unauthorized roads and trails in project designs.

      •   Work with grazing permittees to prevent cattle from encroaching on stream and riparian
          buffer zones.



     G. ADDITIONAL AREAS OF CONCERN

              1. Protect of stonecrop gilia with a designation
   The draft plan documents do not fully consider measures to protect stonecrop gilia (aliciella
   sedifolia, gilia sedifolia). According to USFS information, the only two worldwide locations at
   which this extremely rare critically imperiled endemic plant exists are on Rio Grande National
   Forest lands. (See
   https://www.fs.fed.us/wildflowers/Rare Plants/profiles/Critically Imperiled/aliciella sedifolia/in
   dex.shtml Referenced online December 2017). To ensure that the rare occurrences of this plant
   are protected, the RGNF should recommend a Research Natural Area (RNA) or Special Interest
   Area (botanical) where the species occurs and is likely to occur.

   SLVEC et al proposed the Half Peak Research Natural Area in their October 28, 2016 scoping
   letter. We are disappointed that no alternative proposed designating the Half Peak area for the
   purpose of conserving the stonecrop gilia. Our proposal was reasonable and should have been
   included in one or multiple alternatives. Failing to do so violates NEPA’s requirement to
   “[r]igorously explore and objectively evaluate all reasonable alternatives” to a proposed action.
   40 C.F.R. § 1502.14(a). Since this proposal was not included in any of the DEIS alternatives, we


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                                                                         Rvsd Plan - 00005113
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 22 of 475




   are resubmitting here and request that the RGNF supplement the DEIS to include a
   recommendation for the Half Peak Research Natural Area or Special Interest Area.

   The Colorado Natural Heritage Program has identified the Half Peak area as having the best
   occurrences of this plant in the world, and gave it an outstanding biodiversity significance, the
   highest level of ranking provided by the Colorado Natural Heritage Program. We thus believe
   that this area is more deserving of a special management area designation than the Sheep
   Mountain area (although we thank you for including that as a potential Research Natural Area in
   alternative D). We are particularly concerned as the Half Peak location is not currently protected
   from potentially damaging recreation such as off-route travel. Recreation has been identified as
   a threat to this plant and the Continental Divide National Scenic Trail passes directly through
   habitat for and occurrences of this plant. This trail may provide a vector for invasive species,
   also considered a threat to this plant.
   We believe the presence of the designated trail through this area warrants additional action by
   the agency that will proactively manage public use and recreation in order to preserve and
   protect these plants and their habitat. Public recreation, especially in this remote location, is one
   of the most difficult uses to manage, and proactive measures are necessary to ensure that this use
   does not negatively impact this area.
   Stonecrop gilia may be the most significant example of a rare species occurring on the Forest.
   Since this species is found nowhere else in the world, habitat for this species deserves full
   consideration for all forms of special management area designations. While we thank and
   support the Forest’s consideration of a Research Natural Area for additional populations of these
   plants in alternative D, we strongly believe the Half Peak proposal must be included in the final
   plan, and that the Half Peak population of the plant must be protected with an RNA, special
   interest area, or other protective designation.


       2. Protect Ripley’s Milkvetch with a protective designation


   The plant Astragulus ripleyi is found only in southern Colorado and northern New Mexico, i.e.,
   on or near the RGNF. See Draft Plan at 174. The current plan has a special interest area
   designation for this plant on the southeast side of the Conejos Ranger District. The proposed plan
   would remove this designation and instead protect the plant with forest-wide direction. DEIS at
   23, 27. However, we find no direction in the proposed Plan that would protect this plant, as is
   further discussed below.
   The acres formerly in the special area would be assigned to MA 5.41, big game winter range.
   Interestingly, a 1999 amendment to the exiting Forest Plan reduced the area of the Ripley’s SIA
   by 1166 acres (out of 5090 acres31) and assigned the removed acreage to MA 5.42, Bighorn
   Sheep. See Decision Notice (DN) for the November Analysis Area, June 18, 1999, available at:
   https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd511488.pdf. This was considered
   appropriate because: “[i]t will allow us to better manage the area for bighorn sheep habitat while


   31 The total SIA acreage figure is found in 1997 Plan FEIS Table 3-81, p. 3-375.

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                                                                                      Rvsd Plan - 00005114
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 23 of 475




   at the same time still protecting Ripley’s milkvetch.” November Decision Notice at 2. However,
   the 5.42 MA would be removed under the proposed Plan.
   The 5.41 MA would not protect Ripley’s milkvetch, as there are no plan components or even
   management approaches addressing it. Land in this MA is timber-suitable, and livestock grazing
   occurs. Draft Plan at 88-89. From the timber suitability maps that accompany the Draft Plan and
   DEIS, it is clear that a sizable chunk of the current Ripley’s Milkvetch Special Interest Area
   would be suitable for timber production under the proposed revised Plan.
   Note the following mitigation measure incorporated into the decision transferring part of the
   special interest area to MA 5.42:
         Avoid timber harvest and prescribed fire in potential Astragalus ripleyi [Ripley
         milkvetch] habitat (i.e., open ponderosa pine / Arizona fescue stands with some
         Douglas-fir where canopy coverage by trees is less than 25%). Keep timber harvest
         and prescribed fire above the 9,200 feet contour line in the Analysis Area to protect
         Astragalus ripleyi.
   November Analysis Area Decision Notice at 2.
   We see no comparable protective measure in the proposed Draft Plan. One possibly applicable
   forest-wide management approach under Wildlife and Plants, WLDF-MA-17, states that “actions
   should avoid or otherwise mitigate adverse impacts in unique or rare plant community types”.
   Draft Plan at 29; emphasis added. Ripley’s milkvetch is not specifically mentioned, and it is very
   hard to imagine how a management approach, already optional and not a plan component, that
   should be applied (but is not required) to plant communities, not necessarily this individual
   species, would prevent harm to this plant.
   The plant is also a species of conservation concern, which has been rated “extremely vulnerable
   to negative effects from changes in temperature and precipitation regimes.” Plan at 174. Also:
   “There are 22 known occurrences of this species last observed in 2016. The entire global
   distribution of this species is on or near the Forest.” Ibid.
   The Forest Service must provide specific plan components to protect Ripleys milkvetch if plan
   components designed to protect and maintain ecosystem integrity and diversity are insufficient to
   ensure viability. See 36 CFR 219.9(b)(1). To protect this plant and ensure its long-term viability,
   we believe that specific components, especially standards and guidelines, will be necessary to
   accomplish this. If components specific to this plant are not included in the final Plan, the Forest
   Service must show how all applicable plan components will, collectively, provide adequate
   protection for Ripley’s milkvetch and provide an opportunity for the species to recover to full
   viability.
   Land in the current special area that protects Ripley’s milkvetch should not be applied to MA
   5.41. Since there is no forest-wide or management area direction to protect this plant, we believe
   a special area is still warranted for it, even if an area smaller than the current one is truly justified
   based on the geographic extent of the plant.




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                                                                            Rvsd Plan - 00005115
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 24 of 475




                3. Retain more of the Fremont Area

   We are concerned to see that the acreage of the John C. Fremont Winter Camp SIA would be
   reduced by about 1400 acres to “correspond with recent surveys and analysis that better
   identifies the camp area” in all action alternatives. DEIS at 23; see also id. at 27 for alternative B.
   Most of the removed acreage would be added to MA 5.13, forest products. Id. at 27. This is
   inappropriate. Land at the high altitude of the Fremont SIA should not be suitable for timber
   production. Indeed, under the analysis of timber suitability, areas over 11,000 feet elevation on
   south and southwest aspects were excluded from suitable timber lands because there is no
   assurance of adequate restocking within five years of regeneration harvest. Plan at 164. Some of
   the acreage proposed for removal from the SIA appears to be at this altitude and at least partially
   on south- or southwest-facing slopes.

   The National Forest Management Act prohibits timber harvesting where there is no assurance of
   adequate restocking within five years after cutting. See 16 U. S. C. 1604(g)(2)(D)(ii). Thus some
   of the area proposed for removal from the SIA cannot legally be suitable for timber production.
   Some of the land removed and added to MA 5.13 is also on very steep slopes, so it could likely
   not be logged with ground-based equipment without irreversible damage to the soil.

   If acreage is removed from the Fremont SIA because it is truly not needed to protect the
   resources therein, it should not be assigned to the timber MA, 5.13. Instead, close and obliterate
   the roads in the area and assign it to MA 4.3, dispersed recreation or another appropriate MA that
   would ensure protection of fragile, high altitude lands.


     H. THE DEIS FAILS TO TAKE A HARD LOOK AT THE EFFECTS OF SPECIAL
   INTEREST AREAS AND RESEARCH NATURAL AREAS (HERETOFORE IN THIS
   SECTION REFERRED TO AS SPECIAL DESIGNATIONS)

                           1. Direct and indirect effects section does not accurately reflect the
                           differences between Alternatives A, B, C, and D.

   The DEIS starting at 316 offers a very brief discussion of the direct and indirect effects of the
   proposed special designations under the four alternatives. Unfortunately, the section lacks detail,
   and fails to provide analyses or data to support the conclusions about effects. Worse, the section
   does not distinguish differences in the effects between the four alternatives, implying that the
   effects from the proposed designations will not vary across the four alternatives. This is hard to
   believe given that Alternative D proposes about 174,000 acres32 for special designations,
   Alternative C proposes 49,894 acres, Alternative B proposes 50,834 acres, and Alternative A, the
   no action alternative, retains the 58,534 acres currently in special designation. The DEIS at 316
   describes the direct and indirect effects of special designations as follows:

   32 Note that page 32 of the DEIS says that Alternative D proposes 316,000 acres of special designations. The chart
   on page 38, however, shows that Alternative D proposes 174,074 acres.

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                                                                                    Rvsd Plan - 00005116
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 25 of 475




           The majority of additional acreage tied to the proposed special areas in alternative D is
           already managed as roadless in alternatives A, B, and C. These areas would be managed
           in a substantially natural condition, where ecosystems primarily reflect the influence of
           natural processes. Plant and wildlife habitat values for which the special area was
           identified would be maintained. Invasive plant species would be controlled. Educational
           and research opportunities would be provided, featuring the ecological and plant
           communities associated with the special areas. Suitable vegetation management or other
           activities near special areas would be evaluated for potential impacts to the plant species,
           plant communities, and other associated qualities.”

   It is hard to tell from this description if the RGNF is saying that the impacts under all the
   alternatives are essentially the same because the proposed special interest areas in Alternative D
   overlap roadless area designations in Alternatives A, B, and C. If this is the intent of the
   paragraph, it is factually incorrect. Special interest areas, as we discussed above, are managed to
   not diminish the values and purposes for which they are designated and emphasize public
   enjoyment and interpretation. Roadless areas are managed pursuant to the direction in the
   Colorado Roadless Rule, which is generally to retain roadless character. Moreover, Alternative D
   proposes several special interest areas to protect rare and remarkable values that are not included
   in the other alternatives. Alternative B actually proposes to remove current special interest area
   protections currently in Alternative A.


        2. The DEIS fails to take a hard look at effects, and draws unsupported and arbitrary
   conclusions.

   The DEIS does not adequately disclose and analyze the effects resulting from special
   designations under the four alternatives. Understanding the costs and benefits of designating
   special interest areas is fundamental to deciding which areas merit designation. The failure to
   meaningfully analyze these impacts is a violation of NEPA, which requires the Forest Service to
   take a “hard look” at the environmental consequences of a proposed action, including its direct,
   indirect, and cumulative effects. Robertson v. Methow Valley Citizens Council, 490 U.S. 332,
   348 (1989); 42 U.S.C. § 4332(2)(C); 40 C.F.R. §§ 1502.16, 1508.7, 1508.8. The required hard
   look encompasses effects that are “ecological (such as the effects on natural resources and on the
   components, structures, and functioning of affected ecosystems), aesthetic, historic, cultural,
   economic, social, or health, whether direct, indirect, or cumulative.” 40 C.F.R. § 1508.8.

          a. The analysis of effects on special designations from various activities is inadequate


   The DEIS fails to take a hard look at the effects on special designations from various activities,
   and reaches several conclusions about the effects of special designations that are unsupported
   and therefore arbitrary. For instance,

      •    In evaluating the impacts on special designations from livestock grazing, the DEIS at 317
           states that ”[i]nvasive species control would occur throughout areas as needed using the
           appropriate control methods. Control of invasive species would have a positive impact on

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                                                                          Rvsd Plan - 00005117
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 26 of 475




          the native plant species and communities.” However, the plan components in the draft
          plan for MA 3.1 do not address invasive species. Further, the forestwide management
          direction for invasive species says that the RGNF will “within ten years of plan approval
          reduce terrestrial or aquatic nonnative invasive species on 300 acres” (Plan at 31, OBJ-NNIS-
          1) or stated another way, the RGNF will treat an average of 30 acres per year for invasive
          species. Three hundred acres comprises less than 0.2% of the special interest area acres
          proposed in Alternative D, which hardly justifies the DEIS’ conclusion that “[i]nvasive
          species control would occur throughout areas as needed using the appropriate control
          methods. Control of invasive species would have a positive impact on the native plant
          species and communities.”


          Further, the DEIS provides no information on current grazing within proposed special
          interest areas and how that activity is currently affecting and likely to affect the primary
          values of proposed special interest areas. Without this information, the reader cannot
          discern how the primary values for which special interest areas are proposed would fare
          under each alternative from livestock grazing.

      •   In evaluating the impacts on special designations from roads, the DEIS at 317 states that
          no new roads will be allowed in special interest areas. The plan components for MA 3.1
          and for infrastructure management (Draft Plan at 59-61) do not establish this prohibition,
          and thus this statement is unsupported.


      •   In evaluating the impacts on special designations from recreation, the DEIS at 317 states
          that “[a]ccess and recreational uses would be restricted in special areas, protecting the
          qualities associated with the areas. Developed recreation would be limited and linked to
          interpretation of the unique values of the area.” The plan components for MA 3.1 and
          Recreation Management (Draft Plan at 64-47) do not address management of dispersed or
          developed recreation in special interest areas, and thus this statement is unsupported.


      •   In evaluating the impacts on special designations from fire management, the DEIS at 316
          states that “[d]esired conditions in special areas maintain an ecosystem that primarily reflects
          the influence of natural processes. These natural processes would include fire in some areas.
          Most wildfires would require suppression measures for purposes of protecting values both
          within and outside the special areas. Wildland fire would be implemented in special areas for
          purposes of maintaining natural processes and desired vegetation conditions.” These
          sentences are contradictory in that they say that 1) natural processes will prevail, 2) most
          wildfires will be suppressed, and 3) wildfires will occur to promote natural processes.
          Further, the effects analysis does not look at relevant factors such as the spatial overlap of
          proposed special interest areas and wildfire zones, or the role of natural fire in the
          maintenance or restoration of primary values, or the habitats within the proposed special
          interest areas. Without this basic information, the reader cannot discern the impact of the
          designations under the four alternatives from fire management.




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                                                                          Rvsd Plan - 00005118
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 27 of 475




       •    In evaluating the impacts on special designations from mineral resources, the DEIS states
            “While the withdrawal of locatable minerals may be encouraged in management direction for
            special areas, all designations of special areas on the Forest are subject to valid and existing
            rights. The existence of such rights and the potential for exploration are factors considered in
            the recommendation of special areas and the feasibility of maintaining the values for which
            these areas would be created.” The DEIS does not provide information on valid existing
            mineral rights within proposed special interest areas (with the exception of the Chama Basin
            Watershed Protection Area), such as whether there are any valid existing rights within the
            areas. It also does not provide any information on whether there is mineral potential in the
            special designation areas proposed under each of the four alternatives. The reader thus cannot
            discern the impact of the designations under the four alternatives from potential development
            of mineral resources.



        b. The analysis of effects to specific resources from special designations is inadequate.

   The DEIS fails to analyze the effects on various resources (such as ecosystem integrity, rare
   communities, watershed and aquatic resources, invasive species, non-forested ecosystems, or at-
   risk species) from special designations under the various alternatives. In Table 4 in the section on
   recommended wilderness, we illustrate how the DEIS analyzes the effects on various resources
   from recommended wilderness allocations and special designations. The table shows that the
   analysis for certain resources is weak to non-existent. The identified deficiencies must be
   corrected in the final EIS.


    I (eye). THE DEIS FAILS TO ANALYZE AND DISCLOSE INFORMATION
   RELATED TO RESEARCH NATURAL AREAS.

      1. Background

   One type of designated area that the Forest Service is expected to address in the land
   management planning process is Research Natural Areas (RNAs).33 Forest Service policy
   requires each forest to establish and periodically amend, primarily through additions, RNAs that
   achieve the eight objectives listed in FSM 4063. Two of these objectives are

           maintain a wide spectrum of high quality representative areas that represent the
           major forms of variability found in forest, shrubland, grassland, alpine, and natural
           situations that have scientific interest and importance that, in combination, form a
           national network of ecological areas for research, education, and maintenance of
           biological diversity.



   3 3 FSM 4063.03 (“The selection and establishment of Research Natural Areas within the National Forest System
   primarily emerges from continuing land and resource management planning and associated environmental analyses
   (FSM 1920 and FSM 1950). Forest plans shall include analysis of, and recommendations for, the establishment of
   proposed Research Natural Areas.”)

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 28 of 475




          [p]reserves and maintains genetic diversity, including threatened, endangered, and
          sensitive species.34

   In selecting and establishing RNAs, Forest Service policy directs that RNAs should be “large
   enough to provide essentially unmodified conditions within their interiors which are
   necessary^to protect the ecological processes, features, and/or qualities for which the Research
   Natural Areas were established.”35 The policy also emphasizes that “landscape-scale RNAs that
   incorporate several ecosystem elements are ideal, where feasible.”36 Proposed areas, to the
   degree possible, should be free from major human disturbance for the past 50 years, and should,
   where possible, encompass entire small drainages because they are easier to delineate and
   protect, and because they better maintain the interrelationships of terrestrial and aquatic
   systems.37

   Forest Service Manual 4060, section 4063.02 enumerates eight objectives for establishing RNAs:
          • Maintain a wide spectrum of high quality representative areas that represent the major
              forms of variability . . . that, in combination, form a national network of ecological
              areas for research, education, and maintenance of biological diversity

            •   Preserve and maintain genetic diversity

            •   Protect against human-caused environmental disruptions

            •   Serve as reference areas for the study of natural ecological processes including
                disturbance

            •   Provide onsite and extension educational activities

            •   Serve as a baseline area for measuring long-term ecological changes

            •   Serve as control areas for comparing results from manipulative research

            •   Monitor effects of resource management techniques and practices


   While the Forest Service Manual 4060 does not explicitly speak to climate change, the forest
   planning rule establishes an expectation that climate change considerations will be integrated
   into the three phases of planning.38

                           2. The DEIS contains almost no information on RNAs

   34 FSM 4063.02.
   35 FSM 4063.1.
   36 Ibid.
   37 FSM 4063.2.
   38 36 C.F.R. §219.5 (“The intent of this [planning] framework is to create a responsive planning process that informs
   integrated resource management and allows the Forest Service to adapt to changing conditions, including climate
   change, and improve management based on new information and monitoring.”); 36 C.F.R. 219.9(a)(1)(iv) (“The
   plan must maintain or restore the ecological integrity of terrestrial and aquatic ecosystems and watersheds in the
   plan area^.taking into account:^. (iv) System drivers, including ^. climate change; and the ability of terrestrial
   and aquatic ecosystems on the plan area to adapt to change.”)

                                                            48

                                                                                    Rvsd Plan - 00005120
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 29 of 475




   Despite the fact that Forest Service policy directs that “[f]orest plans shall include analysis of,
   and recommendations for, the establishment of proposed Research Natural Areas”39 the DEIS
   contains almost no information about RNAs. It does not describe the current RNAs and whether
   in aggregate they meet the policy objectives of the RNA system, nor does it offer insight into
   whether other areas on the forest might be good candidates for RNA designation. In fact, the
   extent of the substantive discussion on RNAs is confined to three paragraphs on page 313 in
   which the DEIS explains that Alternative D proposes one additional RNA - the Sheep Mountain
   RNA. The short section does not explain why Alternatives B and C do not propose the
   designation of the Sheep Mountain RNA as well.

   Interestingly, Chapter 15 of the Assessment Report at 13 suggests that the RGNF intended to
   take another look in the land management plan revision at how well the RNA system meets the
   RNA criteria described in FSM 4063.02, and whether additional areas are warranted:
           “We also may need an update to the 1994 potential research natural area candidate
           inventory to determine if, based on changed conditions or new information, we should
           consider additional areas as potential candidate research natural areas.”
   Regardless, the DEIS is considerably deficient in analyzing and disclosing information about
   RNAs, and considering deserving candidate areas for possible designation. At this point, likely
   the best approach for addressing the deficiency is to supplement the DEIS with a robust analysis
   that would guide modifications to the alternatives. The robust analysis should take a hard look at
   the distribution, size, representation, and functions of current RNAs and evaluate the sufficiency
   of the RGNF’s RNA system relative to the RNA criteria at Forest Service Manual 4060, section
   4063.02. In doing so, the DEIS should identify opportunities to establish RNAs that are large
   enough to provide for unmodified conditions and processes in the area’s core, and, to the degree
   possible, landscape-scale RNAs that incorporate several ecosystem elements, as directed in the
   Manual and by the principles of conservation biology. Protecting as RNAs several adjacent intact
   habitats enables the protection and study of the individual systems and their interactions. Further,
   redundant areas may be necessary to maintain a range of study areas and sufficient population
   sample sizes.40 In addition, the RGNF should use the ecosystem representation information
   presented in Exhibit 3 to inform this effort.

   Climate change presents a special challenge, with the potential for ecosystem boundaries and
   characteristics to shift within relatively short timeframes. In evaluating possible RNA
   designations, the RGNF must consider the possible effects of climate change on the existing
   RNAs by, for instance, recommending expansions to RNA boundaries to give ecosystems and
   species room to adapt. The Forest Service should recommend landscape-scale RNAs when
   possible that protect multiple and proximal intact ecosystems as well as protect zones between
   RNAs to enable plant and animal species migration. The RGNF in a final EIS must analyze and
   disclose the effect of climate change on the proposed RNA system and explain how the RGNF is


   39 FSM 4063.03
   40 Spatial redundancy of ecological subsystems is desired for purposes of experimentation and replication.
   Redundancy of subsystems or components of an ecosystem is also important to conservation planning.
   Redundancy can reduce the likelihood that elements (e.g., species, rare habitats) will be lost as a result of stochastic
   events or other stressors.

                                                              49

                                                                                        Rvsd Plan - 00005121
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 30 of 475




   meeting its substantive responsibilities for establishing an RNA system that achieves the
   identified objectives under each alternative.


   IV. ENSURE PROTECTION OF COLORADO ROADLESS AREAS

   We support the creation of MAs 3.5 and 3.6 that integrate the Colorado Roadless Rule’s
   direction into the draft revised plan. See 36 CFR 294 Subpart D. This approach provides clarity
   on the location and management of upper and lower tier roadless areas, and integrates the
   management direction for these areas (which comprise almost one third of the forest) into the
   overall land management plan structure and strategy.


    A. Proposed Management Area 3.5
   We noticed that the management direction for Proposed Management Area 3.5 (Draft Plan at 82­
   84) is not entirely consistent with the direction in the Colorado Roadless Rule, with the Colorado
   Roadless Rule being stricter on where tree cutting and road building is allowed. While we
   recognize that these omissions may reflect a desire to keep the plan language short, it is
   important to communicate the intent of the Colorado Roadless Rule accurately. Management
   direction for Management Areas 3.5 and 3.6 must at a minimum be as strict as the Colorado
   Roadless Rule direction. For example, regarding direction on non-upper tier timber activities, the
   Draft Plan states that tree cutting will only be allowed when:

          [O]ne or more of the roadless area characteristics will be maintained or improved over
          the long-term, with exceptions and only if one of the following conditions exist:

                      1. The regional forester determines that tree cutting, sale, or removal is
                         needed to reduce the amount of hazardous fuels in an at-risk community.
                     2. The regional forester determines that tree cutting, sale, or removal is
                        needed outside of the community protection zone and where wildland fire
                        disturbance is a significant risk that could adversely affect a municipal
                        water supply system or the maintenance of that system.
                      3. Tree cutting, sale, or removal is needed to maintain or restore the
                         characteristics of ecosystem composition, structure, and processes.


   Draft Plan at 82-83. The Colorado Roadless Rule provides sideboards, noted in italics, to these
   exceptions. The Rule states:

          (1) The Regional Forester determines tree cutting, sale, or removal is needed to reduce
          hazardous fuels to an at-risk community or municipal water supply system that is:
                  (i) Within the first one-haif mile of the community protection zone, or
                  (ii) Within the next one-mile of the community protection zone, and is within an
                 area identiified in a Community Wildfire Protection Plan.

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                                                                       Rvsd Plan - 00005122
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 31 of 475




                    (iii) Projects undertaken pursuant to paragraphs (c)(1)(i) and (ii) of this section
                    willfocus on cutting and removing generally small diameter trees to create fuel
                    conditions that modiifyfire behavior while retaining large trees to the maximum
                    extent practical as appropriate to the forest type.
            (2) The Regional Forester determines tree cutting, sale, or removal is needed outside the
            community protection zone where there is a significant risk that a wildland fire
            disturbance event could adversely affect a municipal water supply system or the
            maintenance of that system. A significant risk exists where the history of fire occurrence,
            and fire hazard and risk indicate a serious likelihood that a wildland fire disturbance
            event would present a high risk of threat to a municipal water supply system.
                    (i) Projects will focus on cutting and removing generally small diameter trees to
                    create fuel conditions that modiify fire behavior while retaining large trees to the
                    maximum extent practical as appropriate to the forest type.
                    (ii) Projects are expected to be infrequent.
            (3) Tree cutting, sale, or removal is needed to maintain or restore the characteristics of
            ecosystem composition, structure and processes. These projects are expected to be
            infrequent.

        See 36 CFR 294.42.

   Similarly, the Draft Plan provides a number of conditions when road construction or
   reconstruction will be allowed, but the direction does not include the sideboards provided in the
   Colorado Roadless Rule. Compare the language in the Draft Plan at 83 to the regulatory
   language at 36 CFR 294.43(c)(1) and (2).41

   The section on linear construction zones (LCZ) also does not reflect the sideboards provided in
   the Colorado Roadless Rule. See 36 CFR 294.44(c). Specifically, the rule provides clear
   direction that: 1) LCZs needed for construction or maintenance of water conveyance structures
   are only permitted for those structures operated pursuant to a pre-existing water court decree; 2)
   LCZs needed for construction or maintenance of power or telecommunication lines can only be
   authorized if there is no opportunity for the project to be implemented outside of a Colorado
   Roadless Area without causing substantially greater environmental damage, and 3) LCZs
   needed for construction or maintenance of oil and gas pipelines are authorized when the
   construction through a roadless area would cause substantially less environmental damage than
   alternative routes. Pipelines that transport oil and gas through roadless areas (i.e., the source
   and destination of the pipeline are outside of the roadless area) are not authorized.

   Recommendation: The RGNF must correct the land management plan direction where
   substantive differences between the land management plan language and the Colorado Roadless
   Rule exist and the Colorado Roadless Rule’s language is more restrictive. In other words, the
   Plan must be at least as restrictive as the Colorado Roadless Rule.



   41 In addition to leaving out sideboards, Point 6 (Plan at 83) misstates when temporary road construction is allowed
   in non-upper tier roadless areas by conflating 294.43(c)(1)(iv) and (v), under which temporary road construction is
   allowed for water conveyance structures (iv) and to protect public health and safety in the face of an imminent treat
   (iv). These are separate situations for authorization for temporary road construction.

                                                            51

                                                                                     Rvsd Plan - 00005123
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 32 of 475




    B. Proposed Management Area 3.6
   The Draft Plan rightly notes the two exceptions for road building allowed in upper tier roadless
   areas by the Colorado Roadless Rule. See 36 CFR 294.43(b). However, the Draft Plan fails to
   include the sideboards provided in the Colorado Roadless Rule related to road building in upper
   tier areas at 36 CFR 294.43(b)(3).

   Recommendation: The Final Plan must incorporate these important sideboards necessary for the
   long-term conservation of roadless area characteristics.


     C. Decommissioning Direction in the Colorado Roadless Rule
   While the Colorado Roadless Rule provides direction on the decommissioning of roads and
   LCZs, the direction for MA 3.5 and 3.6 does not. The Colorado Roadless Rule’s direction is as
   follows:

          Decommission any road and restore the affected landscape when it is determined that the
          road is no longer needed for the established purpose prior to, or upon termination or
          expiration of a contract, authorization, or permit, if possible; or upon termination or
          expiration of a contract, authorization, or permit, whichever is sooner. Require the
          inclusion of a road decommissioning provision in all contracts or permits. Design
          decommissioning to stabilize, restore, and revegetate unneeded roads to a more natural
          state to protect resources and enhance roadless area characteristics. Examples include
          obliteration, denial of use, elimination of travelway functionality, and removal of the road
          prism (restoration of the road corridor to the original contour and hydrologic function).

   36 CFR 294.43(d)(2). And,

          All authorizations approving the installation of linear facilities through the use of a linear
          construction zone shall include a responsible official approved reclamation plan for
          reclaiming the affected landscape while conserving roadless area characteristics over the
          longterm. Upon completion of the installation of a linear facility via the use of a linear
          construction zone, all areas of surface disturbance shall be reclaimed as prescribed in the
          authorization and the approved reclamation plan and may not be waived.

   36 CFR 294.44(e).

   Recommendation: The Final Plan must incorporate as a standard the Colorado Roadless Rule’s
   direction to decommission roads and reclaim LCZs in Colorado Roadless Areas.


    D. Use and Designation of Roads in Roadless Areas

   The Colorado Roadless Rule directs that roads constructed in roadless areas shall prohibit public
   motorized vehicles including off-highway vehicles except where specifically used for the

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                                                                         Rvsd Plan - 00005124
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 33 of 475




   purpose for which the road was established or where motor vehicle use is specifically authorized
   under federal law or regulation. See 36 CFR 294.43(d)(4). The Colorado Roadless Rule also
   specifies that a temporary road generally cannot be changed to a system road. See 36 CFR
   294.43(d)(3).

   Recommendation: The Final Plan should incorporate these prohibitions as standards.


     E. Absence of Plan Components
   We really like the fact that the Draft Plan provides direction on activities and uses in upper and
   lower tier roadless areas. We are confused, however, about whether the language constitutes
   standards, guidelines or other plan components. We understand that the text is describing the
   management of these lands pursuant to the Colorado Roadless Rule direction and that the
   Colorado Roadless Rule is enforceable. However, if the Colorado Roadless Rule were to be
   modified substantially or revoked, the plan language would be the only guiding direction for
   these areas and would as currently crafted lack plan components. Hence, we ask that you add
   plan components, including standards, to this section. At a minimum, the limitations on tree
   cutting, sale, and removal; road construction and reconstruction; and the use of linear
   construction zones must be standards.


     F. Correction Needed
   Under MA 3.6 - Upper Tier Colorado Roadless Area, there is a mis-cite to the Code of Federal
   Regulations: “Road and trail construction and reconstruction follows direction outlined in the
   2012 Colorado Roadless Rule (36 CFR 223).” Plan at 84. The proper citation is 36 CFR 294.43.


   V. PROTECT SPECIES OF CONSERVATION CONCERN AND OTHER AT-RISK
   SPECIES

    A. INTRODUCTION - LEGAL AND REGULATORY BACKGROUND

        1. Diversity of Plant and Animal Communities

   NFMA codified an important national priority to ensure forest management plans “provide for
   the diversity of plant and animal communities based on the suitability and capability of the
   specific land area” (16 U.S.C. § 1604(g)(3)(B) (2012)). The National Forest Management Act
   (NFMA) established a process for integrating the needs of wildlife with other multiple uses in
   forest plans. Most important, the law set a substantive threshold Forest Service management
   actions must comply with for sustaining the diversity of ecosystems, habitats, plants and animals
   on national forests. This comment section is primarily on the species diversity and ecological
   sustainability aspects of management planning. Determinations of compliance with the NFMA
   diversity requirement must be based on plan components.

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                                                                        Rvsd Plan - 00005125
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 34 of 475




   In the context of at-risk species, a desired condition must meet a two-part test (219.7(e)(1)(i)): 1)
   “a description of specific^ecological characteristics,” and 2) “that must be described in terms
   that are specific enough to allow progress toward their achievement to be determined.” For at-
   risk species, the ecological characteristic must be the ecological condition necessary to meet the
   requirements of 219.9. It is very important to note that desired conditions within a plan area must
   not work against each other and must be mutually achievable. In addition, all other plan
   components must be based on desired conditions and must be integrated with each other.42

   Furthermore, the rule requires standards or guidelines for at-risk species. 36 CFR 219.9. And
   without such standards and guidelines, any assertion or finding that forest plan direction will lead
   to better outcomes, including increased population numbers, greater genetic diversity,
   maintenance and restoration of relevant habitat characteristics, long-term viability, and other
   measurable goals, will be arbitrary and capricious.

   There is a legitimate process to evaluate whether plan components meet planning rule diversity
   requirements, as described below. Clearly the first step is to develop initial plan components that
   attempt to meet planning rule requirements by integrating the necessary ecological conditions for
   at-risk species into the ecosystem plan components. This should be followed by an analysis of
   what species-specific plan components can be tailored to provide ecological conditions necessary
   for at-risk species, which are often identified by BASI and information provided by other state
   and federal agencies.

   Ecosystem plan components are intended to maintain or restore the structure, function,
   composition, and connectivity of terrestrial and aquatic ecosystems and the diversity of
   ecosystems and habitat types (219.9(a)). Ecosystem components would generally be those that
   describe biological conditions at the scale of the selected ecosystems.

   The distinguishing characteristic of species-specific plan components in the planning rule is that
   they are designed for species not otherwise fully provided for by ecosystem plan components.
   Species-specific components may be those that need to be applied at the project level: standards
   and guidelines that provide mitigation for certain activities known to cause adverse effects on the
   species or its habitat. They may also be desired conditions for species populations or for
   conditions at a finer scale relevant to a species’ needs. Plan components to address ecological
   conditions related to human uses and structures may also tend to be directed at the needs of
   specific species.

   A “coarse filter strategy” that relies heavily on ecosystem components is appealing because of
   the apparent efficiency of addressing multiple species in an integrated manner, and because it
   can be developed using familiar available metrics for vegetation attributes. However, a single,
   generalized characterization of habitat is unlikely to provide a reliable basis for multi-species



   42 See NFMA Section 6(f)(1) (16 U.S.C. § 1604(f)(1)), which requires “one integrated plan,” as described in
   219.1(b) and 219.2(b) in the rule. The rule describes all of the other required plan components in terms of the
   desired condition in 219.7(e).

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                                                                                     Rvsd Plan - 00005126
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 35 of 475




   conservation efforts (Cushman et al. 2008). Reliance on habitat characteristics can be expected to
   conserve a species only if the following assumptions are met (Noon et al. 2003):

              • The selected characteristics are adequate as surrogates for the species.
              • The selected characteristics include those threatening the species’ persistence.
              • The spatial resolution of the coarse filter matches the scale at which the species
          responds to environmental heterogeneity.

   The likelihood of these assumptions being valid for most species is low (Noon et al. 2003), and
   therefore some or most at-risk species are likely to require species-specific plan components. The
   coarse filter approach will be more defensible as a primary conservation strategy for at-risk
   species if a robust set of enforceable, detailed plan components is developed with an
   understanding of those species-specific conservation needs.


       2. Ecological Integrity and At-risk Species

   Following the development of meaningful plan components that include the ecological
   conditions necessary to meet the needs of at-risk species, the DEIS can then perform an
   evaluation to determine and demonstrate whether plan components meet the rule requirements.
   The diversity evaluation results in a “status” determination for ecosystem diversity, ecological
   integrity and species persistence and viability.

   The planning rule requires that plan components maintain or restore ecological integrity, which
   occurs (by definition, 219.19) when the dominant ecological characteristics (such as
   composition, structure, function, connectivity, and species composition and diversity) are within
   a range of reference conditions which would allow them to recover from perturbations. This set
   of reference conditions is referred to as the natural range of variation (NRV). NRV is generally
   based on natural disturbance regimes during a historic reference period, but may also include any
   additional information that indicates that something other than this historic range may be more
   appropriate as a future reference condition. It is important to note that BASI related to current or
   likely foreseeable impacts from climatic changes should be incorporated into the discussion,
   modeling, and planning related to NRVs for forest ecosystems. Climate change and associated
   changes in water availability, vegetative structure, and species composition should not merely be
   framed as a separate challenge needing separate planning, but rather as a necessary and critical
   component of the NRV. NRVs cannot merely be based on arbitrary, point-in-time historical
   reference conditions.

   The status of ecological integrity is determined by comparing the expected future conditions
   under proposed plan components for selected integrity characteristics to the NRV for those
   characteristics. In determining the status, the responsible official must consider the effects of all
   plan components on the characteristics; not just those intended to be beneficial. Departures from
   NRV indicate that the ecological integrity of the ecosystem is not sustainable (219.8(a)), and
   therefore diversity will not be achieved (219.9(a)).


                                                     55

                                                                          Rvsd Plan - 00005127
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 36 of 475




   The RGNF proposed plan has not successfully provided specific, detailed and enforceable coarse
   and fine-filter plan components that are tiered off the habitat needs and threats to viability and
   recovery for at-risk, SCC, and listed species. See Appendix A for species-specific management
   guidelines and recommendations. The DEIS has not provided a sufficiently detailed analysis that
   clearly explains the connection between proposed coarse and fine-filter plan components and the viability
   and recovery of at-risk, SCC and listed species, and how the proposed plan components meet the
   requirements of the Endangered Species Act (ESA) and NFMA.

      3. Threatened and Endangered Species

   The 2012 planning rule establishes an affirmative regulatory obligation that forest plans “provide
   the ecological conditions necessary to: contribute to the recovery of federally listed threatened or
   endangered species” (36 C.F.R. § 219.9(b)(1)). The provision supports the “diversity
   requirement” of NFMA (16 U.S.C. § 1604(g)(3)(B)). Forest planning regulations and forest
   plans make conservation decisions and are vehicles to demonstrate compliance with NFMA, as
   well as the ESA.

   The ESA requires the Forest Service and other federal agencies to, “utilize their authorities in
   furtherance of the purposes of this Act by carrying out programs for the conservation43 of (listed
   species)” (16 U.S.C. §§ 1536(a)(1)). Therefore, the ESA requires that the Forest Service must
   use its authorities, including NFMA and its planning process and resulting plans, in furtherance
   of recovery of listed species. Moreover, the preamble to the planning rule specifically links this
   requirement to its responsibility under the ESA for recovery of listed species, stating, "[t]hese
   requirements will further the purposes of § 7(a)(1) of the ESA, by actively contributing to
   threatened and endangered species recovery and maintaining or restoring the ecosystems upon
   which they depend" (emphasis added) (77 Fed. Reg. 21215).

   Under the ESA, delisting or preventing listing requires adequate regulatory mechanisms, which
   courts have determined forest plans can provide—if plan components are legally binding
   (Greater Yellowstone Coalition v. Servheen). Consequently, when developing plan components
   to provide ecological conditions for plant and animal diversity in accordance with 219.9,
   planners should avoid vague or discretionary plan components.

   Standards (and determinations of unsuitability) should be encouraged as a means of meeting
   requirements to provide “necessary” ecological conditions for listed species. Using standards to
   meet this diversity requirement in 219.9 is consistent with the rule’s emphasis on using standards
   when mandatory constraints are needed to meet legal requirements (219.7(e)(1)(iii)). The threat
   of species extinction, or extirpation, from the RGNF is something the Forest Service needs to
   take seriously and address with increased specificity within the forest plan. Ecosystem-level


   43 “Conservation” is defined by the ESA to mean “the use of all methods and procedures which are necessary to
   bring any endangered species or threatened species to the point at which the measures provided pursuant to this Act
   are no longer necessary.”

                                                           56

                                                                                   Rvsd Plan - 00005128
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 37 of 475




   guidance cannot ensure recovery of listed species. A more detailed and nuanced approach is
   necessary, and recovery plans created by the FWS should be the baseline for the Forest Service’s
   approach.

   [Designating certain plant, animal, and fish species as species of conservation concern (SCC),
   per 219.9, is a very important component of any forest plan. SCC designation can help focus
   attention on species that could, without monitoring and appropriate management, slide toward
   extinction and a need to be listed under the Endangered Species Act.] [PROBABLY DELETE]


    B. SAGEBRUSH ECOSYSTEM ASSOCIATED AT-RISK SPECIES

      1. Introduction

   Plan components are not adequate to restore and maintain ecological integrity for the sagebrush
   ecosystem. Gunnison sage-grouse, a threatened species, and Brewer’s sparrow, a potential SCC,
   require this habitat.

   The Poncha Pass area is within the Gunnison sage-grouse historic range (see 79 Fed. Reg. 69192,
   69194, 2014), though habitat conditions must be improved to contribute to the recovery (79 Fed.
   Reg. 69313, November 20, 2014). Higher elevation sagebrush steppe like Poncha Pass may be
   key to the species’ persistence as climate change continues to affect lower elevation habitat
   elsewhere (TNC et al. 2011; Coop 2015). Including lands managed by the Bureau of Land
   Management (48%), the Forest Service (26%), private parties (24%), and the Colorado State
   Land Board (2%), GSRCS (2005) estimated the range of the population to be 20,400 acres
   (GSRCS 2005: 91).

   Terrestrial Ecosystems Assessment 1 and 3 was inadequate to determine the ecological condition
   of sagebrush on the RGNF, and this may be a contributing factor as to why the proposed plan
   falls short of providing the conditions to achieve integrity, sage-grouse recovery, and Brewer’s
   sparrow persistence. The Assessment concluded that the ecosystem was “slightly departed” from
   NRV, but how the results of the Assessment’s modeling data have been interpreted to make this
   determination is not clear. Important information about the vegetation composition, function, and
   connectivity does not seem to be included. For example, what percentage of the ecosystem
   contains sagebrush verses perennial and annual grasses, such as cheatgrass, and pinyon-juniper
   woodlands? What is the extent of fragmentation in the system to enable an assessment of
   connectivity? It’s not clear how heavily the model weighted wildfire data in Table 19 of the
   Assessment 1 and 3 (at 65).




                                                  57

                                                                      Rvsd Plan - 00005129
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 38 of 475




   Despite the Assessment’s limitations, a sufficient collection of best available scientific
   information (BASI) exists to improve proposed plan components in a way that they better assure
   sagebrush integrity can be maintained or restored. The proposed plan includes no components
   specific to the sagebrush ecosystem. We make the assumption that improving and developing
   plan components to provide the conditions that would contribute to the recovery of Gunnison
   sage-grouse and the viability of the Brewer’s sparrow would promote the integrity of the
   ecosystem.

       2. Key Ecosystem Characteristics and Plan Components

   For the most part, the Gunnison sage-grouse and Brewer’s sparrow depend on similar key
   ecosystem characteristics. The DEIS (Table 58 at 244) identified “sagebrush” as the only key
   ecosystem characteristic associated with the Gunnison sage-grouse. We outline essential key
   characteristics with references to BASI and comment on corresponding plan components and
   management approaches below.

   Large, contiguous, unfragmented patches of sagebrush across the landscape. Sage-grouse are a
   landscape species (Connelly et al. 2011a). Migratory populations have large annual ranges that
   can encompass 1,042 mi2 (667,184 ac) (Knick and Connelly 2011, citing Dalke et al. 1963;
   Schroeder et al. 1999; Leonard et al. 2000) (the species may use up to 2,500 mi2 per population
   (Rich and Altman 2001)). Large-bodied birds are generally more strongly affected by habitat loss
   and fragmentation (Winter et al. 2006). Conserving large expanses of sagebrush steppe is the
   highest priority to conserve sage-grouse (Aldridge et al. 2008; Connelly et al. 2011b; Manier et
   al. 2013: 25-26). Maintaining or restoring so that at least 70 percent of the land cover is
   sagebrush steppe essential for supporting sage-grouse (SGNTT 2011: 6; Doherty et al. 2010;
   Wisdom et al. 2011; SGNTT 2011: 7; Karl and Sadowski 2005; Doherty 2008; Connelly et al.
   2000: 977, Table 3; Knick et al. 2013: 5-6) with 15 to 40 percent sagebrush canopy cover
   (Connelly et al. 2000; SGNTT 2011; Hagen et al. 2007). (See also Winter et al. 2006; Connelly
   et al. 2011b; Manier et al. 2013: 25-26; RGNF undated, Centrocercus minimus;). For
   information more specific to the Brewer’s sparrow, see RGNF (undated, Spizella breweri).

   Developing and implementing conservation strategies at regional or landscape scales will have
   the greatest benefit for sage-grouse and their habitat (see Doherty et al. 2011), and for Brewer’s
   sparrows. Protecting large expanses of sagebrush steppe must be high priorities (Connelly et al.
   2011a; Wisdom et al. 2005b). Given the importance of public lands to sagebrush conservation,
   the sensitivity of these lands to disturbance, longer recovery periods and variable response to
   restoration, and their susceptibility to invasion by exotic plants (Knick 2011), land uses that
   negatively affect these lands should be avoided or prohibited in key habitat areas to conserve
   sage-grouse habitat. Establishing a system of habitat reserves in sagebrush steppe will also help
   conserve essential habitat and ecological processes important to sage-grouse conservation.


                                                   58

                                                                        Rvsd Plan - 00005130
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 39 of 475




      DC-WLDF-3: Sujficient habitat connectivity is present in each vegetation type to facilitate
      species movement within and between daily home ranges, for seasonal movements, for
      genetic interchange among species (including Canada lynx and others), andfor long­
      distance movements across boundaries. (Forestwide)

   The word “sufficient” must be quantified. There is no way to measure progress toward the
   achievement of the desired condition (DC). A DC should be developed to be specifically
   applicable to sage-grouse in relation to the species’ connectivity needs based on the BASI
   referenced above.

      DC-SCC-1: A healthy sagebrush steppe ecosystem meets the needs ofsagebrush obligate
      species including, but not limited to, Brewer’s sparrow. (Forestwide)

   Healthy is too subjective and vague for this DC to meet planning rule requirements. While the
   Assessment is flawed, it claimed the sagebrush ecosystem is outside of its NRV. The DC should
   outline the natural range of variability (NRV) for the key characteristics necessary for Brewer’s
   sparrows (and sage-grouse) and describe how restoring the ecosystem toward NRV can be
   achieved.

      DC-TEPC-l: Occupied or potential Gunnison sage-grouse habitat is maintainedfor habitat
      integrity and diversity using information provided by the local interagency working group
      and/or Range-wide Conservation Plan. (Forestwide)
      DC-TEPC-2: Occupied or potential Gunnison sage-grouse habitat provides for habitat
      integrity and diversity using information provided by the local interagency working group
      and/or Range-wide Conservation Plan. (Forestwide)

   Plan at 24.

   DC-TEPC-1 and DC-TEPC-2 are virtually identical. Both require additional specificity
   regarding how to provide for “habitat integrity.” It’s not clear what “diversity” means, and this
   must be clarified. The revised plan cannot simply refer to external policy for direction. It is fine
   to use such direction when it reflects the BASI, but the direction must be written into the revised
   plan. In the case of these two proposed plan components, it’s not clear: 1) what precisely the
   “local interagency working group” or the “Range-wide Conservation Plan” are, 2) what
   “information” will be used, and 3) how the “information” will be used. We’re assuming the
   “Range-wide Conservation Plan” is the 2005 plan of which the Forest Service is a signatory. If
   so, this plan is outdated. The Gunnison sage-grouse was listed as threatened under the ESA by
   the USFWS in part because this and other plans were found to be inadequate to conserve and
   recover the species.


                                                    59

                                                                         Rvsd Plan - 00005131
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 40 of 475




   Tall and medium height grasses and shrub cover at nest sites, >7.5 inches. Gregg et al. (1994:
   165) noted that “[l]and management practices that decrease tall grass and medium height shrub
   cover at potential nest sites may be detrimental to sage grouse populations because of increased
   nest predation. ^ Grazing of tall grasses to <18 cm would decrease their value for nest
   concealment. ^ Management activities should allow for maintenance of tall, residual grasses or,
   where necessary, restoration of grass cover within these stands.” Hagen et al. (2007) conducted a
   quantitative meta-analysis of existing research on greater sage-grouse nesting and brood-rearing
   habitat and confirmed that female sage-grouse typically select nesting sites with greater
   sagebrush cover and grass height compared to random locations, and that brood areas usually
   had less sagebrush, taller grasses, and greater forb and grass cover than at random sites. (Gregg
   et al. 1994; Hagen et al. 2007); Connelly et al. 2000; Hagen et al. 2007; Braun et al. 2005)

      S-WLDF-6: Retain residual grass coverfrom the previous growing season where tall, dense
      cover is desiredfor ground-nesting birds. (Forestwide)

   Plan at 27.

   We agree with the concept of this standard, and believe it’s an important standard with some
   added specificity. A standard must be developed to provide for the specific requirement of >7.5
   inches of grass height during nesting season that is specific to the Gunnison sage-grouse.

   High quality winter habitat. Sage-grouse typically show high fidelity to winter habitat, and a
   single area may support several different breeding populations. Consequently, the loss or
   fragmentation of wintering areas can have a disproportionate impact on sage-grouse population
   size. Scientists have also observed that the quality of winter habitat appears to influence the
   abundance and condition of female sage-grouse and their nesting effort and clutch sizes in spring
   (Moynahan et al. 2007; Caudill et al. 2013). Again, the plan must provide specific components
   related to sage-grouse and habitat that, in aggregate, will contribute to the recovery of the
   species; this means identifying winter habitat and assessing the conditions of this habitat.

   Riparian areas and wetlands. Sage-grouse use riparian areas and wetlands.

       G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
          • Manage riparian areas and wet meadows to meet proper functioning condition while
            striving to attain reference state vegetation relative to the ecological site description.

   Plan at 24-25.




                                                   60

                                                                        Rvsd Plan - 00005132
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 41 of 475




   This is also an important guideline. It must be linked to a DC that describes target ecological
   conditions (the “reference state”). The plan must define “properly functioning condition.” See
   Connelly et al. (2000).

      3. Ecosystem Stressors and Threats

   Sagebrush areas are underrepresented in that national wilderness preservation system and have
   been underappreciated as habitat essential for sagebrush obligate species. Livestock grazing,
   roads, and invasive species are stressors, for example, and both the sage-grouse and Brewer’s
   sparrow are sensitive to human disturbance.

       G-SCC-4: Avoid impacts to Brewer’s sparrow habitat by:
          • Mitigatingfragmentation ofsagebrush by motorized and mechanized activities
          • Use grazing systems that discourage fragmentation and promote and maintain late
            seral understory plant composition
          • Maintaining large patches of sagebrush that provide suitable habitat and display a
            variety of structural conditions. (Forestwide)

   Plan at 20.

   Again, the guidelines must be linked to a DC that describes the conditions for which the
   guideline is intended to provide direction. For example, if “late seral understory plant
   composition” is necessary for Brewer’s sparrow viability, this must be provided for by DCs,
   guidelines, and standards. What are the structural conditions?

   Livestock grazing. Domestic livestock and other ungulates alter vegetation, soils, hydrology, and
   wildlife species composition and abundances that exacerbate the effects of climate change on
   western landscapes. Removing or reducing livestock grazing across large areas of public land
   would alleviate a widely recognized and long-term stressor and make ecosystems less susceptible
   to the effects of climate change. Cattle grazing exacerbates cheatgrass (Bromus tectorum)
   dominance in sagebrush steppe by decreasing bunchgrass abundance, shifting and limiting
   bunchgrass composition, increasing gaps between perennial plants, and trampling biological soil
   crusts. Grazing was also not found to reduce cheatgrass cover, even at the highest grazing
   intensities. (Beschta et al. 2012; Reisner et a. 2013)

   See additional comments on livestock grazing elsewhere.

      S-WLDF-7: Manage livestock grazingfrom April 15 to July 1 provide coverfor ground­
      nesting bird species that prefer undisturbed cover. (Forestwide)

   Plan at 27.

                                                   61

                                                                       Rvsd Plan - 00005133
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 42 of 475




   This is an important standard. However, it must be clear what “manage” means in order to
   provide unambiguous direction. Additional strategies could then be described in management
   approaches. Restrict grazing until the completion of sage-grouse breeding and nesting period,
   and seasonally remove livestock from late brood-rearing habitat to allow sufficient regrowth of
   native grasses to ensure adequate residual height.

       G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
          • Design proojects or activities to mitigate or avoid the direct or indirect loss o_f habitat
             necessary for maintenance of the local population. ^
       • Ensure livestock grazing is compatible with nesting and brood-rearing objectives in sage
          habitats and riparian areas.

   Plan at 24-25

   This is potentially an important guideline, but it must be modified. The proposed plan has
   provided no “nesting and brood-rearing objectives.” What are these objectives? Native, perennial
   grass cover must exceed 7.5 inches during nesting and brood-rearing season, in accordance with
   the BASI, and this must be a standard. Livestock grazing should be restricted where cheatgrass
   (Bromus tectorum) occurs in sagebrush (Reisner et al. 2013; Chambers 2008; Reisner 2010).
   Utilization levels should not exceed 25 percent annually on uplands, meadows, flood plains and
   riparian habitat (Holecheck et al. 2010; BLM & USFS 1994).44 This guideline must be linked to
   a DC that is clear and specific about the ecological conditions necessary to achieve integrity for
   the sagebrush ecosystem. It’s not enough to “maintain” the local population. The RGNF must
   work toward restoring conditions and recovery of the population.

      MA-RNG-1: A_fter all other solutions have been extensively considered, remove livestock
      from the grazing unit or allotment when further utilization on key areas will exceed
       allowable-use criteria, allotment management plan guidance, or annual operating
       instructions. Damage from use can resultfrom many things including but not limited to
       wildlife, recreation, flooding, and livestock grazing, none of which should push the use
       beyond what is allowed. (Forestwide)

   This should be a standard. See our comments on this under Specific Issues with Forest-wide
   Management Direction.

   Additionally, we recommend plan components that support limits on winter grazing to enable
   sufficient residual grass height for nesting for the next breeding season (See W. Watersheds


   44 “A community is considered to be at its natural potential when the existing vegetation is between 75-100 percent
   of the site’s potential natural plant community.” BLM & USFS 2004: 3-26.

                                                            62

                                                                                    Rvsd Plan - 00005134
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 43 of 475




   Project v. Salazar, 843 F.Supp.2d 1105, 1115 (D. Idaho 2012), citing Braun (2006,
   unpublished); W. Watersheds Project v. Dyer, 2009 WL 484438, at * 21 (D. Idaho 2009)).
   Components are also needed to provide direction to avoid new structural range and livestock
   water developments in essential habitat, and institute best management practices to prevent, or
   limit and mitigate, the potential spread of West Nile virus (SGNTT 2011: 17).

   Ground disturbing activities by humans. Sage-grouse require sagebrush-dominated landscapes
   containing minimal levels of anthropogenic disturbance. Ninety-nine percent of remaining active
   sage-grouse leks were in landscapes with less than 3 percent disturbance within 5 km of the lek,
   and 79 percent of the area within 5 km was in sagebrush cover (Knick et al. 2013).

      S-WLDF-1: Avoid or minimize disturbances as much as possible during the local nesting
      season (April 15 - July 1 for most passerine birds). Evaluate the Ojfects ofprojects and
      activities on migratory and resident birds, with a focus on species of management concern
      (species of conservation concern, and birds of conservation concern identified by the U.S.
      Department ofInterior Fish and Wildl_fe Service). Consider important l,_fe history needs such
      as nesting requirements, post-fledging areas, and stop-over habitats. Incorporate
      conservation measures and principles, as applicable and needed, from local bird
      conservation plans (e.g., Colorado Bird Conservation Plan, Rio Grande National Forest
      Avian Monitoring Analysis documents) and/or other references into project design to
      eliminate or minimize potential adverse ejfects. (Forestwide)

   Plan at 26-27.

   Define what “disturbance” means for this DC. Change the first sentence to: “Avoid disturbances
   during the local nesting season (April 15 - July 1 for most passerine birds) as needed to
   contribute to recovery of sage-grouse and the viability of Brewer’s sparrows and protect other
   breeding birds.” Be specific about which “conservation measures and principles” should be
   followed from the listed documents. The BASI demonstrates the importance of limiting surface
   disturbance to less than 3 percent per section in habitat (SGNTT 2011: 21, 24; Holloran 2005;
   Doherty et al. 2010; Doherty 2008).

   Energy development. The proposed plan does not provide adequate direction for protecting
   sagebrush and sage-grouse and Brewer’s sparrows. There should be no surface occupancy
   associated with energy development in sagebrush habitat (Moynahan et al. 2007; Walker 2007;
   Doherty et al. 2008; Carpenter et al. 2010).

      MA-WLDF-21: Locate and design wind energy structures to minimize or prevent wildlife
      mortality. (Forestwide)



                                                  63

                                                                       Rvsd Plan - 00005135
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 44 of 475




   Plan at 30.

   Exclude renewable energy development in sage-grouse habitat as recommended by the BASI
   (SGNTT 2011: 13; Jones 2012). If development is permitted (e.g., valid existing rights), locate
   turbines and infrastructure at least four miles from sage-grouse leks (Manville 2004; Jones
   2012). Do not site wind energy development in or adjacent to sage-grouse wintering areas.

   Invasive plants. Pinyon-juniper encroachment and the spread of the non-native, annual
   cheatgrass are detrimental to sagebrush and incompatible with sage-grouse and Brewer’s
   sparrow occupancy.

       G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
          • Design fuels treatment ob^jectives to protect existing sagebrush ecosystems, modi_fy
            fire behavior, restore native plants, and create landscape patterns that benefit
             habitat. (Forestwide)

   Plan at 24-25.

   The guideline is necessary but does not provide sufficient specificity to allow for project-level
   direction. Develop plan components that provide direction for the following, based on BASI: In
   areas of pinyon/juniper, avoid treating old-growth or persistent woodlands. In areas where
   sagebrush is prevalent or where cheatgrass is a concern, utilize mechanical methods rather than
   prescribed fire. Prohibit prescribed fire in sagebrush steppe with less than 12 inches annual
   precipitation (SGNTT 2011: 26, citing Connelly et al. 2000; Hagen et al. 2007; Beck et al. 2009)
   or areas with moderate or high potential for cheatgrass incursion (Miller et al. 2011). Prohibit
   herbicide application within 1 mile of sage-grouse habitats during season of use; prohibit use of
   insecticides (Blus et al. 1989). Restore non-native seedings with native vegetation where it
   would benefit sage-grouse (SGNTT 2011: 16-17).

   Roads and power-line rights of way. The proximity of transmission lines was, among other
   factors, predictive of nest location for common ravens in/near sagebrush steppe. The research
   supports other findings that transmission lines provide favorable conditions for ravens, a predator
   of sage-grouse. (Howe et al. 2014)

      MA-lNFR-8: Manage road use by seasonal closure ._f:
        • Use is causing unacceptable damage to soil and water resources due to weather or
           seasonal conditions
        • Use is causing unacceptable wildl,_fe conflicts or habitat degradation
        • Use is resulting in unsafe conditions due to weather conditions
        • The road(s) serve a seasonal public or administration need



                                                   64

                                                                       Rvsd Plan - 00005136
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 45 of 475




           •     The area accessed has seasonal needfor protection or non-use. (General Forest
                 Geographic Area, Specially Designated Geographic Area)

   Plan at 61.

   To protect sagebrush and associated at-risk species from road effects, specific plan
   components—not merely management approaches—must be developed based on the BASI. See
   below:

       •   Exclude new rights-of-way in sagebrush habitat (SGNTT 2011: 12).

       •   Develop valid existing rights-of-way in essential habitat in accordance with National
           Technical Team report prescriptions (SGNTT 2011: 13).

       •   Limit motorized travel to designated routes trails in essential habitat (SGNTT 2011: 11).
           Implement appropriate seasonal restrictions on motorized travel to avoid disrupting sage­
           grouse during season of use (Holloran 2005; Aldridge et al. 2012).

       •   Close existing trails and roads to achieve an open road and trail density not greater than 1
           km/1km2 (.6 mi/.6 mi2) in sage-grouse habitat (Knick et al. 2013).

       •   Where valid existing rights-of-way are developed, restrict road construction within 1.9
           miles of sage-grouse leks (Holloran 2005).

       •   Bury existing transmission lines in essential habitat, where possible (SGNTT 2011: 13).

       •   Install anti-perching devices on transmission poles and towers (SGNTT 2011: 64).
           Dismantle unnecessary infrastructure.

   See additional comments on Infrastructure components under Specific Issues With Forest-Wide
   Direction.

   Anthropogenic noise. Anthropogenic noise from energy development and roads can cause
   greater sage-grouse to avoid otherwise suitable habitat and increase stress responses in birds that
   do remain, which could adversely affect disease resistance, survival and reproductive success.
   The effects of noise from many common activities in the sagebrush biome significantly expands
   the human footprint on the landscape and impacts on sage-grouse (Blickley et al. 2012). The
   RGNF plan should have a standard that prohibits noise levels associated with any anthropogenic
   activity to not exceed 10 dBA above scientifically established natural ambient noise levels at the
   periphery of sage grouse mating, foraging, nesting, brood-rearing, and winter habitat during each
   season of use by sage-grouse (Patricelli et al. 2013; SGNTT 2011: 64, citing Patricelli et al.


                                                    65

                                                                         Rvsd Plan - 00005137
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 46 of 475




   2010). Patricelli et al. (2012) recommend measuring compliance with noise objectives at the
   edge of areas critical for foraging, nesting and brood-rearing rather than at the edge of the lek.


      4. Additional Recommended Plan Components

   Measures for ameliorating the effects of climate change on species and landscapes include
   increasing the size and number of protected areas, maintaining and enhancing connectivity
   between protected areas, and identifying and protecting areas likely to retain suitable
   climate/habitat conditions in the future (even if not currently occupied by the species of
   concern). Management should also repulse invasive species, sustain ecosystem processes and
   functions, and restore degraded habitat to enhance ecosystem resilience to climate change
   (Chester et al. 2012; NFWPCAS 2012).

   Designate restoration sage-grouse habitat to focus habitat restoration efforts to extend sage­
   grouse habitat and mitigate for future loss of priority habitat (BLM Memo MT-2010-017).
   Restoration habitat may be degraded or fragmented habitat that is currently unoccupied by sage­
   grouse, but might be useful to the species if restored to its potential natural community.
   Restoration habitat should be identified in management planning based on its importance to
   sage-grouse and the likelihood of successfully restoring sagebrush communities (Meinke et al.
   2009; Wisdom et al. 2005a). Effective restoration requires a regional approach (e.g., sub/regional
   ElSs) that identifies appropriate options across the landscape (Pyke 2011). Passive restoration is
   preferred for restoring these areas over active restoration methods.

   Although cooperation among many federal and state agencies and private land owners will be
   necessary to conserve sage-grouse and sagebrush habitat (Stiver et al. 2006), the federal
   government and federal public land are key to achieving these goals. Federal agencies must
   prioritize sagebrush conservation if sage-grouse are to persist (Connelly et al. 2011a).


      5. Unauthorized Motorized Use In Gunnison Sage Grouse Habitat

   A small population of Gunnison Sage Grouse (Centrocercus minimus) may exist near Poncha
   Pass. This species is critically imperiled on a global scale, and was listed as a threatened species
   by the US Fish and Wildlife Service in November of 2014.

   There are 5060 acres of Forest land near Poncha Pass considered to be part of the overall range
   of this species. DEIS at 219.

   We believe significant unauthorized motorized use on Forest land is resulting in negative
   impacts to Gunnison sage grouse and grouse habitat near Poncha Pass.


                                                    66

                                                                         Rvsd Plan - 00005138
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 47 of 475




   We conducted field surveys by walking routes on the ground within Colorado Parks and Wildlife
   identified Gunnison Sage Grouse overall range in the 2016 and 2017. We located and
   documented over 30 separate undesignated routes, totaling approximately 12.5 miles, that are
   being used by motorized vehicles on Forest land in this area.

   One area, south of the Decker Creek road #990, contains a high density of unauthorized routes
   within a Colorado Parks and Wildlife identified Gunnison sage grouse production area. The
   density unauthorized routes exceeds 1.2 miles of route per square mile in this area.

   None of these routes are legally open to public motorized use according to the most recent 2016­
   2018 Motor Vehicle Use Map for the Saguache Ranger District. This map indicates that there
   are only five designated system roads, totaling approximately 4.5 miles in length, within this
   area. Thus, there are 2.8 times more miles of unauthorized motorized use occurring within this
   area than miles of legal motorized use.

   It is not known if any of these routes are permitted (e. g., by special use) or administrative routes.
   Some may be decommissioned or closed Maintenance Level 1 forest roads. We did not observe
   any informational signage on the ground that would inform the public that these routes were not
   available to public motorized use. We did observe a few gates on routes at the forest boundary,
   but these gates were all open, unlocked, and there was no evidence of locks or chains being used
   on these gates. Regardless of the above, all of these routes are still receiving regular motorized
   use by the public.

   There are a few routes on the ground which may receive authorized or permitted motorized use,
   but we did not observe evidence of unauthorized public motorized use.

   GIS data detailing this unauthorized motorized use is attached (see Exhibit 6), and depicted in
   the enhanced aerial image below.

   This unauthorized motorized use has probably resulted in adverse effects to grouse in this area
   which has not been fully considered and assessed in the DEIS. It may have caused the apparent
   near-disappearance of the Poncha Pass area population. See DEIS at 218.

   The DEIS states:

         Use of existing, designated routes will not cause further harm to current sage-grouse
         habitat, but may harass any remaining birds. There is a moderate chance of some
         adverse effect resulting from unintentional harassment by motor vehicle users and
         other recreationists; however, this risk is not new and was analyzed when the
         reintroductions were planned.

   DEIS at 221. The plan only considers harassment to grouse from the use of motorized system
   routes, but impacts from unauthorized routes has not been fully considered.

   We agree that:



                                                     67

                                                                          Rvsd Plan - 00005139
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 48 of 475




          illegal off-route travel by off-highway vehicles continues to be a problem on the
          Forest, as well as on many other federal lands. Most of this occurs in the form of
          short-distance loops or spurs off existing routes, especially in riparian areas. These
          have the same impacts as those of planned routes and may have additional, more
          severe, impacts due to their unplanned nature.

   DEIS at 239. Although we documented some short unauthorized routes in this area, others
   exceeded 1.8 miles in length and loops exceeding 2 miles in length are being used.

   The following negative effects are likely occurring due to the presence and use of these routes:

      •    loss of and degradation of habitat due to route presence and disturbance on the
           ground(see Trombulak and Frissell 2000; Connelly et al. 2011)
      •    increased noise disturbance (Blickley et al. 2012)
      •    facilitation of overnight occupancy and use from dispersed motorized camping, which
           results in additional impacts including noise, loose dogs, human presence, recreational
           target shooting, etc.
      •    spread of invasive species
      •    impacts to waterways and riparian areas
      •    fragmentation of habitat due to routes extending into what otherwise would be solid
           blocks of habitat
      •    a high route density
      •    facilitation of additional human presence, both motorized and non-motorized, as a route
           on the ground permits additional, easier, and more widespread access.

   We believe that the volume, extent and intensity of this unauthorized motorized use was not fully
   analyzed when grouse reintroductions were planned. The popularity of OHV use has increased
   tremendously in the last 15 years, and this has resulted in a corresponding increase in
   unauthorized use. Our observations indicate that unauthorized motorized use in grouse habitat
   on the forest has been increasing each year. Decisions by the BLM and adjacent Salida Ranger
   District (on the Pike-San Isabel National Forest) to add additional public OHV routes on their
   lands will likely result in additional use of the RGNF.

   The Forest plan must include stronger language that directs the Forest to implement existing
   travel management decisions through the installation of signage and structures, and to close and
   decommission unauthorized routes. Draft Plan direction at Recreation Standard 3 currently
   states: “Close, rehabilitate and otherwise mitigate dispersed sites” when certain conditions are
   met. Plan at 65. This must be broadened to include linear undesignated routes and areas, and not
   simply specific sites.

   Many of these unauthorized routes originate from system and non-system routes on BLM land.
   Some unauthorized routes originate from USFS designated roads. Other routes originated from
   private land, cross BLM land, and then extend into the Forest. The Forest must not depend upon
   the BLM or private landowners to take action to properly manage damaging unauthorized use on
   land under Forest jurisdiction, though it should encourage efforts by other landowners to close
   unneeded or damaging roads.

                                                     68

                                                                          Rvsd Plan - 00005140
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 49 of 475




   We agree with DEIS statements that potential wilderness designation of Forest lands in this area
   would be beneficial to grouse, and that this would ensure that no additional roads are constructed
   in this area. Id. at 222. Recommended wilderness areas in alternative B and D do not include
   some of the highest concentrations of unauthorized routes south of the Decker Creek Road 990.

   Wilderness and other designations may be helpful, but past and future administrative decisions,
   do not benefit a species unless they are properly implemented and managed on the ground.




          Enhanced aerial image depicting land ownership with USFS land shaded in green,
              2017 Colorado Parks and Wildlife grouse overall range (yellow line) and
                       unauthorized motorized use on USFS lands (red lines)


     C. CANADA LYNX (Lynx canadensis)


                                                   69

                                                                       Rvsd Plan - 00005141
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 50 of 475




           1. The Plan’s Lynx Provisions Need Clarity and Strengthening

   As an initial matter, we are pleased that the DEIS states the Forest will consult under Section 7
   of the ESA with the U.S. Fish and Wildlife Service (USFWS) (DEIS at 198). The Forest Service
   should make its Biological Assessment available to the public and should also promptly post the
   Biological Opinion from USFWS on the RGNF’s plan revision website as soon as it is complete
   and received by the Forest. We look forward to seeing the result of this legally required
   consultation process.

   The changed ecological conditions in the forest resulting from the recent multi-year, large-scale
   spruce bark beetle outbreak necessitate a precautionary approach to forest management, with a
   high priority on maintaining or restoring ecological conditions necessary to contribute to the
   recovery of Canada lynx (lynx). Generally, viable populations of native wildlife species are
   resilient to natural disturbances, even large-scale changes. The assessment presented inconsistent
   science regarding whether the current forest conditions are outside of their NRV based on
   structure, composition, function, and connectivity characteristics. Though population estimates
   and trend data for the Southern Rockies’ lynx population do not exist, there is no indication that
   numbers are sufficient to consider the population viable. Given the likelihood that the population
   has remained small, it may be more vulnerable to perturbations, even those that occur naturally.

   The management actions and projects that are within the Forest Service’s control and have the
   potential to impact lynx and lynx habitat must only occur with extreme care and strict adherence
   to strong and clear direction from the forest’s management plan. We are pleased that the
   proposed plan has retained the Southern Rockies Lynx Amendment (SRLA) plan components.
   Now is not the time to make radical changes in management direction. The SRLA components
   are necessary to contribute to lynx recovery but we are concerned that they are not fully
   sufficient, owing to the condition on the forest. We recommend strengthening plan components,
   incorporating additional direction, and modifying some definitions in the SRLA to meet the
   threatened and endangered species recovery requirement of the planning rule (219.9(b)(1)) (see
   above).

   The RGNF was prudent to help support a study on the response of lynx to mass spruce tree
   mortality associated with the beetle outbreak. The progress report (Squires et al. 2017) providing
   preliminary results should inform the revision and refinement of plan components as should final
   results, when these are available. The study results should be considered a significant part of the
   BASI informing lynx direction. The progress report noted that lynx depend on forest stands of
   value for salvage harvest. The Squires et al. (2017) progress report noted the following:

       •     “Lynx actively selected forest stands with high horizontal cover and high snowshoe hares
             density.” At 11. They tended to prefer “areas with >50% horizontal cover in the summer
             and >40% in the winter.” At 9.
       •     “Lynx selected forest stands with abundant ABLA [subalpine fir] in the understory.” At
             11.
       •     “Canopy cover (live + dead) is higher in stands selected by lynx relative to random^”.
             At 11.


                                                    70

                                                                          Rvsd Plan - 00005142
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 51 of 475




       •   “Lynx selected forest stands with high tree (i.e., >3 inches DBH [diameter at breast
           height]) densities; generally >400 trees/acre ^”. At 11.
       •   “Abundant large live trees, and medium, large, and very large dead trees appear to be
           important forest components selected by lynx.” At 11.
       •   “Live ABLA [subalpine fir] and PIEN [Engelmann spruce] tree (i.e., >3 inches DBH
           [diameter at breast height]) densities as well as beetle-killed PIEN tree densities appear to
           be the species-specific components selected for by lynx. At 12.

   Salvaging trees in significant areas of beetle-affected spruce-fir forest could have devastating
   effects on lynx habitat without a comprehensive set of plan components that fully account for the
   changed condition. Vegetation management (e.g., timber harvest, salvage or sanitation harvest,
   precommercial thinning, and fuels treatment), is considered a “first tier” threat according to the
   RGNF’s wildlife overview for the lynx (RGNF Undated, Lynx canadensis), which references the
   Interagency Lynx Biology Team’s Canada Lynx Conservation Assessment and Strategy (LCAS
   2013) (ILRB 2013). The LCAS 2013 provides a compilation and synthesis of the BASI up to
   2013. Vegetation management can create forest openings that lynx avoid, forest fragmentation
   that present barriers to movement, and risks to den sites from disturbance, for example.

   Other anthropogenic stressors to lynx habitat include snow compaction resulting from over-snow
   vehicle use and roads and trails, livestock grazing—particularly in riparian-willow areas, and
   disturbance to lynx from recreational activities. Management can limit the impacts of these
   activities. Climate change is also a stressor. With climate change impacts already apparent on the
   forest, it is imperative that the forest plan provide protection to lynx and lynx habitat from threats
   it can control.

   We make the following recommendations to improve the revised plan’s ability to contribute to
   lynx recovery.

   Desired Conditions

   The plan must include desired conditions for the ecological characteristics necessary for lynx
   recovery in relation to structural, compositional, functional, and connectivity elements of
   ecosystem integrity. The proposed plan includes a variety of desired conditions related to
   vegetation types as defined by the RGNF, including the spruce-fir forest type. However, the
   existing desired conditions are too vague, general, and incomplete, in the aggregate, to provide
   meaningful guidance and the ability to determine progress toward their achievement as required
   by the planning rule. For example, DC-WLDF-3 (Plan at 25) pertaining to connectivity, which
   states, “[s]ufficient habitat connectivity is present in each vegetation type to facilitate species
   movements” must define what “sufficient” means. As we’ve stated elsewhere, we believe DC-
   VEG-4 and DC-VEG-5 (Plan at 38) should be modified to be plan guidelines; but desired
   conditions to retain green tree patches and maintain mature late-successional spruce-fir forest
   must also be developed and linked to the guidelines.

   Obbjectives




                                                    71

                                                                          Rvsd Plan - 00005143
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 52 of 475




      OBJ-LYNX-1: Over the planning period, reduce adverse highway tjfects on Canada lynx by
      working with other agencies to provide for movement and habitat connectivity, and to reduce
      the potentialfor mortality. (Forestwide)

   It is not clear which desired condition this objective is linked with.

   Standards and Guidelines

   Part of the proposed new standard - VEG S7 (S-LYNX-7) - is a needed addition to the existing
   direction for the SRLA. It recognizes that lynx are still using areas with substantial, or even
   complete, overstory mortality that have an understory that provides dense horizontal cover.
   Standard Veg S 7 (Plan at 22) would apply limitations on vegetation management in areas with
   less than 40 percent canopy cover that still have enough understory to provide quality lynx
   habitat. Importantly, however, the definition for what qualifies as a Standard VEG S7 stand is
   not part of the actual standard itself. We request that this definition be moved into the standard
   itself so that there is no ambiguity as to the nature of this definition. Additionally, the
   relationship between this definition and the SRLA Definition 24 for “Lynx habitat in an
   unsuitable condition” should be explained. We believe that SRLA definition 24 is outdated and
   while in part correct, should be read along with the new definition related to Standard VEG S7.

   However, part 2 of this standard would allow salvage harvest “when incidental damage to
   understory and standing green trees is minimized.” “[M]inimized” is not defined. Damage to the
   understory during project implementation should not be allowed unless the lynx habitat remains
   suitable with no loss of quality, and that it will remain connected to adjacent habitat. Similarly,
   any damage to live trees must be minimized.

   Additionally, the standard does not describe who has the obligation to minimize damage. Is the
   burden on the Forest Service in designing salvage projects? Or is the burden only on the third-
   party operator to minimize damage as they implement the activity, and if so, what is the penalty
   for non-compliance?

   The VEG S7 standard should also be modified to clearly define whether the 200-foot vegetation
   management zone articulated in the standard’s paragraph 1 applies to all recreation sites, as
   defined by the Plan at 138, or to either dispersed recreation sites or developed recreation sites.
   While we understand that this language tracks the language in SRLA Standard VEG S6, we
   would encourage the Forest to eliminate ambiguity. We also encourage the Forest to have the
   200-foot vegetation management zone only apply to developed recreation sites.

   Additionally, we believe this standard does not do enough, and additional direction must be
   added to the standard or additional standards must be developed. The Squires et al. (2017)
   progress report demonstrated the importance of retaining live trees in lynx habitat, and a standard
   that will accomplish that is necessary. There are important conservation measures included in the
   LCAS (ILBT 2013: 86-96), based on BASI, that have not been incorporated in the Plan. For
   example, there is additional direction to prevent or limit: impacts of recreation (ILBT 2013: 94),
   forest/backcountry roads and trails (ILBT 2013: 94), and livestock grazing in riparian-willow
   areas (ILBT 2013: 94). Furthermore, several of the lynx-related Management Approaches are

                                                     72

                                                                            Rvsd Plan - 00005144
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 53 of 475




   written as if they were standards, and should be reframed as standards in the final Plan. We
   discuss those in the section related to Management Approaches below.

   The Supplement to Standard S1 (Plan at 24) should be clarified to reflect that this is a
   supplement to Standard VEG S1.

   With regard to the existing SRLA requirements that are being incorporated into the revised Plan,
   we offer several suggestions for improvement of the SRLA to modernize it and reflect the best
   available scientific information.

   SRLA Standard VEG S2 must be amended to reflect the new definition for unsuitable habitat
   found in what the draft Plan lists as MA-LYNX-2. VEG S2 specifically contemplates salvage
   harvest in insect-killed stands and allows such harvest to occur without contributing to the 15
   percent regeneration of lynx habitat when such treatment would not change lynx habitat to an
   unsuitable condition, and then cites to current SRLA definition 24. The revised plan should tie
   the definition for unsuitable habitat to that in MA-LYNX-2 to ensure that there is no loophole
   allowing logging of what we now know is suitable lynx habitat.

   We also recommend that certain SRLA guidelines be upgraded to standards. In particular, we
   believe that SRLA Guidelines VEG G5 and VEG G11 should be standards. Given that MA-
   LYNX-2 seems intended to protect primary prey habitat (i. e., for hare), the SRLA Guideline
   VEG G5, which seeks to protect secondary prey habitat, should be a standard. Guideline VEG
   G11, which relates to lynx denning habitat, should also be a standard.

   Denning habitat is vitally important for lynx, and seems to be overlooked in many Forest Service
   planning processes in lynx habitat. The USFWS discussed the importance of denning habitat to
   lynx, and included denning habitat as a Primary Constituent Element “that provide[s] for a
   species' life-history processes and [is] essential to the conservation of the species” when
   determining which lands should be designated as Canada lynx critical habitat. 79 Fed. Reg.
   54782, 54811-2 (Sept. 12, 2014). USFWS explained that “a feature or habitat variable need not
   be limiting to be considered an essential component of a species' habitat. Both denning and
   matrix habitats are essential components of landscapes capable of supporting lynx populations in
   the DPS because without them lynx could not persist in those landscapes.” 79 Fed. Reg. at
   54786.

   Because lynx denning habitat “is an essential component of the boreal forest landscapes that lynx
   need to satisfy a key life-history process (reproduction),” USFWS identified “denning habitat to
   be a physical or biological feature needed to support and maintain lynx populations over time
   and which, therefore, is essential to the conservation of the lynx [distinct population segment].”
   79 Fed. Reg. at 54810. The LCAS also notes: “Maintaining good quality and distribution of
   denning and foraging resources within a LAU will help to assure survival and reproduction by
   adult females, which is critical to sustain the overall lynx population.” LCAS at 87. Given the
   clear and undeniable importance of denning habitat to lynx, SRLA Guideline VEG G11 should
   be converted to a standard (reword “should” to “must”) in the revised Plan. Not only should the
   Forest do this of its own accord, but it is also required to do so given the 2012 planning rule’s



                                                   73

                                                                        Rvsd Plan - 00005145
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 54 of 475




   requirements related to recovery of ESA-listed species, as discussed elsewhere in these
   comments.


   Management Approaches

   As discussed above, management approaches are optional plan content intended to describe
   strategies or priorities, relate to desired conditions, and describe processes such as inventory and
   monitoring (FSH 1909.12.22.4). They are meant to provide additional clarity and detail. Several
   of the following management approaches are confUsing and don’t seem to provide any additional
   guidance regarding how to meet desired conditions. Additionally, some of the management
   approaches highlight areas that would be appropriate for inclusion in the monitoring program.

   We believe and appreciate that some of the provisions captured in these management approaches
   are meant to guide vegetation management activities and salvage harvest projects now, under the
   existing plan. However, they must comply with the requirements of the 2012 planning rule for
   the plan revision.

   Most importantly, management approaches are not regulatory mechanisms. If any are necessary
   to contribute to lynx recovery, they must be revised to meet planning rule requirements for plan
   components and incorporated into the plan as components.

      MA-LYNX-1: The Forest intends to use existing lynx habitat baseline conditions or other
      existing information, new science, data, and/or analysis tools to assess whether a lynx
      analysis unit meets Southern Rockies Lynx Amendment standards S1 (30 percent total
      unsuitable limit) and S2 (15 percent management induced unsuitable limit over 10-year
      period). If the limitfor either standard is attained, further conversion to unsuitable (stand
      initiation) cannot occur unless a site-specific plan amendment is developed. (Forestwide)

   This list: “existing lynx habitat baseline conditions or other existing information, new science,
   data, and/or analysis tools” does not assure that information sources and methodologies will be
   based on BASI. In fact, the approach may be undermining the BASI requirement or any
   scientifically accepted method for selecting the most accurate and highest quality of information
   and analysis. For example, “data” sets no acceptable scientific threshold for quality relative to
   other available data. Once this list is updated to properly incorporate planning rule requirements
   related to BASI, this information should all be included in the monitoring program, so that the
   Forest has an official process by which to continuously monitor and report related to these
   changes.

   The second sentence seems to restate the requirements of Standard VEG S1 and VEG S2. It’s not
   clear what the purpose of this management approach is. A management approach cannot set a
   threshold for when a standard cannot be met that would trigger a plan amendment.

      MA-LYNX-2: De_finitions used to determine suitable versus unsuitable lynx habitat due to the
      conditions associated with the spruce beetle outbreak are:



                                                    74

                                                                        Rvsd Plan - 00005146
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 55 of 475




          •   Unsuitable habitat: stands with less than 25 percent live (green) canopy without
              understory that provides at least 20 percent horizontal density (e.g., 1 to 3 meters
              above average snow depth or snowshoe hare winter foraging habitat condition).

          •   Suitable habitat: stands that have greater than 25 percent live canopy with or without
              understory, or stands that contain 0 to 25 percent live canopy and understory trees
              that provide at least 20 percent horizontal density in winter snowshoe hare foraging
              habitat condition. (Forestwide)

   Based on the BASI, these two definitions are necessary to contribute to lynx recovery; they seem
   to be intended to help maintain habitat for snowshoe hares - lynx primary prey. However, as
   with the other definitions for terms referenced in the SRLA, these definitions must be tied to
   specific plan components. The definition for “suitable habitat” is new and not tied to any plan
   components. For it to truly take effect, it must be incorporated into and referenced by a SRLA
   standard or a new standard specific to the Plan. If “unsuitable habitat” is intended to substitute
   for “lynx habitat in an unsuitable condition,” defined in the SRLA (Southern Rockies Lynx
   Management Direction, Record of Decision, October 2008, Attachment 1-12), the mechanism
   for making that change must be explained and appropriately documented in the plan.

   We recommend the two definitions be re-developed as standards to assure that they will serve as
   regulatory plan direction. The new standards must show the direct linkages between the SRLA
   plan components and the new definitions. The plan must show how the definitions will be
   applied with sufficient clarity to enable project planners to understand how they are to serve as
   management direction.

   We understand MA-LYNX-2 is intended to provide direction that would allow for making
   changes without amending the plan. We appreciate that definitions related to lynx direction may
   need to change when the Squires et al. study is finalized and when other science indicates other
   necessary changes. However, in the case of changing plan direction that might change how
   management could affect habitat for a federally threatened species, an amendment is the most
   appropriate, and likely necessary, mechanism for modifying plan direction.

   Finally, we recommend that the phrase “due to the changed conditions associated with the spruce
   beetle outbreak” be changed to “on the Forest.” These definitions should apply regardless if a
   stand has been struck by spruce beetle kill or some other event that decreases canopy cover or
   horizontal density, such as fire, a different insect outbreak, windthrow, climate change, or
   vegetation management. Although spruce beetle outbreak is indeed the largest landscape level
   changed condition that the Forest is currently dealing with, it is unlikely to be the only changed
   condition that the Forest experiences during the life of the revised Plan, and therefore should
   anticipate that its provisions will apply to other situations as well.

      MA-LYNX-3: Prioritize the placement of snag clumps and/or other leave areas around good
      or high-quality winter foraging habitat to meet multiple wildlife habitat ob^jectives.
      (Forestwide)




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                                                                        Rvsd Plan - 00005147
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 56 of 475




   This is written as a plan standard, and likely should be a plan standard with some modification.
   For example, “good” and “high-quality winter foraging habitat” must be defined. It is not clear if
   these concepts are meant to be different or synonymous. To which proposed plan objectives is
   this referring? The “multiple wildlife habitat objectives” must be spelled out in the plan.
   Furthermore, it is questionable that the Forest Service could reasonably meet MA-LYNX-3
   because it lacks the necessary information on the location of good or high-quality winter
   foraging habitat, whatever those are, across the forest, thereby negating its ability to prioritize
   placement of snag clumps and/or other leave areas near such areas. The Forest Service should
   define what good and high-quality winter foraging habitat is, and also add “good-quality
   foraging habitat” and “high-quality winter foraging habitat” to the monitoring program so that
   the Forest identifies where this habitat exists, keeps it up to date based on changing conditions,
   and then is able to use it to identify priority placement of snag clumps and/or other leave areas.

      MA-LYNX-4: Under the landscape conditions associated with the spruce beetle outbreak,
      additional considerations may be needed to provide for habitat connectivity within and
      between lynx analysis units. These considerations include: ^

   The RGNF’s Canada lynx overview makes clear that habitat connectivity between and within
   LAUs is a necessary condition for recovery (RGNF undated, Lynx canadensis), and this is
   supported by the 2013 LCAS (ILBT 2013: 93). The importance of protecting areas that enable
   lynx movement between core habitat areas is supported by a great body of science, including
   several recent studies that should further inform the plan (c.f., ILBT 2013; Squires et al. 2013;
   Kosterman 2014; Holbrook et al. 2017; Vanbianchi et al. 2017). Therefore, the bulleted points
   must be more than mere considerations. The threshold or trigger for when and where this
   direction is “needed to provide for habitat connectivity” should be specified. We have some
   concerns about the four bullet pointed “considerations,” and these must be clarified.

          •   Assessing habitat connectivity at multiple scales at the pro^ject level. Recommended
              foundation for assessment is an established sub-basin (e.g. 8th-level hydrologic unit
               code).

   It’s not clear what this means. The various scales must be specified (e.g., the patch-scale, the
   LAU-scale, the project-scale?). What is the rationale for the HUC-8 foundation for this
   assessment?

          •   Use remaining and recently changed late successional stands as foundations for
              connectivity patches. Recognize that both stand and landscape-level patches may be
              influential.

   This is written as a standard and should be modified to be a standard. It implies plan direction
   but does not provide sufficient information for a project planner to apply the provision. The
   second sentence is vague to the point of being meaningless. What does “influential” mean, for
   example? Influential on what? If influential, what does that mean for project planning and
   implementation? Furthermore, the phrase “recently changed” should be clarified as we assume
   the intent is recently changed as of now, but readers of the plan in 2025 may have a different
   view of what “recently changed” means.

                                                    76

                                                                         Rvsd Plan - 00005148
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 57 of 475




          •    Consider using some stream corridors for movement within and between the planning
               area and lynx analysis units. Stream corridors that are intended to provide functional
               habitat connectivity for lynx and other meso-carnivores should be at least 400 to 600
              feet wide in total, and designed to promote movement within and between suitable
               habitat patches, sub-watersheds, and lynx analysis units, where desired based on
               existing landscape conditions.

   This management approach seems like it could be helpful. It reads like a guideline, and we
   recommend modifying it to be a guideline. It’s not clear what “using” means. Are the 400-600
   feet wide (minimum) corridors to become corridors through management activities? Appropriate
   terminology based on planning rule language would be “maintaining or restoring” with details on
   how to identify and protect such corridors. For example, how would these stream corridors be
   maintained or restored in places where livestock grazing or impactful recreational activities
   occur?

          •   Recognize contiguous understory patches of 0.5 acre or larger as particularly
              valuable to snowshoe hare densities. (Forestwide)

   Specify the plan component linked to this management approach. The word “|r|ecognize” is
   vague here and conveys no guidance in terms of strategy or prioritization, etc. Clarify the intent
   of this statement.

   Finally, we recommend that the phrase “associated with the spruce beetle outbreak” be deleted.
   These items should be considered now in response to the spruce beetle outbreak, but should also
   apply in the future to other potential events in the future that may be broader than the spruce
   beetle outbreak. Although the spruce beetle outbreak is indeed the largest landscape level
   changed condition that the Forest is currently dealing with, it is unlikely to be the only changed
   condition that the Forest experiences during the life of the revised Plan, and therefore should
   anticipate that its provisions will apply to other situations as well.

      MA-LYNX-6: Where desired, based on use information or other local conservation criteria,
      provide additional considerations for lynx denning habitat and/or known current or past
      denning areas. These considerations include: ^

   As has been recommended in previous comments (see Defenders of Wildlife’s scoping
   comments on the RGNF’s Proposed Action, October 28, 2016) that denning areas and known
   den sites must be better protected by plan components, including standards, given the changed
   forest condition. The introductory language is also vague and leaves too much room for
   interpretation down the road. For example, the phrase “where desired” implies that there could
   be scenarios where the Forest Service does not care about lynx denning habitat and would
   choose to ignore these considerations. The phrase “where needed” or “where denning habitat is
   degraded” would improve this provision. Similarly, the phrase “local conservation criteria” is
   vague and open to too much interpretation. The Forest must be more specific. It is vitally
   important that this be rewritten as a standard, as it is highly doubtful any project planner would
   incorporate these considerations if given the leeway provided by the phrase “where desired.”

                                                    77

                                                                        Rvsd Plan - 00005149
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 58 of 475




           •   Use existing den site layer to inform historic and potential denning activity during
               management activities, as needed.

   What is the “existing den site layer”? This management approach must be clarified to enable the
   public to understand what this means. This may be an appropriate management approach with
   some necessary details and specificity.

           •   Use local denning model to inform presence and extent ofpotential denning habitat.
               Combine with local knowledge and field review to define potential high-quality
               denning habitat.

   Our recommendation for the management approach direction just above applies to this
   management approach as well.

           •   Protect known or potential high quality denning habitat through considerations for
               habitat connectivity, snag patch leave areas, or through suitable lynx habitat
               retention needs.

   This is direction that is necessary to contribute to lynx recovery. It is written as a standard, and
   must be a standard in the revised plan. And “protect” must be defined in a way the project
   planners can apply it.

           •   Recognize that lynx may use several maternal den sites in the vicinity of a natal den
                until the post-denning period (August). Provide for continuing availability of lynx
               foraging habitat in proximity to denning habitat where applicable.

   Again, this should be a standard. The language must be modified to meet the requirements of a
   plan standard. For example, project planners must do more than “recognize.” This is supported
   by conservation measures recommended in the 2013 LCAS (ILBT 2013: 91). Further,
   “provid[ing]” for continued availability of lynx foraging habitat is too vague and needs
   additional clarification so that it can be a useful provision for project planners.

   Monitoring and Reporting

   The SRLA imposes several reporting requirements on the Forest Service regarding its
   implementation of the SRLA. The Forest should ensure that in the final revised plan, it is clear
   that any monitoring and reporting obligations related to SRLA implementation or deviations
   from SRLA guidelines do not just extend to the provisions listed in the SRLA itself, but should
   be expanded to include anything related to items in the Plan. While the USFWS may not
   technically require that as part of the SRLA, the Forest should still endeavor to do this as a
   partner in lynx recovery.

   The draft Plan’s monitoring program contains several requirements for USFS monitoring,
   including several related to Canada lynx. And while the list in the proposed plan is a good start,
   the Forest should fine tune the monitoring program to reflect the various lynx-specific

                                                     78

                                                                           Rvsd Plan - 00005150
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 59 of 475




   components so that it can ensure that accurate, up-to-date information is available to project
   planners and the public. In particular, while the broad monitoring questions seem to cover a
   wide-variety of potential items to monitor, the indicators that are actually monitored are
   relatively limited. Any habitat metric that is mentioned in a standard, guideline, objective,
   desired condition, or management approach should be tied to the monitoring program in some
   way. Some missing indicators that should be included are:

       •   Acres/Location of suitable/unsuitable lynx habitat.
       •   Acres/Location of good/high-quality lynx denning habitat
       •   Acres/Location of disturbance and management actions for lynx linkage areas and areas
           identified as providing connectivity between lynx analysis units.


       2. The DEIS Analysis is Inadequate

   The DEIS for the Rio Grande National Forest Revised Land Management Plan lacks sufficient
   analysis of the effects of the revised Forest Plan on a variety of wildlife species, but in particular
   Canada lynx. As an initial matter, the DEIS repeatedly directs readers to a wildlife report, but
   fails to identify where it can be found, its title, its author, or a website where a reader might find
   it to see any additional analysis contained therein. For example, the DEIS at page 214 states:
   “More detailed consideration of the effects of vegetation management on lynx habitat can be
   found in the wildlife report in the project record.” However, review of the RGNF’s forest plan
   revision website does not contain any such document, nor is one included in the references
   section of the DEIS.

   The approach taken by the Rio Grande National Forest does not meet the planning rule’s
   emphasis on transparency in the plan revision process. Without identifying with particularity
   what document this is referencing, where it can be found, and actually making it available to the
   public, the Forest is violating NEPA’s primary goals: to inform to the public of the potential
   environmental impacts of its actions before making a decision. Nor can the Forest rely on
   anything contained in the wildlife report because it has not met NEPA’s requirements for
   incorporation by reference, which requires “incorporated material [to be] cited in the statement
   and its content briefly described” and additionally the material must be available for inspection
   by interested persons. 40 C.F.R. § 1502.21.

   We did, however, request the Wildlife Report from the Forest Service and were provided with an
   expanded, but draft, version of the DEIS Chapter 3 effects on wildlife section that appeared to be
   a draft (containing track changes and comment bubbles from USFS staff). The language in the
   DEIS implies that there was a separate and finalized Wildlife Report containing additional
   analysis - in our mind, similar to a Biological Evaluation or Wildlife Specialist Report prepared
   for a project-level NEPA analysis. We were disappointed to discover that there is no such
   document, but rather only an early draft version of a DEIS chapter section (though admittedly,
   containing more information than the eventual DEIS).

   Even though this document was provided promptly to us on request, we still assert that the Forest
   Service has not made the Wildlife Report available to the public and it has also failed to comply

                                                     79

                                                                          Rvsd Plan - 00005151
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 60 of 475




   with the NEPA requirements for incorporation by reference. The Forest Service cannot rely on
   any information contained within the purported Wildlife Report to meet its NEPA obligations to
   analyze the direct, indirect, and cumulative impacts of the new forest plan.


   The Rio Grande National Forest represents some of the best Canada lynx habitat in Colorado. As
   such, it is vitally important that the RGNF employ the precautionary principle and ensure that the
   Forest is providing conditions conducive to lynx recovery. Of particular concern is that the
   RGNF is in the middle of very important lynx habitat in Colorado, both for resident populations,
   and serving as a corridor for lynx movement into northern New Mexico. Theobald and Shenk
   (2011) show that the Forest overlaps with areas of high, moderate, and low intensity lynx use
   (based on data generated from 1999-2010). See Theobald, David and Shenk, Tanya, Areas Of
   High Habitat Use From 1999 - 2010 For Radio Collared Canada Lynx Reintroduced To
   Colorado (March 31, 2011) at 11. Ivan (2012) similarly shows that predicted winter and summer
   use by lynx in the Project area is incredibly high. Ivan, Jake et al., Predictive Map Of Canada
   Lynx Habitat Use In Colorado (2012).

   Although the U.S. Fish and Wildlife Service declined to designate lynx critical habitat in
   Colorado, Dr. Tanya Shenk - one of the leading lynx researchers in Colorado - stated that
   Colorado, including the Project area, “may serve as one of the best ‘higher elevation habitats
   within the range of the DPS [distinct population segment] that would facilitate long-term lynx
   adaptation to an elevational shift in habitat should one occur.’ As such, the Southern Rocky
   Mountains, including areas in Colorado, northern New Mexico and southern Wyoming should be
   included as critical habitat.” Shenk, Tanya, Peer Review Comments On Revised Designation Of
   Critical Habitat For The Contiguous U.S. Distinct Population Segment Of The Canada Lynx And
   Revised Distinct Population Segment Boundary, Communication to Jim Zelenak-USFWS
   (January 29, 2014). This all underscores the importance of the Rio Grande National Forest to
   Canada lynx, and counsels extreme caution in undertaking any management activities that may
   be detrimental to this important threatened species.


   NEPA has dual goals: it “is intended to foster 1) informed agency decision-making and 2)
   informed public participation in the agency decision-making process.” Sierra Club v. U.S. Forest
   Service, No. 1:09-vs-131 (March 7, 2012) (citing Citizens’ Comm. to Save Our Canyons v.
   Krueger, 513 F.3d 1169, 1177-78 (10th Cir. 2008)). NEPA imposes an obligation on the Forest
   Service to disclose and analyze environmental information and consequences of federal action.
   Baltimore Gas & Elec. Co. v. Nat. Res. Def. Council, 462 U.S. 87, 97 (1983) (agency must take a
   “hard look” at environmental consequences before taking action). “The purpose of the ‘hard
   look’ requirement is to ensure that the ‘agency has adequately considered and disclosed the
   environmental impact of its actions and that its decision is not arbitrary and capricious.’” Colo.
   Envtl. Coal. v. Salazar, 875 F. Supp. 2d 1233, 1250 (D. Colo. 2012) (citing Baltimore Gas &
   Elec. Co., 462 U.S. at 97).

   Federal “[a]gencies must ‘take a hard look at the environmental consequences of proposed
   actions utilizing public comment and the best available scientific information.’” Biodiversity
   Cons. Alliance v. Jiron, 762 F.3d 1036, 1086 (10th Cir. 2014) (internal citation omitted). This

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                                                                       Rvsd Plan - 00005152
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 61 of 475




   hard look “assessment of all ‘reasonably foreseeable’ impacts must occur at the earliest
   practicable point, and must take place before an ‘irretrievable commitment of resources’ is
   made.” Colo. Envtl. Coal. v. Ofc. ofLegacy Mgmt., 819 F. Supp. 2d 1193, 1208 (D. Colo. 2011)
   (citing New Mexico ex rel Richardson v. Bur. ofLand Mgmt., 565 F.3d 683, 718 (10th Cir. 2009)
   reconsid. granted in part on other grounds, 2012 WL 628547 (D. Colo. Feb. 27, 2012). “An
   agency meets the ‘hard look’ requirement when it has ‘made a reasoned evaluation of the
   available information and its method was not arbitrary or capricious.’” Jiron, 762 F.3d at 1086
   (internal citation omitted).

   An EIS must “furnish such information as appears to be reasonably necessary under the
   circumstances for evaluation of the project.” Utahns for Better Transp. v. U.S. Dep’t of Transp.,
   305 F.3d 1152, 1176 (10th Cir. 2002). See also Hillsdale Envtl. Loss Prevention, Inc. v. U.S.
   Army Corps ofEng’rs, 702 F.3d 1156 (10th Cir. 2012) (“NEPA imposes procedural,
   information-gathering requirements on an agency”); Nat’l Parks & Conservation Ass n v.
   Babbitt, 241 F.3d 722, 731 (9th Cir. 2001) (“The purpose of an EIS is to obviate the need for
   speculation by insuring that available data are gathered and analyzed prior to the implementation
   of the proposed action.”). As explained throughout this comment subsection, the Forest Service
   fails to provide necessary baseline information to allow for informed, meaningful public
   comment.

   NEPA statutory standards found in Council on Environmental Quality (CEQ) regulations
   recognize that intelligent decision-making can only derive from high quality information. See 40
   C.F.R. §§ 1500 et seq. “Agencies shall insure the professional integrity, including scientific
   integrity, of the discussions and analyses in [EISs].” 40 C.F.R. § 1502.24. Information included
   in NEPA documents “must be of high quality. Accurate scientific analysis . . . [is] essential to
   implementing NEPA.” 40 C.F.R. § 1500.1(b). If an agency has outdated, insufficient, or no
   information on potential impacts, it must develop information as part of the NEPA process or in
   the very least explain the lack of information. The draft Plan and DEIS do not meet this standard.
   At a minimum, the Forest must more adequately explain what information it has, what
   information it lacks, and why it cannot obtain any lacking information, especially as it relates to
   Canada lynx and the baseline conditions for its habitat on the RGNF.

   Specifically, NEPA requires the Forest Service to disclose and analyze the direct, indirect, and
   cumulative impacts and consequences of its activities. 40 C.F.R. §§ 1502.16(a), 1502.16(b),
   1508.25(c), 1508.27(b)(7). Direct effects include those “which are caused by the action and
   occur at the same time and place.” 40 C.F.R. § 1508.8(a). Indirect effects are those “which are
   caused by the action and are later in time or farther removed in distance, but are still reasonably
   foreseeable.” 40 C.F.R. § 1508.8(b). Cumulative impacts include “impact on the environment
   which results from the incremental impact of the action when added other past, present, and
   reasonably foreseeable future actions regardless of what agency (Federal or non-federal) or
   person undertakes such other actions.” 40 C.F.R. § 1508.7. Importantly, “[c]umulative impacts
   can result from individually minor but collectively significant actions taking place over a period
   of time.” Id. Largely, the DEIS fails to disclose and analyze the direct, indirect, and cumulative
   impacts and consequences of implementation of the revised Forest Plan, especially as it relates to
   Canada lynx.



                                                   81

                                                                        Rvsd Plan - 00005153
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 62 of 475




   Lynx avoid areas that have been clearcut, logged, and even thinned. The Interagency Lynx
   Conservation Assessment and Strategy (August 2013) (LCAS) includes vegetation management
   as one of the top four anthropogenic threats to lynx. See LCAS at 71. The LCAS also recognizes
   that managing forests to the extent that the canopy is opened discourages use of those stands by
   lynx. LCAS at 73. Further, reduction in horizontal cover, one of the potential results of plan
   implementation, degrades the quality of winter habitat for lynx. Id. The LCAS also notes that
   lynx avoid clearcut areas, especially during winter. Id. Dr. John Squires, a leading lynx
   researcher, also emphasizes the importance of maintaining and recruiting lynx winter habitat—as
   opposed to winter hare habitat—because that is what is most important to conserve lynx,
   especially in winter when lynx are most taxed. See Squires, John et al., Seasonal Resource
   Selection Of Canada Lynx In Managed Forests Of The Northern Rocky Mountains, 74 J. Of
   Wildlife Mgmt. 1648-1660 (2010).

   The impact of forest management activities on lynx habitat frequently is limited to an analysis of
   effects on snowshoe hare, a primary prey species for lynx. However, lynx winter habitat may
   actually be more important than producing habitat for snowshoe hare. In other contexts, the
   Forest Service has confused these two things and has failed to analyze and disclose the effects of
   forest management activities on lynx winter habitat, as well as any effects on snowshoe hare.
   The NEPA analysis must fully disclose and analyze effects to lynx winter habitat, both in terms
   of retention and recruitment of lynx, and it currently does not. This violates NEPA.

   Although lynx winter habitat is of great importance, the Forest Service still must analyze the
   effects of the project on snowshoe hare densities, including an analysis of the baseline, and of
   anticipated effects. Curiously, the DEIS does not discuss or analyze hare densities and how they
   may be impacted by the various proposed lynx provisions in the revised Forest Plan. Further,
   because lynx in Colorado tend to consume greater proportions of secondary prey in their diets
   than elsewhere, the Forest Service must thoroughly examine potential effects to lynx secondary
   prey, including red squirrel. The LCAS (2013) explains that, in “Colorado, 66.4±5.6% of annual
   documented kills by lynx (n=604) were hares, varying annually from 30.4-90.8%, while an
   average of 22.6±5.7% were red squirrels (Shenk 2009).” LCAS (2013) at 18. In contrast, in
   “Montana, Squires and Ruggiero (2007) reported that even in areas with consistently low
   densities (0.1-0.6 hares/ha [0.04-0.02 hares/ac]), snowshoe hares still accounted for 96% of
   biomass in the lynx diet, with red squirrels and grouse accounting for only 2% each of the
   biomass in lynx diets during winter.” Id. Because of the particular importance of red squirrel to
   lynx in Colorado as a secondary prey source, the Forest Service must thoroughly examine the
   baseline for red squirrel abundance and habitat on the Forest, as well as anticipated effects to red
   squirrel populations and habitat on the Forest from implementation of the revised Forest Plan.

   The DEIS is also deficient in its discussion of effects on lynx denning habitat. The U.S. Fish and
   Wildlife Service discussed the importance of denning habitat to lynx, and included denning
   habitat as a Primary Constituent Element “that provide[s] for a species’ life-history processes
   and [is] essential to the conservation of the species” when determining which lands should be
   designated as Canada lynx critical habitat. 79 Fed. Reg. 54782, 54811-2 (Sept. 12, 2014). FWS
   explained that “a feature or habitat variable need not be limiting to be considered an essential
   component of a species’ habitat. Both denning and matrix habitats are essential components of
   landscapes capable of supporting lynx populations in the DPS because without them lynx could

                                                    82

                                                                         Rvsd Plan - 00005154
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 63 of 475




   not persist in those landscapes.” 79 Fed. Reg. at 54786. Because lynx denning habitat “is an
   essential component of the boreal forest landscapes that lynx need to satisfy a key life-history
   process (reproduction),” FWS identified “denning habitat to be a physical or biological feature
   needed to support and maintain lynx populations over time and which, therefore, is essential to
   the conservation of the lynx [distinct population segment].” 79 Fed. Reg. at 54810. As such,
   extensive discussion of denning habitat and effects to it from implementation of the alternatives
   are needed in the DEIS. The LCAS (2013) explains that areas with large amounts of dead trees
   can actually enhance lynx habitat in both the short term and long term:

          After large dead trees fall to the ground, they provide cover and may enhance
          lynx foraging habitat in the short term and potential denning habitat in the longer
          term, depending on post-disturbance stand conditions. Standing snags also may
          provide sufficient vertical structure and cover to allow lynx to traverse long
          distances (>1 km [>0.6 mi]) across burned habitat (Maletzke 2004).

   LCAS at 76.

   Because lynx denning habitat must occur near lynx foraging habitat (see LCAS at 29), the Forest
   Service must discuss and analyze the current state of lynx denning habitat on the Forest,
   especially as it relates spatially to lynx foraging habitat. Without this baseline, there can be no
   legitimate determination of the effects of the revised Forest Plan on lynx denning habitat. The
   environmental analysis should disclose (preferably on a map) and analyze what portions of the
   project area currently is considered to be lynx denning habitat, what portions of the project area
   are considered to be foraging habitat for lynx, what portions of that lynx denning habitat would
   be subject to treatments, what portions of lynx denning habitat would be degraded as a result of
   treatments, and how long it would take for degraded or destroyed denning habitat to once again
   become lynx denning habitat.

   Importantly, the NEPA analysis must disclose what percentage of each LAU is made up of lynx
   denning habitat, how much coarse woody debris currently exists within the denning habitat in
   each LAU, or what anticipated changes to coarse woody debris in each LAU’s denning habitat
   would result from the Project’s implementation. These issues should be addressed both
   qualitatively and quantitatively. If the Forest Service does not have this information, it must
   explain what information it lacks and why it cannot reasonably obtain that information or data.

   The DEIS mentions that there are four lynx linkage areas on the Forest, and then names two of
   them: Wolf Creek Pass and North Pass. DEIS at 209. NEPA requires that the Forest Service
   discuss all four linkage areas by name and location, how the lynx provisions in the draft forest
   plan might help protect them, and how imp[lamentation of the alternatives might impact the
   linkages. In particular, we recommend that the Forest Service include a map in the FEIS clearly
   showing all four linkage areas so that the public has a better sense of where they are located and
   how they might impact management of forest resources.

   Similarly, there is no list of the Lynx Analysis Units (LAUs) on the Forest. This should be a
   necessary component of the DEIS. In addition to a list, a map of the LAU locations (which could
   be combined with the linkage map) would be very helpful to the public and future project

                                                   83

                                                                        Rvsd Plan - 00005155
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 64 of 475




   planners. Information on the LAUs should also be provided, including all information that is
   reported to the USFWS about each LAU under the SRLA’s reporting requirements. The size of
   the LAUs, their current condition, how much habitat is suitable, how much management each
   LAU has seen, and any other information that the Forest has on LAUs should be documented in
   the DEIS, along with a discussion of potential effects from implementation of the revised Forest
   Plan on the LAUs.

   The Rio Grande National Forest is uniquely situated in that it shares a border with both the State
   of New Mexico and the Carson National Forest. Despite this, the Canada lynx section of the
   DEIS contains no discussion about connectivity and lynx movement between the RGNF and the
   Carson NF. This section of the DEIS should also discuss the Carson’s revised Forest Plan lynx
   provisions and how they relate to the Rio Grande’s similar provisions. The DEIS does note the
   importance of linkages: “Connective habitat between administrative units in the San Juan
   Mountains and beyond is essential for facilitating movement of Canada lynx across the
   landscape.” Id. at 209.

   The DEIS provides several statistics for the amount of suitable and unsuitable lynx habitat on the
   Forest. There is no indication, however, as to what definition of suitable and unsuitable lynx
   habitat the Forest is using. While we anticipate that the total amount of lynx habitat on the Forest
   based on flights conducted from 2010 to 2014 reflects the SRLA’s suitable lynx habitat
   definition, it is unclear for the 2017 statistic related to baseline conditions for unsuitable lynx
   habitat. See DEIS at 209. We recommend that the Forest Service clarify what definition it is
   using for the various statistics related to lynx habitat in the DEIS.

   Under Threats and Risk Factors for lynx, the DEIS discusses a number of threats and risk factors
   from the 2000 LCAS and the 2008 SRLA. See DEIS at 211-212. Although helpful, there is no
   specific analysis as to how implementation of the revised Forest Plan or any alternatives might
   impact these threats and risk factors. And while the Forest does include some threats and risk
   factors specific to the post-spruce beetle environment, DEIS at 212, it also omits some threats
   and risk factors. In particular, there is no mention of the considerably newer LCAS from 2013
   which identifies additional threats. In particular, the 2013 LCAS describes two tiers of
   “anthropogenic influences.” LCAS 2013 at 68. The first tier includes: climate change, vegetation
   management, wildland fire management, and habitat fragmentation. Id. The second tier includes:
   incidental trapping, recreation, minerals/energy development, illegal shooting, forest roads/trails,
   and grazing. LCAS 2013 at 78-85. Although we assert that few of these identified
   “anthropogenic influences” are considered by the DEIS, in particular, there is no analysis of
   climate change or habitat fragmentation as it relates to lynx and the revised Forest Plan. This
   violates NEPA’s requirement that the Forest Service take a hard look at all potential direct,
   indirect, and cumulative effects.

   Although the SRLA can provide a framework for analysis, the Forest Service must remember
   that the SRLA is nearly 10 years old and is outdated. The Forest Service has an obligation to
   update its analysis, including the scope of that analysis, based on new scientific information
   about lynx and threats to its recovery. Similarly, page 213 of the DEIS states: “The Southern
   Rockies Lynx Amendment provides an overview of all activities that might influence Canada
   lynx^”. But as already discussed, this statement is inherently wrong as there is considerable

                                                    84

                                                                        Rvsd Plan - 00005156
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 65 of 475




   new scientific information since the SRLA came out in 2008 about activities that might impact
   lynx, and as such, the DEIS must be updated to account for this.

   For the various “Effects on Canada lynx” sections on a variety of threats (DEIS at 214 et seq.),
   the Forest Service fails to consider new information since 2008. This includes climate change,
   the 2013 LCAS, new published papers related to Canada lynx, including Dr. Squires and Dr.
   Ivan’s work (as well as the work of others) in Colorado and specifically on the RGNF related to
   lynx. As such, it is inappropriate and a NEPA violation to merely rely on the SRLA analysis of
   effects and to conclude “[t]here is no expected increase in effects to lynx or lynx habitat” from
   vegetation management. DEIS at 214. This conclusion is unjustified, especially given the large
   salvage logging program under the proposed plan and alternatives. The Forest Service must
   complete a thorough effects analysis that the public has an opportunity to comment on.

   In particular, the Forest is adding a number of new provisions to the Forest Plan related to lynx,
   including a new standard, new definitions, and various Management Approaches. See discussion
   above in subsection 1. None of these were analyzed in the SRLA or either LCAS, and therefore
   potential effects from their implementation must be analyzed in the DEIS. Failure to do so
   violates NEPA. As part of this analysis, the Forest must disclose sufficient baseline data about
   the state of the Forest. Obviously the Forest has seen dramatic changes in recent years as a result
   of beetle kill, but the Forest should still disclose additional baseline data, including: amount and
   location of the different types of lynx habitat (denning, foraging, winter habitat) and hare habitat,
   and information on Lynx Analysis Units on the Forest.

   Furthermore, the Forest Service must also disclose and analyze the effects of implementation of
   the various new lynx provisions on other at-risk species, such as American marten, boreal owl,
   and other Species of Conservation Concern, as well as on the provision of ecosystem services
   from implementation of these new lynx-specific provisions. Although the provisions are
   designed to aid lynx recovery, they will have impacts on other Forest resources, and those
   impacts need to be analyzed to comply with NEPA’s obligation that the Forest Service disclose
   and analyze all potential direct, indirect, and cumulative effects of its proposed revised Forest
   Plan and alternatives to it.

   Table 53 on page 216 of the DEIS must be updated. It is not appropriate to use a table from a
   2007 document as baseline information for a 2018 revised Forest Plan. The Forest should update
   the table based on current information, or explain in detail why it cannot do so. Additionally, this
   table should include information on temporary roads that exist on the Forest, including ones that
   have been administratively closed or that are scheduled for decommissioning in the future.
   Temporary roads have significant effects on a variety of Forest resources when they are present
   on the landscape, and baseline information about their presence should be included in the DEIS,
   along with a discussion of their effect on Forest resources, including lynx.

   The USFWS is under a court-ordered deadline of January 15, 2018 to complete a recovery plan
   for Canada lynx. See Friends of the Wild Swan v. Ashe, Case No. 13-cv-57-DWM, Docket
   Number 30 at 1 (D. Mont. June 25, 2014). Given that USFWS has not yet released a draft
   recovery plan or completed the required public notice and comment period, it will be impossible
   for USFWS to meet the January 15, 2018 deadline. When and if the final Recovery Plan is

                                                    85

                                                                         Rvsd Plan - 00005157
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 66 of 475




   released for lynx, the Forest Service must review and consider it as significant new information
   and determine what, if any, effect it has on the proposed revised Forest Plan. The Forest should
   also allow the public to submit comment on the effect of the recovery plan on the proposed
   revised Plan.


     D. PROPOSED AND CANDIDATE SPECIES FOR LISTING UNDER ESA

       1. Wolverine

   Forest plans must contribute to the conservation of ESA proposed and candidate species (36 CFR
   219.19(b)). The wolverine (Gulo gulo luscus) is proposed for listing under the ESA. The
   proposed plan does not mention wolverines, and the DEIS does not assess potential impacts of
   the proposed plan on wolverines.

   The RGNF is within the historic range of the wolverine. The DEIS notes that a disputed sighting
   occurred in 1997 in the Forest. The narrative in the DEIS seems to imply the lack of verified
   sightings is a rationale for ignoring the species in the management plan, which is not valid basis
   for failing to include a proposed or candidate species in planning under the planning rule. If lack
   of sightings is the rationale for ignoring the species, the RGNF is ignoring information provided
   in its wolverine overview prepared for the plan assessment (RGNF undated, Gulo gulo luscus),
   which lists sightings on the Forest in 1911, 1973, 1978, 1992, and 1997. A wolverine with a GPS
   collar was confirmed in Colorado, having traveled from Wyoming, in 2009 (CPW undated). See
   Need et al. (1985) for information on additional confirmed occurrence records from Colorado.
   The RGNF plan must include plan components to contribute to the conservation of the
   wolverine, and must analyze effects of the plan to wolverines in the environmental impact
   statement.


    E. SPECIES THAT SHOULD BE DESIGNATED SPECIES OF CONSERVATION
   CONCERN (SCC)

   In addition to the species proposed for designation as SCC in Plan Appendix D, we believe the
   following species should also be designated:

      1. Pika (Ochotona princeps).

   This species should be an SCC. Many studies have been done on it, indicating that it is very
   sensitive to increases in temperature. It could this serve as an indicator for the effects of climate
   change on the RGNF. The rationale in Plan Appendix B for not including it as an SCC states that
   “occasional monitoring may be warranted”. Plan at 182.

                                                    86

                                                                         Rvsd Plan - 00005158
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 67 of 475




      2. Bighorn sheep (Ovis canadensis canadensis).

   It is well known that disease transmission from domestic sheep to bighorns is potentially very
   detrimental to the latter (see DEIS at 226), and can lead to decimation, or even elimination, of
   bighorn populations. Bighorn herds on the RGNF are threatened by respiratory disease and other
   factors:

          ^loss of alpine habitat due to changing temperature and precipitation patterns, and
          unintentional human harassment can also represent added stressors fUrther impacting
          persistence of local herds and populations.

          Currently, several bighorn sheep herds are still recovering from die-off events in the
          1990’s.

   Plan at 183. There are 11-12 herds45 who reside at least partially on the RGNF, and “some type
   of respiratory pathogen has been confirmed in 8 herds.” Ibid. Only 3-4 of the RGNF’s bighorn
   herds are considered secure. See DEIS Table 55 at 233. One herd has a 2016 estimated
   population of only 15 animals with a status of “disease - stagnant/decreasing ”. Ibid. Overall, the
   arguments in Plan Table 22, ibid., for why bighorn sheep supposedly does not need to be an SCC
   read more like reasons why it should be an SCC.

   Given the past problems with the persistence of bighorn sheep herds and the continuing
   uncertainty about their long-term viability, we believe this species should be an SCC. That would
   help ensure that proper attention was paid to this species. Notably, bighorn sheep was listed as an
   SCC in the August 16, 2016 letter entitled “List of Species Of Conservation Concern For the Rio
   Grande National Forest”, from then-Acting Regional Forester Jacqueline Buchanan to the Rio
   Grande Forest Supervisor.

   A major justification for removing bighorn from the SCC list is apparently current and future
   management. For example, the “Rationale for not including species as Draft SCC” states, “While
   long-distance movements from other herds could potentially move pathogens into these herds,
   this is a relatively low likelihood concern and these herds are considered secure based on
   management actions under Forest authority,” Plan at 184, Table 22, Appendix D, and,

            Population management by Colorado Parks and Wildlife will contribute to the persistence
            of bighorn sheep through establishing population objectives, managing hunting
            opportunities and potentially through population augmentation via translocations. Lastly,

   45 Plan at 183 says there are 12 herds at least partially on the RGNF, while DEIS at 233 shows 11 herds in Table 55.

                                                            87

                                                                                    Rvsd Plan - 00005159
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 68 of 475




          through collaborative monitoring with Colorado Parks and Wildlife and other partners
          will help provide information on the effectiveness of management actions and help
          identify potential changes in management needed to support the persistence of bighorn
          sheep.

   Plan at 185, Table 22, Appendix D

   Current and potential management is not one of the criteria for identifying SCC. See FSH
   1909.12, section 12.52c. Identification of SCC must be based on current conditions, and
   potential management threats; how these are actually addressed may change as a result of the
   planning process. A June 16, 2016, SCC guidance letter to regional foresters from Deputy Forest
   Service Chief Weldon states:

          Species should not be eliminated from inclusion as SCC based upon existing plan
          standards or guidelines, proposed plan components under a new plan, or threats to
          persistence beyond the authority of the Agency or not within the capability of the plan
          area, such as climate change.

   The above said, there are some good forest-wide plan components for protecting bighorn sheep,
   but some need to be strengthened, as is discussed below.

   It is most important to prevent contact between domestic and bighorn sheep to the maximum
   extent possible. Thus we are pleased to see Standard S-WLDF-10, which requires management
   to “maintain effective separation” of bighorns and domestic sheep on active allotments. Plan at
   27. However, preparation of “separation plans” for keeping the two types of sheep apart would
   only be a Management Approach (hereafter “MgtApr”) (MA-WLDF-13, id. at 29).

   Another standard, S-WLDF-3, states the following: “Provide security habitat in^lambing
   areas^from December 1 to March 31. However, the specified time period is not when ewes give
   birth:

         The birthing season for Rocky Mountain bighorn sheep begins in late April and early
         May, and it coincides with the timing of vegetation green-up and milder climatic
         conditions.

   Beecham et al, 2007, at 25. Thus this standard provides little or no protection for bighorn lambs
   at a critical time in the species’ life cycle. On the other hand, S-WLDF-11 would protect bighorn
   sheep production areas from April 15 to July 1 (Plan at 28), which covers this critical period.




                                                  88

                                                                      Rvsd Plan - 00005160
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 69 of 475




   Mgt Apr MA-WLDF-12 states “Discourage recreational activities that disturb bighorn sheep,
   particularly around primary use or reproduction areas”. Plan at 29. It should be at least a
   guideline, probably a standard.

   MgtApr MA-WLDF-11 states:

         ^asses Forest bighorn sheep populations to understand overall population status and
         inform effectiveness of management actions to support the persistence of bighorn
         sheep on the Forest.

   This should be a guideline. It fits right in with a monitoring indicator. See Plan Table 14 at 100.

   Under the action alternatives, the areas in MA 5.42, Special Wildlife Areas - Bighorn Sheep, are
   transferred to MA 5.41, Big Game Winter Range. DEIS at 24. This is not appropriate. Bighorns
   rely on long sight distances and rugged, steep terrain to avoid predators, while deer and elk seek
   milder terrain with vegetative cover and other features to hide from predators. Deer and elk
   typically winter at considerably lower elevations than do bighorn sheep. Also, livestock grazing
   occurs in 5.41 areas. Plan at 88. This presumably could include sheep grazing, which could
   facilitate contact between bighorn and domestic sheep.

   Other than goats, which are probably an exotic, introduced species, the habitat used by bighorn
   sheep is largely unique among wildlife on the RGNF. We recommend retaining management
   area 5.42 for bighorn sheep, with strong standards for protecting the animals and their habitat
   from adversely-impacting projects and activities, as well as ensuring separation between
   bighorns and domestic sheep.


       3. Woodsia neomexicana Windham, common name, New Mexico cliff fern.

   This species was considered for SCC status but not designated. Plan at 186. The reason given for
   not designating it as an SCC is that, even though occurrences are small and isolated, “this is not
   enough to substantiate a local concern for continued persistence”. Ibid. If this is not sufficient to
   establish viability concern, what is? Note that the plant is S2, state imperiled, and there are only
   three known occurrences on the RGNF.
   See: https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd534788.pdf .

   The same reason as above is used to not to designate Woodsia plummerae Lemmon, common
   name Plummer's cliff fern, as an SCC.. This species is S1, state critically imperiled, and there are
   only two known occurrences on the RGNF.
   See: https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd534789.pdf .


                                                    89

                                                                         Rvsd Plan - 00005161
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 70 of 475




     G. THESE SCC NEED BETTER COMPONENTS

   Measures in the proposed Plan to protect the following SCC need to be corrected:

      1 . Boreal owl (Aeogolius funereus)
      2 Flammulated owl (Otisflammeolus).

   One of the Design Features for raptors says to protect aspen clones with boreal owl or
   flammulated owl nests. Plan (Appendix G) at 208. However, there is no indication that
   flammulated owls nest in aspen. This species clearly prefer older stands where ponderosa pine is
   dominant, though Douglas-fir may be present. See Hayward and Verner, 1994 at 22, 23. Boreal
   owls may occasionally nest in aspen, but they prefer Englemann spruce/subalpine fir forests. See
   Id. at 99.

   Therefore, the stated feature for flammulated owl provides absolutely no protection, and the one
   for boreal owl provides minimal protection at best. Both should be replaced with features that
   provide a buffer around nesting trees and stands or other appropriate protection for these species.

   Even if the features were written to provide appropriate protection, they are only guidelines. See
   G-WLDF-1, Plan at 28, which references Plan Appendix G. They should be standards.


     F. OTHER SPECIES

         Beaver

   The ecological benefits beavers provide cannot be overstated. By building dams that impound
   water, beavers alter the surrounding environment to the benefit of a wide variety of plants, fish,
   and wildlife. We strongly recommend that the RGNF design plan components to protect and
   restore beaver to the forest and retain beaver as a focal species46 to help monitor integrity of
   aquatic and riparian ecosystems on the forest. The Forest Service and U.S. Fish and Wildlife
   Service have a restoration guides for restoring beavers and the ecosystem services they provide
   (USFS undated; USFWS et al. 2015).

   Beavers are considered keystone, or strongly interacting, species. A technical conservation
   assessment of beavers prepared for the Rocky Mountain Region (Region 2) acknowledged the
   interactive role of the rodents in riparian systems (Boyle and Owens 2007). Studies have


   46 Plan at 94 states the intent to have beaver as a focal species. However, we do not find a list of proposed focal
   species in the Plan or DEIS. See further discussion in section X.

                                                              90

                                                                                       Rvsd Plan - 00005162
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 71 of 475




   demonstrated the negative consequences of beaver losses as well as the ecosystem services
   beavers provide through their dam building (Naiman et al. 1994; Gurnell 1998; Wright et al.
   2002; Butler and Malanson 2005; Westbrook et al. 2006; Stevens et al. 2007; Bartel et al. 2010;
   Westbrook et al. 2011). Miller et al. 2003: 188, citing Naiman et al. (1988) and Gurnell (1998),
   presented a long list of documented ecological impacts of beaver engineering:

          stabilization of stream flows; increased wetted surface area (i.e. benthic habitat);
          elevation of water tables causing changes in floodplain plant communities;
          creation of forest openings; creation of conditions favoring wildlife that depend
          upon ponds, pond edges, dead trees, or other new habitats created by beavers;
          enhancement or degradation of conditions for various species of fish; replacement
          of lotic invertebrate taxa (e.g., shredders and scrapers) by lentic forms (e.g.,
          collectors and predators); increased invertebrate biomass; increased plankton
          productivity; reduced stream turbidity; increased nutrient availability; increased
          carbon turnover time; increased nitrogen fixation by microbes; increased aerobic
          respiration; increased methane production; reduced spring and summer oxygen
          levels in beaver ponds; and increased ecosystem resistance to perturbations.

   Allowing beavers to play their role as nature’s engineers will result in a variety of other benefits
   to the surrounding ecosystem including reconnected and expanded floodplains; more hyporheic
   exchange; higher summer base flows; expanded wetlands; improved water quality; greater
   habitat complexity; more diversity and richness in the populations of plants, birds, fish,
   amphibians, reptiles, and mammals; and overall increased complexity of the riverine ecosystems.
   These attributes are the hallmarks of properly functioning and resilient ecosystems.

   Beaver ponds provide winter habitat for Rio Grande cutthroat trout (Pritchard and Cowley 2006)
   and breeding habitat for boreal toads (Keinath and McGee 2005), two potential species of
   conservation concern that occur on the RGNF. Additionally, the presence of beaver dams and
   the functional populations of beaver in suitable habitats contribute to resilience in the face of
   climate change (Bird et al. 2011). Indeed, beavers are often precisely the prescription that
   scientists and agencies identify as necessary to improve habitat conditions for degraded habitats
   and imperiled species.

   Here, the Forest Service acknowledges precisely these benefits, DEIS at 165,184, and that
   beavers likely played a significant role in shaping the landscape of the National Forest. Id. at
   200. The Forest Service then goes on to conclude that the reduced numbers of beavers have
   diminished the positive impacts resulting from their presence. Id. Finally, the Forest Service
   appears to have determined that seeing beaver return to the landscape will help achieve the goals
   laid out in the Plan. See Plan at 14 (“Riparian ecosystem composition, structure, and function
   can generally be restored and enhanced by beaver habitat.”); Id. at 15 (“Beaver reintroduction,
   and the persistence of beaver habitat, can contribute to channel recovery and floodplain
   function.”).




                                                    91

                                                                        Rvsd Plan - 00005163
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 72 of 475




           Despite this, the Forest Service has failed to propose any measures to ensure that the
   beavers already found on the Forest are retained or that will result in beavers returning to the
   Forest in areas where they would be beneficial. Instead, the plan does little more than note the
   potential benefits of beavers and suggests a plan for monitoring for “watersheds with beaver
   activity over time.” Id. at 94. The Forest Service claims this is a “cost-effective strategy that
   allows the Forest to track beaver presence and range expansion, identify potential areas where
   beaver introduction may be appropriate.” Id. While all of that may be true, by not prescribing
   specific actions to protect and recruit beavers, the Forest is missing an opportunity to make
   substantial gains toward achieving its objectives.

           As a result, we strongly encourage the Forest Service to develop the desired condition,
   objectives, standards, and guidelines for Aquatic Ecosystems and Native Animals directed at: 1)
   protecting existing beaver populations and 2) identifying areas that would benefit from the
   addition of beavers into the watershed, and establishing the mechanisms for seeing that beavers
   return to those areas.

   Focal species have two primary functions in the planning process, as indicators of integrity and
   as measures of effectiveness of plans in providing ecological conditions for diversity and species
   persistence, including the persistence of at-risk species. There is also sufficient interest and
   concern in the health of the watersheds and riparian areas to justify the beaver being selected as a
   focal species. The rising temperature due to climate change has water supplies becoming
   increasingly scarce, leading to conflict between competing uses of water resources. There has
   been a negative transformation of the landscape due to the increased frequency of drought,
   wildfire, flooding, and invasive species. Clearly, as described above, beavers are indicators of
   ecological integrity, and should be selected as a focal species for this reason. They should also be
   selected as focal species based on their ability to provide ecological conditions needed for at-risk
   species, including increased habitat and habitat heterogeneity for at-risk fish species in the forest
   planning area.

   Designating beavers as focal species, and identifying beaver habitat characteristics as key/desired
   ecological conditions, would result in the monitoring of beaver populations and habitat
   conditions in the watershed and riparian areas of the RGNF. This monitoring information would
   be a reliable source to longitudinally measure and study the health of these ecosystems through
   variations of climate change.


   VI. THE PROPOSED MANAGEMENT DIRECTION IN THE DRAFT REVISED PLAN
   IS UNACCEPTABLY WEAK.

   Direction, both forest-wide and for MAs, is one of the most important parts of a forest plan. It
   shows the public and agency line officers what limitations will be placed on activities to protect
   resources. The direction in the draft revised Plan is unconscionably weak, and in some cases,
   non-existent.

    A. GENERAL CONCERNS

                                                    92

                                                                         Rvsd Plan - 00005164
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 73 of 475




   Overall, we believe the forest-wide direction in the draft revised plan is quite weak. There is too
   little restriction placed on management. More standards need to be in the plan.

   Since not all alternatives use the same management areas (MAs), or necessarily even the same
   forest-wide direction, both the MAs and forest-wide direction used in each alternative should be
   provided for public review, perhaps in a DEIS appendix.

   Management Approaches. A considerable amount of the forestwide direction in the proposed
   revised plan is under “management approaches” (MgtAprs). This is mentioned in the Planning
   Rule (36 CFR 219.7(f)(2)) and further described in the Planning Directives (FSH 1909.12,
   section 22.4) as “optional content”. A passage at the latter states:

         This optional content must not be labeled or worded in a way that suggests it is a
         plan component. In addition, optional content must not include, or appear to include,
         a “to do” list of tasks or actions.

   Emphasis added.

   Most notably, since MgtAprs are not plan components, they can be changed without a plan
   amendment: “Optional plan content can be changed through administrative changes”. Ibid. See
   also Plan at 6 and DEIS at 25

   The Planning Directives, ibid., further describe management approaches as follows:

         If used, management approaches would describe the principal strategies and program
         priorities the Responsible Official intends to employ to carry out projects and
         activities developed under the plan. The management approaches can convey a
         sense of priority and focus among objectives and the likely management emphasis.
         Management approaches should relate to desired conditions and may indicate the
         future course or direction of change, recognizing budget trends, program demands
         and accomplishments. Management approaches may discuss potential processes
         such as analysis, assessment, inventory, project planning, or monitoring. Use care
         not to create unrealistic expectations regarding the delivery of programs.

   However, many of the MgtAprs are direction, rather than just priority, focus, or emphasis, as is
   discussed in detail below. They are more properly designated as guidelines, and in some cases
   standards, rather than MgtAprs.




                                                    93

                                                                        Rvsd Plan - 00005165
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 74 of 475




         To insure for management accountability, the Forest is proposing standards,
         guidelines, and suitability determinations to reflect [an] adaptive management
         strategy while ensuring for ecosystem integrity, sustainability, habitat connectivity,
         and the viability of species of conservation concern.

   DEIS at 12-13. Note that management approaches are not listed here as ensuring accountability,
   because they don’t. Yet they are used liberally in the draft plan.

   The draft plan must be changed to greatly reduce the use of management approaches, especially
   where real direction and real plan components are needed to address issues, meet desired
   conditions and objectives, or minimize impacts, as is discussed in further detail below.
   Management approaches, if they are used at all, must be used only as intended: to denote
   priority, focus and management emphasis. Management approaches cannot be substitutes for real
   plan components.

   Management Approaches are abbreviated “MA” in the draft plan. However, this is also be used
   as a common shorthand for management areas, such as in DEIS Table 5 at p. 38. Note that there
   are management approaches in the management areas, i. e., MAs within the MAs. Thus to avoid
   confusion, we recommend using a different abbreviation for management approaches. We use
   “MgtApr” (and “MA” for management area), but when citing or quoting the Plan, we use the
   description used therein, such as “MA-GDE-2”.

   Forest-wide and MA direction is weak overall, partly due to the over-use and mis-use of
   management approaches.


      B. SPECIFIC ISSUES WITH FOREST-WIDE DIRECTION

   Below, we discuss many problems we see with weak, or even non-existent, forest-wide
   management direction. Please be aware that some specific direction is also addressed in other
   sections of these comments.

   The Fisheries (FISH) section (Plan at 11 et seq.), needs a standard that requires action where
   needed to prevent genetically pure or nearly pure native aquatic species from interbreeding with
   non-native species and thereby destroying part of the native gene pool. Or there could be special
   provisions for the watersheds that have native populations of high genetic quality. The following
   streams likely have such populations: the East Tributary of the Middle Fork and the West
   Tributary of San Francisco Creek, West Alder Creek, Medano Creek, Lake Fork of the Conejos
   River, Rio de los Pinos, Osier Creek, and the South and Middle Forks of Carnero Creek. See
   FWS, 2014, Appendix C, Table C 14.


                                                    94

                                                                         Rvsd Plan - 00005166
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 75 of 475




   Under Groundwater Dependent Ecosystems, (GDE) (Plan at 13-14), Guideline G-GDE-1 says
   to protect such ecosystems, including fens, especially large ones. This must be a standard.

   The Forest Service Region 2 policy on fens states:

         ^the goal is no loss of existing habitat value, and that every reasonable effort should
         be made to avoid impacting these habitats. Mitigation for loss of fens is problematic,
         as there are no known methods to create new functional fens.

   Fen Policy, letter from Marisue Hilliard, Director, R-2 Renewable Resources, to Forest
   Supervisors, March 19, 2002.

   A draft plan MgtApr, MA-GDE-2 observes that fens are “an irreplaceable ecological feature”.
   The DEIS states calls fens “unique and irreplaceable wetland types”. DEIS at 80. We agree, and
   therefore insist that the revised plan contain a standard requiring fen protection and conservation.

   In the introduction to the Riparian Management Zones (RMZ) section (Plan at 14-15), the plan
   mentions the process for determining the width of riparian management zones, as required by the
   Planning Rule at 36 CFR 219.8(a)(3)(ii). The process is described in Plan Appendix F. However,
   the plan does not further mention this process, and it is not included in any plan component.
   There should be a least a guideline, if not a standard, that requires this process to be used, unless
   another process is later developed or discovered that incorporates the best available science.

   There should be standards in the RMZ section requiring the limitation of roads and livestock
   grazing. The DEIS notes the need for limits on activities and protection for riparian resources:

         Conflicts between some human uses, however, and the resources dependent on
         resilient riparian conditions may continue unless management provides for sufficient
         land use limitations and resource protections that maintain the disturbance processes
         and pathways associated with resilient riparian conditions^

   Id. at 163; citations omitted. The DEIS also ties avoidance of impacts to application of plan
   components:

         The impacts [to riparian, wetlands, and fens for livestock grazing] described above
         are typically avoided through proper rangeland management, which entails the
         application of the standards, guidelines, and management approaches detailed in this
         forest plan revision, along with a variety of other tools.



                                                    95

                                                                         Rvsd Plan - 00005167
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 76 of 475




   Id. at 187.

   The one guideline on grazing in RMZs, G-RMZ-3, only addresses a peripheral issue: “prevent or
   minimize the introduction and spread of cowbirds in riparian willow systems. We are not aware
   that livestock grazing helps spread cowbirds, but it likely helps introduce and spread non-native
   plant species. The guideline should be a standard and incorporate or reference efforts to
   minimize introduction and spread of noxious weeds.

   Is the Watershed Conservation Practices Handbook (WCPH), FSH 2509.25, incorporated into
   the proposed revised plan? It is only mentioned once, under soils (Plan at 3 547). We do not see it
   mentioned under Watershed (pp. 15-17). While the Plan need not repeat existing direction from
   sources outside the plan, it must specifically incorporate this direction. We recommend the
   following standard under Watershed (WA): “Incorporate the Watershed Conservation Practices
   Handbook (WCPH), FSH 2509.25, in all projects and activities, as applicable”.

   There is only one standard in the Watershed section, S-WA-1. It refers to “Forest Service 990
   A”. Plan at 16. This is the National Best Management Practices for Water Quality Management
   on National Forest System Lands Volume 1: National Core BMP Technical Guide. A passage
   from this document states:

          The national core set provides general, nonprescriptive BMPs for the broad range of
          activities that occur on NFS lands. Nearly every BMP in the national core set already
          exists in current regulations, guidance, or procedures. Adopting a standard national
          core set of BMPs may change what some national forests and grasslands refer to as
          their BMPs, but it will not change the substance of site-specific BMP prescriptions.
          Those prescriptions will continue to be based on State BMPs, regional Forest Service
          guidance, land management plan standards and guidelines, BMP monitoring
          information, and professional judgment.

   Id. at v-vi.

   Clearly, the national BMPs are not intended to override or replace the regional guidance like the
   WCPH. Therefore, even though supposedly “Forest Service handbook and manual direction is
   incorporated into all forest plans and project-level proposals” (DEIS at 15448), the revised plan
   needs to specifically incorporate the WCPH.



   47 The text there states, accurately: “The 199[7] plan use the watershed conservation practices handbook as
   standards and guidelines...... These practices will continue be used to protect soils as regional direction.” However,
   the WCPH should specifically be incorporated into the plan as a standard for both soils and watershed to make clear
   these practices are to be followed in implementing projects and activities the revised plan.
   48 Like the previous quote about applicability of the WCPH, this also appears under soils.

                                                            96

                                                                                     Rvsd Plan - 00005168
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 77 of 475




   Under Pollinators (PLTR) (Plan at 17-18), MgtApr MA-PLTR 2, to maintain and improve
   pollinator habitat, should be at least a guideline.

   Two objectives under Species of Conservation Concern -Animal and Plant (SCC) (Plan at
   18-20), SCC-OBJ-1, to mitigate impacts to insects designated as SCC caused by insecticides and
   other pesticides, and SCC-OBJ-2, the same for SCC plants, should both be standards.

   DC-SCC-9, ensure continued viability of SCC plants (id. at 19), must be a standard.

   S-WLDF-3 49 states: “Avoid or mitigate impacts to boreal toad breeding sites and winter
   hibernacula within 100 feet from May 15 to September 30”. This should be rewritten to also
   provide protection of winter hibernacula when the toads are likely to be there, i. e, from
   September 30 to May 15. The bullet points under this standard (id. at 20), are commendable:
   consider summer movements of toads and avoid dropping fire retardant on their habitat.

   How would habitat for Gunnison’s prairie dog be maintained or restored via livestock grazing?
   See G-SCC-5, Plan at 20. This should be deleted, as livestock grazing is likely to reduce or
   degrade grouse habitat.

   Part of the proposed new Canada Lynx (LYNX) standard is a needed addition to the Southern
   Rockies Lynx Amendment (SRLA). It recognizes that lynx are still using areas with substantial,
   or even complete, overstory mortality that have an understory that provides dense horizontal
   cover. Standard Veg S 7 (Plan at 22) would apply limitations on vegetation management in areas
   with less than 40 percent canopy cover that still have enough understory to provide quality lynx
   habitat. However, part 2 of this standard would allow salvage harvest “when incidental damage
   to understory and standing green trees is minimized”. “Minimized” is not defined.

   Parts of MgtApr MA-LYNX-6 (Plan at 23), to provide foraging habitat near denning habitat and
   to protect “known or potential of high quality denning habitat”, should be standards.

   The plan should contain a desired condition to maintain, restore and enhance lynx habitat
   connectivity, including across highways. Standards and guidelines may also be needed to address
   connectivity.

   See a detailed discussion of lynx direction and analysis of impacts in section V C 1 and 2 above

   Most or all of the guidelines under Other Threatened, Endangered, Proposed, and Candidate
   Species (TEPC) (Plan at 24-25) should be standards. These measures are needed to ensure that

   49 Though in the SCC section, this standard has a WLDF label. It should be renamed SCC-2 or SCC-3, as there is
   another WLDF-3 standard on p. 27.

                                                          97

                                                                                 Rvsd Plan - 00005169
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 78 of 475




   these species will have an opportunity to recover to full, viable populations, and to ensure agency
   compliance with the Endangered Species Act.


   Under Wildlife and Plants (WLDF) (Plan at 25-30), DC-WLDF-4 says to provide security
   habitat for big game on their winter ranges. This should be at least a guideline, if not a standard.

   DC-WLDF-7, providing wood legacies, including snags, needs to be a standard. The previous
   plan had a standard for retention of snags and down wood. See current plan at III-12.

   There are 27 MgtAprs under WLDF. Many of them should be at least guidelines, and some
   should be standards. At a minimum, the following must be upgraded to enforceable plan
   components:

   MA-WLDF-6: continue to support avian species monitoring “with the goal of providing valid
   trend data for applicable threatened, endangered, proposed, candidate, and species of
   conservation concern and priority bird species”. Having trend data is crucial to assessing
   viability. This must be a standard.

   MA-WLDF-12: “[d]iscourage recreational activities that disturb bighorn sheep, particularly
   around primary use or reproduction areas”.

   MgtApr MA-WLDF-13: developing separation plans for livestock grazing allotments where
   there is a high risk of contact between domestic and bighorn sheep.

   MgtApr MA-WLDF-17: “^avoid or otherwise mitigate adverse impacts in unique or rare plant
   community types that have a biodiversity significance of B1 (outstanding) or B2 (very high)^”.
   Projects should completely avoid these areas unless strong mitigation is designed to nearly
   eliminate impacts and the mitigation is highly likely to be effective.

   MgtApr MA-WLDF-21: locate and design wind energy structures to minimize or prevent
   wildlife mortality. Also impose operational constraints to reduce or eliminate mortality, like
   prohibiting wind turbine operation during times of migration.

   MgtApr MA-WLDF-22: “[m]anage off-road travel on big game winter ranges, including over-
   the-snow track machines during the primary use seasons for big game. Exceptions may be
   authorized under special use permit”. This is similar to, but weaker than, 5.41-S-1, under MA
   5.41, big game winter range, which outright prohibits off-road use, including snow machines,
   during the primary use season of December 1-March 31. To avoid confusion and to ensure that
   wintering big game are protected, MgtApr MA-WLDF-22 must be removed.


                                                    98

                                                                         Rvsd Plan - 00005170
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 79 of 475




   MA-WLDF-24: maintain habitat needed for connectivity of seasonal habitats.

   MA-WLDF-25: “[r]etain large, unique, legacy trees where feasible”. Without being a plan
   component, and without some specifics on size, height, and number of trees to retain per acre,
   this MgtApr is meaningless.

   MA-WLDF-27: “[i]dentify and assess habitat connectivity needs at various spatial scales when
   conducting forest management activities at the project levels”.


   Noxious weeds are a major, and growing, problem on Colorado’s national forest lands. It is
   especially important that new populations be attacked as soon as possible after discovery, and
   that projects and activities do not introduce or spread weed populations. Therefore, the Aquatic
   and Terrestrial Non-Native Invasive Species and Noxious Weeds (NNIS) section (Plan at SC­
   SI) needs a standard that should read approximately as follows:

         For all projects and activities that involve ground disturbance, survey and eradicate
         noxious weeds to the greatest extent practicable before and during project or activity
         implementation, and for at least three full growing seasons after completion. The
         areas to be surveyed and the frequency and intensity of the surveys should be
         commensurate with the size of the proposed project or activity and its location vis a
         vis existing weed populations.

   As currently written, the Plan has only 1 weak MgtApr, MA-NNIS-5, addressing weed
   introduction and spread during project implementation. There are no standards in this section at
   all, and the only guideline addresses only aquatic invasive species.

   To help ensure that chemical herbicides are used only when necessary, we recommend the
   following standard or guideline:

         Chemical herbicides should be used only where other methods are not likely to be
         effective in eradicating or minimizing noxious weed populations.

   A guideline or MgtApr should make the following the top priorities for weed treatments, in
   descending order:

    - -populations of weeds not previously known to be present on the RGNF,
    - -new populations of weed species known to be present,
    - -rapidly expanding existing weed populations, and


                                                   99

                                                                       Rvsd Plan - 00005171
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 80 of 475




    - -small existing weed populations.

   Note that the current plan has such a guideline at III-24, III-25.

   Make MA-NNIS-2 a guideline and expand to cover terrestrial weeds and encourage cooperation
   with the Colorado Department of Agriculture as well as with the Division of Parks and Wildlife.

   The DEIS states:

          Direction to use locally adapted seed mixes and limit the use of certified weed-free
          hay increase[sic]50 Forest defenses against nonnative invasive species. This
          direction does not change across the alternatives being considered.

   Id. at 145. We do not see either issue addressed in the Plan. The revised Plan should have a
   standard requiring the use of certified weed-free hay on the RGNF, as the current plan does. See
   Standard 2 under Undesirable Species, current plan at III-24. It should also have a standard
   requiring the use of native plants for revegetation, as the current plan does. Id. at III-12.


   In the Range (RNG) section (Plan at 32-35), guideline G-RNG-2, recommends a phase-out of
   grazing systems occurring during the entire vegetative growth period, unless the desired plant
   community is achieved or maintained (Plan at 34). This must be a standard, as it is in the current
   plan (id. at III-14).

   Livestock use of riparian management zones must be minimized to retain riparian characteristics
   and values. However, guideline G-RNG-3 (Plan at 34) would allow livestock to use these areas
   as long as an unspecified stubble height was met. But the impact to riparian areas from livestock
   use is not limited to vegetation consumption. Stock, especially cows, compact soil and degrade
   water quality via solid and liquid waste deposition. The DEIS states:

          Grazing pressure in sensitive areas may degrade watershed conditions through the
          direct, physical removal of riparian and wetland vegetation, and trampling of
          streambanks and wet areas, or through indirect changes to vegetation species
          composition, decreased shading/increased water temperatures, and changes in water
          chemistry.

   Id. at 180.



   50 We assume this is intended to mean “limit use of hay to that this is weed-lTee”. This needs to be reworded to
   clarifiy.

                                                            100

                                                                                     Rvsd Plan - 00005172
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 81 of 475




   This guideline must be replaced with a standard requiring minimization of livestock use in
   riparian areas and the minimization of damage to soils and water quality.

   MgtApr MA-RNG-1 would recommend removal of stock if allowable use criteria, allotment
   management plan guidance, or annual operating instructions are exceeded. This must be a
   standard. Note the following from the Forest Service’s National BMPs: “Modify, cancel, or
   suspend the permit in whole or in part, as needed, to ensure proper use of the rangeland resource
   and protection of water quality”. BMPs at 84.

   MgtApr MA-RNG-4 says to “[d]iscourage livestock use in openings created by fire or timber
   harvest that would delay successful regeneration of the shrub and tree component”. This must be
   a standard. Protecting young trees is important, given that much salvage logging is proposed in
   the first decade on the RGNF. Livestock could easily trample, or even eat, planted or naturally
   regenerating trees, and delay forest regeneration. The DEIS notes that:

         Reforestation goals also often require that livestock be excluded from an area until
         trees have become established and reach a size that limits damage from livestock.

         ^ grazing within regenerating stands is generally limited or prohibited until trees
         have grown to a size at which cattle impacts are minimal.

   Id. at 139, 141.

   Thus the Plan must contain direction to prevent this. Change “discourage” to “prohibit”, and
   make this provision a standard.

   MgtAprs MA-RNG-3 and MA-RNG-6 are the same. Delete one of them, and make the other a
   desired condition. Managing rangelands to provide a variety of benefits is a desirable and
   needed condition to be achieved and maintained, not just a discretionary management emphasis.


   For Soils (SOIL) (Plan 35-36), see discussion of the applicability of the WCPH in the
   Watershed section above. Also, Under S-SOIL-1, the following statement is contradictory:

         In areas where more than 15 percent detrimental soil conditions exist from prior
         activities, the cumulative detrimental effects from project implementation and
         restoration should not exceed the conditions prior to the planned activity and should
         move toward a net improvement in soil quality.




                                                  101

                                                                       Rvsd Plan - 00005173
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 82 of 475




   Plan at 35-36. If the area to be treated already has over 15 percent in a detrimental condition, it
   has already “exceed[ed] the conditions prior to the planned activity”. Remove this statement and
   replace with the following: “In areas where more than 15 percent detrimental soil conditions
   exist from prior activities, do not authorize new activities until the detrimental condition affects
   less than 15 percent of the area”.

   Guideline G-SOIL-1, for operating on sensitive soils, including those with high mass-wasting
   potential, should be a standard.

   MgtApr MA-SOIL-1, requiring native, weed-free seed for revegetation, should be a guideline or
   standard.

   MA-SOIL-3 reads:

         Project-specific best management practices and project design features should be
         incorporated into land management activities as a principle mechanism for protecting
         soil resources.

   Plan at 36. Change “should” to “must” and make this a standard.


   Under Vegetation Management (VEG) (Plan at 36-45), DC-VEG-1 references table 5 for
   retention of snags and coarse woody debris. In the current plan, a slightly different version of this
   is a standard! See current plan at III-12, Table III-1. It should be a standard in the revised plan
   also. See the discussion the importance of snags and down wood at Plan p. 37.

   The Table has criteria which can be met in projects that manipulate vegetation. Indeed, they can
   be part of timber prescriptions, as the DC says. But if it is only a desired condition, it is too easy
   to ignore the need to provide for important ecological components.

   Also, the criteria in Table 5 apply to the planning unit, whereas under the current plan, the
   “amounts are to be calculated as a per-acre average over a project area”. Current Plan at III-12.
   “Planning unit” is not defined in either Glossary in the draft Plan and DEIS, nor in the 2012
   Planning Rule. This term has been used previously to mean the national forest unit for which a
   plan applies, like the RGNF. This needs to be clarified, but if the criteria in Table 5 are meant to
   apply to the entire RGNF, the direction is meaningless at the project level. How could managers
   apply a forest-wide design criteria to a project? Snags and down wood in most project areas
   would contribute only a small amount to the forest-wide averages for snags and down wood. In
   other words, a project area, after implementation, could be devoid of snags and down dead but
   probably still meet the forest-wide design criteria.


                                                     102

                                                                          Rvsd Plan - 00005174
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 83 of 475




   This is especially true in the spruce-fir zone, where high levels of snags throughout wilderness
   and roadless areas would satisfy planning unit criteria, even if no snags at all were left behind
   following salvage logging. The whole point of setting criteria for snag retention is to ensure that
   this structural legacy that is so critical to wildlife is well distributed across the forest. The DEIS
   (at 96) claims that “snag retention amounts in the action alternatives, as well as determinations
   made at the project-level, would help ensure that large openings created during salvage have
   sufficient amounts of snags and downed wood”. But unless snag retention requirements apply to
   the project area, there is no guarantee that snags would be protected.

   This would be an issue in the many acres of salvage logging expected to occur in the first decade
   under the proposed plan, should it be approved in its current form.51

   Requirements for retention of snags and down-dead wood must be a standard to be applied at the
   project level.

   See additional discussion of snags and down wood in Appendix 1.

   DC-VEG-4, to retain remaining green trees in spruce-fir stands with 60 percent or greater bark
   beetle mortality, should be a guideline. Retaining such trees will almost always be “integral to
   ecosystem or species habitat-related goals”, and be an action needed to helping reestablish forest
   cover.

   DC-VEG-5, maintain old forests per Plan Appendix A “to provide ecological conditions
   necessary to maintain viable populations of at-risk species”, should be at least a guideline. This
   is another action needed for reestablishing older forests.

   Taken together, these two desired conditions statements suggest a need for a guideline to protect
   large live spruce wherever they exist. According to Table 27 (DEIS at 74), spruce-fir forest is
   currently below desired levels of late successional habitat. Beetle-affected stands should be
   protected from salvage, even if they contain considerable volume of dead spruce, as long as they
   meet the criteria for old forest.

   DC-VEG-9, retain tall snags and those in riparian areas during salvage treatment of burned areas,
   should be a standard or guideline. It is a condition that can easily be attained, and the Plan should
   direct that it be achieved. Also, this condition should not be limited to salvage of burned areas; it
   should extend to salvage logging following beetle outbreaks and indeed all logging projects.



   51 The DEIS admits that salvage logging would result in lower retention of snags and down wood in the treated
   areas. Id. at 97.

                                                          103

                                                                                  Rvsd Plan - 00005175
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 84 of 475




   Table 6 on Plan p. 40 shows 27 percent of spruce-fir in mature-open structural stage and 22
   percent in mature-closed stage. That seems very high, given that almost all the mature
   Engelmann spruce on the RGNF has been killed by spruce bark beetle. This table needs to be
   updated.

   In general, the whole approach to characterization of desired conditions of vegetation needs to be
   overhauled. The current approach, which relies on vectors of vegetation structural stages
   downloaded from the LANDFIRE website (and modified locally), is insufficient to characterize
   the desired range of variation. Indeed, this static characterization of desired condition is the
   exact opposite of what was intended by the original conception of historical range of variability
   (Morgan et al. 1994). The “range of variability” should not be presented as a fixed distribution
   of structural stages. Such a characterization is the consequence of the State Transition
   Simulation (STS) Model used to derive desired condition, not a realistic characterization of
   vegetation dynamics. The STS model simply cannot represent the effects of the periodic
   disturbances that drive vegetation dynamics in the Rocky Mountains (instead, the effects of
   periodic disturbances are divvied up among annual time steps and modeled as though they occur
   every year; such modeling results in the static representation of historical vegetation that passes
   for desired conditions in Table 6).

   That said, we understand the appeal of the characterization of desired condition as a static
   distribution of structural stages: it is simple. It also makes it very easy to describe what needs to
   change to achieve desired conditions: if there is “too much” of one structural stage and “not
   enough” of another, managers simply need to convert one structural stage to another. This leads
   predictably to the kind of management to be expected under this plan, where “too much” mature
   warm-dry mixed conifer, for instance, will be converted to make up the “deficit” of young forest,
   and too much mature-closed, cool-dry mixed conifer will be thinned to make up the shortage of
   mature-open forest. The problem is that setting desired conditions as a static distribution of
   (bounded) proportions of structural stages fails to accurately represent the true range of values to
   be expected in non-equilibrium forests driven by periodic disturbance. It makes for convenient
   management but is no more reflective of the dynamics of real forests than is the mythical
   “regulated forest.”

   Perhaps the biggest problem with this approach, though, is that it leads to the conclusion that any
   management that is intended to move the forest toward desired conditions is good for the forest.
   This is reflected in the ludicrous effects analysis on pages 91-94 of the DEIS that ignores the
   impact of management and assumes that more management would lead to more rapid
   achievement of desired conditions and “a larger suitable timber area also means there would be
   more control over manipulating vegetation and creating particular old forest characteristics.”
   The emphasis on transitions among structural stages at the scale of whole forest types also leads
   to the dismissal of meaningful differences among alternatives with statements like, “This effect


                                                    104

                                                                         Rvsd Plan - 00005176
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 85 of 475




   (of alternatives) is minor in that the distribution and diversity of vegetation structural stages
   across the Forest is predominantly determined by successional and natural disturbances such as
   fire, insects, and disease, and the fact that about half the forested area is already in protected
   areas^” DEIS at 92. The analysis of environmental effects among alternatives cannot be
   dismissed simply because the aggregate distribution of structural stages is controlled by factors
   other than management.


   OBJ-VEG-1, “[d]iversify the structure class distribution for various forest types via
   management”, should not apply to the specially designated geographic area. Vegetation
   treatment in these areas is likely to harm the values of the areas for which the areas are
   designated.

   S-VEG-3 references Table 7, concerning restocking levels for the various timber types. Only 75
   ponderosa pine trees per acre would be required for an area to be adequately restocked. That is a
   tree every 24.1 feet (if they were evenly spaced, which in naturally-regenerated stands, they
   usually are not). Only 100 Douglas-fir trees per acre would be sufficient to certify the stand as
   restocked; that is only 20.9 feet between trees. These levels seem quite low.52 What is the
   justification for this stocking requirement? For ponderosa pine, planting should be in clumps of
   2-10 trees, similar to how this species naturally regenerates.

   Though text below Table 7 states that the numbers therein are the minimums, the standard states:
   “[e]xceptions to these levels are allowed if supported by a project-specific determination of
   adequate restocking”. Plan at 41 and 40, respectively. The Plan needs to clarify if the minimum
   levels in Table 7 always need to be met, or if they do not have to be met under a site-specific
   analysis.

   Guideline G-VEG-1, prohibiting cutting before stands have reached the culmination of mean
   annual increment of growth (CMAI) unless certain exceptions are met, must be a standard. The
   prohibition on cutting before CMAI is reached is required by the National Forest Management
   Act, 16 U.S.C. 1604(m), and by the Planning Rule at 36 CFR 219.11(d)(7).

   Table 8 (Plan at 43), referenced in MA-VEG-1, lists the appropriate silvicultural system for each
   timber type. Clearcutting is listed as acceptable for spruce-fir stands, but it should not be,
   because spruce does not regenerate well, if at all, in the open.

   MgtApr MA-VEG-2 should be amended to state that efforts to regenerate aspen must not
   damage or degrade old-growth conifer characteristics. It should be a guideline.


   52 Under the current plan, the minimum stocking for ponderosa pine and Douglas-fir is 150 trees per acre. See
   current Plan at III-18.

                                                           105

                                                                                   Rvsd Plan - 00005177
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 86 of 475




   MgtApr MA-VEG-7, “Preserve or defer from harvest some old-forest/late-successional
   stands^” (emphasis added) should apply to almost all stands, given the loss of old spruce. The
   assumption should be that old/late successional forests are not cut unless there is a specific need
   for public safety or other urgent need.

   MgtApr MA-VEG-8 (Plan at 54, contains criteria for determining when an opening is no longer
   considered an opening. It should be at least a guideline, as it is in the current plan. See current
   Plan at nI-21).


   In Air Quality (AIR) (Plan at 46), measures limiting emission and deposition of pollutants, DC-
   AIR-1, -2, -6 and G-AIR-2, should be standards, to ensure the RGNF complies with the Clean
   Air Act.


   The Congressionally Designated Trails (CDT) section of forest-wide direction (Plan at 49-53)
   applies to the Continental Divide National Scenic Trail (CDNST) and the Old Spanish Trail
   (OST). It is important to retain Standards S-CDT-1 and -2, making the trail corridors unsuitable
   for leasable minerals and prohibiting extraction of common variety minerals. This section should
   also contain a standard stating that land in the trail corridors is not suitable for timber
   production.53 Vegetation could still be managed for non-timber purposes, such as removal of
   hazard trees and treatments in the wildland-urban interface to reduce the fire hazard to homes
   and infrastructure.

   The following standard and guideline are similar and should be consolidated into one standard:

   S-CDT-4 states:
       Management activities in the congressionally designated trail corridors shall be
       consistent with, or make progress toward achieving, high or very high scenic
       integrity objectives to protect or enhance scenic qualities.

   G-CDT-2 states:
       To protect or enhance the scenic qualities of the Continental Divide National Scenic
       Trail, management activities should be consistent with, or make progress toward
       achieving scenic integrity objectives of high or very high within the foreground of
       the trail (up to 0.5 mile on either side).



   53 DEIS at 91 states that the CDT and the OST, “are removed from the suitable timber acreage along with a one-half
   mile buffer on each side of the trail” for alternatives B, C, and D. However, we no such indication of this in the Plan.

                                                             106

                                                                                      Rvsd Plan - 00005178
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 87 of 475




   We recommend converting the guideline to a standard and amending it to apply to both the
   CDNST and the OST.

   Standard S-CDT-3 states:

         Motorized events and motorized special use permits shall not be permitted on
         nonmotorized segments of the Continental Divide National Scenic Trail. Motorized
         events and special use permits could be authorized along existing motorized trail
         segments not yet converted to nonmotorized use.

   If a trail segment is part of the CDNST, it is supposed to be non-motorized. Even if it has not
   been “converted” to non-motorized, neither motorized special events nor special use permits for
   mass use should be allowed. Permitting such use could make it more difficult to close the trail to
   motorized uses at any time in the future. Note that G-CDT-4 states: “In order to promote a
   nonmotorized setting, the Continental Divide National Scenic Trail should not be permanently
   relocated onto routes open to motor vehicle use.” S-CDT-3 would conflict with this guideline.

   Guideline G-CDT-9, prohibiting use of the CDNST for landings and as a temporary road, must
   be a standard to ensure the nature and purposes of the trail are maintained.


   Under Cultural Resources (CRT) (Plan at 53-56), MgtApr MA-CRT-1 is confusing:

         Protect fire-sensitive sites from activities that may include vegetation treatment,
         including prescribed fire and thinning, in and adjacent to site boundaries provided
         that appropriate protective measures are in place. Erosion, severe fire effects, and
         livestock congregation can result from “islanding” if sites are only avoided and not
         treated.

   Is the intent here to protect sites from vegetation management, or to make sure they are not
   subject to “islanding”? The CRT section should have a standard protecting cultural sites from
   any kind of management, and from vandalism. At a minimum, rewrite and clarify DC-CRT-1
   and make it a standard.


   Fire Management (FIRE) (Plan at 57-58)
   The plan and the other two action alternatives would direct that all human-caused wildfires be
   suppressed. S-FIRE-1, Plan at 57; DEIS at 23. This would be true even in the Resource
   Restoration Fire Management Zone (WFMZ-R), the zone where “managing wildfire to meet
   resources objectives is the least constrained” (DEIS at 23, 98), and there is “minimal emphasis


                                                  107

                                                                       Rvsd Plan - 00005179
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 88 of 475




   on suppression” (Plan at 73). While many human-caused fires will likely have to be suppressed,
   it should still be an option to let such fires burn under certain conditions, to be decided at the
   time of the fire. These fires may, in some situations, help meet ecosystem needs and desired
   conditions. We recommend rewriting S-FIRE-1 and the description of WFMZ-R accordingly.


   Under Forest Products (FP) (Plan at 58-59), there should be a guideline providing for the
   establishment of limitations on how much of any forest product can be removed, per person
   and/or per time period, if needed to reduce adverse impacts on ecosystems or to ensure that the
   product(s) is/are available to everyone.


   One of the most important parts of infrastructure on the RGNF is roads. Thus in the
   Infrastructure (INFR) section of the draft revised plan (id. at 59-61), MA-INFR-4 should be
   made a guideline or standard and rewritten to make clear that roads can be closed to public
   motorized use if any of the listed conditions exist.

   Rewrite MA-INFR-5 as a standard, per below:

         On all lands except designated travelways, motorized use is prohibited unless the
         motor vehicle use map or a forest order indicates that such use is specifically
         allowed. This applies to motor vehicles operating over snow as well as on dry land.

   There should be no non-emergency off-road travel in the snow-free season. This allows illegal
   creation of routes, which are then used by others, and become very difficult to decommission.
   Off-road motorized use is also very damaging to soils, especially in wet, non-rocky areas. See
   DEIS at 153.

   We agree with, and fully support, the statement on page 90 of the Draft Plan that “mechanized
   travel is only suitable on designated routes.” Mechanized travel, including mountain biking, fat
   biking, and other forms bicycle and other mechanical transport, can result in significant impacts
   on resources. There must be a standard limiting mechanized use to designated routes to ensure
   there is no confusion about where this use is allowed, and to guide future development/revision
   of a travel management plan.


   MA-INFR-8 should be a standard, or at least a guideline. It should be amended to state that road
   use should be managed with seasonal closures if any of the listed conditions exist.




                                                   108

                                                                        Rvsd Plan - 00005180
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 89 of 475




   The Lands (LAND) section of forest-wide direction (Plan at 61-64) should have standards
   and/or guidelines on priorities for acquisition and conveyance of lands. Note that the current plan
   has guidelines for this at III-31, -32.

   S-LAND-2 states: “Do not authorize conflicting uses of activities in transportation and utility
   corridors”. Where are the transportation and utility corridors on the RGNF? We find no
   information on their location, or possible location, in the Plan or DEIS. The planning documents
   must provide this information if there are any plan components for these corridors. We
   recommend a standard that prohibits transmission corridors in roadless areas.

   MA-LAND-3, requiring activities in corridors to be compatible with the management areas
   through which the corridors pass, should be at least a guideline.

   MA-LAND-4, having a land ownership pattern that supports meeting plan goals and objectives,
   should be a desired condition.


   Under Minerals (MIN) Plan at 63-64), the instream activity maps referenced in G-MIN-3 are
   really “fisheries activity period maps”, and are not in Plan Appendix H. Rather, they are found
   on the plan’s map page on the web.

   G-MIN-4, requiring vehicles to stay on legally open routes, must be a standard.

   Though there is no current oil and gas activity on the RGNF, nor demand for leases, the Plan
   should have a standard for which lease stipulations will be required under what conditions. The
   current plan has a guideline for this at III-3. It is possible that oil and/or gas prices could rise
   during the life of the plan, generating industry interest in leasing and producing. See further
   comments below.


   Under Recreation (REC) (Plan at 64-67), amend S-REC-3 to make clear that campsites should
   be closed if any of the listed conditions are present.

   G-REC-2 references Table 9. The preface to this table defines the recreation capacity ranges
   used in the table: “Very low and low apply to^clearcuts 1 to 20 years old. Moderate applies
   to^clearcuts 80-120 years old^ High applies to^ clearcuts 20-80 years old.” The clearcut age
   for moderate and high seem reversed - intuitively, older (80-120 years) clearcuts would have a
   higher capacity than younger (20-80 years) ones.




                                                    109

                                                                          Rvsd Plan - 00005181
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 90 of 475




   G-REC-1, managing recreation in lynx analysis units to maintain or improve connectivity of lynx
   habitat, should be a standard.


   In the Scenery (SCNY) section (Plan at 67 et seq.), OBJ-SCNY-1 states: “^meet or improve
   scenic integrity and stability through vegetation management within two watersheds” over the
   life of the Forest Plan. It is very doubtfUl that scenery can be improved with vegetation
   management, because such management itself degrades the scenery. The presence of slash piles,
   other waste, skid roads, etc. results in lower scenic quality.

   In S-SCNY-2, the time for which “[s]hort-term impacts inconsistent with the scenic integrity
   objectives [SlOs] may occur” should be reduced to 1-3 years. Five years is too long for
   inconsistency with the SIOs.


     C. GEOGRAPHIC AREAS, FIRE MANAGEMENT ZONES, AND MANAGEMENT
   AREAS

   Geographic Areas (GAs). Under the proposed plan, there would be four GAs. Each would cover
   the area in two or more management areas of similar emphasis. But there would be no additional
   direction under any of the GAs. Thus it is hard to see the usefulness of the GAs in the proposed
   plan.

   Fire Management Zones (FMZs). The two proposed FMZs provide different emphasis - one on
   wildland restoration, the other on resource protection. The two FMZs proposed for designation
   are assigned to two each of the four proposed GAs. Plan at 73. The GAs in turn are comprised of
   groups of management areas. Thus direction on fire could be contained in the direction for MAs
   and/or in forest wide direction.

   See additional comments about fire management in the zones in the Fire Management section
   above under forest-wide direction.


    D. MANAGEMENT AREA DIRECTION ISSUES

       1. General concerns.




                                                 110

                                                                      Rvsd Plan - 00005182
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 91 of 475




   One change from the current plan was to combine three wilderness management prescriptions
   into one. This is acceptable as long as impacts of recreation in heavy used areas are addressed.54
   See further discussion under MA 1.1 below.

   Each MA should state if lands assigned to it are available for oil and gas leasing, and if so, what
   lease stipulations will be required. Stipulations for leasable minerals are deliberately omitted
   from the action alternatives. See DEIS at 103. This is not acceptable.

   The description of each MA should state what class(es) in the recreation opportunity spectrum
   is/are likely to apply, and what the scenic integrity objective(s) is/are for the MA.

   Off-road travel for recreation and firewood gathering is allowed under four MAs. See Table 12,
   p. 91. Limitations are needed on this form of travel for any purpose.

   Since not all alternatives use the same management areas (MAs), or necessarily even the same
   forest-wide direction, complete descriptions of both the MAs and forest-wide direction used in
   each alternative, at least how these differ from the proposed Plan, should be provided for public
   review, perhaps in a DEIS appendix. Only with this information can the public fully understand
   what is being proposed in the alternatives.


      2. Specific Management Area Direction Comments

   MA 1.1, Designated Wilderness (Plan at 75 et seq.):
   The following statement is unclear: “Livestock grazing is present except where previously
   delineated”. Plan at 75. Where were livestock ever “delineated” in wilderness and what does that
   mean?

   Under 1.1 S-2, maximum group size for activities authorized by special use permit could be
   exceeded if the activity “will benefit the wilderness character” or “is necessary for public health
   and safety”. Plan at 76.

   How could a large party possibly benefit the wilderness character? Indeed, party size limits are
   established specifically to prevent or reduce damage to the wilderness character. It is equally
   difficult to imagine how a party exceeding the established size limit would ever be necessary for
   public health and safety. This part of 1.1 S-1 must be deleted from the final plan.




   54 In the current plan, MA 1.13 - Wilderness Semi-Primitive addresses high use areas, which may need more
   intensive management to retain wilderness character. Current plan at IV-6 through IV-8.

                                                         111

                                                                                 Rvsd Plan - 00005183
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 92 of 475




   Two MgtAprs here are good: limit signs to trail intersections and build bridges only for user
   safety, not convenience. 1.1-MAs -2 and -4. These should be standards or guidelines, but in any
   case, they should be retained.

   MgtApr 1.1 MA-1, discourage trail duplication, should be a guideline or standard.

   MgtApr 1.1-MA-6 would encourage management to “emphasize a wild fishery” and prohibit the
   stocking of non-native fish in wilderness. This is a good measure but it must be a standard to
   have any effectiveness.

   MgtApr 1.1-MA-7 would limit rockhounding to 50 pounds per person per day. There should also
   be a limit of the number of days per year per person, as otherwise, a sizable amount of rock
   could be hauled out over time from areas near wilderness boundaries, with potential adverse
   impact on the wilderness character. In any case, this must also be a standard.

   MgtApr 1.1-MA-8 states: “Minimize controlled driving of permitted livestock in designated
   wilderness”. Does this mean that uncontrolled driving should be allowed? If livestock are
   allowed in wilderness, as they generally are, they may need to be controlled or driven to reduce
   over-utilization. This MgtApr should be clarified.

   MgtApr 1.1-MA-10, possible actions to limit human impact to wilderness, needs to be a
   guideline or standard.

   The “active weed management” allowed under MgtApr 1.1-MA-13 should emphasize non­
   chemical control whenever possible. In other words, use of herbicides should be a last resort, not
   a first resort.

   We are pleased to see that the provisions of MA 1.1 would also apply to 1.1a, areas
   recommended for wilderness. Plan at 77. However, there may be some activities currently
   occurring in the 1.1a areas that do not conform to wilderness requirements. See, e.g., DEIS at
   305, which states:

         Motorized trails would not be authorized and would have to be converted to
         nonmotorized trails. Mountain bike trails would be allowed if previously authorized
         and would only be discontinued if congressional designation of wilderness occurred.

   The DEIS should identify the parts of 1.1a areas where activities that now occur would not be
   allowed if the respective areas were designated as wilderness. This should be done for both
   alternatives B and D, which recommend various acreages for wilderness. By identifying the



                                                  112

                                                                       Rvsd Plan - 00005184
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 93 of 475




   possible non-conforming areas, the Forest Service can enlist the public’s help in monitoring them
   to ensure retention of wilderness character.

   Also:

           Recommended wilderness areas are not withdrawn from mineral entry and are
           available for new leases or claims as long as the social and ecological characteristics
           that provide a basis for wilderness designation are maintained and protected. The
           proposed action must preserve and protect wilderness character.

   DEIS at 306. The Plan should at least make all recommended wilderness areas discretionary no
   lease for leasable minerals.


   MA 2.2, Research Natural Areas (Plan at 78):
   MgtAprs 2.2-MA-1, -2, and -6, which allow recreation and special uses that do not conflict with
   the values or RNA establishment, need to be at least guidelines, if not standards, to ensure
   protection of RNA values.


   MA 3.1, Special Interest Areas - Use And Interpretation Emphasis (Plan at 79):
   See section III above for a detailed discussion od special area designations, including this MA.


   MA 3.4, Designated Suitable and Eligible Wild, Scenic, and Recreational Rivers (Plan at 79­
   82):

   Guidelines WSR-G-2, -3, and -4 state the ROS classifications and SIOs for wild, scenic, and
   recreational rivers, respectively. However, for scenic and recreational, it states: “Activities will
   meet the adopted scenic integrity objective.” Plan at 81-82. Does this mean the SIO adopted at
   the time a management plan or determination of suitability is approved? Normally, SIOs are
   adopted at the plan level. The SIO for scenic river segments should be high, and for recreational
   segments, it should be moderate.

   3.4- MA-1 states that a suitability study should be done whenever a proposed action threatens the
   free-flowing nature or any of the outstandingly remarkable values of one or more river segments.
   This needs to be a standard. It should be noted that when there is already a proposed action that
   threatens the free flow or ORVs, there may be intense pressure to approve it, to the detriment of
   the eligible river segment(s). To reduce this pressure, begin the suitability analysis at the earliest



                                                     113

                                                                          Rvsd Plan - 00005185
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 94 of 475




   possible time in the planning and analysis process for a project that could adversely affect free-
   flowing river segments or their ORVs.


   MA 4.21 Scenic Byways and Railroads (Plan at 85):
   Lands in this MA would be part of the suitable timber base. However, Table 12 at p. 91 shows
   that commercial timber harvest is not allowed in this MA. (It is only allowed in MAs 5.11 and
   5.13).

   While vegetation treatment may be desired at times (e. g., to remove hazard trees adjacent to
   roads and trails), these lands are managed for scenery: “All activities and interactions are
   managed to maintain the scenic beauty for which the area is designated.” The Integrated Desired
   Conditions section for this MA states that activities like commercial timber harvest occur but
   “are not dominant or visible”. However, it might be difficult to implement these activities
   without them becoming visible and dominant, due to the relatively narrow corridors to which this
   MA is applied. (See proposed forest plan management areas map.)

   Land assigned to MA 4.21 should not be part of the suitable timber base.

   Developed recreation facilities are acceptable in this MA


   MA 4.3, Dispersed and Developed Recreation (Plan at 86):
   The description here should explicitly state that these lands are not part of the suitable timber
   base.


   MA 5.11, General Forest and Intermingled Rangelands (Plan at 86-87):

   Under 5.11-MA-2, off-road use of motor vehicles would be allowed to retrieve game between
   noon and 5 PM, as long as no resource damage occurred. Use of vehicles off-road during big
   game rifle hunting season will almost always be damaging, as soils are often wet from melting
   snow. But even if not, off-route use illegally creates new routes and makes enforcement of travel
   management difficult. This provision must be removed from the final plan.

   See our comments on dispersed recreation and off-road vehicle travel.


   MA 5.13, Forest Products (Plan at 87-88):



                                                    114

                                                                         Rvsd Plan - 00005186
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 95 of 475




   5.13- MA-1, coordinating livestock grazing with vegetation management to “ensure adequate
   regeneration and prevent impacts on range improvements and natural barriers”, needs to be a
   standard. If it remains a MgtApr, it will be too easy to ignore. Some provisions to provide
   coordination need to be in every timber sale or other vegetation management contract. Having
   this as a standard in the revised Plan would help ensure this occurs.


   MA 5.41. Big Game Winter Range (Plan at 88-89):

   The Integrated Desired Conditions section here states: “This management area is included in the
   suitable timber base.” However, Table 12, Plan at 91, shows that commercial timber harvest is not
   suitable in this MA. It makes no sense to include the land in this MA in the suitable base if it will not
   be harvested. Also, management in this MA should retain hiding and thermal cover for wintering big
   game animals, but any commercial logging would likely reduce such cover. Therefore, land in this
   MA should not be suitable for timber production.

   Under Integrated Desired Conditions, “[v]egetation treatments occur during the winter to
   mitigate impacts to habitat security values.” Plan at 88. This is inappropriate. It makes no sense
   to do non-emergency vegetation treatment when the animals are likely to be on winter range,
   especially since such treatment could more easily be done in the longer period of each year when
   they are not present. Also, veg treatment, like cutting trees and implementing controlled burns,
   can be more difficult in cold winter weather. Access may be more difficult then due to snow
   cover or muddy roads.

   We are happy to see 5.41-S-1, which prohibits off-road travel, including over-snow vehicles,
   form December 1 through March 31. This standard should be strengthened to state that no off­
   road motorized use is allowed any time during the season of possible use by big game, say
   November 1 to April 15. (See additional comments under Infrastructure above.)

   We recommend a standard that encourages closure of all routes to motorized use on big game
   winter ranges during the season of big game use, subject to valid existing rights, emergency and
   needed administrative uses, etc.

   MgtApr 5.41-MA-2, “[a]void placing new roads in locations with important forage and cover”,
   should be a standard.


   MA 8.22 Ski-based Resorts (Plan at 89-90)
   The description says that “grazing is not authorized or permitted”, but MgtApr 8.22-MA-2 states
   that grazing can be authorized on a limited basis with agreement and cooperation of the permit
   holder. This apparent contradiction needs to be corrected in the final revised plan.

                                                      115

                                                                            Rvsd Plan - 00005187
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 96 of 475




   A standard should state that lands in this MA are not suitable for timber production.


   VII. THE TIMBER SUITABILITY AND SALE QUANTITY ANALYSES NEED
   CORRECTION

        A. THE TIMBER SUITABILITY ANALYSIS DEFIES LOGIC.

   The DEIS fails to consider alternatives that would reduce the area suitable for timber production,
   to provide additional protection to watersheds and ecosystems. Instead, each of the action
   alternatives significantly increases the area suitable for timber production. There is not much
   difference in suitable timberland in the action alternatives, with no alternative having less than
   401,000 ac (as in Alt D) suitable. The proposed plan, alternative B, has many more acres suitable
   for timber production (468,311) than does the current plan (320,567). DEIS at 22, 25, 45.
   Notably the acreage suitable in alternatives B and C is not much less than the total acres that may
   be suitable - 499,936. (Plan at 164.) In other words, few acres are removed from the “may be
   suitable” category for not being appropriate for timber production given the emphasis of the
   alternative. That might be expected to be the case for alternative C, which emphasizes active
   management, but not for alternative B, where the emphasis is on “water quality and quantity,
   ecosystem resilience and sustainability, and economics and services provided through public
   land management”. DEIS at 24. This is not a sufficient range of alternatives with regard to
   timber suitability, and does not comply with 40 CFR 1502.14(a).

   Also, “[m]ost of the management areas [MAs] are the same as [the current plan], with a few
   exceptions” for proposed action Alternative B. Ibid. Comparing the MA maps of the current and
   proposed plans, the allocations for the two MAs that have the most timber-suitable land, 5.11 and
   5.13, there appear to be only minor differences. The acreages of both 5.11 and 5.13 are less in
   the proposed plan versus the current plan:

                                         TABLE 1
                   ACREAGE IN MAs 5.11 AND 5.13 IN ALTERNATIVES A AND B

   DEIS Alternative                                              MA 5.11                             MA 5.13
   Proposed Plan Alt. B                    155,330                                248,689
   Current Plan Alt. A                     183,676 or 172,940                     265,016 or 297,11055




   55The first figure in the entries on this row come from the DEIS at 35. The second entries are from the 1997 Plan
   FEIS for selected alternative G at S-3. These difference are not explained.

                                                           116

                                                                                    Rvsd Plan - 00005188
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 97 of 475




   With fewer acres in the most timber-friendly MAs, the proposed plan should have fewer acres
   suitable for timber production compared to the current plan, but it has over 46 percent more
   suitable acres.

   Management emphasis in the current plan has not changed much in the draft plan, so the land
   suitable for timber production should not have increased, especially not by as much as it has in
   alternatives B and D.

   The DEIS should include an estimation of the number of acres that would be cut per year under
   each alternative. Presumably this has been calculated, as the narrative on DEIS p. 158
   qualitatively compares the alternatives in terms of acres to be cut. However, there is no narrative
   or table in the Plan or DEIS with the number of acres that may be cut.

   According to Plan Appendix C, which details the timber suitability analysis56, the following will
   be considered for timber suitability:

            1M and 2S areas with low canopy cover (10 to 25 percent) that key out as grasslands
            or other non-timber types and which are not previously treed.

   Plan at 165. Why should such areas be considered as potentially suitable for commercial timber
   production, especially those that have not had forest cover? Given the large area with dead
   overstory due to spruce bark beetle, whatever tree cover exists on these areas should be
   conserved. Or conversely, if the minimal tree cover is the result of meadow invasion and
   preservation of the meadows is desired, the trees would be removed one time and the areas
   would be kept un-forested. Either way, the areas described in the quote should not be considered
   suitable for timber production.

   Similarly, and probably related to the above, grassland resources areas (MA 6.6) and bighorn
   sheep areas (former MA 5.12; still in alternative A) are now suitable for timber production:

            The grassland resource production management areas are being considered suitable
            for timber production in alternatives B, C, and D, a change from alternative A, where
            they are not suitable. In addition, the bighorn sheep management areas in alternative
            A were merged with winter range to create the big game winter range management
            areas in alternatives B, C, and D. As a result, these areas are now considered suitable
            for timber production.

   DEIS at 129.


   56   DEIS Appendix B is identical to Plan Appendix C.

                                                           117

                                                                           Rvsd Plan - 00005189
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 98 of 475




   Grassland areas likely have few, or only scattered, trees, and should not be considered suitable
   for the reasons discussed above. Most winter range areas should not be suitable for timber
   production because any logging could remove forest cover needed by the big game as protection
   from wind and snow, i. e., thermal cover. Areas currently assigned to the bighorn sheep
   management area should also not have any suitable land because such areas are likely open with
   few trees, as bighorn sheep need long sight distances to navigate terrain and avoid predators. See
   additional comments below under Species Of Conservation Concern, Bighorn Sheep.

   There is even some area of alpine terrain in the suitable timber base. See DEIS at 102. There
   should be no land in the alpine in the suitable timber base because alpine areas, by definition,
   have no trees.

   Proposed action alternative B has over 150,000 acres of timber-suitable land in areas with high
   soil erosion potential, versus just over 100,000 acres for no action alternative A. DEIS Figure 15
   at 156. Overall, 33-35 percent of the timber-suitable lands by alternative are on lands with high
   soil erosion potential. Id. at 155. In any case, lands with high soil erosion potential should not be
   suitable for timber production.

   DEIS Figure 17, p. 157 shows almost 50,000 acres of land with poor reforestation potential is
   timber-suitable under alternative B, almost double the figure for alternative A. These lands
   should also not be suitable for timber production.


     B. THE LONG-TERM SUSTAINED YIELD QUANTITY IS MUCH TOO HIGH.

   The calculation of long-term sustained yield (LTSY) appears to violate the letter and intent of
   Handbook Chapter 60 guidance, as it includes land that should not have been included and
   because it was based on obsolete data. The direction for calculation of lands that “may be
   suitable” (DEIS at 506) explicitly instructs that “[l]ands on which technology to harvest timber is
   not currently available without causing irreversible damage” be excluded from the calculation.
   Therefore, lands that cannot be harvested with available technology should have been excluded.
   However, page 508 makes clear that “some inclusions in the suitable timber base many not be
   currently feasible for timber production,” including areas that are too steep or isolated to harvest.
   These lands should have been excluded from the calculation of LTSY in step one because they
   cannot be harvested without irreversible damage. The fact that technology (helicopters) exists
   that could be, but likely never will be, deployed57 does not justify inclusion of these lands in the
   suitable base. These lands should not have been carried forward into the calculation of suitable
   acres.

   57 Helicopters are very expensive to use, and timber from the RGNF is not likely to ever be sufficiently valuable to
   permit economical use of copters.

                                                            118

                                                                                     Rvsd Plan - 00005190
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 99 of 475




   In addition, the estimation of LTSY appears to have been based on old, if not obsolete, data.
   According to DEIS at 507, the data used to calculate growth were collected “over the last 20
   years.” Almost half of the plots used to calculate LTSY came from spruce-fir forests, but
   according to the 2015 Report on the Health of Colorado’s Forests, spruce beetles did not really
   begin to take off in southern Colorado until about 2010. With more than 610,000 acres infested
   by 2016, most of the spruce-fir plots that went into the calculation of LTSY have been likely
   been “significantly altered” (DEIS at 65) since the plot data were collected.

   Much (but not all) of the spruce-fir forest on the Rio Grande is dominated by Engelmann spruce,
   and when spruce beetle kills the overstory, volume growth drops to near zero, unlike stands that
   share basal area with subalpine fir (Derderian et al. 2016). Because recovery of stand
   productivity in spruce-fir forests following stand-initiating disturbance can take decades (Aplet
   et al. 1989), it can be expected that it will be decades before much of the spruce-fir identified as
   “may be suitable” will achieve rates of production equal to those in the plots that went into
   calculation of LTSY. Thus, it is highly likely that not only is LTSY based on acres that should
   have been removed from the calculation, it is also based on estimates of productivity that are far
   higher than those likely to actually occur over at least the life of the revised plan. LTSY should
   thus be recalculated using an appropriately reduced forest base and an up-to-date assessment of
   forest growth.

   Likely at least in part because of the lands described above are considered suitable for timber
   when they should not be, the maximum quantity of timber that can be sold is much too high. Plan
   at 41 (Standard S-VEG-7) states that the maximum amount of timber that can be sold (the long­
   term sustained yield capacity, LTSY) will be 73,749 ccf per year. This assumes that all 499,936
   suitable acres could be harvested. Obviously, that is not the case, as with all of the beetle-killed
   spruce, there is much less live timber on the RGNF than there was before the spruce bark beetle
   outbreak. The areas hit by bark beetles will not have spruce trees old and large enough to harvest
   for commercial timber products for more than a century. Stands where the spruce overstory has
   been killed should not be considered suitable for timber production, because regeneration of
   spruce is uncertain. The exception could be stands where there is a well-developed understory
   that contains enough spruce to meet the restocking standard in Table 7 (Plan at 41). 58

   The maximum sale volume does not include any timber from salvage or sanitation of stands
   affected by natural disturbances or in imminent danger of being affected. Plan at 41. With or
   without salvage of beetle kill, but especially without it, there is nowhere enough timbered
   acreage to cut the stated maximum amount of timber.59

   58 Note that we disagree with the proposed stocking standards for ponderosa pine and Douglas-fir, which are a
   substantial change from the current plan. See comments in Forestwide Direction, on S-VEG-3.
   59 We recognize that even under the most favorable conditions imaginable for timber production, the annual LTSY
   quantity is not likely to be cut during the life of the plan. However, having such a grossly over-stated LTSY may

                                                          119

                                                                                   Rvsd Plan - 00005191
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 100 of 475




    C. THE PROPOSED SALVAGE LOGGING IN THE FIRST DECADE IS
   UNREALISTICALLY HIGH.

   It is not at all clear how the salvage volume in each alternative was estimated. The DEIS states
   that 610,000 acres of spruce-fir have been “affected” (DEIS at 65), and the plan proposes that
   between 0 and 62,800 CCF be salvaged each year, but it does not state anywhere how many
   acres will need to be cut to achieve this volume or where the salvage logging will occur on the
   forest. Thus, it is impossible to assess the environmental impacts of alternatives.
   The DEIS (at 76) also notes that while spruce mortality may exceed 90 percent of the overstory,
   it is also “highly variable across the landscape.” This variability may result in stands being
   targeted for salvage that are, in fact, suitable for retention as old growth. As Appendix A makes
   clear, a stand need only contain 10 live trees over 200 years old and 16” DBH (and snags and
   down wood) to qualify as old forest, conditions that would be expected in stands that have been
   “affected” but where not all large trees were killed. It is highly likely that much of the “affected”
   area meets these criteria and should not be targeted for salvage. The plan should contain
   standards to protect these stands, and it should describe precisely the areas where salvage
   logging is anticipated so that the EIS can effectively evaluate environmental consequences of the
   alternatives.

   Each action alternative would have a high salvage volume in the first decade. For proposed
   action alternative B, 32,100 CCF would be cut annually in this time period. DEIS at 130. It is
   unlikely that all of this timber would still be merchantable by the end of the first decade. In fact,
   most of it may be commercially unusable by the time the revised plan is finalized.

   The overstory spruce trees have been dead for some time, or at least they will have been by the
   time: the Plan is finalized, project-level NEPA is prepared with the required public involvement,
   projects are approved, contracts are let, and cutting begins, all of which might take another 4
   years or so to begin. Our understanding is that dead trees begin to deteriorate significantly within
   2-3 years of death, and are seriously degraded within 5 years.60 They soon develop splits and
   checks that will make them useless for dimension lumber products like 2 X 4s. They could


   upwardly skew the calculation of Projected Timber Sale Quantity and Projected Wood Sale Quantity for each action
   alternative.
   60 Webb, 2015, states: “In a recent letter to the US Forest Service, Rocky Mountain Regional Forester,
   Intermountain Forest Association (IFA) observes that beetle-killed spruce is deteriorating much faster than
   anticipated.” Id. at 2-3. Also:

           Montrose Forest products and Rocky Mtn. Timber Products personnel have both mentioned that
           beetle kill much older than 5 years may be problematic because lumber recovery is significantly
            affected by cracks and checks.”
   Id. at 3.

                                                           120

                                                                                    Rvsd Plan - 00005192
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 101 of 475




   possibly be used for house logs, poles, and fence posts, but there is likely fairly low demand for
   these products, certainly not enough to justify anywhere near 32,100 CCF of salvage timber per
   year for up to 10 years. There would be some demand for firewood, but again not anywhere near
   enough to justify huge salvage volume.

   The DEIS notes the problem of wood deterioration:

          As the larger dead trees decay, there may be a large volume of low-value material
          available. It may be difficult to find a market for this lower quality woody biomass.

   DEIS at 128. A study cited there states:

          Once the trees are no longer suitable for [saw logs or house logs] it may be difficult
          to find a market for lower quality woody biomass.

   Forest Stewardship Concepts, Ltd., 2014, at 25.

   Because of the anticipated deterioration of wood quality, it is highly likely that salvage sales
   would have to get progressively larger over the duration of the plan in order to meet volume
   targets. The Plan should be clear about the anticipated acreage affected by salvage over time,
   including accounting for the effect of deterioration, so that the DEIS can evaluate environmental
   impacts.

   Who would buy the wood offered for sale from the RGNF? Even assuming that product(s)
   desirable to industry is/are made available, there may be only one mill that could purchase any
   large sales from the RGNF. And even it, the mill in Montrose, CO, is likely to be saturated with
   opportunities to buy dead standing Englemann spruce. Much dead spruce exists on the GMUG
   NF, which is closer to the Montrose mill than anything on the RGNF. Also, most of the dead
   spruce on the GMUG, some of which will be offered from the SBEADMR Project61, has not
   been dead for as long as the timber in the project area, so anything on the GMUG might be more
   attractive to any potential buyers.

   It is also questionable whether the RGNF would be given enough money to prepare, offer, and
   administer the proposed volume of salvage timber. Appropriations for federal agencies have
   dropped greatly over the past 25 years, and they are likely to drop quite a bit more in the near
   future.




   61 Up to 68,121 acres of spruce could be cut under selected alternative 2, along with another 37,038 of “aspen-spruce
   mix”, some of which would be spruce. SBEADMR FEIS, Table 9 at 57.

                                                           121

                                                                                    Rvsd Plan - 00005193
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 102 of 475




   In short, there is no way the RGNF will be able to offer 32,100 CCF of salvage timber per year
   under the proposed revised forest Plan. The EIS should have a wider range of salvage volumes in
   the alternatives.


    D. THE DEIS FAILS TO ADDRESS THE EFFECTS ON SOILS AND FIRE BEHAVIOR
   FROM SALVAGE LOGGING, AND APPEARS TO UNDERESTIMATE LIKELY
   PROBLEMS WITH REGENERATION

   The DEIS fails to account for the effect on fire behavior of salvage logging. Contrary to the
   expectation that salvage logging will reduce fuel loads and therefore lower fire danger, logging
   often results in the deposition of large amounts of fuel on the forest floor all at once, rather than
   over decades, as would occur if the trees were left standing (Peterson et al. 2009). This effect
   may be exacerbated in Engelmann spruce because of the long residence time of standing snags in
   this species, and by the slow decomposition of wood in a cold environment. Logging slash is
   commonly piled and burned, but conditions are not always right for slash disposal and burning.
   The EIS should evaluate the effect on fire danger of salvage logging compared to leaving the
   trees to fall and rot gradually over time.

   Similarly, the DEIS does not evaluate the long-term soil impacts of the removal of beetle-killed
   or burned trees. The DEIS (at 94) acknowledges that snags will eventually fall over, decompose,
   and “become part of the soil,” and (at 153) it notes that “coarse woody debris would be an
   important nutrient source in the future as well as an important carbon sink.” In some forests,
   decaying trees become “nurse logs” that support germination and growth of the next generation
   (Hunter 2003), and several authors report that Engelmann spruce seems to show a preference for
   regeneration on rotting coarse woody debris (e.g., Daubenmire 1943, Whipple and Dix, 1979,
   Knapp and Smith 1982, Alexander 1987). The EIS should evaluate the long-term implications
   for germination, growth, and soil development/carbon sequestration of removing the nurse logs
   of the future, as well as existing ones that will be piled and maybe burned as part of logging
   operations.

   Any logging, and especially salvage logging, is well known to kill established seedlings (Donato
   et al. 2006, Peterson et al. 2009), as felling, skidding, and yarding break and uproot young trees.
   Salvage logging in Colorado spruce-fir forests, in particular, was shown to hinder recovery
   following blowdown (Rumbaitis- del Rio 2006). Given the concern expressed in the DEIS (at
   156) about the difficulty of reforesting sites that are exposed to increased sun exposure, the effect
   of salvage logging on reforestation should not be dismissed but instead should be evaluated in
   the DEIS. It is not enough to assume that any impacts on regeneration can be mitigated by
   planting, as planting is very expensive (several hundred dollars per acre), and only a limited
   acreage on the RGNF can reasonably be expected to be planted.


                                                    122

                                                                         Rvsd Plan - 00005194
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 103 of 475




    E. JUSTIFY USE OF THE PROPOSED CUBIC FOOT-BOARD FEET CONVERSION
   FACTORS.

   The conversion factor for translating cubic feet into board feet seems high - “4.4 board feet per
   cubic foot for mixed-conifer and ponderosa pine and 5 board feet per cubic foot for the spruce
   salvage sales.” DEIS at 130. These appear to be for logs larger than those commonly cut on the
   RGNF. The Forest Service should state why it chose these conversion factors and why they are
   appropriate for use on the RGNF. Such analysis and disclosure are necessary to meet the
   Planning Rule’s requirement to use the best available science. See 36 CFR 219.3.


   VIII. SUITABILITY FOR OIL AND GAS LEASING SHOULD BE DETERMINED FOR
   ALL ALTERNATIVES, AND LEASE STIPULATIONS MUST BE STATED FOR
   MANAGEMENT AREAS WHERE LEASING WOULD BE ALLOWED.

     A. INTRODUCTION

   Exploration, drilling, and production of oil and gas and related operations on national forest
   lands can have many impacts to: wildlife and habitat, including connectivity and fragmentation;
   soils, water quality; scenery; recreation opportunity; etc. When a lease is held by production,
   impacts can persist for decades.

   Numerous scientific studies point to potential problems with human health related to oil and gas
   operations. See, e. g., McKenzie et al, 2012; Colborn et al, 2011; and Concerned Health
   Professionals of New York et al, 2016.

   The planning team should not assume that there will be no oil or gas activity on the RGNF
   during the life of the plan. Prices are low right now, but they could rise fairly quickly. That could
   generate interest from industry in parcels on the Forest. Indeed, oil prices have risen recently.
   Also, in 2008, 140,000 acres of land, much of on the RGNF, was nominated for leasing. (It has
   been deferred since then.) All or part of this area could be re-nominated any time.


     B. CONSIDER A NO-LEASING ALTERNATIVE

   The Forest Service should consider alternatives that are responsive to the urgent need to address
   climate pollution, including not allowing leasing for fossil fuels. Every ton of carbon dioxide and



                                                    123

                                                                         Rvsd Plan - 00005195
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 104 of 475




   other greenhouse gases (especially methane62) added to the atmosphere contributes to climate
   change, and any additional fossil fUel development permitted on the Rio Grande and the
   subsequent combustion of those fossil fUels will worsen climate change. Therefore, due to the
   urgent need to protect humankind and federal public lands from the potentially devastating
   impacts of global warming, the Forest Service should consider and analyze an alternative that
   eliminates new fossil fuel leases on the Rio Grande.

   An alternative is “reasonable” if it falls within the agency’s statutory mandate and meets at least
   a part of the agency’s purpose and need. When determining whether an EIS analyzes sufficient
   alternatives to allow the Forest Service to take a hard look at the available options, courts apply
   the “rule of reason.” New Mexico ex rel. Richardson v. Bureau ofLand Mgmt., 565 F.3d 683,
   709 (10th Cir. 2009) (citing Westlands Water Dist. v. U.S. Dep t of the Interior, 376 F.3d 853,
   868 (9th Cir. 2004)).

   The reasonableness of the alternatives considered is measured against two guideposts. First,
   when considering agency actions taken pursuant to a statute, an alternative is reasonable only if it
   falls within the agency’s statutory mandate. Westlands, 376 F.3d at 866. Second, reasonableness
   is judged with reference to an agency’s objectives for a particular project.63 See Dombeck, 185
   F.3d at 1174-75; Simmons v. U.S. Army Corps ofEng’rs, 120 F.3d 664, 668-69 (7th Cir. 1997);
   Idaho Conservation League v. Mumma, 956 F.2d 1508, 1520 (9th Cir. 1992).

   A no-leasing alternative would meet both tests. First, the Forest Service has decision-making
   authority with respect to oil and gas leasing on national forests. 30 U.S.C. § 226(h). Second, a
   no-leasing alternative would meet the Rio Grande’s purpose and need for a forest plan revision,
   which states that to meet the 2012 Planning Rule’s requirement to provide for ecological
   sustainability,

          management direction is also needed that addresses ecosystem integrity and
          diversity, including key ecosystem characteristics, in light of changes in climate,
          landownership, and recreational use patterns, as well as other threats and stressors to
          those ecosystems.

   DEIS at 10.

   Climate change is driving many of these ecological changes, including increases in temperature,
   precipitation changes, and increased frequency of extreme weather events, that influence forest

   62 Methane and other heat-trapping gases are commonly emitted during drilling for, and production of, oil and gas.
   63 While an agency may restrict its analysis to alternatives that suit the “basic policy objectives” of a planning
   action, Seattle Audubon Soc ’y v. Moseley, 80 F.3d 1401, 1404 (9th Cir. 1996), it may do so only as long as “the
   statements of purpose and need drafted to guide the environmental review process ... are not unreasonably narrow,”
   Dombeck, 185 F.3d at 1175.

                                                          124

                                                                                   Rvsd Plan - 00005196
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 105 of 475




   ecosystems. Limiting or eliminating oil and gas leasing on the Rio Grande would help mitigate
   climate change by reducing emissions from fossil fUel extraction and use. A desired outcome for
   a reasonable alternative could be reducing the planning area’s contribution to climate pollution.
   It could establish that certain uses—including fossil fuel production—would be allowable only
   on current leases, which would enable the Forest Service to achieve a desired outcome of
   reducing the intensity of climate change that will negatively impact the Rio Grande. As such, a
   no-fossil fuel leasing alternative would meet the purpose and need for the forest plan revision.

   The DEIS’ alternatives appear to be identical with regard to oil and gas issues, though, as
   mentioned previously, there is very little information in the DEIS on this important resource
   issue. The alternatives, given their different management emphases, should be different with
   regard to oil and gas. For example, Alternative C, “proposes to increase the acreage available for
   multiple uses on the Forest” and does not recommend any areas for wilderness (DEIS at 28),
   while Alternative D “emphasizes less active management of resources while increasing the
   amount of area available for recreation opportunities that provide for a more solitary experience”
   (id. at 29), and would recommend 285,000 acres for wilderness designation (id. at 31). Surely
   this would result in different application of stipulations, even if the forest-wide acreage of land
   available for leasing was the same.

   The issue needs to be addressed, and the EIS alternatives must encompass a range of activity on
   oil and gas. See the CEQ Regulations at 40 CFR 1502.14(a), which require agencies to
   “rigorously explore and objectively evaluate all reasonable alternatives”.


     C. THE PROPOSED PLAN WOULD PROVIDE LESS PROTECTION FROM OIL AND
   GAS IMPACTS THAN THE CURRENT PLAN, BUT THIS SUBJECT IS NOT ANALYZED
   IN THE DEIS

   Under the proposed action, considerable acreage, (e. g, that currently assigned to the 3.3
   Backcountry MA) would be assigned to others MAs proposed in the Plan. Under the current
   plan, in MA 3.3:

         Areas with high [oil or gas] potential are available for oil and gas leasing with the
         NSO stipulations. All other areas are administratively unavailable.

   Id. at III-17.

   Under the proposed Plan, about 58,700 acres that currently allow leasing would not do so under
   the proposed action. These are all areas that are recommended for wilderness designation under
   proposed action B. However, approximately 148,100 acres now with NSO would not have the


                                                   125

                                                                         Rvsd Plan - 00005197
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 106 of 475




   NSO stipulation under the proposed plan. Acres currently in MA 3.3 (backcountry) and 5.42
   (special wildlife areas - bighorn sheep) would be assigned to MAs like 5.41 (big game winter
   range), where leasing is allowed with stipulations, if any besides standard terms, other than NSO.
   In other words, the proposed revised RGNF plan would have less protection overall from the
   impacts of oil and gas activities on areas where leasing would be allowed compared to the
   current plan. See Exhibits 4 and 5.

   However, this is not discussed anywhere in the Plan or DEIS. Indeed, as discussed above in
   section VII D(1), these and all other MAs have no direction at all for lease stipulations.


    D. DETERMINE SUITABILITY OF LANDS FOR OIL AND GAS ACTIVITY FOR ALL
   ALTERNATIVES THAT WOULD ALLOW LEASING.

   Suitability is a plan component:

         Specific lands within a plan area will be identified as suitable for various multiple
         uses or activities based on the desired conditions applicable to those lands. The plan
         will also identify lands within the plan area as not suitable for uses that are not
         compatible with desired conditions for those lands.

   See the Planning Rule at 36 CFR 219.7(e)(1)(v). Though “[t]he suitability of lands need not be
   identified for every use or activity” (ibid.), we believe it should be for oil and gas, given the
   potential for oil-gas activities to create impacts, which can be severely adverse and/or persistent.

   Therefore, we ask that a determination of which lands are suitable for oil and gas leasing,
   especially for surface occupancy, and what stipulations need to be applied in each MA, be done
   for all EIS alternatives. At a minimum, the RGNF should find the following areas unsuitable for
   surface disturbing activities associated with oil and gas leasing and development: all roadless
   areas; all research natural areas; all special areas; wild, scenic, and recreational river corridors;
   riparian areas; moderate or higher quality lynx habitat; alpine areas; big game winter range; deer
   and elk fawning/calving areas; bighorn sheep habitat, especially lambing grounds; Gunnison
   sage grouse habitat; slopes with 40 percent or greater steepness; areas with high erosion or mass
   wasting potential; priority watersheds; watersheds where function is impaired; campgrounds;
   picnic grounds; and trailheads.

   The revised Plan must ensure, through plan components and lease stipulations, that impacts from
   oil and gas activity to ecosystem integrity and all resources, especially wildlife habitat and water
   quality, will be minimized.



                                                    126

                                                                          Rvsd Plan - 00005198
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 107 of 475




   IX. PROBLEMS WITH THE ANALYSIS OF LIVESTOCK GRAZING.

   There is very little or no difference among the alternatives in the area considered suitable for
   livestock grazing:

         Acreage of suitable rangeland does not vary by alternative^

         Among all alternatives, the acreage of suitable rangeland remains nearly constant
         with the exception of small alterations based on special area designation. As a result,
         livestock grazing impacts to riparian and wetland ecosystems are expected to remain
         consistent with those observed in the previous planning period, and will not vary
         significantly by alternative.

   DEIS at 21, 101.

   The DEIS at 136 states that 581,556 acres of land were determined to be suitable for livestock
   grazing in 2002, and that no change is assumed for the current analysis. But shouldn’t suitability
   change with the management emphasis of each alternative? For example, alternative D, which
   emphasizes less active management of resources while increasing the amount of area available
   for recreation opportunities that provide for a more solitary experience” (DEIS at 29), would
   intuitively have less land suitable for livestock grazing. Or if not, another alternative should be
   formulated that would have, among other things, less land suitable for livestock grazing than the
   other action alternatives.

   Nevertheless,

         There is no difference among alternatives in terms of total permitted animal unit
         months. Where that grazing will specifically occur would vary in alternative D,
         based on the potential designation of special interest areas and/or research natural
         areas that do not allow for ongoing livestock grazing.

   DEIS at 238. This means that under alternative D, the same number of livestock would be
   concentrated on fewer acres, increasing the impacts from grazing. Under the less-management
   emphasis of alternative D, there should, if anything, be less impact from livestock grazing.
   However, the AUMs would be the same in alternative D, but would be done on fewer acres, due
   to there likely being less grazing in the special interest and research natural areas proposed for
   designation in alternative D versus what would occur in other alternatives (that would not
   designate these areas). See DEIS at 238. That means that the impacts of livestock grazing under
   alternative D would be greater than under any of the other alternatives on the acres where such


                                                   127

                                                                         Rvsd Plan - 00005199
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 108 of 475




   grazing would occur, because the same amount of grazing would occur under D as in the other
   alternatives but on fewer acres.

   The Planning Rule describes “suitability of lands” as follows:

         Specific lands within a plan area will be identified as suitable for various multiple
         uses or activities based on the desired conditions applicable to those lands. The plan
         will also identify lands within the plan area as not suitable for uses that are not
         compatible with desired conditions for those lands. The suitability of lands need not
         be identified for every use or activity. Suitability identifications may be made after
         consideration of historic uses and of issues that have arisen in the planning process.

   36 CFR 219.7(e)(1)(v).

   The analysis does describe historic livestock use of the RGNF, noting that:

         High elevations and shorter growing seasons make impacts from past grazing
         practices still visible in places. Sheet and gully erosion is apparent in many areas as a
         result of these past improper practices on lower-elevation rangelands. Because these
         areas were most impacted and receive limited annual precipitation, recovery takes
         more time.

   DEIS at 138.

   At least some of the areas still showing the effects of poor management practices should be
   closed to grazing, i. e., be considered unsuitable until fully recovered.

   Troublingly, the acreage found suitable for livestock grazing appears to exceed, by a
   considerable margin, the land found capable of this activity. See Table 44 at 140-141. Totals for
   the capability numbers are not provided, but a quick rounding and adding of number appears to
   show that alternative B has about 478,000 acres considered capable for cattle and 50,000 acres
   capable for sheep. But according to DEIS p. 159, 540,310 acres are capable for livestock grazing
   in alternative A, and 539,935 acres are so capable in the action alternatives.

   Both sets of figures are well short of the 581,556 acres found suitable for all alternatives, even if
   all acres considered capable for cattle are not capable for sheep and vice-versa. (In the field,
   there is probably some overlap.) Similarly, for alternative D, about 488,000 acres are found
   capable for cattle grazing, and 49,000 acres for sheep grazing.

   The DEIS Glossary defines “capability” and “suitability for grazing” as follows:


                                                    128

                                                                         Rvsd Plan - 00005200
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 109 of 475




         Capability
         The potential of an area to produce resources, supply goods and services, and allow
         resource uses under an assumed set of management practices and at a given level of
         management intensity. Capability depends on current management practices at a
         given level of management intensity. It is also dependent on existing resource and
         site conditions such as climate, slope, landform, soil, and geology, as well as the
         application of management practices, such as silviculture or the protection from fire,
         insects, and disease. ^

         Suitability for grazing
         The appropriateness of applying certain resource management practices to a
         particular area of land, as determined by an analysis of economic and environmental
         consequences, and the alternative uses forfeited. A unit of land may be suitable for a
         variety of individual or combined management practices. Suitability is a
         determination of the appropriateness of grazing on the capable lands based on
         economic and environmental consequences and consideration of alternative uses
         forfeited if grazing is allowed.

   DEIS at 437, 474, respectively; emphasis added.

   Since suitable range land is the portion of the lands capable for grazing where grazing is
   considered appropriate, the acres of land considered suitable for grazing could theoretically (but
   unlikely) be equal to the acres capable, but could never be more than the latter. Yet in the DEIS,
   there is clearly more land identified as suitable than capable for livestock grazing. This must be
   corrected.


    X. MONITORING

   Table 13 in Plan chapter 4 (pp. 97 et seq.) with the details of the monitoring program should
   have triggers, i. e., what is the approximate change in each indicator that would or might
   necessitate further action or at least a closer or more detailed analysis.

   One indicator for improving priority watersheds is “number of projects completed in priority
   watersheds”. Plan at 99. We recommend that this be reworded to say “number and percent of
   essential projects identified in the watershed restoration action plan completed in priority
   watersheds.” This metric makes way more sense as it measures the progress the RGNF is making
   in implementing the watershed restoration action plan, and not just potentially random projects
   that happen to be located in the watershed.


                                                   129

                                                                        Rvsd Plan - 00005201
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 110 of 475




   For monitoring the status and trend of riparian and wetlands areas, an indicator is “changes in
   riparian vegetation (forest pasture, willow, grass/forb, grassland, shrub)”. Does this mean only
   increased or decreased presence of these vegetation types? Or increase/decrease in riparian
   vegetation overall? Or does it mean a change in natural range of variability with regard to the
   proportion and structure of composition of these species in riparian and wetland areas? This
   should be clarified.

   Under Monitoring Question 15, Plan at 105, one indicator states: “CWD (same as for MQ)” This
   needs to be filled in corrected, or deleted.

   One of the indicators under Monitoring Question 18, addressing range condition is: “Number of
   surveyed allotments not meeting, moving toward or meeting desired conditions”. Are the desired
   conditions stated here the ones developed in allotment management plan or the proposed forest
   plan? The desired conditions for the proposed forest plan on range are very general. See Plan at
   33. Monitoring them alone might not reveal much about range condition. This needs to be
   clarified.

   We do not see any monitoring question or indictors for addressing recreation conflicts, such as
   motorized vs. non-motorized, mechanized versus horse riders, etc. Monitoring Question 20
   address “satisfaction” with recreation, but conflicts are not specifically mentioned in the
   Question or the associated indicators.

   Under the Planning Rule, plans must include “monitoring questions and associated indicators”
   for “[t]he status of focal species to assess the ecological conditions required under § 219.9”. 36
   CFR 219.12(a)(5). The Proposed Plan Monitoring Framework does have such questions and
   indicators, but to be clear exactly which species will be monitored, the final plan should list all
   focal species, along with rationale for their selection.


   XI. THE PLAN AND DEIS MUST COMPREHENSIVELY ANALYZE THE
   POTENTIAL EFFECTS OF CLIMATE CHANGE AND PROVIDE PLAN
   COMPONENTS FOR MITIGATING THESE EFFECTS.

   Climate change is already affecting the Rio Grande, and future impacts are likely to increase in
   severity. The DEIS for the Rio Grande’s draft plan identifies climate change as one of the
   “drivers and stressors” affecting the forest, and notes that climate projections for the Rio Grande
   indicate likely increases in temperature, increased tree mortality, increased fire risk, precipitation
   changes, earlier snowmelt, and habitat shifts for both plants and animals.64 It is critical for the

   64 DEIS at 63-64.

                                                    130

                                                                          Rvsd Plan - 00005202
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 111 of 475




   Rio Grande forest plan to address these issues and provide management direction relating to
   climate impacts, adaptation, and mitigation on the Rio Grande.

   Below, we briefly summarize the legal requirements for alternatives analysis under NEPA and
   explain why the Rio Grande must incorporate climate change into its analysis. We then
   summarize some key U.S. Forest Service (USFS) climate policies and guidance materials that
   emphasize the importance of managing our national forests to increase climate resilience and
   adaptive capacity, and to mitigate climate change by maintaining and, when possible and
   consistent with other forest management objectives, increasing the forests’ ability to effectively
   sequester carbon. Finally, we offer suggestions to revise the Rio Grande draft plan to ensure that
   it reflects USFS’s commitment to addressing climate change.

     A. ALTERNATIVES ANALYSIS UNDER NEPA

   Below we provide a brief overview of the legal requirements for considering reasonable
   alternatives under NEPA. We explain that the Rio Grande failed to adequately consider climate
   change in its alternatives analysis in the draft plan DEIS, making this analysis legally insufficient
   under NEPA. The Rio Grande must rectify this deficiency in the final plan and final EIS.

       1. Legal Framework.

   Compliance with NEPA is essential to ensure that the Rio Grande produces an effective and
   well-informed forest plan revision. NEPA “is our basic national charter for protection of the
   environment”65 and provides action-forcing tools to ensure reasoned and informed agency
   action. Because its substantive intent is too often forgotten, it is helpful to remember that NEPA
   is designed to:

            [E]ncourage productive and enjoyable harmony between man and his environment; to
            promote efforts which will prevent or eliminate damage to the environment and biosphere
            and stimulate the health and welfare of man; [and] to enrich the understanding of the
            ecological systems and natural resources important to the Nation.66

   Notably, NEPA expressly calls on agencies to provide for intergenerational equity, stating that it
   is intended to “fulfill the responsibilities of each generation as trustee of the environment for
   succeeding generations.”67 This is particularly significant given the long-lasting impacts of
   climate change, which will affect the entire planet—and the Rio Grande specifically—I’or many
   generations.


   65 40 C.F.R. § 1500.1(a).
   66 4 2 U.S.C. § 4321; see also id. § 4331.
   67 42 U.S.C. § 4331(b)(1).

                                                    131

                                                                         Rvsd Plan - 00005203
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 112 of 475




   As the U.S. Supreme Court has noted, “the thrust of [NEPA] is . . . that environmental concerns
   be integrated into the very process of agency decision-making.”68 Thus, while “NEPA itself does
   not mandate particular results, but simply prescribes the necessary process,”69 agency adherence
   to NEPA’s action-forcing mandates helps achieve NEPA’s purpose and policies.70 NEPA’s
   implementing regulations clearly articulate this:

           Ultimately, of course, it is not better documents but better decisions that count. NEPA’s
           purpose is not to generate paperwork—even excellent paperwork—but to foster excellent
           action. The NEPA process is intended to help public officials make decisions that are
           based on [an] understanding of environmental consequences, and take actions that
           protect, restore, and enhance the environment.71

   The “heart” of NEPA is an agency’s duty to consider “alternatives to the proposed action” and to
   “study, develop, and describe appropriate alternatives to recommended courses of action in any
   proposal which involves unresolved conflicts concerning alternative uses of available
   resources.”72 An agency must “[r]igorously explore and objectively evaluate all reasonable
   alternatives” and specifically “[i]nclude the alternative of no action.”73

   Operating in concert with NEPA’s mandate to take a hard look at impacts, an agency’s fidelity to
   alternatives analysis allows agencies to “sharply defin[e] the issues and provid[e] a clear basis
   for choice among options by the decision maker and the public.”74 NEPA’s implementing
   regulations emphasize the importance of fully informed and well-considered decisions that
   “foster excellent action” and “protect, restore, and enhance the environment.”75 As the D.C.
   Circuit has explained:

           NEPA requires that an agency must—to the fullest extent possible under its other
           statutory obligations—consider alternatives to its actions that would reduce
           environmental damage. That principle establishes that consideration of environmental
           matters must be more than a pro forma ritual. Clearly, it is pointless to “consider”
           environmental costs without also seriously considering action to avoid them.76



   68 Andrus v. Sierra Club, 442 U.S. 347, 350 (1979).
   69 Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989).
   70 See 42 U.S.C. §§ 4321, 4331.
   71 40 C.F.R. § 1500.1(c) (emphasis added).
   72 4 2 U.S.C. §§ 4332(2)(C)(iii), 4332(2)(E); 40 C.F.R. § 1502.14(a).
   73 4 0 C.F.R. §§ 1502.14(a), (d).
   74 4 0 C.F.R. § 1502.14.
   75 4 0 C.F.R. § 1500.1(c); see also 40 C.F.R. § 1500.2(e).
   76 Calvert Chjfs' Coordinating Comm. v. U.S. Atomic Energy Comm'n, 449 F.2d 1109, 1128 (D.C. Cir. 1971)
   (emphasis added).

                                                        132

                                                                               Rvsd Plan - 00005204
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 113 of 475




   Detailed consideration of reasonable alternatives provides interested parties with an informed
   basis to question any initial predispositions and “to rethink the wisdom of the action.”77 Failure
   to engage in such consideration in inconsistent with NEPA: “The existence of reasonable but
   unexamined alternatives renders a [NEPA analysis] inadequate.”78

   To inform the alternatives analysis, agencies must consider direct, indirect, and cumulative
   impacts, ensuring that the agency takes a hard look at the consequences of its actions.79 The
   significance of these impacts must be assessed in terms of both context and intensity.80 In light
   of the increasingly urgent need to transition away from fossil fuels and account for climate
   change, it is important to note that an agency’s hard look at impacts should evaluate the
   “[e]nergy requirements and conservation potential of various alternatives and mitigation
   measures,” “[n]atural or depletable resource requirements and conservation potential of various
   alternatives and mitigation measures,” and “[m]eans to mitigate adverse environmental
   impacts.”81

   We emphasize that the Rio Grande must not limit its hard look at impacts to the projected
   lifespan of the plan itself, but should account for the lifespan of the impacts—both positive and
   negative.82 For example, as the Forest Service Planning Handbook explains, “[i]n light of
   possible changes in species composition under the effects of climate change and with a focus on
   restoration, the Agency designs plan components to provide ecological conditions to sustain
   functional ecosystems based on a future viewpoint.”83 NEPA itself does not justify confining the
   hard look to the lifespan of the plan, but rather to the lifespan of all predicted and reasonably
   foreseeable impacts, even when those impacts may only be understood qualitatively rather than
   quantitatively. Climate change must also be properly integrated into the hard look analysis, in
   particular in terms of assessing: (1) the efficacy of management measures intended to protect or
   restore ecological values on the Rio Grande; and (2) the combined, cumulative impact of forest
   management actions and predicted or reasonably foreseeable impacts.

   NEPA’s success as a planning tool is contingent, in significant part, on effective public
   involvement, in particular in terms of developing actionable alternatives. NEPA’s implementing
   regulations provide that, “Federal agencies shall to the fullest extent possible . . . encourage and
   facilitate public involvement in decisions which affect the quality of the human environment”
   and “[m]ake diligent efforts to involve the public in preparing and implementing their NEPA

   77 Nat. Resources Def. Council v. Hodel, 865 F.2d 288, 296 (D.C. Cir. 1988); see also Citizens Against Burlington v.
   Busey IV, 938 F.2d 190, 196 (D.C. Cir. 1991) (“the rule of reason does not give agencies license to fulfill their
   own prophecies, whatever the parochial impulses that drive them).
   78 Friends ofSoutheast's Future v. Morrison, 153 F.3d 1059, 1065 (9th Cir. 1998) (citation omitted).
   79 40 C.F.R. §§ 1508.7, 1508.8, 1508.25(c).
   80 40 C.F.R. § 1508.27.
   81 40 C.F.R. §§ 1502.16(e), (f), (h).
   82 4 0 C.F.R. § 1508.27(b)(1).
   83 FSH 1909.12, § 23.11.

                                                           133

                                                                                    Rvsd Plan - 00005205
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 114 of 475




   procedures.”84 As the Ninth Circuit has explained, NEPA works “through the creation of a
   democratic decision-making structure that, although strictly procedural, is ‘almost certain to
   affect the agency’s substantive decision[s].’”85 By requiring agencies “to place their data and
   conclusions before the public . . . NEPA relies upon democratic processes to ensure . . . that ‘the
   most intelligent, optimally beneficial decision will ultimately be made.’”86 This process, in turn,
   ensures open, honest and public discussion “in the service of sound decision-making.”87

        2. Lack of Climate Analysis in the Proposed Alternatives.

   Notably, the DEIS acknowledges that “management direction is . . . needed that addresses
   ecosystem integrity and diversity, including key ecosystem characteristics, in light of changes in
   climate .”88 The DEIS also identifies “climate change vulnerabilities” as a “need for change”
   topic warranting revision of the current plan.89 Despite this recognition, however, the Rio Grande
   has failed to develop an alternative that addresses climate change at even a cursory level, let
   alone the in-depth consideration the issue warrants. There is literally no discussion of climate
   change in any of the four alternatives, and no explanation of how the Rio Grande may address
   climate change differently under the proposed alternatives. This is unreasonable and legally
   insufficient under NEPA.

   We are deeply troubled that none of the four alternatives even mentions climate change, let alone
   discusses that alternative’s approach to addressing climate change impacts, adaptation, and
   mitigation. It is unreasonable for the Rio Grande to completely ignore climate change in its
   alternatives analysis, given the far-reaching and long-lasting impacts that climate change will
   cause, and is already causing, on the Rio Grande. We emphasize the importance of climate
   change as an overarching theme that the forest plan revision must account for across all focal and
   resource areas. We are unaware of any element of forest management that is not, in some
   significant way, impacted by a changing climate, in particular given the reliance of all multiple
   uses on foundational forest resources, especially water. Although the DEIS contains some
   discussion of how climate change is affecting and is projected to affect the Rio Grande, this
   information is fairly sparse and disaggregated; notably, there is no section specifically dealing
   with climate change in the DEIS.

   In the final EIS, the Rio Grande must rectify this omission by clearly explaining how each
   proposed alternative addresses climate change impacts, adaptation, and mitigation. This analysis
   will enable the public to understand how the alternatives differ in their approaches to climate

   84 Id. at §§ 1500.2(d), 1506.6(a).
   85 Or. Nat. Desert Assoc. v. BLM, 531 F.3d 1114, 1120 (9th Cir. 2008) (quoting Robertson, 490 U.S. 332, 350).
   86 Id. (quoting Calvert Clijfs' Coordinating Comm., 449 F.2d 1109, 1114).
   87 Id. at 1143.
   88 DEIS at 10 (emphasis added).
   89 Id. at 11.

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                                                                                 Rvsd Plan - 00005206
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 115 of 475




   change, and will enable the Rio Grande to make an informed decision about how to address
   climate change in the forest plan. Failure to include climate change in any of the proposed
   alternatives, as the Rio Grande has done in the DEIS, is unreasonable and would render the final
   EIS legally insufficient under NEPA. To ensure that the Rio Grande fulfills its obligation under
   NEPA to take a “hard look” at climate change in its analysis, we urge the agency to include a full
   and robust discussion of the issue in the final EIS.

     B. USFS CLIMATE POLICIES AND GUIDANCE

   USFS recognizes the importance of proactively addressing climate change. Numerous agency
   publications and guidance materials emphasize the need to effectively manage national forests
   and grasslands to increase their resilience to climate impacts and other stressors, using the
   principles of adaptive management.

   USFS also recognizes the importance of establishing practices that help mitigate climate change
   by reducing atmospheric levels of greenhouse gas (GHG) emissions. For example, the Forest
   Service Global Change Research Strategy states that forests “play an important role in reducing
   the buildup of greenhouse gases in the atmosphere by sequestering carbon.” 90 In the research
   strategy, USFS commits to identifying best management practices that will increase carbon
   sequestration while supporting ecosystem health.91

   The USFS National Roadmap for Responding to Climate Change also addresses the importance
   of climate change adaptation and mitigation in our nation’s forests. It identifies several adaptive
   management strategies that USFS will use, including building resistance to climate-related
   stressors, increasing ecosystem resilience, and when necessary, facilitating large-scale ecological
   transitions.92 The Roadmap notes a connection between mitigation and adaptation, stating that
   healthy, resilient forest ecosystems are better able to store carbon.93

   Carbon sequestration is the primary mitigation strategy of USFS, which has committed to
   “[p]romoting the uptake of atmospheric carbon by forests and the storage of carbon.”94 The
   Roadmap identifies the following actions that USFS is taking to promote carbon storage:

       •   Actively managing carbon stocks in forests, grasslands, and urban areas over time by
           doing the following:
              - Rapidly reforesting land damaged by fires, hurricanes, and other disturbances,
                  consistent with land management objectives.

   90 The Forest Service Global Change Research Strategy, 5, 2009-2019.
   91 Id.
   92 USFS National Roadmap for Responding to Climate Change, 19-20 (2010) [hereinafter Roadmap].
   93 Id. at 21.
   94 Id.

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                                                                            Rvsd Plan - 00005207
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 116 of 475




               -   Conserving working forests and grasslands.
               -   Providing technical assistance for programs designed to enhance carbon
                   sequestration potential through afforestation, reforestation, and practices that
                   increase and maintain productivity and ecosystem health.
               -   Encouraging cities to retain green space and to plant and maintain trees.
               -   Using available tools to understand the impacts of management actions on carbon
                   stocks and fluxes.95

   The Climate Roadmap also directs USFS to “work with partners to sustain or increase carbon
   sequestration and storage in forest and grassland ecosystems.”96 There are limits to our ability to
   increase carbon sequestration on USFS land while achieving other management goals (such as
   fuel reduction programs to prevent uncharacteristically severe wildfires), and the Roadmap
   therefore states that USFS should consider tradeoffs as it develops management strategies to
   achieve the agency’s carbon sequestration goals consistent with other agency objectives.

   USFS also developed a Climate Change Performance Scorecard that each National Forest must
   complete annually. Scorecard element #9 concerns carbon sequestration. Each National Forest
   must determine whether “information relevant to the Unit level [has] been developed and
   synthesized to assess carbon stocks and the influence of land management activities and
   disturbances on potential changes in carbon stocks.”97 A detailed handbook, Navigating the
   Scorecard, was developed to assist USFS officials in determining whether they are meeting the
   Scorecard objectives. The handbook further elaborates on the importance of managing National
   Forests to effectively promote carbon sequestration:

           Our nation’s forests and grasslands play a critical role in storing carbon and helping to
           reduce the amount of greenhouse gases that are released into the atmosphere. We as an
           Agency continue to play a strong role in helping to mitigate greenhouse gas emissions by
           conserving and restoring forest and grassland ecosystems . . . Being a “carbon literate”
           Agency means understanding how carbon storage varies across the landscape and how
           disturbances and management actions have affected carbon stocks in the past and may
           affect them in the future. This understanding is even more critical when climate change
           may exacerbate stressors, creating even more carbon losses in some ecosystems.98

   These USFS policies and guidance materials recognize the crucial role that the agency plays in
   safeguarding our national forests’ ability to sequester carbon on a long-term basis, and more
   generally commits USFS to addressing climate change by improving the sustainability of its
   operations.

   95 Id. at 24.
   96 Id. at 21.
   97 The Forest Service Climate Change Performance Scorecard (2011).
   98 Navigating the Climate Change Performance Scorecard, 40 (2011).

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 117 of 475




   We urge the Rio Grande to ensure that the draft plan, which contains no management direction
   pertaining to carbon sequestration, and very little pertaining to climate change more generally, is
   revised to ensure that the final plan is consistent with these priorities. Specifically, the final plan
   should address how the Rio Grande will address climate impacts, adaptation, and mitigation in
   the forest.99 We expect the Rio Grande to fully account for these issues in its forest plan or to
   provide a reasoned and informed explanation for why the plan does not address them in a
   meaningful way.100

     C. CLIMATE ADAPTATION AND RESILIENCE IN THE DRAFT PLAN

   The Rio Grande’s draft plan almost entirely fails to mention climate change, let alone
   incorporate climate considerations into plan direction. This is an egregious omission in light of
   the negative impacts that climate change is already causing on the Rio Grande, which will likely
   increase in severity over the life of the plan. Failing to address climate change in the plan is
   misguided, inconsistent with agency policy, and fails to adequately protect forest resources for
   the American public. The likely impacts of climate change in the Rio Grande are already known
   with reasonable certainty, as the DEIS makes clear,101 and failing to account for these impacts in
   the plan sets the Rio Grande up for challenges down the road when the Forest will inevitably
   have to grapple with these issues. Failing to prepare for the reasonably foreseeable impacts of
   climate change in the forest plan will make it more difficult for the Rio Grande to effectively
   address these impacts when they occur, ignores the fact that proactive management may be
   needed to avoid or mitigate some impacts, and needlessly imperils plant and animal species that
   are vulnerable to climate change. The American public deserves better, and so do the many
   species of wildlife and plants that live in the Rio Grande and depend on competent management
   from USFS, particularly in light of the climate-related threats many of these species face.

   At best, the draft plan contains the absolute minimum required under the 2012 Planning Rule to
   address climate change, notwithstanding the increasingly urgent necessity for all sectors of
   society, including government agencies like USFS, to address the issue in a meaningful way. The
   2012 Rule requires each forest plan’s monitoring program to include “[m]easurable changes on
   the plan area related to climate change and other stressors that may be affecting the plan area.”102
   Accordingly, the Rio Grande included some monitoring questions and sample adaptive
   management questions pertaining to climate change in the draft plan.103 This is critical because
   developing and implementing a robust monitoring program is essential to track climate impacts


   99 E.g. Protecting wildlife and ecosystems, fuel reduction programs to reduce the risk of uncharacteristically
   severe wildfires.
   100 See 5 U.S.C. § 706(2)(a).
   101 See, e.g., DEIS at 63-64.
   102 36 C.F.R. § 219.12(a)(5)(vi); see also Draft Plan at 92-93.
   103 Draft Plan at 100 (Table 14).

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 118 of 475




   in the Rio Grande and determine what management strategies are most effective at addressing
   these impacts. These questions and indicators will be used to assess the Rio Grande’s progress in
   achieving Goal 2, “[to] maintain and restore sustainable, resilient terrestrial ecosystems.”104

   However, the draft plan contains no mandatory requirements that would actually require the Rio
   Grande to increase the forest’s ecological resilience in the face of climate change. The only plan
   component that expressly addresses climate adaptation is MA-VEG-9, which states that
   vegetation management shall be “done in a manner that supports one or more of the following: . .
   . [8] Anticipates climate-related plant succession changes (such as favoring heat- or drought­
   resistant tree species as leave trees).”105 Since this condition is only one of eight, any one of
   which is sufficient, there is no guarantee that any vegetation management will take climate-
   related plant succession changes into account. MA-VEG-9 is thus so limited as to be ineffective.
   It should be revised to require vegetation management to anticipate climate-related plan
   succession changes. Moreover, while the Rio Grande certainly should account for climate-related
   plant succession changes in vegetation management, there are a whole host of other climate-
   related issues (such as anticipated increases in temperature, increases in wildfire risk, and
   impacts on plants and wildlife, among other things) that the Rio Grande should account for in its
   forest plan, but which the draft plan completely ignores.

   For example, the draft plan fails to include any plan components that address climate impacts on
   wildlife and plant species, including threatened or endangered species and species of
   conservation concern. In fact, the draft plan does not even mention climate-related threats to
   species apart from Table 21, which identifies climate change as a threat to numerous species of
   conservation concern, including the white-veined arctic butterfly,106 boreal toad,107 Rio Grande
   cutthroat trout,108 boreal owl,109 Brewer’s sparrow,110 southern white-tailed ptarmigan,111 fringed
   myotis bat,112 Townsend’s big-eared bat,113 and numerous plant species. Climate threats to other
   species, including threatened or endangered species, are not even identified in the draft plan.
   Moreover, nowhere in the draft plan is there any management direction that would require the
   Rio Grande to manage species in ways that would reduce climate-related harms. How does the
   Rio Grande expect species that are vulnerable to climate change to withstand climate-related
   impacts if the forest plan does not specify how USFS should address these issues? Failing to

   104 Draft Plan at 100. This goal notes: “Diversifying age classes and structure, seral stage, and habitat classes,
   where appropriate . . . would provide benefits including, but not limited to . . . responsiveness to anticipated
   changes in climate.”
   105 Draft Plan at 45 (emphasis added).
   106 Id. at 169.
   107 Id. at 170.
   108 Id.
   109 Id. at 171.
   110 Id.
   111 Id. at 172.
   112 Id. at 173.
   113 Id.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 119 of 475




   include management direction to help species vulnerable to climate change cope with climate-
   related impacts is a grave error and will likely reduce the ability of species in the Rio Grande to
   cope with and adapt to climate change.

   The Rio Grande must revise the draft plan to incorporate clear, enforceable plan components that
   address climate change adaptation. It is especially important to address climate impacts on plant
   and wildlife species, as well as large-scale impacts due to changes in temperature and increased
   wildfire risk. We recognize that some plan components in the draft plan may be intended to
   increase ecological resilience and foster adaptation to climate change, even if they do not
   explicitly say so. However, we believe any such plan components should include direct
   references to climate adaptation and resilience to make it clear that desired conditions are
   intended to facilitate climate adaptation and resilience.

     D. CLIMATE MITIGATION IN THE DRAFT PLAN AND DEIS

   Although the Rio Grande is not a large source of greenhouse gas emissions (GHGs) that
   contribute to climate change, there are GHGs associated with current or potential operations on
   the forest, including timber harvest, oil and gas development, facilities management, and motor
   vehicle use, among other things. The forest plan should include clear, enforceable plan
   components that enable the Rio Grande to effectively reduce emissions from these and other
   activities on the forest. Unfortunately, the draft plan largely misses the opportunity to mitigate
   climate change. The Rio Grande should rectify this in the final plan by adding or modifying plan
   components to address carbon sequestration and reduction of GHGs from various operations.

       1. Carbon Sequestration. The DEIS contains a fairly comprehensive section on carbon
   sequestration, which provides an overview of current and projected carbon storage on the Rio
   Grande and explains how modeling was used “to simulate the carbon storage consequences of
   four management alternatives proposed.”114 While the modeling analysis is helpful, we suggest
   providing a fuller explanation of what input was used for the model. It appears that the input was
   limited to the information in Tables 29, 30, 31, and 32, but this is not entirely clear. More
   explanation would be helpful to understand precisely what aspects of the proposed alternatives
   were included in the carbon sequestration modeling analysis.

   According to the model, there were differences in carbon storage among the four alternatives:
   “alternatives B and C involved less carbon storage over the next 30 years than Alternative A,
   while alternative D led to more storage.”115 However, the DEIS concludes that these differences
   are probably not significant:



   114   DEIS at 123.
   115   Id. at 124.

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                                                                         Rvsd Plan - 00005211
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 120 of 475




           [W]hile a difference among scenarios of nearly a million metric tonnes is large in
           absolute terms, it is not a large amount in relation to either the total stored by the Forest
           or the uncertainty of the monitoring system. Expanded natural disturbances likely would
           affect carbon storage in the Forest much more than the difference among any of these
           alternatives.116

   While we acknowledge that uncertainties exist and that natural disturbances play a role in the
   amount of carbon stored in the Rio Grande, we do not agree that these considerations basically
   moot the differences in carbon sequestration among the four alternatives. Alternative D is
   evidently preferable from a carbon storage perspective based on the information available at this
   time, notwithstanding the fact that natural disturbances may end up playing a greater role in
   influencing carbon storage than management direction. The Rio Grande should do what is in its
   power to protect carbon storage in the forest, even though there is some uncertainty and other
   factors besides forest management also play a role. It is also worth noting that although “insect
   and fire patterns” are natural disturbances, climate change is exacerbating them.117 The Rio
   Grande should not choose an alternative (Alternative B, the proposed action) that does less to
   protect carbon storage and mitigate climate change based on the rationale that climate-driven
   disturbances will also likely affect carbon storage in the forest.

   While we appreciate the carbon sequestration analysis in the DEIS, we are concerned that the
   draft plan does not include any explanation of how the plan components influence carbon
   sequestration, or indeed, why carbon sequestration is important. The 2012 Planning Rule118
   requires forest plans to provide for ecosystem services by including “plan components, including
   standards or guidelines . . . to provide for ecosystem services . . . in the plan area.”119 Because
   the Planning Rule identifies carbon storage as an ecosystem service,120 the Rio Grande must
   include plan components that address carbon sequestration in the planning area.

   Unfortunately, the draft plan does a very poor job of incorporating plan components that will
   protect carbon sequestration in the Rio Grande. In fact, not a single plan component in the entire
   plan even mentions carbon sequestration, which is only mentioned once in the entire plan—in
   the glossary, as an example of an “ecological process.”121 It is unclear how various plan
   components will affect carbon storage in the forest, and there is no indication whether or how the
   Rio Grande will consider carbon storage in its management decisions. This omission fails to



   116 Id. at 125.
   117 Id. at 75 (“Disturbances such as large fires and insect outbreaks are predicted to increase in frequency due
   to climate change.”).
   118 36 C.F.R. Part 219.
   119 36 C.F.R. § 219.10(a).
   120 36 C.F.R. § 219.19.
   121 Draft Plan at 121.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 121 of 475




   implement USFS policy to manage national forests and grasslands to effectively maintain, and,
   where appropriate, enhance the long-term storage of carbon.

   Most notably, the plan components for vegetation and soil contain no mention of carbon
   sequestration, even though management practices for these resources influence how much carbon
   is stored in the Rio Grande. The plan components for riparian management zones (such as bogs
   and fens, which act as carbon sinks), likewise fail to mention carbon storage. We encourage the
   Rio Grande to add plan components for relevant resources, including vegetation, soil, and
   riparian management zones, that require the Rio Grande to manage these resources in ways that
   maintain or increase their ability to sequester carbon.

   The Rio Grande draft plan should be revised to acknowledge the importance of carbon
   sequestration in mitigating climate change by offsetting GHG emissions. As a starting point, the
   introduction should explain how the plan addresses carbon sequestration. The plan should also
   explain how different types of forest ecosystems and resources (including vegetation, soils, and
   riparian areas) contribute to carbon storage, based on data from the carbon assessment122 or other
   reliable sources. It should describe the carbon sequestration value of geographic and
   management areas as well.

   Most importantly, plan components should explicitly require management strategies that
   maintain, and, where feasible, increase carbon storage in the Rio Grande, consistent with the
   forest’s carbon carrying capacity and other management objectives. Plan components that
   address carbon sequestration should be included where relevant, including forest-wide plan
   components for all vegetation types, soils, other ecosystems as appropriate (e.g. riparian
   management zones), and geographic and management areas as appropriate.


      2. Sustainable Operations. USFS policies and guidance recognize the importance of reducing
   the agency’s footprint and reducing emissions from operations on USFS lands. The USFS
   National Climate Roadmap includes climate mitigation strategies, including a commitment to
   reduce GHG emissions “through more prudent consumption in facilities, fleet, and other
   operations.”123 Specific strategies include:

      •   Incorporating and maintaining long term programs, practices, tools, and policies that
          integrate sustainable consumption principles throughout the organization by removing
          barriers and promoting the use of efficient appropriate technologies, and behavior
          changes.


   122 Rio Grande National Forest Assessment 4: Carbon,
   https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd493827.pdf .
   123 Roadmap at 21.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 122 of 475




       •   Institute a culture that emphasizes education, rewards positive actions, and recognizes
           achievements that reduce our environmental footprint in long lasting ways.
       •   Integrate sustainable consumption activities into daily decisions, habits, planning and
           operations.
       •   Increase leadership capacity and day-to-day capabilities to implement sustainable
           consumption patterns at and between all levels of the organization.

   Navigating the Climate Change Performance Scorecard furthermore notes that a number of
   sustainable operations requirements are legally required under the Energy Policy Act of 2005
   and the Energy Independence and Security Act of 2007.124 This guidance observes:

           To fulfill the Forest Service’s obligation to present and future generations, our land
           stewardship mission must be strategically integrated with practices that reduce our
           resource consumption. Instituting a culture of sustainable consumption by integrating
           environmental footprint reduction principles into all our programs, practices, and policies
           will help us to reach our goals.

   The draft plan should incorporate plan components that establish sustainability metrics for USFS
   operations like those contained in the USFS National Climate Roadmap. Including such plan
   components would establish a framework for sustainable operations and ensure that USFS takes
   sustainability into consideration in decisions about buildings,125 transportation, recreation, and
   other operations on the Rio Grande.126 We encourage the Rio Grande to lead by example by
   using energy-efficient building materials, low-flow toilets, low- or zero-emission vehicles, solar
   energy, and other strategies to reduce emissions and increase long-term sustainability. We also
   note that the DEIS mentions “implementation of ‘green’ operations” as a national focus area for
   sustainable recreation. The draft plan should reflect this priority in plan components.

   The draft plan contains one plan component, DC-AIR-5, that addresses GHGs: “The ecological
   footprint is minimized to promote sustainable natural resource management and emit the lowest
   practicable greenhouse gas emissions. (Forestwide).”127 While this is better than including no
   plan components that address GHGs, it is weak and should be strengthened. First, we suggest
   rewording this plan component to make it clearer. It is unclear what the “ecological footprint”
   encompasses. At a minimum, it should include all USFS activities in the Rio Grande (including
   facilities management and vehicle use). The need to reduce emissions from other sources,
   including timber harvest and energy development, should also be addressed. Finally, DC-AIR-5

   124 Navigating the Climate Change Performance Scorecard at 42.
   125 DC-INFR-1 requires USFS buildings and related facilities to be “energy-efficient.” Draft Plan at 59. This is a
   good start, but we recommend adding additional plan components to require emission reductions from
   transportation and other sources of emissions.
   126 DEIS at 269.
   127 Draft Plan at 46.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 123 of 475




   is just a “desired condition” and thus is not binding, but merely “present[s] a vision of what the
   Forest should look like in the future.”128 The urgency of climate change requires mandatory
   GHG reductions, not just unenforceable and potentially ineffective “desired conditions.” DC-
   AIR-5 should be changed to a standard or at the very least, a guideline.


   XII. PROHIBIT OFF-ROAD MOTORIZED GAME RETRIEVAL

   As SLVEC et al wrote in their scoping comments dated October 28, 2016, the allowance of
   driving off-road to retrieve game should be ended. It presents confusing direction on travel
   management, and makes any limitations on motorized use difficult to enforce.

   The DEIS states:

             Management actions to reduce motorized cross-country travel and limitations on off­
             road game retrieval and dispersed camping have the potential to reduce unauthorized
             roads and trails, which typically have greater impacts than National Forest System
             roads.

   Id. at 181. The DEIS also states:

             Illegal off-route travel by off-highway vehicles continues to be a problem on the
             Forests Most of this occurs in the form of short-distance loops or spurs off existing
             routes, especially in riparian areas. These have the same impacts as those of planned
             routes and may have additional, more severe, impacts due to their unplanned nature.

   Id. at 239.

   We agree with and support other statements included in the DEIS, which indicate that
   eliminating driving off-road to retrieve game would:
       • help “eliminate off route all-terrain-vehicle travel in general” and protect soil resources.
          DEIS at 160.
       • minimize impacts to water resources. DEIS at 182.
       • reduce the creation and use of unauthorized routes, which typically have greater impacts
          than roads. DEIS at 182.
       • minimize impacts to species of conservation concern and prevent harm to plant species of
          conservation concern. DEIS at 252.




   i2«   Id. at 1.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 124 of 475




   In addition, the elimination of driving off-road to retrieve game would reduce adverse impacts
   not fUlly considered in the DEIS, such as:
       • Damage to archaeological, cultural and historic resources
       • Damage to vegetation
       • Conflicts with other hunters and forest users
       • Wildlife disturbance and degradation of wildlife habitat
       • The spread of noxious weeds
       • Unauthorized intrusion and negative impacts on Wilderness, Roadless, other management
           areas, private land, BLM land, State land, and national forests who do not allow driving
           off-road to retrieve game
       • Damage from widening of single track trails
       • Confusion over travel management rules
       • Impede enforcement of motorized travel designations.

   We believe that the long-term practice of allowing driving off-road to retrieve game on the
   Forest is not sustainable. There are locations on the RGNF legally open to this form of off-road
   driving that are over 4 miles away from the nearest designated open motorized route. This
   means that multiple paths of potentially damaging cross-country motorized use of at least four
   miles’ length is permitted in some areas. The distances traveled are likely greater in order to
   avoid obstacles and terrain as the four-mile distances would require a straight line there and
   back.

   If the popularity of hunting increases, the number of hunters that travel off-road using an ATV to
   retrieve game may also increase. If so, the damage to soils, water quality, and other resources
   would increase. The use of vehicles off-route to retrieve game by some hunter could scare game
   away from other hunters.

   Currently, Colorado Parks and Wildlife 2017 hunting regulations permit the sale/purchase of an
   unlimited number of over-the-counter licenses to hunt elk during various seasons in the Game
   Management Units that include Forest land (especially units 68, 681, 80, 81 and 82, but also unit
   79). Unlimited over-the-counter licenses are available to hunt pronghorn are also available in
   unit 76. There is no existing limit on the number of hunters that might travel off-road using
   ATVs each year. This means that the number of hunters who could potentially travel off-road in
   an ATV to retrieve game on the forest is only limited by the number of hunters who desire to
   hunt on the Forest, their success in harvesting an animal, and the populations of big game
   available. The population of the San Luis Valley is increasing, as is the population of Colorado
   and the U.S. in general. This may result in more hunters on the Forest. Elk populations total in
   the thousands, so there are potentially thousands of opportunities to legally retrieve harvested
   elk.


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                                                                       Rvsd Plan - 00005216
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 125 of 475




   We thus support alternative D’s proposal to eliminate driving off-road to retrieve game forest
   wide.

   We support the prohibition and elimination of motorized game retrieval in management areas
   1.1, 1.1a, 2.2, 3.1, 3.4, 3.5, 3.6, and 4.21, as suggested in the suitability Tables 7 and 9 for
   alternatives B and D. DEIS at 40, 42. Off-road motorized game retrieval can damage natural
   features, negatively impact resources, and conflict with desired conditions, settings and users of
   these areas (as well as being prohibited within designated Wilderness).

   We also support the continued prohibition of driving off-road to retrieve game in management
   areas 1.1, 1.12, 1.13, 1.5, 2.2, 3.1, 3.3, 3.4, and 4.21 as presented in Table 6 for alternative A.
   DEIS at 39. Driving off-road to retrieve game should not be permitted in these areas as it has the
   potential to damage and negatively impact natural features and resources and conflict with
   desired settings, conditions and users of these areas.

   We support the proposed elimination of this form of game retrieval in management area 4.8 Ski
   based resorts as proposed in Table 8 for alternative C (DEIS at 41), and in MA 8.22 under
   alternative D (id. at Table 9, p. 42). Ski based resorts may have sensitive and fragile equipment,
   infrastructure, and other facilities which could be unknowingly damaged by the use of ATVs off
   designated roads. Ski resorts may be moving and packing early season snowfall during hunting
   season, in an attempt to open as early as possible. ATV use off designated routes could interfere
   with and/or significantly damage early season snow (by rutting it, introducing dirt and debris into
   it, etc.). In years with low early snowfall, ATV use off-routes could cause soil erosion. As
   climate changes, adequate snowfall at ski resorts is not guaranteed, and protecting any snow that
   does fall (and the soils beneath the snow) may become more and more important.

   A ski area might conceivably open during big game hunting season if there is adequate early
   season snow, and off-route ATV use in the area would directly conflict with operation and use of
   that area. Off-road ATV use must be prohibited in ski areas for the same reasons snowmobile
   use is prohibited.

   Part of the description of alternative C states: “This alternative would synchronize the off-road
   game retrieval policies with the forest motor vehicle use map [MVUM] and would shift time
   frames for retrieval”. DEIS at 28. This implies that the other alternatives would not make off­
   road game retrieval consistent with the MVUM. It also suggests that time frames for game
   retrieval would be modified from the currently allowed noon to 5pm, but no further details are
   provided in any of the draft plan documents. Although we could envision some potential
   advantages to modifying the time period for off-road motorized game retrieval (if allowed to
   continue), we and the public cannot adequately evaluate, consider or comment on a possible
   proposed shift in time frames without further information.


                                                   145

                                                                        Rvsd Plan - 00005217
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 126 of 475




   The areas where off-road motorized game retrieval is legally permitted are most commonly
   shared with the public as areas depicted on the MVUM. We would hope that areas that permit
   off-route motorized game retrieval but that have no legally designated publicly available and
   open motorized route accessing them would be eliminated as game retrieval areas on the MVUM
   (if this practice is allowed to continue). There are numerous areas depicted as open to this form
   of game retrieval on the current MVUM that require unauthorized travel across BLM, private, or
   other forest lands that prohibit motorized game retrieval for access. We previously shared a list
   of twelve of these areas with the Forest.

   We strongly object to the unsupported claims made in the DEIS that the elimination of off-road
   motorized game retrieval in alternative D may negatively impact recreational spending in the
   various counties. Although there are hunters who may hunt on the forest because they prefer an
   off-road motorized game retrieval option, no documented evidence is provided that these hunters
   would hunt in other locations if motorized game retrieval were prohibited on the Forest. There
   are also other hunters who specifically avoid hunting on the Forest because they prefer more
   traditional and quiet human-powered backcountry hunting experiences, which can be and have
   been disrupted by motorized game retrieval.

   Numerous other Forest users such as hikers, photographers, anglers, etc. avoid the Forest during
   hunting season because off-road ATV game retrieval can disrupt and negatively impact their
   desired quiet use experiences. Language in the DEIS incorrectly suggests that the current game
   retrieval policy only provides economic benefit, and neglects to fully account for the total
   economic and environmental costs of allowing this policy to continue. We thus request that the
   EIS be corrected by eliminating any references to the economics of motorized game retrieval
   unless evidence and data is also provided.

   This draft plan proposes in draft alternatives B, C and D to eliminate the existing MA 3.3
   Backcountry, which currently prohibits off-road motorized game retrieval. Many of these areas
   are proposed to be incorporated into management areas 3.5 and 3.6, which will continue to
   prohibit this form of game retrieval. Our analysis indicates that there are at least 22 areas,
   totaling over 31,000 acres, that are currently managed as backcountry and will be incorporated
   into other management prescription areas. See Exhibit 5. These other management prescription
   areas include forest products, big game winter range, dispersed recreation, etc. which all permit
   motorized off-road game retrieval. We point this out to indicate that unless the no-action
   alternative is selected, the plan will certainly be making motorized travel management decisions
   which will result in the modification of the MVUM. This is contrary to statements made by
   Forest Staff at public meetings that the plan will not be influencing motorized travel.




                                                  146

                                                                       Rvsd Plan - 00005218
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 127 of 475




   We request that the final EIS acknowledge and consider the potential modification of the
   MVUM via the likely opening of over 31,000 acres of additional land to off-road motorized
   game retrieval. The final EIS should consider alternatives to simply converting these acres into
   adjacent management prescription areas that are not Mas 3.5 or 3.6.

   We strongly recommend, and have been told by Forest Staff at plan meetings, that management
   areas 3.5 and 3.6 will remain in place even if the Colorado Roadless Rule is somehow eliminated
   or modified. This indicates that management of 3.5 and 3.6 areas is not directly dependent upon
   roadless area management under the Colorado Rule. Thus, we suggest that the possibility of
   converting these 31.000 acres of 3.3 Backcountry lands to adjacent 3.5 or 3.6 MA be fully
   considered. This would likely eliminate significant modification of the MVUM due to a Forest
   Plan decision.

   The current game retrieval policy as stated on the 2016-2018 MVUMs permits game retrieval
   “unless soil and water damage will occur”. We recommend that if game retrieval is permitted to
   continue, that this wording be modified to state ‘unless soil and/or water damage will occur.’
   Certainly, the intent of this wording is to prevent soil or water damage, and the potential exists to
   damage soil without damaging water and vice-versa. Modifying this language will help ensure
   that any ATV game retrieval that does occur will have minimal impacts to these resources.

   We also believe that better clarification and definition of exactly what soil or water damage
   actually is must be developed if this game retrieval policy is allowed to continue. At some small
   but measurable level, every pass of an ATV could be considered to negatively impact soil (via
   compaction, displacement, erosion, ability to absorb water, etc.) A pass of an ATV has the
   potential to negatively impact water at some level (including turbidity, channeling, clarity, etc.).
   Certainly the passage of an ATV can deposit measurable levels of pollutants onto surrounding
   soil and water, including fluids such as gasoline, oil, brake, and other fluids, brake and tire dust
   and residue; and exhaust pollutants as a result of incomplete combustion. It could be argued that
   all off-road ATV use results in some level of damage to soil and water, and thus all off-road
   ATV use for game retrieval should not be allowed because of this damage. The amount and
   severity of the impacts, which constitute a level considered as damage, must be better defined if
   ATV game retrieval is permitted to continue.

   It must be recognized that it is often difficult for an ATV rider to recognize that their use is
   resulting in damage to soil or water. A rider’s attention must be focused on the route ahead in
   order to ensure safe travel at the speeds ATVs can attain. Any damage that occurs is normally
   not detected, as it is only visible behind the vehicle after it passes. In addition, since a rider is
   separated from, and not coming in direct contact with, soil or water because of the presence of
   their machine, it is difficult for a rider to sense that any damage is occurring.



                                                     147

                                                                           Rvsd Plan - 00005219
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 128 of 475




   We are also concerned about the high potential for negative impacts to individual and
   populations of rare and imperiled plants as a result of the legal continuation of off-road use of
   ATVs for game retrieval (as proposed in alternatives A, B and C). DEIS Table 52 at 198
   identifies thirty-two separate species of plants as Species of Conservation Concern. Off road
   motorized vehicle use has been identified as a threat to many of these plants in conservation
   assessments and other documents. A single pass by an ATV has the potential to crush and
   potentially kill individual plants and groups of plants, as well as potentially significantly
   disturbing and disrupting habitat, as plants may not be able to grow in compacted soil for some
   time. Small populations of plants and specific and limiting habitat requirements increase the
   potential for motorized game retrieval to result in impacts that threaten the persistence of these
   species in the planning area.

   The final EIS must evaluate and consider the site-specific distribution and occurrence of all plant
   species listed in Table 52 relative to where off-road motorized game retrieval is and is not
   proposed to be permitted. It must evaluate the individual and cumulative effects that motorized
   game retrieval may have on these species.


   XIII. THE PLAN MUST PROVIDE FOR SUSTAINABLE RECREATION

     A. MANAGEMENT OF OVER-SNOW VEHICLE USE

   Under the newly promulgated subpart C of the Forest Service’s travel management regulations,
   36 C.F.R. part 212, each national forest with adequate snowfall must designate and display on an
   “over-snow vehicle use map” a system of routes and areas where over-snow vehicle (OSV) use
   is permitted based on protection of resources and other recreational uses. 36 C.F.R. § 212.81.
   OSV use outside the designated system is prohibited. Id. § 261.14. Implemented correctly, the
   rule presents an important opportunity to enhance quality recreation opportunities for both
   motorized and non-motorized winter users, protect wildlife during the vulnerable winter season,
   and prevent avoidable damage to vegetation, air and water quality, wilderness values, and other
   resources. It is important that the revised forest plan provides a strong framework for
   management of OSV use and for subsequent winter travel management planning under the new
   regulation.
   While the draft plan provides some key elements of that framework that we support - such as the
   intention to develop winter-specific recreation opportunity spectrum (ROS) classifications - the
   final plan should provide additional direction to ensure timely compliance with subpart C.
   Programmatic forest plan decisions such as winter ROS and suitability determinations must be
   followed by implementation-level travel planning to designate discrete areas and routes where
   OSV use is allowed, based on the executive order minimization criteria and site-specific NEPA
   analysis. In addition, a decision to adopt existing OSV designation decisions for purposes of
   subpart C compliance requires an assessment of whether those decisions satisfy the minimization
   criteria and other relevant legal requirements. These issues are discussed in more detail below.


                                                   148

                                                                        Rvsd Plan - 00005220
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 129 of 475




       1. Background and regulatory framework

          a. Executive order minimization criteria

   In response to the growing use of dirt bikes, snowmobiles, all-terrain vehicles, and other off-road
   vehicles (ORVs) and the corresponding environmental damage, social conflicts, and public
   safety concerns, Presidents Nixon and Carter issued Executive Orders 11644 and 11989 in 1972
   and 1977, respectively, requiring federal land management agencies to plan for ORV use based
   on protecting resources and other uses. Exec. Order No. 11,644, 37 Fed. Reg. 2877 (Feb. 8,
   1972), as amended by Exec. Order No. 11,989, 42 Fed. Reg. 26,959 (May 24, 1977). When
   designating areas or trails available for ORV use, agencies must locate them to:
        (1) minimize damage to soil, watershed, vegetation, or other resources of the public lands;
        (2) minimize harassment of wildlife or significant disruption of wildlife habitats; and
        (3) minimize conflicts between off-road vehicle use and other existing or proposed
            recreational uses of the same or neighboring public lands.
   Id. § 3(a). The Forest Service codified these “minimization criteria” in subparts B and C of its
   travel management regulations. 36 C.F.R. §§ 212.55, 212.81(d). The agency has struggled,
   however, to properly apply the criteria in its travel management decisions, leading to a suite of
   federal court cases invalidating Forest Service plans.129 Collectively, these cases confirm the
   Forest Service’s substantive legal obligation to meaningfully apply and implement - not just
   identify or consider - the minimization criteria when designating each area and trail, and to show
   in the administrative record how it did so. As the Ninth Circuit recently held, “[w]hat is required
   is that the Forest Service document how it evaluated and applied [relevant] data on an area-by-
   area [or route-by-route] basis with the objective of minimizing impacts as specified in the
   [Travel Management Rule].” WildEarth Guardians, 790 F.3d at 931.130 To satisfy its substantive
   duty to minimize impacts, the Forest Service must apply a transparent and common-sense
   methodology for meaningful application of each minimization criterion to each area and trail
   being considered for designation. That methodology must include several key elements,
   including gathering and applying site- and resource-specific information to minimize both site­
   specific and landscape-scale impacts, providing meaningful opportunities for public


   129 See WildEarth Guardians v. U.S. Forest Serv., 790 F.3d 920, 929-32 (9th Cir. 2015); Friends of the Clearwater
   v. U.S. ForestServ., No. 3:13-CV-00515-EJL, 2015 U.S. Dist. LEXIS 30671, at *37-52 (D. Idaho Mar. 11, 2015);
   The Wilderness Soc’y v. U.S. Forest Serv., No. CV08-363-E-EJL, 2013 U.S. Dist. LEXIS 153036, at *22-32 (D.
   Idaho Oct. 22, 2013); Cent. Sierra Envtl. Res. Ctr. v. U.S. Forest Serv., 916 F. Supp. 2d 1078, 1094-98 (E.D. Cal.
   2013); Idaho Conservation League v. Guzman, 766 F. Supp. 2d 1056, 1071-74 (D. Idaho 2011).
   130 See also id. at 932 (“consideration” of the minimization criteria is insufficient; rather, the agency “must apply the
   data it has compiled to show how it designed the areas open to snowmobile use “with the objective of minimizing’”
   impacts). Importantly, efforts to mitigate impacts associated with a designated OSV system are insufficient to fully
   satisfy the duty to minimize impacts, as specified in the executive orders. See Exec. Order 11644, § 3(a) (“Areas and
   trails shall be located to minimize” impacts and conflicts.). Thus, application of the minimization criteria should be
   approached in two steps: first, the agency locates areas and routes to minimize impacts, and second, the agency
   establishes site-specific management actions to further reduce impacts. Similarly, the Forest Service may not rely on
   compliance with the relevant forest plan as a proxy for application of the minimization criteria because doing so
   conflates separate and distinct legal obligations. See Friends of the Clearwater, 2015 U.S. Dist. LEXIS 30671, at
   *46 (“Merely concluding that the proposed action is consistent with the Forest Plan does not . . . satisfy the
   requirement that the Forest Service provide some explanation or analysis showing that it considered the minimizing
   criteria and took some action to minimize environmental damage when designating routes.”).

                                                             149

                                                                                       Rvsd Plan - 00005221
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 130 of 475




   participation, incorporating the best available scientific information and best management
   practices (BMPs) for minimizing impacts to particular resources, and accounting for predicted
   climate change impacts and available resources for monitoring and enforcement.131

        b. Area designations under a closed unless designated open approach

   The Forest Service’s substantive duty to minimize impacts associated with OSV use applies to
   both area and trail designations. Minimization of impacts associated with OSV area allocations is
   particularly important because the OSV rule permits the Forest Service to designate larger areas
   open to cross-country travel than in the summer-time travel planning context. The rule, however,
   requires that designated areas be “discrete,” “specifically delineated,” and “smaller . . . than a
   ranger district.” 36 C.F.R. § 212.1 (definition of “area”). Accordingly, the Forest Service must
   specifically delineate discrete areas where cross-country travel is permitted. And, as described
   above, the Forest Service must locate any such areas to minimize resource damage and
   recreational use conflicts. As the Ninth Circuit recently held, the Forest Service must “apply the
   minimization criteria to each area it designate[s] for snowmobile use” and “provide a . . .
   granular minimization analysis to fulfill the objectives of Executive Order 11644.” WildEarth
   Guardians, 790 F.3d at 930-31. Importantly, the agency “cannot rely upon a forest-wide
   reduction in the total area open to snowmobiles as a basis for demonstrating compliance with the
   minimization criteria,” which are “concerned with the effects of each particularized area.” Id. at
   932. The agency is “under an affirmative obligation to actually show that it aimed to minimize
   environmental damage when designating . . . areas.” Id. (quotations and citations omitted).
   Proper application and implementation of the minimization criteria almost certainly would not
   result in designation of open areas even close to the size of a ranger district, as sensitive
   resources and other recreational uses adversely affected by OSV use would most likely be
   present throughout the area.
   Proper designation of areas in compliance with subpart C and the minimization criteria will
   require most national forests to undergo a paradigm shift in OSV management. In general,
   forests have allocated vast areas as open to cross-country OSV travel largely by default.


   131 See generally The Wilderness Society. 2016. Achieving Compliance with the Executive Order “Minimization
   Criteria” for Off-Road Vehicle Use on Federal Public Lands: Background, Case Studies, and Recommendations.
   (Attached as Exhibit 8). The Journal of Conservation Planning recently published a literature review and BMPs for
   OSV management that provide guidelines, based on peer-reviewed science, for OSV designation decisions and
   implementation actions that are intended to minimize impacts to water quality, soils, vegetation, wildlife, and other
   recreational uses. Switalski, Adam. 2016. Snowmobile Best Management Practices for Forest Service Travel
   Planning: A Comprehensive Literature Review and Recommendations for Management. Journal of Conservation
   Planning 12: 1-28. (Attached as Exhibit 9). The Forest Service’s National Core BMP Technical Guide also includes
   relevant BMPs, such as imposing minimum snow depth and season of use restrictions; using applicable best
   practices when constructing winter trailheads, parking, and staging areas; and using suitable measures to trap and
   treat pollutants from over-snow vehicle emissions in snowmelt runoff or locating stating areas at a sufficient
   distance from waterbodies to provide adequate pollutant filtering. USDA Forest Service. 2012. National Best
   Management Practices for Water Quality Management on National Forest System Lands, Volume 1: National Core
   BMP Technical Guide. Available at
   http://www.fs.fed.us/biology/resources/pubs/watershed/FS National Core BMPs April2012.pdf. The 2012
   Planning Rule requires plans to implement these practices. 36 C.F.R. § 219.8(a)(4).

                                                            150

                                                                                     Rvsd Plan - 00005222
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 131 of 475




   According to data obtained by Winter Wildlands Alliance through a 2014 request under the
   Freedom of Information Act, approximately 94 million acres - or about 60% of national forest
   lands that receive regular snowfall - are currently open to OSV use, while only about 30 million
   acres outside of designated wilderness (where motorized use is prohibited by statute) are closed
   to that use.132 Subpart C, however, specifically rejects this default “open unless designated
   closed” approach, and instead requires the Forest Service to “designate” specific areas and trails
   for OSV use (consistent with the minimization criteria), and prohibits OSV use outside of the
   designated system. See 36 C.F.R. §§ 212.80(a), 212.81(a), 261.14. In other words, subpart C
   requires forests to make OSV designations under a consistent “closed unless designated open”
   approach.
   To satisfy these legal requirements, the Forest Service must designate as open only those
   discrete, delineated areas that are appropriate for cross-country OSV use and minimize
   environmental damage and conflicts with other recreational uses. Open areas should have easily
   enforceable boundaries using topographic or geographic features such as ridgetops, highways, or
   watershed boundaries. All other areas that are not determined to be appropriate for open
   designation then must be closed (or limited to designated routes), thus moving the forest into a
   “closed unless designated open” management regime.

        c. Trail designations

   As with area designations, the Forest Service must locate any designated routes to minimize
   resource damage and conflicts with other recreational uses. Under the plain terms of the ORV
   executive orders, the Forest Service must apply the minimization criteria to all trails designated
   for OSV use - even if those trails are located in areas of the forest that would be designated as
   open to cross-country OSV use. When designated and placed on a map, trails focus the impacts
   of OSV use to those locations and generally increase the number of OSV users visiting the area.
   This is particularly true of groomed trails within areas otherwise open to cross-country travel.
   Groomed trails are desirable for traveling faster and further into remote areas. In addition,
   grooming often results in widening the footprint of the trail, which wheeled motorized vehicles
   may then use in summer, resulting in additional impacts and conflicts.

        d. Adequate snowpack

   The new OSV rule requires designation of areas and routes for OSV use “where snowfall is
   adequate for that use to occur.” 36 C.F.R. § 212.81(a). Particularly with climate change leading
   to reduced and less reliable snowpack, low-elevation and other areas that lack regular and
   consistent snowfall should not be designated for OSV use. Closing those areas is necessary to
   comply with the plain language of the subpart C regulations and with the executive order
   minimization criteria.
   To account for variable snowpack and ensure that OSV use occurs only where and when
   snowfall is adequate, minimum snow depth restrictions are an important tool to further minimize
   impacts associated with OSV area and trail designations. The best available science shows that


   132 Winter Wildlands Alliance. 2015. Winter Recreation on National Forest Lands: A Comprehensive Analysis of
   Motorized and Non-Motorized Opportunity and Access. Available at http://winterwildlands.org/wp-
   content/uploads/2015/06/2015-Winter-Rec-Report.pdf. Attached as Exhibit 9.

                                                        151

                                                                                Rvsd Plan - 00005223
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 132 of 475




   minimum snow depths should be at least 18 inches for cross-country travel and 12 inches for
   travel on groomed trails. Switalski 2016. These depths are generally sufficient to minimize
   impacts to water quality, soils, and vegetation and to buffer for variable snow conditions (e.g.,
   while a shaded trailhead may have 12 inches of snow, south-facing slopes further up the trail
   may have little or no snow). The Forest Service should also address plans to enforce minimum
   snow depth restrictions, including protocols for monitoring snow depths, communicating
   conditions with the public, and implementing emergency closures when snowpack falls below
   the relevant thresholds. Minimum snow depths measurements should be taken at established
   locations that are representative of varying snow depths based on factors such as wind,
   orientation, slope, tree cover, etc. Depths should be reported regularly on the forest website and
   posted at popular access points.
   In addition, forests should clearly identify season of use restrictions based on wildlife needs,
   water quality considerations, average snow depth figures, and other relevant information, with
   those restrictions serving as bookends, and minimum snow depth requirements providing an
   additional limitation on use. 36 C.F.R. § 212.81(a) (OSV rule permits agency to designate areas
   or trails by “time of year” to tailor designation decisions to account for snowfall patterns).

      e. Existing decisions

   Upon public notice, subpart C permits the Forest Service to grandfather previous decisions made
   with public involvement that restrict OSV use to designated areas and routes. 36 C.F.R. §
   212.81(b). Prior to grandfathering existing winter travel management decisions by adopting them
   on an OSV use map, however, the Forest Service must ensure that those decisions were subject
   to the executive order minimization criteria and other relevant legal requirements.
   Most critically, previous decisions must have been subject to the minimization criteria, and the
   administrative records for the decisions must demonstrate that the agency applied the criteria
   when making any OSV area or route designations. If the previous decisions were not subject to
   the minimization criteria, the Forest Service may not adopt them on its OSV use map without a
   public process.
   Similarly, the Forest Service may not adopt previous decisions that rely on an “open unless
   designated closed” policy or fail to designate discrete open areas. The Forest Service also must
   ensure that previous decisions are not outdated. Older decisions likely did not account for the
   increased speed, power, and other capabilities of current OSV technology, which allow OSVs to
   travel further and faster into the backcountry and to access remote areas that were previously
   inaccessible. Older decisions also may not account for new scientific information on sensitive
   wildlife and other forest resources and how they are affected by OSV use. They may not account
   for current recreational use trends and increasing conflict between motorized and non-motorized
   winter backcountry users. And they may not account for the current and predicted impacts of
   climate change, which is, among other things, reducing and altering snowpack and increasing the
   vulnerability of wildlife and other resources to OSV-related impacts. Without this information,
   the Forest Service cannot demonstrate how those previous decisions minimize impacts based on
   current circumstances and science.




                                                   152

                                                                        Rvsd Plan - 00005224
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 133 of 475




   _    1. Elements of an OSV Framework
   The current forest planning process is the appropriate place to consider the significant impacts
   associated with OSV use in the broader recreation context and to provide for sustainable
   recreation during the winter season, as required by the 2012 Planning Rule. 36 C.F.R. §
   219.10(b)(1)(i). This is particularly important given the increasing numbers of participants in
   both motorized and human-powered winter back-country recreation, and the corresponding
   increase in conflicts between skiers, snowshoers, and snowmobilers in many areas. Below we
   provide comments on key elements of an OSV framework.

       a. Winter ROS

   We are pleased to see that the DEIS acknowledges the need for a winter ROS classification
   system and the Draft Plan includes a standard making ROS designations enforceable (S-REC-1).
   DEIS at 272, Plan at 65. We would prefer that the winter ROS be included in the land
   management plan, as it is an important element of a programmatic OSV framework. As the
   Flathead National Forest recently recognized in its draft revised forest plan:

          [ROS] settings change as snow blankets the Forest’s landscapes. While some
          settings become less accessible and more remote, others change from non­
          motorized to accommodating [OSVs]. Although the full range of settings,
          primitive to rural, are still present, their location, distribution and percentages
          change significantly during the winter months.

   Flathead National Forest, Draft Revised Forest Plan at 62. The current ROS classifications are
   best suited for managing summertime uses, with many areas traditionally classified as semi­
   primitive motorized, semi-primitive motorized, and roaded natural providing high-quality and
   popular opportunities for non-motorized recreation in the wintertime. For example, many visitors
   enjoy the opportunity to cross-country ski on snow-covered forest roads without having to
   contend with OSV activity in the area. At the same time, skiers and snowshoers do not always
   mind sharing trails or areas with OSVs so long as they expect to encounter motorized uses. ROS
   classifications provide a good tool for visitors to determine where on the forest they should go to
   achieve their desired experience. However, forest visitors’ experiences, expectations, and desires
   differ in winter as compared to summer, and ROS classifications should account for those
   distinctions.

   The Forest Service Land Management Planning Handbook recognizes that development and
   implementation winter-specific ROS may be necessary:

          Desired winter recreation opportunity spectrum classes can be developed to depict
          changes in the location, mix and distribution of setting attributes, access, and
          associated opportunities (both motorized and nonmotorized). In doing so, distinct
          seasonal changes in the recreation settings and opportunities can be integrated
          with other seasonally relevant multiple uses, resource values and management
          objectives, such as protecting crucial winter range, providing access to key winter
          destinations, or limiting access to avalanche prone areas.



                                                   153

                                                                        Rvsd Plan - 00005225
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 134 of 475




   FSH 1909.12, ch. 20, § 23.23a(1)(d)(1). The winter ROS categories included in the Flathead
   Draft Plan provide a good example for what those classifications might look like:
          Primitive and semi-primitive non-motorized backcountry settings offer solitude
          and quiet recreation for those accessing the forest on skis, snowshoes, or snow
          boards. Semi-primitive motorized settings cover large expanses of the forest,
          offering over-snow vehicles the chance to explore areas of the forest that are often
          non-motorized in the summer months. Roaded natural and rural settings continue
          to serve as convenient connections to surrounding communities and easy access to
          visitors. Facilities are operated to provide user comfort. Groomed motorized and
          non-motorized trails offer users the chance to get outside for a day trip or take
          longer, cross-country excursions. Rental cabins are available although some
          require a ski in or over-snow vehicle trip to access them.
          01 Winter recreation settings provide a range of opportunities as described by the
          recreation opportunity spectrum......
          02 Winter primitive recreation opportunity spectrum settings are large, remote,
          wild, and predominately unmodified. Winter primitive recreation opportunity
          spectrum settings provide quiet solitude away from roads, and people. There is no
          motorized activity and little probability of seeing other people. Constructed trails
          that are evident in the summer months are covered by snow, making these settings
          appear even more natural and untouched by human management.
          03 Winter semi-primitive non-motorized recreation opportunity spectrum settings
          provide backcountry skiing, snowboarding, and snowshoeing opportunities. Trails
          are un-groomed and often not marked. Rustic facilities, such as historic cabins,
          yurts may exist but are rare.
          04 Winter semi-primitive motorized recreation opportunity spectrum settings
          provide backcountry skiing and snowmobiling opportunities. Routes are typically
          un-groomed but are often signed and marked. There are vast areas to travel cross­
          country in designated areas, offering visitors an opportunity for exploration and
          challenge. Occasionally, historic rental cabins are available for overnight use and
          warming huts are available for short breaks.
          05 Winter roaded natural recreation opportunity spectrum settings support higher
          concentrations of use, user comfort, and social interaction. The road system is
          plowed and accommodates sedan travel. Winter trails are routinely groomed and
          may have ancillary facilities such as warming huts and restrooms. System roads
          and trails often provide staging to adjacent backcountry settings (primitive, semi­
          primitive non-motorized, semi-primitive motorized). Guided motorized over­
          snow vehicle use, dog sledding, skiing, and snowshoeing may also be present.
          06 Winter rural recreation opportunity spectrum settings provide high-use ski
          areas such as Blacktail Mountain and Whitefish Mountain Resort. These areas are
          accessed from paved and plowed roads and are generally close to population
          centers. User comfort facilities such as toilets, restaurants, heated shelter facilities,
          and information and education are commonly present. Parking areas are large and
          plowed. Entry points and routes are signed and direct over-snow vehicles to

                                                    154

                                                                           Rvsd Plan - 00005226
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 135 of 475




          adjacent roaded natural and semi-primitive motorized settings. Non-motorized
          trails are also typically groomed for Nordic skiing. Rural winter settings provide
          access for communities and families to celebrate holidays, conduct racing events,
          and skiing.
   Flathead National Forest, Draft Revised Forest Plan at 62-63.

   Even with a winter-specific ROS classification system, it is important to remember that OSV
   area designations and ROS categories are distinct, albeit related, management tools. While
   motorized ROS classifications provide a good starting point for where to designate OSV areas
   and trails, the Forest Service should not assume that OSV use is appropriate across the entirety of
   those areas. Instead, as part of implementation-level winter travel management planning, the
   agency needs to designate discrete, specifically delineated areas and trails within the motorized
   ROS classifications and areas suitable for OSV use that are located to minimize environmental
   damage and conflicts with other recreational uses.

       b. OSV suitability

   We are pleased to see that the RGNF determined suitable and unsuitable places for OSVs. DEIS
   at 272, 283-285. However, we are not clear how the RGNF reached these determinations. The
   DEIS does not explain its methodology, and presents conflicting information. On page 271-272,
   the DEIS says:

      Motorized Over-Snow Vehicle Use Suitability maps for alternatives A through D^. reflect
      areas on the Forest where motorized over-snow vehicle use would be suitable and unsuitable
      for each alternative. This process does address motorized and nonmotorized settings during
      the winter season to determine suitability of these activities throughout the Forest. Over­
      snow vehicle use suitability determinations were made based on considerations for recreation
      user group preferences, wilderness areas, wildlife habitat, and areas of the Forest under long­
      term closure orders where applicable.

   However, on page 284, the DEIS explains that it determined OSV suitability by management
   area, and did not use the factors listed on page 272. Moreover, page 272 sys that one of the
   factors used in determining OSV suitability was motorized and non-motorized settings, although
   we are confused how this could be if the winter ROS classifications will be developed in a
   subsequent winter travel management planning process. DEIS at 271.

   The RGNF in the final EIS should provide a clear methodology and supporting rationale that
   clearly explains how it determined OSV suitability. Further, suitability determinations should
   address more than legal suitability (e.g., OSVs are unsuitable in designated wilderness because
   the Wilderness Act prohibits motorized uses), and should also address functional suitability and
   operability. For instance, steep slopes and windswept ridgelines, low elevation areas without
   adequate snowpack, areas with dense tree cover, and important habitat for wintering wildlife
   should all be found unsuitable. The final plan should include an objective that areas found
   unsuitable for OSV use will be subject to appropriate closure orders within one year of plan
   approval.


                                                  155

                                                                       Rvsd Plan - 00005227
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 136 of 475




   The final plan and EIS should include additional clarifying language that OSVs will not
   necessarily be permitted in all suitable areas. See FSH 1909.12, ch. 20, § 22.15(1) (a suitability
   determination “is not a commitment to allow such use but only an indication that the use might
   be appropriate”). Rather, suitable areas are a starting point for conducting implementation-level
   travel planning to designate particular areas and trails in accordance with the minimization
   criteria.

   We want to bring to your attention a recent study conducted on the adjacent Grand Mesa-
   Uncompahgre-Gunnison and the San Juan National Forests that can help shed light on
   conducting OSV suitability determinations. Olsen et al (2017) modeled terrain selection of
   motorized and non-motorized recreationists, including snowmobile, backcountry ski, and
   snowmobile-assisted hybrid ski to better understand the environmental characteristics favored by
   winter recreationists, and thus predict areas of potential conflict or disturbance. Field locations
   were Vail Pass and the San Juan Mountains. Areas predicted to have only motorized recreation
   were more likely to occur further from highways, with greater forest road densities, lower
   canopy cover, and smoother, less steep terrain, while areas with only non-motorized recreation
   were closer to highways, with lower forest road densities, more canopy cover and steeper terrain.
   This work provides spatially detailed insights into terrain characteristics favored by
   recreationists, allowing managers to maintain winter recreation opportunities while reducing
   interpersonal conflict or ecological impacts to sensitive wildlife.

   Also, the DEIS at 13 says that “[t]he Forest intends to re-evaluate the suitability of its National
   Forest System lands to support other multiple uses, including over-snow vehicle use”. We are not
   sure what this means. The DEIS should clarify this statement, and explain if the RGNF intends to
   do a plan amendment to modify suitability (a plan component) in the future.

   Finally, the final plan should include an objective that areas found unsuitable for OSVs will be
   subject to appropriate closure orders within one year of plan approval.

        c. Minimum snow depth restrictions

   The RGNF should establish a minimum depth of snow required to permit safe and responsible
   travel by an OSV. OSV use on inadequate snow has the potential to damage soils, vegetation,
   rocks, infrastructure and other features. As written, the plan permits use of an OSV on any
   amount of snow, conceivably including travel on just a trace or dusting of snow.

   The adjacent San Juan National Forest plan contains the following Desired Condition:
   “2.14.37 Motorized oversnow travel should only occur when snow levels are adequate to protect
   the ground surface from disturbance due to snow machine use. For SJNF lands, 12-inch snow
   depth will be used as the standard.”133 This plan component reflects
   accepted best management practices for OSV. See (Switalski , 2016 at 11.



   133 San Juan Plan at II-118. Volume II: Final San Juan National Forest and Proposed Tres Rios Field Office Land
   and Resource Management Plan, 2013, accessed online December 2017 at
   https://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5435985.pdf .

                                                          156

                                                                                  Rvsd Plan - 00005228
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 137 of 475




            Require a minimum snow depth of at least 0.3m (12 in), or sufficient depth to protect
            water quality, soils, and vegetation before a contingency plan and implement emergency
            closures if snowpack goes below this threshold. Require a minimum snow depth of at
            least 0.45 m (18 in), or sufficient depth to protect water quality, soils, and vegetation
            before allowing snowmobiling off-trail. Have a contingency plan and implement
            emergency closures if snowpack goes below this threshold.

   We recommend, therefore, that the RGNF adopt a standard that says: “Motorized oversnow
   travel should only occur when snow levels are adequate to protect the ground surface from
   disturbance due to snow machine use. For on-trail travel, 12-inch snow depth will be used as the
   standard. For off-trail travel, 18-inch snow depth will be used as the standard.” The plan should
   also adopt a management approach that says: “Develop a method for identifying when
   designated OSV open areas or designated trails are below the minimum snow depth and
   therefore must be closed temporarily.”134

        d. Closed unless open paradigm

   The draft plan currently states “MA-INFR-5: Over-the-snow motorized vehicle use on snow is
   allowed unless specifically restricted.” Draft Plan at 60-61. This approach is inconsistent with
   the travel management rule that clearly establishes a “closed unless marked on the over-snow
   vehicle use map” management approach. This needs to be corrected in the final plan with a
   standard that says: “Over-the-snow motorized vehicle use is prohibited off the designated
   system.”

                         3. Subsequent winter travel management planning


   We are pleased that the RGNF intends to undertake travel management planning after the
   revision of the land management plan. See DEIS at 271 and 277. Travel management is an
   incredibly important element of sustainable recreation. We support this approach, provided that
   the revised forest plan establishes an adequate programmatic framework - including suitability
   determinations, winter-specific recreational opportunity spectrum (ROS) classifications,
   minimum snow depth restrictions, and other programmatic direction - for management of OSV
   use and subsequent implementation-level travel planning that will designate particular areas and
   routes based on the minimization criteria and other relevant regulatory requirements.135


   134 See Hatchett, Ben. May 15, 2017. Evaluation of Observed and Simulated Snow Depths for Commencing Over
   Snow Vehicle Operation in the Sierra Nevada, Prepared for the Winter Wildlands Alliance. The author is developing
   a method for land managers to estimate trailhead snow depth by correlating SNOWTEL data with snow conditions
   at trailheads.

   135 The Forest Service’s recently revised travel management directives encourage this approach: “Approval of a . . .
   plan revision should not include a final decision designating roads, trails, or areas for . . . OSV use or otherwise
   restricting those uses. Rather, the land management plan provides information and guidance for travel management
   decisions.” Forest Service Handbook (FSH) 7709.55, ch. 10, § 11.2(1); see also id. § 11.2(3) (“The Responsible
   Official generally should avoid including travel management decisions in land management plans prepared or
   revised under current planning regulations . . . .”).

                                                            157

                                                                                     Rvsd Plan - 00005229
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 138 of 475




   The final plan and EIS should clarify that the RGNF will start winter travel management
   planning within one year of the finalization of the land management plan.136 The final plan
   should include this as an objective.

        4. OSV Trails

   Tables 53 and 73 of the DEIS (at 216 and 276) list 613 miles of snowmobile trails on the forest.
   Table 53 includes 613 miles of snowmobile trails as “Designated Routes”. Table 73 labels trails
   by the “Primary Managed Use Type”. It further states, “While there are no official snowmobile
   trails in INFRA, these trails represent those currently permitted and established.”

   The USFS defines a Trail as “A route 50 inches or less in width or a route over 50 inches wide
   that is identified and managed as a trail. A National Forest System Trail is defined as “a forest
   trail, other than a trail which has been authorized by a legally documented right-of-way held by a
   state, county, or other local public road authority.” FSM 2353.05; 36 CFR 212.1. A snow trail is
   defined as “A trail that has a surface consisting predominantly of snow or ice and that is
   designed and managed to accommodate use on that surface.” FSM 2353.05. FSM 2353.12 states
   “For each NFS trail or NFS trail segment, identify and document its TMOs, including the five
   Trail Fundamentals, Recreation Opportunity Spectrum classifications, design criteria, travel
   management strategies, and maintenance criteria.”

   Managed use is one of the five trail fundamentals, and is a term from the USFS Trail
   Classification System and is defined as “A mode of travel that is actively managed and
   appropriate on a trail, based on its design and management.” FSM 2353.05. Other Trail
   Fundamentals include trail type, trail class, designed use and design parameters. FSH 2309.18
   chapter 23.33 establishes design parameters for officially designated snowmobile trails. No
   documented information is available regarding the TMO, trail type, class, designed use and
   design parameters for these 613 miles of trails.

   A designated National Forest System trail under these definitions must be actively designed and
   managed as a trail, must be included in INFRA, and must have the five trail fundamentals
   identified in a TMO. If these 613 miles of trails are not in INFRA, and do not have completed
   Trail Management Objectives documenting the intended purpose and management of these trails,
   they are not NFS trails. If there are no official snowmobile trails on the forest, there cannot be
   any designated trails on the forest with a Primary Managed Use of snowmobiling. The creation
   or establishment of a route by mere use does not make that route a designated forest trail.

   Permitted uses are, by definition, a temporary use of forest land for a specific period of time.
   (36CFR 251.51). Permitted uses should not be included as part of the designated route system
   on the forest.



   136 In the event the Forest Service intends to make winter travel management decisions as part of or simultaneously
   with forest plan approval, it must ensure compliance with the minimization criteria and other subpart C requirements
   and adequate site-specific NEPA analysis. See id. § 11.2(3) (“If travel management decisions are approved
   simultaneously with a . . . plan revision, the travel management decisions must be accompanied by appropriate
   environmental analysis.”).

                                                           158

                                                                                   Rvsd Plan - 00005230
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 139 of 475




   The RGNF should correct the tables to clearly show that there are not designated OSV trails on
   the RGNF unless documentation as discussed above is available in the administrative record.

                       5. Additional issues that need to be addressed in the DEIS and Draft Plan

   We offer the following additional comments on inaccuracies and deficiencies in the analysis
   related to OSV recreation in the DEIS.

       •   The DEIS does not discuss hybrid use (people who ride snowmobiles to access
           backcountry skiing and snowboarding). This is becoming a more popular use in Colorado
           and the west and should be discussed in the plan in terms of desired terrain, ecological
           impacts, and conflict management.
       •   The DEIS and draft plan do not mention the travel management rule’s requirement that
           motorized trails and areas must be located to minimize damage to forest resources and
           conflicts with other recreational uses. The final EIS should provide information on
           whether or how this requirement is met. The final plan should include a standard that
           reiterates this requirement.
       •   The DEIS needs to clarify that wheeled vehicles that travel over snow are not over-snow
           vehicles and are only allowed on the designated system displayed on a motor vehicle use
           map. We agree with and support a determination that only vehicles that are over snow
           vehicles are allowed to travel off designated routes over snow. See DEIS at 272. Wheeled
           vehicles, both motorized and non-motorized, are not over snow vehicles and are subject
           to the same restrictions that apply to motorized and mechanized use whether snow is
           present or not. Wheeled vehicles have a high potential of disturbing soil and vegetation
           under the snow, as they do not provide the necessary floatation provided by tracks or skis
           that over snow vehicles possess. In addition, wheeled vehicles have the potential to rut
           prepared and unprepared snow, and dig underlying soil into the snow. Rutted and or
           dirty snow can make any travel which uses skis or tracks difficult and dangerous, and
           such snow may damage skis. Wheeled vehicle use on snow surfaces can result in
           conflicts with users seeking to glide or slide using skis on those surfaces.

           The White River National Forest recognized the potential for this conflict. They state
           “Any other vehicle other than defined by 36 CFR 212 for winter use, including wheeled
           vehicles such as full-sized vehicles, all-terrain vehicles, motorcycles, mountain bikes, and
           mechanized vehicles, are prohibited, unless on a plowed or maintained road. “The intent
           of this provision is to maintain the integrity of the groomed snow surface and to protect
           the investment made in maintaining these winter routes for their intended purpose.”137

           The RGNF should clarify this in the final EIS.

       •   The RGNF needs to correct the misstatement in the DEIS at 274 that “motorized vehicle
           use is currently limited to designated routes outside wilderness or Colorado Roadless


   137 WRNF TMP ROD at 17 20ll accessed online Dec 2017 at
   http://a123.g.akamai.net/7/123/11558/abc123/forestservic.download.akamai.com/11558/www/nepa/1118 FSPLT2
   048796.pdf.

                                                     159

                                                                            Rvsd Plan - 00005231
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 140 of 475




          Areas.” OSV use is currently allowed off routes, and motorized use is allowed and occurs
          in Colorado Roadless Areas.

      •   We do not understand DC-REC 2. Please clarify.

       6 . Summary of Recommendations for OSV planning
   The final plan should provide a stronger programmatic framework for management of OSV use
   and subsequent implementation-level winter travel planning that will designate particular areas
   and routes based on the minimization criteria and other relevant regulatory requirements. To
   provide for sustainable winter recreation and timely compliance with subpart C, the RGNF
   should:

      •   Develop a winter-specific ROS classifications and associated plan components;
      •   Include an objective that implementation-level winter travel planning will be completed
          within three years of forest plan approval;
      •   Include a standard setting a minimum snow depth of 18 inches for cross-country OSV
          travel and 12 inches for on-trail travel;
      •   Develop suitability determinations for OSV use based on terrain, snowpack, wildlife
          habitat, and other conditions that impact OSV travel, and provide a clear methodology
          and supporting rationale for the determination.
      •   Add an objective that unsuitable areas will be subject to appropriate closure orders within
          one year of plan approval;
      •   Include clear statements that subsequent area and route designations will be consistent
          with suitability determinations and winter ROS classifications, but that all suitable,
          motorized areas will not necessarily be open to OSV use; instead, the forest will
          designate discrete open areas and trails within those areas that are located to minimize
          resource impacts and conflicts with other recreational uses.
      •   Add a standard that says: “Over-the-snow motorized vehicle use is prohibited off the
          designated system”;
      •   The final plan and EIS should clarify that the RGNF will start winter travel management
          planning within one year of the finalization of the land management plan. The final plan
          should include this as an objective;
      •   Clarify that there are not designated OSV trails on the RGNF;
      •   Clarify that wheeled vehicles that travel over snow are not over-snow vehicles and are
          only allowed on the designated system displayed on a motor vehicle use map; and
      •   Clarify that motorized use is currently allowed in Colorado Roadless Areas.


   B. NON-OSV RECREATION ISSUES

                  1. Management of Mechanized Uses

   Mountain biking is an expanding use throughout Colorado and nationally. We agree with, and
   support, the RGNF’s proposed approach to limit mechanized travel to a designated system. See
   DEIS at 90 (“mechanized travel is only suitable on designated routes”); DEIS at 39, 40, 41 and


                                                  160

                                                                       Rvsd Plan - 00005232
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 141 of 475




   43 (“mechanized travel is suitable only on designated routes” for all draft alternatives); and DEIS
   at 273 (“mechanized use is restricted to designated routes”).

   Mechanized off route travel has a high potential to impact wildlife, natural resources, cultural
   and archaeological resources, vegetation, soils, other forest users and public safety. This is due
   to the speeds a mechanical advantage allows a user to achieve, which increases the distance
   traveled and land areas impacted. Allowing cross-country use by mechanized vehicles can also
   lead to trail proliferation. Travelers often will ride the same track repeatedly until a user-created
   route is formed. The presence and use of non-system routes can confuse responsible travelers.

   Restricting mechanized travel to designated routes will promote consistency with adjacent
   federal lands. The Gunnison National Forest138 and San Luis Valley BLM already restrict all
   mechanized travel to designated routes. The International Mountain Bike Association agrees,
   “Environmental degradation can be substantially avoided or minimized when trail users are
   restricted to designated formal trails.”139

   We believe the following statement must be corrected: “Alternatives B and D would also reduce
   mechanized dispersed recreation opportunities, such as mountain biking, when recommended
   wilderness areas are congressionally designated as wilderness study areas or wilderness areas.”
   DEIS at 373. It must be noted that the wilderness recommendations in Alternative D contain
   very few designated forest trails that allow mountain biking. The trails within the recommended
   areas that are open to mountain biking do not provide significant mountain bike opportunities or
   desired experiences. They are very short (normally ~ one mile long or less), rough, and steep
   routes. These would only provide a less than desirable short out and back ride to a designated
   Wilderness boundary and back. None of these trails are managed for mountain bike use.

   We believe the definition of “Mechanized” on page 455 of the DEIS and page 130 of the Draft
   Plan must be clarified. These definitions currently state, “Wheeled forms of transportation,
   including nonmotorized carts, wheelbarrows, bicycles, and any other nonmotorized, wheeled
   vehicle.” DEIS at 455. This definition is not a definition of mechanized per se, but of
   mechanized travel or transportation. It is possible to have a mechanized device which does not
   possess wheels and does not enable travel (such as a chainsaw). We suggest modifying this
   definition so it is a definition of “mechanized travel” and not simply “mechanized”.

   The plan components should reflect the RGNF’s approach to managing mechanized travel.
   Specifically, include: a standard that restricts mechanized travel to a designated system, an
   objective that all trails will have trail management objectives and are included in corporate data
   bases, a management approach that travel planning (to be done immediately after the land

   138
       The adjacent Gunnison National Forest determined that restricting mechanized travel to designated routes
   contributed to beneficial conditions for wildlife, including improved wildlife security and reduced disturbance. See
   FEIS Gunnison Basin Federal lands Travel Management, USDA Forest Service GMUG, page 3-123, 2010
   Accessed online December 2017.
   http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5182985.pdf.
   13 9 Environmental Impacts of Mountain Biking: Science Review and Best Practices, Conclusion 1, Accessed online
   December 2017 https://www.imba.com/resources/research/trail-science/environmental-impacts-mountain-biking-
   science-review-and-best-practices.

                                                          161

                                                                                   Rvsd Plan - 00005233
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 142 of 475




   management plan is revised) will include designation of motorized and mechanized systems, an
   objective to close and obliterate un-designated routes within three years of finalizing the travel
   management plan, and a management approach that the mechanized travel designated system
   will be displayed on a map made readily available to the public.

                  a. Recreation Opportunity Spectrum
   We are pleased to see the inclusion of a standard that enforces the Recreation Opportunity
   Spectrum (ROS) classes (S-REC-1)

   It should be reworded to be consistent with the travel management rule’s language as follows:
   “Recreation development and designated systems of roads, trails, and areas shall be consistent
   with the recreation opportunity spectrum class designations.”

   While this standard is very helpful, the final plan needs to have a more robust complement of
   plan components that will contribute to achieving the desired ROS settings over the life of the
   plan. The Planning Rule requires that a plan “must include plan components, including standards
   or guidelines, for integrated resource management to provide for ecosystem services and
   multiple uses,” including outdoor recreation. 36 C.F.R. § 219.10(a)(1). In addition, plans “must
   include plan components, including standards or guidelines, to provide for: Sustainable
   recreation; including recreation settings, opportunities, and access; and scenic character.
   Recreation opportunities may include non-motorized, motorized, developed, and dispersed
   recreation on land, water, and in the air.” Id. § 219.10(b)(1)(i); see also FSH 1909.12, ch. 20, §
   23.23a(2)(g) (plans “must include plan components, including standards or guidelines, to provide
   for sustainable recreation,” including “[s]pecific standards or guidelines where restrictions are
   needed to ensure the achievement or movement toward the desired [ROS] classes”).

   The ROS classification system plays an important role in achieving the goal of sustainable
   recreation by providing the framework for where particular recreational opportunities, activities,
   and expected experiences are located across the forest. Zoning areas for quiet, non-motorized
   forms of recreation through the ROS is an important component of achieving both the
   sustainable recreation and ecological sustainability mandates of the 2012 Planning Rule.

   Offered below are examples of plan components that we recommend for inclusion in the final
   forest plan:

   DESIRED CONDITIONS
     • The primitive ROS class provides recreation opportunities in unroaded and nonmotorized
        settings. Unmodified natural and natural-appearing settings dominate the physical
        environment.

       •   The semi-primitive non-motorized ROS class provides for non-motorized recreation
           opportunities in unroaded and nonmotorized settings. A natural-appearing setting
           dominates the physical environment, with only subtle or minor evidence of human-
           caused modifications.
   OBJECTIVES

                                                   162

                                                                        Rvsd Plan - 00005234
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 143 of 475




       •   Within 10 years, all motorized roads and trails within primitive and semi-primitive
           nonmotorized ROS classes will be decommissioned or converted to non-motorized trails.

   STANDARDS
     • Roads and motorized trails that are inconsistent with primitive and semi-primitive
       nonmotorized ROS classes and will be prohibited.


   MANAGEMENT APPROACHES

       •   Evaluate the differences between current and desired ROS settings, and develop a
           strategy to move towards desired ROS settings through project-level actions.
   Lastly, we are disappointed that the DEIS does not provide an analysis of the ROS settings of
   inventoried roadless areas (IRAs) - whether existing roadless areas protected under the Colorado
   Roadless Rule or newly inventoried areas under the Chapter 70 process. Establishing primitive or
   semi-primitive non-motorized ROS settings for areas identified in the wilderness evaluation
   process as having moderate to high-upper tier ranks is a good strategy to maintain the wilderness
   and natural characteristics of areas that do not benefit from a wilderness recommendation in the
   final plan. We therefore ask that the final EIS include this analysis, and in at least one alternative
   adopt primitive or semi-primitive non-motorized settings for the majority of areas ranked
   moderate to high-UT. This may require a revised or supplemental DEIS. See 40 C.F.R. §
   1502.9(a) & (c).

                  b. Recreation niche

   In the assessment report, the RGNF identified its recreation niche as:

           Solitude in every Season

           From the Sangre de Cristo to the San Juan Mountains, the jagged peaks and rushing
           rivers of the San Luis Valley public lands wrap themselves around this Rocky Mountain
           basin. Whether viewing the mountain scenery from roads or finding challenge on trails,
           visitors discover solitude and self-reliance through uncrowded year-round recreation
           opportunities. As recreation pressures increase in other parts of Colorado, the public
           lands of the San Luis Valley maintain their remote spirit and traditional culture.

   The recreation niche statement is an important planning tool as it helps inform project level
   decisions related to recreation and access. Specifically, forest managers can evaluate proposed
   projects against the niche to ensure that they are managing to maintain the niche and not detract
   from it or shift it.

   We notice that nowhere in the DEIS or draft plan is the recreational niche statement mentioned.
   We recommend that the DEIS discuss the concept, and evaluate how well each alternative
   adheres to the niche statement. We also recommend the addition of a desired condition statement
   that reflects managing to the niche such as: “Recreational activities, settings, and experiences
   are consistent with the recreational niche.”


                                                    163

                                                                         Rvsd Plan - 00005235
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 144 of 475




           C. BALANCING RECREATION AND WILDLIFE CONSERVATION

   The final EIS must fully analyze and consider the impacts of recreational use and development
   on wildlife, and plan components must include direction to balance recreational use and
   development with the needs of wildlife.

   Increasingly, we are recognizing that human recreational use can have detrimental effect on
   wildlife, and that careful planning and management to minimize these impacts is important. This
   includes all forms of recreation and use, including non-motorized recreation such as hiking,
   biking etc., which were previously considered to have minimal or lesser impacts on wildlife.

   Increasing trail use and new trail development is a good example of the potential impacts
   recreation can have on wildlife. Trails can fragment previously undisturbed habitat. With
   increasing volumes and intensities of public land recreation and new technologies, managers
   must devote more resources to ensure that recreation is well-managed and wildlife habitat is
   maintained. A recent study, for example, found that development and use of a new trail primarily
   used by mountain bikers resulted in impacts to Bighorn Sheep at the population level.140 In
   addition, a recent literature review determined that outdoor recreation, including non-motorized
   recreation, can result in significant adverse effects on animals and biodiversity.141

   The growth of human population and associated recreation along with the resulting potential
   impacts on wildlife and habitat is recognized as a concern by Colorado Parks and Wildlife.
   Colorado Parks and Wildlife (CPW) recently updated and released the 2016-2026 Statewide
   Trails Strategic Plan, which is tied to the 2015 Colorado Parks and Wildlife Strategic Plan.142
   The importance of conserving wildlife and habitat is the top priority for the 2015 CPW Strategic
   Plan. The Statewide Trails Strategic Plan (2016) recognizes this direction for CPW and
   highlights its significance as a top priority through the objectives and actions of the Statewide
   Trails Strategic Plan."143 The Trails Strategic Plan contains numerous statements regarding
   balancing trail development and wildlife, including:

       •    “Continually strive to achieve the desired balance for trail recreation with wildlife
            habitat”144


   140 Weidmann and Bleich 2014, Demographic Responses of Bighorn Sheep to Recreational Activities: A Trial of a
   Trail, Wildlife Society Bulletin 38(4):773-782; 2014.
   https://www.researchgate.net/publication/264625966 Demographic Responses of Bighorn Sheep to Recreational
    Activities A Trial of a Trail. Accessed online December 2014.
   141 Larson CL, Reed SE, Merenlender AM, Crooks KR, 2016, Effects of Recreation on Animals Revealed as
   Widespread through a Global Systematic Review. PLoS ONE 11(12).
   http://journals.plos.org/plosone/article?id=10.1371/journal.pone.0167259. Accessed December 2017.
   142 Trails Strategic Plan at http ://cpw. state.co.us/Documents/Trails/CO-Trails- Strat-
   Plan.pdf#search=trail%20strategic%20plan and Colorado Parks and Wildlife 2015 Strategic Plan, November 2015
   available at:
   http://cpw.state.co.us/Documents/About/StrategicPlan/2015CPWStrategicPlan-11-19-15.pdf . Accessed December
   2017.
   143 Trails Strategic Plan at , available at http://cpw.state.co.us/Documents/Trails/CO-Trails-Strat-
   Plan.pdf#search=trail%20strategic%20plan.
   144 Id at 3.

                                                       164

                                                                              Rvsd Plan - 00005236
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 145 of 475




       •   “Accentuate the importance of natural resources conservation, including wildlife and
           habitat, in the design, construction, maintenance, and enjoyment of trails.”145
       •   Regarding trail development, there is a “criticality of protecting wildlife and wildlife
           habitat, and in giving wildlife experts representation in where trails might be constructed
           or how trails should be managed to protect wildlife resources.”146
       •   “Develop long-range ^ trail plans” to protect “natural resources, including wildlife
           sensitive species, habitat and overall environmental quality.”147
       •   “Emphasize sustainable trails that protect the environment, sensitive species, and wildlife
           habitat.”148
       •   “Identify areas where plant and wildlife values should be prioritized”149
       •   “Prioritize trail design and development to protect important habitat, sensitive species,
           and other natural resources.”150
       •   “Accentuate the importance of natural resources conservation, including wildlife and
           habitat, in conjunction with trail recreation, in the design, construction, maintenance, and
           enjoyment of trails.”151

   CPW also uses a handbook it produced entitled Planning Trails with Wildliife in Mind.152
   CPW wildlife biologists believe that to support the goal of balancing trails and wildlife, trail
   projects in Colorado need to be informed by a landscape-level planning approach, which
   includes:

       •   Avoiding large natural areas;153
       •   Concentrating use;154
       •   Considering a “zone of influence;155
       •   Considering wildlife [stress] responses to human disturbance;156

   CPW has also developed “Best Management Practices to Minimize Adverse Impacts to
   Wildlife.”157 These offer general and species-specific recommendations developed using best
   available science, and represent preferred management actions to protect wildlife and wildlife
   habitat. Some of these actions are already incorporated into the Draft Plan such as seasonal route
   closures. Although these practices were developed for oil and gas development, they also apply


   145 Ibid.
   146 Id. at 7
   147 Id. at 11
   148 Id. at 12
   149 Id. at 14
   150 Id. at 15
   151 Id. at 16
   152 Planning Trails with Wildlife in Mind, 1998, Colorado State Parks and Hellmund Associates,
   http://cpw.state.co.us/Documents/Trails/TrailsPlanningPrimer.pdf . Accessed December, 2017.
   153 Id. at 8.
   154 Id. at 21.
   155 Id. at 6.
   156 Id. at 19.
   157 https://cogcc.state.co.us/documents/reg/OpGuidance/Colorado%20DOW%20Final%20BMPs 090309.pdf and
   https://nhnm.unm.edu/sites/default/files/nonsensitive/news-
   files/Colorado%20Final%20Species Specific%20BMPs 0ct%2017 101716.pdf Accessed December 2017.

                                                    165

                                                                          Rvsd Plan - 00005237
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 146 of 475




   to recreational use. CPW Best Management Practices for wildlife should be used to guide
   suitability determinations for recreational use and plan components. It is suggested, for instance,
   that new development be precluded in specific areas, such as Bighorn Sheep production areas.
   New development could include route construction.158

   CPW has also developed a list of moderate, high and very high priority habitats for many
   wildlife species in Colorado. See Exhibit 10, House Bill 1298 Species Impact Assessment. This
   considers economic species and species considered at risk including rare, threatened and
   endangered wildlife.

   We recommend that the RGNF include additional plan components to help strike the correct
   balance between recreation and wildlife habitat conservation. CPW best management practices
   should be considered for standards and guidelines for actions such as the seasonal closure of
   routes in certain elk migration corridors. This will help the RGNF be proactive in managing
   recreational use to protect wildlife and habitat, because as once recreational use is established, it
   is difficult to modify or terminate. By the time monitoring indicates that recreation is impacting
   wildlife, it can be too late to reverse those impacts. Most members of the public are willing to
   comply with actions such as seasonal restrictions that protect wildlife as long as education is
   provided which includes reasons for the action. Please consider these specific recommendations:

         •   In order to account for dispersed recreation impacts writ large, modify the following
             forest-wide desired condition to read (red denotes added text):

                     DC-WLDF-5: Security habitat for big game and other species in winter range is
                     provided in very high and high priority habitats. Motorized and nonmotorized
                     route travel, on and off existing roads and dispersed recreation activities do not
                     negatively affect ecological conditions necessary to maintain viable populations
                     of species.” Draft Plan at 25.

         •   Modify the proposed standards as follows:

                     S-WLDF-3: Provide security habitat in winter range, winter concentration areas,
                     severe winter range, and lambing areas during big game primary use seasons from
                     December 1 to March 31 April 15. Employ access restrictions and seasonal
                     closures as necessary. Dates may vary depending upon variations in winter use.”

             Winter is typically not lambing season. CPW generally considers the winter use season
             for elk and mule deer to be between December 1 and April 15, and Bighorn Sheep



   158
       The presence of a route is considered surface occupancy by CPW. Surface occupancy is defined as “any
   physical object that is intended to remain on the landscape permanently or for a significant amount of time.
   Examples include houses, oil and gas wells, tanks, wind turbines, roads, tracks, etc.” (Colorado Division of Wildlife,
   2008, Recommended Buffer Zones and Seasonal Restrictions for Colorado Raptors. At 5.
   https://cpw.state.co.us/Documents/WildlifeSpecies/LivingWithWildlife/RaptorBufferGuidelines2008.pdf . Accessed
   December 2017.

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                                                                                     Rvsd Plan - 00005238
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 147 of 475




          between November 1-April 15. See additional comments on bighorn sheep in section V E
          2.)

                  S-WLDF-8: Limit disturbance, including but not limited to rock climbing and use
                  of unmanned aerial systems, within one-half mile of:
                      • Active peregrine and prairie falcon nest sites from March 15 April 15 to
                        July 31 to maintain nest site integrity.
                      • Active golden eagle nest sites from December 15 to July 31

          The dates should be changed to match current CPW direction. (

   •   Add additional standards:

                  Provide security habitat in Bighorn Sheep lambing (production) areas from April
                  15 to June 30. Employ access restrictions and seasonal closures as necessary.
                  New development will be located outside these areas.

                  Provide security habitat in elk calving (production) areas from May 15 through
                  June 30. Employ access restrictions and seasonal closures as necessary. New
                  development will be located outside these areas.

   •   Modify MA-WLDF-22 to read:

                  Manage off-roadroute travel on big game winter range areas, including over-the-
                  snow track machines, during the primary use seasons for big game. Exceptions
                  may be authorized under special use permit.

   •   Add additional guidelines:

                  New trails and other routes within the planning area are planned and designed
                  with the goals of preserving settings, complementing the landscape, and
                  minimizing impacts on wildlife.

                  Dispersed sites or routes should be closed, rehabilitated, or otherwise mitigated if
                  there are social-use conflicts, wildlife impacts and/or resource impacts, or where
                  dispersed use conflicts with the management of developed recreation sites.

                  Timing restrictions for recreational use may be employed in wildlife habitat areas
                  or due to ground conditions (to prevent damage to soil or tread surfaces,
                  recreational snow surfaces, etc.).

                  Developed dispersed campsites will be located outside riparian zones and other
                  sensitive resource areas. Campsites may be closed, repaired, rehabilitated, and/or
                  hardened when unacceptable environmental or social impacts occur.



                                                   167

                                                                        Rvsd Plan - 00005239
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 148 of 475




     D. SUMMARY OF RECOMMENDATIONS

   The plan components should reflect the RGNF’s approach to managing mechanized travel.
   Include a standard that restricts mechanized travel to a designated system, an objective that all
   trails will have trail management objectives and are included in corporate data bases, a
   management approach that travel planning (to be done immediately after the land management
   plan is revised) will include designation of motorized and mechanized systems, an objective to
   close and obliterate un-designated routes within three years of finalizing the travel management
   plan, and a management approach that the mechanized travel designated system will be
   displayed on a map made readily available to the public.

   Include a more robust complement of plan components that will contribute to achieving the
   desired ROS settings over the life of the plan.

   ROS settings should reflect roadless values, with the large majority of IRAs ranked moderate to
   high-UT zoned for primitive or semi-primitive non-motorized uses. This may require a revised or
   supplemental DEIS. See 40 C.F.R. § 1502.9(a) & (c).

   The DEIS should discuss the recreational niche, and evaluate how well each alternative adheres
   to the niche statement. The final plan should include a desired condition statement that reflects
   managing to the niche such as: “Recreational activities, settings, and experiences are consistent
   with the recreational niche.”

   The DEIS should analyze and disclose impacts on wildlife from recreation and develop
   appropriate plan components. In doing so, the RGNF should incorporate Colorado Parks and
   Wildlife information.


   XIV. AN ADDITIONAL RIVER SEGMENT NEEDS TO BE ANALYZED FOR
   ELIGIBILITY UNDER THE WILD AND SCENIC RIVERS ACT

   We believe changed conditions make it appropriate to re-evaluate Wild and Scenic River
   eligibility for the upper Rio Grande, from its headwaters at Stony Pass to Rio Grande Reservoir.
   The plan revision DEIS did not undertake an updated eligibility determination of this segment
   and instead relied upon the 1996 plan eligibility baseline for the forest. However, it is not clear
   from the 1996 plan why this remote, generally pristine headwaters segment of the forest’s
   namesake river was determined not eligible as a Wild and Scenic River. We believe that updated
   CNHP inventories from the early 2000s provide justification for changed conditions to
   encourage a fresh look at eligibility.

   This 15-mile segment of the Rio Grande has an extraordinary wetland ecosystem characterized
   by expansive beaver ponds in a textbook glacial valley in the most remote section of the national
   forest. Colorado Natural Heritage Program has identified two Potential Conservation Areas



                                                   168

                                                                        Rvsd Plan - 00005240
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 149 of 475




   (PCAs) on this segment of the Rio Grande, and a portion also passes through the Weminuche
   Wilderness.

   The Rio Grande at Pole Creek Mountain is a B3 high biodiversity site according to CNHP
   ranking. This PCA is recognized for its montane riparian willow carr community and extends
   along a 2-mile length of the Rio Grande. It is a wide, open glaciated valley with beaver ponds.
   CNHP notes, “Upper reaches of the site characterized by a willow carr are dominated by a
   consistent, dense tall shrub layer of Geyer's willow (Salix geyeriana) and park willow (Salix
   monticola) concentrated around large, open deep-water beaver ponds.” Nied and Jones, 2008. In
   2008, CNHP documented improvements to the site condition, “The site appears to be recovering
   from past grazing with more native species cover and less trampling and livestock use than the
   last survey in 1995.” Ibid.

   Another 2-mile segment of the Rio Grande is located within the Pole Creek PCA, also a B3 high
   biodiversity site. The mapped site is based on field inventories from 2002 and a 2008 survey of
   critical wetlands and riparian corridors in Hinsdale County. Lyon and Culver. 2002. See also
   Neid and Jones, 2008. According to CNHP, the site is drawn for good (B-ranked) occurrences of
   two globally vulnerable (G3/S3) riparian plant communities, Booth's willow (Salix boothii) /
   mesic forbs shrubland and Wolf's willow (Salix wolfii) / mesic forbs shrubland.

   The uppermost 4 miles of this segment is within the Weminuche Wilderness, starting at Stony
   Pass. There are no private lands along the entire 15-mile segment from Stony Pass to just above
   Rio Grande Reservoir.

   Outstandingly remarkable values along the segment include wildlife, scenery, recreation,
   geology, and botanic/vegetative communities. The area likely receives use by lynx. It may
   provide denning habitat, and help foster movement between the RGNF and the San Juan
   National Forest. See DEIS at 490. The scenic values include a broad, sweeping U-shaped glacial
   valley with abundant beaver ponds and beaver lodges. The volcanic cliffs of Pole Creek
   Mountain provide a further scenic backdrop to the river corridor. Recreation values include a
   remarkable sense of isolation, emphasized by the fact this is the most remote location on the Rio
   Grande National Forest, as noted at DEIS p. 490. Scenic driving, dispersed camping, and fishing
   are all recreational activities enhanced by the setting of the valley. The geologic values include
   the textbook glacially scoured valley, which creates the conditions for abundant beaver ponds
   and a robust wetland system. The river corridor includes the northern topographic wall of the Ute
   Creek caldera and excellent exposures of the Ute Ridge Tuff. Colorado Natural Heritage
   Program has well documented the significant biodiversity value inherent in four miles of the
   segment mapped within sites of high biodiversity value primarily for outstanding condition of
   the montane riparian plant communities.



                                                  169

                                                                       Rvsd Plan - 00005241
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 150 of 475




   We strongly encourage re-evaluation of the upper Rio Grande’s eligibility under as a Wild and
   Scenic River, and suggest that it easily qualifies as a scenic or recreational river segment.


   XV. SOCIO-ECONOMIC ISSUES

   The following is our response to DEIS 270-290:


   The Rio Grande is considered to be one of the most remote forests in the southern Rockies and
   the deferred maintenance backlog has been impacting the Forest since the budgets starting
   declining in 1996. This situation is creating its own set of challenges that the Planning team has
   to contend with moving forward.

   The good news is, the RGNF has always been considered a place for remote adventure, solitude,
   scenic corridors and backways. Further inaccessibility to some remote areas may be a worthy
   attribute in some cases and might be looked at as a planning opportunity or tool, instead of an
   obstacle.

   There is still plenty of access to the Forest, with its 156 developed recreational sites and over
   3,000 miles of roads and trails. That said, it is understood that safety, access to fire mitigation,
   downed timber, and the ability to travel to existing infrastructure continue to be of major
   concern.

   These comments are not intended to minimize the responsibilities that the Forest Service faces,
   but to accept the current and expected budget limitations, and to maximize (people) management
   effectiveness by focusing efforts on the areas where populations are more likely to concentrate.

   The contribution of volunteer hours for the Rio Grande is impressive, 45,740 hours. We will
   most likely see these volunteer hours grow over the next decade. Management of volunteers and
   citizen monitoring will become a very important tool for the RGNF, so steps need to be taken
   through the planning process to prepare for this investment of citizenry, which will include
   setting up some kind of training infrastructure.


           The following responses are editing considerations in the draft Plan:
   For starters, the Contents table does not include the italicized titles under listed sections (making
   it hard to retrieve some important content)

   For example ---270-273 — Under Sustainable Recreation Opportunities “Overview” is listed, but
   the titles underneath it are not.

   1. “Recreation Opportunity Spectrum” is an important concept but you can’t find it in the
   Contents table.



                                                     170

                                                                           Rvsd Plan - 00005242
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 151 of 475




   2. We understand that the Contents table is long, but to better clarify, it needs to include the
   following:

   Sustainable Recreation Opportunities, Access, Use, Settings
    Overview
      Sustainable Recreation
      Recreation Opportunities Spectrum
      Application of the Opportunities Spectrum
    Affected Environment, Existing Conditions, and Trends

   333 — Area ofInfluence (re_ferred to in tables as “Social and Economic Area ofInfluence ”)
   This is the broader 16-county area. We understand having to use it because that is the area
   reported on in the National Visitor Use Monitoring program. This may be the only way to get
   visitation data. That’s fine, but it makes the analysis more confusing and not sure how useful it
   actually is because the broader area may not reflect the actual impact to the RGNF.

   San Luis Valley counties are included in the “secondary area of influence”. We are not sure
   how connected the SLV counties are to the larger 16-county geography. Also, Hinsdale County
   is added on to the SLV mix, but Hinsdale more likely relates to the Gunnison area.

   347 — Table 92. Forest value that is important to the American public:
   There is no mention that the forest is an important carbon sink to offset global warming.
   Ecosystem Services is not being given its just due here.

   349 — Table 98. Factors of economic sustainability in the Forest’s area of influence:
   Rio Grande County is categorized as “Nonspecialized” under the Economic Dependence
   Typology. But it may reflect more “farm dependence.”

   351-352 — The concepts of “Creative Class Employment”, Measure of Productivity”, and
   “Economic Diversity” are interesting ways to analyze the forest influence, but aren’t they more
   for urban areas?

   355 — Figure 21. Should be in color

   358-359, Under Multiple Uses and Ecosystem Services, concept of “Final Ecosystem Goods and
   Services”. It appears that the Forest Service is trying to say the “Final Ecosystem Goods and
   Services” are only important for “people who obtain benefits from nature”, but the fact that these
   basic ecosystems are essential to maintaining the presence of the forest itself, and all the benefits
   thereon, is overlooked.

   As the reader plunges further into the document, it is clear that wherever the authors had a
   chance to put ecosystems on par in forest management with other factors, they failed to do so.

   361 — Saleable Minerals — Should also include gravel for road construction and not just stones
   for rock collectors.



                                                    171

                                                                          Rvsd Plan - 00005243
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 152 of 475




   372 — “San Juan County used the majority of its water for aquaculture” — can this be true?

   374 (and previous pages) — There is nothing about birding as a bonafide recreational activity.

   375-376 — Forest Service Presence in the Community
   Estimates seem too small, and so much more could be added. It is questionable if everything that
   should have been counted has been counted. This very important summary information should
   be given more prominence in the document. It is not clear if these estimates relate only to the 5-
   county SLV area of influence. Also, the forest contribution as the origin of water supply to the
   region for agriculture and everything else has not been given its just due.

   377 — It is not clear what the “Key ecosystem services” are.

   Discussion of plan alternatives can get confusing, but thanks for trying. It would be ideal if the
   Forest Service would just come out and say Alternative D is best for ecosystem management and
   sustainability to keep the forest intact.

   384 — County-Level Summaries
   Seeing this analysis county-by-county is the best way to “ground-truth” the massive amount of
   examination given in the document. But it appears these county profiles are viewed through the
   eyes of the typology constructs, which is a strange sort of view to base analysis on.

   384-385 --- Alamosa County
   “The Direct Basic percentage may be the lowest among the 7-county area of influence”, but the
   absolute amount of direct may represent a very large share of all the direct in the 7-county area.

   387-388 --- Conejos County
   The context that Conejos County is “more diverse” does not make sense, in relation to the other
   SLV counties. Is this a mistake? Also, why are tourism predictions so pessimistic in this and
   other counties?

   Overall, this section had a lot of very good, useful information. We applaud the authors for
   trying to examine the economy and forest influence from multiple data sources, but in doing so,
   it appears to be confusing, probably to most readers, and no clear conclusions can be reached.
   The challenge appears to be in tying this information and creating a conclusive summary. For
   example, we know what the Forest budget is, but we do not have a clear understanding of how
   much the Forest gives back, which is significant.

   It would be great to be able to tie this together, because the RGNF does so much for the region
   and the headwaters of the Rio Grande. It would be great to be able to say, for every dollar spent
   by the tax payer, the multiplier effect brings in another $xx.00 to the region.


   XVI. ADDITIONAL CONCERNS



                                                   172

                                                                        Rvsd Plan - 00005244
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 153 of 475




   The DEIS section on Congressionally designated trails (id. at 288-290) does not disclose much
   of the impacts of the alternatives on the corridors for the Continental Divide National Scenic
   Trail and the Old Spanish National Historic Trail. Management such as salvage logging could
   adversely affect the CDNST corridor.

   DEIS p. 7 states that people in Custer County rely on the RGNF for recreation activities,
   firewood gathering, etc. However, Custer County is on the far side of the Sangre de Cristo
   mountain range. It is thus unlikely that many people from there get to the RGNF for firewood
   gathering, and only occasionally do they come to the RGNF for recreational activities.

   There are no totals of the columns in DEIS Table 14, p. 46.

   In Table, p. 40, it is not clear if prescribed fire is allowed in MA 1.1a, or if off-road game
   retrieval is allowed in MA 4.21.

   ON DEIS 106, a discussion of fire suppression states that when factors are not properly aligned,
   “fires are not typically not successfully suppressed.” We assume that to convey the proper
   meaning here, one of the “not”s should be deleted.

   On DEIS p. 234, what is meant by the following, which appears in a discussion of small game
   hunting: “Some bird species may only be hunted with hawks and falcons”?

   On DEIS p, 260, the definitions for scenery that is “moderately altered” or “heavily altered” both
   read “A viewshed where no more than 20 percent of the area is visually modified” in the
   footnote to Table 63. If this is the case, then there is no difference between moderately and
   heavily altered. The proper definitions, whatever they are, should be described here.

   In the DEIS section describing proposed special interest areas, no acreage figure is given for the
   proposed Cumbres and Toltec National Historic Landmark SIA. See id. at 313. There is also no
   acreage given for this area in DEIS Table 28 at 84.

   DEIS suitability Tables 7 for alternative B (DEIS at 40), indicates that communication sites are
   not allowed in seven MAs: Wilderness, recommended wilderness, wild/scenic/recreational river
   segments, RNAs, SIAs, and the two roadless MAs. (The same for alternative D, which also
   would not allow them in MA 3.3. Id. at 42.)

   We agree with and support this determination. The construction, presence, and general desired
   access (likely requiring a road in each case) to use and maintain communication sites would
   significantly detract from the predominantly natural characteristics and settings in these seven
   MAs. Although the development of all communication sites is subject to project level review, we


                                                    173

                                                                          Rvsd Plan - 00005245
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 154 of 475




   support the determination to prohibit communication site development in these seven areas. In
   fact, this should be a plan component, with a forest-wide standard prohibiting communication
   sites in these areas, or with such a standard in each of the MAs.

   We believe these areas should remain unsuitable to communication site development, even if the
   Forest re-evaluates the suitability of its lands to support these sites in the future. (The intent to do
   the latter is stated at DEIS p. 13.)



   CONCLUSION

   Numerous changes are needed in the plan and EIS, as described above. For example,
   management direction must be much stronger, with more standards. Lands suitable for timber
   production and the long-term sustained yield quantity of timber must be recalculated, using
   proper data and realistic assumptions. Additional areas should be recommended for wilderness
   designation and designated as special areas in the proposed action.

   A comprehensive analysis of the possible impacts of climate change on management, and how
   management would interact with climate change impacts is needed. The analysis of lands
   potentially capable and suitable for livestock grazing must be corrected. The DEIS must display
   and analyze the effects on lands where oil and gas leasing could occur that would no longer be
   subject to NSO stipulations.

   The Plan must have stronger direction to protect lynx and the connectivity of this species’
   habitat.




                                                EXHIBITS

   1. Switalski, Adam, 2016. Snowmobile Best Management Practices for Forest Service Travel
   Planning: A Comprehensive Literature Review and Recommendations for Management -
   Introduction to Snowmobile Management and Policy. Journal of Conservation Planning Vol 12,
   pages 1 - 7.

    2. Switalski, Adam and Alison Jones,2012. Ojf-road vehicle best management practices for
   forestlands: A review of scientific literature and guidance for managers. Journal of Conservation
    Planning. Vol 8, pages 12 - 24.
   3. Ecosystem Representation Analysis Methods and Results. Submitted by The Wilderness
   Society in Oct. 28, 2016 scoping letter and reattached here.


                                                     174

                                                                           Rvsd Plan - 00005246
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 155 of 475




   4. NSO MA acres analysis

   5. Map of current MA 3.3 areas lost to less protective MAs

   6. Unauthorized Motorized use in Gunnison Sage Grouse Habitat - photo map

   7. Memo from Chris French & Robert Harper to Regional Foresters Re “Clarification on
   Conservation Watersheds in Land Management Plans” (Sept. 30, 2016)

   8. Achieving Compliance with the Executive Order “Minimization Criteria” for Off-Road
   Vehicle Use on Federal Public Lands: Background, Case Studies, and Recommendations.

   9. Switalski, Adam. 2016. Snowmobile Best Management Practices for Forest Service Travel
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   10. Winter Wildlands Alliance. 2015. Winter Recreation on National Forest Lands: A
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    11. House Bill 1298 Species Impact Assessment.




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                                                 175

                                                                    Rvsd Plan - 00005247
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 156 of 475




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   Wilderness Preservation System within the Contiguous United States. Journal of Forestry 114:1­
   9.

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                                                 186

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                                                  188

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                                        APPENDIX 1
                                   SNAGS AND DOWN WOOD

   Snags and down wood were identified as key ecosystem characteristics in the assessment for
   evaluating ecological integrity. The document used in Appendix A (Plan at 153) to set snag and
   downed wood targets is over 25 years old. While some species information published around that
   time, and even before, is still relevant, much research conducted after 1992 has provided new
   information about species’ habitat requirements and characteristics. Compare the proposed plan
   recommendations with snag and down wood targets for forest-dependent at-risk species. For
   example, we find the desired conditions that outline snag metrics for spruce-fir associated
   species must be modified to better protect snag and downed wood requirements for wildlife.

   The snag recommendations in DC-VEG-1 aren’t sufficient to provide for the habitat needs of,
   for example, the American marten and boreal owl—both potential SCC. As stated above, there is

                                                 189

                                                                     Rvsd Plan - 00005261
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 170 of 475




   a need to clarify the definition of “planning unit” as applied to this DC; it must apply to the
   appropriate scale, i.e., the project scale.

   A portion of Table 5 (Plan at 37): Recommended snags and downed wood for wildlife habitat and
   ecosystem processes (Spruce-fir)
                                                                           Snags                                     Downed Wood1
                                            Minimum                Minimum/Acre
             Forest Type                                                                       Minimum height
                                           diameter at            in Planning Unit                                     Tons/Acre
                                          breast height                                             (feet)

               Spruce-fir                       212                          6                           25              10-15
     2   At least 50 percent of the required snag numbers should represent the largest size classes available


   We are especially concerned about snag desired conditions in relation to boreal owl and
   American marten needs; they do not square with BASI synthesized in the RGNF’s wildlife
   overviews (RGNF undated, Martes americana; RGNF undated, Aegolius funereus) and
   additional BASI related to the marten (Hargis et al. 1999; Powell et al. 2003; Buskirk and
   Ruggiero 1994; Buskirk and Zielinski 1997; Ruggiero et al. 1998) and owl (Ryder et al. 1987;
   Hayward et al. 1987, 1993; Hayward 1994; Herren et al. 1996).

   Boreal owls are subalpine secondary cavity nesters and the largest cavity nesting species in the
   Southern Rockies (Hayward 2008). They need large snags and trees for nesting: a minimum of 9
   snags per acre at 13 inches in diameter at breast height (dbh). To enable retention of sufficient
   snags for boreal owl nesting, projects cannot manage to the minimum. The average snag size is
   25 inches dbh, and some snags must be retained at much larger diameters than 12 inches (the
   recommendation in DC-VEG-1). The American marten requires snags greater than 16 inches
   dbh.

   American martens are depended on snags and down wood. They need at least 9 snags per acre at
   >16 inches dbh and at minimum 47 logs per acre at >16 inches in diameter (see scientific
   references above).

          DC-VEG-9: When salvaging timberfollowing wildfire, retain tall snags for snag-associated
          species and snag location in the riparian management zone. (Forestwide)

   This DC is written as a standard. As written, it doesn’t meet the planning rule requirements for a
   DC or standard. This should be a standard, because it provides a constraint on protect activities.
   We state more about this below.

          DC-SCC-5: Large log (generally greater than 18” diameter) components contribute to the
          downed woody material remaining in the post-treatment environment. Log decks and slash
          piles provide supplementary habitatfeatures for marten and other forest species. (General
          Forest Geographic Area)

   Down wood related to species’ habitat characteristics tends to be measured by metrics including
   stem and log density and stem and log size vs. by weight. Table 12 on page 38 of the Terrestrial
   Ecosystems Assessment provides a down wood metric by density. We appreciate the inclusion of

                                                                             190

                                                                                                                Rvsd Plan - 00005262
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 171 of 475




   a DC that helps capture some of the understory requirements of at-risk species, e.g., the
   American marten and also Canada lynx. Including a density target to this DC is necessary to
   better assure that the plan contributes to viability and recovery of at-risk species.

      MA-VEG-10: In areas suitable for timber production, dead or dying trees (due to fire,
      insects, disease) are salvaged to recover the economic value of the wood while providing for
      ecosystem function, including but not limited to retention of downed woody material, habitat,
      and snags as well as public safety. (General Forest Geographic Area)

   To achieve DCs (with the modifications we recommend), a standard or standards and guidelines
   must be developed to put constraints on vegetation management activities that impact snag and
   downed wood retention. This is necessary to meet requirements for at-risk species. A
   management approach is not adequate to achieve this.

   The following is an example of a standard from the Flathead National Forest’s Revised Draft
   Plan of May 2016 (at 45-46) that lays out parameters for snag retention. Though we do not
   necessarily endorse the substance of the standard, it demonstrates how a standard can be written
   to provide clearer direction to project planners and evaluative criteria for monitoring
   achievement toward the associated DC.

          In the absence of a site-specific analysis that supports an alternative prescription for
          snags or decadent live trees, timber harvest areas shall retain at least the minimum
          number of snags and/or decadent live trees displayed in table 16. The intent is to provide
          sufficient habitat both short and long term, well distributed across the landscape, for
          wildlife species associated with snags and decadent live trees, particularly those that are
          larger and longer lasting (refer to appendix C). All western larch, ponderosa pine, and
          black cottonwood snags greater than 20 inches shall be left. If present, decadent live trees
          greater than 20 inches d.b.h., especially those with evidence of wildlife use, may be used
          as a substitute for 20 inch d.b.h. snags, to achieve minimum levels in table 16. Exceptions
          to this snag retention standard may occur, for example in areas where the minimum
          number or snags or decadent live trees are not present prior to management activities;
          where there are issues of human safety (i.e., developed recreation sites); and in areas
          within 200 feet of a road that is open to firewood cutters. Refer to appendix C for
          guidance on implementing this snag retention guideline.

          Table 16. Snag levels to retain (where they exist) in timber harvest areas
           Biophysical setting                                Minimum number of snags per acre
                                                   Greater than or equal to             Greater than or equal
                                                       15 inches d.b.h.ab                to 20 inches d.b.h. c
           Warm-Dry                         3                                        1.4
           Warm-Moist                       8                                        2
           Cool-Moist/Mod. Dry              5                                        2
           Cold                             3                                        1
           a. This minimum number includes snags greater than or equal to 20 inches d.b.h.
           b. If snags greater than 15 inches are not available, then snags greater than 12 inches should be retained.
           c. If snags greater than 20 inches are not available, then additional snags or decadent live replacement trees greater than 20 inches
           d.b.h. should be left if available.




                                                                      191

                                                                                                      Rvsd Plan - 00005263
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 172 of 475




   Below is a corresponding guideline example from the Flathead National Forest’s draft plan (at
   48). Again, we do not necessarily endorse the guideline, but it illustrates a guideline that is
   linked to a specific DC and describes the intent of the guideline and constraint.

          In the absence of a site-specific analysis that supports an alternative prescription for
          downed wood retention, retain a minimum of approximately 10 tons per acre of down
          woody material greater than 3 inches in diameter within timber harvest units, where
          available. The maximum amount of total downed woody material should generally not
          exceed 35 tons per acre. Retained material should consist of the longest and largest
          available, and where possible, consist of intact pieces of a variety of species, sizes and
          stages of decay, including cull tops and cull logs. The intent is to contribute to forest
          structural diversity and provide forest components that are important to many wildlife
          species. Exceptions may occur, for example when there is insufficient material of suitable
          size prior to harvest, within developed recreation sites, or where fuel reduction is desired
          to decrease expected fire behavior (e.g., within wildland-urban interface).

   We urge the RGNF to revised its plan components related to retaining sufficient snag and down
   wood components in forested ecosystem based on key characteristics needed by at-risk species.

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                                                  192

                                                                       Rvsd Plan - 00005264
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 173 of 475




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                                                  193

                                                                       Rvsd Plan - 00005265
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 174 of 475



    From:           Rocky Smith
    To:             FS-RGNF forest plan
    Subject:        Updated coments from Rocky Smith
    Date:           Saturday, December 23, 2017 9:14:21 AM
    Attachments:    RGNF draft plan final comm II 12-23-17.docx



    Dear RGNF,

    Attached is an updated version of the group comments I submitted on Dec. 22. I inadvertently
    omitted part of section XIV, concerning wild and scenic river eligibility. The version attached
    here has the full version of this section.

    The remainder of the comments is the same, and the cover letter, exhibits, and forthcoming
    references are all part of this updated version.

    I apologize for the error. Please acknowledge ASAP receipt of this e-mail and attachment via a
    reply to this e-mail.

    Thanks,
    Rocky Smith
    303 839-5900




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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 175 of 475




     COMMENTS ON THE DRAFT REVISED PLAN AND DRAFT ENVIRONMENTAL
        IMPACT STATEMENT FOR THE RIO GRANDE NATIONAL FOREST


                              TABLE OF CONTENTS

   I. INTRODUCTION 3

   II. RECOMMEND ADDITIONAL AREAS FOR WILDERNESS DESIGNATION 3

   III. PROPOSED SPECIAL INTEREST AREAS AND RESEARCH NATURAL AREAS 27

   IV. ENSURE PROTECTION OF COLORADO ROADLESS AREAS 50

   V. PROTECT SPECIES OF CONSERVATION CONCERN AND OTHER AT-RISK SPECIES
   53

   VI. THE PROPOSED MANAGEMENT DIRECTION IN THE DRAFT REVISED PLAN IS
   UNACCEPTABLY WEAK 92

   VII. THE TIMBER SUITABILITY AND SALE QUANTITY ANALYSES NEED
   CORRECTION 116

   VIII. SUITABILITY FOR OIL AND GAS LEASING SHOULD BE DETERMINED FOR ALL
   ALTERNATIVES, AND LEASE STIPULATIONS MUST BE STATED FOR
   MANAGEMENT AREAS WHERE LEASING WOULD BE ALLOWED          123

   IX. PROBLEMS WITH THE ANALYSIS OF LIVESTOCK GRAZING       127

   X. MONITORING 129

   XI. THE PLAN AND DEIS MUST COMPREHENSIVELY ANALYZE THE POTENTIAL
   EFFECTS OF CLIMATE CHANGE AND PROVIDE PLAN COMPONENTS FOR
   MITIGATING THESE EFFECTS. 130

   XII. PROHIBIT OFF-ROAD MOTORIZED GAME RETRIEVAL 143

   XIII. THE PLAN MUST PROVIDE FOR SUSTAINABLE RECREATION 148




                                        1

                                                       Rvsd Plan - 00005267
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 176 of 475




   XIV. AN ADDITIONAL RIVER SEGMENT NEEDS TO BE ANALYZED FOR
   ELIGIBILITY UNDER THE WILD AND SCENIC RIVERS ACT 168

   XV. SOCIO-ECONOMIC ISSUES 173

   XVI. ADDITIONAL CONCERNS     176

   CONCLUSION 177

   LIST OF EXHIBITS 178

   REFERENCES 179

   APPENDIX 1 SNAGS AND DOWN WOOD 190




                                        2

                                                       Rvsd Plan - 00005268
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 177 of 475




   I. INTRODUCTION

   We are pleased to see the following in the draft revised Plan and DEIS:

    - -inclusion of alternative D, which is similar to the alternative we submitted as part of our
   scoping comments;
    - -the proposed addition of a standard to the Southern Rockies Lynx Amendment,
   acknowledging that lynx are still using stands with substantial spruce mortality; and
    - -the recommendation of some areas for wilderness designation.

   However, there are many weaknesses in the plan that will need substantial correction before
   finalization. Overall, the plan provides very weak, and in some cases non-existent, direction for
   protection of important resources and on limitation of activities that could adversely affect these
   resources. The proposed Plan is much weaker than the existing plan in this regard. Considerable
   changes must be made to strengthen the draft plan.

   There are also problems with the determination of lands suitable for timber production and the
   accompanying calculation of long-term sustained yield of timber, and with the analysis of
   rangeland suitability for livestock grazing.

   More areas should be recommended for wilderness and special interest area designations, as
   applicable.


   II. RECOMMEND ADDITIONAL AREAS FOR WILDERNESS DESIGNATION

   The opportunity to inventory and evaluate wilderness-quality lands is an integral component of
   the forest planning process and presents a rare opportunity to provide administrative protection
   to some of the most spectacular and ecologically important undeveloped lands on our national
   forests. These areas provide our drinking water; habitat for imperiled wildlife; physical, mental,
   and spiritual renewal for millions of Americans; and a buffer to the impacts of climate change.
   That is, wilderness areas are a crucial management strategy for assuring that the planning rule’s
   goal of ecological sustainability and its requirements for diversity and ecosystem integrity are
   achieved.
   Alternative B recommends 59,000 acres for wilderness.1 The proposed areas are well-conceived
   recommendations in that they would provide protection for ecosystems that are currently under­
   represented in the wilderness system on the forest and federally. However, there are many more
   areas on the Rio Grande National Forest that deserve to be recommended for wilderness on the
   forest because of their outstanding scenery, recreation, ecosystem services, and ecological

   1 The DEIS has a discrepancy in the acres recommended for wilderness. On page 29, the DEIS says Alternative B
   recommends 59,000 acres while page 303 says that Alternative B recommends 52,860 acres.

                                                          3

                                                                                Rvsd Plan - 00005269
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 178 of 475




   values. Alternative D, in contrast to Alternative B, recommends 284,870 acres for wilderness
   (about 29% of lands in the final wilderness inventory), including many of the most deserving
   areas. The areas recommended for wilderness in Alternative D contribute significantly to
   landscape scale connectivity of wildlands, protection of under-represented ecosystems,
   conservation of at-risk species’ habitat, and opportunities for non-motorized backcountry
   recreation. We described these values at length in our submissions during scoping.2 For these
   reasons, the Record of Decision for the final plan should adopt the wilderness recommendations
   in Alternative D.
       A. BACKGROUND AND REGULATORY FRAMEWORK

   The 2012 Planning Rule requires forests undergoing a plan revision to “[i]dentify and evaluate
   lands that may be suitable for inclusion in the National Wilderness Preservation System [NWPS]
   and determine whether to recommend any such lands for wilderness designation.” 36 C.F.R. §
   219.7(c)(2)(v). Chapter 70 of the Forest Service Land Management Planning Handbook (FSH)
   1909.12 prescribes a four-step process for doing so: (1) inventory all lands that may be suitable
   for inclusion in the NWPS based on their size, roadless nature, and lack of improvements that are
   substantially noticeable in the area as a whole; (2) evaluate the wilderness characteristics of each
   inventoried area pursuant to the criteria in the Wilderness Act of 1964; (3) analyze a range of
   alternatives for recommended wilderness in the plan EIS; and (4) decide which areas or portions
   of areas to recommend for inclusion in the National Wilderness Preservation System (NWPS).
   Chapter 70 requires opportunities for public participation “early and during each step of the
   process.” FSH 1909.12, ch. 70, § 70.61.
   Given the myriad ecological and social benefits of wilderness and other highly protected lands,
   the wilderness recommendation process is a key component of satisfying the substantive
   requirements of the 2012 planning rule. The overarching purpose of the rule is to provide for the
   development of plans that:
           will guide management of [National Forest System] lands so that they are
           ecologically sustainable and contribute to social and economic sustainability;
           consist of ecosystems and watersheds with ecological integrity and diverse plant
           and animal communities; and have the capacity to provide people and
           communities with ecosystem services and multiple uses that provide a range of
           social, economic, and ecological benefits for the present and into the future.
   36 C.F.R. § 219.1(c). To accomplish these ecological integrity and sustainability goals, the rule
   imposes substantive mandates to establish plan components - including standards and guidelines
   - that maintain or restore healthy aquatic and terrestrial ecosystems, watersheds, and riparian
   areas; air, water, and soil quality; and the diversity of plant and animal communities, ecosystems,
   and habitat types. Id. §§ 219.8(a)(1)-(3), 219.9. Plans also must provide for sustainable
   recreation. Id. §§ 219.8(b)(2), 219.10(b)(1)(i). The Forest Service must use the best available
   scientific information to comply with these substantive mandates, id. § 219.3, and include in the
   decision document “[a]n explanation of how the plan components meet [those] requirements, id.
   § 219.14(a)(2).

   2 The Wilderness Society submitted a scoping letter dated October 28, 2016. A number of other signatories to this
   letter submitted a joint scoping letter with the same date.

                                                            4

                                                                                   Rvsd Plan - 00005270
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 179 of 475




   For areas recommended for wilderness designations, plans must include plan components,
   including standards and guidelines, “to protect and maintain the ecological and social
   characteristics that provide the basis for their suitability for wilderness designation.” 36 C.F.R. §
   219.10(b)(1)(iv). “Any area recommended for wilderness or wilderness study designation is not
   available for any use or activity that may reduce the wilderness potential of an area.” Forest
   Service Manual 1923.03(3).


      B. THE DEIS FAILS TO ANALYZE A REASONABLE RANGE OF ALTERNATIVES.

   The analysis of alternatives under NEPA is the “heart” of an EIS. 40 C.F.R. § 1502.14. An
   agency must “[r]igorously explore and objectively evaluate all reasonable alternatives” to a
   proposed action. Id. § 1502.14(a); see also 42 U.S.C. § 4332(2)(E) (agencies must “study,
   develop and describe appropriate alternatives to recommended courses of action in any proposal
   which involves unresolved conflicts concerning alternative uses of available resources”).
   Consistent with NEPA’s basic policy objective to protect the environment, this includes more
   environmentally protective alternatives. 40 C.F.R. § 1500.2(e) (agencies must “[u]se the NEPA
   process to identify and assess reasonable alternatives to proposed actions that will avoid or
   minimize adverse effects of these actions upon the quality of the human environment”); see also,
   e.g., Kootenai Tribe ofIdaho v. Veneman, 313 F.3d 1094, 1121-22 (9th Cir. 2002) (citing cases),
   abrogated on other grounds by The Wilderness Soc ’y v. U.S. Forest Serv., 630 F.3d 1173, 1178­
   80 (9th Cir. 2011) (en banc). “The existence of a viable but unexamined alternative renders an
   [EIS] inadequate.” Mont. Wilderness Ass’n v. Connell, 725 F.3d 988, 1004 (9th Cir. 2013)
   (quotations and citation omitted). The “touchstone” of the inquiry is “whether an EIS’s selection
   and discussion of alternatives fosters informed decision-making and informed public
   participation.” Id. at 1005 (quotations and citation omitted).
   The alternatives as crafted include a range for recommended wilderness from 0 acres
   (Alternatives A and C) to 284,870 (Alternative D). Alternative B recommends 59,000 acres. The
   draft wilderness evaluation included as a link in Appendix A of the DEIS lists the polygons with
   wilderness character. Summarizing the rankings, there are 973,137 acres listed in the potential
   wilderness inventory and evaluation; 580,144 acres have moderate to high-upper tier (UT)
   rankings, while 385,356 acres have mod-high to high UT rankings. Or said another way, over
   half of the potential wilderness acres have moderate to high degree of wilderness character. See
   Table 1.

   Table 1. Summary of wilderness quality rankings of areas with wilderness character on the
   Rio Grande National Forest.
   Rankings       # of polygons        Total acres     Fraction of evaluated acres
   High Upper
   Tier                             6      121,293                                 0.12
   High                            15       88,602                                 0.09
   Moderate-High                   10      175,461                                 0.18
   Moderate                        14      194,788                                 0.20
   Low-Moderate                     8       70,761                                 0.07
   Low                             44      322,232                                 0.33


                                                     5

                                                                          Rvsd Plan - 00005271
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 180 of 475




   The Wilderness Society in its scoping comments requested that at least one alternative analyze
   recommending all or almost all of the inventoried & evaluated areas, and at least one other
   alternative analyze the areas recommended in the conservation proposal submitted by The
   Wilderness Society and other organizations3:
            “The RGNF in the Draft EIS, therefore, should include a broad range of wilderness
            recommendations across the alternatives with one or more alternatives, including the
            preferred alternative, recommending all or almost all of the qualifying areas for
            wilderness. Analyzing a broad range will enable a robust analysis of the trade-offs and
            impacts associated with recommending most (if not all) of the inventoried areas.4 In
            addition to analyzing at least one alternative that recommends all or nearly all qualifying
            wilderness inventory areas for wilderness, the RGNF should also analyze at least one
            alternative that includes all the areas recommended by The Wilderness Society in this
            letter. Both of these suggested alternatives are reasonable and will foster informed public
            participation and decision-making.”
   Alternative D generally reflects the conservation proposal recommendations and is the upper
   bookmark of the range of alternative considered in the DEIS. Alternative D recommends
   284,870 acres for wilderness. This is 29% of the inventoried acres, and 49% of the evaluated
   acres with rankings from moderate to high-UT. This makes the range for recommended
   wilderness provided in all the alternatives from 0% to 29%, if we assume that all the polygons in
   the wilderness evaluation have wilderness character. If we assume that areas ranked as low in
   the evaluation do not have wilderness character, the range for recommended wilderness would be
   from 0% to 49%, which still is far from adequate. See Table 2.5

   Table 2. Summary of recommended wilderness by alternative in the DEIS for the Rio
   Grande National Forest.
   Alternative in Draft EIS      Acres Recommended               Recommended                   Recommended
                                 Wilderness6                     Wilderness Acres as a         Wilderness Acres as
                                                                 Percent of all Lands in       a Percent of Lands
                                                                 the Wilderness                Ranked as
                                                                 Evaluation7                   Moderate to High-
                                                                                               UT in the


   3 See scoping comments submitted on October 28, 2016 by The Wilderness Society at 13-14.
   4 See, e.g., Council on Environmental Quality, NEPA S Forty Most Asked Questions, 46 Fed. Reg. 18,026 (Mar. 23,
    1981) (“When there are potentially a very large number of alternatives, only a reasonable number of examples,
   covering the full spectrum of alternatives, must be analyzed and compared in the EIS. An appropriate series of
   alternatives might include dedicating 0, 10, 30, 50, 70, 90, or 100 percent of the Forest to wilderness.”).This
   approach conforms with the 9‘h Circuit Court of Appeals decision in California v. Block, 690 F.2d 753, 765, 768-69
   (9th Cir. 1982) (despite considering an alternative that allocated 100% of inventoried roadless areas to wilderness,
   “it was unreasonable for the Forest Service to overlook the obvious alternative of allocating more than a third of the
   RARE II acreage to a Wilderness designation”).
   5 Appendix A of the DEIS at 481 states that “For the most part all numbered polygons that were ranked as moderate-
   high, high, or high-upper tier are considered in this analysis.” It does not explain why the floor for analysis was set
   at moderate-high.
   6 From page 304 of the DEIS
   7 Appendix A references the draft wilderness evaluation that found a total of 937,137 acres with wilderness
   character. Each qualifying polygon was ranked for the overall degree of wilderness character from low to high-upper
   tier.

                                                             6

                                                                                     Rvsd Plan - 00005272
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 181 of 475




                                                                                 Wilderness
                                                                                 Evaluation
   A                        0                           0%                       0%
   B                        52,860                      5%                       9%
   C                        0                           0%                       0%
   D                         284,870                       29%                   49%



   The range of alternatives does not satisfy NEPA because the upper end of the range and
   intermediate alternatives are still missing. Compare California v. Block, 690 F.2d 753, 765, 768­
   69 (9th Cir. 1982) (despite considering an alternative that allocated 100% of inventoried roadless
   areas to wilderness, “it was unreasonable for the Forest Service to overlook the obvious
   alternative of allocating more than a third of the RARE II acreage to a Wilderness designation”),
   with Mont. Wilderness Ass ^n, 725 F.3d at 1004-05 (range of alternatives that included opening
   between 0 and 10 of 10 existing airstrips, with three intermediate options, was reasonable).
   Similar to the situation in Cali^fornia v. Block - where the Ninth Circuit invalidated an EIS that
   “uncritically assume[d] that a substantial portion of the [roadless] areas should be developed and
   consider[ed] only those alternatives with that end result,” 690 F.2d at 767 - the Rio Grande DEIS
   assumes that less than one-half of the inventoried areas should not be protected as recommended
   wilderness and considers only those alternatives with that end result.
   We request that you rectify this deficiency by supplementing the DEIS with alternatives that fill
   in the upper end of the range. Logical options are to include an alternative that analyzes all or
   almost all of the qualifying acres, and another alternative that analyzes all the acres ranked high
   to moderate. This would ensure an adequate range of alternatives and a robust analysis of the
   trade-offs and impacts associated with recommending most (if not all) of the inventoried areas.


       C. THE DEIS DOES NOT ADEQUATELY ANALYZE OR ACCOUNT FOR THE
          ECOLOGICAL EFFECTS OF RECOMMENDED WILDERNESS.

       1. Ecological benefits of unroaded natural lands.

   Undeveloped natural lands provide numerous ecological benefits. They safeguard biodiversity,
   enhance ecosystem representation in protected areas (Dietz et al. 2015); facilitate connectivity
   (Loucks et al. 2003; USDA Forest Service 2001; Crist et al. 2005; Wilcove 1990; The
   Wilderness Society 2004; Strittholt and DellaSala 2001; DeVelice and Martin 2001; Belote et al.
   2016); and provide high-quality or undisturbed water, soil, and air resources (Anderson et al.
   2012; DellaSala et al. 2011). They also serve as ecological baselines to facilitate better
   understanding of our impacts to other landscapes and as reference areas for ecological restoration
   (Arcese and Sinclair 1997).
   Forest Service roadless lands, in particular, are heralded for their conservation values. Those
   values are described at length in the preamble of the Roadless Area Conservation Rule (RACR),
   66 Fed. Reg. 3244, 3245-47 (Jan. 12, 2001), and in the Final Environmental Impact Statement



                                                    7

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 182 of 475




   (FEIS) for the RACR.8 They include: high-quality or undisturbed soil, water, and air; sources of
   public drinking water; diverse plant and animal communities; habitat for threatened, endangered,
   proposed, candidate, and sensitive species and for those species dependent on large, undisturbed
   areas of land; primitive, semi-primitive non-motorized, and semi-primitive motorized classes of
   dispersed recreation; reference landscapes; natural appearing landscapes with high scenic
   quality; traditional cultural properties and sacred sites; and other locally identified unique
   characteristics (e.g., uncommon geological formations, unique wetland complexes, exceptional
   hunting and fishing opportunities).

   Numerous articles in the scientific literature similarly recognize the contribution of roadless and
   undeveloped lands to biodiversity, connectivity, and conservation reserve networks. For
   example, Loucks et al. (2003) examined the potential contributions of roadless areas to the
   conservation of biodiversity, and found that more than 25% of Inventoried Roadless Areas
   (IRAs) are located in globally or regionally outstanding ecoregions9 and that 77% of IRAs have
   the potential to conserve threatened, endangered, or imperiled species. Arcese and Sinclair
   (1997) and Aycrigg et al. (2015) highlighted the contribution that IRAs could make toward
   building a representative network of conservation reserves in the United States, finding that
   protecting those areas would expand ecosystem representation, increase the area of reserves at
   lower elevations, and increase the number of large, relatively undisturbed refugia for species.
   Crist et al. (2005) looked at the ecological value of roadless lands in the Northern Rockies and
   found that protection of national forest roadless areas, when added to existing federal
   conservation lands in the study area, would: (1) increase the representation of virtually all land
   cover types on conservation lands at both the regional and ecosystem scales, some by more than
   100%; (2) help protect rare, species-rich, and often-declining vegetation communities; and (3)
   connect conservation units to create bigger and more cohesive habitat “patches.”

   Roadless lands are also responsible for higher quality water and watersheds. Anderson et al.
   (2012) assessed the relationship of watershed condition and land management status, and found a
   strong spatial association between watershed health and protective designations. DellaSala et al.
   (2011) found that undeveloped and roadless watersheds are important for supplying downstream
   users with high-quality drinking water, and that developing those watersheds comes at
   significant costs associated with declining water quality and availability. The authors recommend

   8 Final Environmental Impact Statement, Vol. 1, 3-3 to 3-7, available at
   http://www.fs.usda.gov/roaddocument/roadless/2001roadlessrule/finalruledocuments .
   9 Loucks et al. utilized an ecosystem ranking system developed by Ricketts et al. (1999):

           Ricketts et al. (1999) classified the biological importance of each ecoregion based on species
           distribution, i.e., richness and endemism, rare ecological or evolutionary phenomena such as large-
           scale migrations or extraordinary adaptive radiations, and global rarity of habitat type, e.g.,
           Mediterranean-climate scrub habitats. They used species distribution data for seven taxonomic
           groups: birds, mammals, butterflies, amphibians, reptiles, land snails, and vascular plants (Ricketts
           et al. 1999). Each category was divided into four rankings: globally outstanding, high, medium,
           and low. The rankings for each of the four categories were combined to assign an overall
           biological ranking to each ecoregion. Ecoregions whose biodiversity features were equaled or
           surpassed in only a few areas around the world were termed "globally outstanding." To earn this
           ranking, an ecoregion had to be designated "globally outstanding" for at least one category. The
           second-highest category, or continentally important ecoregions, were termed "regionally
           outstanding," followed by "bioregionally outstanding" and "nationally important" (Ricketts et al.
           1999).

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                                                                                    Rvsd Plan - 00005274
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 183 of 475




   a light-touch ecological footprint to sustain healthy watersheds and the many other values that
   derive from roadless areas.

   The U.S. Forest Service, National Park Service, and U.S. Fish and Wildlife Service recognize
   that protecting and connecting undeveloped areas is an important strategy to enhance climate
   change adaptation. For example, the Forest Service National Roadmap for Responding to
   Climate Change establishes that increasing connectivity and reducing fragmentation are short-
   and long-term actions the agency should take to facilitate adaptation to climate change (USDA
   Forest Service 2011). The National Park Service also identifies connectivity as a key factor for
   climate change adaptation, along with establishing “blocks of natural landscape large enough to
   be resilient to large-scale disturbances and long-term changes.” The agency states that “[t]he
   success of adaptation strategies will be enhanced by taking a broad approach that identifies
   connections and barriers across the landscape. Networks of protected areas within a larger mixed
   landscape can provide the highest level of resilience to climate change.”10 Similarly, the Climate
   Adaptation Strategy adopted by a partnership of governmental agencies including the U.S. Fish
   and Wildlife Service calls for creating an ecologically connected network of conservation areas
   (National Fish, Wildlife and Plants Climate Adaptation Partnership 2012).11 The 2012 planning
   rule’s substantive ecological sustainability provision sanctions this reserve design and landscape
   connectivity approach, requiring the Forest Service to formulate “plan components, including
   standards and guidelines, to maintain or restore [the] structure, function, composition, and
   connectivity” of terrestrial and aquatic ecosystems and watersheds, taking into account stressors
   such as climate change. 36 C.F.R. § 219.8(a)(1).

   The designated areas chapter of the Rio Grande’s forest assessment report does a very good job
   cataloguing the ecological - as well as social and economic - benefits associated with wilderness
   and roadless area protection.12 The assessment recognizes that “[i]ncreasing the size of current
   designated wilderness areas is . . . an important option that can help support biological diversity
   and protect habitat for rare and endangered plant and animal species.”

   10 National Park Service, Climate Change Adaptation webpage,
   http://www.nps.gov/subjects/climatechange/adaptation.htm (last visited Sept. 8, 2015). See also USDOI National
   Park Service (2010) (Objective 6.3 of agency’s Climate Change Response Strategy is to “[c]ollaborate to develop
   cross-jurisdictional conservation plans to protect and restore connectivity and other landscape-scale components of
   resilience”).
   11 Relevant goals and strategies include:
       Goal 1: Conserve habitat to support healthy fish, wildlife, and plant populations and ecosystem functions in a
       changing climate.
           Strategy 1.1: Identify areas for an ecologically-connected network of terrestrial, freshwater, coastal, and
           marine conservation areas that are likely to be resilient to climate change and to support a broad range of -
           fish, wildlife, and plants under changed conditions.
           Strategy 1.2: Secure appropriate conservation status on [high priority areas] to complete an ecologically-
           connected network of public and private conservation areas that will be resilient to climate change and
           support a broad range of species under changed conditions.
           Strategy 1.4: Conserve, restore, and as appropriate and practicable, establish new ecological connections
           among conservation areas to facilitate fish, wildlife, and plant migration, range shifts, and other transitions
           caused by climate change.
   12 Rio Grande National Forest, Assessment 15: Designated Areas at 16-26 (March 2016), available at
   http://www.fs.usda.gov/detailfull/riogrande/landmanagement/proj ects/?cid=fseprd479414&width full

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   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 184 of 475




          2. The DEIS Fails to Take a Hard Look at the Effects of Recommending Wilderness to
        Various Resources.

        The DEIS does not adequately analyze the effects of the wilderness recommendation on various
        resources under each alternative. The section on recommended wilderness (DEIS starting at 302)
        discusses the impacts on the wilderness recommendations under each alternative from various
        management activities (e.g., road management, timber activities, grazing), but does not analyze
        the effects of the wilderness recommendations under each alternative on resource values such as
        ecosystem integrity, rare communities, watershed and aquatic resources, invasive species, non­
        forested ecosystems, or at-risk species.

        The ecological benefits of choosing Alternative D over Alternative B for recommended
        wilderness are likely to be highly significant - particularly given that 71% of the non­
        recommended wilderness inventory lands in Alternative B will be available for potentially
        damaging activities including timbering, off-road vehicle riding, and mineral & energy
        development. See Table 3. The failure to meaningfully analyze those impacts is a violation of
        NEPA, which requires the Forest Service to take a “hard look” at the environmental
        consequences of a proposed action, including its direct, indirect, and cumulative effects.
        Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 348 (1989); 42 U.S.C. §
        4332(2)(C); 40 C.F.R. §§ 1502.16, 1508.7, 1508.8. The required hard look encompasses effects
        that are “ecological (such as the effects on natural resources and on the components, structures,
        and functioning of affected ecosystems), aesthetic, historic, cultural, economic, social, or health,
        whether direct, indirect, or cumulative.” 40 C.F.R. § 1508.8.

        Table 3. The approximate allocation of wilderness quality lands under each alternative.
                                                                  Wilderness
                                            Wilderness                              Wilderness
                                                                Inventory Acres                       Wilderness Inventory
                       Acres             Inventory Acres                          Inventory Acres
                                                                  Allocated to                         Acres Allocated to
    Alternative    Recommended         Allocated to General                         Allocated to
                                                                    Special                           Primitive Wilderness
                   for Wilderness         Forest Matrix                              Roadless
                                                                  Designations                          Geographic Area
                                        Geographic Area                           Geographic Area
                                                                Geographic Area
        A                  0                   n/a                     n/a              n/a                    n/a
         B              53,300               396,000                  56,500          467,000                 52,800
         C                 0                 423,000                  56,500          493,000                    0
         D             285,000               328,000                  153,000         211,000                281,000

        In Table 4, we describe how the DEIS analyzes the effects on various resources from
        recommended wilderness allocations and other designations under each alternative. As you can
        see, the analysis for certain resources is weak to non-existent. The identified deficiencies should
        be corrected in the final EIS.

Table 4. Summary of the effects analysis of recommended wilderness allocations and other conservation
designations by alternative on various resources in the DEIS. Deficiencies in the analysis are identified.
Resource      Description of Effects        DEIS       Deficiencies                     Relevant Citations
Value         from Designations             Pages
Rare
communities
and special

                                                                10

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   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 185 of 475




habitats
  Potential    •   Describes the overlap     100­    •   Does not disclose or describe      See the conservation proposal
  Conserva­        of PCA with proposed      101,        the PCAs that remain               submitted by The Wilderness Society in
  tion Areas       special interest areas    81-86       unprotected under each             Appendices E and G in The Wilderness
  (PCA)                                                  alternative as a result of         Society’s scoping letter dated October
                                                         varying wilderness and special     28, 2016. Each narrative provides
                                                         area designations, and the         information on overlapping PCAs, along
                                                         related consequences. Does         with the ranking and rationale for the
                                                         not describe the species and       PCA.
                                                         habitats that are protected by
                                                         the various PCAs or the
                                                         aggregate ecological value to
                                                         rare habitats resulting from the
                                                         protection of PCAs through
                                                         designations under each
                                                         alternative.
   Fens and    •   States that Alt. D        101     •   Does not describe or disclose      Page 1 of the assessment report
   Wetlands        would be most                         where the high value wetlands      entitled Rio Grande National Forest -
                   protective of fens and                are and which would remain         Assessments 1 and 3 Aquatic and
                   wetlands and Alt. C                   unprotected under each             Riparian Ecosystem Integrity, Systems
                   would be the least.                   alternative as a result of         Drivers and Stressors cites information
                                                         varying wilderness and special     sources related to wetlands and fens on
                                                         area designations, and the         the forest:
                                                         related consequences.              • Rio Grande National Forest Riparian
                                                                                            Inventory Project - USDA Forest Service
                                                                                            Washington Office (Abood 2015)
                                                                                            • Assessment of Wetland Condition on
                                                                                            the Rio Grande National Forest
                                                                                            (Colorado Natural Heritage Program)
                                                                                            • Ecological Driver Classification and
                                                                                            Analysis for Aquatic Systems - R2
                                                                                            Regional Office (Winters 2016)
                                                                                            • Smith, G. J. Lemly, P. Smith, and B.
                                                                                            Kuhn. 2016. Fen Mapping for the Rio
                                                                                            Grande National Forest.
                                                                                            Colorado Natural Heritage Program,
                                                                                            Colorado State University, Fort Collins,
                                                                                            Colorado.
                                                                                            • Rio Grande National Forest
                                                                                            Monitoring Report Summary 1997-2012

   Low         •   States that there are     101­    •   Does not describe or disclose      See above
   elevation       977 acres of low          102         where the 977 acres of low
   riparian        elevation riparian                    elevation riparian areas are,
   areas           areas on the forest                   and which would remain
                   and Alt. D and Alt. B                 unprotected under each
                   are generally more                    alternative as a result of
                   protective of them.                   varying wilderness and special
                   States that livestock                 area designations, and the
                   grazing is an impact,                 related consequences.
                   and grazing will be the           •   Does not disclose or discuss
                   same under all                        the fact that roads, motorized


                                                              11

                                                                                      Rvsd Plan - 00005277
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 186 of 475




                     alternatives.                         use, and more generally
                                                           dispersed recreation are
                                                           common stressors to low
                                                           elevation riparian areas, and
                                                           does not discuss how these
                                                           uses and resulting impacts will
                                                           vary by alternative.
   Alpine        •   Identifies that there      102­   •   The scientific literature         See Exhibits 3 and 4 containing relevant
   Fell Fields       are 53,024 acres of        103        contains discussions of the       peer-reviewed articles addressing
                     alpine fell fields in                 impacts of dispersed              summer and winter off-road vehicle
                     wilderness, and that                  recreation on alpine systems.     impacts and management.
                     Alt. D affords this                   The DEIS is deficient for not
                     system the most                       incorporating this science.
                     protection, and Alt. C            •   The DEIS (103) is inaccurate in
                     the least. Cites various              that forest visitors cannot
                     stressors including                   participate in motorized
                     dispersed recreation,                 activities anywhere on the
                     stating “Forest visitors              forest, and where they can go
                     can participate in                    will vary by alternative (e.g.,
                     motorized or                          acres of recommended
                     nonmotorized                          wilderness; suitability of
                     activities anywhere on                motorized recreation, ROS
                     Forest lands, which                   settings).
                     makes it difficult to             •   The DEIS is deficient for not
                     assess recreation                     showing where the alpine fell
                     impacts.”                             habitat is located, which acres
                                                           would be protected by
                                                           recommended wilderness and
                                                           other proposed designations,
                                                           and the resulting relative
                                                           impacts under each
                                                           alternative.
Non-forested     •   States that just under     134­   •   Does not describe or disclose     See RGNF Terrestrial Assessment 1 & 3,
ecosystems           30% of the forest is       135        non-forested ecosystems’          p. 3, Figure 1.
                     covered by non­                       ecological values or the
                     forested ecosystems.                  location and percent of each      See RGNF Wildlife Overviews (Brewer’s
                                                           ecosystem that would remain       Sparrow, Gunnison’s Prairie Dog)
                                                           unprotected under each            https://www.fs.usda.gov/detail/riogran
                                                           alternative as a result of        de/landmanagement/projects/?cid=fse
                                                           varying wilderness and special    prd534370
                                                           area designations, and the
                                                           related impacts. (With the        See Seglund, S.E. and P.M. Schnurr.
                                                           exception of the Poncha Pass      2010. Colorado Gunnison’s and White­
                                                           area as sagebrush habitat for     tailed Prairie Dog Conservation
                                                           Gunnison sage-grouse DEIS 220     Strategy. CO Division of Wildlife.
                                                           & 222)                            Denver, CO, 218 pp.



Aquatic and      •   States that                143­   •   Fails to disclose or describe     See Exhibit_2 containing relevant peer-
Terrestrial          alternatives A, B, and     145        how specific invasive species     reviewed articles addressing summer
Nonnative            C that allow more                     (or generally how the category    off-road vehicle impacts and
Invasive             road building and                     of invasive species) would fare   management. (“In addition to trampling


                                                                12

                                                                                        Rvsd Plan - 00005278
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 187 of 475




Species/Noxi        timber harvest would                 under each alternative as a          effects, ORVs are a major vector for
ous Weeds           increase terrestrial                 result of recommended                non-native invasive plant species.)
                    invasive species on                  wilderness and other
                    the forest.                          designations. Areas with             Also see Gelbard, J. L. and J. Belnap.
                •   States that the fate of              protective management that           2003. Roads as conduits for exotic plant
                    aquatic invasive                     disallow off-road vehicle use        invasions in a semiarid landscape.
                    species would be the                 have ecosystems of higher            Conservation Biology 17:420-432.
                    same under all                       integrity in part because            Available
                    alternatives because                 invasive species do not spread       at http://onlinelibrary.wiley.com/doi/10
                    the forest uses best                 as readily from motorized            .1046/1.1523-
                    management                           vehicles.                            1739.2003.01408.x/abstract
                    practices for                    •   Fails to disclose or describe the
                    preventing aquatic                   terrestrial invasive species of      Wyoming State Wildlife Action Plan,
                    invasive species                     specific concern and where           Conservation Threats, Chapter 2 (“[The
                    transport through fire­              they are occurring.                  fact that invasive species colonize
                    fighting equipment.                                                       disturbed places] contributes to
                                                                                              invasive species being a principal
                                                                                              component of, or compounding, other
                                                                                              negative effects associated with habitat
                                                                                              impacts such as rural subdivision,
                                                                                              energy development, disruption of
                                                                                              natural disturbance regimes,
                                                                                              overgrazing, and off-road vehicle use.”)
                                                                                              Available at
                                                                                              https://drive.google.com/drive/folders/
                                                                                              0B1iN5AyJdrYPa2JMMih6Q2RseVE
Watersheds      •   States that alternative   173­   •   While the analysis provides a        • Watershed Condition Framework
and Riparian,       D followed by B are       191        good overview, it is missing a            ratings for RGNF watersheds.
Wetlands,           the most protective of               few crucial pieces of                • RGNF Assessment Reports 1 and 3,
and Fens            these resources                      information. The EIS is deficient         and other Forest Service data on
                    because they limit the               because it does not discuss and           the location and quality of
                    activities that are                  disclose:                                 watershed, riparian, and wetland
                    most harmful.                             o That impacts                       resources.
                •   States that the mining                         associated with mining
                    legacy in the area has                         activities will be less
                    left watersheds and                            under Alternative D
                    water quality                                  because 285,000 of
                    diminished.                                    recommended
                                                                   wilderness will be
                                                                   withdrawn from
                                                                   mineral entry;
                                                              o The location of the
                                                                   categorized
                                                                   watersheds in
                                                                   relationship to
                                                                   proposed designated
                                                                   areas under each
                                                                   alternative, and the
                                                                   effect of the
                                                                   designations on Class
                                                                   1 watersheds (e.g., will
                                                                   likely keep them in


                                                              13

                                                                                        Rvsd Plan - 00005279
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 188 of 475




                                                                        Class 1) and Class 2
                                                                        watersheds (e.g.,
                                                                        might focus
                                                                        management
                                                                        attention on moving
                                                                        the watersheds from
                                                                        class 2 to 1);
                                                                   o The location of fens,
                                                                        wetlands, and riparian
                                                                        areas in relationship
                                                                        to proposed
                                                                        designated areas, and
                                                                        the effect of the
                                                                        designations under
                                                                        each alternative on
                                                                        these resources.
Ecosystem       The DEIS does not discuss                 The DEIS needs to address the            Dietz, M.S., R.T. Belote, G.H. Aplet, &
Represen­       the concept of ecosystem                  concept of ecosystem                     J.L. Aycrigg. 2015. The world’s largest
tation          representation in the                     representation, including how            wilderness protection network after 50
                analysis, except for                      ecosystem representation differs         years: An assessment of ecosystem
                mentions in Appendix A                    under each alternative. Appendices       representation in the U.S. National
                when describing potential                 E and G of The Wilderness Society’s      Wilderness Preservation System.
                recommended wilderness                    scoping letter dated October 28,         Biological Conservation, 184: 431-438.
                areas. Ecosystem                          2016 provided information on how         Available at
                representation is a metric                the areas that conservationists          http://www.sciencedirect.com/science/
                of ecosystem integrity. It                proposed for designation (and            article/pii/S0006320715000944
                refers to the proportion of               reflected in Alternative D) would
                an ecosystem that is                      increase ecosystem representation.
                contained within                          The Wilderness Society in its
                protective designations                   scoping letter at 14 requested that
                and therefore managed                     the DEIS include this analysis.13
                primarily for its natural
                attributes. Conservation
                biologists agree that the
                continued viability of
                naturally occurring
                habitats depends on
                having a certain
                percentage of each
                ecosystem in protection.
At risk         • The DEIS states               217,      The DEIS must quantify how much          Rio Grande National Forest FSVeg GIS
species              designations would         222,      potential at-risk species habitat        data layer.
                     benefit lynx "overall,"    253       would be protected by designations
                     variation between                    for each alternative for each at-risk    RGNF Assessment 5: reference for
                     alternatives would                   species.                                 statement, "Biologists have identified
                     have little/no impact                                                         approximately 1,762 acres of suitable
                     but D would be the                                                            and 947 acres of potential willow

          13 Excerpted from the Wilderness Society’s scoping letter: “In the Draft EIS, the RGNF should analyze how the
          alternatives representing a broad range of wilderness recommendations contributes to ecological and aquatic
          integrity and the diversity of plant and animal species. Indicators of these outcomes include, but are not limited to,
          representation of under-represented ecosystems, protection of areas with high biodiversity, and protection of areas
          important to connectivity.”

                                                                     14

                                                                                              Rvsd Plan - 00005280
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 189 of 475




                       most beneficial.                                                       flycatcher habitat” (p. 25); data for
                  •   For Gunnison sage­                                                      Mexican spotted owl modeled habitat
                       grouse, the DEIS                                                       map (p. 24)
                       determines
                       alternatives B, C, and                                                 See RGNF Wildlife Overviews (data for
                       D have the same                                                        habitat maps)
                       impact.                                                                https://www.fs.usda.gov/detail/riogran
                  • The DEIS states                                                           de/landmanagement/projects/?cid=fse
                       “designations would                                                    prd534370
                       be generally
                       protective” of SCC but
                       may limit invasive
                       species and fuel
                       objectives; overall a
                       positive impact, with
                       D being highest.
Climate           The DEIS does not discuss            The DEIS needs to address how          Appendix F of The Wilderness Society’s
change            or disclose how the                  conservation designations,             Scoping Letter (Pages 13-14 in the
                  wilderness                           including wilderness                   section entitled Benefits of Roadless
                  recommendations and                  recommendations, under each            Areas and Roadless Area Networks to
                  other conservation                   alternative, will impact the RGNF’s    Climate Change Adaptation) provides
                  designations under each              capacity to adjust to a rapidly        an in-depth description of the values of
                  alternative would impact             changing climate as predicted with     unroaded and undeveloped lands.
                  the RGNF’s capacity to               climate models for the region. The
                  adapt to climate change.             Wilderness Society in its scoping
                                                       letter at 14 requested that the DEIS
                                                       include this analysis.14



              D. DEIS APPENDIX A - WILDERNESS ANALYSIS PROCESS

                      1. General comments

          While the narratives of recommended wilderness areas provide much useful information, we
          noted the following deficiencies.

              o       The proposed wilderness area narratives in Appendix A do not consistently delve into the
                      specifics of expanding ecosystem representation within wilderness on either the RGNF or
                      nationally. Ecosystem representation refers to the representation of ecosystems in
                      protected areas, and is a well-accepted metric of ecological sustainability. See Appendix
                      B of The Wilderness Society’s scoping letter dated October 28, 2017, and reattached to
                      this letter as Exhibit 3. Some unit analyses mention in passing that ecosystem
                      representation could be enhanced, while for others there is discussion of specific
                      ecosystems, but the analyses do not evaluate their uncommonness, or how substantial a



          14 Excerpted from the Wilderness Society’s scoping letter: “[The DEIS] should also evaluate how well each
          alternative prepares the RGNF to adapt to a rapidly changing climate by, for instance, providing for a connected
          network of wild lands in which species can move without major impediments to and through a variety of ecosystems
          (including aquatic).”

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 190 of 475




           contribution the unit would make if designated to enhancing representation. See
           Appendices B and E of The Wilderness Society’s scoping letter dated October 28, 2017.

       o   The narratives never discuss landscape connectivity or how any particular area fits into a
           larger landscape context. Contributions to lynx linkage areas is not addressed, and the
           overall picture of landscape conservation is not addressed as a value associated with
           wilderness designation. Along with ecosystem representation, these are important
           supplemental values that should be documented in the area descriptions.15

   The narratives do appropriately generally describe solitude and primitive recreation opportunities
   that contribute to the overall outstanding nature of wilderness resources present. They also
   appropriately incorporate discussion of supplemental ecological values such as native cutthroat
   trout, Colorado Natural Heritage Program Potential Conservation Areas, and T&E species
   habitat.

   While deficiencies in the narratives and analysis clearly exist, we thank the RGNG for giving the
   wilderness recommendations submitted in our conservation proposal careful scrutiny in the
   DEIS.

            2. Specific Comments on areas recommended for wilderness only in Alternative D

                i.       Antora Meadows/Bear Creek

   The description in the DEIS is complete and offers a compelling rationale for recommending the
   area for wilderness designation.

   The narrative appropriately notes the ecological and social characteristics that enhance the area’s
   wilderness quality and potential, including the presence of pure Rio Grande cutthroat trout in
   East Middle Creek, habitat for lynx and Mexican spotted owl, and the diversity of forest
   ecosystems. The analysis highlights the lack of recreation conflicts with wilderness designation,
   noting the existence of more than 20 miles of non-motorized trails that are closed to mechanized
   use as well. The area is managed for backcountry primitive recreation presently. There are
   outstanding opportunities for solitude owing to the topography, elevational range, and compact
   configuration of the area.

   The narrative does not include specific consideration of the area’s contribution to enhancing
   ecosystem representation with the National Wilderness Preservation System either within the Rio
   Grande NF or at a national scale. By protecting this area, the Rio Grande NF could substantially
   increase the ecological representation within its wilderness areas of Rocky Mountain Lodgepole
   Pine Forest, Rocky Mountain Aspen Forest and Woodland, and Southern Rocky Mountain
   Montane-Subalpine Grassland. Specifically, Antora Meadows by itself contributes over 10,000
   acres of lodgepole pine forest and would bring acreage of lodgepole within wilderness on the
   forest well above 20%. It also includes about 6,500 acres of aspen forest and woodland, which
   would be half of the additional acreage needed to reach 20% representation.

   15 The Forest Service is required to evaluate and document supplemental values as part of the wilderness evaluation
   process. See FSH 1909.12, chapter 72.1 (4).

                                                            16

                                                                                    Rvsd Plan - 00005282
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 191 of 475




              ii.     Elkhorn Peak

   The narrative describes the ample outstanding opportunities for solitude and primitive and
   unconfined recreation. There is mention that ecosystems are present that are under-represented
   within wilderness on the forest, but it does not specifically identify which ecosystems and how
   much they would contribute. By protecting this area, the Rio Grande NF can substantially
   increase the ecological representation within its wilderness areas of Southern Rocky Mountain
   Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland, Rocky
   Mountain Lodgepole Pine Forest, and Rocky Mountain Aspen Forest and Woodland. Wilderness
   designation of Elkhorn would specifically increase lodgepole pine forest by 3,700 acres, or about
   one-half the 20% target, and would increase aspen forest and woodland by 3,600 acres, or about
   one-fourth the 20% target. It also incorporates 1,600 acres of montane-subalpine grassland and
   about 900 acres of ponderosa pine woodland, both more modest contributions.

   The narrative concludes that Elkhorn Peak retains “a feeling of seclusion and remoteness can be
   experienced as well as a high degree of self-reliance, challenge and risk.” Combined with the
   opportunity to significantly enhance ecosystem representation on the forest, a recommendation
   for wilderness designation would be a very appropriate management choice.

              iii.    North Fork Rock Creek

   The narrative describes accurately the wilderness character of the unit, the outstanding
   opportunities for solitude, and the primitive non-motorized recreation opportunities present. It
   also notes that designation would increase ecological representation for Southern Rocky
   Mountain Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland,
   Rocky Mountain Pinyon-Juniper Woodland, and Southern Rocky Mountain Mesic Montane
   Mixed-Conifer Forest and Woodland.

              iv.     Pole Creek Mountain - Sheep Mountain

   The analysis unit in the DEIS is the entire Pole Mountain-Finger Mountain roadless area,
   significantly larger than our recommended unit centered on Sheep Mountain. The analysis
   mentions there are 28 miles of motorized trails that would require closure under a wilderness
   recommendation, but this ignores the reality of our proposal that would necessitate no closures of
   motorized trails. Given the acknowledgment that this area is perhaps the most remote location on
   the entire national forest, the analysis would benefit from honing in on the smaller unit we
   recommended that is free of motorized trail conflicts.

   The narrative details the many outstanding ecological values of the proposed wilderness,
   including habitat for T&E species including lynx and Uncompahgre fritillary butterfly. It
   mentions the area contains one of the only known occurrences in the world of stonecrop gilia. It
   also highlights the area’s value for lynx movement across the core of the San Juan Mountains.
   Recommending this area for wilderness would help achieve the RGNF’s requirement under the
   2012 planning rule to provide for ecological integrity and species diversity. The narrative overall
   captures the outstanding wilderness character of the area, its vast expanses contributing to

                                                   17

                                                                        Rvsd Plan - 00005283
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 192 of 475




   outstanding sense of solitude, and the extraordinary primitive recreation opportunities present in
   this remote alpine and subalpine environment.

              v.      Saguache Creek-Four Mile Creek-Taylor Canyon

   The narrative aptly describes the outstanding wilderness character of this potential wilderness. It
   literally gushes about the area’s inherent wilderness values:

          “This premier destination for trout fishing is a popular recreational activity. Fly
          fishermen avidly cast the seven-mile length of Saguache Creek for brown and rainbow
          trout using flies and lures only. Hikers and backpackers enjoy the stream corridor as well,
          relishing the rugged grandeur of the 1,500-foot deep canyon. Hikers can find complete
          isolation trekking into the lower reaches of Fourmile Creek and Luders Creek amidst lush
          riparian zones surrounded by stately ponderosa pines along infrequently maintained
          trails.”

   The narrative is somewhat lacking, however, in its discussion of the tremendous contribution to
   expanding ecosystem representation within the wilderness on the forest and nationally. The
   analysis briefly mentions the ponderosa pine forests and grasslands that occur within the area,
   but does not do justice to the significance of these ecosystem types. The proposed Saguache
   Creek wilderness includes the largest expanses of grassland and ponderosa pine forest available
   for addition to the National Wilderness Preservation System among all of the available candidate
   areas on the RGNF. These two ecosystem types are critically under-represented among existing
   wilderness both regionally within the Southern Rockies and at the national level, with less than
   5% representation. Wilderness designation would add over 11,000 acres of Southern Rocky
   Mountain Montane-Subalpine Grassland to wilderness, fully one-third of what is needed to reach
   20% representation. It would also increase representation of Southern Rocky Mountain
   Ponderosa Pine Woodland by over 5,500 acres which amounts to about one-half the acreage
   needed to reach 20% representation The narrative should be supplemented to highlight this
   unique ecological benefit of wilderness designation of the area.

              vi.     Sawlog

   The narrative appropriately describes the wilderness character and ecological features of the
   area. It notes the specific under-represented ecosystem types that would be enhanced through
   wilderness designation.

              vii.    Snowshoe Mountain

   The narrative appropriately describes the wilderness character and highlights ecological and
   geologic features of the area. It notes the specific under-represented ecosystem types that would
   be enhanced through wilderness designation.

              viii.   Wannamaker Creek - Deep Creek addition to La Garita Wilderness




                                                    18

                                                                        Rvsd Plan - 00005284
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 193 of 475




   The narrative highlights the area’s wilderness values, and notes that adding to the adjacent
   wilderness would enhance the ecological effectiveness of the existing La Garita Wilderness by
   increasing the size of the Wilderness.

                   ix.   Wason Park addition to La Garita Wilderness

   The narrative describes the area’s outstanding opportunities for solitude and primitive recreation,
   and notes its designation would contribute to expanding under-represented ecosystem types.

           3. Specific comments on recommended wilderness areas in Alternative B

              i.         Beartown-Indian Ridge addition to Weminuche Wilderness

   The narrative could be improved by highlighting that wilderness designation would enhance the
   experience offered by the Continental Divide National Scenic Trail (CDT) and importantly
   would add a couple of miles of the CDT into the wilderness around Kite Lake and leading up to
   Hunchback Pass. This would place the entirety of the CDT into wilderness from Stony Pass to
   Wolf Creek Pass and further protection of the longest continuous wilderness extent of the CDT
   in the southern Rockies. The section of the CDT through the Beartown-Indian Ridge roadless
   area is currently the only non-wilderness portion for 85 miles.

   The narrative notes that additions to the adjacent wilderness would incorporate important lynx
   habitat into the wilderness, which would benefit long-term habitat conservation for this
   threatened species and frequent inhabitant of wilderness.

             ii.         Cumbres-Elk Creek addition to South San Juan Wilderness

   The narrative could be improved by focusing the description of wilderness character and current
   uses and management on the portion of the area recommended for wilderness designation. The
   narrative mentions evidence of timber harvest and historical mining, but none of that has
   occurred within the area proposed for addition to the wilderness. That distinction should be
   emphasized in the narrative. In contrast, the narrative does note that Chama Basin was removed
   from the analysis area and is managed separately.

   The narrative implies that only after getting away from non-motorized trails can one experience
   remoteness and seclusion. To the contrary, once a visitor is a short distance along the Elk Creek
   Trail, there is a tremendous sense of remoteness and seclusion owing to topographic isolation.
   The stream valley narrows and the trail winds along steep slopes or in the bottom of a deep
   valley. Moreover, this criterion for wilderness is whether the area possesses outstanding
   opportunities for solitude or for a primitive and unconfined type of recreation.16

   The narrative fails to describe the outstanding opportunities for primitive and unconfined
   recreation present in the area. A key attribute is the non-motorized Elk Creek trail that traverses
   the length of the proposed wilderness addition to the wilderness boundary approximately four

   16 See FSH 1909.12, chapter 72.1 (2). (“The word “or” means that an area only has to possess one or the other.”)


                                                            19

                                                                                    Rvsd Plan - 00005285
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 194 of 475




   miles distant from the trailhead. Elk Creek is an easily accessible and popular wilderness access
   point for both hikers and horse users. Many day-hikers and overnight backpackers enjoy
   outstanding opportunities for fishing, photography, and wildlife viewing. Horsepackers share the
   trail and similarly enjoy access to the longest wilderness valley in the South San Juan Wilderness
   Area. The proposed addition provides excellent habitat for elk and mule deer, which in turns
   leads to high-quality backcountry hunting opportunities in the fall.
   The narrative briefly notes that the area would expand ecosystem representation within the South
   San Juan Wilderness. This could be significantly bolstered by noting that the lowermost
   elevations of Elk Creek at less than 9,000 feet include impressive stands of several-hundred ­
   year-old ponderosa pines, many of which display old-growth characteristics. The low-elevation
   ponderosa pine-grassland ecosystem adds substantial diversity to the existing wilderness, and the
   majestic trees offer an appealing contrast to the generally subalpine and alpine character of the
   wilderness.

           iii.      Tobacco Lakes-Gold Creek-Cascade Creek addition to South San Juan
                     Wilderness

   The narrative could be bolstered with more description of the outstanding opportunities for
   primitive and unconfined recreation opportunities. The Adams Fork trail provides outstanding
   opportunities for primitive and unconfined recreation in the form of wilderness-related activities
   such as hiking, backpacking, horsepacking, angling, and backcountry hunting. The addition
   enhances the primitive recreation experience by ensuring protection of the wilderness qualities of
   the landscape that envelops the Three Forks wilderness trailhead. Both trailheads are easily
   accessed from Platoro Reservoir.

   The narrative notably recognizes the significant ecological values present in the proposed
   wilderness addition. These include high value for lynx habitat, and the existence of Rio Grande
   cutthroat trout in the Adams Fork.

           iv.        Sangre de Cristo-Pole Creek-Crestone-Cotton Creek-Hot Springs-Miller
                      Creek-Butterfly additions to the Sangre de Cristo Wilderness

   The narrative of this extensive and diverse wilderness addition should be significantly expanded
   to account for the extraordinary ecological diversity that it would add to the wilderness system,
   the remarkable primitive recreation opportunities present in mountaineering challenges
   associated with three 14ers within the proposed unit, and the uncommon solitude present in the
   many isolated watersheds draining off the west slope of the Sangres.

   In general, the proposed wilderness addition significantly expands wilderness representation of
   many ecosystem types, as is detailed more extensively below. The Sangres addition is the single
   most significant opportunity on the RGNF to expand representation, as ecosystem types along
   the lower slopes of the proposed addition are poorly represented within the forest’s existing
   wilderness areas. Wilderness designation of the Sangres addition would increase ecological
   representation of Southern Rocky Mountain Montane-Subalpine Grassland, Southern Rocky
   Mountain Ponderosa Pine Woodland, Southern Rocky Mountain Pinyon-Juniper Woodland, and
   Rocky Mountain Gambel Oak-Mixed Montane Shrubland, each of which occur in designated

                                                  20

                                                                       Rvsd Plan - 00005286
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 195 of 475




   wilderness at less than 5% on the forest. The analysis does not describe the very significant
   contributions the proposed wilderness additions make to expanding representation of these
   ecosystems.

   The Butterfly Creek and Miller Creek components at the north end of the Sangres are
   particularly valuable wilderness additions for their contribution of Rocky Mountain Gambel
   Oak-Mixed Montane Shrubland to the range of ecological representation within Rio Grande
   National Forest wilderness areas. This is a very poorly represented ecosystem both within the
   Rio Grande as well as nationally. Wilderness designation of these two additions will bring
   representation of this oak savanna ecosystem to over 20% on the forest. The rare oak savanna at
   the lowest elevations of the Butterfly Creek and Miller Creek additions lies within the Sangres
   Alluvial Fan Potential Conservation Area, ranked by the Colorado Natural Heritage Program as
   High Biodiversity Significance. The Sangres Alluvial Fan PCA supports an excellent and large
   occurrence of an unusual association of Gambel's oak (Quercus gambelii) with needle-and-
   thread grass (Hesperostipa comata), the only documented occurrence in the world. In addition,
   the creeks that run through the savanna from the Sangre de Cristo mountains exhibit unusually
   high-quality occurrences of riparian forest dominated by either aspen or oak.

   The Butterfly Creek and Miller Creek addition bring the Sangre de Cristo Wilderness boundary
   to a more logical contour along the range’s lower slopes in the northern San Luis Valley. Large
   undulating alluvial fans characterize the wilderness additions, and a rare oak savanna ecosystem
   occurs across the lower slopes and riparian corridors of the two areas. It also includes sagebrush
   habitat for the only population of Gunnison sage grouse in the San Luis Valley. The addition
   creates a continuous wilderness ecosystem transition from sagebrush, oak and grasslands at the
   foot of the range through aspen and spruce-fir forests to the alpine ecosystems near and at the
   crest of the Sangre de Cristo mountains.

   The Crestone and Cotton Creek addition contains significant ecological values that should be
   incorporated into the analysis. This section of proposed wilderness spans six Potential
   Conservation Areas (PCA) identified by the Colorado Natural Heritage Program. Each of these
   incorporates several miles of drainages that possess uncommon riparian forest and streamside
   ecological communities in excellent condition.
       • Starting at the northernmost end of the addition, Valley View PCA is a site of High
          Biodiversity Significance that includes the slopes and stream bottom of Hot Springs
          Canyon. The site was identified because of the excellent example of bristle cone pine
          distributed throughout the canyon.
       • The Garner Creek PCA supports a dense stand of Douglas-fir with an understory of
          Rocky Mountain maple. Garner Canyon is wider than most of the other gorges draining
          the western flank of the Sangre de Cristo Mountains, and the valley bottom is less steep.
          It is of Moderate Biodiversity Significance.
       • The lower end of the Cotton Creek PCA includes a streamside community that is a very
          diverse collection of aspen, river birch, Rocky Mountain maple, Drummond's willow, and
          Woods rose. A key feature of the Cotton Creek PCA is its unusually healthy and large
          stands of river birch occurring in a high-quality montane riparian forest, along with
          adjacent foothills riparian shrubland. It ranks as a site of High Biodiversity Significance.


                                                   21

                                                                        Rvsd Plan - 00005287
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 196 of 475




      •   The addition includes the lower segment of the Wild Cherry Creek PCA, where a good
          example of a quaking aspen and red-osier dogwood community fills the canyon and ranks
          as Moderate Biodiversity Significance.
      •   The upper portion of Rito Alto Bosque PCA is located within the wilderness addition and
          ranks as High Biodiversity Significance. Extensive stands of aspen/western birch and
          narrow-leaf cottonwood/western birch riparian forests line the riparian corridor that
          extends along the alluvial fan from the mouth of Rito Alto Canyon.
      •   The Dimick Gulch PCA is the highest ranked site within the wilderness addition, and is
          considered of Very High Biodiversity Significance. The entirety of this 1,747-acre
          conservation area is situated within the proposed wilderness addition. The site contains
          very uncommon narrowleaf cottonwood and Rocky Mountain juniper dominated riparian
          areas, and occurs here because of the narrow character of this steep-sided canyon.

   As to be expected with the abundance of lower elevation slopes along the foot of the Sangre de
   Cristo range, the Cotton Creek-Crestone addition would significantly contribute to several
   ecosystem types most under-represented within the Rio Grande’s existing designated wilderness.
   The most substantial increases in ecological representation occur for Southern Rocky Mountain
   Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland, and
   Southern Rocky Mountain Pinyon-Juniper Woodland. Collectively, the addition would add over
   6,000 acres of these poorly represented ecosystem types for which less than 5% of available
   acreage is presently contained within designated wilderness.

   The Kit Carson Peak addition also spans another six Potential Conservation Areas identified by
   the Colorado Natural Heritage Program. These encompass each of the primary drainages that
   flow west off the crest of the Sangres - Willow Creek, Spanish Creek, Cottonwood Creek, and
   Deadman Creek. As with the drainages farther north of Crestone, the biodiversity values are
   associated with healthy riparian corridors.
       • The upper portion of the Willow Creek-Western Sangres PCA in Copper Gulch is located
          within the proposed wilderness addition. The PCA is ranked as High Biodiversity
          Significance, but primarily for a narrowleaf cottonwood-Rocky Mountain juniper
          woodland at the lowest elevations below the proposed wilderness. At the elevation of
          subalpine forest within the potential wilderness unit, the riparian corridor is a mixed
          conifer and deciduous forest and shrubland that includes Douglas-fir, white fir, blue
          spruce, Engelmann spruce, aspen, Rocky Mountain maple, and mountain spray.
       • The Head of Spanish Creek PCA site encompasses the ridge and south-facing open
          slopes above Spanish Creek and below Challenger Point, and is entirely within the
          proposed wilderness. This 110-acre site is ranked as High Biodiversity Significance for a
          globally rare mustard species.
       • The entire length of the Spanish Creek drainage comprises the Spanish Creek PCA, most
          of which is located within the proposed wilderness. This is a site of Very High
          Biodiversity Significance owing to its narrowleaf cottonwood-Rocky Mountain juniper
          montane riparian forest. The upstream watershed is included within the site boundary to
          protect the floodplain and the sources of both surface and groundwater recharge and flow,
          which are responsible for supplying water to the riparian plant community.
       • Cottonwood Creek-Western Sangres is another PCA of Very High Biodiversity
          Significance, also for its globally imperiled narrowleaf cottonwood-Rocky Mountain

                                                 22

                                                                     Rvsd Plan - 00005288
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 197 of 475




          juniper montane riparian forest. In addition, the site includes a Douglas fir-water birch
          community, which is considered globally rare. As with Spanish Creek, the majority of the
          PCA is within the proposed wilderness, and the upstream watershed is included to protect
          water sources.
      •   The central portion of the Deadman Creek-Western Sangres PCA is located within the
          proposed wilderness. Deadman Creek is ranked as Very High Biodiversity Significance
          owing to the state’s exemplary and largest occurrence of narrowleaf cottonwood-Rocky
          Mountain juniper montane riparian forest. The PCA also includes an excellent example
          of aspen-Rocky Mountain maple, a breeding colony of the pale lump-nosed bat and a
          hybridized Rio Grande cutthroat trout population.
      •   Cedar Canyon is another PCA with a quality example of narrowleaf cottonwood-Rocky
          Mountain juniper montane riparian forest. It is also ranked Very High Biodiversity
          Significance. The creek is a clear stream that runs over the alluvial fan at the canyon’s
          mouth.

   The narrative should mention that the Kit Carson Peak addition greatly improves wilderness
   manageability by placing the wilderness boundary on a topographic contour rather than the
   straight-line and 90-degree corner that the current boundary follows as a historic remnant of the
   prior national forest/private land boundary. The Baca Mountain Tract acquisition eliminated this
   artificial boundary and provided the Rio Grande NF with the opportunity to propose a more
   sensible wilderness boundary.

   The narrative appropriately describes in detail the cultural significance of the Blanca Peak
   addition to native tribes. In addition to the cultural significance, the proposed Blanca Peak
   addition enhances the ecological effectiveness of the Sangre de Cristo Wilderness by expanding
   the size of the protected area. It specifically interconnects to the Huerfano River headwaters and
   Lily Lake on Blanca Peak’s northern slope on the adjacent Pike-San Isabel National Forest,
   creating overarching protection for the entirety of the Blanca Peak massif when considered in
   conjunction with the conserved lands on the adjacent Trinchera Ranch to the south. See more
   below under “Blanca Peak Area Recommended Wilderness Addition.

   The proposed Sangres wilderness addition collectively includes a large expanse of diverse
   watersheds. Some receive substantial recreational use, such as the access to Kit Carson Peak, but
   the many other drainages are lightly used, topographically isolated and provide outstanding
   solitude.

   The narrative includes in its description of social characteristics a misleading and inaccurate
   statement that the popular Lake Como road accessing Blanca Peak is within the area. The Lake
   Como jeep road is excluded from the analysis area that is proposed for wilderness, and is
   managed for dispersed recreation in the proposed plan. The Rio Grande National Forest Draft
   Wilderness Evaluation Report (Sept 2016) is specific about this point, noting that NFSR 975
   (Lake Como Road) is outside and adjacent to the proposed wilderness.


      E. MANAGEMENT OF RECOMMENDED WILDERNESS


                                                   23

                                                                        Rvsd Plan - 00005289
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 198 of 475




   We support the management strategy for recommended wilderness areas, and not allowing
   motorized or mechanized uses within these areas. This approach is consistent with the agency’s
   obligation to manage those areas to preserve their suitability for wilderness designation by
   Congress. See 36 C.F.R. § 219.10(b)(1) (plans must “protect and maintain the ecological and
   social characteristics that provide the basis for [a recommended wilderness area’s] suitability for
   wilderness designation”); FSM 1923.03(3) (“Any area recommended for wilderness . . .
   designation is not available for any use or activity that may reduce [its] wilderness potential.”).


     F. BLANCA PEAK AREA RECOMMENDED WILDERNESS ADDITION

   We support the proposal to recommend adding land to the Sangre de Cristo Wilderness west of
   Mt Blanca.

   As proposed in alternative B, the GIS data provided by the RGNF indicates that the end segment
   of the Mt Blanca road #975 would be closed at a point (37°34'13.02"N3 105°31'30.94"W)
   approximately 0.54 miles before its current designated end point at the west shore of Lake
   Como.

   This action would help protect Lake Como and the riparian area around it. It would also help
   protect additional land and forage for Bighorn Sheep in a CPW identified summer concentration
   area.

   Closing this segment of road would further enhance the safety and desired experiences of the
   estimated 1000-3000 individuals who hike on this route and trail 886 to climb Mt. Blanca each
   year. The vast majority of these individuals hike road 975 from points far below and to the
   west. Due to the rough and extreme nature of Forest Road 975, it is possible that foot travel
   exceeds motor vehicle travel on this route.

   This proposal could help prevent the continued unauthorized motorized use that is regularly
   occurring beyond Como Lake. Closing the road at the proposed point would offer the advantage
   of a more defensible and enforceable pinch point than that which currently exists at the lake.

   It would also remove about 460 yards of motorized use that appears to be intruding within the
   existing designated Sangre de Cristo Wilderness area boundary. Segments of this road appear to
   be up to 70 yards inside the designated Wilderness boundary.

   Existing conditions on the ground and use are resulting in unauthorized motor vehicle use within
   a designated Wilderness area. By law, non-emergency motorized use is not permitted in
   designated Wilderness areas.

   We believe that the evidence presented below indicates that the current Conejos Peak District
   MVUM is improperly suggesting and facilitating unauthorized motorized use in a designated
   Wilderness area. It also indicates that the existing route on the ground is located within the

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                                                                        Rvsd Plan - 00005290
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 199 of 475




   designated Wilderness area. Motorized users are violating the Wilderness Act, and causing
   significant negative impacts upon Wilderness characteristics, by driving on the road all the way
   to Como Lake.

   We strongly support the proposal to correct this situation by closing the road before it enters the
   Wilderness Area.

                            Current Sangre de Cristo Wilderness Area




   Road shown in red intruding into Wilderness. All data used is USFS GIS data from RGNF Alt.
   B, USFS GIS Data Clearinghouse, and the MVUM.




   Red wilderness line USGS GIS data overlayed on USGS map




                                                                       25

                                                                            Rvsd Plan - 00005291
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 200 of 475




   Existing road in red with mapped and currently existing and used road on the ground in relation
   to Wilderness Boundary




   Location of the road as depicted on the MVUM, the Wilderness boundary line, and with actual
   route alignment (red) with common public names for features and obstacles/ You can see that
   the depicted (and currently existing and used) road on this map clearly crosses into the existing
   Wilderness area.


      G. SUMMARY OF OUR RECOMMENDATIONS



                                                   26

                                                                        Rvsd Plan - 00005292
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 201 of 475




   The RGNF should adopt the wilderness recommendations in Alternative D in the final plan and
   Record of Decision.

   The final EIS must recognize and analyze the significant ecological benefits associated with
   recommended wilderness and other conservation designations and integrate that information into
   the analysis of alternatives for recommended wilderness and into the analysis of how the plans
   provide for ecological sustainability, ecosystem integrity, species diversity, and climate change
   adaptation.

   The RGNF should supplement the DEIS to include alternatives with wilderness allocations that
   reflect larger percentages of inventoried acres. Logical options include an alternative that
   analyzes all or almost all of the inventoried acres, and another alternative that analyzes all the
   acres ranked high to moderate. This would ensure an adequate range of alternatives and a robust
   analysis of the trade-offs and impacts associated with recommending most (if not all) of the
   inventoried areas.
   Appendix A needs supplementation to improve the descriptions of wilderness characteristics of
   the proposed units, particularly for the various elements of the Sangres additions and for the
   Cumbres addition to the South San Juans.


   III. PROPOSED SPECIAL INTEREST AREAS AND RESEARCH NATURAL AREAS

     A. BACKGROUND

   A required element in forest planning is to determine whether to administratively designate (or
   recommend for designation) additional areas to recognize and protect special values, features,
   and resources,17 including those that “carry out the distinctive role and contributions of the plan
   area in the broader landscape or contribute to achieving desired conditions for the plan area.”
   FSH 1909.12, chapter 20, section 24(b). Designated areas may include areas defined in FSM
   2372.05 such as botanical areas, zoological areas, recreation areas, as well as other types of areas
   that embody the culture, niche, unique characteristics, or ecological conditions of a specific
   forest or landscape.18 Forests in the past have established a variety of designations, and, as the
   RGNF has done in the past, referred to them as speical interest areas.

   Designated areas can play a critical role in ensuring ecological integrity and biological diversity
   as required in §219.8 and §219.9 of the 2012 planning rule. For example, the RGNF can
   establish designated areas that specifically protect rare or imperiled species, rare or imperiled
   ecosystem elements, wildland recovery areas, wetland complexes (including recharge zones),

   17 36 C.F.R. §§ 219.7(c)(2)(vii), 219.19 (A designated area is “[a]n area or feature identified and managed to
   maintain its unique special character or purpose^.Examples of administratively designated areas are experimental
   forests, research natural areas, scenic byways, botanical areas, and significant caves.”)
   18 The list of administrative designation categories provided in Exhibit 01 in FSH 1909.12, section 24 is not intended
   to be comprehensive, as explained in the response to comments in the final planning rule. See 77 Fed. Reg. 68
   (21245) (“the Department clarified the definition of designated areas to explicitly show that the list of examples is
   not exhaustive^”) Section 24 affirms this (“Exhibit 01 lists some types of designated areas that the Responsible
   Official may consider recommending for designation.”)

                                                            27

                                                                                     Rvsd Plan - 00005293
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 202 of 475




   specific wildlife corridors, and other important ecological elements and processes. Individual
   designated areas, if designed with purpose, can contribute to the establishment of a larger mosiac
   of protected areas across the national forest that, in aggregate, contributes to achieving the rule’s
   substantive ecological and diversity provisions.

   Establishing designated areas is also an effective way to draw people to visit and learn about the
   national forests and its unique resources, thereby connecting people with nature, as addressed in
   36 CFR §219.10(a)(10). This concept is reinforced in the Forest Service’s Framework for
   Sustainable Recreation that emphasizes the important role that designated areas play in providing
   for recreation: “[The Forest Service] will evaluate other areas within the National Forest System
   that have outstanding recreational, scenic, historic, or other values of high attractiveness for
   designation and management as special areas.”19

   Forests are required to develop management direction for each special designated area to provide
   for its appropriate management based on the applicable authorities and the specific purposes for
   which each area was designated or recommended for designation. FSM 2370, section 2372.03(5)
   (“Include management direction for each area in the forest plan.”) and 36 CFR §219.10(b)(1)(vi).
   Plan components and management direction can only allow uses and activities to occur that are
   in harmony with the purpose for which the area was designated and compatible with the basis of
   the recommendation.” FSH 1909.12, Chapter 20, section 24.2(1)(b), FSM 2370, section 2372.4
   In addition, Forest Service policy is generally to keep developments such as roads, trails, and
   facilities to the minimum necessary for public enjoyment and interpretation of the area. FSM
   2370, section 2372.4. In developing management direction, forests should consider how
   designated areas contribute to sustainability and advance the overarching objectives of the
   planning rule. FSH 1909.12, chapter 20, section 24.2(1)(d).


     B. DESIGNATE THE SPECIAL INTEREST AREAS IN ALTERNATIVE D

   We heartily support the special interest areas proposed in Alternative D because they contain
   special resources and values deserving of special recognition, interpretation, and conservation.
   As the DEIS notes, these areas “contain features unique to and of special interest in the forest
   ecosystem. Many designations would enhance habitat connectivity, native fish habitat, and
   watershed protection.” DEIS at 313. Also see Appendix 7 of Rocky Smith et al’s scoping
   comments, and Appendix G of The Wilderness Society’s comments both submitted on October
   28, 2017. Establishing special interest area may be the best available planning strategy to ensure
   that the areas’ values are retained. We ask that the RGNF establish these special interest areas in
   the final plan.
   Unfortunately, the draft plan (Alternative B) fails to designate deserving special areas, eliminates
   one current special interest area entirely without providing for the protection of an important
   resource therein, and reduces the acreage of another area. This approach puts unique and
   remarkable resources at risk.


   19 USFS. Connecting People with America’s Great Outdoors: A Framework for Sustainable Recreation. June 25,
   2010. Sec. IV, p. 6.

                                                        28

                                                                               Rvsd Plan - 00005294
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 203 of 475




     C. REVISION TOPIC DESCRIPTION IS INACCURATE

   The DEIS describes Revision Topic 1: Special Designations inaccurately. While the DEIS
   acknowledges that the public submitted proposals for additional special designations, it then
   states:

          A need to revise forest plan direction was related to changes in the management of:
             • Inclusion of direction for the Old Spanish National Historic Trail,

              •   Regional and national direction for the Continental Divide National Scenic Trail,

              •   Inclusion of the Sangre de Cristo National Heritage Area,

              •   Inclusion of the Rio Grande del Norte National Monument,

              •   Inclusion of the Cumbres & Toltec National Historic Landmark,

              •   Evaluation of Mt. Blanca Massif as a significant area,

              •   Evaluation of the Natural Arch as a significant area, and

              •   Evaluation of the existing boundary of the John C. Fremont Winter Camp Special
                  Interest Area.


   DEIS at 17.

   There is no mention of the need to evaluate additional areas proposed by the public. In contrast,
   the Need for Change document, published in July 2017 includes item C8 that says, “Evaluate
   additional areas for special designation, including areas with cultural values, ecosystem types
   known to be heavily fragmented, and areas important for the protection of plant communities and
   special habitats vulnerable to climate change. Evaluate additional protection of two critically
   significant areas, Mt. Blanca Massif and the Natural Arch, while maintaining motorized access.”
   The draft plan’s language concerns us, as it makes it seem as if the RGNF does not have the
   intention to consider additional special interest areas in the final decision.


     D. OVERLAPPING DESIGNATIONS

   Alternative D has fewer acres allocated to the Roadless Management Areas because the acres are
   assigned instead to Special Interest Areas. See DEIS at 313 (“Alternative D addresses the
   roadless designation the same as alternative B, with fewer areas considered due to additional
   designations for special interest areas, research natural areas, and recommended wilderness.”).
   While it makes sense to allocate roadless areas recommended as wilderness to MA 1.1a
   (because the management of recommended wilderness is stricter than the management of
   Colorado Roadless Areas), it does not necessarily make sense to switch roadless areas from
   management area 3.5 and 3.6 to management area 3.1. The requirements of the Colorado

                                                   29

                                                                       Rvsd Plan - 00005295
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 204 of 475




   Roadless Rule still apply to Colorado Roadless Areas regardless if they are proposed as special
   interest areas. Therefore, we recommend that the final plan overlap management areas 3.5/3.6
   with 3.1 where applicable.20


     E. PLAN COMPONENTS FOR MANAGEMENT AREA 3.1

   We are concerned that the plan components for Management Area 3.1 do not provide adequate
   direction for the management, interpretation, and conservation of the proposed special interest
   areas, all of which are unique and special in their own right. The entirety of the plan components
   for all the special interest areas are one guideline and one desired condition statement. The draft
   plan also includes four management approaches. The aggregate management direction is anemic
   and will not provide the management direction for the proposed special interest areas necessary
   to ensure the protection of the areas’ primary values.

   Further, Forest Service policy requires the forest plan to include management direction for each
   area. FSM 2370, section 2372.03(5) (“Include management direction for each area in the forest
   plan.”) This makes sense, as each area requires specific customized direction to ensure that the
   primary values for which areas are established are not diminished. We therefore recommend that
   the final plan create nested management areas under Management Area 3.1 (e.g., 3.1a, 3.1b) for
   each designated special interest area. The nested management areas should have their own set of
   plan components designed to complement the overarching plan components of Management
   Area 3.1. The narratives for each nested management areas should describe the primary values or
   resources for which the area is being established. In our comments below, we first propose
   additional over-arching plan components for Management Area 3.1 that would apply to all
   special interest areas, and then propose area-specific plan components for the special interest
   areas proposed in Alternative D.

   Given that special interest areas contain unique or remarkable examples of plant and animal
   communities, geological features, scenic grandeur, or other special attributes that merit special
   management21, we recommend the following modifications and additions to the plan components
   proposed in the draft Plan for Management Area 3.1. These recommendations are designed to
   ensure that management is consistent with Forest Service policy discussed above.

   DESIRED CONDITIONS

           Special interest areas are places with unique or remarkable characteristics that merit
           special management. Special interest areas typically contain unique botanical, geologic,
           historical, scenic, or cultural locations and values.

            •   Forest Service management maintains or enhances the primary values of the special
                interest areas. Other activities are allowed so long as they do not diminish the


   20 Similarly, Research Natural Areas that are within Colorado Roadless Areas should also be overlapped for the
   same reason.
   21 See FSM 2370, page 3 where this concept is articulated.

                                                           30

                                                                                   Rvsd Plan - 00005296
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 205 of 475




                resources and values for which the area was designated (or recommended for
                designation).

            •   Management emphasizes interpretation of the area’s resources and values.

            •   Each area has a management plan. The Forest Service encourages and invites
                participation by the public and relevant entities in the development and
                implementation of these area-specific management plans.

            •   The public feels an enhanced level of pride about the forest and the special places
                within, and enjoys visiting and learning about the special interest areas and their
                remarkable resources and values.



   OBJECTIVES:

       •   Develop and implement management plans for each special interest area in partnership
           with interested stakeholders. Encourage continued engagement by stakeholders in the
           management and monitoring of the area.

       •   Provide interpretive services to enhance visitor's understanding and appreciation of the
           area's special features.



   STANDARDS:

       •   Allow occupancy and use of the area to the extent they neither diminish the primary
           values for which the area was established nor negatively affect the visitor's experience.

       •   Where applicable or deemed important to protect area values, the area shall be withdrawn
           from mineral entry under the General Mining Law of 1872.22

       •   Restrict motorized and mechanized travel to designated routes, and prohibit motorized
           game retrieval off designated routes.



   GUIDELINES:

       •   Allow development of facilities and infrastructure only to the degree that it is necessary
           for public enjoyment of and education around the principal features of the area and
           ensures protection of the of the special values for which the area was established.



   22 The standard is included for administrative special designations in the Shoshone National Forest 2015 Land and
   Resource Management Plan. See, for example, MA2.2A-STAND-08.

                                                           31

                                                                                   Rvsd Plan - 00005297
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 206 of 475




   SUITABILITY
      • Unsuitable for energy leasing and development (fossil fuel or renewable).
      • Unsuitable for commercial timber production.
      • Unsuitable for common variety mineral extraction for administrative or commercial use.

   MANAGEMENT APPROACHES
     • Decommission and reclaim unauthorized routes and unneeded system roads.
     • In travel management planning, consider the primary values of the area when identifying
       the minimum road system and unneeded roads for decommissioning pursuant to 36 CFR
       212 subpart A.


     F. COMMENTS ON SPECIFIC SPECIAL INTEREST AREAS IN ALTERNATIVE D

   We offer the following comments on the specific areas for your consideration. For each area, we
   have proposed a list of primary values and area-specific plan components intended to
   complement the general plan components for MA 3.1 suggested in the previous section. Each
   special interest area should be a nested management area within the larger MA 3.1.

                         1. Spruce Hole/Osier/Toltec Special Interest Area


   This area is important for regional scale wildlife connectivity and for numerous species of
   conservation concern and rare habitats. DEIS at 314. Designating it would help achieve the 2012
   planning rule’s requirement to enhance ecosystem integrity at 36 CFR 219.8(a)(1) and 36 CFR
   219.9. The area is adjacent to the 117,035-acre San Antonio Management Area proposed by the
   Carson National Forest in the December 2017 version of the Carson National Forest’s Proposed
   Preliminary Draft Plan.23 See Figure 1 showing the location of the proposed San Antonio
   Management Area. As proposed, the San Antonio Management Area emphasizes the
   sustainability of wildlife and fish species by reducing barriers to movement and human
   disturbance, and the enjoyment of the area by the public for primitive and semi-primitive
   recreation and wildlife watching. Designating the adjacent Spruce Hole/Osier/Toltec Special
   Interest Area would facilitate multi-scale management and enhance the diversity and resilience
   of the biological communities in this sub-region.

   The Final Plan should describe the primary values of this area as:

       •   Wildlife migration and connectivity for large game species, including mule deer, elk,
           pronghorn, and Rocky Mountain bighorn sheep, as well as for carnivores such as Canada
           lynx, mountain lions, and black bears. DEIS at 314.

       •   High quality wildlife habitat for species of conservation concern and federally protected
           species, including boreal owl, peregrine falcon, Brewer’s sparrow, flammulated owl, Rio
           Grande cutthroat trout, Gunnison’s prairie dog; Ripley’s milkvetch, slender cliffbrake,

   23 See Proposed Preliminary Draft Land Management Plan for the Carson National Forest, Version 2 that is
   available at: https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd566266.pdf. Pages 222-224.

                                                          32

                                                                                 Rvsd Plan - 00005298
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 207 of 475




          Plumber’s cliff fern, Colorado divide whitlow grass, and flowered gilia; federally
          protected species such as Mexican spotted owl, southwestern willow flycatcher, yellow­
          billed cuckoo, and New Mexico meadow jumping mouse; migratory birds including
          ferruginous hawks, black swifts, sage sparrows, burrowing owls, Cassin’s finches,
          Grace’s warblers, gray vireos, juniper titmouse, Lewis’s woodpeckers, loggerhead
          shrikes, long-billed curlews, mountain plovers, pinyon jays, and Virginia’s warblers. (See
          DEIS at 314.)


   Site specific plan components and management approaches should include:

   DESIRED CONDITIONS

              •   This SIA is managed for wildlife movement and habitat connectivity and for the
                  enjoyment of the public as they recreate, learn about, and observe wildlife.
                  Natural conditions prevail in the area while providing an opportunity for
                  interpretation, education, and research.
              •    Habitat conditions and functions support sustainable and healthy populations of
                  at-risk species and provide educational and research opportunities.
              •   Interpretive signing is used to explain major features of the area and explain
                  protection of sensitive ecosystems.
              •   Management activities will limit the surface disturbance footprint temporally and
                  spatially to minimize adverse impacts to wildlife.
              •   The Forest Service in cooperation with permittees, Colorado Department of
                  Transportation, Colorado Department of Parks and Wildlife, and other
                  stakeholders implements projects to reduce and minimize barriers to wildlife
                  movement such as fences and dangerous road crossings.


   STANDARDS

      •   Authorized activities shall be harmonious with the primary values of wildlife movement,
          habitat connectivity, and habitat condition for at-risk species.

      •   New permanent roads within the corridor will not be constructed in order to maintain
          unfragmented habitat for wildlife migration and dispersal.
      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect watershed condition, minimize wildlife
          disturbance, and prevent illegal motorized use.
      •   New or reconstructed fencing shall allow for wildlife passage and prevent wildlife
          entrapment, taking into consideration seasonal migration and access to water resources
          (except where specifically intended to exclude wildlife -- e.g., elk exclosure fence -­
          and/or to protect human health and safety).
      •   New rights-of-way for energy development that would negatively impact wildlife, their
          habitat and its connectivity will not be issued.

                                                  33

                                                                      Rvsd Plan - 00005299
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 208 of 475




       •   Projects will consider the cumulative impacts of ground-disturbing projects that are
           occurring or will occur on adjacent lands and will strive to minimize as possible the
           spatial, temporal, or other design features can mitigate impacts to connectivity.
       •   The area is not suitable for timber production.
       •   The area is suitable for oil and gas leasing with no surface occupancy


   GUIDELINES

           Do not exceed a motorized route density of one mile per square mile generally, or a
           threshold determined by best available science for specific at-risk species.24


   MANAGEMENT APPROACHES

       •   Where motorized route densities exceed one mile per square mile, develop and
           implement a strategy to reduce the densities to below this threshold level.
       •   In coordination with the Colorado Department of Transportation, develop and implement
           a strategy for mitigating highway related barriers to wildlife movement.
       •   As possible, augment wildlife values through purchase from willing sellers, exchange,
           transfer, or donation of additional acreage of crucial wildlife habitat for their migration,
           movement and dispersal.
       •   Work with livestock permittees to identify fencing that is not critical for livestock
           operations. Remove fencing that is not critical for livestock operations and that is
           impeding wildlife movement. As possible, modify existing fencing that is not wildlife
           friendly.




                         2. Chama Basin Special Interest Area

   24 See Lyon 1979; Van Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Reed et al. 1996; Strittholt and
   DellaSala 2001; Davidson et al. 1996 for discussions of route density thresholds.

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                                                                                   Rvsd Plan - 00005300
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 209 of 475




   This area is important for the protection of an entire intact watershed with remarkable
   occurrences of montane riparian forest systems. See DEIS at 85 and 314. It is the municipal
   watershed for Chama, New Mexico. Designating it would help achieve the 2012 planning rule’s
   requirement to enhance ecosystem integrity at 36 CFR 219.8(a) and protect the values of eligible
   river segments at 36 CFR 219.10(b)(1)(v). The Final Plan should describe the primary values of
   this area as:

      •   An entire intact and undisturbed headwaters watershed with a remarkable montane
          riparian forest ecosystem; and

      •   Remarkable biodiversity elements including mountain willow (Salix monticola)/mesic
          graminoid montane riparian willow carr, and a narrowleaf cottonwood/thinleaf alder
          (Pcpulus angustifolia/Alnus incana) montane riparian forest.


   Site specific plan components should include:

   DESIRED CONDITIONS

              •   The Chama Basin is a place where natural processes dominate, water quality is
                  high, and hydrologic processes are unimpeded.

              •   Visitors enjoy the stunning vistas hiking, on horseback, and in vehicles.

              •   The few travel routes in the area provide visitors the opportunity to explore while
                  preserving the natural features and function.

              •   Grazing is allowed so long as it does not impede hydrologic function or degrade
                  water quality. Eligible wild and scenic rivers are managed to retain their
                  eligibility.



   STANDARDS

      •   New permanent roads will not be constructed.
      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect watershed condition and prevent illegal
          motorized use.
      •   New rights-of-way for energy development that would negatively impact hydrologic
          function or condition are prohibited.
      •   Eligible wild and scenic rivers are managed to retain their eligibility. (See plan
          components for Management Area 3.4.)
      •   Disallow ground disturbing activities or placement of infrastructure within buffers around
          streams and wetlands unless activities’ primary purpose is to improve riparian and aquatic
          health.

                                                   35

                                                                        Rvsd Plan - 00005301
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 210 of 475




      •    The area is not suitable for timber production.

      •    The area is discretionary no lease for oil and gas.



   GUIDELINES

       •   Best management practices for water are in place and monitored regularly to ensure
           effectiveness.



   MANAGEMENT APPROACHES

      •    Work with grazing permittees to prevent cattle from encroaching on stream and riparian
           buffer zones.



                       3. Summer Coon/La Ventana Special Interest Area


   We are glad to see that the Natural Arch/La Ventana area will be added to the existing Elephant
   Rocks SIA under Alternative B. DEIS at 27. However, what is proposed in Alternative B for
   addition is much less than what deserves recognition and protection as a special area. The
   addition under Alternative B is only about 270 acres. This includes the volcanic dike that has the
   actual natural arch, and a little more adjacent acreage on the east side of this dike. This is far
   short of the 22,000-acre area we believe should be in a special interest area here, as we proposed
   in our alternative, submitted with our organizations’ scoping comments.

   Alternative D’s Summer Coon La Ventana Special Interest Area offers a unique opportunity to
   explore the well-exposed interior of a composite volcano (similar in scale to today’s Mount
   Rainier) that formed in the Southern Rocky Mountain Volcanic Field and that has been preserved
   along the edge of the younger Rio Grande Rift. This proposed area incorporates much of an
   ancient stratovolcano (a composite layered structure built up from sequential outpourings of
   eruptive materials), a nearly perfect pattern of radial dikes, and the La Ventana Natural Arch
   eroded into the center of one of the most prominent dikes. The area has significant tribal,
   botanical and ecological values in addition to its notable geological importance.

   The proposed addition to the existing special interest area in Alternative D protects a much larger
   expanse of the ancient volcanic system than the Alternative B addition, and overlaps the
   Elephant Rocks and Eagle Mountain Potential Conservation Areas identified by the Colorado
   Natural Heritage Program. The Elephant Rocks Potential Conservation Area is a complex of
   volcanic boulders, rock outcrops, and shrublands separating the prairie of the valley floor from
   the San Juan Mountains and contains both rare plant and animal species, which results in its rank
   of High Biodiversity Significance. Specific biodiversity elements present include a medium­
   sized population of the rock-loving Neoparrya - an herb that is restricted to south-central

                                                      36

                                                                        Rvsd Plan - 00005302
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 211 of 475




   Colorado; a rare milkvetch (Astragalus cerussatus) with only 20 known occurrences; and a silky
   pocket mouse subspecies population found here that is restricted to the San Luis Valley and is
   rare within its range.25
   The Eagle Mountain PCA is also located within the proposed Summer Coon La Ventana
   Geologic Area. The PCA includes the cliffs around Eagle Mountain and Eagle Rock, and is
   identified as being of General Biodiversity Interest because of its nesting habitat for peregrine
   falcons.26 The proposed geologic area is rated by the Colorado Department of Parks and Wildlife
   as very high priority habitat for bighorn sheep, containing important winter range and lambing
   grounds, and a high priority habitat for elk containing over 15,000 acres of a winter
   concentration area.27
   The Final Plan should designate the Elephant Rocks/La Ventana Special Interest Area proposed
   in Alternative D (as opposed to the much smaller expansion proposed in Alternative B). This
   proposed special interest area appropriately encompasses more of the geologic outcrops that tell
   the story of this ancient volcano, along with rare and remarkable biological values. Moreover,
   this area is getting much more use than it formerly did. Having a larger area would make it easier
   for the RGNF to manage visitation as needed to best protect the values, resources, and character
   of the area and provide a rich interpretive experience and ecotourism opportunity.

   The Final Plan should describe the primary values of this area as:

       •   The rare opportunity to explore the well-exposed interior of an ancient volcano on the
           size of Mt. Rainier.

       •   The educational and scientific opportunities to study an ancient volcano.

       •   The cultural value of the Natural Arch to the local tribes.

       •   The high-quality bighorn sheep, peregrine falcon, and winter elk habitat.

       •   Various rare plants and animals including rock-loving Neoparrya - an herb that is
           restricted to south-central Colorado, a rare milkvetch (Astragalus cerussatus) with only
           20 known occurrences, and a silky pocket mouse subspecies population found here that is
           restricted to the San Luis Valley and is rare within its range.
   Site specific plan components should include:

   DESIRED CONDITIONS

       •   The Summer Coon/Elephant Rocks Special Interest Area provides visitors a relatively
           unique experience of exploring the well-preserved interior of an ancient and massive
           volcano.


   25 See CHNP Potential Conservation Area Report, 2015. Available at
   http://www.cnhp.colostate.edu/download/gis/pca reports.asp.
   26 Ibid.
   27
       Colorado Department of Parks and Wildlife 2017. Available at
   http://www.arcgis.com/home/item.html?id=190573c5aba643a0bc058e6f7f0510b7

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                                                                          Rvsd Plan - 00005303
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 212 of 475




      •   Visitors can drive or bike a day-long interpretive tour where they can learn about the
          significance of the imposing and beautiful geologic formations and the rare biological
          resources throughout the area. The tour loops between Del Norte and Monte Vista
          providing ecotourism opportunities to both communities. The grasslands and scrub lands
          that comprise the lower elevations of the area provide a stunning backdrop to the unusual
          geologic features.

      •   The area is in a substantially natural condition and ecosystems primarily reflect the
          influence of natural processes.

      •   Local residents and communities are proud of this unusual and special place, and assist
          the Forest Service in managing and monitoring the area.



   STANDARDS

      •   New permanent roads will not be constructed.
      •   Trails will only be constructed if they advance the understanding, appreciation,
          enjoyment, and protection of the primary values.
      •   Rock climbing on the dike on which the arch is located is prohibited to protect cultural
          values.

      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect primary values and prevent illegal
          motorized use.
      •   New right-of-ways for energy development that would negatively impact the primary
          values or the scenic vistas are prohibited.


   GUIDELINES

      •   Best management practices for water are in place on all access routes and monitored
          regularly to ensure effectiveness.



   MANAGEMENT APPROACHES

      •   Develop an interpretive program for the area that includes, but is not limited to, an
          interpretive driving/biking tour that teaches about the area’s unique and special qualities.
          The Forest Service should consider developing non-motorized interpretive trails as well.
          Interpretation of cultural values should be done in close cooperation with Native
          American tribes.

      •   Allow non-disturbing research to continue (e.g., rock sampling).

                                                   38

                                                                        Rvsd Plan - 00005304
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 213 of 475




        •   Monitor impacts of dispersed recreation and implement necessary management actions to
            address impacts, including obliterating unauthorized routes.



                        4. Carnero Creek and Jim Creek Special Interest Areas


   Carnero Creek and Jim Creek are strongholds for native Rio Grande cutthroat trout. Both possess
   outstanding recreational and scenic values, as well as high-quality water resources such as
   wetlands and riparian zones. Restoration and habitat improvement work has occurred in both
   Carnero and Jim Creek proposed special interest areas. We support the designation of these
   special interest areas because conserving entire watersheds is an important and possibly
   necessary measure to ensure long-term viability of the Rio Grande Cutthroat Trout in the context
   of a warming and changing climate (USFWS 2014). Designating the areas would contribute to
   achieving the 2012 planning rule’s requirement to enhance ecosystem integrity and maintain and
   restore watersheds at 36 CFR 219.8(a).

   Establishing the Carnero and Jim Creek Special Interest Areas to conserve the Rio Grande
   Cutthroat Trout and the riparian and aquatic ecosystems is consistent with recent direction from
   the Washington Office issued in a September 30, 2015 memo to regional foresters clarifying the
   that forests can identify conservation watersheds in land management plans. The memo
   explained that “Conservation Watersheds are . . . strategic and long-term designations helping to
   provide conditions that maintain or restore habitat for aquatic species in highly dynamic
   environments over the duration of a land management plan.”28 Attachment A to the memo
   explains that conservation watersheds are a dynamic and flexible designation that generally “1)
   conform[] to sub-watershed boundaries and generally rang[e] in size from 10,000 to 40,000
   acres, 2) contain[] threatened, endangered, or at-risk species, and 3) form[] a connected network
   of aquatic habitats important for ensuring the long-term persistence of those species.” In
   addition, the recently revised Rise to the Future: National Fish and Aquatic Strategy identifies
   conservation watersheds as a major strategy for conserving species on national forest lands and
   sets a goal that the agency will identify conservation watersheds throughout the system by
   2020.29

   Other forests are adopting the concept in land management plan revisions under the 2012
   planning rule. For example, the Flathead National Forest proposed a Conservation Watershed
   Network in its recent draft revised forest plan.30 Similarly, the Sierra, Sequoia, and Inyo National
   Forests are developing an aquatic conservation strategy that will include designation of “critical
   aquatic refuges” as part of their ongoing plan revisions.


   28 Memo from Chris French & Robert Harper to Regional Foresters Re “Clarification on Conservation Watersheds
   in Land Management Plans” (Sept. 30, 2016) (Attached as Exhibit 7).
   29 Rise to the Future: National Fish and Aquatic Strategy. December 2017 at 10. Available at
   https://www.fs.fed.us/naturalresources/fisheries/resources/risetothefuturestrategynov2017.pdf .
   30 See Flathead National Forest Draft Revised Plan at 20-22 & Appendix E, available at
   http://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd502201.pdf . While the Flathead’s draft plan
   components for designated conservation watersheds were generally too weak to accomplish the objectives of the
   network, the concept is a good one.

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                                                                                Rvsd Plan - 00005305
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 214 of 475




   The Final Plan should describe the primary values of the Carnero Creek area as:

      •   Critical habitat for Rio Grande cutthroat trout (over 275 km). All of the populations in the
          proposed area are considered to be genetically pure conservation populations.

      •   Over one thousand acres of mapped wetlands. Most are associated with Carnero Creek
          and its tributaries, and consist of freshwater emergent wetlands, freshwater ponds, and
          freshwater forested/scrub shrub wetlands.

      •   Community occurrences of globally rare montane grasslands (Festuca arizonica-
          Muhlenbergia montana), shrublands (Alnus incana/mesic graminoid), and woodlands
          (Pinus aristata/Festuca thurberi).


   The Final Plan should describe the primary values of the Jim Creek area as:

      •   Critical habitat for Rio Grande Cutthroat Trout (about 37 km). All of the populations in
          Jim Creek are considered to be genetically pure conservation populations, with less than
          1% of foreign genes detected.
      •   53 acres of mapped wetlands. The majority of these wetlands are associated with Jim and
          Torsido Creeks and their tributaries, and consist of freshwater emergent wetlands,
          freshwater ponds, and freshwater forested/scrub shrub wetlands.

   Site specific plan components should include:

   DESIRED CONDITIONS

              •   The Rio Grande Cutthroat Trout habitat is conserved and restored.

              •   The watersheds provide multi-scale connectivity for the Rio Grande Cutthroat
                  Trout and other aquatic species, and the ecosystem components needed to sustain
                  long-term persistence of species.

              •   Partners work with the Forest Service to survey, implement habitat restoration
                  projects, and monitor.

              •   The public enjoys the scenery and recreation that naturally functioning watersheds
                  provide.



   OBJECTIVE

   •     Establish measurable water quality and riparian health standards and a monitoring protocol,
   and monitor regularly.




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                                                                        Rvsd Plan - 00005306
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 215 of 475




   STANDARDS

      •   Disallow ground disturbing activities or placement of infrastructure within buffers around
          streams and wetlands unless the activities’ primary purpose is to improve riparian and aquatic
          health.

      •   Permanent roads will not be constructed or reconstructed unless doing so clearly will
          improve riparian and aquatic health overall. No net increase in permanent road mileage will
          occur.
      •   Temporary roads will only be constructed if necessary, and with the smallest impact
          possible, and will be reclaimed and obliterated within one year of the termination of the
          project for which they were authorized to protect watershed condition and prevent illegal
          motorized use.
      •   Best management practices for water are in place and monitored regularly to ensure
          effectiveness.

      •   New rights-of-way for energy development that would negatively impact hydrologic
          function or condition are prohibited.


   MANAGEMENT APPROACHES
     • Include the removal of unneeded or unauthorized roads and trails in project designs.

      •   Work with grazing permittees to prevent cattle from encroaching on stream and riparian
          buffer zones.



     G. ADDITIONAL AREAS OF CONCERN

              1. Protect of stonecrop gilia with a designation
   The draft plan documents do not fully consider measures to protect stonecrop gilia (aliciella
   sedifolia, gilia sedifolia). According to USFS information, the only two worldwide locations at
   which this extremely rare critically imperiled endemic plant exists are on Rio Grande National
   Forest lands. (See
   https://www.fs.fed.us/wildflowers/Rare Plants/profiles/Critically Imperiled/aliciella sedifolia/in
   dex.shtml Referenced online December 2017). To ensure that the rare occurrences of this plant
   are protected, the RGNF should recommend a Research Natural Area (RNA) or Special Interest
   Area (botanical) where the species occurs and is likely to occur.

   SLVEC et al proposed the Half Peak Research Natural Area in their October 28, 2016 scoping
   letter. We are disappointed that no alternative proposed designating the Half Peak area for the
   purpose of conserving the stonecrop gilia. Our proposal was reasonable and should have been
   included in one or multiple alternatives. Failing to do so violates NEPA’s requirement to
   “[r]igorously explore and objectively evaluate all reasonable alternatives” to a proposed action.
   40 C.F.R. § 1502.14(a). Since this proposal was not included in any of the DEIS alternatives, we


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                                                                         Rvsd Plan - 00005307
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 216 of 475




   are resubmitting here and request that the RGNF supplement the DEIS to include a
   recommendation for the Half Peak Research Natural Area or Special Interest Area.

   The Colorado Natural Heritage Program has identified the Half Peak area as having the best
   occurrences of this plant in the world, and gave it an outstanding biodiversity significance, the
   highest level of ranking provided by the Colorado Natural Heritage Program. We thus believe
   that this area is more deserving of a special management area designation than the Sheep
   Mountain area (although we thank you for including that as a potential Research Natural Area in
   alternative D). We are particularly concerned as the Half Peak location is not currently protected
   from potentially damaging recreation such as off-route travel. Recreation has been identified as
   a threat to this plant and the Continental Divide National Scenic Trail passes directly through
   habitat for and occurrences of this plant. This trail may provide a vector for invasive species,
   also considered a threat to this plant.
   We believe the presence of the designated trail through this area warrants additional action by
   the agency that will proactively manage public use and recreation in order to preserve and
   protect these plants and their habitat. Public recreation, especially in this remote location, is one
   of the most difficult uses to manage, and proactive measures are necessary to ensure that this use
   does not negatively impact this area.
   Stonecrop gilia may be the most significant example of a rare species occurring on the Forest.
   Since this species is found nowhere else in the world, habitat for this species deserves full
   consideration for all forms of special management area designations. While we thank and
   support the Forest’s consideration of a Research Natural Area for additional populations of these
   plants in alternative D, we strongly believe the Half Peak proposal must be included in the final
   plan, and that the Half Peak population of the plant must be protected with an RNA, special
   interest area, or other protective designation.


       2. Protect Ripley’s Milkvetch with a protective designation


   The plant Astragulus ripleyi is found only in southern Colorado and northern New Mexico, i.e.,
   on or near the RGNF. See Draft Plan at 174. The current plan has a special interest area
   designation for this plant on the southeast side of the Conejos Ranger District. The proposed plan
   would remove this designation and instead protect the plant with forest-wide direction. DEIS at
   23, 27. However, we find no direction in the proposed Plan that would protect this plant, as is
   further discussed below.
   The acres formerly in the special area would be assigned to MA 5.41, big game winter range.
   Interestingly, a 1999 amendment to the exiting Forest Plan reduced the area of the Ripley’s SIA
   by 1166 acres (out of 5090 acres31) and assigned the removed acreage to MA 5.42, Bighorn
   Sheep. See Decision Notice (DN) for the November Analysis Area, June 18, 1999, available at:
   https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd511488.pdf. This was considered
   appropriate because: “[i]t will allow us to better manage the area for bighorn sheep habitat while


   31 The total SIA acreage figure is found in 1997 Plan FEIS Table 3-81, p. 3-375.

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                                                                                      Rvsd Plan - 00005308
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 217 of 475




   at the same time still protecting Ripley’s milkvetch.” November Decision Notice at 2. However,
   the 5.42 MA would be removed under the proposed Plan.
   The 5.41 MA would not protect Ripley’s milkvetch, as there are no plan components or even
   management approaches addressing it. Land in this MA is timber-suitable, and livestock grazing
   occurs. Draft Plan at 88-89. From the timber suitability maps that accompany the Draft Plan and
   DEIS, it is clear that a sizable chunk of the current Ripley’s Milkvetch Special Interest Area
   would be suitable for timber production under the proposed revised Plan.
   Note the following mitigation measure incorporated into the decision transferring part of the
   special interest area to MA 5.42:
         Avoid timber harvest and prescribed fire in potential Astragalus ripleyi [Ripley
         milkvetch] habitat (i.e., open ponderosa pine / Arizona fescue stands with some
         Douglas-fir where canopy coverage by trees is less than 25%). Keep timber harvest
         and prescribed fire above the 9,200 feet contour line in the Analysis Area to protect
         Astragalus ripleyi.
   November Analysis Area Decision Notice at 2.
   We see no comparable protective measure in the proposed Draft Plan. One possibly applicable
   forest-wide management approach under Wildlife and Plants, WLDF-MA-17, states that “actions
   should avoid or otherwise mitigate adverse impacts in unique or rare plant community types”.
   Draft Plan at 29; emphasis added. Ripley’s milkvetch is not specifically mentioned, and it is very
   hard to imagine how a management approach, already optional and not a plan component, that
   should be applied (but is not required) to plant communities, not necessarily this individual
   species, would prevent harm to this plant.
   The plant is also a species of conservation concern, which has been rated “extremely vulnerable
   to negative effects from changes in temperature and precipitation regimes.” Plan at 174. Also:
   “There are 22 known occurrences of this species last observed in 2016. The entire global
   distribution of this species is on or near the Forest.” Ibid.
   The Forest Service must provide specific plan components to protect Ripleys milkvetch if plan
   components designed to protect and maintain ecosystem integrity and diversity are insufficient to
   ensure viability. See 36 CFR 219.9(b)(1). To protect this plant and ensure its long-term viability,
   we believe that specific components, especially standards and guidelines, will be necessary to
   accomplish this. If components specific to this plant are not included in the final Plan, the Forest
   Service must show how all applicable plan components will, collectively, provide adequate
   protection for Ripley’s milkvetch and provide an opportunity for the species to recover to full
   viability.
   Land in the current special area that protects Ripley’s milkvetch should not be applied to MA
   5.41. Since there is no forest-wide or management area direction to protect this plant, we believe
   a special area is still warranted for it, even if an area smaller than the current one is truly justified
   based on the geographic extent of the plant.




                                                      43

                                                                            Rvsd Plan - 00005309
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 218 of 475




                3. Retain more of the Fremont Area

   We are concerned to see that the acreage of the John C. Fremont Winter Camp SIA would be
   reduced by about 1400 acres to “correspond with recent surveys and analysis that better
   identifies the camp area” in all action alternatives. DEIS at 23; see also id. at 27 for alternative B.
   Most of the removed acreage would be added to MA 5.13, forest products. Id. at 27. This is
   inappropriate. Land at the high altitude of the Fremont SIA should not be suitable for timber
   production. Indeed, under the analysis of timber suitability, areas over 11,000 feet elevation on
   south and southwest aspects were excluded from suitable timber lands because there is no
   assurance of adequate restocking within five years of regeneration harvest. Plan at 164. Some of
   the acreage proposed for removal from the SIA appears to be at this altitude and at least partially
   on south- or southwest-facing slopes.

   The National Forest Management Act prohibits timber harvesting where there is no assurance of
   adequate restocking within five years after cutting. See 16 U. S. C. 1604(g)(2)(D)(ii). Thus some
   of the area proposed for removal from the SIA cannot legally be suitable for timber production.
   Some of the land removed and added to MA 5.13 is also on very steep slopes, so it could likely
   not be logged with ground-based equipment without irreversible damage to the soil.

   If acreage is removed from the Fremont SIA because it is truly not needed to protect the
   resources therein, it should not be assigned to the timber MA, 5.13. Instead, close and obliterate
   the roads in the area and assign it to MA 4.3, dispersed recreation or another appropriate MA that
   would ensure protection of fragile, high altitude lands.


     H. THE DEIS FAILS TO TAKE A HARD LOOK AT THE EFFECTS OF SPECIAL
   INTEREST AREAS AND RESEARCH NATURAL AREAS (HERETOFORE IN THIS
   SECTION REFERRED TO AS SPECIAL DESIGNATIONS)

                           1. Direct and indirect effects section does not accurately reflect the
                           differences between Alternatives A, B, C, and D.

   The DEIS starting at 316 offers a very brief discussion of the direct and indirect effects of the
   proposed special designations under the four alternatives. Unfortunately, the section lacks detail,
   and fails to provide analyses or data to support the conclusions about effects. Worse, the section
   does not distinguish differences in the effects between the four alternatives, implying that the
   effects from the proposed designations will not vary across the four alternatives. This is hard to
   believe given that Alternative D proposes about 174,000 acres32 for special designations,
   Alternative C proposes 49,894 acres, Alternative B proposes 50,834 acres, and Alternative A, the
   no action alternative, retains the 58,534 acres currently in special designation. The DEIS at 316
   describes the direct and indirect effects of special designations as follows:

   32 Note that page 32 of the DEIS says that Alternative D proposes 316,000 acres of special designations. The chart
   on page 38, however, shows that Alternative D proposes 174,074 acres.

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                                                                                    Rvsd Plan - 00005310
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 219 of 475




           The majority of additional acreage tied to the proposed special areas in alternative D is
           already managed as roadless in alternatives A, B, and C. These areas would be managed
           in a substantially natural condition, where ecosystems primarily reflect the influence of
           natural processes. Plant and wildlife habitat values for which the special area was
           identified would be maintained. Invasive plant species would be controlled. Educational
           and research opportunities would be provided, featuring the ecological and plant
           communities associated with the special areas. Suitable vegetation management or other
           activities near special areas would be evaluated for potential impacts to the plant species,
           plant communities, and other associated qualities.”

   It is hard to tell from this description if the RGNF is saying that the impacts under all the
   alternatives are essentially the same because the proposed special interest areas in Alternative D
   overlap roadless area designations in Alternatives A, B, and C. If this is the intent of the
   paragraph, it is factually incorrect. Special interest areas, as we discussed above, are managed to
   not diminish the values and purposes for which they are designated and emphasize public
   enjoyment and interpretation. Roadless areas are managed pursuant to the direction in the
   Colorado Roadless Rule, which is generally to retain roadless character. Moreover, Alternative D
   proposes several special interest areas to protect rare and remarkable values that are not included
   in the other alternatives. Alternative B actually proposes to remove current special interest area
   protections currently in Alternative A.


        2. The DEIS fails to take a hard look at effects, and draws unsupported and arbitrary
   conclusions.

   The DEIS does not adequately disclose and analyze the effects resulting from special
   designations under the four alternatives. Understanding the costs and benefits of designating
   special interest areas is fundamental to deciding which areas merit designation. The failure to
   meaningfully analyze these impacts is a violation of NEPA, which requires the Forest Service to
   take a “hard look” at the environmental consequences of a proposed action, including its direct,
   indirect, and cumulative effects. Robertson v. Methow Valley Citizens Council, 490 U.S. 332,
   348 (1989); 42 U.S.C. § 4332(2)(C); 40 C.F.R. §§ 1502.16, 1508.7, 1508.8. The required hard
   look encompasses effects that are “ecological (such as the effects on natural resources and on the
   components, structures, and functioning of affected ecosystems), aesthetic, historic, cultural,
   economic, social, or health, whether direct, indirect, or cumulative.” 40 C.F.R. § 1508.8.

          a. The analysis of effects on special designations from various activities is inadequate


   The DEIS fails to take a hard look at the effects on special designations from various activities,
   and reaches several conclusions about the effects of special designations that are unsupported
   and therefore arbitrary. For instance,

      •    In evaluating the impacts on special designations from livestock grazing, the DEIS at 317
           states that ”[i]nvasive species control would occur throughout areas as needed using the
           appropriate control methods. Control of invasive species would have a positive impact on

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                                                                          Rvsd Plan - 00005311
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 220 of 475




          the native plant species and communities.” However, the plan components in the draft
          plan for MA 3.1 do not address invasive species. Further, the forestwide management
          direction for invasive species says that the RGNF will “within ten years of plan approval
          reduce terrestrial or aquatic nonnative invasive species on 300 acres” (Plan at 31, OBJ-NNIS-
          1) or stated another way, the RGNF will treat an average of 30 acres per year for invasive
          species. Three hundred acres comprises less than 0.2% of the special interest area acres
          proposed in Alternative D, which hardly justifies the DEIS’ conclusion that “[i]nvasive
          species control would occur throughout areas as needed using the appropriate control
          methods. Control of invasive species would have a positive impact on the native plant
          species and communities.”


          Further, the DEIS provides no information on current grazing within proposed special
          interest areas and how that activity is currently affecting and likely to affect the primary
          values of proposed special interest areas. Without this information, the reader cannot
          discern how the primary values for which special interest areas are proposed would fare
          under each alternative from livestock grazing.

      •   In evaluating the impacts on special designations from roads, the DEIS at 317 states that
          no new roads will be allowed in special interest areas. The plan components for MA 3.1
          and for infrastructure management (Draft Plan at 59-61) do not establish this prohibition,
          and thus this statement is unsupported.


      •   In evaluating the impacts on special designations from recreation, the DEIS at 317 states
          that “[a]ccess and recreational uses would be restricted in special areas, protecting the
          qualities associated with the areas. Developed recreation would be limited and linked to
          interpretation of the unique values of the area.” The plan components for MA 3.1 and
          Recreation Management (Draft Plan at 64-47) do not address management of dispersed or
          developed recreation in special interest areas, and thus this statement is unsupported.


      •   In evaluating the impacts on special designations from fire management, the DEIS at 316
          states that “[d]esired conditions in special areas maintain an ecosystem that primarily reflects
          the influence of natural processes. These natural processes would include fire in some areas.
          Most wildfires would require suppression measures for purposes of protecting values both
          within and outside the special areas. Wildland fire would be implemented in special areas for
          purposes of maintaining natural processes and desired vegetation conditions.” These
          sentences are contradictory in that they say that 1) natural processes will prevail, 2) most
          wildfires will be suppressed, and 3) wildfires will occur to promote natural processes.
          Further, the effects analysis does not look at relevant factors such as the spatial overlap of
          proposed special interest areas and wildfire zones, or the role of natural fire in the
          maintenance or restoration of primary values, or the habitats within the proposed special
          interest areas. Without this basic information, the reader cannot discern the impact of the
          designations under the four alternatives from fire management.




                                                    46

                                                                          Rvsd Plan - 00005312
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 221 of 475




       •    In evaluating the impacts on special designations from mineral resources, the DEIS states
            “While the withdrawal of locatable minerals may be encouraged in management direction for
            special areas, all designations of special areas on the Forest are subject to valid and existing
            rights. The existence of such rights and the potential for exploration are factors considered in
            the recommendation of special areas and the feasibility of maintaining the values for which
            these areas would be created.” The DEIS does not provide information on valid existing
            mineral rights within proposed special interest areas (with the exception of the Chama Basin
            Watershed Protection Area), such as whether there are any valid existing rights within the
            areas. It also does not provide any information on whether there is mineral potential in the
            special designation areas proposed under each of the four alternatives. The reader thus cannot
            discern the impact of the designations under the four alternatives from potential development
            of mineral resources.



        b. The analysis of effects to specific resources from special designations is inadequate.

   The DEIS fails to analyze the effects on various resources (such as ecosystem integrity, rare
   communities, watershed and aquatic resources, invasive species, non-forested ecosystems, or at-
   risk species) from special designations under the various alternatives. In Table 4 in the section on
   recommended wilderness, we illustrate how the DEIS analyzes the effects on various resources
   from recommended wilderness allocations and special designations. The table shows that the
   analysis for certain resources is weak to non-existent. The identified deficiencies must be
   corrected in the final EIS.


    I (eye). THE DEIS FAILS TO ANALYZE AND DISCLOSE INFORMATION
   RELATED TO RESEARCH NATURAL AREAS.

      1. Background

   One type of designated area that the Forest Service is expected to address in the land
   management planning process is Research Natural Areas (RNAs).33 Forest Service policy
   requires each forest to establish and periodically amend, primarily through additions, RNAs that
   achieve the eight objectives listed in FSM 4063. Two of these objectives are

           maintain a wide spectrum of high quality representative areas that represent the
           major forms of variability found in forest, shrubland, grassland, alpine, and natural
           situations that have scientific interest and importance that, in combination, form a
           national network of ecological areas for research, education, and maintenance of
           biological diversity.



   3 3 FSM 4063.03 (“The selection and establishment of Research Natural Areas within the National Forest System
   primarily emerges from continuing land and resource management planning and associated environmental analyses
   (FSM 1920 and FSM 1950). Forest plans shall include analysis of, and recommendations for, the establishment of
   proposed Research Natural Areas.”)

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                                                                                Rvsd Plan - 00005313
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 222 of 475




          [p]reserves and maintains genetic diversity, including threatened, endangered, and
          sensitive species.34

   In selecting and establishing RNAs, Forest Service policy directs that RNAs should be “large
   enough to provide essentially unmodified conditions within their interiors which are
   necessary^to protect the ecological processes, features, and/or qualities for which the Research
   Natural Areas were established.”35 The policy also emphasizes that “landscape-scale RNAs that
   incorporate several ecosystem elements are ideal, where feasible.”36 Proposed areas, to the
   degree possible, should be free from major human disturbance for the past 50 years, and should,
   where possible, encompass entire small drainages because they are easier to delineate and
   protect, and because they better maintain the interrelationships of terrestrial and aquatic
   systems.37

   Forest Service Manual 4060, section 4063.02 enumerates eight objectives for establishing RNAs:
          • Maintain a wide spectrum of high quality representative areas that represent the major
              forms of variability . . . that, in combination, form a national network of ecological
              areas for research, education, and maintenance of biological diversity

            •   Preserve and maintain genetic diversity

            •   Protect against human-caused environmental disruptions

            •   Serve as reference areas for the study of natural ecological processes including
                disturbance

            •   Provide onsite and extension educational activities

            •   Serve as a baseline area for measuring long-term ecological changes

            •   Serve as control areas for comparing results from manipulative research

            •   Monitor effects of resource management techniques and practices


   While the Forest Service Manual 4060 does not explicitly speak to climate change, the forest
   planning rule establishes an expectation that climate change considerations will be integrated
   into the three phases of planning.38

                           2. The DEIS contains almost no information on RNAs

   34 FSM 4063.02.
   35 FSM 4063.1.
   36 Ibid.
   37 FSM 4063.2.
   38 36 C.F.R. §219.5 (“The intent of this [planning] framework is to create a responsive planning process that informs
   integrated resource management and allows the Forest Service to adapt to changing conditions, including climate
   change, and improve management based on new information and monitoring.”); 36 C.F.R. 219.9(a)(1)(iv) (“The
   plan must maintain or restore the ecological integrity of terrestrial and aquatic ecosystems and watersheds in the
   plan area^.taking into account:^. (iv) System drivers, including ^. climate change; and the ability of terrestrial
   and aquatic ecosystems on the plan area to adapt to change.”)

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                                                                                    Rvsd Plan - 00005314
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 223 of 475




   Despite the fact that Forest Service policy directs that “[f]orest plans shall include analysis of,
   and recommendations for, the establishment of proposed Research Natural Areas”39 the DEIS
   contains almost no information about RNAs. It does not describe the current RNAs and whether
   in aggregate they meet the policy objectives of the RNA system, nor does it offer insight into
   whether other areas on the forest might be good candidates for RNA designation. In fact, the
   extent of the substantive discussion on RNAs is confined to three paragraphs on page 313 in
   which the DEIS explains that Alternative D proposes one additional RNA - the Sheep Mountain
   RNA. The short section does not explain why Alternatives B and C do not propose the
   designation of the Sheep Mountain RNA as well.

   Interestingly, Chapter 15 of the Assessment Report at 13 suggests that the RGNF intended to
   take another look in the land management plan revision at how well the RNA system meets the
   RNA criteria described in FSM 4063.02, and whether additional areas are warranted:
           “We also may need an update to the 1994 potential research natural area candidate
           inventory to determine if, based on changed conditions or new information, we should
           consider additional areas as potential candidate research natural areas.”
   Regardless, the DEIS is considerably deficient in analyzing and disclosing information about
   RNAs, and considering deserving candidate areas for possible designation. At this point, likely
   the best approach for addressing the deficiency is to supplement the DEIS with a robust analysis
   that would guide modifications to the alternatives. The robust analysis should take a hard look at
   the distribution, size, representation, and functions of current RNAs and evaluate the sufficiency
   of the RGNF’s RNA system relative to the RNA criteria at Forest Service Manual 4060, section
   4063.02. In doing so, the DEIS should identify opportunities to establish RNAs that are large
   enough to provide for unmodified conditions and processes in the area’s core, and, to the degree
   possible, landscape-scale RNAs that incorporate several ecosystem elements, as directed in the
   Manual and by the principles of conservation biology. Protecting as RNAs several adjacent intact
   habitats enables the protection and study of the individual systems and their interactions. Further,
   redundant areas may be necessary to maintain a range of study areas and sufficient population
   sample sizes.40 In addition, the RGNF should use the ecosystem representation information
   presented in Exhibit 3 to inform this effort.

   Climate change presents a special challenge, with the potential for ecosystem boundaries and
   characteristics to shift within relatively short timeframes. In evaluating possible RNA
   designations, the RGNF must consider the possible effects of climate change on the existing
   RNAs by, for instance, recommending expansions to RNA boundaries to give ecosystems and
   species room to adapt. The Forest Service should recommend landscape-scale RNAs when
   possible that protect multiple and proximal intact ecosystems as well as protect zones between
   RNAs to enable plant and animal species migration. The RGNF in a final EIS must analyze and
   disclose the effect of climate change on the proposed RNA system and explain how the RGNF is


   39 FSM 4063.03
   40 Spatial redundancy of ecological subsystems is desired for purposes of experimentation and replication.
   Redundancy of subsystems or components of an ecosystem is also important to conservation planning.
   Redundancy can reduce the likelihood that elements (e.g., species, rare habitats) will be lost as a result of stochastic
   events or other stressors.

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                                                                                        Rvsd Plan - 00005315
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 224 of 475




   meeting its substantive responsibilities for establishing an RNA system that achieves the
   identified objectives under each alternative.


   IV. ENSURE PROTECTION OF COLORADO ROADLESS AREAS

   We support the creation of MAs 3.5 and 3.6 that integrate the Colorado Roadless Rule’s
   direction into the draft revised plan. See 36 CFR 294 Subpart D. This approach provides clarity
   on the location and management of upper and lower tier roadless areas, and integrates the
   management direction for these areas (which comprise almost one third of the forest) into the
   overall land management plan structure and strategy.


     A. Proposed Management Area 3.5
   We noticed that the management direction for Proposed Management Area 3.5 (Draft Plan at 82­
   84) is not entirely consistent with the direction in the Colorado Roadless Rule, with the Colorado
   Roadless Rule being stricter on where tree cutting and road building is allowed. While we
   recognize that these omissions may reflect a desire to keep the plan language short, it is
   important to communicate the intent of the Colorado Roadless Rule accurately. Management
   direction for Management Areas 3.5 and 3.6 must at a minimum be as strict as the Colorado
   Roadless Rule direction. For example, regarding direction on non-upper tier timber activities, the
   Draft Plan states that tree cutting will only be allowed when:

          [O]ne or more of the roadless area characteristics will be maintained or improved over
          the long-term, with exceptions and only if one of the following conditions exist:

                      1. The regional forester determines that tree cutting, sale, or removal is
                         needed to reduce the amount of hazardous fuels in an at-risk community.
                     2. The regional forester determines that tree cutting, sale, or removal is
                        needed outside of the community protection zone and where wildland fire
                        disturbance is a significant risk that could adversely affect a municipal
                        water supply system or the maintenance of that system.
                      3. Tree cutting, sale, or removal is needed to maintain or restore the
                         characteristics of ecosystem composition, structure, and processes.


   Draft Plan at 82-83. The Colorado Roadless Rule provides sideboards, noted in italics, to these
   exceptions. The Rule states:

          (1) The Regional Forester determines tree cutting, sale, or removal is needed to reduce
          hazardous fuels to an at-risk community or municipal water supply system that is:
                  (i) Within the first one-haif mile of the community protection zone, or
                  (ii) Within the next one-mile of the community protection zone, and is within an
                 area identiified in a Community Wildfire Protection Plan.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 225 of 475




                    (iii) Projects undertaken pursuant to paragraphs (c)(1)(i) and (ii) of this section
                    willfocus on cutting and removing generally small diameter trees to create fuel
                    conditions that modiifyfire behavior while retaining large trees to the maximum
                    extent practical as appropriate to the forest type.
            (2) The Regional Forester determines tree cutting, sale, or removal is needed outside the
            community protection zone where there is a significant risk that a wildland fire
            disturbance event could adversely affect a municipal water supply system or the
            maintenance of that system. A significant risk exists where the history of fire occurrence,
            and fire hazard and risk indicate a serious likelihood that a wildland fire disturbance
            event would present a high risk of threat to a municipal water supply system.
                    (i) Projects will focus on cutting and removing generally small diameter trees to
                    create fuel conditions that modiify fire behavior while retaining large trees to the
                    maximum extent practical as appropriate to the forest type.
                    (ii) Projects are expected to be infrequent.
            (3) Tree cutting, sale, or removal is needed to maintain or restore the characteristics of
            ecosystem composition, structure and processes. These projects are expected to be
            infrequent.

        See 36 CFR 294.42.

   Similarly, the Draft Plan provides a number of conditions when road construction or
   reconstruction will be allowed, but the direction does not include the sideboards provided in the
   Colorado Roadless Rule. Compare the language in the Draft Plan at 83 to the regulatory
   language at 36 CFR 294.43(c)(1) and (2).41

   The section on linear construction zones (LCZ) also does not reflect the sideboards provided in
   the Colorado Roadless Rule. See 36 CFR 294.44(c). Specifically, the rule provides clear
   direction that: 1) LCZs needed for construction or maintenance of water conveyance structures
   are only permitted for those structures operated pursuant to a pre-existing water court decree; 2)
   LCZs needed for construction or maintenance of power or telecommunication lines can only be
   authorized if there is no opportunity for the project to be implemented outside of a Colorado
   Roadless Area without causing substantially greater environmental damage, and 3) LCZs
   needed for construction or maintenance of oil and gas pipelines are authorized when the
   construction through a roadless area would cause substantially less environmental damage than
   alternative routes. Pipelines that transport oil and gas through roadless areas (i.e., the source
   and destination of the pipeline are outside of the roadless area) are not authorized.

   Recommendation: The RGNF must correct the land management plan direction where
   substantive differences between the land management plan language and the Colorado Roadless
   Rule exist and the Colorado Roadless Rule’s language is more restrictive. In other words, the
   Plan must be at least as restrictive as the Colorado Roadless Rule.



   41 In addition to leaving out sideboards, Point 6 (Plan at 83) misstates when temporary road construction is allowed
   in non-upper tier roadless areas by conflating 294.43(c)(1)(iv) and (v), under which temporary road construction is
   allowed for water conveyance structures (iv) and to protect public health and safety in the face of an imminent treat
   (iv). These are separate situations for authorization for temporary road construction.

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                                                                                     Rvsd Plan - 00005317
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 226 of 475




     B. Proposed Management Area 3.6
   The Draft Plan rightly notes the two exceptions for road building allowed in upper tier roadless
   areas by the Colorado Roadless Rule. See 36 CFR 294.43(b). However, the Draft Plan fails to
   include the sideboards provided in the Colorado Roadless Rule related to road building in upper
   tier areas at 36 CFR 294.43(b)(3).

   Recommendation: The Final Plan must incorporate these important sideboards necessary for the
   long-term conservation of roadless area characteristics.


     C. Decommissioning Direction in the Colorado Roadless Rule
   While the Colorado Roadless Rule provides direction on the decommissioning of roads and
   LCZs, the direction for MA 3.5 and 3.6 does not. The Colorado Roadless Rule’s direction is as
   follows:

          Decommission any road and restore the affected landscape when it is determined that the
          road is no longer needed for the established purpose prior to, or upon termination or
          expiration of a contract, authorization, or permit, if possible; or upon termination or
          expiration of a contract, authorization, or permit, whichever is sooner. Require the
          inclusion of a road decommissioning provision in all contracts or permits. Design
          decommissioning to stabilize, restore, and revegetate unneeded roads to a more natural
          state to protect resources and enhance roadless area characteristics. Examples include
          obliteration, denial of use, elimination of travelway functionality, and removal of the road
          prism (restoration of the road corridor to the original contour and hydrologic function).

   36 CFR 294.43(d)(2). And,

          All authorizations approving the installation of linear facilities through the use of a linear
          construction zone shall include a responsible official approved reclamation plan for
          reclaiming the affected landscape while conserving roadless area characteristics over the
          longterm. Upon completion of the installation of a linear facility via the use of a linear
          construction zone, all areas of surface disturbance shall be reclaimed as prescribed in the
          authorization and the approved reclamation plan and may not be waived.

   36 CFR 294.44(e).

   Recommendation: The Final Plan must incorporate as a standard the Colorado Roadless Rule’s
   direction to decommission roads and reclaim LCZs in Colorado Roadless Areas.


     D. Use and Designation of Roads in Roadless Areas

   The Colorado Roadless Rule directs that roads constructed in roadless areas shall prohibit public
   motorized vehicles including off-highway vehicles except where specifically used for the

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                                                                         Rvsd Plan - 00005318
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 227 of 475




   purpose for which the road was established or where motor vehicle use is specifically authorized
   under federal law or regulation. See 36 CFR 294.43(d)(4). The Colorado Roadless Rule also
   specifies that a temporary road generally cannot be changed to a system road. See 36 CFR
   294.43(d)(3).

   Recommendation: The Final Plan should incorporate these prohibitions as standards.


     E. Absence of Plan Components
   We really like the fact that the Draft Plan provides direction on activities and uses in upper and
   lower tier roadless areas. We are confused, however, about whether the language constitutes
   standards, guidelines or other plan components. We understand that the text is describing the
   management of these lands pursuant to the Colorado Roadless Rule direction and that the
   Colorado Roadless Rule is enforceable. However, if the Colorado Roadless Rule were to be
   modified substantially or revoked, the plan language would be the only guiding direction for
   these areas and would as currently crafted lack plan components. Hence, we ask that you add
   plan components, including standards, to this section. At a minimum, the limitations on tree
   cutting, sale, and removal; road construction and reconstruction; and the use of linear
   construction zones must be standards.


     F. Correction Needed
   Under MA 3.6 - Upper Tier Colorado Roadless Area, there is a mis-cite to the Code of Federal
   Regulations: “Road and trail construction and reconstruction follows direction outlined in the
   2012 Colorado Roadless Rule (36 CFR 223).” Plan at 84. The proper citation is 36 CFR 294.43.


   V. PROTECT SPECIES OF CONSERVATION CONCERN AND OTHER AT-RISK
   SPECIES

     A. INTRODUCTION - LEGAL AND REGULATORY BACKGROUND

        1. Diversity of Plant and Animal Communities

   NFMA codified an important national priority to ensure forest management plans “provide for
   the diversity of plant and animal communities based on the suitability and capability of the
   specific land area” (16 U.S.C. § 1604(g)(3)(B) (2012)). The National Forest Management Act
   (NFMA) established a process for integrating the needs of wildlife with other multiple uses in
   forest plans. Most important, the law set a substantive threshold Forest Service management
   actions must comply with for sustaining the diversity of ecosystems, habitats, plants and animals
   on national forests. This comment section is primarily on the species diversity and ecological
   sustainability aspects of management planning. Determinations of compliance with the NFMA
   diversity requirement must be based on plan components.

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                                                                        Rvsd Plan - 00005319
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 228 of 475




   In the context of at-risk species, a desired condition must meet a two-part test (219.7(e)(1)(i)): 1)
   “a description of specific^ecological characteristics,” and 2) “that must be described in terms
   that are specific enough to allow progress toward their achievement to be determined.” For at-
   risk species, the ecological characteristic must be the ecological condition necessary to meet the
   requirements of 219.9. It is very important to note that desired conditions within a plan area must
   not work against each other and must be mutually achievable. In addition, all other plan
   components must be based on desired conditions and must be integrated with each other.42

   Furthermore, the rule requires standards or guidelines for at-risk species. 36 CFR 219.9. And
   without such standards and guidelines, any assertion or finding that forest plan direction will lead
   to better outcomes, including increased population numbers, greater genetic diversity,
   maintenance and restoration of relevant habitat characteristics, long-term viability, and other
   measurable goals, will be arbitrary and capricious.

   There is a legitimate process to evaluate whether plan components meet planning rule diversity
   requirements, as described below. Clearly the first step is to develop initial plan components that
   attempt to meet planning rule requirements by integrating the necessary ecological conditions for
   at-risk species into the ecosystem plan components. This should be followed by an analysis of
   what species-specific plan components can be tailored to provide ecological conditions necessary
   for at-risk species, which are often identified by BASI and information provided by other state
   and federal agencies.

   Ecosystem plan components are intended to maintain or restore the structure, function,
   composition, and connectivity of terrestrial and aquatic ecosystems and the diversity of
   ecosystems and habitat types (219.9(a)). Ecosystem components would generally be those that
   describe biological conditions at the scale of the selected ecosystems.

   The distinguishing characteristic of species-specific plan components in the planning rule is that
   they are designed for species not otherwise fully provided for by ecosystem plan components.
   Species-specific components may be those that need to be applied at the project level: standards
   and guidelines that provide mitigation for certain activities known to cause adverse effects on the
   species or its habitat. They may also be desired conditions for species populations or for
   conditions at a finer scale relevant to a species’ needs. Plan components to address ecological
   conditions related to human uses and structures may also tend to be directed at the needs of
   specific species.

   A “coarse filter strategy” that relies heavily on ecosystem components is appealing because of
   the apparent efficiency of addressing multiple species in an integrated manner, and because it
   can be developed using familiar available metrics for vegetation attributes. However, a single,
   generalized characterization of habitat is unlikely to provide a reliable basis for multi-species



   42 See NFMA Section 6(f)(1) (16 U.S.C. § 1604(f)(1)), which requires “one integrated plan,” as described in
   219.1(b) and 219.2(b) in the rule. The rule describes all of the other required plan components in terms of the
   desired condition in 219.7(e).

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                                                                                     Rvsd Plan - 00005320
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 229 of 475




   conservation efforts (Cushman et al. 2008). Reliance on habitat characteristics can be expected to
   conserve a species only if the following assumptions are met (Noon et al. 2003):

              • The selected characteristics are adequate as surrogates for the species.
              • The selected characteristics include those threatening the species’ persistence.
              • The spatial resolution of the coarse filter matches the scale at which the species
          responds to environmental heterogeneity.

   The likelihood of these assumptions being valid for most species is low (Noon et al. 2003), and
   therefore some or most at-risk species are likely to require species-specific plan components. The
   coarse filter approach will be more defensible as a primary conservation strategy for at-risk
   species if a robust set of enforceable, detailed plan components is developed with an
   understanding of those species-specific conservation needs.


       2. Ecological Integrity and At-risk Species

   Following the development of meaningful plan components that include the ecological
   conditions necessary to meet the needs of at-risk species, the DEIS can then perform an
   evaluation to determine and demonstrate whether plan components meet the rule requirements.
   The diversity evaluation results in a “status” determination for ecosystem diversity, ecological
   integrity and species persistence and viability.

   The planning rule requires that plan components maintain or restore ecological integrity, which
   occurs (by definition, 219.19) when the dominant ecological characteristics (such as
   composition, structure, function, connectivity, and species composition and diversity) are within
   a range of reference conditions which would allow them to recover from perturbations. This set
   of reference conditions is referred to as the natural range of variation (NRV). NRV is generally
   based on natural disturbance regimes during a historic reference period, but may also include any
   additional information that indicates that something other than this historic range may be more
   appropriate as a future reference condition. It is important to note that BASI related to current or
   likely foreseeable impacts from climatic changes should be incorporated into the discussion,
   modeling, and planning related to NRVs for forest ecosystems. Climate change and associated
   changes in water availability, vegetative structure, and species composition should not merely be
   framed as a separate challenge needing separate planning, but rather as a necessary and critical
   component of the NRV. NRVs cannot merely be based on arbitrary, point-in-time historical
   reference conditions.

   The status of ecological integrity is determined by comparing the expected future conditions
   under proposed plan components for selected integrity characteristics to the NRV for those
   characteristics. In determining the status, the responsible official must consider the effects of all
   plan components on the characteristics; not just those intended to be beneficial. Departures from
   NRV indicate that the ecological integrity of the ecosystem is not sustainable (219.8(a)), and
   therefore diversity will not be achieved (219.9(a)).


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                                                                          Rvsd Plan - 00005321
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 230 of 475




   The RGNF proposed plan has not successfully provided specific, detailed and enforceable coarse
   and fine-filter plan components that are tiered off the habitat needs and threats to viability and
   recovery for at-risk, SCC, and listed species. See Appendix A for species-specific management
   guidelines and recommendations. The DEIS has not provided a sufficiently detailed analysis that
   clearly explains the connection between proposed coarse and fine-filter plan components and the viability
   and recovery of at-risk, SCC and listed species, and how the proposed plan components meet the
   requirements of the Endangered Species Act (ESA) and NFMA.

      3. Threatened and Endangered Species

   The 2012 planning rule establishes an affirmative regulatory obligation that forest plans “provide
   the ecological conditions necessary to: contribute to the recovery of federally listed threatened or
   endangered species” (36 C.F.R. § 219.9(b)(1)). The provision supports the “diversity
   requirement” of NFMA (16 U.S.C. § 1604(g)(3)(B)). Forest planning regulations and forest
   plans make conservation decisions and are vehicles to demonstrate compliance with NFMA, as
   well as the ESA.

   The ESA requires the Forest Service and other federal agencies to, “utilize their authorities in
   furtherance of the purposes of this Act by carrying out programs for the conservation43 of (listed
   species)” (16 U.S.C. §§ 1536(a)(1)). Therefore, the ESA requires that the Forest Service must
   use its authorities, including NFMA and its planning process and resulting plans, in furtherance
   of recovery of listed species. Moreover, the preamble to the planning rule specifically links this
   requirement to its responsibility under the ESA for recovery of listed species, stating, "[t]hese
   requirements will further the purposes of § 7(a)(1) of the ESA, by actively contributing to
   threatened and endangered species recovery and maintaining or restoring the ecosystems upon
   which they depend" (emphasis added) (77 Fed. Reg. 21215).

   Under the ESA, delisting or preventing listing requires adequate regulatory mechanisms, which
   courts have determined forest plans can provide—if plan components are legally binding
   (Greater Yellowstone Coalition v. Servheen). Consequently, when developing plan components
   to provide ecological conditions for plant and animal diversity in accordance with 219.9,
   planners should avoid vague or discretionary plan components.

   Standards (and determinations of unsuitability) should be encouraged as a means of meeting
   requirements to provide “necessary” ecological conditions for listed species. Using standards to
   meet this diversity requirement in 219.9 is consistent with the rule’s emphasis on using standards
   when mandatory constraints are needed to meet legal requirements (219.7(e)(1)(iii)). The threat
   of species extinction, or extirpation, from the RGNF is something the Forest Service needs to
   take seriously and address with increased specificity within the forest plan. Ecosystem-level


   43 “Conservation” is defined by the ESA to mean “the use of all methods and procedures which are necessary to
   bring any endangered species or threatened species to the point at which the measures provided pursuant to this Act
   are no longer necessary.”

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                                                                                   Rvsd Plan - 00005322
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 231 of 475




   guidance cannot ensure recovery of listed species. A more detailed and nuanced approach is
   necessary, and recovery plans created by the FWS should be the baseline for the Forest Service’s
   approach.

   [Designating certain plant, animal, and fish species as species of conservation concern (SCC),
   per 219.9, is a very important component of any forest plan. SCC designation can help focus
   attention on species that could, without monitoring and appropriate management, slide toward
   extinction and a need to be listed under the Endangered Species Act.] [PROBABLY DELETE]


     B. SAGEBRUSH ECOSYSTEM ASSOCIATED AT-RISK SPECIES

      1. Introduction

   Plan components are not adequate to restore and maintain ecological integrity for the sagebrush
   ecosystem. Gunnison sage-grouse, a threatened species, and Brewer’s sparrow, a potential SCC,
   require this habitat.

   The Poncha Pass area is within the Gunnison sage-grouse historic range (see 79 Fed. Reg. 69192,
   69194, 2014), though habitat conditions must be improved to contribute to the recovery (79 Fed.
   Reg. 69313, November 20, 2014). Higher elevation sagebrush steppe like Poncha Pass may be
   key to the species’ persistence as climate change continues to affect lower elevation habitat
   elsewhere (TNC et al. 2011; Coop 2015). Including lands managed by the Bureau of Land
   Management (48%), the Forest Service (26%), private parties (24%), and the Colorado State
   Land Board (2%), GSRCS (2005) estimated the range of the population to be 20,400 acres
   (GSRCS 2005: 91).

   Terrestrial Ecosystems Assessment 1 and 3 was inadequate to determine the ecological condition
   of sagebrush on the RGNF, and this may be a contributing factor as to why the proposed plan
   falls short of providing the conditions to achieve integrity, sage-grouse recovery, and Brewer’s
   sparrow persistence. The Assessment concluded that the ecosystem was “slightly departed” from
   NRV, but how the results of the Assessment’s modeling data have been interpreted to make this
   determination is not clear. Important information about the vegetation composition, function, and
   connectivity does not seem to be included. For example, what percentage of the ecosystem
   contains sagebrush verses perennial and annual grasses, such as cheatgrass, and pinyon-juniper
   woodlands? What is the extent of fragmentation in the system to enable an assessment of
   connectivity? It’s not clear how heavily the model weighted wildfire data in Table 19 of the
   Assessment 1 and 3 (at 65).




                                                  57

                                                                      Rvsd Plan - 00005323
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 232 of 475




   Despite the Assessment’s limitations, a sufficient collection of best available scientific
   information (BASI) exists to improve proposed plan components in a way that they better assure
   sagebrush integrity can be maintained or restored. The proposed plan includes no components
   specific to the sagebrush ecosystem. We make the assumption that improving and developing
   plan components to provide the conditions that would contribute to the recovery of Gunnison
   sage-grouse and the viability of the Brewer’s sparrow would promote the integrity of the
   ecosystem.

       2. Key Ecosystem Characteristics and Plan Components

   For the most part, the Gunnison sage-grouse and Brewer’s sparrow depend on similar key
   ecosystem characteristics. The DEIS (Table 58 at 244) identified “sagebrush” as the only key
   ecosystem characteristic associated with the Gunnison sage-grouse. We outline essential key
   characteristics with references to BASI and comment on corresponding plan components and
   management approaches below.

   Large, contiguous, unfragmented patches of sagebrush across the landscape. Sage-grouse are a
   landscape species (Connelly et al. 2011a). Migratory populations have large annual ranges that
   can encompass 1,042 mi2 (667,184 ac) (Knick and Connelly 2011, citing Dalke et al. 1963;
   Schroeder et al. 1999; Leonard et al. 2000) (the species may use up to 2,500 mi2 per population
   (Rich and Altman 2001)). Large-bodied birds are generally more strongly affected by habitat loss
   and fragmentation (Winter et al. 2006). Conserving large expanses of sagebrush steppe is the
   highest priority to conserve sage-grouse (Aldridge et al. 2008; Connelly et al. 2011b; Manier et
   al. 2013: 25-26). Maintaining or restoring so that at least 70 percent of the land cover is
   sagebrush steppe essential for supporting sage-grouse (SGNTT 2011: 6; Doherty et al. 2010;
   Wisdom et al. 2011; SGNTT 2011: 7; Karl and Sadowski 2005; Doherty 2008; Connelly et al.
   2000: 977, Table 3; Knick et al. 2013: 5-6) with 15 to 40 percent sagebrush canopy cover
   (Connelly et al. 2000; SGNTT 2011; Hagen et al. 2007). (See also Winter et al. 2006; Connelly
   et al. 2011b; Manier et al. 2013: 25-26; RGNF undated, Centrocercus minimus;). For
   information more specific to the Brewer’s sparrow, see RGNF (undated, Spizella breweri).

   Developing and implementing conservation strategies at regional or landscape scales will have
   the greatest benefit for sage-grouse and their habitat (see Doherty et al. 2011), and for Brewer’s
   sparrows. Protecting large expanses of sagebrush steppe must be high priorities (Connelly et al.
   2011a; Wisdom et al. 2005b). Given the importance of public lands to sagebrush conservation,
   the sensitivity of these lands to disturbance, longer recovery periods and variable response to
   restoration, and their susceptibility to invasion by exotic plants (Knick 2011), land uses that
   negatively affect these lands should be avoided or prohibited in key habitat areas to conserve
   sage-grouse habitat. Establishing a system of habitat reserves in sagebrush steppe will also help
   conserve essential habitat and ecological processes important to sage-grouse conservation.


                                                   58

                                                                        Rvsd Plan - 00005324
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 233 of 475




      DC-WLDF-3: Sujficient habitat connectivity is present in each vegetation type to facilitate
      species movement within and between daily home ranges, for seasonal movements, for
      genetic interchange among species (including Canada lynx and others), andfor long­
      distance movements across boundaries. (Forestwide)

   The word “sufficient” must be quantified. There is no way to measure progress toward the
   achievement of the desired condition (DC). A DC should be developed to be specifically
   applicable to sage-grouse in relation to the species’ connectivity needs based on the BASI
   referenced above.

      DC-SCC-1: A healthy sagebrush steppe ecosystem meets the needs ofsagebrush obligate
      species including, but not limited to, Brewer’s sparrow. (Forestwide)

   Healthy is too subjective and vague for this DC to meet planning rule requirements. While the
   Assessment is flawed, it claimed the sagebrush ecosystem is outside of its NRV. The DC should
   outline the natural range of variability (NRV) for the key characteristics necessary for Brewer’s
   sparrows (and sage-grouse) and describe how restoring the ecosystem toward NRV can be
   achieved.

      DC-TEPC-l: Occupied or potential Gunnison sage-grouse habitat is maintainedfor habitat
      integrity and diversity using information provided by the local interagency working group
      and/or Range-wide Conservation Plan. (Forestwide)
      DC-TEPC-2: Occupied or potential Gunnison sage-grouse habitat provides for habitat
      integrity and diversity using information provided by the local interagency working group
      and/or Range-wide Conservation Plan. (Forestwide)

   Plan at 24.

   DC-TEPC-1 and DC-TEPC-2 are virtually identical. Both require additional specificity
   regarding how to provide for “habitat integrity.” It’s not clear what “diversity” means, and this
   must be clarified. The revised plan cannot simply refer to external policy for direction. It is fine
   to use such direction when it reflects the BASI, but the direction must be written into the revised
   plan. In the case of these two proposed plan components, it’s not clear: 1) what precisely the
   “local interagency working group” or the “Range-wide Conservation Plan” are, 2) what
   “information” will be used, and 3) how the “information” will be used. We’re assuming the
   “Range-wide Conservation Plan” is the 2005 plan of which the Forest Service is a signatory. If
   so, this plan is outdated. The Gunnison sage-grouse was listed as threatened under the ESA by
   the USFWS in part because this and other plans were found to be inadequate to conserve and
   recover the species.


                                                    59

                                                                         Rvsd Plan - 00005325
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 234 of 475




   Tall and medium height grasses and shrub cover at nest sites, >7.5 inches. Gregg et al. (1994:
   165) noted that “[l]and management practices that decrease tall grass and medium height shrub
   cover at potential nest sites may be detrimental to sage grouse populations because of increased
   nest predation. ^ Grazing of tall grasses to <18 cm would decrease their value for nest
   concealment. ^ Management activities should allow for maintenance of tall, residual grasses or,
   where necessary, restoration of grass cover within these stands.” Hagen et al. (2007) conducted a
   quantitative meta-analysis of existing research on greater sage-grouse nesting and brood-rearing
   habitat and confirmed that female sage-grouse typically select nesting sites with greater
   sagebrush cover and grass height compared to random locations, and that brood areas usually
   had less sagebrush, taller grasses, and greater forb and grass cover than at random sites. (Gregg
   et al. 1994; Hagen et al. 2007); Connelly et al. 2000; Hagen et al. 2007; Braun et al. 2005)

      S-WLDF-6: Retain residual grass coverfrom the previous growing season where tall, dense
      cover is desiredfor ground-nesting birds. (Forestwide)

   Plan at 27.

   We agree with the concept of this standard, and believe it’s an important standard with some
   added specificity. A standard must be developed to provide for the specific requirement of >7.5
   inches of grass height during nesting season that is specific to the Gunnison sage-grouse.

   High quality winter habitat. Sage-grouse typically show high fidelity to winter habitat, and a
   single area may support several different breeding populations. Consequently, the loss or
   fragmentation of wintering areas can have a disproportionate impact on sage-grouse population
   size. Scientists have also observed that the quality of winter habitat appears to influence the
   abundance and condition of female sage-grouse and their nesting effort and clutch sizes in spring
   (Moynahan et al. 2007; Caudill et al. 2013). Again, the plan must provide specific components
   related to sage-grouse and habitat that, in aggregate, will contribute to the recovery of the
   species; this means identifying winter habitat and assessing the conditions of this habitat.

   Riparian areas and wetlands. Sage-grouse use riparian areas and wetlands.

       G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
          • Manage riparian areas and wet meadows to meet proper functioning condition while
            striving to attain reference state vegetation relative to the ecological site description.

   Plan at 24-25.




                                                   60

                                                                        Rvsd Plan - 00005326
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 235 of 475




   This is also an important guideline. It must be linked to a DC that describes target ecological
   conditions (the “reference state”). The plan must define “properly functioning condition.” See
   Connelly et al. (2000).

      3. Ecosystem Stressors and Threats

   Sagebrush areas are underrepresented in that national wilderness preservation system and have
   been underappreciated as habitat essential for sagebrush obligate species. Livestock grazing,
   roads, and invasive species are stressors, for example, and both the sage-grouse and Brewer’s
   sparrow are sensitive to human disturbance.

       G-SCC-4: Avoid impacts to Brewer’s sparrow habitat by:
          • Mitigatingfragmentation ofsagebrush by motorized and mechanized activities
          • Use grazing systems that discourage fragmentation and promote and maintain late
            seral understory plant composition
          • Maintaining large patches of sagebrush that provide suitable habitat and display a
            variety of structural conditions. (Forestwide)

   Plan at 20.

   Again, the guidelines must be linked to a DC that describes the conditions for which the
   guideline is intended to provide direction. For example, if “late seral understory plant
   composition” is necessary for Brewer’s sparrow viability, this must be provided for by DCs,
   guidelines, and standards. What are the structural conditions?

   Livestock grazing. Domestic livestock and other ungulates alter vegetation, soils, hydrology, and
   wildlife species composition and abundances that exacerbate the effects of climate change on
   western landscapes. Removing or reducing livestock grazing across large areas of public land
   would alleviate a widely recognized and long-term stressor and make ecosystems less susceptible
   to the effects of climate change. Cattle grazing exacerbates cheatgrass (Bromus tectorum)
   dominance in sagebrush steppe by decreasing bunchgrass abundance, shifting and limiting
   bunchgrass composition, increasing gaps between perennial plants, and trampling biological soil
   crusts. Grazing was also not found to reduce cheatgrass cover, even at the highest grazing
   intensities. (Beschta et al. 2012; Reisner et a. 2013)

   See additional comments on livestock grazing elsewhere.

      S-WLDF-7: Manage livestock grazingfrom April 15 to July 1 provide coverfor ground­
      nesting bird species that prefer undisturbed cover. (Forestwide)

   Plan at 27.

                                                   61

                                                                       Rvsd Plan - 00005327
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 236 of 475




   This is an important standard. However, it must be clear what “manage” means in order to
   provide unambiguous direction. Additional strategies could then be described in management
   approaches. Restrict grazing until the completion of sage-grouse breeding and nesting period,
   and seasonally remove livestock from late brood-rearing habitat to allow sufficient regrowth of
   native grasses to ensure adequate residual height.

       G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
          • Design proojects or activities to mitigate or avoid the direct or indirect loss o_f habitat
             necessary for maintenance of the local population. ^
       • Ensure livestock grazing is compatible with nesting and brood-rearing objectives in sage
          habitats and riparian areas.

   Plan at 24-25

   This is potentially an important guideline, but it must be modified. The proposed plan has
   provided no “nesting and brood-rearing objectives.” What are these objectives? Native, perennial
   grass cover must exceed 7.5 inches during nesting and brood-rearing season, in accordance with
   the BASI, and this must be a standard. Livestock grazing should be restricted where cheatgrass
   (Bromus tectorum) occurs in sagebrush (Reisner et al. 2013; Chambers 2008; Reisner 2010).
   Utilization levels should not exceed 25 percent annually on uplands, meadows, flood plains and
   riparian habitat (Holecheck et al. 2010; BLM & USFS 1994).44 This guideline must be linked to
   a DC that is clear and specific about the ecological conditions necessary to achieve integrity for
   the sagebrush ecosystem. It’s not enough to “maintain” the local population. The RGNF must
   work toward restoring conditions and recovery of the population.

      MA-RNG-1: A_fter all other solutions have been extensively considered, remove livestock
      from the grazing unit or allotment when further utilization on key areas will exceed
       allowable-use criteria, allotment management plan guidance, or annual operating
       instructions. Damage from use can resultfrom many things including but not limited to
       wildlife, recreation, flooding, and livestock grazing, none of which should push the use
       beyond what is allowed. (Forestwide)

   This should be a standard. See our comments on this under Specific Issues with Forest-wide
   Management Direction.

   Additionally, we recommend plan components that support limits on winter grazing to enable
   sufficient residual grass height for nesting for the next breeding season (See W. Watersheds


   44 “A community is considered to be at its natural potential when the existing vegetation is between 75-100 percent
   of the site’s potential natural plant community.” BLM & USFS 2004: 3-26.

                                                            62

                                                                                    Rvsd Plan - 00005328
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 237 of 475




   Project v. Salazar, 843 F.Supp.2d 1105, 1115 (D. Idaho 2012), citing Braun (2006,
   unpublished); W. Watersheds Project v. Dyer, 2009 WL 484438, at * 21 (D. Idaho 2009)).
   Components are also needed to provide direction to avoid new structural range and livestock
   water developments in essential habitat, and institute best management practices to prevent, or
   limit and mitigate, the potential spread of West Nile virus (SGNTT 2011: 17).

   Ground disturbing activities by humans. Sage-grouse require sagebrush-dominated landscapes
   containing minimal levels of anthropogenic disturbance. Ninety-nine percent of remaining active
   sage-grouse leks were in landscapes with less than 3 percent disturbance within 5 km of the lek,
   and 79 percent of the area within 5 km was in sagebrush cover (Knick et al. 2013).

      S-WLDF-1: Avoid or minimize disturbances as much as possible during the local nesting
      season (April 15 - July 1 for most passerine birds). Evaluate the Ojfects ofprojects and
      activities on migratory and resident birds, with a focus on species of management concern
      (species of conservation concern, and birds of conservation concern identified by the U.S.
      Department ofInterior Fish and Wildl_fe Service). Consider important l,_fe history needs such
      as nesting requirements, post-fledging areas, and stop-over habitats. Incorporate
      conservation measures and principles, as applicable and needed, from local bird
      conservation plans (e.g., Colorado Bird Conservation Plan, Rio Grande National Forest
      Avian Monitoring Analysis documents) and/or other references into project design to
      eliminate or minimize potential adverse ejfects. (Forestwide)

   Plan at 26-27.

   Define what “disturbance” means for this DC. Change the first sentence to: “Avoid disturbances
   during the local nesting season (April 15 - July 1 for most passerine birds) as needed to
   contribute to recovery of sage-grouse and the viability of Brewer’s sparrows and protect other
   breeding birds.” Be specific about which “conservation measures and principles” should be
   followed from the listed documents. The BASI demonstrates the importance of limiting surface
   disturbance to less than 3 percent per section in habitat (SGNTT 2011: 21, 24; Holloran 2005;
   Doherty et al. 2010; Doherty 2008).

   Energy development. The proposed plan does not provide adequate direction for protecting
   sagebrush and sage-grouse and Brewer’s sparrows. There should be no surface occupancy
   associated with energy development in sagebrush habitat (Moynahan et al. 2007; Walker 2007;
   Doherty et al. 2008; Carpenter et al. 2010).

      MA-WLDF-21: Locate and design wind energy structures to minimize or prevent wildlife
      mortality. (Forestwide)



                                                  63

                                                                       Rvsd Plan - 00005329
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 238 of 475




   Plan at 30.

   Exclude renewable energy development in sage-grouse habitat as recommended by the BASI
   (SGNTT 2011: 13; Jones 2012). If development is permitted (e.g., valid existing rights), locate
   turbines and infrastructure at least four miles from sage-grouse leks (Manville 2004; Jones
   2012). Do not site wind energy development in or adjacent to sage-grouse wintering areas.

   Invasive plants. Pinyon-juniper encroachment and the spread of the non-native, annual
   cheatgrass are detrimental to sagebrush and incompatible with sage-grouse and Brewer’s
   sparrow occupancy.

       G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
          • Design fuels treatment ob^jectives to protect existing sagebrush ecosystems, modi_fy
            fire behavior, restore native plants, and create landscape patterns that benefit
             habitat. (Forestwide)

   Plan at 24-25.

   The guideline is necessary but does not provide sufficient specificity to allow for project-level
   direction. Develop plan components that provide direction for the following, based on BASI: In
   areas of pinyon/juniper, avoid treating old-growth or persistent woodlands. In areas where
   sagebrush is prevalent or where cheatgrass is a concern, utilize mechanical methods rather than
   prescribed fire. Prohibit prescribed fire in sagebrush steppe with less than 12 inches annual
   precipitation (SGNTT 2011: 26, citing Connelly et al. 2000; Hagen et al. 2007; Beck et al. 2009)
   or areas with moderate or high potential for cheatgrass incursion (Miller et al. 2011). Prohibit
   herbicide application within 1 mile of sage-grouse habitats during season of use; prohibit use of
   insecticides (Blus et al. 1989). Restore non-native seedings with native vegetation where it
   would benefit sage-grouse (SGNTT 2011: 16-17).

   Roads and power-line rights of way. The proximity of transmission lines was, among other
   factors, predictive of nest location for common ravens in/near sagebrush steppe. The research
   supports other findings that transmission lines provide favorable conditions for ravens, a predator
   of sage-grouse. (Howe et al. 2014)

      MA-lNFR-8: Manage road use by seasonal closure ._f:
        • Use is causing unacceptable damage to soil and water resources due to weather or
           seasonal conditions
        • Use is causing unacceptable wildl,_fe conflicts or habitat degradation
        • Use is resulting in unsafe conditions due to weather conditions
        • The road(s) serve a seasonal public or administration need



                                                   64

                                                                       Rvsd Plan - 00005330
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 239 of 475




           •     The area accessed has seasonal needfor protection or non-use. (General Forest
                 Geographic Area, Specially Designated Geographic Area)

   Plan at 61.

   To protect sagebrush and associated at-risk species from road effects, specific plan
   components—not merely management approaches—must be developed based on the BASI. See
   below:

       •   Exclude new rights-of-way in sagebrush habitat (SGNTT 2011: 12).

       •   Develop valid existing rights-of-way in essential habitat in accordance with National
           Technical Team report prescriptions (SGNTT 2011: 13).

       •   Limit motorized travel to designated routes trails in essential habitat (SGNTT 2011: 11).
           Implement appropriate seasonal restrictions on motorized travel to avoid disrupting sage­
           grouse during season of use (Holloran 2005; Aldridge et al. 2012).

       •   Close existing trails and roads to achieve an open road and trail density not greater than 1
           km/1km2 (.6 mi/.6 mi2) in sage-grouse habitat (Knick et al. 2013).

       •   Where valid existing rights-of-way are developed, restrict road construction within 1.9
           miles of sage-grouse leks (Holloran 2005).

       •   Bury existing transmission lines in essential habitat, where possible (SGNTT 2011: 13).

       •   Install anti-perching devices on transmission poles and towers (SGNTT 2011: 64).
           Dismantle unnecessary infrastructure.

   See additional comments on Infrastructure components under Specific Issues With Forest-Wide
   Direction.

   Anthropogenic noise. Anthropogenic noise from energy development and roads can cause
   greater sage-grouse to avoid otherwise suitable habitat and increase stress responses in birds that
   do remain, which could adversely affect disease resistance, survival and reproductive success.
   The effects of noise from many common activities in the sagebrush biome significantly expands
   the human footprint on the landscape and impacts on sage-grouse (Blickley et al. 2012). The
   RGNF plan should have a standard that prohibits noise levels associated with any anthropogenic
   activity to not exceed 10 dBA above scientifically established natural ambient noise levels at the
   periphery of sage grouse mating, foraging, nesting, brood-rearing, and winter habitat during each
   season of use by sage-grouse (Patricelli et al. 2013; SGNTT 2011: 64, citing Patricelli et al.


                                                    65

                                                                         Rvsd Plan - 00005331
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 240 of 475




   2010). Patricelli et al. (2012) recommend measuring compliance with noise objectives at the
   edge of areas critical for foraging, nesting and brood-rearing rather than at the edge of the lek.


      4. Additional Recommended Plan Components

   Measures for ameliorating the effects of climate change on species and landscapes include
   increasing the size and number of protected areas, maintaining and enhancing connectivity
   between protected areas, and identifying and protecting areas likely to retain suitable
   climate/habitat conditions in the future (even if not currently occupied by the species of
   concern). Management should also repulse invasive species, sustain ecosystem processes and
   functions, and restore degraded habitat to enhance ecosystem resilience to climate change
   (Chester et al. 2012; NFWPCAS 2012).

   Designate restoration sage-grouse habitat to focus habitat restoration efforts to extend sage­
   grouse habitat and mitigate for future loss of priority habitat (BLM Memo MT-2010-017).
   Restoration habitat may be degraded or fragmented habitat that is currently unoccupied by sage­
   grouse, but might be useful to the species if restored to its potential natural community.
   Restoration habitat should be identified in management planning based on its importance to
   sage-grouse and the likelihood of successfully restoring sagebrush communities (Meinke et al.
   2009; Wisdom et al. 2005a). Effective restoration requires a regional approach (e.g., sub/regional
   ElSs) that identifies appropriate options across the landscape (Pyke 2011). Passive restoration is
   preferred for restoring these areas over active restoration methods.

   Although cooperation among many federal and state agencies and private land owners will be
   necessary to conserve sage-grouse and sagebrush habitat (Stiver et al. 2006), the federal
   government and federal public land are key to achieving these goals. Federal agencies must
   prioritize sagebrush conservation if sage-grouse are to persist (Connelly et al. 2011a).


      5. Unauthorized Motorized Use In Gunnison Sage Grouse Habitat

   A small population of Gunnison Sage Grouse (Centrocercus minimus) may exist near Poncha
   Pass. This species is critically imperiled on a global scale, and was listed as a threatened species
   by the US Fish and Wildlife Service in November of 2014.

   There are 5060 acres of Forest land near Poncha Pass considered to be part of the overall range
   of this species. DEIS at 219.

   We believe significant unauthorized motorized use on Forest land is resulting in negative
   impacts to Gunnison sage grouse and grouse habitat near Poncha Pass.


                                                    66

                                                                         Rvsd Plan - 00005332
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 241 of 475




   We conducted field surveys by walking routes on the ground within Colorado Parks and Wildlife
   identified Gunnison Sage Grouse overall range in the 2016 and 2017. We located and
   documented over 30 separate undesignated routes, totaling approximately 12.5 miles, that are
   being used by motorized vehicles on Forest land in this area.

   One area, south of the Decker Creek road #990, contains a high density of unauthorized routes
   within a Colorado Parks and Wildlife identified Gunnison sage grouse production area. The
   density unauthorized routes exceeds 1.2 miles of route per square mile in this area.

   None of these routes are legally open to public motorized use according to the most recent 2016­
   2018 Motor Vehicle Use Map for the Saguache Ranger District. This map indicates that there
   are only five designated system roads, totaling approximately 4.5 miles in length, within this
   area. Thus, there are 2.8 times more miles of unauthorized motorized use occurring within this
   area than miles of legal motorized use.

   It is not known if any of these routes are permitted (e. g., by special use) or administrative routes.
   Some may be decommissioned or closed Maintenance Level 1 forest roads. We did not observe
   any informational signage on the ground that would inform the public that these routes were not
   available to public motorized use. We did observe a few gates on routes at the forest boundary,
   but these gates were all open, unlocked, and there was no evidence of locks or chains being used
   on these gates. Regardless of the above, all of these routes are still receiving regular motorized
   use by the public.

   There are a few routes on the ground which may receive authorized or permitted motorized use,
   but we did not observe evidence of unauthorized public motorized use.

   GIS data detailing this unauthorized motorized use is attached (see Exhibit 6), and depicted in
   the enhanced aerial image below.

   This unauthorized motorized use has probably resulted in adverse effects to grouse in this area
   which has not been fully considered and assessed in the DEIS. It may have caused the apparent
   near-disappearance of the Poncha Pass area population. See DEIS at 218.

   The DEIS states:

         Use of existing, designated routes will not cause further harm to current sage-grouse
         habitat, but may harass any remaining birds. There is a moderate chance of some
         adverse effect resulting from unintentional harassment by motor vehicle users and
         other recreationists; however, this risk is not new and was analyzed when the
         reintroductions were planned.

   DEIS at 221. The plan only considers harassment to grouse from the use of motorized system
   routes, but impacts from unauthorized routes has not been fully considered.

   We agree that:



                                                     67

                                                                          Rvsd Plan - 00005333
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 242 of 475




          illegal off-route travel by off-highway vehicles continues to be a problem on the
          Forest, as well as on many other federal lands. Most of this occurs in the form of
          short-distance loops or spurs off existing routes, especially in riparian areas. These
          have the same impacts as those of planned routes and may have additional, more
          severe, impacts due to their unplanned nature.

   DEIS at 239. Although we documented some short unauthorized routes in this area, others
   exceeded 1.8 miles in length and loops exceeding 2 miles in length are being used.

   The following negative effects are likely occurring due to the presence and use of these routes:

      •    loss of and degradation of habitat due to route presence and disturbance on the
           ground(see Trombulak and Frissell 2000; Connelly et al. 2011)
      •    increased noise disturbance (Blickley et al. 2012)
      •    facilitation of overnight occupancy and use from dispersed motorized camping, which
           results in additional impacts including noise, loose dogs, human presence, recreational
           target shooting, etc.
      •    spread of invasive species
      •    impacts to waterways and riparian areas
      •    fragmentation of habitat due to routes extending into what otherwise would be solid
           blocks of habitat
      •    a high route density
      •    facilitation of additional human presence, both motorized and non-motorized, as a route
           on the ground permits additional, easier, and more widespread access.

   We believe that the volume, extent and intensity of this unauthorized motorized use was not fully
   analyzed when grouse reintroductions were planned. The popularity of OHV use has increased
   tremendously in the last 15 years, and this has resulted in a corresponding increase in
   unauthorized use. Our observations indicate that unauthorized motorized use in grouse habitat
   on the forest has been increasing each year. Decisions by the BLM and adjacent Salida Ranger
   District (on the Pike-San Isabel National Forest) to add additional public OHV routes on their
   lands will likely result in additional use of the RGNF.

   The Forest plan must include stronger language that directs the Forest to implement existing
   travel management decisions through the installation of signage and structures, and to close and
   decommission unauthorized routes. Draft Plan direction at Recreation Standard 3 currently
   states: “Close, rehabilitate and otherwise mitigate dispersed sites” when certain conditions are
   met. Plan at 65. This must be broadened to include linear undesignated routes and areas, and not
   simply specific sites.

   Many of these unauthorized routes originate from system and non-system routes on BLM land.
   Some unauthorized routes originate from USFS designated roads. Other routes originated from
   private land, cross BLM land, and then extend into the Forest. The Forest must not depend upon
   the BLM or private landowners to take action to properly manage damaging unauthorized use on
   land under Forest jurisdiction, though it should encourage efforts by other landowners to close
   unneeded or damaging roads.

                                                     68

                                                                          Rvsd Plan - 00005334
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 243 of 475




   We agree with DEIS statements that potential wilderness designation of Forest lands in this area
   would be beneficial to grouse, and that this would ensure that no additional roads are constructed
   in this area. Id. at 222. Recommended wilderness areas in alternative B and D do not include
   some of the highest concentrations of unauthorized routes south of the Decker Creek Road 990.

   Wilderness and other designations may be helpful, but past and future administrative decisions,
   do not benefit a species unless they are properly implemented and managed on the ground.




          Enhanced aerial image depicting land ownership with USFS land shaded in green,
              2017 Colorado Parks and Wildlife grouse overall range (yellow line) and
                       unauthorized motorized use on USFS lands (red lines)


     C. CANADA LYNX (Lynx canadensis)


                                                   69

                                                                       Rvsd Plan - 00005335
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 244 of 475




           1. The Plan’s Lynx Provisions Need Clarity and Strengthening

   As an initial matter, we are pleased that the DEIS states the Forest will consult under Section 7
   of the ESA with the U.S. Fish and Wildlife Service (USFWS) (DEIS at 198). The Forest Service
   should make its Biological Assessment available to the public and should also promptly post the
   Biological Opinion from USFWS on the RGNF’s plan revision website as soon as it is complete
   and received by the Forest. We look forward to seeing the result of this legally required
   consultation process.

   The changed ecological conditions in the forest resulting from the recent multi-year, large-scale
   spruce bark beetle outbreak necessitate a precautionary approach to forest management, with a
   high priority on maintaining or restoring ecological conditions necessary to contribute to the
   recovery of Canada lynx (lynx). Generally, viable populations of native wildlife species are
   resilient to natural disturbances, even large-scale changes. The assessment presented inconsistent
   science regarding whether the current forest conditions are outside of their NRV based on
   structure, composition, function, and connectivity characteristics. Though population estimates
   and trend data for the Southern Rockies’ lynx population do not exist, there is no indication that
   numbers are sufficient to consider the population viable. Given the likelihood that the population
   has remained small, it may be more vulnerable to perturbations, even those that occur naturally.

   The management actions and projects that are within the Forest Service’s control and have the
   potential to impact lynx and lynx habitat must only occur with extreme care and strict adherence
   to strong and clear direction from the forest’s management plan. We are pleased that the
   proposed plan has retained the Southern Rockies Lynx Amendment (SRLA) plan components.
   Now is not the time to make radical changes in management direction. The SRLA components
   are necessary to contribute to lynx recovery but we are concerned that they are not fully
   sufficient, owing to the condition on the forest. We recommend strengthening plan components,
   incorporating additional direction, and modifying some definitions in the SRLA to meet the
   threatened and endangered species recovery requirement of the planning rule (219.9(b)(1)) (see
   above).

   The RGNF was prudent to help support a study on the response of lynx to mass spruce tree
   mortality associated with the beetle outbreak. The progress report (Squires et al. 2017) providing
   preliminary results should inform the revision and refinement of plan components as should final
   results, when these are available. The study results should be considered a significant part of the
   BASI informing lynx direction. The progress report noted that lynx depend on forest stands of
   value for salvage harvest. The Squires et al. (2017) progress report noted the following:

       •     “Lynx actively selected forest stands with high horizontal cover and high snowshoe hares
             density.” At 11. They tended to prefer “areas with >50% horizontal cover in the summer
             and >40% in the winter.” At 9.
       •     “Lynx selected forest stands with abundant ABLA [subalpine fir] in the understory.” At
             11.
       •     “Canopy cover (live + dead) is higher in stands selected by lynx relative to random^”.
             At 11.


                                                    70

                                                                          Rvsd Plan - 00005336
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 245 of 475




       •   “Lynx selected forest stands with high tree (i.e., >3 inches DBH [diameter at breast
           height]) densities; generally >400 trees/acre ^”. At 11.
       •   “Abundant large live trees, and medium, large, and very large dead trees appear to be
           important forest components selected by lynx.” At 11.
       •   “Live ABLA [subalpine fir] and PIEN [Engelmann spruce] tree (i.e., >3 inches DBH
           [diameter at breast height]) densities as well as beetle-killed PIEN tree densities appear to
           be the species-specific components selected for by lynx. At 12.

   Salvaging trees in significant areas of beetle-affected spruce-fir forest could have devastating
   effects on lynx habitat without a comprehensive set of plan components that fully account for the
   changed condition. Vegetation management (e.g., timber harvest, salvage or sanitation harvest,
   precommercial thinning, and fuels treatment), is considered a “first tier” threat according to the
   RGNF’s wildlife overview for the lynx (RGNF Undated, Lynx canadensis), which references the
   Interagency Lynx Biology Team’s Canada Lynx Conservation Assessment and Strategy (LCAS
   2013) (ILRB 2013). The LCAS 2013 provides a compilation and synthesis of the BASI up to
   2013. Vegetation management can create forest openings that lynx avoid, forest fragmentation
   that present barriers to movement, and risks to den sites from disturbance, for example.

   Other anthropogenic stressors to lynx habitat include snow compaction resulting from over-snow
   vehicle use and roads and trails, livestock grazing—particularly in riparian-willow areas, and
   disturbance to lynx from recreational activities. Management can limit the impacts of these
   activities. Climate change is also a stressor. With climate change impacts already apparent on the
   forest, it is imperative that the forest plan provide protection to lynx and lynx habitat from threats
   it can control.

   We make the following recommendations to improve the revised plan’s ability to contribute to
   lynx recovery.

   Desired Conditions

   The plan must include desired conditions for the ecological characteristics necessary for lynx
   recovery in relation to structural, compositional, functional, and connectivity elements of
   ecosystem integrity. The proposed plan includes a variety of desired conditions related to
   vegetation types as defined by the RGNF, including the spruce-fir forest type. However, the
   existing desired conditions are too vague, general, and incomplete, in the aggregate, to provide
   meaningful guidance and the ability to determine progress toward their achievement as required
   by the planning rule. For example, DC-WLDF-3 (Plan at 25) pertaining to connectivity, which
   states, “[s]ufficient habitat connectivity is present in each vegetation type to facilitate species
   movements” must define what “sufficient” means. As we’ve stated elsewhere, we believe DC-
   VEG-4 and DC-VEG-5 (Plan at 38) should be modified to be plan guidelines; but desired
   conditions to retain green tree patches and maintain mature late-successional spruce-fir forest
   must also be developed and linked to the guidelines.

   Obbjectives




                                                    71

                                                                          Rvsd Plan - 00005337
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 246 of 475




      OBJ-LYNX-1: Over the planning period, reduce adverse highway tjfects on Canada lynx by
      working with other agencies to provide for movement and habitat connectivity, and to reduce
      the potentialfor mortality. (Forestwide)

   It is not clear which desired condition this objective is linked with.

   Standards and Guidelines

   Part of the proposed new standard - VEG S7 (S-LYNX-7) - is a needed addition to the existing
   direction for the SRLA. It recognizes that lynx are still using areas with substantial, or even
   complete, overstory mortality that have an understory that provides dense horizontal cover.
   Standard Veg S 7 (Plan at 22) would apply limitations on vegetation management in areas with
   less than 40 percent canopy cover that still have enough understory to provide quality lynx
   habitat. Importantly, however, the definition for what qualifies as a Standard VEG S7 stand is
   not part of the actual standard itself. We request that this definition be moved into the standard
   itself so that there is no ambiguity as to the nature of this definition. Additionally, the
   relationship between this definition and the SRLA Definition 24 for “Lynx habitat in an
   unsuitable condition” should be explained. We believe that SRLA definition 24 is outdated and
   while in part correct, should be read along with the new definition related to Standard VEG S7.

   However, part 2 of this standard would allow salvage harvest “when incidental damage to
   understory and standing green trees is minimized.” “[M]inimized” is not defined. Damage to the
   understory during project implementation should not be allowed unless the lynx habitat remains
   suitable with no loss of quality, and that it will remain connected to adjacent habitat. Similarly,
   any damage to live trees must be minimized.

   Additionally, the standard does not describe who has the obligation to minimize damage. Is the
   burden on the Forest Service in designing salvage projects? Or is the burden only on the third-
   party operator to minimize damage as they implement the activity, and if so, what is the penalty
   for non-compliance?

   The VEG S7 standard should also be modified to clearly define whether the 200-foot vegetation
   management zone articulated in the standard’s paragraph 1 applies to all recreation sites, as
   defined by the Plan at 138, or to either dispersed recreation sites or developed recreation sites.
   While we understand that this language tracks the language in SRLA Standard VEG S6, we
   would encourage the Forest to eliminate ambiguity. We also encourage the Forest to have the
   200-foot vegetation management zone only apply to developed recreation sites.

   Additionally, we believe this standard does not do enough, and additional direction must be
   added to the standard or additional standards must be developed. The Squires et al. (2017)
   progress report demonstrated the importance of retaining live trees in lynx habitat, and a standard
   that will accomplish that is necessary. There are important conservation measures included in the
   LCAS (ILBT 2013: 86-96), based on BASI, that have not been incorporated in the Plan. For
   example, there is additional direction to prevent or limit: impacts of recreation (ILBT 2013: 94),
   forest/backcountry roads and trails (ILBT 2013: 94), and livestock grazing in riparian-willow
   areas (ILBT 2013: 94). Furthermore, several of the lynx-related Management Approaches are

                                                     72

                                                                            Rvsd Plan - 00005338
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 247 of 475




   written as if they were standards, and should be reframed as standards in the final Plan. We
   discuss those in the section related to Management Approaches below.

   The Supplement to Standard S1 (Plan at 24) should be clarified to reflect that this is a
   supplement to Standard VEG S1.

   With regard to the existing SRLA requirements that are being incorporated into the revised Plan,
   we offer several suggestions for improvement of the SRLA to modernize it and reflect the best
   available scientific information.

   SRLA Standard VEG S2 must be amended to reflect the new definition for unsuitable habitat
   found in what the draft Plan lists as MA-LYNX-2. VEG S2 specifically contemplates salvage
   harvest in insect-killed stands and allows such harvest to occur without contributing to the 15
   percent regeneration of lynx habitat when such treatment would not change lynx habitat to an
   unsuitable condition, and then cites to current SRLA definition 24. The revised plan should tie
   the definition for unsuitable habitat to that in MA-LYNX-2 to ensure that there is no loophole
   allowing logging of what we now know is suitable lynx habitat.

   We also recommend that certain SRLA guidelines be upgraded to standards. In particular, we
   believe that SRLA Guidelines VEG G5 and VEG G11 should be standards. Given that MA-
   LYNX-2 seems intended to protect primary prey habitat (i. e., for hare), the SRLA Guideline
   VEG G5, which seeks to protect secondary prey habitat, should be a standard. Guideline VEG
   G11, which relates to lynx denning habitat, should also be a standard.

   Denning habitat is vitally important for lynx, and seems to be overlooked in many Forest Service
   planning processes in lynx habitat. The USFWS discussed the importance of denning habitat to
   lynx, and included denning habitat as a Primary Constituent Element “that provide[s] for a
   species' life-history processes and [is] essential to the conservation of the species” when
   determining which lands should be designated as Canada lynx critical habitat. 79 Fed. Reg.
   54782, 54811-2 (Sept. 12, 2014). USFWS explained that “a feature or habitat variable need not
   be limiting to be considered an essential component of a species' habitat. Both denning and
   matrix habitats are essential components of landscapes capable of supporting lynx populations in
   the DPS because without them lynx could not persist in those landscapes.” 79 Fed. Reg. at
   54786.

   Because lynx denning habitat “is an essential component of the boreal forest landscapes that lynx
   need to satisfy a key life-history process (reproduction),” USFWS identified “denning habitat to
   be a physical or biological feature needed to support and maintain lynx populations over time
   and which, therefore, is essential to the conservation of the lynx [distinct population segment].”
   79 Fed. Reg. at 54810. The LCAS also notes: “Maintaining good quality and distribution of
   denning and foraging resources within a LAU will help to assure survival and reproduction by
   adult females, which is critical to sustain the overall lynx population.” LCAS at 87. Given the
   clear and undeniable importance of denning habitat to lynx, SRLA Guideline VEG G11 should
   be converted to a standard (reword “should” to “must”) in the revised Plan. Not only should the
   Forest do this of its own accord, but it is also required to do so given the 2012 planning rule’s



                                                   73

                                                                        Rvsd Plan - 00005339
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 248 of 475




   requirements related to recovery of ESA-listed species, as discussed elsewhere in these
   comments.


   Management Approaches

   As discussed above, management approaches are optional plan content intended to describe
   strategies or priorities, relate to desired conditions, and describe processes such as inventory and
   monitoring (FSH 1909.12.22.4). They are meant to provide additional clarity and detail. Several
   of the following management approaches are confUsing and don’t seem to provide any additional
   guidance regarding how to meet desired conditions. Additionally, some of the management
   approaches highlight areas that would be appropriate for inclusion in the monitoring program.

   We believe and appreciate that some of the provisions captured in these management approaches
   are meant to guide vegetation management activities and salvage harvest projects now, under the
   existing plan. However, they must comply with the requirements of the 2012 planning rule for
   the plan revision.

   Most importantly, management approaches are not regulatory mechanisms. If any are necessary
   to contribute to lynx recovery, they must be revised to meet planning rule requirements for plan
   components and incorporated into the plan as components.

      MA-LYNX-1: The Forest intends to use existing lynx habitat baseline conditions or other
      existing information, new science, data, and/or analysis tools to assess whether a lynx
      analysis unit meets Southern Rockies Lynx Amendment standards S1 (30 percent total
      unsuitable limit) and S2 (15 percent management induced unsuitable limit over 10-year
      period). If the limitfor either standard is attained, further conversion to unsuitable (stand
      initiation) cannot occur unless a site-specific plan amendment is developed. (Forestwide)

   This list: “existing lynx habitat baseline conditions or other existing information, new science,
   data, and/or analysis tools” does not assure that information sources and methodologies will be
   based on BASI. In fact, the approach may be undermining the BASI requirement or any
   scientifically accepted method for selecting the most accurate and highest quality of information
   and analysis. For example, “data” sets no acceptable scientific threshold for quality relative to
   other available data. Once this list is updated to properly incorporate planning rule requirements
   related to BASI, this information should all be included in the monitoring program, so that the
   Forest has an official process by which to continuously monitor and report related to these
   changes.

   The second sentence seems to restate the requirements of Standard VEG S1 and VEG S2. It’s not
   clear what the purpose of this management approach is. A management approach cannot set a
   threshold for when a standard cannot be met that would trigger a plan amendment.

      MA-LYNX-2: De_finitions used to determine suitable versus unsuitable lynx habitat due to the
      conditions associated with the spruce beetle outbreak are:



                                                    74

                                                                        Rvsd Plan - 00005340
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 249 of 475




          •   Unsuitable habitat: stands with less than 25 percent live (green) canopy without
              understory that provides at least 20 percent horizontal density (e.g., 1 to 3 meters
              above average snow depth or snowshoe hare winter foraging habitat condition).

          •   Suitable habitat: stands that have greater than 25 percent live canopy with or without
              understory, or stands that contain 0 to 25 percent live canopy and understory trees
              that provide at least 20 percent horizontal density in winter snowshoe hare foraging
              habitat condition. (Forestwide)

   Based on the BASI, these two definitions are necessary to contribute to lynx recovery; they seem
   to be intended to help maintain habitat for snowshoe hares - lynx primary prey. However, as
   with the other definitions for terms referenced in the SRLA, these definitions must be tied to
   specific plan components. The definition for “suitable habitat” is new and not tied to any plan
   components. For it to truly take effect, it must be incorporated into and referenced by a SRLA
   standard or a new standard specific to the Plan. If “unsuitable habitat” is intended to substitute
   for “lynx habitat in an unsuitable condition,” defined in the SRLA (Southern Rockies Lynx
   Management Direction, Record of Decision, October 2008, Attachment 1-12), the mechanism
   for making that change must be explained and appropriately documented in the plan.

   We recommend the two definitions be re-developed as standards to assure that they will serve as
   regulatory plan direction. The new standards must show the direct linkages between the SRLA
   plan components and the new definitions. The plan must show how the definitions will be
   applied with sufficient clarity to enable project planners to understand how they are to serve as
   management direction.

   We understand MA-LYNX-2 is intended to provide direction that would allow for making
   changes without amending the plan. We appreciate that definitions related to lynx direction may
   need to change when the Squires et al. study is finalized and when other science indicates other
   necessary changes. However, in the case of changing plan direction that might change how
   management could affect habitat for a federally threatened species, an amendment is the most
   appropriate, and likely necessary, mechanism for modifying plan direction.

   Finally, we recommend that the phrase “due to the changed conditions associated with the spruce
   beetle outbreak” be changed to “on the Forest.” These definitions should apply regardless if a
   stand has been struck by spruce beetle kill or some other event that decreases canopy cover or
   horizontal density, such as fire, a different insect outbreak, windthrow, climate change, or
   vegetation management. Although spruce beetle outbreak is indeed the largest landscape level
   changed condition that the Forest is currently dealing with, it is unlikely to be the only changed
   condition that the Forest experiences during the life of the revised Plan, and therefore should
   anticipate that its provisions will apply to other situations as well.

      MA-LYNX-3: Prioritize the placement of snag clumps and/or other leave areas around good
      or high-quality winter foraging habitat to meet multiple wildlife habitat ob^jectives.
      (Forestwide)




                                                   75

                                                                        Rvsd Plan - 00005341
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 250 of 475




   This is written as a plan standard, and likely should be a plan standard with some modification.
   For example, “good” and “high-quality winter foraging habitat” must be defined. It is not clear if
   these concepts are meant to be different or synonymous. To which proposed plan objectives is
   this referring? The “multiple wildlife habitat objectives” must be spelled out in the plan.
   Furthermore, it is questionable that the Forest Service could reasonably meet MA-LYNX-3
   because it lacks the necessary information on the location of good or high-quality winter
   foraging habitat, whatever those are, across the forest, thereby negating its ability to prioritize
   placement of snag clumps and/or other leave areas near such areas. The Forest Service should
   define what good and high-quality winter foraging habitat is, and also add “good-quality
   foraging habitat” and “high-quality winter foraging habitat” to the monitoring program so that
   the Forest identifies where this habitat exists, keeps it up to date based on changing conditions,
   and then is able to use it to identify priority placement of snag clumps and/or other leave areas.

      MA-LYNX-4: Under the landscape conditions associated with the spruce beetle outbreak,
      additional considerations may be needed to provide for habitat connectivity within and
      between lynx analysis units. These considerations include: ^

   The RGNF’s Canada lynx overview makes clear that habitat connectivity between and within
   LAUs is a necessary condition for recovery (RGNF undated, Lynx canadensis), and this is
   supported by the 2013 LCAS (ILBT 2013: 93). The importance of protecting areas that enable
   lynx movement between core habitat areas is supported by a great body of science, including
   several recent studies that should further inform the plan (c.f., ILBT 2013; Squires et al. 2013;
   Kosterman 2014; Holbrook et al. 2017; Vanbianchi et al. 2017). Therefore, the bulleted points
   must be more than mere considerations. The threshold or trigger for when and where this
   direction is “needed to provide for habitat connectivity” should be specified. We have some
   concerns about the four bullet pointed “considerations,” and these must be clarified.

          •   Assessing habitat connectivity at multiple scales at the pro^ject level. Recommended
              foundation for assessment is an established sub-basin (e.g. 8th-level hydrologic unit
               code).

   It’s not clear what this means. The various scales must be specified (e.g., the patch-scale, the
   LAU-scale, the project-scale?). What is the rationale for the HUC-8 foundation for this
   assessment?

          •   Use remaining and recently changed late successional stands as foundations for
              connectivity patches. Recognize that both stand and landscape-level patches may be
              influential.

   This is written as a standard and should be modified to be a standard. It implies plan direction
   but does not provide sufficient information for a project planner to apply the provision. The
   second sentence is vague to the point of being meaningless. What does “influential” mean, for
   example? Influential on what? If influential, what does that mean for project planning and
   implementation? Furthermore, the phrase “recently changed” should be clarified as we assume
   the intent is recently changed as of now, but readers of the plan in 2025 may have a different
   view of what “recently changed” means.

                                                    76

                                                                         Rvsd Plan - 00005342
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 251 of 475




          •    Consider using some stream corridors for movement within and between the planning
               area and lynx analysis units. Stream corridors that are intended to provide functional
               habitat connectivity for lynx and other meso-carnivores should be at least 400 to 600
              feet wide in total, and designed to promote movement within and between suitable
               habitat patches, sub-watersheds, and lynx analysis units, where desired based on
               existing landscape conditions.

   This management approach seems like it could be helpful. It reads like a guideline, and we
   recommend modifying it to be a guideline. It’s not clear what “using” means. Are the 400-600
   feet wide (minimum) corridors to become corridors through management activities? Appropriate
   terminology based on planning rule language would be “maintaining or restoring” with details on
   how to identify and protect such corridors. For example, how would these stream corridors be
   maintained or restored in places where livestock grazing or impactful recreational activities
   occur?

          •   Recognize contiguous understory patches of 0.5 acre or larger as particularly
              valuable to snowshoe hare densities. (Forestwide)

   Specify the plan component linked to this management approach. The word “|r|ecognize” is
   vague here and conveys no guidance in terms of strategy or prioritization, etc. Clarify the intent
   of this statement.

   Finally, we recommend that the phrase “associated with the spruce beetle outbreak” be deleted.
   These items should be considered now in response to the spruce beetle outbreak, but should also
   apply in the future to other potential events in the future that may be broader than the spruce
   beetle outbreak. Although the spruce beetle outbreak is indeed the largest landscape level
   changed condition that the Forest is currently dealing with, it is unlikely to be the only changed
   condition that the Forest experiences during the life of the revised Plan, and therefore should
   anticipate that its provisions will apply to other situations as well.

      MA-LYNX-6: Where desired, based on use information or other local conservation criteria,
      provide additional considerations for lynx denning habitat and/or known current or past
      denning areas. These considerations include: ^

   As has been recommended in previous comments (see Defenders of Wildlife’s scoping
   comments on the RGNF’s Proposed Action, October 28, 2016) that denning areas and known
   den sites must be better protected by plan components, including standards, given the changed
   forest condition. The introductory language is also vague and leaves too much room for
   interpretation down the road. For example, the phrase “where desired” implies that there could
   be scenarios where the Forest Service does not care about lynx denning habitat and would
   choose to ignore these considerations. The phrase “where needed” or “where denning habitat is
   degraded” would improve this provision. Similarly, the phrase “local conservation criteria” is
   vague and open to too much interpretation. The Forest must be more specific. It is vitally
   important that this be rewritten as a standard, as it is highly doubtful any project planner would
   incorporate these considerations if given the leeway provided by the phrase “where desired.”

                                                    77

                                                                        Rvsd Plan - 00005343
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 252 of 475




           •   Use existing den site layer to inform historic and potential denning activity during
               management activities, as needed.

   What is the “existing den site layer”? This management approach must be clarified to enable the
   public to understand what this means. This may be an appropriate management approach with
   some necessary details and specificity.

           •   Use local denning model to inform presence and extent ofpotential denning habitat.
               Combine with local knowledge and field review to define potential high-quality
               denning habitat.

   Our recommendation for the management approach direction just above applies to this
   management approach as well.

           •   Protect known or potential high quality denning habitat through considerations for
               habitat connectivity, snag patch leave areas, or through suitable lynx habitat
               retention needs.

   This is direction that is necessary to contribute to lynx recovery. It is written as a standard, and
   must be a standard in the revised plan. And “protect” must be defined in a way the project
   planners can apply it.

           •   Recognize that lynx may use several maternal den sites in the vicinity of a natal den
                until the post-denning period (August). Provide for continuing availability of lynx
               foraging habitat in proximity to denning habitat where applicable.

   Again, this should be a standard. The language must be modified to meet the requirements of a
   plan standard. For example, project planners must do more than “recognize.” This is supported
   by conservation measures recommended in the 2013 LCAS (ILBT 2013: 91). Further,
   “provid[ing]” for continued availability of lynx foraging habitat is too vague and needs
   additional clarification so that it can be a useful provision for project planners.

   Monitoring and Reporting

   The SRLA imposes several reporting requirements on the Forest Service regarding its
   implementation of the SRLA. The Forest should ensure that in the final revised plan, it is clear
   that any monitoring and reporting obligations related to SRLA implementation or deviations
   from SRLA guidelines do not just extend to the provisions listed in the SRLA itself, but should
   be expanded to include anything related to items in the Plan. While the USFWS may not
   technically require that as part of the SRLA, the Forest should still endeavor to do this as a
   partner in lynx recovery.

   The draft Plan’s monitoring program contains several requirements for USFS monitoring,
   including several related to Canada lynx. And while the list in the proposed plan is a good start,
   the Forest should fine tune the monitoring program to reflect the various lynx-specific

                                                     78

                                                                           Rvsd Plan - 00005344
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 253 of 475




   components so that it can ensure that accurate, up-to-date information is available to project
   planners and the public. In particular, while the broad monitoring questions seem to cover a
   wide-variety of potential items to monitor, the indicators that are actually monitored are
   relatively limited. Any habitat metric that is mentioned in a standard, guideline, objective,
   desired condition, or management approach should be tied to the monitoring program in some
   way. Some missing indicators that should be included are:

       •   Acres/Location of suitable/unsuitable lynx habitat.
       •   Acres/Location of good/high-quality lynx denning habitat
       •   Acres/Location of disturbance and management actions for lynx linkage areas and areas
           identified as providing connectivity between lynx analysis units.


       2. The DEIS Analysis is Inadequate

   The DEIS for the Rio Grande National Forest Revised Land Management Plan lacks sufficient
   analysis of the effects of the revised Forest Plan on a variety of wildlife species, but in particular
   Canada lynx. As an initial matter, the DEIS repeatedly directs readers to a wildlife report, but
   fails to identify where it can be found, its title, its author, or a website where a reader might find
   it to see any additional analysis contained therein. For example, the DEIS at page 214 states:
   “More detailed consideration of the effects of vegetation management on lynx habitat can be
   found in the wildlife report in the project record.” However, review of the RGNF’s forest plan
   revision website does not contain any such document, nor is one included in the references
   section of the DEIS.

   The approach taken by the Rio Grande National Forest does not meet the planning rule’s
   emphasis on transparency in the plan revision process. Without identifying with particularity
   what document this is referencing, where it can be found, and actually making it available to the
   public, the Forest is violating NEPA’s primary goals: to inform to the public of the potential
   environmental impacts of its actions before making a decision. Nor can the Forest rely on
   anything contained in the wildlife report because it has not met NEPA’s requirements for
   incorporation by reference, which requires “incorporated material [to be] cited in the statement
   and its content briefly described” and additionally the material must be available for inspection
   by interested persons. 40 C.F.R. § 1502.21.

   We did, however, request the Wildlife Report from the Forest Service and were provided with an
   expanded, but draft, version of the DEIS Chapter 3 effects on wildlife section that appeared to be
   a draft (containing track changes and comment bubbles from USFS staff). The language in the
   DEIS implies that there was a separate and finalized Wildlife Report containing additional
   analysis - in our mind, similar to a Biological Evaluation or Wildlife Specialist Report prepared
   for a project-level NEPA analysis. We were disappointed to discover that there is no such
   document, but rather only an early draft version of a DEIS chapter section (though admittedly,
   containing more information than the eventual DEIS).

   Even though this document was provided promptly to us on request, we still assert that the Forest
   Service has not made the Wildlife Report available to the public and it has also failed to comply

                                                     79

                                                                          Rvsd Plan - 00005345
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 254 of 475




   with the NEPA requirements for incorporation by reference. The Forest Service cannot rely on
   any information contained within the purported Wildlife Report to meet its NEPA obligations to
   analyze the direct, indirect, and cumulative impacts of the new forest plan.


   The Rio Grande National Forest represents some of the best Canada lynx habitat in Colorado. As
   such, it is vitally important that the RGNF employ the precautionary principle and ensure that the
   Forest is providing conditions conducive to lynx recovery. Of particular concern is that the
   RGNF is in the middle of very important lynx habitat in Colorado, both for resident populations,
   and serving as a corridor for lynx movement into northern New Mexico. Theobald and Shenk
   (2011) show that the Forest overlaps with areas of high, moderate, and low intensity lynx use
   (based on data generated from 1999-2010). See Theobald, David and Shenk, Tanya, Areas Of
   High Habitat Use From 1999 - 2010 For Radio Collared Canada Lynx Reintroduced To
   Colorado (March 31, 2011) at 11. Ivan (2012) similarly shows that predicted winter and summer
   use by lynx in the Project area is incredibly high. Ivan, Jake et al., Predictive Map Of Canada
   Lynx Habitat Use In Colorado (2012).

   Although the U.S. Fish and Wildlife Service declined to designate lynx critical habitat in
   Colorado, Dr. Tanya Shenk - one of the leading lynx researchers in Colorado - stated that
   Colorado, including the Project area, “may serve as one of the best ‘higher elevation habitats
   within the range of the DPS [distinct population segment] that would facilitate long-term lynx
   adaptation to an elevational shift in habitat should one occur.’ As such, the Southern Rocky
   Mountains, including areas in Colorado, northern New Mexico and southern Wyoming should be
   included as critical habitat.” Shenk, Tanya, Peer Review Comments On Revised Designation Of
   Critical Habitat For The Contiguous U.S. Distinct Population Segment Of The Canada Lynx And
   Revised Distinct Population Segment Boundary, Communication to Jim Zelenak-USFWS
   (January 29, 2014). This all underscores the importance of the Rio Grande National Forest to
   Canada lynx, and counsels extreme caution in undertaking any management activities that may
   be detrimental to this important threatened species.


   NEPA has dual goals: it “is intended to foster 1) informed agency decision-making and 2)
   informed public participation in the agency decision-making process.” Sierra Club v. U.S. Forest
   Service, No. 1:09-vs-131 (March 7, 2012) (citing Citizens’ Comm. to Save Our Canyons v.
   Krueger, 513 F.3d 1169, 1177-78 (10th Cir. 2008)). NEPA imposes an obligation on the Forest
   Service to disclose and analyze environmental information and consequences of federal action.
   Baltimore Gas & Elec. Co. v. Nat. Res. Def. Council, 462 U.S. 87, 97 (1983) (agency must take a
   “hard look” at environmental consequences before taking action). “The purpose of the ‘hard
   look’ requirement is to ensure that the ‘agency has adequately considered and disclosed the
   environmental impact of its actions and that its decision is not arbitrary and capricious.’” Colo.
   Envtl. Coal. v. Salazar, 875 F. Supp. 2d 1233, 1250 (D. Colo. 2012) (citing Baltimore Gas &
   Elec. Co., 462 U.S. at 97).

   Federal “[a]gencies must ‘take a hard look at the environmental consequences of proposed
   actions utilizing public comment and the best available scientific information.’” Biodiversity
   Cons. Alliance v. Jiron, 762 F.3d 1036, 1086 (10th Cir. 2014) (internal citation omitted). This

                                                   80

                                                                       Rvsd Plan - 00005346
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 255 of 475




   hard look “assessment of all ‘reasonably foreseeable’ impacts must occur at the earliest
   practicable point, and must take place before an ‘irretrievable commitment of resources’ is
   made.” Colo. Envtl. Coal. v. Ofc. ofLegacy Mgmt., 819 F. Supp. 2d 1193, 1208 (D. Colo. 2011)
   (citing New Mexico ex rel Richardson v. Bur. ofLand Mgmt., 565 F.3d 683, 718 (10th Cir. 2009)
   reconsid. granted in part on other grounds, 2012 WL 628547 (D. Colo. Feb. 27, 2012). “An
   agency meets the ‘hard look’ requirement when it has ‘made a reasoned evaluation of the
   available information and its method was not arbitrary or capricious.’” Jiron, 762 F.3d at 1086
   (internal citation omitted).

   An EIS must “furnish such information as appears to be reasonably necessary under the
   circumstances for evaluation of the project.” Utahns for Better Transp. v. U.S. Dep’t of Transp.,
   305 F.3d 1152, 1176 (10th Cir. 2002). See also Hillsdale Envtl. Loss Prevention, Inc. v. U.S.
   Army Corps ofEng’rs, 702 F.3d 1156 (10th Cir. 2012) (“NEPA imposes procedural,
   information-gathering requirements on an agency”); Nat’l Parks & Conservation Ass n v.
   Babbitt, 241 F.3d 722, 731 (9th Cir. 2001) (“The purpose of an EIS is to obviate the need for
   speculation by insuring that available data are gathered and analyzed prior to the implementation
   of the proposed action.”). As explained throughout this comment subsection, the Forest Service
   fails to provide necessary baseline information to allow for informed, meaningful public
   comment.

   NEPA statutory standards found in Council on Environmental Quality (CEQ) regulations
   recognize that intelligent decision-making can only derive from high quality information. See 40
   C.F.R. §§ 1500 et seq. “Agencies shall insure the professional integrity, including scientific
   integrity, of the discussions and analyses in [EISs].” 40 C.F.R. § 1502.24. Information included
   in NEPA documents “must be of high quality. Accurate scientific analysis . . . [is] essential to
   implementing NEPA.” 40 C.F.R. § 1500.1(b). If an agency has outdated, insufficient, or no
   information on potential impacts, it must develop information as part of the NEPA process or in
   the very least explain the lack of information. The draft Plan and DEIS do not meet this standard.
   At a minimum, the Forest must more adequately explain what information it has, what
   information it lacks, and why it cannot obtain any lacking information, especially as it relates to
   Canada lynx and the baseline conditions for its habitat on the RGNF.

   Specifically, NEPA requires the Forest Service to disclose and analyze the direct, indirect, and
   cumulative impacts and consequences of its activities. 40 C.F.R. §§ 1502.16(a), 1502.16(b),
   1508.25(c), 1508.27(b)(7). Direct effects include those “which are caused by the action and
   occur at the same time and place.” 40 C.F.R. § 1508.8(a). Indirect effects are those “which are
   caused by the action and are later in time or farther removed in distance, but are still reasonably
   foreseeable.” 40 C.F.R. § 1508.8(b). Cumulative impacts include “impact on the environment
   which results from the incremental impact of the action when added other past, present, and
   reasonably foreseeable future actions regardless of what agency (Federal or non-federal) or
   person undertakes such other actions.” 40 C.F.R. § 1508.7. Importantly, “[c]umulative impacts
   can result from individually minor but collectively significant actions taking place over a period
   of time.” Id. Largely, the DEIS fails to disclose and analyze the direct, indirect, and cumulative
   impacts and consequences of implementation of the revised Forest Plan, especially as it relates to
   Canada lynx.



                                                   81

                                                                        Rvsd Plan - 00005347
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 256 of 475




   Lynx avoid areas that have been clearcut, logged, and even thinned. The Interagency Lynx
   Conservation Assessment and Strategy (August 2013) (LCAS) includes vegetation management
   as one of the top four anthropogenic threats to lynx. See LCAS at 71. The LCAS also recognizes
   that managing forests to the extent that the canopy is opened discourages use of those stands by
   lynx. LCAS at 73. Further, reduction in horizontal cover, one of the potential results of plan
   implementation, degrades the quality of winter habitat for lynx. Id. The LCAS also notes that
   lynx avoid clearcut areas, especially during winter. Id. Dr. John Squires, a leading lynx
   researcher, also emphasizes the importance of maintaining and recruiting lynx winter habitat—as
   opposed to winter hare habitat—because that is what is most important to conserve lynx,
   especially in winter when lynx are most taxed. See Squires, John et al., Seasonal Resource
   Selection Of Canada Lynx In Managed Forests Of The Northern Rocky Mountains, 74 J. Of
   Wildlife Mgmt. 1648-1660 (2010).

   The impact of forest management activities on lynx habitat frequently is limited to an analysis of
   effects on snowshoe hare, a primary prey species for lynx. However, lynx winter habitat may
   actually be more important than producing habitat for snowshoe hare. In other contexts, the
   Forest Service has confused these two things and has failed to analyze and disclose the effects of
   forest management activities on lynx winter habitat, as well as any effects on snowshoe hare.
   The NEPA analysis must fully disclose and analyze effects to lynx winter habitat, both in terms
   of retention and recruitment of lynx, and it currently does not. This violates NEPA.

   Although lynx winter habitat is of great importance, the Forest Service still must analyze the
   effects of the project on snowshoe hare densities, including an analysis of the baseline, and of
   anticipated effects. Curiously, the DEIS does not discuss or analyze hare densities and how they
   may be impacted by the various proposed lynx provisions in the revised Forest Plan. Further,
   because lynx in Colorado tend to consume greater proportions of secondary prey in their diets
   than elsewhere, the Forest Service must thoroughly examine potential effects to lynx secondary
   prey, including red squirrel. The LCAS (2013) explains that, in “Colorado, 66.4±5.6% of annual
   documented kills by lynx (n=604) were hares, varying annually from 30.4-90.8%, while an
   average of 22.6±5.7% were red squirrels (Shenk 2009).” LCAS (2013) at 18. In contrast, in
   “Montana, Squires and Ruggiero (2007) reported that even in areas with consistently low
   densities (0.1-0.6 hares/ha [0.04-0.02 hares/ac]), snowshoe hares still accounted for 96% of
   biomass in the lynx diet, with red squirrels and grouse accounting for only 2% each of the
   biomass in lynx diets during winter.” Id. Because of the particular importance of red squirrel to
   lynx in Colorado as a secondary prey source, the Forest Service must thoroughly examine the
   baseline for red squirrel abundance and habitat on the Forest, as well as anticipated effects to red
   squirrel populations and habitat on the Forest from implementation of the revised Forest Plan.

   The DEIS is also deficient in its discussion of effects on lynx denning habitat. The U.S. Fish and
   Wildlife Service discussed the importance of denning habitat to lynx, and included denning
   habitat as a Primary Constituent Element “that provide[s] for a species’ life-history processes
   and [is] essential to the conservation of the species” when determining which lands should be
   designated as Canada lynx critical habitat. 79 Fed. Reg. 54782, 54811-2 (Sept. 12, 2014). FWS
   explained that “a feature or habitat variable need not be limiting to be considered an essential
   component of a species’ habitat. Both denning and matrix habitats are essential components of
   landscapes capable of supporting lynx populations in the DPS because without them lynx could

                                                    82

                                                                         Rvsd Plan - 00005348
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 257 of 475




   not persist in those landscapes.” 79 Fed. Reg. at 54786. Because lynx denning habitat “is an
   essential component of the boreal forest landscapes that lynx need to satisfy a key life-history
   process (reproduction),” FWS identified “denning habitat to be a physical or biological feature
   needed to support and maintain lynx populations over time and which, therefore, is essential to
   the conservation of the lynx [distinct population segment].” 79 Fed. Reg. at 54810. As such,
   extensive discussion of denning habitat and effects to it from implementation of the alternatives
   are needed in the DEIS. The LCAS (2013) explains that areas with large amounts of dead trees
   can actually enhance lynx habitat in both the short term and long term:

          After large dead trees fall to the ground, they provide cover and may enhance
          lynx foraging habitat in the short term and potential denning habitat in the longer
          term, depending on post-disturbance stand conditions. Standing snags also may
          provide sufficient vertical structure and cover to allow lynx to traverse long
          distances (>1 km [>0.6 mi]) across burned habitat (Maletzke 2004).

   LCAS at 76.

   Because lynx denning habitat must occur near lynx foraging habitat (see LCAS at 29), the Forest
   Service must discuss and analyze the current state of lynx denning habitat on the Forest,
   especially as it relates spatially to lynx foraging habitat. Without this baseline, there can be no
   legitimate determination of the effects of the revised Forest Plan on lynx denning habitat. The
   environmental analysis should disclose (preferably on a map) and analyze what portions of the
   project area currently is considered to be lynx denning habitat, what portions of the project area
   are considered to be foraging habitat for lynx, what portions of that lynx denning habitat would
   be subject to treatments, what portions of lynx denning habitat would be degraded as a result of
   treatments, and how long it would take for degraded or destroyed denning habitat to once again
   become lynx denning habitat.

   Importantly, the NEPA analysis must disclose what percentage of each LAU is made up of lynx
   denning habitat, how much coarse woody debris currently exists within the denning habitat in
   each LAU, or what anticipated changes to coarse woody debris in each LAU’s denning habitat
   would result from the Project’s implementation. These issues should be addressed both
   qualitatively and quantitatively. If the Forest Service does not have this information, it must
   explain what information it lacks and why it cannot reasonably obtain that information or data.

   The DEIS mentions that there are four lynx linkage areas on the Forest, and then names two of
   them: Wolf Creek Pass and North Pass. DEIS at 209. NEPA requires that the Forest Service
   discuss all four linkage areas by name and location, how the lynx provisions in the draft forest
   plan might help protect them, and how imp[lamentation of the alternatives might impact the
   linkages. In particular, we recommend that the Forest Service include a map in the FEIS clearly
   showing all four linkage areas so that the public has a better sense of where they are located and
   how they might impact management of forest resources.

   Similarly, there is no list of the Lynx Analysis Units (LAUs) on the Forest. This should be a
   necessary component of the DEIS. In addition to a list, a map of the LAU locations (which could
   be combined with the linkage map) would be very helpful to the public and future project

                                                   83

                                                                        Rvsd Plan - 00005349
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 258 of 475




   planners. Information on the LAUs should also be provided, including all information that is
   reported to the USFWS about each LAU under the SRLA’s reporting requirements. The size of
   the LAUs, their current condition, how much habitat is suitable, how much management each
   LAU has seen, and any other information that the Forest has on LAUs should be documented in
   the DEIS, along with a discussion of potential effects from implementation of the revised Forest
   Plan on the LAUs.

   The Rio Grande National Forest is uniquely situated in that it shares a border with both the State
   of New Mexico and the Carson National Forest. Despite this, the Canada lynx section of the
   DEIS contains no discussion about connectivity and lynx movement between the RGNF and the
   Carson NF. This section of the DEIS should also discuss the Carson’s revised Forest Plan lynx
   provisions and how they relate to the Rio Grande’s similar provisions. The DEIS does note the
   importance of linkages: “Connective habitat between administrative units in the San Juan
   Mountains and beyond is essential for facilitating movement of Canada lynx across the
   landscape.” Id. at 209.

   The DEIS provides several statistics for the amount of suitable and unsuitable lynx habitat on the
   Forest. There is no indication, however, as to what definition of suitable and unsuitable lynx
   habitat the Forest is using. While we anticipate that the total amount of lynx habitat on the Forest
   based on flights conducted from 2010 to 2014 reflects the SRLA’s suitable lynx habitat
   definition, it is unclear for the 2017 statistic related to baseline conditions for unsuitable lynx
   habitat. See DEIS at 209. We recommend that the Forest Service clarify what definition it is
   using for the various statistics related to lynx habitat in the DEIS.

   Under Threats and Risk Factors for lynx, the DEIS discusses a number of threats and risk factors
   from the 2000 LCAS and the 2008 SRLA. See DEIS at 211-212. Although helpful, there is no
   specific analysis as to how implementation of the revised Forest Plan or any alternatives might
   impact these threats and risk factors. And while the Forest does include some threats and risk
   factors specific to the post-spruce beetle environment, DEIS at 212, it also omits some threats
   and risk factors. In particular, there is no mention of the considerably newer LCAS from 2013
   which identifies additional threats. In particular, the 2013 LCAS describes two tiers of
   “anthropogenic influences.” LCAS 2013 at 68. The first tier includes: climate change, vegetation
   management, wildland fire management, and habitat fragmentation. Id. The second tier includes:
   incidental trapping, recreation, minerals/energy development, illegal shooting, forest roads/trails,
   and grazing. LCAS 2013 at 78-85. Although we assert that few of these identified
   “anthropogenic influences” are considered by the DEIS, in particular, there is no analysis of
   climate change or habitat fragmentation as it relates to lynx and the revised Forest Plan. This
   violates NEPA’s requirement that the Forest Service take a hard look at all potential direct,
   indirect, and cumulative effects.

   Although the SRLA can provide a framework for analysis, the Forest Service must remember
   that the SRLA is nearly 10 years old and is outdated. The Forest Service has an obligation to
   update its analysis, including the scope of that analysis, based on new scientific information
   about lynx and threats to its recovery. Similarly, page 213 of the DEIS states: “The Southern
   Rockies Lynx Amendment provides an overview of all activities that might influence Canada
   lynx^”. But as already discussed, this statement is inherently wrong as there is considerable

                                                    84

                                                                        Rvsd Plan - 00005350
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 259 of 475




   new scientific information since the SRLA came out in 2008 about activities that might impact
   lynx, and as such, the DEIS must be updated to account for this.

   For the various “Effects on Canada lynx” sections on a variety of threats (DEIS at 214 et seq.),
   the Forest Service fails to consider new information since 2008. This includes climate change,
   the 2013 LCAS, new published papers related to Canada lynx, including Dr. Squires and Dr.
   Ivan’s work (as well as the work of others) in Colorado and specifically on the RGNF related to
   lynx. As such, it is inappropriate and a NEPA violation to merely rely on the SRLA analysis of
   effects and to conclude “[t]here is no expected increase in effects to lynx or lynx habitat” from
   vegetation management. DEIS at 214. This conclusion is unjustified, especially given the large
   salvage logging program under the proposed plan and alternatives. The Forest Service must
   complete a thorough effects analysis that the public has an opportunity to comment on.

   In particular, the Forest is adding a number of new provisions to the Forest Plan related to lynx,
   including a new standard, new definitions, and various Management Approaches. See discussion
   above in subsection 1. None of these were analyzed in the SRLA or either LCAS, and therefore
   potential effects from their implementation must be analyzed in the DEIS. Failure to do so
   violates NEPA. As part of this analysis, the Forest must disclose sufficient baseline data about
   the state of the Forest. Obviously the Forest has seen dramatic changes in recent years as a result
   of beetle kill, but the Forest should still disclose additional baseline data, including: amount and
   location of the different types of lynx habitat (denning, foraging, winter habitat) and hare habitat,
   and information on Lynx Analysis Units on the Forest.

   Furthermore, the Forest Service must also disclose and analyze the effects of implementation of
   the various new lynx provisions on other at-risk species, such as American marten, boreal owl,
   and other Species of Conservation Concern, as well as on the provision of ecosystem services
   from implementation of these new lynx-specific provisions. Although the provisions are
   designed to aid lynx recovery, they will have impacts on other Forest resources, and those
   impacts need to be analyzed to comply with NEPA’s obligation that the Forest Service disclose
   and analyze all potential direct, indirect, and cumulative effects of its proposed revised Forest
   Plan and alternatives to it.

   Table 53 on page 216 of the DEIS must be updated. It is not appropriate to use a table from a
   2007 document as baseline information for a 2018 revised Forest Plan. The Forest should update
   the table based on current information, or explain in detail why it cannot do so. Additionally, this
   table should include information on temporary roads that exist on the Forest, including ones that
   have been administratively closed or that are scheduled for decommissioning in the future.
   Temporary roads have significant effects on a variety of Forest resources when they are present
   on the landscape, and baseline information about their presence should be included in the DEIS,
   along with a discussion of their effect on Forest resources, including lynx.

   The USFWS is under a court-ordered deadline of January 15, 2018 to complete a recovery plan
   for Canada lynx. See Friends of the Wild Swan v. Ashe, Case No. 13-cv-57-DWM, Docket
   Number 30 at 1 (D. Mont. June 25, 2014). Given that USFWS has not yet released a draft
   recovery plan or completed the required public notice and comment period, it will be impossible
   for USFWS to meet the January 15, 2018 deadline. When and if the final Recovery Plan is

                                                    85

                                                                         Rvsd Plan - 00005351
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 260 of 475




   released for lynx, the Forest Service must review and consider it as significant new information
   and determine what, if any, effect it has on the proposed revised Forest Plan. The Forest should
   also allow the public to submit comment on the effect of the recovery plan on the proposed
   revised Plan.


     D. PROPOSED AND CANDIDATE SPECIES FOR LISTING UNDER ESA

       1. Wolverine

   Forest plans must contribute to the conservation of ESA proposed and candidate species (36 CFR
   219.19(b)). The wolverine (Gulo gulo luscus) is proposed for listing under the ESA. The
   proposed plan does not mention wolverines, and the DEIS does not assess potential impacts of
   the proposed plan on wolverines.

   The RGNF is within the historic range of the wolverine. The DEIS notes that a disputed sighting
   occurred in 1997 in the Forest. The narrative in the DEIS seems to imply the lack of verified
   sightings is a rationale for ignoring the species in the management plan, which is not valid basis
   for failing to include a proposed or candidate species in planning under the planning rule. If lack
   of sightings is the rationale for ignoring the species, the RGNF is ignoring information provided
   in its wolverine overview prepared for the plan assessment (RGNF undated, Gulo gulo luscus),
   which lists sightings on the Forest in 1911, 1973, 1978, 1992, and 1997. A wolverine with a GPS
   collar was confirmed in Colorado, having traveled from Wyoming, in 2009 (CPW undated). See
   Need et al. (1985) for information on additional confirmed occurrence records from Colorado.
   The RGNF plan must include plan components to contribute to the conservation of the
   wolverine, and must analyze effects of the plan to wolverines in the environmental impact
   statement.


    E. SPECIES THAT SHOULD BE DESIGNATED SPECIES OF CONSERVATION
   CONCERN (SCC)

   In addition to the species proposed for designation as SCC in Plan Appendix D, we believe the
   following species should also be designated:

      1. Pika (Ochotona princeps).

   This species should be an SCC. Many studies have been done on it, indicating that it is very
   sensitive to increases in temperature. It could this serve as an indicator for the effects of climate
   change on the RGNF. The rationale in Plan Appendix B for not including it as an SCC states that
   “occasional monitoring may be warranted”. Plan at 182.

                                                    86

                                                                         Rvsd Plan - 00005352
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 261 of 475




      2. Bighorn sheep (Ovis canadensis canadensis).

   It is well known that disease transmission from domestic sheep to bighorns is potentially very
   detrimental to the latter (see DEIS at 226), and can lead to decimation, or even elimination, of
   bighorn populations. Bighorn herds on the RGNF are threatened by respiratory disease and other
   factors:

          ^loss of alpine habitat due to changing temperature and precipitation patterns, and
          unintentional human harassment can also represent added stressors fUrther impacting
          persistence of local herds and populations.

          Currently, several bighorn sheep herds are still recovering from die-off events in the
          1990’s.

   Plan at 183. There are 11-12 herds45 who reside at least partially on the RGNF, and “some type
   of respiratory pathogen has been confirmed in 8 herds.” Ibid. Only 3-4 of the RGNF’s bighorn
   herds are considered secure. See DEIS Table 55 at 233. One herd has a 2016 estimated
   population of only 15 animals with a status of “disease - stagnant/decreasing ”. Ibid. Overall, the
   arguments in Plan Table 22, ibid., for why bighorn sheep supposedly does not need to be an SCC
   read more like reasons why it should be an SCC.

   Given the past problems with the persistence of bighorn sheep herds and the continuing
   uncertainty about their long-term viability, we believe this species should be an SCC. That would
   help ensure that proper attention was paid to this species. Notably, bighorn sheep was listed as an
   SCC in the August 16, 2016 letter entitled “List of Species Of Conservation Concern For the Rio
   Grande National Forest”, from then-Acting Regional Forester Jacqueline Buchanan to the Rio
   Grande Forest Supervisor.

   A major justification for removing bighorn from the SCC list is apparently current and future
   management. For example, the “Rationale for not including species as Draft SCC” states, “While
   long-distance movements from other herds could potentially move pathogens into these herds,
   this is a relatively low likelihood concern and these herds are considered secure based on
   management actions under Forest authority,” Plan at 184, Table 22, Appendix D, and,

            Population management by Colorado Parks and Wildlife will contribute to the persistence
            of bighorn sheep through establishing population objectives, managing hunting
            opportunities and potentially through population augmentation via translocations. Lastly,

   45 Plan at 183 says there are 12 herds at least partially on the RGNF, while DEIS at 233 shows 11 herds in Table 55.

                                                            87

                                                                                    Rvsd Plan - 00005353
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 262 of 475




          through collaborative monitoring with Colorado Parks and Wildlife and other partners
          will help provide information on the effectiveness of management actions and help
          identify potential changes in management needed to support the persistence of bighorn
          sheep.

   Plan at 185, Table 22, Appendix D

   Current and potential management is not one of the criteria for identifying SCC. See FSH
   1909.12, section 12.52c. Identification of SCC must be based on current conditions, and
   potential management threats; how these are actually addressed may change as a result of the
   planning process. A June 16, 2016, SCC guidance letter to regional foresters from Deputy Forest
   Service Chief Weldon states:

          Species should not be eliminated from inclusion as SCC based upon existing plan
          standards or guidelines, proposed plan components under a new plan, or threats to
          persistence beyond the authority of the Agency or not within the capability of the plan
          area, such as climate change.

   The above said, there are some good forest-wide plan components for protecting bighorn sheep,
   but some need to be strengthened, as is discussed below.

   It is most important to prevent contact between domestic and bighorn sheep to the maximum
   extent possible. Thus we are pleased to see Standard S-WLDF-10, which requires management
   to “maintain effective separation” of bighorns and domestic sheep on active allotments. Plan at
   27. However, preparation of “separation plans” for keeping the two types of sheep apart would
   only be a Management Approach (hereafter “MgtApr”) (MA-WLDF-13, id. at 29).

   Another standard, S-WLDF-3, states the following: “Provide security habitat in^lambing
   areas^from December 1 to March 31. However, the specified time period is not when ewes give
   birth:

         The birthing season for Rocky Mountain bighorn sheep begins in late April and early
         May, and it coincides with the timing of vegetation green-up and milder climatic
         conditions.

   Beecham et al, 2007, at 25. Thus this standard provides little or no protection for bighorn lambs
   at a critical time in the species’ life cycle. On the other hand, S-WLDF-11 would protect bighorn
   sheep production areas from April 15 to July 1 (Plan at 28), which covers this critical period.




                                                  88

                                                                      Rvsd Plan - 00005354
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 263 of 475




   Mgt Apr MA-WLDF-12 states “Discourage recreational activities that disturb bighorn sheep,
   particularly around primary use or reproduction areas”. Plan at 29. It should be at least a
   guideline, probably a standard.

   MgtApr MA-WLDF-11 states:

         ^asses Forest bighorn sheep populations to understand overall population status and
         inform effectiveness of management actions to support the persistence of bighorn
         sheep on the Forest.

   This should be a guideline. It fits right in with a monitoring indicator. See Plan Table 14 at 100.

   Under the action alternatives, the areas in MA 5.42, Special Wildlife Areas - Bighorn Sheep, are
   transferred to MA 5.41, Big Game Winter Range. DEIS at 24. This is not appropriate. Bighorns
   rely on long sight distances and rugged, steep terrain to avoid predators, while deer and elk seek
   milder terrain with vegetative cover and other features to hide from predators. Deer and elk
   typically winter at considerably lower elevations than do bighorn sheep. Also, livestock grazing
   occurs in 5.41 areas. Plan at 88. This presumably could include sheep grazing, which could
   facilitate contact between bighorn and domestic sheep.

   Other than goats, which are probably an exotic, introduced species, the habitat used by bighorn
   sheep is largely unique among wildlife on the RGNF. We recommend retaining management
   area 5.42 for bighorn sheep, with strong standards for protecting the animals and their habitat
   from adversely-impacting projects and activities, as well as ensuring separation between
   bighorns and domestic sheep.


       3. Woodsia neomexicana Windham, common name, New Mexico cliff fern.

   This species was considered for SCC status but not designated. Plan at 186. The reason given for
   not designating it as an SCC is that, even though occurrences are small and isolated, “this is not
   enough to substantiate a local concern for continued persistence”. Ibid. If this is not sufficient to
   establish viability concern, what is? Note that the plant is S2, state imperiled, and there are only
   three known occurrences on the RGNF.
   See: https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd534788.pdf .

   The same reason as above is used to not to designate Woodsia plummerae Lemmon, common
   name Plummer's cliff fern, as an SCC.. This species is S1, state critically imperiled, and there are
   only two known occurrences on the RGNF.
   See: https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd534789.pdf .


                                                    89

                                                                         Rvsd Plan - 00005355
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 264 of 475




     G. THESE SCC NEED BETTER COMPONENTS

   Measures in the proposed Plan to protect the following SCC need to be corrected:

      1 . Boreal owl (Aeogolius funereus)
      2 Flammulated owl (Otisflammeolus).

   One of the Design Features for raptors says to protect aspen clones with boreal owl or
   flammulated owl nests. Plan (Appendix G) at 208. However, there is no indication that
   flammulated owls nest in aspen. This species clearly prefer older stands where ponderosa pine is
   dominant, though Douglas-fir may be present. See Hayward and Verner, 1994 at 22, 23. Boreal
   owls may occasionally nest in aspen, but they prefer Englemann spruce/subalpine fir forests. See
   Id. at 99.

   Therefore, the stated feature for flammulated owl provides absolutely no protection, and the one
   for boreal owl provides minimal protection at best. Both should be replaced with features that
   provide a buffer around nesting trees and stands or other appropriate protection for these species.

   Even if the features were written to provide appropriate protection, they are only guidelines. See
   G-WLDF-1, Plan at 28, which references Plan Appendix G. They should be standards.


     F. OTHER SPECIES

         Beaver

   The ecological benefits beavers provide cannot be overstated. By building dams that impound
   water, beavers alter the surrounding environment to the benefit of a wide variety of plants, fish,
   and wildlife. We strongly recommend that the RGNF design plan components to protect and
   restore beaver to the forest and retain beaver as a focal species46 to help monitor integrity of
   aquatic and riparian ecosystems on the forest. The Forest Service and U.S. Fish and Wildlife
   Service have a restoration guides for restoring beavers and the ecosystem services they provide
   (USFS undated; USFWS et al. 2015).

   Beavers are considered keystone, or strongly interacting, species. A technical conservation
   assessment of beavers prepared for the Rocky Mountain Region (Region 2) acknowledged the
   interactive role of the rodents in riparian systems (Boyle and Owens 2007). Studies have


   46 Plan at 94 states the intent to have beaver as a focal species. However, we do not find a list of proposed focal
   species in the Plan or DEIS. See further discussion in section X.

                                                              90

                                                                                       Rvsd Plan - 00005356
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 265 of 475




   demonstrated the negative consequences of beaver losses as well as the ecosystem services
   beavers provide through their dam building (Naiman et al. 1994; Gurnell 1998; Wright et al.
   2002; Butler and Malanson 2005; Westbrook et al. 2006; Stevens et al. 2007; Bartel et al. 2010;
   Westbrook et al. 2011). Miller et al. 2003: 188, citing Naiman et al. (1988) and Gurnell (1998),
   presented a long list of documented ecological impacts of beaver engineering:

          stabilization of stream flows; increased wetted surface area (i.e. benthic habitat);
          elevation of water tables causing changes in floodplain plant communities;
          creation of forest openings; creation of conditions favoring wildlife that depend
          upon ponds, pond edges, dead trees, or other new habitats created by beavers;
          enhancement or degradation of conditions for various species of fish; replacement
          of lotic invertebrate taxa (e.g., shredders and scrapers) by lentic forms (e.g.,
          collectors and predators); increased invertebrate biomass; increased plankton
          productivity; reduced stream turbidity; increased nutrient availability; increased
          carbon turnover time; increased nitrogen fixation by microbes; increased aerobic
          respiration; increased methane production; reduced spring and summer oxygen
          levels in beaver ponds; and increased ecosystem resistance to perturbations.

   Allowing beavers to play their role as nature’s engineers will result in a variety of other benefits
   to the surrounding ecosystem including reconnected and expanded floodplains; more hyporheic
   exchange; higher summer base flows; expanded wetlands; improved water quality; greater
   habitat complexity; more diversity and richness in the populations of plants, birds, fish,
   amphibians, reptiles, and mammals; and overall increased complexity of the riverine ecosystems.
   These attributes are the hallmarks of properly functioning and resilient ecosystems.

   Beaver ponds provide winter habitat for Rio Grande cutthroat trout (Pritchard and Cowley 2006)
   and breeding habitat for boreal toads (Keinath and McGee 2005), two potential species of
   conservation concern that occur on the RGNF. Additionally, the presence of beaver dams and
   the functional populations of beaver in suitable habitats contribute to resilience in the face of
   climate change (Bird et al. 2011). Indeed, beavers are often precisely the prescription that
   scientists and agencies identify as necessary to improve habitat conditions for degraded habitats
   and imperiled species.

   Here, the Forest Service acknowledges precisely these benefits, DEIS at 165,184, and that
   beavers likely played a significant role in shaping the landscape of the National Forest. Id. at
   200. The Forest Service then goes on to conclude that the reduced numbers of beavers have
   diminished the positive impacts resulting from their presence. Id. Finally, the Forest Service
   appears to have determined that seeing beaver return to the landscape will help achieve the goals
   laid out in the Plan. See Plan at 14 (“Riparian ecosystem composition, structure, and function
   can generally be restored and enhanced by beaver habitat.”); Id. at 15 (“Beaver reintroduction,
   and the persistence of beaver habitat, can contribute to channel recovery and floodplain
   function.”).




                                                    91

                                                                        Rvsd Plan - 00005357
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 266 of 475




           Despite this, the Forest Service has failed to propose any measures to ensure that the
   beavers already found on the Forest are retained or that will result in beavers returning to the
   Forest in areas where they would be beneficial. Instead, the plan does little more than note the
   potential benefits of beavers and suggests a plan for monitoring for “watersheds with beaver
   activity over time.” Id. at 94. The Forest Service claims this is a “cost-effective strategy that
   allows the Forest to track beaver presence and range expansion, identify potential areas where
   beaver introduction may be appropriate.” Id. While all of that may be true, by not prescribing
   specific actions to protect and recruit beavers, the Forest is missing an opportunity to make
   substantial gains toward achieving its objectives.

           As a result, we strongly encourage the Forest Service to develop the desired condition,
   objectives, standards, and guidelines for Aquatic Ecosystems and Native Animals directed at: 1)
   protecting existing beaver populations and 2) identifying areas that would benefit from the
   addition of beavers into the watershed, and establishing the mechanisms for seeing that beavers
   return to those areas.

   Focal species have two primary functions in the planning process, as indicators of integrity and
   as measures of effectiveness of plans in providing ecological conditions for diversity and species
   persistence, including the persistence of at-risk species. There is also sufficient interest and
   concern in the health of the watersheds and riparian areas to justify the beaver being selected as a
   focal species. The rising temperature due to climate change has water supplies becoming
   increasingly scarce, leading to conflict between competing uses of water resources. There has
   been a negative transformation of the landscape due to the increased frequency of drought,
   wildfire, flooding, and invasive species. Clearly, as described above, beavers are indicators of
   ecological integrity, and should be selected as a focal species for this reason. They should also be
   selected as focal species based on their ability to provide ecological conditions needed for at-risk
   species, including increased habitat and habitat heterogeneity for at-risk fish species in the forest
   planning area.

   Designating beavers as focal species, and identifying beaver habitat characteristics as key/desired
   ecological conditions, would result in the monitoring of beaver populations and habitat
   conditions in the watershed and riparian areas of the RGNF. This monitoring information would
   be a reliable source to longitudinally measure and study the health of these ecosystems through
   variations of climate change.


   VI. THE PROPOSED MANAGEMENT DIRECTION IN THE DRAFT REVISED PLAN
   IS UNACCEPTABLY WEAK.

   Direction, both forest-wide and for MAs, is one of the most important parts of a forest plan. It
   shows the public and agency line officers what limitations will be placed on activities to protect
   resources. The direction in the draft revised Plan is unconscionably weak, and in some cases,
   non-existent.

     A. GENERAL CONCERNS

                                                    92

                                                                         Rvsd Plan - 00005358
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 267 of 475




   Overall, we believe the forest-wide direction in the draft revised plan is quite weak. There is too
   little restriction placed on management. More standards need to be in the plan.

   Since not all alternatives use the same management areas (MAs), or necessarily even the same
   forest-wide direction, both the MAs and forest-wide direction used in each alternative should be
   provided for public review, perhaps in a DEIS appendix.

   Management Approaches. A considerable amount of the forestwide direction in the proposed
   revised plan is under “management approaches” (MgtAprs). This is mentioned in the Planning
   Rule (36 CFR 219.7(f)(2)) and further described in the Planning Directives (FSH 1909.12,
   section 22.4) as “optional content”. A passage at the latter states:

         This optional content must not be labeled or worded in a way that suggests it is a
         plan component. In addition, optional content must not include, or appear to include,
         a “to do” list of tasks or actions.

   Emphasis added.

   Most notably, since MgtAprs are not plan components, they can be changed without a plan
   amendment: “Optional plan content can be changed through administrative changes”. Ibid. See
   also Plan at 6 and DEIS at 25

   The Planning Directives, ibid., further describe management approaches as follows:

         If used, management approaches would describe the principal strategies and program
         priorities the Responsible Official intends to employ to carry out projects and
         activities developed under the plan. The management approaches can convey a
         sense of priority and focus among objectives and the likely management emphasis.
         Management approaches should relate to desired conditions and may indicate the
         future course or direction of change, recognizing budget trends, program demands
         and accomplishments. Management approaches may discuss potential processes
         such as analysis, assessment, inventory, project planning, or monitoring. Use care
         not to create unrealistic expectations regarding the delivery of programs.

   However, many of the MgtAprs are direction, rather than just priority, focus, or emphasis, as is
   discussed in detail below. They are more properly designated as guidelines, and in some cases
   standards, rather than MgtAprs.




                                                    93

                                                                        Rvsd Plan - 00005359
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 268 of 475




         To insure for management accountability, the Forest is proposing standards,
         guidelines, and suitability determinations to reflect [an] adaptive management
         strategy while ensuring for ecosystem integrity, sustainability, habitat connectivity,
         and the viability of species of conservation concern.

   DEIS at 12-13. Note that management approaches are not listed here as ensuring accountability,
   because they don’t. Yet they are used liberally in the draft plan.

   The draft plan must be changed to greatly reduce the use of management approaches, especially
   where real direction and real plan components are needed to address issues, meet desired
   conditions and objectives, or minimize impacts, as is discussed in further detail below.
   Management approaches, if they are used at all, must be used only as intended: to denote
   priority, focus and management emphasis. Management approaches cannot be substitutes for real
   plan components.

   Management Approaches are abbreviated “MA” in the draft plan. However, this is also be used
   as a common shorthand for management areas, such as in DEIS Table 5 at p. 38. Note that there
   are management approaches in the management areas, i. e., MAs within the MAs. Thus to avoid
   confusion, we recommend using a different abbreviation for management approaches. We use
   “MgtApr” (and “MA” for management area), but when citing or quoting the Plan, we use the
   description used therein, such as “MA-GDE-2”.

   Forest-wide and MA direction is weak overall, partly due to the over-use and mis-use of
   management approaches.


      B. SPECIFIC ISSUES WITH FOREST-WIDE DIRECTION

   Below, we discuss many problems we see with weak, or even non-existent, forest-wide
   management direction. Please be aware that some specific direction is also addressed in other
   sections of these comments.

   The Fisheries (FISH) section (Plan at 11 et seq.), needs a standard that requires action where
   needed to prevent genetically pure or nearly pure native aquatic species from interbreeding with
   non-native species and thereby destroying part of the native gene pool. Or there could be special
   provisions for the watersheds that have native populations of high genetic quality. The following
   streams likely have such populations: the East Tributary of the Middle Fork and the West
   Tributary of San Francisco Creek, West Alder Creek, Medano Creek, Lake Fork of the Conejos
   River, Rio de los Pinos, Osier Creek, and the South and Middle Forks of Carnero Creek. See
   FWS, 2014, Appendix C, Table C 14.


                                                    94

                                                                         Rvsd Plan - 00005360
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 269 of 475




   Under Groundwater Dependent Ecosystems, (GDE) (Plan at 13-14), Guideline G-GDE-1 says
   to protect such ecosystems, including fens, especially large ones. This must be a standard.

   The Forest Service Region 2 policy on fens states:

         ^the goal is no loss of existing habitat value, and that every reasonable effort should
         be made to avoid impacting these habitats. Mitigation for loss of fens is problematic,
         as there are no known methods to create new functional fens.

   Fen Policy, letter from Marisue Hilliard, Director, R-2 Renewable Resources, to Forest
   Supervisors, March 19, 2002.

   A draft plan MgtApr, MA-GDE-2 observes that fens are “an irreplaceable ecological feature”.
   The DEIS states calls fens “unique and irreplaceable wetland types”. DEIS at 80. We agree, and
   therefore insist that the revised plan contain a standard requiring fen protection and conservation.

   In the introduction to the Riparian Management Zones (RMZ) section (Plan at 14-15), the plan
   mentions the process for determining the width of riparian management zones, as required by the
   Planning Rule at 36 CFR 219.8(a)(3)(ii). The process is described in Plan Appendix F. However,
   the plan does not further mention this process, and it is not included in any plan component.
   There should be a least a guideline, if not a standard, that requires this process to be used, unless
   another process is later developed or discovered that incorporates the best available science.

   There should be standards in the RMZ section requiring the limitation of roads and livestock
   grazing. The DEIS notes the need for limits on activities and protection for riparian resources:

         Conflicts between some human uses, however, and the resources dependent on
         resilient riparian conditions may continue unless management provides for sufficient
         land use limitations and resource protections that maintain the disturbance processes
         and pathways associated with resilient riparian conditions^

   Id. at 163; citations omitted. The DEIS also ties avoidance of impacts to application of plan
   components:

         The impacts [to riparian, wetlands, and fens for livestock grazing] described above
         are typically avoided through proper rangeland management, which entails the
         application of the standards, guidelines, and management approaches detailed in this
         forest plan revision, along with a variety of other tools.



                                                    95

                                                                         Rvsd Plan - 00005361
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 270 of 475




   Id. at 187.

   The one guideline on grazing in RMZs, G-RMZ-3, only addresses a peripheral issue: “prevent or
   minimize the introduction and spread of cowbirds in riparian willow systems. We are not aware
   that livestock grazing helps spread cowbirds, but it likely helps introduce and spread non-native
   plant species. The guideline should be a standard and incorporate or reference efforts to
   minimize introduction and spread of noxious weeds.

   Is the Watershed Conservation Practices Handbook (WCPH), FSH 2509.25, incorporated into
   the proposed revised plan? It is only mentioned once, under soils (Plan at 3 547). We do not see it
   mentioned under Watershed (pp. 15-17). While the Plan need not repeat existing direction from
   sources outside the plan, it must specifically incorporate this direction. We recommend the
   following standard under Watershed (WA): “Incorporate the Watershed Conservation Practices
   Handbook (WCPH), FSH 2509.25, in all projects and activities, as applicable”.

   There is only one standard in the Watershed section, S-WA-1. It refers to “Forest Service 990
   A”. Plan at 16. This is the National Best Management Practices for Water Quality Management
   on National Forest System Lands Volume 1: National Core BMP Technical Guide. A passage
   from this document states:

          The national core set provides general, nonprescriptive BMPs for the broad range of
          activities that occur on NFS lands. Nearly every BMP in the national core set already
          exists in current regulations, guidance, or procedures. Adopting a standard national
          core set of BMPs may change what some national forests and grasslands refer to as
          their BMPs, but it will not change the substance of site-specific BMP prescriptions.
          Those prescriptions will continue to be based on State BMPs, regional Forest Service
          guidance, land management plan standards and guidelines, BMP monitoring
          information, and professional judgment.

   Id. at v-vi.

   Clearly, the national BMPs are not intended to override or replace the regional guidance like the
   WCPH. Therefore, even though supposedly “Forest Service handbook and manual direction is
   incorporated into all forest plans and project-level proposals” (DEIS at 15448), the revised plan
   needs to specifically incorporate the WCPH.



   47 The text there states, accurately: “The 199[7] plan use the watershed conservation practices handbook as
   standards and guidelines...... These practices will continue be used to protect soils as regional direction.” However,
   the WCPH should specifically be incorporated into the plan as a standard for both soils and watershed to make clear
   these practices are to be followed in implementing projects and activities the revised plan.
   48 Like the previous quote about applicability of the WCPH, this also appears under soils.

                                                            96

                                                                                     Rvsd Plan - 00005362
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 271 of 475




   Under Pollinators (PLTR) (Plan at 17-18), MgtApr MA-PLTR 2, to maintain and improve
   pollinator habitat, should be at least a guideline.

   Two objectives under Species of Conservation Concern -Animal and Plant (SCC) (Plan at
   18-20), SCC-OBJ-1, to mitigate impacts to insects designated as SCC caused by insecticides and
   other pesticides, and SCC-OBJ-2, the same for SCC plants, should both be standards.

   DC-SCC-9, ensure continued viability of SCC plants (id. at 19), must be a standard.

   S-WLDF-3 49 states: “Avoid or mitigate impacts to boreal toad breeding sites and winter
   hibernacula within 100 feet from May 15 to September 30”. This should be rewritten to also
   provide protection of winter hibernacula when the toads are likely to be there, i. e, from
   September 30 to May 15. The bullet points under this standard (id. at 20), are commendable:
   consider summer movements of toads and avoid dropping fire retardant on their habitat.

   How would habitat for Gunnison’s prairie dog be maintained or restored via livestock grazing?
   See G-SCC-5, Plan at 20. This should be deleted, as livestock grazing is likely to reduce or
   degrade grouse habitat.

   Part of the proposed new Canada Lynx (LYNX) standard is a needed addition to the Southern
   Rockies Lynx Amendment (SRLA). It recognizes that lynx are still using areas with substantial,
   or even complete, overstory mortality that have an understory that provides dense horizontal
   cover. Standard Veg S 7 (Plan at 22) would apply limitations on vegetation management in areas
   with less than 40 percent canopy cover that still have enough understory to provide quality lynx
   habitat. However, part 2 of this standard would allow salvage harvest “when incidental damage
   to understory and standing green trees is minimized”. “Minimized” is not defined.

   Parts of MgtApr MA-LYNX-6 (Plan at 23), to provide foraging habitat near denning habitat and
   to protect “known or potential of high quality denning habitat”, should be standards.

   The plan should contain a desired condition to maintain, restore and enhance lynx habitat
   connectivity, including across highways. Standards and guidelines may also be needed to address
   connectivity.

   See a detailed discussion of lynx direction and analysis of impacts in section V C 1 and 2 above

   Most or all of the guidelines under Other Threatened, Endangered, Proposed, and Candidate
   Species (TEPC) (Plan at 24-25) should be standards. These measures are needed to ensure that

   49 Though in the SCC section, this standard has a WLDF label. It should be renamed SCC-2 or SCC-3, as there is
   another WLDF-3 standard on p. 27.

                                                          97

                                                                                 Rvsd Plan - 00005363
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 272 of 475




   these species will have an opportunity to recover to full, viable populations, and to ensure agency
   compliance with the Endangered Species Act.


   Under Wildlife and Plants (WLDF) (Plan at 25-30), DC-WLDF-4 says to provide security
   habitat for big game on their winter ranges. This should be at least a guideline, if not a standard.

   DC-WLDF-7, providing wood legacies, including snags, needs to be a standard. The previous
   plan had a standard for retention of snags and down wood. See current plan at III-12.

   There are 27 MgtAprs under WLDF. Many of them should be at least guidelines, and some
   should be standards. At a minimum, the following must be upgraded to enforceable plan
   components:

   MA-WLDF-6: continue to support avian species monitoring “with the goal of providing valid
   trend data for applicable threatened, endangered, proposed, candidate, and species of
   conservation concern and priority bird species”. Having trend data is crucial to assessing
   viability. This must be a standard.

   MA-WLDF-12: “[d]iscourage recreational activities that disturb bighorn sheep, particularly
   around primary use or reproduction areas”.

   MgtApr MA-WLDF-13: developing separation plans for livestock grazing allotments where
   there is a high risk of contact between domestic and bighorn sheep.

   MgtApr MA-WLDF-17: “^avoid or otherwise mitigate adverse impacts in unique or rare plant
   community types that have a biodiversity significance of B1 (outstanding) or B2 (very high)^”.
   Projects should completely avoid these areas unless strong mitigation is designed to nearly
   eliminate impacts and the mitigation is highly likely to be effective.

   MgtApr MA-WLDF-21: locate and design wind energy structures to minimize or prevent
   wildlife mortality. Also impose operational constraints to reduce or eliminate mortality, like
   prohibiting wind turbine operation during times of migration.

   MgtApr MA-WLDF-22: “[m]anage off-road travel on big game winter ranges, including over-
   the-snow track machines during the primary use seasons for big game. Exceptions may be
   authorized under special use permit”. This is similar to, but weaker than, 5.41-S-1, under MA
   5.41, big game winter range, which outright prohibits off-road use, including snow machines,
   during the primary use season of December 1-March 31. To avoid confusion and to ensure that
   wintering big game are protected, MgtApr MA-WLDF-22 must be removed.


                                                    98

                                                                         Rvsd Plan - 00005364
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 273 of 475




   MA-WLDF-24: maintain habitat needed for connectivity of seasonal habitats.

   MA-WLDF-25: “[r]etain large, unique, legacy trees where feasible”. Without being a plan
   component, and without some specifics on size, height, and number of trees to retain per acre,
   this MgtApr is meaningless.

   MA-WLDF-27: “[i]dentify and assess habitat connectivity needs at various spatial scales when
   conducting forest management activities at the project levels”.


   Noxious weeds are a major, and growing, problem on Colorado’s national forest lands. It is
   especially important that new populations be attacked as soon as possible after discovery, and
   that projects and activities do not introduce or spread weed populations. Therefore, the Aquatic
   and Terrestrial Non-Native Invasive Species and Noxious Weeds (NNIS) section (Plan at SC­
   SI) needs a standard that should read approximately as follows:

         For all projects and activities that involve ground disturbance, survey and eradicate
         noxious weeds to the greatest extent practicable before and during project or activity
         implementation, and for at least three full growing seasons after completion. The
         areas to be surveyed and the frequency and intensity of the surveys should be
         commensurate with the size of the proposed project or activity and its location vis a
         vis existing weed populations.

   As currently written, the Plan has only 1 weak MgtApr, MA-NNIS-5, addressing weed
   introduction and spread during project implementation. There are no standards in this section at
   all, and the only guideline addresses only aquatic invasive species.

   To help ensure that chemical herbicides are used only when necessary, we recommend the
   following standard or guideline:

         Chemical herbicides should be used only where other methods are not likely to be
         effective in eradicating or minimizing noxious weed populations.

   A guideline or MgtApr should make the following the top priorities for weed treatments, in
   descending order:

    - -populations of weeds not previously known to be present on the RGNF,
    - -new populations of weed species known to be present,
    - -rapidly expanding existing weed populations, and


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                                                                       Rvsd Plan - 00005365
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 274 of 475




    - -small existing weed populations.

   Note that the current plan has such a guideline at III-24, III-25.

   Make MA-NNIS-2 a guideline and expand to cover terrestrial weeds and encourage cooperation
   with the Colorado Department of Agriculture as well as with the Division of Parks and Wildlife.

   The DEIS states:

          Direction to use locally adapted seed mixes and limit the use of certified weed-free
          hay increase[sic]50 Forest defenses against nonnative invasive species. This
          direction does not change across the alternatives being considered.

   Id. at 145. We do not see either issue addressed in the Plan. The revised Plan should have a
   standard requiring the use of certified weed-free hay on the RGNF, as the current plan does. See
   Standard 2 under Undesirable Species, current plan at III-24. It should also have a standard
   requiring the use of native plants for revegetation, as the current plan does. Id. at III-12.


   In the Range (RNG) section (Plan at 32-35), guideline G-RNG-2, recommends a phase-out of
   grazing systems occurring during the entire vegetative growth period, unless the desired plant
   community is achieved or maintained (Plan at 34). This must be a standard, as it is in the current
   plan (id. at III-14).

   Livestock use of riparian management zones must be minimized to retain riparian characteristics
   and values. However, guideline G-RNG-3 (Plan at 34) would allow livestock to use these areas
   as long as an unspecified stubble height was met. But the impact to riparian areas from livestock
   use is not limited to vegetation consumption. Stock, especially cows, compact soil and degrade
   water quality via solid and liquid waste deposition. The DEIS states:

          Grazing pressure in sensitive areas may degrade watershed conditions through the
          direct, physical removal of riparian and wetland vegetation, and trampling of
          streambanks and wet areas, or through indirect changes to vegetation species
          composition, decreased shading/increased water temperatures, and changes in water
          chemistry.

   Id. at 180.



   50 We assume this is intended to mean “limit use of hay to that this is weed-lTee”. This needs to be reworded to
   clarifiy.

                                                            100

                                                                                     Rvsd Plan - 00005366
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 275 of 475




   This guideline must be replaced with a standard requiring minimization of livestock use in
   riparian areas and the minimization of damage to soils and water quality.

   MgtApr MA-RNG-1 would recommend removal of stock if allowable use criteria, allotment
   management plan guidance, or annual operating instructions are exceeded. This must be a
   standard. Note the following from the Forest Service’s National BMPs: “Modify, cancel, or
   suspend the permit in whole or in part, as needed, to ensure proper use of the rangeland resource
   and protection of water quality”. BMPs at 84.

   MgtApr MA-RNG-4 says to “[d]iscourage livestock use in openings created by fire or timber
   harvest that would delay successful regeneration of the shrub and tree component”. This must be
   a standard. Protecting young trees is important, given that much salvage logging is proposed in
   the first decade on the RGNF. Livestock could easily trample, or even eat, planted or naturally
   regenerating trees, and delay forest regeneration. The DEIS notes that:

         Reforestation goals also often require that livestock be excluded from an area until
         trees have become established and reach a size that limits damage from livestock.

         ^ grazing within regenerating stands is generally limited or prohibited until trees
         have grown to a size at which cattle impacts are minimal.

   Id. at 139, 141.

   Thus the Plan must contain direction to prevent this. Change “discourage” to “prohibit”, and
   make this provision a standard.

   MgtAprs MA-RNG-3 and MA-RNG-6 are the same. Delete one of them, and make the other a
   desired condition. Managing rangelands to provide a variety of benefits is a desirable and
   needed condition to be achieved and maintained, not just a discretionary management emphasis.


   For Soils (SOIL) (Plan 35-36), see discussion of the applicability of the WCPH in the
   Watershed section above. Also, Under S-SOIL-1, the following statement is contradictory:

         In areas where more than 15 percent detrimental soil conditions exist from prior
         activities, the cumulative detrimental effects from project implementation and
         restoration should not exceed the conditions prior to the planned activity and should
         move toward a net improvement in soil quality.




                                                  101

                                                                       Rvsd Plan - 00005367
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 276 of 475




   Plan at 35-36. If the area to be treated already has over 15 percent in a detrimental condition, it
   has already “exceed[ed] the conditions prior to the planned activity”. Remove this statement and
   replace with the following: “In areas where more than 15 percent detrimental soil conditions
   exist from prior activities, do not authorize new activities until the detrimental condition affects
   less than 15 percent of the area”.

   Guideline G-SOIL-1, for operating on sensitive soils, including those with high mass-wasting
   potential, should be a standard.

   MgtApr MA-SOIL-1, requiring native, weed-free seed for revegetation, should be a guideline or
   standard.

   MA-SOIL-3 reads:

         Project-specific best management practices and project design features should be
         incorporated into land management activities as a principle mechanism for protecting
         soil resources.

   Plan at 36. Change “should” to “must” and make this a standard.


   Under Vegetation Management (VEG) (Plan at 36-45), DC-VEG-1 references table 5 for
   retention of snags and coarse woody debris. In the current plan, a slightly different version of this
   is a standard! See current plan at III-12, Table III-1. It should be a standard in the revised plan
   also. See the discussion the importance of snags and down wood at Plan p. 37.

   The Table has criteria which can be met in projects that manipulate vegetation. Indeed, they can
   be part of timber prescriptions, as the DC says. But if it is only a desired condition, it is too easy
   to ignore the need to provide for important ecological components.

   Also, the criteria in Table 5 apply to the planning unit, whereas under the current plan, the
   “amounts are to be calculated as a per-acre average over a project area”. Current Plan at III-12.
   “Planning unit” is not defined in either Glossary in the draft Plan and DEIS, nor in the 2012
   Planning Rule. This term has been used previously to mean the national forest unit for which a
   plan applies, like the RGNF. This needs to be clarified, but if the criteria in Table 5 are meant to
   apply to the entire RGNF, the direction is meaningless at the project level. How could managers
   apply a forest-wide design criteria to a project? Snags and down wood in most project areas
   would contribute only a small amount to the forest-wide averages for snags and down wood. In
   other words, a project area, after implementation, could be devoid of snags and down dead but
   probably still meet the forest-wide design criteria.


                                                     102

                                                                          Rvsd Plan - 00005368
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 277 of 475




   This is especially true in the spruce-fir zone, where high levels of snags throughout wilderness
   and roadless areas would satisfy planning unit criteria, even if no snags at all were left behind
   following salvage logging. The whole point of setting criteria for snag retention is to ensure that
   this structural legacy that is so critical to wildlife is well distributed across the forest. The DEIS
   (at 96) claims that “snag retention amounts in the action alternatives, as well as determinations
   made at the project-level, would help ensure that large openings created during salvage have
   sufficient amounts of snags and downed wood”. But unless snag retention requirements apply to
   the project area, there is no guarantee that snags would be protected.

   This would be an issue in the many acres of salvage logging expected to occur in the first decade
   under the proposed plan, should it be approved in its current form.51

   Requirements for retention of snags and down-dead wood must be a standard to be applied at the
   project level.

   See additional discussion of snags and down wood in Appendix 1.

   DC-VEG-4, to retain remaining green trees in spruce-fir stands with 60 percent or greater bark
   beetle mortality, should be a guideline. Retaining such trees will almost always be “integral to
   ecosystem or species habitat-related goals”, and be an action needed to helping reestablish forest
   cover.

   DC-VEG-5, maintain old forests per Plan Appendix A “to provide ecological conditions
   necessary to maintain viable populations of at-risk species”, should be at least a guideline. This
   is another action needed for reestablishing older forests.

   Taken together, these two desired conditions statements suggest a need for a guideline to protect
   large live spruce wherever they exist. According to Table 27 (DEIS at 74), spruce-fir forest is
   currently below desired levels of late successional habitat. Beetle-affected stands should be
   protected from salvage, even if they contain considerable volume of dead spruce, as long as they
   meet the criteria for old forest.

   DC-VEG-9, retain tall snags and those in riparian areas during salvage treatment of burned areas,
   should be a standard or guideline. It is a condition that can easily be attained, and the Plan should
   direct that it be achieved. Also, this condition should not be limited to salvage of burned areas; it
   should extend to salvage logging following beetle outbreaks and indeed all logging projects.



   51 The DEIS admits that salvage logging would result in lower retention of snags and down wood in the treated
   areas. Id. at 97.

                                                          103

                                                                                  Rvsd Plan - 00005369
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 278 of 475




   Table 6 on Plan p. 40 shows 27 percent of spruce-fir in mature-open structural stage and 22
   percent in mature-closed stage. That seems very high, given that almost all the mature
   Engelmann spruce on the RGNF has been killed by spruce bark beetle. This table needs to be
   updated.

   In general, the whole approach to characterization of desired conditions of vegetation needs to be
   overhauled. The current approach, which relies on vectors of vegetation structural stages
   downloaded from the LANDFIRE website (and modified locally), is insufficient to characterize
   the desired range of variation. Indeed, this static characterization of desired condition is the
   exact opposite of what was intended by the original conception of historical range of variability
   (Morgan et al. 1994). The “range of variability” should not be presented as a fixed distribution
   of structural stages. Such a characterization is the consequence of the State Transition
   Simulation (STS) Model used to derive desired condition, not a realistic characterization of
   vegetation dynamics. The STS model simply cannot represent the effects of the periodic
   disturbances that drive vegetation dynamics in the Rocky Mountains (instead, the effects of
   periodic disturbances are divvied up among annual time steps and modeled as though they occur
   every year; such modeling results in the static representation of historical vegetation that passes
   for desired conditions in Table 6).

   That said, we understand the appeal of the characterization of desired condition as a static
   distribution of structural stages: it is simple. It also makes it very easy to describe what needs to
   change to achieve desired conditions: if there is “too much” of one structural stage and “not
   enough” of another, managers simply need to convert one structural stage to another. This leads
   predictably to the kind of management to be expected under this plan, where “too much” mature
   warm-dry mixed conifer, for instance, will be converted to make up the “deficit” of young forest,
   and too much mature-closed, cool-dry mixed conifer will be thinned to make up the shortage of
   mature-open forest. The problem is that setting desired conditions as a static distribution of
   (bounded) proportions of structural stages fails to accurately represent the true range of values to
   be expected in non-equilibrium forests driven by periodic disturbance. It makes for convenient
   management but is no more reflective of the dynamics of real forests than is the mythical
   “regulated forest.”

   Perhaps the biggest problem with this approach, though, is that it leads to the conclusion that any
   management that is intended to move the forest toward desired conditions is good for the forest.
   This is reflected in the ludicrous effects analysis on pages 91-94 of the DEIS that ignores the
   impact of management and assumes that more management would lead to more rapid
   achievement of desired conditions and “a larger suitable timber area also means there would be
   more control over manipulating vegetation and creating particular old forest characteristics.”
   The emphasis on transitions among structural stages at the scale of whole forest types also leads
   to the dismissal of meaningful differences among alternatives with statements like, “This effect


                                                    104

                                                                         Rvsd Plan - 00005370
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 279 of 475




   (of alternatives) is minor in that the distribution and diversity of vegetation structural stages
   across the Forest is predominantly determined by successional and natural disturbances such as
   fire, insects, and disease, and the fact that about half the forested area is already in protected
   areas^” DEIS at 92. The analysis of environmental effects among alternatives cannot be
   dismissed simply because the aggregate distribution of structural stages is controlled by factors
   other than management.


   OBJ-VEG-1, “[d]iversify the structure class distribution for various forest types via
   management”, should not apply to the specially designated geographic area. Vegetation
   treatment in these areas is likely to harm the values of the areas for which the areas are
   designated.

   S-VEG-3 references Table 7, concerning restocking levels for the various timber types. Only 75
   ponderosa pine trees per acre would be required for an area to be adequately restocked. That is a
   tree every 24.1 feet (if they were evenly spaced, which in naturally-regenerated stands, they
   usually are not). Only 100 Douglas-fir trees per acre would be sufficient to certify the stand as
   restocked; that is only 20.9 feet between trees. These levels seem quite low.52 What is the
   justification for this stocking requirement? For ponderosa pine, planting should be in clumps of
   2-10 trees, similar to how this species naturally regenerates.

   Though text below Table 7 states that the numbers therein are the minimums, the standard states:
   “[e]xceptions to these levels are allowed if supported by a project-specific determination of
   adequate restocking”. Plan at 41 and 40, respectively. The Plan needs to clarify if the minimum
   levels in Table 7 always need to be met, or if they do not have to be met under a site-specific
   analysis.

   Guideline G-VEG-1, prohibiting cutting before stands have reached the culmination of mean
   annual increment of growth (CMAI) unless certain exceptions are met, must be a standard. The
   prohibition on cutting before CMAI is reached is required by the National Forest Management
   Act, 16 U.S.C. 1604(m), and by the Planning Rule at 36 CFR 219.11(d)(7).

   Table 8 (Plan at 43), referenced in MA-VEG-1, lists the appropriate silvicultural system for each
   timber type. Clearcutting is listed as acceptable for spruce-fir stands, but it should not be,
   because spruce does not regenerate well, if at all, in the open.

   MgtApr MA-VEG-2 should be amended to state that efforts to regenerate aspen must not
   damage or degrade old-growth conifer characteristics. It should be a guideline.


   52 Under the current plan, the minimum stocking for ponderosa pine and Douglas-fir is 150 trees per acre. See
   current Plan at III-18.

                                                           105

                                                                                   Rvsd Plan - 00005371
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 280 of 475




   MgtApr MA-VEG-7, “Preserve or defer from harvest some old-forest/late-successional
   stands^” (emphasis added) should apply to almost all stands, given the loss of old spruce. The
   assumption should be that old/late successional forests are not cut unless there is a specific need
   for public safety or other urgent need.

   MgtApr MA-VEG-8 (Plan at 54, contains criteria for determining when an opening is no longer
   considered an opening. It should be at least a guideline, as it is in the current plan. See current
   Plan at nI-21).


   In Air Quality (AIR) (Plan at 46), measures limiting emission and deposition of pollutants, DC-
   AIR-1, -2, -6 and G-AIR-2, should be standards, to ensure the RGNF complies with the Clean
   Air Act.


   The Congressionally Designated Trails (CDT) section of forest-wide direction (Plan at 49-53)
   applies to the Continental Divide National Scenic Trail (CDNST) and the Old Spanish Trail
   (OST). It is important to retain Standards S-CDT-1 and -2, making the trail corridors unsuitable
   for leasable minerals and prohibiting extraction of common variety minerals. This section should
   also contain a standard stating that land in the trail corridors is not suitable for timber
   production.53 Vegetation could still be managed for non-timber purposes, such as removal of
   hazard trees and treatments in the wildland-urban interface to reduce the fire hazard to homes
   and infrastructure.

   The following standard and guideline are similar and should be consolidated into one standard:

   S-CDT-4 states:
       Management activities in the congressionally designated trail corridors shall be
       consistent with, or make progress toward achieving, high or very high scenic
       integrity objectives to protect or enhance scenic qualities.

   G-CDT-2 states:
       To protect or enhance the scenic qualities of the Continental Divide National Scenic
       Trail, management activities should be consistent with, or make progress toward
       achieving scenic integrity objectives of high or very high within the foreground of
       the trail (up to 0.5 mile on either side).



   53 DEIS at 91 states that the CDT and the OST, “are removed from the suitable timber acreage along with a one-half
   mile buffer on each side of the trail” for alternatives B, C, and D. However, we no such indication of this in the Plan.

                                                             106

                                                                                      Rvsd Plan - 00005372
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 281 of 475




   We recommend converting the guideline to a standard and amending it to apply to both the
   CDNST and the OST.

   Standard S-CDT-3 states:

         Motorized events and motorized special use permits shall not be permitted on
         nonmotorized segments of the Continental Divide National Scenic Trail. Motorized
         events and special use permits could be authorized along existing motorized trail
         segments not yet converted to nonmotorized use.

   If a trail segment is part of the CDNST, it is supposed to be non-motorized. Even if it has not
   been “converted” to non-motorized, neither motorized special events nor special use permits for
   mass use should be allowed. Permitting such use could make it more difficult to close the trail to
   motorized uses at any time in the future. Note that G-CDT-4 states: “In order to promote a
   nonmotorized setting, the Continental Divide National Scenic Trail should not be permanently
   relocated onto routes open to motor vehicle use.” S-CDT-3 would conflict with this guideline.

   Guideline G-CDT-9, prohibiting use of the CDNST for landings and as a temporary road, must
   be a standard to ensure the nature and purposes of the trail are maintained.


   Under Cultural Resources (CRT) (Plan at 53-56), MgtApr MA-CRT-1 is confusing:

         Protect fire-sensitive sites from activities that may include vegetation treatment,
         including prescribed fire and thinning, in and adjacent to site boundaries provided
         that appropriate protective measures are in place. Erosion, severe fire effects, and
         livestock congregation can result from “islanding” if sites are only avoided and not
         treated.

   Is the intent here to protect sites from vegetation management, or to make sure they are not
   subject to “islanding”? The CRT section should have a standard protecting cultural sites from
   any kind of management, and from vandalism. At a minimum, rewrite and clarify DC-CRT-1
   and make it a standard.


   Fire Management (FIRE) (Plan at 57-58)
   The plan and the other two action alternatives would direct that all human-caused wildfires be
   suppressed. S-FIRE-1, Plan at 57; DEIS at 23. This would be true even in the Resource
   Restoration Fire Management Zone (WFMZ-R), the zone where “managing wildfire to meet
   resources objectives is the least constrained” (DEIS at 23, 98), and there is “minimal emphasis


                                                  107

                                                                       Rvsd Plan - 00005373
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 282 of 475




   on suppression” (Plan at 73). While many human-caused fires will likely have to be suppressed,
   it should still be an option to let such fires burn under certain conditions, to be decided at the
   time of the fire. These fires may, in some situations, help meet ecosystem needs and desired
   conditions. We recommend rewriting S-FIRE-1 and the description of WFMZ-R accordingly.


   Under Forest Products (FP) (Plan at 58-59), there should be a guideline providing for the
   establishment of limitations on how much of any forest product can be removed, per person
   and/or per time period, if needed to reduce adverse impacts on ecosystems or to ensure that the
   product(s) is/are available to everyone.


   One of the most important parts of infrastructure on the RGNF is roads. Thus in the
   Infrastructure (INFR) section of the draft revised plan (id. at 59-61), MA-INFR-4 should be
   made a guideline or standard and rewritten to make clear that roads can be closed to public
   motorized use if any of the listed conditions exist.

   Rewrite MA-INFR-5 as a standard, per below:

         On all lands except designated travelways, motorized use is prohibited unless the
         motor vehicle use map or a forest order indicates that such use is specifically
         allowed. This applies to motor vehicles operating over snow as well as on dry land.

   There should be no non-emergency off-road travel in the snow-free season. This allows illegal
   creation of routes, which are then used by others, and become very difficult to decommission.
   Off-road motorized use is also very damaging to soils, especially in wet, non-rocky areas. See
   DEIS at 153.

   We agree with, and fully support, the statement on page 90 of the Draft Plan that “mechanized
   travel is only suitable on designated routes.” Mechanized travel, including mountain biking, fat
   biking, and other forms bicycle and other mechanical transport, can result in significant impacts
   on resources. There must be a standard limiting mechanized use to designated routes to ensure
   there is no confusion about where this use is allowed, and to guide future development/revision
   of a travel management plan.


   MA-INFR-8 should be a standard, or at least a guideline. It should be amended to state that road
   use should be managed with seasonal closures if any of the listed conditions exist.




                                                   108

                                                                        Rvsd Plan - 00005374
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 283 of 475




   The Lands (LAND) section of forest-wide direction (Plan at 61-64) should have standards
   and/or guidelines on priorities for acquisition and conveyance of lands. Note that the current plan
   has guidelines for this at III-31, -32.

   S-LAND-2 states: “Do not authorize conflicting uses of activities in transportation and utility
   corridors”. Where are the transportation and utility corridors on the RGNF? We find no
   information on their location, or possible location, in the Plan or DEIS. The planning documents
   must provide this information if there are any plan components for these corridors. We
   recommend a standard that prohibits transmission corridors in roadless areas.

   MA-LAND-3, requiring activities in corridors to be compatible with the management areas
   through which the corridors pass, should be at least a guideline.

   MA-LAND-4, having a land ownership pattern that supports meeting plan goals and objectives,
   should be a desired condition.


   Under Minerals (MIN) Plan at 63-64), the instream activity maps referenced in G-MIN-3 are
   really “fisheries activity period maps”, and are not in Plan Appendix H. Rather, they are found
   on the plan’s map page on the web.

   G-MIN-4, requiring vehicles to stay on legally open routes, must be a standard.

   Though there is no current oil and gas activity on the RGNF, nor demand for leases, the Plan
   should have a standard for which lease stipulations will be required under what conditions. The
   current plan has a guideline for this at III-3. It is possible that oil and/or gas prices could rise
   during the life of the plan, generating industry interest in leasing and producing. See further
   comments below.


   Under Recreation (REC) (Plan at 64-67), amend S-REC-3 to make clear that campsites should
   be closed if any of the listed conditions are present.

   G-REC-2 references Table 9. The preface to this table defines the recreation capacity ranges
   used in the table: “Very low and low apply to^clearcuts 1 to 20 years old. Moderate applies
   to^clearcuts 80-120 years old^ High applies to^ clearcuts 20-80 years old.” The clearcut age
   for moderate and high seem reversed - intuitively, older (80-120 years) clearcuts would have a
   higher capacity than younger (20-80 years) ones.




                                                    109

                                                                          Rvsd Plan - 00005375
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 284 of 475




   G-REC-1, managing recreation in lynx analysis units to maintain or improve connectivity of lynx
   habitat, should be a standard.


   In the Scenery (SCNY) section (Plan at 67 et seq.), OBJ-SCNY-1 states: “^meet or improve
   scenic integrity and stability through vegetation management within two watersheds” over the
   life of the Forest Plan. It is very doubtfUl that scenery can be improved with vegetation
   management, because such management itself degrades the scenery. The presence of slash piles,
   other waste, skid roads, etc. results in lower scenic quality.

   In S-SCNY-2, the time for which “[s]hort-term impacts inconsistent with the scenic integrity
   objectives [SlOs] may occur” should be reduced to 1-3 years. Five years is too long for
   inconsistency with the SIOs.


     C. GEOGRAPHIC AREAS, FIRE MANAGEMENT ZONES, AND MANAGEMENT
   AREAS

   Geographic Areas (GAs). Under the proposed plan, there would be four GAs. Each would cover
   the area in two or more management areas of similar emphasis. But there would be no additional
   direction under any of the GAs. Thus it is hard to see the usefulness of the GAs in the proposed
   plan.

   Fire Management Zones (FMZs). The two proposed FMZs provide different emphasis - one on
   wildland restoration, the other on resource protection. The two FMZs proposed for designation
   are assigned to two each of the four proposed GAs. Plan at 73. The GAs in turn are comprised of
   groups of management areas. Thus direction on fire could be contained in the direction for MAs
   and/or in forest wide direction.

   See additional comments about fire management in the zones in the Fire Management section
   above under forest-wide direction.


     D. MANAGEMENT AREA DIRECTION ISSUES

       1. General concerns.




                                                 110

                                                                      Rvsd Plan - 00005376
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 285 of 475




   One change from the current plan was to combine three wilderness management prescriptions
   into one. This is acceptable as long as impacts of recreation in heavy used areas are addressed.54
   See further discussion under MA 1.1 below.

   Each MA should state if lands assigned to it are available for oil and gas leasing, and if so, what
   lease stipulations will be required. Stipulations for leasable minerals are deliberately omitted
   from the action alternatives. See DEIS at 103. This is not acceptable.

   The description of each MA should state what class(es) in the recreation opportunity spectrum
   is/are likely to apply, and what the scenic integrity objective(s) is/are for the MA.

   Off-road travel for recreation and firewood gathering is allowed under four MAs. See Table 12,
   p. 91. Limitations are needed on this form of travel for any purpose.

   Since not all alternatives use the same management areas (MAs), or necessarily even the same
   forest-wide direction, complete descriptions of both the MAs and forest-wide direction used in
   each alternative, at least how these differ from the proposed Plan, should be provided for public
   review, perhaps in a DEIS appendix. Only with this information can the public fully understand
   what is being proposed in the alternatives.


      2. Specific Management Area Direction Comments

   MA 1.1, Designated Wilderness (Plan at 75 et seq.):
   The following statement is unclear: “Livestock grazing is present except where previously
   delineated”. Plan at 75. Where were livestock ever “delineated” in wilderness and what does that
   mean?

   Under 1.1 S-2, maximum group size for activities authorized by special use permit could be
   exceeded if the activity “will benefit the wilderness character” or “is necessary for public health
   and safety”. Plan at 76.

   How could a large party possibly benefit the wilderness character? Indeed, party size limits are
   established specifically to prevent or reduce damage to the wilderness character. It is equally
   difficult to imagine how a party exceeding the established size limit would ever be necessary for
   public health and safety. This part of 1.1 S-1 must be deleted from the final plan.




   54 In the current plan, MA 1.13 - Wilderness Semi-Primitive addresses high use areas, which may need more
   intensive management to retain wilderness character. Current plan at IV-6 through IV-8.

                                                         111

                                                                                 Rvsd Plan - 00005377
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 286 of 475




   Two MgtAprs here are good: limit signs to trail intersections and build bridges only for user
   safety, not convenience. 1.1-MAs -2 and -4. These should be standards or guidelines, but in any
   case, they should be retained.

   MgtApr 1.1 MA-1, discourage trail duplication, should be a guideline or standard.

   MgtApr 1.1-MA-6 would encourage management to “emphasize a wild fishery” and prohibit the
   stocking of non-native fish in wilderness. This is a good measure but it must be a standard to
   have any effectiveness.

   MgtApr 1.1-MA-7 would limit rockhounding to 50 pounds per person per day. There should also
   be a limit of the number of days per year per person, as otherwise, a sizable amount of rock
   could be hauled out over time from areas near wilderness boundaries, with potential adverse
   impact on the wilderness character. In any case, this must also be a standard.

   MgtApr 1.1-MA-8 states: “Minimize controlled driving of permitted livestock in designated
   wilderness”. Does this mean that uncontrolled driving should be allowed? If livestock are
   allowed in wilderness, as they generally are, they may need to be controlled or driven to reduce
   over-utilization. This MgtApr should be clarified.

   MgtApr 1.1-MA-10, possible actions to limit human impact to wilderness, needs to be a
   guideline or standard.

   The “active weed management” allowed under MgtApr 1.1-MA-13 should emphasize non­
   chemical control whenever possible. In other words, use of herbicides should be a last resort, not
   a first resort.

   We are pleased to see that the provisions of MA 1.1 would also apply to 1.1a, areas
   recommended for wilderness. Plan at 77. However, there may be some activities currently
   occurring in the 1.1a areas that do not conform to wilderness requirements. See, e.g., DEIS at
   305, which states:

         Motorized trails would not be authorized and would have to be converted to
         nonmotorized trails. Mountain bike trails would be allowed if previously authorized
         and would only be discontinued if congressional designation of wilderness occurred.

   The DEIS should identify the parts of 1.1a areas where activities that now occur would not be
   allowed if the respective areas were designated as wilderness. This should be done for both
   alternatives B and D, which recommend various acreages for wilderness. By identifying the



                                                  112

                                                                       Rvsd Plan - 00005378
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 287 of 475




   possible non-conforming areas, the Forest Service can enlist the public’s help in monitoring them
   to ensure retention of wilderness character.

   Also:

           Recommended wilderness areas are not withdrawn from mineral entry and are
           available for new leases or claims as long as the social and ecological characteristics
           that provide a basis for wilderness designation are maintained and protected. The
           proposed action must preserve and protect wilderness character.

   DEIS at 306. The Plan should at least make all recommended wilderness areas discretionary no
   lease for leasable minerals.


   MA 2.2, Research Natural Areas (Plan at 78):
   MgtAprs 2.2-MA-1, -2, and -6, which allow recreation and special uses that do not conflict with
   the values or RNA establishment, need to be at least guidelines, if not standards, to ensure
   protection of RNA values.


   MA 3.1, Special Interest Areas - Use And Interpretation Emphasis (Plan at 79):
   See section III above for a detailed discussion od special area designations, including this MA.


   MA 3.4, Designated Suitable and Eligible Wild, Scenic, and Recreational Rivers (Plan at 79­
   82):

   Guidelines WSR-G-2, -3, and -4 state the ROS classifications and SIOs for wild, scenic, and
   recreational rivers, respectively. However, for scenic and recreational, it states: “Activities will
   meet the adopted scenic integrity objective.” Plan at 81-82. Does this mean the SIO adopted at
   the time a management plan or determination of suitability is approved? Normally, SIOs are
   adopted at the plan level. The SIO for scenic river segments should be high, and for recreational
   segments, it should be moderate.

   3.4- MA-1 states that a suitability study should be done whenever a proposed action threatens the
   free-flowing nature or any of the outstandingly remarkable values of one or more river segments.
   This needs to be a standard. It should be noted that when there is already a proposed action that
   threatens the free flow or ORVs, there may be intense pressure to approve it, to the detriment of
   the eligible river segment(s). To reduce this pressure, begin the suitability analysis at the earliest



                                                     113

                                                                          Rvsd Plan - 00005379
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 288 of 475




   possible time in the planning and analysis process for a project that could adversely affect free-
   flowing river segments or their ORVs.


   MA 4.21 Scenic Byways and Railroads (Plan at 85):
   Lands in this MA would be part of the suitable timber base. However, Table 12 at p. 91 shows
   that commercial timber harvest is not allowed in this MA. (It is only allowed in MAs 5.11 and
   5.13).

   While vegetation treatment may be desired at times (e. g., to remove hazard trees adjacent to
   roads and trails), these lands are managed for scenery: “All activities and interactions are
   managed to maintain the scenic beauty for which the area is designated.” The Integrated Desired
   Conditions section for this MA states that activities like commercial timber harvest occur but
   “are not dominant or visible”. However, it might be difficult to implement these activities
   without them becoming visible and dominant, due to the relatively narrow corridors to which this
   MA is applied. (See proposed forest plan management areas map.)

   Land assigned to MA 4.21 should not be part of the suitable timber base.

   Developed recreation facilities are acceptable in this MA


   MA 4.3, Dispersed and Developed Recreation (Plan at 86):
   The description here should explicitly state that these lands are not part of the suitable timber
   base.


   MA 5.11, General Forest and Intermingled Rangelands (Plan at 86-87):

   Under 5.11-MA-2, off-road use of motor vehicles would be allowed to retrieve game between
   noon and 5 PM, as long as no resource damage occurred. Use of vehicles off-road during big
   game rifle hunting season will almost always be damaging, as soils are often wet from melting
   snow. But even if not, off-route use illegally creates new routes and makes enforcement of travel
   management difficult. This provision must be removed from the final plan.

   See our comments on dispersed recreation and off-road vehicle travel.


   MA 5.13, Forest Products (Plan at 87-88):



                                                    114

                                                                         Rvsd Plan - 00005380
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 289 of 475




   5.13- MA-1, coordinating livestock grazing with vegetation management to “ensure adequate
   regeneration and prevent impacts on range improvements and natural barriers”, needs to be a
   standard. If it remains a MgtApr, it will be too easy to ignore. Some provisions to provide
   coordination need to be in every timber sale or other vegetation management contract. Having
   this as a standard in the revised Plan would help ensure this occurs.


   MA 5.41. Big Game Winter Range (Plan at 88-89):

   The Integrated Desired Conditions section here states: “This management area is included in the
   suitable timber base.” However, Table 12, Plan at 91, shows that commercial timber harvest is not
   suitable in this MA. It makes no sense to include the land in this MA in the suitable base if it will not
   be harvested. Also, management in this MA should retain hiding and thermal cover for wintering big
   game animals, but any commercial logging would likely reduce such cover. Therefore, land in this
   MA should not be suitable for timber production.

   Under Integrated Desired Conditions, “[v]egetation treatments occur during the winter to
   mitigate impacts to habitat security values.” Plan at 88. This is inappropriate. It makes no sense
   to do non-emergency vegetation treatment when the animals are likely to be on winter range,
   especially since such treatment could more easily be done in the longer period of each year when
   they are not present. Also, veg treatment, like cutting trees and implementing controlled burns,
   can be more difficult in cold winter weather. Access may be more difficult then due to snow
   cover or muddy roads.

   We are happy to see 5.41-S-1, which prohibits off-road travel, including over-snow vehicles,
   form December 1 through March 31. This standard should be strengthened to state that no off­
   road motorized use is allowed any time during the season of possible use by big game, say
   November 1 to April 15. (See additional comments under Infrastructure above.)

   We recommend a standard that encourages closure of all routes to motorized use on big game
   winter ranges during the season of big game use, subject to valid existing rights, emergency and
   needed administrative uses, etc.

   MgtApr 5.41-MA-2, “[a]void placing new roads in locations with important forage and cover”,
   should be a standard.


   MA 8.22 Ski-based Resorts (Plan at 89-90)
   The description says that “grazing is not authorized or permitted”, but MgtApr 8.22-MA-2 states
   that grazing can be authorized on a limited basis with agreement and cooperation of the permit
   holder. This apparent contradiction needs to be corrected in the final revised plan.

                                                      115

                                                                            Rvsd Plan - 00005381
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 290 of 475




   A standard should state that lands in this MA are not suitable for timber production.


   VII. THE TIMBER SUITABILITY AND SALE QUANTITY ANALYSES NEED
   CORRECTION

        A. THE TIMBER SUITABILITY ANALYSIS DEFIES LOGIC.

   The DEIS fails to consider alternatives that would reduce the area suitable for timber production,
   to provide additional protection to watersheds and ecosystems. Instead, each of the action
   alternatives significantly increases the area suitable for timber production. There is not much
   difference in suitable timberland in the action alternatives, with no alternative having less than
   401,000 ac (as in Alt D) suitable. The proposed plan, alternative B, has many more acres suitable
   for timber production (468,311) than does the current plan (320,567). DEIS at 22, 25, 45.
   Notably the acreage suitable in alternatives B and C is not much less than the total acres that may
   be suitable - 499,936. (Plan at 164.) In other words, few acres are removed from the “may be
   suitable” category for not being appropriate for timber production given the emphasis of the
   alternative. That might be expected to be the case for alternative C, which emphasizes active
   management, but not for alternative B, where the emphasis is on “water quality and quantity,
   ecosystem resilience and sustainability, and economics and services provided through public
   land management”. DEIS at 24. This is not a sufficient range of alternatives with regard to
   timber suitability, and does not comply with 40 CFR 1502.14(a).

   Also, “[m]ost of the management areas [MAs] are the same as [the current plan], with a few
   exceptions” for proposed action Alternative B. Ibid. Comparing the MA maps of the current and
   proposed plans, the allocations for the two MAs that have the most timber-suitable land, 5.11 and
   5.13, there appear to be only minor differences. The acreages of both 5.11 and 5.13 are less in
   the proposed plan versus the current plan:

                                         TABLE 1
                   ACREAGE IN MAs 5.11 AND 5.13 IN ALTERNATIVES A AND B

   DEIS Alternative                                              MA 5.11                             MA 5.13
   Proposed Plan Alt. B                    155,330                                248,689
   Current Plan Alt. A                     183,676 or 172,940                     265,016 or 297,11055




   55The first figure in the entries on this row come from the DEIS at 35. The second entries are from the 1997 Plan
   FEIS for selected alternative G at S-3. These difference are not explained.

                                                           116

                                                                                    Rvsd Plan - 00005382
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 291 of 475




   With fewer acres in the most timber-friendly MAs, the proposed plan should have fewer acres
   suitable for timber production compared to the current plan, but it has over 46 percent more
   suitable acres.

   Management emphasis in the current plan has not changed much in the draft plan, so the land
   suitable for timber production should not have increased, especially not by as much as it has in
   alternatives B and D.

   The DEIS should include an estimation of the number of acres that would be cut per year under
   each alternative. Presumably this has been calculated, as the narrative on DEIS p. 158
   qualitatively compares the alternatives in terms of acres to be cut. However, there is no narrative
   or table in the Plan or DEIS with the number of acres that may be cut.

   According to Plan Appendix C, which details the timber suitability analysis56, the following will
   be considered for timber suitability:

            1M and 2S areas with low canopy cover (10 to 25 percent) that key out as grasslands
            or other non-timber types and which are not previously treed.

   Plan at 165. Why should such areas be considered as potentially suitable for commercial timber
   production, especially those that have not had forest cover? Given the large area with dead
   overstory due to spruce bark beetle, whatever tree cover exists on these areas should be
   conserved. Or conversely, if the minimal tree cover is the result of meadow invasion and
   preservation of the meadows is desired, the trees would be removed one time and the areas
   would be kept un-forested. Either way, the areas described in the quote should not be considered
   suitable for timber production.

   Similarly, and probably related to the above, grassland resources areas (MA 6.6) and bighorn
   sheep areas (former MA 5.12; still in alternative A) are now suitable for timber production:

            The grassland resource production management areas are being considered suitable
            for timber production in alternatives B, C, and D, a change from alternative A, where
            they are not suitable. In addition, the bighorn sheep management areas in alternative
            A were merged with winter range to create the big game winter range management
            areas in alternatives B, C, and D. As a result, these areas are now considered suitable
            for timber production.

   DEIS at 129.


   56   DEIS Appendix B is identical to Plan Appendix C.

                                                           117

                                                                           Rvsd Plan - 00005383
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 292 of 475




   Grassland areas likely have few, or only scattered, trees, and should not be considered suitable
   for the reasons discussed above. Most winter range areas should not be suitable for timber
   production because any logging could remove forest cover needed by the big game as protection
   from wind and snow, i. e., thermal cover. Areas currently assigned to the bighorn sheep
   management area should also not have any suitable land because such areas are likely open with
   few trees, as bighorn sheep need long sight distances to navigate terrain and avoid predators. See
   additional comments below under Species Of Conservation Concern, Bighorn Sheep.

   There is even some area of alpine terrain in the suitable timber base. See DEIS at 102. There
   should be no land in the alpine in the suitable timber base because alpine areas, by definition,
   have no trees.

   Proposed action alternative B has over 150,000 acres of timber-suitable land in areas with high
   soil erosion potential, versus just over 100,000 acres for no action alternative A. DEIS Figure 15
   at 156. Overall, 33-35 percent of the timber-suitable lands by alternative are on lands with high
   soil erosion potential. Id. at 155. In any case, lands with high soil erosion potential should not be
   suitable for timber production.

   DEIS Figure 17, p. 157 shows almost 50,000 acres of land with poor reforestation potential is
   timber-suitable under alternative B, almost double the figure for alternative A. These lands
   should also not be suitable for timber production.


     B. THE LONG-TERM SUSTAINED YIELD QUANTITY IS MUCH TOO HIGH.

   The calculation of long-term sustained yield (LTSY) appears to violate the letter and intent of
   Handbook Chapter 60 guidance, as it includes land that should not have been included and
   because it was based on obsolete data. The direction for calculation of lands that “may be
   suitable” (DEIS at 506) explicitly instructs that “[l]ands on which technology to harvest timber is
   not currently available without causing irreversible damage” be excluded from the calculation.
   Therefore, lands that cannot be harvested with available technology should have been excluded.
   However, page 508 makes clear that “some inclusions in the suitable timber base many not be
   currently feasible for timber production,” including areas that are too steep or isolated to harvest.
   These lands should have been excluded from the calculation of LTSY in step one because they
   cannot be harvested without irreversible damage. The fact that technology (helicopters) exists
   that could be, but likely never will be, deployed57 does not justify inclusion of these lands in the
   suitable base. These lands should not have been carried forward into the calculation of suitable
   acres.

   57 Helicopters are very expensive to use, and timber from the RGNF is not likely to ever be sufficiently valuable to
   permit economical use of copters.

                                                            118

                                                                                     Rvsd Plan - 00005384
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 293 of 475




   In addition, the estimation of LTSY appears to have been based on old, if not obsolete, data.
   According to DEIS at 507, the data used to calculate growth were collected “over the last 20
   years.” Almost half of the plots used to calculate LTSY came from spruce-fir forests, but
   according to the 2015 Report on the Health of Colorado’s Forests, spruce beetles did not really
   begin to take off in southern Colorado until about 2010. With more than 610,000 acres infested
   by 2016, most of the spruce-fir plots that went into the calculation of LTSY have been likely
   been “significantly altered” (DEIS at 65) since the plot data were collected.

   Much (but not all) of the spruce-fir forest on the Rio Grande is dominated by Engelmann spruce,
   and when spruce beetle kills the overstory, volume growth drops to near zero, unlike stands that
   share basal area with subalpine fir (Derderian et al. 2016). Because recovery of stand
   productivity in spruce-fir forests following stand-initiating disturbance can take decades (Aplet
   et al. 1989), it can be expected that it will be decades before much of the spruce-fir identified as
   “may be suitable” will achieve rates of production equal to those in the plots that went into
   calculation of LTSY. Thus, it is highly likely that not only is LTSY based on acres that should
   have been removed from the calculation, it is also based on estimates of productivity that are far
   higher than those likely to actually occur over at least the life of the revised plan. LTSY should
   thus be recalculated using an appropriately reduced forest base and an up-to-date assessment of
   forest growth.

   Likely at least in part because of the lands described above are considered suitable for timber
   when they should not be, the maximum quantity of timber that can be sold is much too high. Plan
   at 41 (Standard S-VEG-7) states that the maximum amount of timber that can be sold (the long­
   term sustained yield capacity, LTSY) will be 73,749 ccf per year. This assumes that all 499,936
   suitable acres could be harvested. Obviously, that is not the case, as with all of the beetle-killed
   spruce, there is much less live timber on the RGNF than there was before the spruce bark beetle
   outbreak. The areas hit by bark beetles will not have spruce trees old and large enough to harvest
   for commercial timber products for more than a century. Stands where the spruce overstory has
   been killed should not be considered suitable for timber production, because regeneration of
   spruce is uncertain. The exception could be stands where there is a well-developed understory
   that contains enough spruce to meet the restocking standard in Table 7 (Plan at 41). 58

   The maximum sale volume does not include any timber from salvage or sanitation of stands
   affected by natural disturbances or in imminent danger of being affected. Plan at 41. With or
   without salvage of beetle kill, but especially without it, there is nowhere enough timbered
   acreage to cut the stated maximum amount of timber.59

   58 Note that we disagree with the proposed stocking standards for ponderosa pine and Douglas-fir, which are a
   substantial change from the current plan. See comments in Forestwide Direction, on S-VEG-3.
   59 We recognize that even under the most favorable conditions imaginable for timber production, the annual LTSY
   quantity is not likely to be cut during the life of the plan. However, having such a grossly over-stated LTSY may

                                                          119

                                                                                   Rvsd Plan - 00005385
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 294 of 475




    C. THE PROPOSED SALVAGE LOGGING IN THE FIRST DECADE IS
   UNREALISTICALLY HIGH.

   It is not at all clear how the salvage volume in each alternative was estimated. The DEIS states
   that 610,000 acres of spruce-fir have been “affected” (DEIS at 65), and the plan proposes that
   between 0 and 62,800 CCF be salvaged each year, but it does not state anywhere how many
   acres will need to be cut to achieve this volume or where the salvage logging will occur on the
   forest. Thus, it is impossible to assess the environmental impacts of alternatives.
   The DEIS (at 76) also notes that while spruce mortality may exceed 90 percent of the overstory,
   it is also “highly variable across the landscape.” This variability may result in stands being
   targeted for salvage that are, in fact, suitable for retention as old growth. As Appendix A makes
   clear, a stand need only contain 10 live trees over 200 years old and 16” DBH (and snags and
   down wood) to qualify as old forest, conditions that would be expected in stands that have been
   “affected” but where not all large trees were killed. It is highly likely that much of the “affected”
   area meets these criteria and should not be targeted for salvage. The plan should contain
   standards to protect these stands, and it should describe precisely the areas where salvage
   logging is anticipated so that the EIS can effectively evaluate environmental consequences of the
   alternatives.

   Each action alternative would have a high salvage volume in the first decade. For proposed
   action alternative B, 32,100 CCF would be cut annually in this time period. DEIS at 130. It is
   unlikely that all of this timber would still be merchantable by the end of the first decade. In fact,
   most of it may be commercially unusable by the time the revised plan is finalized.

   The overstory spruce trees have been dead for some time, or at least they will have been by the
   time: the Plan is finalized, project-level NEPA is prepared with the required public involvement,
   projects are approved, contracts are let, and cutting begins, all of which might take another 4
   years or so to begin. Our understanding is that dead trees begin to deteriorate significantly within
   2-3 years of death, and are seriously degraded within 5 years.60 They soon develop splits and
   checks that will make them useless for dimension lumber products like 2 X 4s. They could


   upwardly skew the calculation of Projected Timber Sale Quantity and Projected Wood Sale Quantity for each action
   alternative.
   60 Webb, 2015, states: “In a recent letter to the US Forest Service, Rocky Mountain Regional Forester,
   Intermountain Forest Association (IFA) observes that beetle-killed spruce is deteriorating much faster than
   anticipated.” Id. at 2-3. Also:

           Montrose Forest products and Rocky Mtn. Timber Products personnel have both mentioned that
           beetle kill much older than 5 years may be problematic because lumber recovery is significantly
            affected by cracks and checks.”
   Id. at 3.

                                                           120

                                                                                    Rvsd Plan - 00005386
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 295 of 475




   possibly be used for house logs, poles, and fence posts, but there is likely fairly low demand for
   these products, certainly not enough to justify anywhere near 32,100 CCF of salvage timber per
   year for up to 10 years. There would be some demand for firewood, but again not anywhere near
   enough to justify huge salvage volume.

   The DEIS notes the problem of wood deterioration:

          As the larger dead trees decay, there may be a large volume of low-value material
          available. It may be difficult to find a market for this lower quality woody biomass.

   DEIS at 128. A study cited there states:

          Once the trees are no longer suitable for [saw logs or house logs] it may be difficult
          to find a market for lower quality woody biomass.

   Forest Stewardship Concepts, Ltd., 2014, at 25.

   Because of the anticipated deterioration of wood quality, it is highly likely that salvage sales
   would have to get progressively larger over the duration of the plan in order to meet volume
   targets. The Plan should be clear about the anticipated acreage affected by salvage over time,
   including accounting for the effect of deterioration, so that the DEIS can evaluate environmental
   impacts.

   Who would buy the wood offered for sale from the RGNF? Even assuming that product(s)
   desirable to industry is/are made available, there may be only one mill that could purchase any
   large sales from the RGNF. And even it, the mill in Montrose, CO, is likely to be saturated with
   opportunities to buy dead standing Englemann spruce. Much dead spruce exists on the GMUG
   NF, which is closer to the Montrose mill than anything on the RGNF. Also, most of the dead
   spruce on the GMUG, some of which will be offered from the SBEADMR Project61, has not
   been dead for as long as the timber in the project area, so anything on the GMUG might be more
   attractive to any potential buyers.

   It is also questionable whether the RGNF would be given enough money to prepare, offer, and
   administer the proposed volume of salvage timber. Appropriations for federal agencies have
   dropped greatly over the past 25 years, and they are likely to drop quite a bit more in the near
   future.




   61 Up to 68,121 acres of spruce could be cut under selected alternative 2, along with another 37,038 of “aspen-spruce
   mix”, some of which would be spruce. SBEADMR FEIS, Table 9 at 57.

                                                           121

                                                                                    Rvsd Plan - 00005387
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 296 of 475




   In short, there is no way the RGNF will be able to offer 32,100 CCF of salvage timber per year
   under the proposed revised forest Plan. The EIS should have a wider range of salvage volumes in
   the alternatives.


    D. THE DEIS FAILS TO ADDRESS THE EFFECTS ON SOILS AND FIRE BEHAVIOR
   FROM SALVAGE LOGGING, AND APPEARS TO UNDERESTIMATE LIKELY
   PROBLEMS WITH REGENERATION

   The DEIS fails to account for the effect on fire behavior of salvage logging. Contrary to the
   expectation that salvage logging will reduce fuel loads and therefore lower fire danger, logging
   often results in the deposition of large amounts of fuel on the forest floor all at once, rather than
   over decades, as would occur if the trees were left standing (Peterson et al. 2009). This effect
   may be exacerbated in Engelmann spruce because of the long residence time of standing snags in
   this species, and by the slow decomposition of wood in a cold environment. Logging slash is
   commonly piled and burned, but conditions are not always right for slash disposal and burning.
   The EIS should evaluate the effect on fire danger of salvage logging compared to leaving the
   trees to fall and rot gradually over time.

   Similarly, the DEIS does not evaluate the long-term soil impacts of the removal of beetle-killed
   or burned trees. The DEIS (at 94) acknowledges that snags will eventually fall over, decompose,
   and “become part of the soil,” and (at 153) it notes that “coarse woody debris would be an
   important nutrient source in the future as well as an important carbon sink.” In some forests,
   decaying trees become “nurse logs” that support germination and growth of the next generation
   (Hunter 2003), and several authors report that Engelmann spruce seems to show a preference for
   regeneration on rotting coarse woody debris (e.g., Daubenmire 1943, Whipple and Dix, 1979,
   Knapp and Smith 1982, Alexander 1987). The EIS should evaluate the long-term implications
   for germination, growth, and soil development/carbon sequestration of removing the nurse logs
   of the future, as well as existing ones that will be piled and maybe burned as part of logging
   operations.

   Any logging, and especially salvage logging, is well known to kill established seedlings (Donato
   et al. 2006, Peterson et al. 2009), as felling, skidding, and yarding break and uproot young trees.
   Salvage logging in Colorado spruce-fir forests, in particular, was shown to hinder recovery
   following blowdown (Rumbaitis- del Rio 2006). Given the concern expressed in the DEIS (at
   156) about the difficulty of reforesting sites that are exposed to increased sun exposure, the effect
   of salvage logging on reforestation should not be dismissed but instead should be evaluated in
   the DEIS. It is not enough to assume that any impacts on regeneration can be mitigated by
   planting, as planting is very expensive (several hundred dollars per acre), and only a limited
   acreage on the RGNF can reasonably be expected to be planted.


                                                    122

                                                                         Rvsd Plan - 00005388
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 297 of 475




    E. JUSTIFY USE OF THE PROPOSED CUBIC FOOT-BOARD FEET CONVERSION
   FACTORS.

   The conversion factor for translating cubic feet into board feet seems high - “4.4 board feet per
   cubic foot for mixed-conifer and ponderosa pine and 5 board feet per cubic foot for the spruce
   salvage sales.” DEIS at 130. These appear to be for logs larger than those commonly cut on the
   RGNF. The Forest Service should state why it chose these conversion factors and why they are
   appropriate for use on the RGNF. Such analysis and disclosure are necessary to meet the
   Planning Rule’s requirement to use the best available science. See 36 CFR 219.3.


   VIII. SUITABILITY FOR OIL AND GAS LEASING SHOULD BE DETERMINED FOR
   ALL ALTERNATIVES, AND LEASE STIPULATIONS MUST BE STATED FOR
   MANAGEMENT AREAS WHERE LEASING WOULD BE ALLOWED.

     A. INTRODUCTION

   Exploration, drilling, and production of oil and gas and related operations on national forest
   lands can have many impacts to: wildlife and habitat, including connectivity and fragmentation;
   soils, water quality; scenery; recreation opportunity; etc. When a lease is held by production,
   impacts can persist for decades.

   Numerous scientific studies point to potential problems with human health related to oil and gas
   operations. See, e. g., McKenzie et al, 2012; Colborn et al, 2011; and Concerned Health
   Professionals of New York et al, 2016.

   The planning team should not assume that there will be no oil or gas activity on the RGNF
   during the life of the plan. Prices are low right now, but they could rise fairly quickly. That could
   generate interest from industry in parcels on the Forest. Indeed, oil prices have risen recently.
   Also, in 2008, 140,000 acres of land, much of on the RGNF, was nominated for leasing. (It has
   been deferred since then.) All or part of this area could be re-nominated any time.


     B. CONSIDER A NO-LEASING ALTERNATIVE

   The Forest Service should consider alternatives that are responsive to the urgent need to address
   climate pollution, including not allowing leasing for fossil fuels. Every ton of carbon dioxide and



                                                    123

                                                                         Rvsd Plan - 00005389
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 298 of 475




   other greenhouse gases (especially methane62) added to the atmosphere contributes to climate
   change, and any additional fossil fUel development permitted on the Rio Grande and the
   subsequent combustion of those fossil fUels will worsen climate change. Therefore, due to the
   urgent need to protect humankind and federal public lands from the potentially devastating
   impacts of global warming, the Forest Service should consider and analyze an alternative that
   eliminates new fossil fuel leases on the Rio Grande.

   An alternative is “reasonable” if it falls within the agency’s statutory mandate and meets at least
   a part of the agency’s purpose and need. When determining whether an EIS analyzes sufficient
   alternatives to allow the Forest Service to take a hard look at the available options, courts apply
   the “rule of reason.” New Mexico ex rel. Richardson v. Bureau ofLand Mgmt., 565 F.3d 683,
   709 (10th Cir. 2009) (citing Westlands Water Dist. v. U.S. Dep t of the Interior, 376 F.3d 853,
   868 (9th Cir. 2004)).

   The reasonableness of the alternatives considered is measured against two guideposts. First,
   when considering agency actions taken pursuant to a statute, an alternative is reasonable only if it
   falls within the agency’s statutory mandate. Westlands, 376 F.3d at 866. Second, reasonableness
   is judged with reference to an agency’s objectives for a particular project.63 See Dombeck, 185
   F.3d at 1174-75; Simmons v. U.S. Army Corps ofEng’rs, 120 F.3d 664, 668-69 (7th Cir. 1997);
   Idaho Conservation League v. Mumma, 956 F.2d 1508, 1520 (9th Cir. 1992).

   A no-leasing alternative would meet both tests. First, the Forest Service has decision-making
   authority with respect to oil and gas leasing on national forests. 30 U.S.C. § 226(h). Second, a
   no-leasing alternative would meet the Rio Grande’s purpose and need for a forest plan revision,
   which states that to meet the 2012 Planning Rule’s requirement to provide for ecological
   sustainability,

          management direction is also needed that addresses ecosystem integrity and
          diversity, including key ecosystem characteristics, in light of changes in climate,
          landownership, and recreational use patterns, as well as other threats and stressors to
          those ecosystems.

   DEIS at 10.

   Climate change is driving many of these ecological changes, including increases in temperature,
   precipitation changes, and increased frequency of extreme weather events, that influence forest

   62 Methane and other heat-trapping gases are commonly emitted during drilling for, and production of, oil and gas.
   63 While an agency may restrict its analysis to alternatives that suit the “basic policy objectives” of a planning
   action, Seattle Audubon Soc ’y v. Moseley, 80 F.3d 1401, 1404 (9th Cir. 1996), it may do so only as long as “the
   statements of purpose and need drafted to guide the environmental review process ... are not unreasonably narrow,”
   Dombeck, 185 F.3d at 1175.

                                                          124

                                                                                   Rvsd Plan - 00005390
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 299 of 475




   ecosystems. Limiting or eliminating oil and gas leasing on the Rio Grande would help mitigate
   climate change by reducing emissions from fossil fUel extraction and use. A desired outcome for
   a reasonable alternative could be reducing the planning area’s contribution to climate pollution.
   It could establish that certain uses—including fossil fuel production—would be allowable only
   on current leases, which would enable the Forest Service to achieve a desired outcome of
   reducing the intensity of climate change that will negatively impact the Rio Grande. As such, a
   no-fossil fuel leasing alternative would meet the purpose and need for the forest plan revision.

   The DEIS’ alternatives appear to be identical with regard to oil and gas issues, though, as
   mentioned previously, there is very little information in the DEIS on this important resource
   issue. The alternatives, given their different management emphases, should be different with
   regard to oil and gas. For example, Alternative C, “proposes to increase the acreage available for
   multiple uses on the Forest” and does not recommend any areas for wilderness (DEIS at 28),
   while Alternative D “emphasizes less active management of resources while increasing the
   amount of area available for recreation opportunities that provide for a more solitary experience”
   (id. at 29), and would recommend 285,000 acres for wilderness designation (id. at 31). Surely
   this would result in different application of stipulations, even if the forest-wide acreage of land
   available for leasing was the same.

   The issue needs to be addressed, and the EIS alternatives must encompass a range of activity on
   oil and gas. See the CEQ Regulations at 40 CFR 1502.14(a), which require agencies to
   “rigorously explore and objectively evaluate all reasonable alternatives”.


     C. THE PROPOSED PLAN WOULD PROVIDE LESS PROTECTION FROM OIL AND
   GAS IMPACTS THAN THE CURRENT PLAN, BUT THIS SUBJECT IS NOT ANALYZED
   IN THE DEIS

   Under the proposed action, considerable acreage, (e. g, that currently assigned to the 3.3
   Backcountry MA) would be assigned to others MAs proposed in the Plan. Under the current
   plan, in MA 3.3:

         Areas with high [oil or gas] potential are available for oil and gas leasing with the
         NSO stipulations. All other areas are administratively unavailable.

   Id. at III-17.

   Under the proposed Plan, about 58,700 acres that currently allow leasing would not do so under
   the proposed action. These are all areas that are recommended for wilderness designation under
   proposed action B. However, approximately 148,100 acres now with NSO would not have the


                                                   125

                                                                         Rvsd Plan - 00005391
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 300 of 475




   NSO stipulation under the proposed plan. Acres currently in MA 3.3 (backcountry) and 5.42
   (special wildlife areas - bighorn sheep) would be assigned to MAs like 5.41 (big game winter
   range), where leasing is allowed with stipulations, if any besides standard terms, other than NSO.
   In other words, the proposed revised RGNF plan would have less protection overall from the
   impacts of oil and gas activities on areas where leasing would be allowed compared to the
   current plan. See Exhibits 4 and 5.

   However, this is not discussed anywhere in the Plan or DEIS. Indeed, as discussed above in
   section VII D(1), these and all other MAs have no direction at all for lease stipulations.


    D. DETERMINE SUITABILITY OF LANDS FOR OIL AND GAS ACTIVITY FOR ALL
   ALTERNATIVES THAT WOULD ALLOW LEASING.

   Suitability is a plan component:

         Specific lands within a plan area will be identified as suitable for various multiple
         uses or activities based on the desired conditions applicable to those lands. The plan
         will also identify lands within the plan area as not suitable for uses that are not
         compatible with desired conditions for those lands.

   See the Planning Rule at 36 CFR 219.7(e)(1)(v). Though “[t]he suitability of lands need not be
   identified for every use or activity” (ibid.), we believe it should be for oil and gas, given the
   potential for oil-gas activities to create impacts, which can be severely adverse and/or persistent.

   Therefore, we ask that a determination of which lands are suitable for oil and gas leasing,
   especially for surface occupancy, and what stipulations need to be applied in each MA, be done
   for all EIS alternatives. At a minimum, the RGNF should find the following areas unsuitable for
   surface disturbing activities associated with oil and gas leasing and development: all roadless
   areas; all research natural areas; all special areas; wild, scenic, and recreational river corridors;
   riparian areas; moderate or higher quality lynx habitat; alpine areas; big game winter range; deer
   and elk fawning/calving areas; bighorn sheep habitat, especially lambing grounds; Gunnison
   sage grouse habitat; slopes with 40 percent or greater steepness; areas with high erosion or mass
   wasting potential; priority watersheds; watersheds where function is impaired; campgrounds;
   picnic grounds; and trailheads.

   The revised Plan must ensure, through plan components and lease stipulations, that impacts from
   oil and gas activity to ecosystem integrity and all resources, especially wildlife habitat and water
   quality, will be minimized.



                                                    126

                                                                          Rvsd Plan - 00005392
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 301 of 475




   IX. PROBLEMS WITH THE ANALYSIS OF LIVESTOCK GRAZING.

   There is very little or no difference among the alternatives in the area considered suitable for
   livestock grazing:

         Acreage of suitable rangeland does not vary by alternative^

         Among all alternatives, the acreage of suitable rangeland remains nearly constant
         with the exception of small alterations based on special area designation. As a result,
         livestock grazing impacts to riparian and wetland ecosystems are expected to remain
         consistent with those observed in the previous planning period, and will not vary
         significantly by alternative.

   DEIS at 21, 101.

   The DEIS at 136 states that 581,556 acres of land were determined to be suitable for livestock
   grazing in 2002, and that no change is assumed for the current analysis. But shouldn’t suitability
   change with the management emphasis of each alternative? For example, alternative D, which
   emphasizes less active management of resources while increasing the amount of area available
   for recreation opportunities that provide for a more solitary experience” (DEIS at 29), would
   intuitively have less land suitable for livestock grazing. Or if not, another alternative should be
   formulated that would have, among other things, less land suitable for livestock grazing than the
   other action alternatives.

   Nevertheless,

         There is no difference among alternatives in terms of total permitted animal unit
         months. Where that grazing will specifically occur would vary in alternative D,
         based on the potential designation of special interest areas and/or research natural
         areas that do not allow for ongoing livestock grazing.

   DEIS at 238. This means that under alternative D, the same number of livestock would be
   concentrated on fewer acres, increasing the impacts from grazing. Under the less-management
   emphasis of alternative D, there should, if anything, be less impact from livestock grazing.
   However, the AUMs would be the same in alternative D, but would be done on fewer acres, due
   to there likely being less grazing in the special interest and research natural areas proposed for
   designation in alternative D versus what would occur in other alternatives (that would not
   designate these areas). See DEIS at 238. That means that the impacts of livestock grazing under
   alternative D would be greater than under any of the other alternatives on the acres where such


                                                   127

                                                                         Rvsd Plan - 00005393
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 302 of 475




   grazing would occur, because the same amount of grazing would occur under D as in the other
   alternatives but on fewer acres.

   The Planning Rule describes “suitability of lands” as follows:

         Specific lands within a plan area will be identified as suitable for various multiple
         uses or activities based on the desired conditions applicable to those lands. The plan
         will also identify lands within the plan area as not suitable for uses that are not
         compatible with desired conditions for those lands. The suitability of lands need not
         be identified for every use or activity. Suitability identifications may be made after
         consideration of historic uses and of issues that have arisen in the planning process.

   36 CFR 219.7(e)(1)(v).

   The analysis does describe historic livestock use of the RGNF, noting that:

         High elevations and shorter growing seasons make impacts from past grazing
         practices still visible in places. Sheet and gully erosion is apparent in many areas as a
         result of these past improper practices on lower-elevation rangelands. Because these
         areas were most impacted and receive limited annual precipitation, recovery takes
         more time.

   DEIS at 138.

   At least some of the areas still showing the effects of poor management practices should be
   closed to grazing, i. e., be considered unsuitable until fully recovered.

   Troublingly, the acreage found suitable for livestock grazing appears to exceed, by a
   considerable margin, the land found capable of this activity. See Table 44 at 140-141. Totals for
   the capability numbers are not provided, but a quick rounding and adding of number appears to
   show that alternative B has about 478,000 acres considered capable for cattle and 50,000 acres
   capable for sheep. But according to DEIS p. 159, 540,310 acres are capable for livestock grazing
   in alternative A, and 539,935 acres are so capable in the action alternatives.

   Both sets of figures are well short of the 581,556 acres found suitable for all alternatives, even if
   all acres considered capable for cattle are not capable for sheep and vice-versa. (In the field,
   there is probably some overlap.) Similarly, for alternative D, about 488,000 acres are found
   capable for cattle grazing, and 49,000 acres for sheep grazing.

   The DEIS Glossary defines “capability” and “suitability for grazing” as follows:


                                                    128

                                                                         Rvsd Plan - 00005394
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 303 of 475




         Capability
         The potential of an area to produce resources, supply goods and services, and allow
         resource uses under an assumed set of management practices and at a given level of
         management intensity. Capability depends on current management practices at a
         given level of management intensity. It is also dependent on existing resource and
         site conditions such as climate, slope, landform, soil, and geology, as well as the
         application of management practices, such as silviculture or the protection from fire,
         insects, and disease. ^

         Suitability for grazing
         The appropriateness of applying certain resource management practices to a
         particular area of land, as determined by an analysis of economic and environmental
         consequences, and the alternative uses forfeited. A unit of land may be suitable for a
         variety of individual or combined management practices. Suitability is a
         determination of the appropriateness of grazing on the capable lands based on
         economic and environmental consequences and consideration of alternative uses
         forfeited if grazing is allowed.

   DEIS at 437, 474, respectively; emphasis added.

   Since suitable range land is the portion of the lands capable for grazing where grazing is
   considered appropriate, the acres of land considered suitable for grazing could theoretically (but
   unlikely) be equal to the acres capable, but could never be more than the latter. Yet in the DEIS,
   there is clearly more land identified as suitable than capable for livestock grazing. This must be
   corrected.


    X. MONITORING

   Table 13 in Plan chapter 4 (pp. 97 et seq.) with the details of the monitoring program should
   have triggers, i. e., what is the approximate change in each indicator that would or might
   necessitate further action or at least a closer or more detailed analysis.

   One indicator for improving priority watersheds is “number of projects completed in priority
   watersheds”. Plan at 99. We recommend that this be reworded to say “number and percent of
   essential projects identified in the watershed restoration action plan completed in priority
   watersheds.” This metric makes way more sense as it measures the progress the RGNF is making
   in implementing the watershed restoration action plan, and not just potentially random projects
   that happen to be located in the watershed.


                                                   129

                                                                        Rvsd Plan - 00005395
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 304 of 475




   For monitoring the status and trend of riparian and wetlands areas, an indicator is “changes in
   riparian vegetation (forest pasture, willow, grass/forb, grassland, shrub)”. Does this mean only
   increased or decreased presence of these vegetation types? Or increase/decrease in riparian
   vegetation overall? Or does it mean a change in natural range of variability with regard to the
   proportion and structure of composition of these species in riparian and wetland areas? This
   should be clarified.

   Under Monitoring Question 15, Plan at 105, one indicator states: “CWD (same as for MQ)” This
   needs to be filled in corrected, or deleted.

   One of the indicators under Monitoring Question 18, addressing range condition is: “Number of
   surveyed allotments not meeting, moving toward or meeting desired conditions”. Are the desired
   conditions stated here the ones developed in allotment management plan or the proposed forest
   plan? The desired conditions for the proposed forest plan on range are very general. See Plan at
   33. Monitoring them alone might not reveal much about range condition. This needs to be
   clarified.

   We do not see any monitoring question or indictors for addressing recreation conflicts, such as
   motorized vs. non-motorized, mechanized versus horse riders, etc. Monitoring Question 20
   address “satisfaction” with recreation, but conflicts are not specifically mentioned in the
   Question or the associated indicators.

   Under the Planning Rule, plans must include “monitoring questions and associated indicators”
   for “[t]he status of focal species to assess the ecological conditions required under § 219.9”. 36
   CFR 219.12(a)(5). The Proposed Plan Monitoring Framework does have such questions and
   indicators, but to be clear exactly which species will be monitored, the final plan should list all
   focal species, along with rationale for their selection.


   XI. THE PLAN AND DEIS MUST COMPREHENSIVELY ANALYZE THE
   POTENTIAL EFFECTS OF CLIMATE CHANGE AND PROVIDE PLAN
   COMPONENTS FOR MITIGATING THESE EFFECTS.

   Climate change is already affecting the Rio Grande, and future impacts are likely to increase in
   severity. The DEIS for the Rio Grande’s draft plan identifies climate change as one of the
   “drivers and stressors” affecting the forest, and notes that climate projections for the Rio Grande
   indicate likely increases in temperature, increased tree mortality, increased fire risk, precipitation
   changes, earlier snowmelt, and habitat shifts for both plants and animals.64 It is critical for the

   64 DEIS at 63-64.

                                                    130

                                                                          Rvsd Plan - 00005396
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 305 of 475




   Rio Grande forest plan to address these issues and provide management direction relating to
   climate impacts, adaptation, and mitigation on the Rio Grande.

   Below, we briefly summarize the legal requirements for alternatives analysis under NEPA and
   explain why the Rio Grande must incorporate climate change into its analysis. We then
   summarize some key U.S. Forest Service (USFS) climate policies and guidance materials that
   emphasize the importance of managing our national forests to increase climate resilience and
   adaptive capacity, and to mitigate climate change by maintaining and, when possible and
   consistent with other forest management objectives, increasing the forests’ ability to effectively
   sequester carbon. Finally, we offer suggestions to revise the Rio Grande draft plan to ensure that
   it reflects USFS’s commitment to addressing climate change.

     A. ALTERNATIVES ANALYSIS UNDER NEPA

   Below we provide a brief overview of the legal requirements for considering reasonable
   alternatives under NEPA. We explain that the Rio Grande failed to adequately consider climate
   change in its alternatives analysis in the draft plan DEIS, making this analysis legally insufficient
   under NEPA. The Rio Grande must rectify this deficiency in the final plan and final EIS.

       1. Legal Framework.

   Compliance with NEPA is essential to ensure that the Rio Grande produces an effective and
   well-informed forest plan revision. NEPA “is our basic national charter for protection of the
   environment”65 and provides action-forcing tools to ensure reasoned and informed agency
   action. Because its substantive intent is too often forgotten, it is helpful to remember that NEPA
   is designed to:

            [E]ncourage productive and enjoyable harmony between man and his environment; to
            promote efforts which will prevent or eliminate damage to the environment and biosphere
            and stimulate the health and welfare of man; [and] to enrich the understanding of the
            ecological systems and natural resources important to the Nation.66

   Notably, NEPA expressly calls on agencies to provide for intergenerational equity, stating that it
   is intended to “fulfill the responsibilities of each generation as trustee of the environment for
   succeeding generations.”67 This is particularly significant given the long-lasting impacts of
   climate change, which will affect the entire planet—and the Rio Grande specifically—I’or many
   generations.


   65 40 C.F.R. § 1500.1(a).
   66 4 2 U.S.C. § 4321; see also id. § 4331.
   67 42 U.S.C. § 4331(b)(1).

                                                    131

                                                                         Rvsd Plan - 00005397
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 306 of 475




   As the U.S. Supreme Court has noted, “the thrust of [NEPA] is . . . that environmental concerns
   be integrated into the very process of agency decision-making.”68 Thus, while “NEPA itself does
   not mandate particular results, but simply prescribes the necessary process,”69 agency adherence
   to NEPA’s action-forcing mandates helps achieve NEPA’s purpose and policies.70 NEPA’s
   implementing regulations clearly articulate this:

           Ultimately, of course, it is not better documents but better decisions that count. NEPA’s
           purpose is not to generate paperwork—even excellent paperwork—but to foster excellent
           action. The NEPA process is intended to help public officials make decisions that are
           based on [an] understanding of environmental consequences, and take actions that
           protect, restore, and enhance the environment.71

   The “heart” of NEPA is an agency’s duty to consider “alternatives to the proposed action” and to
   “study, develop, and describe appropriate alternatives to recommended courses of action in any
   proposal which involves unresolved conflicts concerning alternative uses of available
   resources.”72 An agency must “[r]igorously explore and objectively evaluate all reasonable
   alternatives” and specifically “[i]nclude the alternative of no action.”73

   Operating in concert with NEPA’s mandate to take a hard look at impacts, an agency’s fidelity to
   alternatives analysis allows agencies to “sharply defin[e] the issues and provid[e] a clear basis
   for choice among options by the decision maker and the public.”74 NEPA’s implementing
   regulations emphasize the importance of fully informed and well-considered decisions that
   “foster excellent action” and “protect, restore, and enhance the environment.”75 As the D.C.
   Circuit has explained:

           NEPA requires that an agency must—to the fullest extent possible under its other
           statutory obligations—consider alternatives to its actions that would reduce
           environmental damage. That principle establishes that consideration of environmental
           matters must be more than a pro forma ritual. Clearly, it is pointless to “consider”
           environmental costs without also seriously considering action to avoid them.76



   68 Andrus v. Sierra Club, 442 U.S. 347, 350 (1979).
   69 Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989).
   70 See 42 U.S.C. §§ 4321, 4331.
   71 40 C.F.R. § 1500.1(c) (emphasis added).
   72 4 2 U.S.C. §§ 4332(2)(C)(iii), 4332(2)(E); 40 C.F.R. § 1502.14(a).
   73 4 0 C.F.R. §§ 1502.14(a), (d).
   74 4 0 C.F.R. § 1502.14.
   75 4 0 C.F.R. § 1500.1(c); see also 40 C.F.R. § 1500.2(e).
   76 Calvert Chjfs' Coordinating Comm. v. U.S. Atomic Energy Comm'n, 449 F.2d 1109, 1128 (D.C. Cir. 1971)
   (emphasis added).

                                                        132

                                                                               Rvsd Plan - 00005398
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 307 of 475




   Detailed consideration of reasonable alternatives provides interested parties with an informed
   basis to question any initial predispositions and “to rethink the wisdom of the action.”77 Failure
   to engage in such consideration in inconsistent with NEPA: “The existence of reasonable but
   unexamined alternatives renders a [NEPA analysis] inadequate.”78

   To inform the alternatives analysis, agencies must consider direct, indirect, and cumulative
   impacts, ensuring that the agency takes a hard look at the consequences of its actions.79 The
   significance of these impacts must be assessed in terms of both context and intensity.80 In light
   of the increasingly urgent need to transition away from fossil fuels and account for climate
   change, it is important to note that an agency’s hard look at impacts should evaluate the
   “[e]nergy requirements and conservation potential of various alternatives and mitigation
   measures,” “[n]atural or depletable resource requirements and conservation potential of various
   alternatives and mitigation measures,” and “[m]eans to mitigate adverse environmental
   impacts.”81

   We emphasize that the Rio Grande must not limit its hard look at impacts to the projected
   lifespan of the plan itself, but should account for the lifespan of the impacts—both positive and
   negative.82 For example, as the Forest Service Planning Handbook explains, “[i]n light of
   possible changes in species composition under the effects of climate change and with a focus on
   restoration, the Agency designs plan components to provide ecological conditions to sustain
   functional ecosystems based on a future viewpoint.”83 NEPA itself does not justify confining the
   hard look to the lifespan of the plan, but rather to the lifespan of all predicted and reasonably
   foreseeable impacts, even when those impacts may only be understood qualitatively rather than
   quantitatively. Climate change must also be properly integrated into the hard look analysis, in
   particular in terms of assessing: (1) the efficacy of management measures intended to protect or
   restore ecological values on the Rio Grande; and (2) the combined, cumulative impact of forest
   management actions and predicted or reasonably foreseeable impacts.

   NEPA’s success as a planning tool is contingent, in significant part, on effective public
   involvement, in particular in terms of developing actionable alternatives. NEPA’s implementing
   regulations provide that, “Federal agencies shall to the fullest extent possible . . . encourage and
   facilitate public involvement in decisions which affect the quality of the human environment”
   and “[m]ake diligent efforts to involve the public in preparing and implementing their NEPA

   77 Nat. Resources Def. Council v. Hodel, 865 F.2d 288, 296 (D.C. Cir. 1988); see also Citizens Against Burlington v.
   Busey IV, 938 F.2d 190, 196 (D.C. Cir. 1991) (“the rule of reason does not give agencies license to fulfill their
   own prophecies, whatever the parochial impulses that drive them).
   78 Friends ofSoutheast's Future v. Morrison, 153 F.3d 1059, 1065 (9th Cir. 1998) (citation omitted).
   79 40 C.F.R. §§ 1508.7, 1508.8, 1508.25(c).
   80 40 C.F.R. § 1508.27.
   81 40 C.F.R. §§ 1502.16(e), (f), (h).
   82 4 0 C.F.R. § 1508.27(b)(1).
   83 FSH 1909.12, § 23.11.

                                                           133

                                                                                    Rvsd Plan - 00005399
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 308 of 475




   procedures.”84 As the Ninth Circuit has explained, NEPA works “through the creation of a
   democratic decision-making structure that, although strictly procedural, is ‘almost certain to
   affect the agency’s substantive decision[s].’”85 By requiring agencies “to place their data and
   conclusions before the public . . . NEPA relies upon democratic processes to ensure . . . that ‘the
   most intelligent, optimally beneficial decision will ultimately be made.’”86 This process, in turn,
   ensures open, honest and public discussion “in the service of sound decision-making.”87

        2. Lack of Climate Analysis in the Proposed Alternatives.

   Notably, the DEIS acknowledges that “management direction is . . . needed that addresses
   ecosystem integrity and diversity, including key ecosystem characteristics, in light of changes in
   climate .”88 The DEIS also identifies “climate change vulnerabilities” as a “need for change”
   topic warranting revision of the current plan.89 Despite this recognition, however, the Rio Grande
   has failed to develop an alternative that addresses climate change at even a cursory level, let
   alone the in-depth consideration the issue warrants. There is literally no discussion of climate
   change in any of the four alternatives, and no explanation of how the Rio Grande may address
   climate change differently under the proposed alternatives. This is unreasonable and legally
   insufficient under NEPA.

   We are deeply troubled that none of the four alternatives even mentions climate change, let alone
   discusses that alternative’s approach to addressing climate change impacts, adaptation, and
   mitigation. It is unreasonable for the Rio Grande to completely ignore climate change in its
   alternatives analysis, given the far-reaching and long-lasting impacts that climate change will
   cause, and is already causing, on the Rio Grande. We emphasize the importance of climate
   change as an overarching theme that the forest plan revision must account for across all focal and
   resource areas. We are unaware of any element of forest management that is not, in some
   significant way, impacted by a changing climate, in particular given the reliance of all multiple
   uses on foundational forest resources, especially water. Although the DEIS contains some
   discussion of how climate change is affecting and is projected to affect the Rio Grande, this
   information is fairly sparse and disaggregated; notably, there is no section specifically dealing
   with climate change in the DEIS.

   In the final EIS, the Rio Grande must rectify this omission by clearly explaining how each
   proposed alternative addresses climate change impacts, adaptation, and mitigation. This analysis
   will enable the public to understand how the alternatives differ in their approaches to climate

   84 Id. at §§ 1500.2(d), 1506.6(a).
   85 Or. Nat. Desert Assoc. v. BLM, 531 F.3d 1114, 1120 (9th Cir. 2008) (quoting Robertson, 490 U.S. 332, 350).
   86 Id. (quoting Calvert Clijfs' Coordinating Comm., 449 F.2d 1109, 1114).
   87 Id. at 1143.
   88 DEIS at 10 (emphasis added).
   89 Id. at 11.

                                                         134

                                                                                 Rvsd Plan - 00005400
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 309 of 475




   change, and will enable the Rio Grande to make an informed decision about how to address
   climate change in the forest plan. Failure to include climate change in any of the proposed
   alternatives, as the Rio Grande has done in the DEIS, is unreasonable and would render the final
   EIS legally insufficient under NEPA. To ensure that the Rio Grande fulfills its obligation under
   NEPA to take a “hard look” at climate change in its analysis, we urge the agency to include a full
   and robust discussion of the issue in the final EIS.

     B. USFS CLIMATE POLICIES AND GUIDANCE

   USFS recognizes the importance of proactively addressing climate change. Numerous agency
   publications and guidance materials emphasize the need to effectively manage national forests
   and grasslands to increase their resilience to climate impacts and other stressors, using the
   principles of adaptive management.

   USFS also recognizes the importance of establishing practices that help mitigate climate change
   by reducing atmospheric levels of greenhouse gas (GHG) emissions. For example, the Forest
   Service Global Change Research Strategy states that forests “play an important role in reducing
   the buildup of greenhouse gases in the atmosphere by sequestering carbon.” 90 In the research
   strategy, USFS commits to identifying best management practices that will increase carbon
   sequestration while supporting ecosystem health.91

   The USFS National Roadmap for Responding to Climate Change also addresses the importance
   of climate change adaptation and mitigation in our nation’s forests. It identifies several adaptive
   management strategies that USFS will use, including building resistance to climate-related
   stressors, increasing ecosystem resilience, and when necessary, facilitating large-scale ecological
   transitions.92 The Roadmap notes a connection between mitigation and adaptation, stating that
   healthy, resilient forest ecosystems are better able to store carbon.93

   Carbon sequestration is the primary mitigation strategy of USFS, which has committed to
   “[p]romoting the uptake of atmospheric carbon by forests and the storage of carbon.”94 The
   Roadmap identifies the following actions that USFS is taking to promote carbon storage:

       •   Actively managing carbon stocks in forests, grasslands, and urban areas over time by
           doing the following:
              - Rapidly reforesting land damaged by fires, hurricanes, and other disturbances,
                  consistent with land management objectives.

   90 The Forest Service Global Change Research Strategy, 5, 2009-2019.
   91 Id.
   92 USFS National Roadmap for Responding to Climate Change, 19-20 (2010) [hereinafter Roadmap].
   93 Id. at 21.
   94 Id.

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                                                                            Rvsd Plan - 00005401
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 310 of 475




               -   Conserving working forests and grasslands.
               -   Providing technical assistance for programs designed to enhance carbon
                   sequestration potential through afforestation, reforestation, and practices that
                   increase and maintain productivity and ecosystem health.
               -   Encouraging cities to retain green space and to plant and maintain trees.
               -   Using available tools to understand the impacts of management actions on carbon
                   stocks and fluxes.95

   The Climate Roadmap also directs USFS to “work with partners to sustain or increase carbon
   sequestration and storage in forest and grassland ecosystems.”96 There are limits to our ability to
   increase carbon sequestration on USFS land while achieving other management goals (such as
   fuel reduction programs to prevent uncharacteristically severe wildfires), and the Roadmap
   therefore states that USFS should consider tradeoffs as it develops management strategies to
   achieve the agency’s carbon sequestration goals consistent with other agency objectives.

   USFS also developed a Climate Change Performance Scorecard that each National Forest must
   complete annually. Scorecard element #9 concerns carbon sequestration. Each National Forest
   must determine whether “information relevant to the Unit level [has] been developed and
   synthesized to assess carbon stocks and the influence of land management activities and
   disturbances on potential changes in carbon stocks.”97 A detailed handbook, Navigating the
   Scorecard, was developed to assist USFS officials in determining whether they are meeting the
   Scorecard objectives. The handbook further elaborates on the importance of managing National
   Forests to effectively promote carbon sequestration:

           Our nation’s forests and grasslands play a critical role in storing carbon and helping to
           reduce the amount of greenhouse gases that are released into the atmosphere. We as an
           Agency continue to play a strong role in helping to mitigate greenhouse gas emissions by
           conserving and restoring forest and grassland ecosystems . . . Being a “carbon literate”
           Agency means understanding how carbon storage varies across the landscape and how
           disturbances and management actions have affected carbon stocks in the past and may
           affect them in the future. This understanding is even more critical when climate change
           may exacerbate stressors, creating even more carbon losses in some ecosystems.98

   These USFS policies and guidance materials recognize the crucial role that the agency plays in
   safeguarding our national forests’ ability to sequester carbon on a long-term basis, and more
   generally commits USFS to addressing climate change by improving the sustainability of its
   operations.

   95 Id. at 24.
   96 Id. at 21.
   97 The Forest Service Climate Change Performance Scorecard (2011).
   98 Navigating the Climate Change Performance Scorecard, 40 (2011).

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                                                                        Rvsd Plan - 00005402
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 311 of 475




   We urge the Rio Grande to ensure that the draft plan, which contains no management direction
   pertaining to carbon sequestration, and very little pertaining to climate change more generally, is
   revised to ensure that the final plan is consistent with these priorities. Specifically, the final plan
   should address how the Rio Grande will address climate impacts, adaptation, and mitigation in
   the forest.99 We expect the Rio Grande to fully account for these issues in its forest plan or to
   provide a reasoned and informed explanation for why the plan does not address them in a
   meaningful way.100

     C. CLIMATE ADAPTATION AND RESILIENCE IN THE DRAFT PLAN

   The Rio Grande’s draft plan almost entirely fails to mention climate change, let alone
   incorporate climate considerations into plan direction. This is an egregious omission in light of
   the negative impacts that climate change is already causing on the Rio Grande, which will likely
   increase in severity over the life of the plan. Failing to address climate change in the plan is
   misguided, inconsistent with agency policy, and fails to adequately protect forest resources for
   the American public. The likely impacts of climate change in the Rio Grande are already known
   with reasonable certainty, as the DEIS makes clear,101 and failing to account for these impacts in
   the plan sets the Rio Grande up for challenges down the road when the Forest will inevitably
   have to grapple with these issues. Failing to prepare for the reasonably foreseeable impacts of
   climate change in the forest plan will make it more difficult for the Rio Grande to effectively
   address these impacts when they occur, ignores the fact that proactive management may be
   needed to avoid or mitigate some impacts, and needlessly imperils plant and animal species that
   are vulnerable to climate change. The American public deserves better, and so do the many
   species of wildlife and plants that live in the Rio Grande and depend on competent management
   from USFS, particularly in light of the climate-related threats many of these species face.

   At best, the draft plan contains the absolute minimum required under the 2012 Planning Rule to
   address climate change, notwithstanding the increasingly urgent necessity for all sectors of
   society, including government agencies like USFS, to address the issue in a meaningful way. The
   2012 Rule requires each forest plan’s monitoring program to include “[m]easurable changes on
   the plan area related to climate change and other stressors that may be affecting the plan area.”102
   Accordingly, the Rio Grande included some monitoring questions and sample adaptive
   management questions pertaining to climate change in the draft plan.103 This is critical because
   developing and implementing a robust monitoring program is essential to track climate impacts


   99 E.g. Protecting wildlife and ecosystems, fuel reduction programs to reduce the risk of uncharacteristically
   severe wildfires.
   100 See 5 U.S.C. § 706(2)(a).
   101 See, e.g., DEIS at 63-64.
   102 36 C.F.R. § 219.12(a)(5)(vi); see also Draft Plan at 92-93.
   103 Draft Plan at 100 (Table 14).

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                                                                                 Rvsd Plan - 00005403
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 312 of 475




   in the Rio Grande and determine what management strategies are most effective at addressing
   these impacts. These questions and indicators will be used to assess the Rio Grande’s progress in
   achieving Goal 2, “[to] maintain and restore sustainable, resilient terrestrial ecosystems.”104

   However, the draft plan contains no mandatory requirements that would actually require the Rio
   Grande to increase the forest’s ecological resilience in the face of climate change. The only plan
   component that expressly addresses climate adaptation is MA-VEG-9, which states that
   vegetation management shall be “done in a manner that supports one or more of the following: . .
   . [8] Anticipates climate-related plant succession changes (such as favoring heat- or drought­
   resistant tree species as leave trees).”105 Since this condition is only one of eight, any one of
   which is sufficient, there is no guarantee that any vegetation management will take climate-
   related plant succession changes into account. MA-VEG-9 is thus so limited as to be ineffective.
   It should be revised to require vegetation management to anticipate climate-related plan
   succession changes. Moreover, while the Rio Grande certainly should account for climate-related
   plant succession changes in vegetation management, there are a whole host of other climate-
   related issues (such as anticipated increases in temperature, increases in wildfire risk, and
   impacts on plants and wildlife, among other things) that the Rio Grande should account for in its
   forest plan, but which the draft plan completely ignores.

   For example, the draft plan fails to include any plan components that address climate impacts on
   wildlife and plant species, including threatened or endangered species and species of
   conservation concern. In fact, the draft plan does not even mention climate-related threats to
   species apart from Table 21, which identifies climate change as a threat to numerous species of
   conservation concern, including the white-veined arctic butterfly,106 boreal toad,107 Rio Grande
   cutthroat trout,108 boreal owl,109 Brewer’s sparrow,110 southern white-tailed ptarmigan,111 fringed
   myotis bat,112 Townsend’s big-eared bat,113 and numerous plant species. Climate threats to other
   species, including threatened or endangered species, are not even identified in the draft plan.
   Moreover, nowhere in the draft plan is there any management direction that would require the
   Rio Grande to manage species in ways that would reduce climate-related harms. How does the
   Rio Grande expect species that are vulnerable to climate change to withstand climate-related
   impacts if the forest plan does not specify how USFS should address these issues? Failing to

   104 Draft Plan at 100. This goal notes: “Diversifying age classes and structure, seral stage, and habitat classes,
   where appropriate . . . would provide benefits including, but not limited to . . . responsiveness to anticipated
   changes in climate.”
   105 Draft Plan at 45 (emphasis added).
   106 Id. at 169.
   107 Id. at 170.
   108 Id.
   109 Id. at 171.
   110 Id.
   111 Id. at 172.
   112 Id. at 173.
   113 Id.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 313 of 475




   include management direction to help species vulnerable to climate change cope with climate-
   related impacts is a grave error and will likely reduce the ability of species in the Rio Grande to
   cope with and adapt to climate change.

   The Rio Grande must revise the draft plan to incorporate clear, enforceable plan components that
   address climate change adaptation. It is especially important to address climate impacts on plant
   and wildlife species, as well as large-scale impacts due to changes in temperature and increased
   wildfire risk. We recognize that some plan components in the draft plan may be intended to
   increase ecological resilience and foster adaptation to climate change, even if they do not
   explicitly say so. However, we believe any such plan components should include direct
   references to climate adaptation and resilience to make it clear that desired conditions are
   intended to facilitate climate adaptation and resilience.

     D. CLIMATE MITIGATION IN THE DRAFT PLAN AND DEIS

   Although the Rio Grande is not a large source of greenhouse gas emissions (GHGs) that
   contribute to climate change, there are GHGs associated with current or potential operations on
   the forest, including timber harvest, oil and gas development, facilities management, and motor
   vehicle use, among other things. The forest plan should include clear, enforceable plan
   components that enable the Rio Grande to effectively reduce emissions from these and other
   activities on the forest. Unfortunately, the draft plan largely misses the opportunity to mitigate
   climate change. The Rio Grande should rectify this in the final plan by adding or modifying plan
   components to address carbon sequestration and reduction of GHGs from various operations.

       1. Carbon Sequestration. The DEIS contains a fairly comprehensive section on carbon
   sequestration, which provides an overview of current and projected carbon storage on the Rio
   Grande and explains how modeling was used “to simulate the carbon storage consequences of
   four management alternatives proposed.”114 While the modeling analysis is helpful, we suggest
   providing a fuller explanation of what input was used for the model. It appears that the input was
   limited to the information in Tables 29, 30, 31, and 32, but this is not entirely clear. More
   explanation would be helpful to understand precisely what aspects of the proposed alternatives
   were included in the carbon sequestration modeling analysis.

   According to the model, there were differences in carbon storage among the four alternatives:
   “alternatives B and C involved less carbon storage over the next 30 years than Alternative A,
   while alternative D led to more storage.”115 However, the DEIS concludes that these differences
   are probably not significant:



   114   DEIS at 123.
   115   Id. at 124.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 314 of 475




           [W]hile a difference among scenarios of nearly a million metric tonnes is large in
           absolute terms, it is not a large amount in relation to either the total stored by the Forest
           or the uncertainty of the monitoring system. Expanded natural disturbances likely would
           affect carbon storage in the Forest much more than the difference among any of these
           alternatives.116

   While we acknowledge that uncertainties exist and that natural disturbances play a role in the
   amount of carbon stored in the Rio Grande, we do not agree that these considerations basically
   moot the differences in carbon sequestration among the four alternatives. Alternative D is
   evidently preferable from a carbon storage perspective based on the information available at this
   time, notwithstanding the fact that natural disturbances may end up playing a greater role in
   influencing carbon storage than management direction. The Rio Grande should do what is in its
   power to protect carbon storage in the forest, even though there is some uncertainty and other
   factors besides forest management also play a role. It is also worth noting that although “insect
   and fire patterns” are natural disturbances, climate change is exacerbating them.117 The Rio
   Grande should not choose an alternative (Alternative B, the proposed action) that does less to
   protect carbon storage and mitigate climate change based on the rationale that climate-driven
   disturbances will also likely affect carbon storage in the forest.

   While we appreciate the carbon sequestration analysis in the DEIS, we are concerned that the
   draft plan does not include any explanation of how the plan components influence carbon
   sequestration, or indeed, why carbon sequestration is important. The 2012 Planning Rule118
   requires forest plans to provide for ecosystem services by including “plan components, including
   standards or guidelines . . . to provide for ecosystem services . . . in the plan area.”119 Because
   the Planning Rule identifies carbon storage as an ecosystem service,120 the Rio Grande must
   include plan components that address carbon sequestration in the planning area.

   Unfortunately, the draft plan does a very poor job of incorporating plan components that will
   protect carbon sequestration in the Rio Grande. In fact, not a single plan component in the entire
   plan even mentions carbon sequestration, which is only mentioned once in the entire plan—in
   the glossary, as an example of an “ecological process.”121 It is unclear how various plan
   components will affect carbon storage in the forest, and there is no indication whether or how the
   Rio Grande will consider carbon storage in its management decisions. This omission fails to



   116 Id. at 125.
   117 Id. at 75 (“Disturbances such as large fires and insect outbreaks are predicted to increase in frequency due
   to climate change.”).
   118 36 C.F.R. Part 219.
   119 36 C.F.R. § 219.10(a).
   120 36 C.F.R. § 219.19.
   121 Draft Plan at 121.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 315 of 475




   implement USFS policy to manage national forests and grasslands to effectively maintain, and,
   where appropriate, enhance the long-term storage of carbon.

   Most notably, the plan components for vegetation and soil contain no mention of carbon
   sequestration, even though management practices for these resources influence how much carbon
   is stored in the Rio Grande. The plan components for riparian management zones (such as bogs
   and fens, which act as carbon sinks), likewise fail to mention carbon storage. We encourage the
   Rio Grande to add plan components for relevant resources, including vegetation, soil, and
   riparian management zones, that require the Rio Grande to manage these resources in ways that
   maintain or increase their ability to sequester carbon.

   The Rio Grande draft plan should be revised to acknowledge the importance of carbon
   sequestration in mitigating climate change by offsetting GHG emissions. As a starting point, the
   introduction should explain how the plan addresses carbon sequestration. The plan should also
   explain how different types of forest ecosystems and resources (including vegetation, soils, and
   riparian areas) contribute to carbon storage, based on data from the carbon assessment122 or other
   reliable sources. It should describe the carbon sequestration value of geographic and
   management areas as well.

   Most importantly, plan components should explicitly require management strategies that
   maintain, and, where feasible, increase carbon storage in the Rio Grande, consistent with the
   forest’s carbon carrying capacity and other management objectives. Plan components that
   address carbon sequestration should be included where relevant, including forest-wide plan
   components for all vegetation types, soils, other ecosystems as appropriate (e.g. riparian
   management zones), and geographic and management areas as appropriate.


      2. Sustainable Operations. USFS policies and guidance recognize the importance of reducing
   the agency’s footprint and reducing emissions from operations on USFS lands. The USFS
   National Climate Roadmap includes climate mitigation strategies, including a commitment to
   reduce GHG emissions “through more prudent consumption in facilities, fleet, and other
   operations.”123 Specific strategies include:

      •   Incorporating and maintaining long term programs, practices, tools, and policies that
          integrate sustainable consumption principles throughout the organization by removing
          barriers and promoting the use of efficient appropriate technologies, and behavior
          changes.


   122 Rio Grande National Forest Assessment 4: Carbon,
   https://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd493827.pdf .
   123 Roadmap at 21.

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                                                                       Rvsd Plan - 00005407
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 316 of 475




       •   Institute a culture that emphasizes education, rewards positive actions, and recognizes
           achievements that reduce our environmental footprint in long lasting ways.
       •   Integrate sustainable consumption activities into daily decisions, habits, planning and
           operations.
       •   Increase leadership capacity and day-to-day capabilities to implement sustainable
           consumption patterns at and between all levels of the organization.

   Navigating the Climate Change Performance Scorecard furthermore notes that a number of
   sustainable operations requirements are legally required under the Energy Policy Act of 2005
   and the Energy Independence and Security Act of 2007.124 This guidance observes:

           To fulfill the Forest Service’s obligation to present and future generations, our land
           stewardship mission must be strategically integrated with practices that reduce our
           resource consumption. Instituting a culture of sustainable consumption by integrating
           environmental footprint reduction principles into all our programs, practices, and policies
           will help us to reach our goals.

   The draft plan should incorporate plan components that establish sustainability metrics for USFS
   operations like those contained in the USFS National Climate Roadmap. Including such plan
   components would establish a framework for sustainable operations and ensure that USFS takes
   sustainability into consideration in decisions about buildings,125 transportation, recreation, and
   other operations on the Rio Grande.126 We encourage the Rio Grande to lead by example by
   using energy-efficient building materials, low-flow toilets, low- or zero-emission vehicles, solar
   energy, and other strategies to reduce emissions and increase long-term sustainability. We also
   note that the DEIS mentions “implementation of ‘green’ operations” as a national focus area for
   sustainable recreation. The draft plan should reflect this priority in plan components.

   The draft plan contains one plan component, DC-AIR-5, that addresses GHGs: “The ecological
   footprint is minimized to promote sustainable natural resource management and emit the lowest
   practicable greenhouse gas emissions. (Forestwide).”127 While this is better than including no
   plan components that address GHGs, it is weak and should be strengthened. First, we suggest
   rewording this plan component to make it clearer. It is unclear what the “ecological footprint”
   encompasses. At a minimum, it should include all USFS activities in the Rio Grande (including
   facilities management and vehicle use). The need to reduce emissions from other sources,
   including timber harvest and energy development, should also be addressed. Finally, DC-AIR-5

   124 Navigating the Climate Change Performance Scorecard at 42.
   125 DC-INFR-1 requires USFS buildings and related facilities to be “energy-efficient.” Draft Plan at 59. This is a
   good start, but we recommend adding additional plan components to require emission reductions from
   transportation and other sources of emissions.
   126 DEIS at 269.
   127 Draft Plan at 46.

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                                                                                   Rvsd Plan - 00005408
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 317 of 475




   is just a “desired condition” and thus is not binding, but merely “present[s] a vision of what the
   Forest should look like in the future.”128 The urgency of climate change requires mandatory
   GHG reductions, not just unenforceable and potentially ineffective “desired conditions.” DC-
   AIR-5 should be changed to a standard or at the very least, a guideline.


   XII. PROHIBIT OFF-ROAD MOTORIZED GAME RETRIEVAL

   As SLVEC et al wrote in their scoping comments dated October 28, 2016, the allowance of
   driving off-road to retrieve game should be ended. It presents confusing direction on travel
   management, and makes any limitations on motorized use difficult to enforce.

   The DEIS states:

             Management actions to reduce motorized cross-country travel and limitations on off­
             road game retrieval and dispersed camping have the potential to reduce unauthorized
             roads and trails, which typically have greater impacts than National Forest System
             roads.

   Id. at 181. The DEIS also states:

             Illegal off-route travel by off-highway vehicles continues to be a problem on the
             Forests Most of this occurs in the form of short-distance loops or spurs off existing
             routes, especially in riparian areas. These have the same impacts as those of planned
             routes and may have additional, more severe, impacts due to their unplanned nature.

   Id. at 239.

   We agree with and support other statements included in the DEIS, which indicate that
   eliminating driving off-road to retrieve game would:
       • help “eliminate off route all-terrain-vehicle travel in general” and protect soil resources.
          DEIS at 160.
       • minimize impacts to water resources. DEIS at 182.
       • reduce the creation and use of unauthorized routes, which typically have greater impacts
          than roads. DEIS at 182.
       • minimize impacts to species of conservation concern and prevent harm to plant species of
          conservation concern. DEIS at 252.




   i2«   Id. at 1.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 318 of 475




   In addition, the elimination of driving off-road to retrieve game would reduce adverse impacts
   not fUlly considered in the DEIS, such as:
       • Damage to archaeological, cultural and historic resources
       • Damage to vegetation
       • Conflicts with other hunters and forest users
       • Wildlife disturbance and degradation of wildlife habitat
       • The spread of noxious weeds
       • Unauthorized intrusion and negative impacts on Wilderness, Roadless, other management
           areas, private land, BLM land, State land, and national forests who do not allow driving
           off-road to retrieve game
       • Damage from widening of single track trails
       • Confusion over travel management rules
       • Impede enforcement of motorized travel designations.

   We believe that the long-term practice of allowing driving off-road to retrieve game on the
   Forest is not sustainable. There are locations on the RGNF legally open to this form of off-road
   driving that are over 4 miles away from the nearest designated open motorized route. This
   means that multiple paths of potentially damaging cross-country motorized use of at least four
   miles’ length is permitted in some areas. The distances traveled are likely greater in order to
   avoid obstacles and terrain as the four-mile distances would require a straight line there and
   back.

   If the popularity of hunting increases, the number of hunters that travel off-road using an ATV to
   retrieve game may also increase. If so, the damage to soils, water quality, and other resources
   would increase. The use of vehicles off-route to retrieve game by some hunter could scare game
   away from other hunters.

   Currently, Colorado Parks and Wildlife 2017 hunting regulations permit the sale/purchase of an
   unlimited number of over-the-counter licenses to hunt elk during various seasons in the Game
   Management Units that include Forest land (especially units 68, 681, 80, 81 and 82, but also unit
   79). Unlimited over-the-counter licenses are available to hunt pronghorn are also available in
   unit 76. There is no existing limit on the number of hunters that might travel off-road using
   ATVs each year. This means that the number of hunters who could potentially travel off-road in
   an ATV to retrieve game on the forest is only limited by the number of hunters who desire to
   hunt on the Forest, their success in harvesting an animal, and the populations of big game
   available. The population of the San Luis Valley is increasing, as is the population of Colorado
   and the U.S. in general. This may result in more hunters on the Forest. Elk populations total in
   the thousands, so there are potentially thousands of opportunities to legally retrieve harvested
   elk.


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                                                                       Rvsd Plan - 00005410
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 319 of 475




   We thus support alternative D’s proposal to eliminate driving off-road to retrieve game forest
   wide.

   We support the prohibition and elimination of motorized game retrieval in management areas
   1.1, 1.1a, 2.2, 3.1, 3.4, 3.5, 3.6, and 4.21, as suggested in the suitability Tables 7 and 9 for
   alternatives B and D. DEIS at 40, 42. Off-road motorized game retrieval can damage natural
   features, negatively impact resources, and conflict with desired conditions, settings and users of
   these areas (as well as being prohibited within designated Wilderness).

   We also support the continued prohibition of driving off-road to retrieve game in management
   areas 1.1, 1.12, 1.13, 1.5, 2.2, 3.1, 3.3, 3.4, and 4.21 as presented in Table 6 for alternative A.
   DEIS at 39. Driving off-road to retrieve game should not be permitted in these areas as it has the
   potential to damage and negatively impact natural features and resources and conflict with
   desired settings, conditions and users of these areas.

   We support the proposed elimination of this form of game retrieval in management area 4.8 Ski
   based resorts as proposed in Table 8 for alternative C (DEIS at 41), and in MA 8.22 under
   alternative D (id. at Table 9, p. 42). Ski based resorts may have sensitive and fragile equipment,
   infrastructure, and other facilities which could be unknowingly damaged by the use of ATVs off
   designated roads. Ski resorts may be moving and packing early season snowfall during hunting
   season, in an attempt to open as early as possible. ATV use off designated routes could interfere
   with and/or significantly damage early season snow (by rutting it, introducing dirt and debris into
   it, etc.). In years with low early snowfall, ATV use off-routes could cause soil erosion. As
   climate changes, adequate snowfall at ski resorts is not guaranteed, and protecting any snow that
   does fall (and the soils beneath the snow) may become more and more important.

   A ski area might conceivably open during big game hunting season if there is adequate early
   season snow, and off-route ATV use in the area would directly conflict with operation and use of
   that area. Off-road ATV use must be prohibited in ski areas for the same reasons snowmobile
   use is prohibited.

   Part of the description of alternative C states: “This alternative would synchronize the off-road
   game retrieval policies with the forest motor vehicle use map [MVUM] and would shift time
   frames for retrieval”. DEIS at 28. This implies that the other alternatives would not make off­
   road game retrieval consistent with the MVUM. It also suggests that time frames for game
   retrieval would be modified from the currently allowed noon to 5pm, but no further details are
   provided in any of the draft plan documents. Although we could envision some potential
   advantages to modifying the time period for off-road motorized game retrieval (if allowed to
   continue), we and the public cannot adequately evaluate, consider or comment on a possible
   proposed shift in time frames without further information.


                                                   145

                                                                        Rvsd Plan - 00005411
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 320 of 475




   The areas where off-road motorized game retrieval is legally permitted are most commonly
   shared with the public as areas depicted on the MVUM. We would hope that areas that permit
   off-route motorized game retrieval but that have no legally designated publicly available and
   open motorized route accessing them would be eliminated as game retrieval areas on the MVUM
   (if this practice is allowed to continue). There are numerous areas depicted as open to this form
   of game retrieval on the current MVUM that require unauthorized travel across BLM, private, or
   other forest lands that prohibit motorized game retrieval for access. We previously shared a list
   of twelve of these areas with the Forest.

   We strongly object to the unsupported claims made in the DEIS that the elimination of off-road
   motorized game retrieval in alternative D may negatively impact recreational spending in the
   various counties. Although there are hunters who may hunt on the forest because they prefer an
   off-road motorized game retrieval option, no documented evidence is provided that these hunters
   would hunt in other locations if motorized game retrieval were prohibited on the Forest. There
   are also other hunters who specifically avoid hunting on the Forest because they prefer more
   traditional and quiet human-powered backcountry hunting experiences, which can be and have
   been disrupted by motorized game retrieval.

   Numerous other Forest users such as hikers, photographers, anglers, etc. avoid the Forest during
   hunting season because off-road ATV game retrieval can disrupt and negatively impact their
   desired quiet use experiences. Language in the DEIS incorrectly suggests that the current game
   retrieval policy only provides economic benefit, and neglects to fully account for the total
   economic and environmental costs of allowing this policy to continue. We thus request that the
   EIS be corrected by eliminating any references to the economics of motorized game retrieval
   unless evidence and data is also provided.

   This draft plan proposes in draft alternatives B, C and D to eliminate the existing MA 3.3
   Backcountry, which currently prohibits off-road motorized game retrieval. Many of these areas
   are proposed to be incorporated into management areas 3.5 and 3.6, which will continue to
   prohibit this form of game retrieval. Our analysis indicates that there are at least 22 areas,
   totaling over 31,000 acres, that are currently managed as backcountry and will be incorporated
   into other management prescription areas. See Exhibit 5. These other management prescription
   areas include forest products, big game winter range, dispersed recreation, etc. which all permit
   motorized off-road game retrieval. We point this out to indicate that unless the no-action
   alternative is selected, the plan will certainly be making motorized travel management decisions
   which will result in the modification of the MVUM. This is contrary to statements made by
   Forest Staff at public meetings that the plan will not be influencing motorized travel.




                                                  146

                                                                       Rvsd Plan - 00005412
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 321 of 475




   We request that the final EIS acknowledge and consider the potential modification of the
   MVUM via the likely opening of over 31,000 acres of additional land to off-road motorized
   game retrieval. The final EIS should consider alternatives to simply converting these acres into
   adjacent management prescription areas that are not Mas 3.5 or 3.6.

   We strongly recommend, and have been told by Forest Staff at plan meetings, that management
   areas 3.5 and 3.6 will remain in place even if the Colorado Roadless Rule is somehow eliminated
   or modified. This indicates that management of 3.5 and 3.6 areas is not directly dependent upon
   roadless area management under the Colorado Rule. Thus, we suggest that the possibility of
   converting these 31.000 acres of 3.3 Backcountry lands to adjacent 3.5 or 3.6 MA be fully
   considered. This would likely eliminate significant modification of the MVUM due to a Forest
   Plan decision.

   The current game retrieval policy as stated on the 2016-2018 MVUMs permits game retrieval
   “unless soil and water damage will occur”. We recommend that if game retrieval is permitted to
   continue, that this wording be modified to state ‘unless soil and/or water damage will occur.’
   Certainly, the intent of this wording is to prevent soil or water damage, and the potential exists to
   damage soil without damaging water and vice-versa. Modifying this language will help ensure
   that any ATV game retrieval that does occur will have minimal impacts to these resources.

   We also believe that better clarification and definition of exactly what soil or water damage
   actually is must be developed if this game retrieval policy is allowed to continue. At some small
   but measurable level, every pass of an ATV could be considered to negatively impact soil (via
   compaction, displacement, erosion, ability to absorb water, etc.) A pass of an ATV has the
   potential to negatively impact water at some level (including turbidity, channeling, clarity, etc.).
   Certainly the passage of an ATV can deposit measurable levels of pollutants onto surrounding
   soil and water, including fluids such as gasoline, oil, brake, and other fluids, brake and tire dust
   and residue; and exhaust pollutants as a result of incomplete combustion. It could be argued that
   all off-road ATV use results in some level of damage to soil and water, and thus all off-road
   ATV use for game retrieval should not be allowed because of this damage. The amount and
   severity of the impacts, which constitute a level considered as damage, must be better defined if
   ATV game retrieval is permitted to continue.

   It must be recognized that it is often difficult for an ATV rider to recognize that their use is
   resulting in damage to soil or water. A rider’s attention must be focused on the route ahead in
   order to ensure safe travel at the speeds ATVs can attain. Any damage that occurs is normally
   not detected, as it is only visible behind the vehicle after it passes. In addition, since a rider is
   separated from, and not coming in direct contact with, soil or water because of the presence of
   their machine, it is difficult for a rider to sense that any damage is occurring.



                                                     147

                                                                           Rvsd Plan - 00005413
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 322 of 475




   We are also concerned about the high potential for negative impacts to individual and
   populations of rare and imperiled plants as a result of the legal continuation of off-road use of
   ATVs for game retrieval (as proposed in alternatives A, B and C). DEIS Table 52 at 198
   identifies thirty-two separate species of plants as Species of Conservation Concern. Off road
   motorized vehicle use has been identified as a threat to many of these plants in conservation
   assessments and other documents. A single pass by an ATV has the potential to crush and
   potentially kill individual plants and groups of plants, as well as potentially significantly
   disturbing and disrupting habitat, as plants may not be able to grow in compacted soil for some
   time. Small populations of plants and specific and limiting habitat requirements increase the
   potential for motorized game retrieval to result in impacts that threaten the persistence of these
   species in the planning area.

   The final EIS must evaluate and consider the site-specific distribution and occurrence of all plant
   species listed in Table 52 relative to where off-road motorized game retrieval is and is not
   proposed to be permitted. It must evaluate the individual and cumulative effects that motorized
   game retrieval may have on these species.


   XIII. THE PLAN MUST PROVIDE FOR SUSTAINABLE RECREATION

     A. MANAGEMENT OF OVER-SNOW VEHICLE USE

   Under the newly promulgated subpart C of the Forest Service’s travel management regulations,
   36 C.F.R. part 212, each national forest with adequate snowfall must designate and display on an
   “over-snow vehicle use map” a system of routes and areas where over-snow vehicle (OSV) use
   is permitted based on protection of resources and other recreational uses. 36 C.F.R. § 212.81.
   OSV use outside the designated system is prohibited. Id. § 261.14. Implemented correctly, the
   rule presents an important opportunity to enhance quality recreation opportunities for both
   motorized and non-motorized winter users, protect wildlife during the vulnerable winter season,
   and prevent avoidable damage to vegetation, air and water quality, wilderness values, and other
   resources. It is important that the revised forest plan provides a strong framework for
   management of OSV use and for subsequent winter travel management planning under the new
   regulation.
   While the draft plan provides some key elements of that framework that we support - such as the
   intention to develop winter-specific recreation opportunity spectrum (ROS) classifications - the
   final plan should provide additional direction to ensure timely compliance with subpart C.
   Programmatic forest plan decisions such as winter ROS and suitability determinations must be
   followed by implementation-level travel planning to designate discrete areas and routes where
   OSV use is allowed, based on the executive order minimization criteria and site-specific NEPA
   analysis. In addition, a decision to adopt existing OSV designation decisions for purposes of
   subpart C compliance requires an assessment of whether those decisions satisfy the minimization
   criteria and other relevant legal requirements. These issues are discussed in more detail below.


                                                   148

                                                                        Rvsd Plan - 00005414
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 323 of 475




       1. Background and regulatory framework

          a. Executive order minimization criteria

   In response to the growing use of dirt bikes, snowmobiles, all-terrain vehicles, and other off-road
   vehicles (ORVs) and the corresponding environmental damage, social conflicts, and public
   safety concerns, Presidents Nixon and Carter issued Executive Orders 11644 and 11989 in 1972
   and 1977, respectively, requiring federal land management agencies to plan for ORV use based
   on protecting resources and other uses. Exec. Order No. 11,644, 37 Fed. Reg. 2877 (Feb. 8,
   1972), as amended by Exec. Order No. 11,989, 42 Fed. Reg. 26,959 (May 24, 1977). When
   designating areas or trails available for ORV use, agencies must locate them to:
        (1) minimize damage to soil, watershed, vegetation, or other resources of the public lands;
        (2) minimize harassment of wildlife or significant disruption of wildlife habitats; and
        (3) minimize conflicts between off-road vehicle use and other existing or proposed
            recreational uses of the same or neighboring public lands.
   Id. § 3(a). The Forest Service codified these “minimization criteria” in subparts B and C of its
   travel management regulations. 36 C.F.R. §§ 212.55, 212.81(d). The agency has struggled,
   however, to properly apply the criteria in its travel management decisions, leading to a suite of
   federal court cases invalidating Forest Service plans.129 Collectively, these cases confirm the
   Forest Service’s substantive legal obligation to meaningfully apply and implement - not just
   identify or consider - the minimization criteria when designating each area and trail, and to show
   in the administrative record how it did so. As the Ninth Circuit recently held, “[w]hat is required
   is that the Forest Service document how it evaluated and applied [relevant] data on an area-by-
   area [or route-by-route] basis with the objective of minimizing impacts as specified in the
   [Travel Management Rule].” WildEarth Guardians, 790 F.3d at 931.130 To satisfy its substantive
   duty to minimize impacts, the Forest Service must apply a transparent and common-sense
   methodology for meaningful application of each minimization criterion to each area and trail
   being considered for designation. That methodology must include several key elements,
   including gathering and applying site- and resource-specific information to minimize both site­
   specific and landscape-scale impacts, providing meaningful opportunities for public


   129 See WildEarth Guardians v. U.S. Forest Serv., 790 F.3d 920, 929-32 (9th Cir. 2015); Friends of the Clearwater
   v. U.S. ForestServ., No. 3:13-CV-00515-EJL, 2015 U.S. Dist. LEXIS 30671, at *37-52 (D. Idaho Mar. 11, 2015);
   The Wilderness Soc’y v. U.S. Forest Serv., No. CV08-363-E-EJL, 2013 U.S. Dist. LEXIS 153036, at *22-32 (D.
   Idaho Oct. 22, 2013); Cent. Sierra Envtl. Res. Ctr. v. U.S. Forest Serv., 916 F. Supp. 2d 1078, 1094-98 (E.D. Cal.
   2013); Idaho Conservation League v. Guzman, 766 F. Supp. 2d 1056, 1071-74 (D. Idaho 2011).
   130 See also id. at 932 (“consideration” of the minimization criteria is insufficient; rather, the agency “must apply the
   data it has compiled to show how it designed the areas open to snowmobile use “with the objective of minimizing’”
   impacts). Importantly, efforts to mitigate impacts associated with a designated OSV system are insufficient to fully
   satisfy the duty to minimize impacts, as specified in the executive orders. See Exec. Order 11644, § 3(a) (“Areas and
   trails shall be located to minimize” impacts and conflicts.). Thus, application of the minimization criteria should be
   approached in two steps: first, the agency locates areas and routes to minimize impacts, and second, the agency
   establishes site-specific management actions to further reduce impacts. Similarly, the Forest Service may not rely on
   compliance with the relevant forest plan as a proxy for application of the minimization criteria because doing so
   conflates separate and distinct legal obligations. See Friends of the Clearwater, 2015 U.S. Dist. LEXIS 30671, at
   *46 (“Merely concluding that the proposed action is consistent with the Forest Plan does not . . . satisfy the
   requirement that the Forest Service provide some explanation or analysis showing that it considered the minimizing
   criteria and took some action to minimize environmental damage when designating routes.”).

                                                             149

                                                                                       Rvsd Plan - 00005415
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 324 of 475




   participation, incorporating the best available scientific information and best management
   practices (BMPs) for minimizing impacts to particular resources, and accounting for predicted
   climate change impacts and available resources for monitoring and enforcement.131

        b. Area designations under a closed unless designated open approach

   The Forest Service’s substantive duty to minimize impacts associated with OSV use applies to
   both area and trail designations. Minimization of impacts associated with OSV area allocations is
   particularly important because the OSV rule permits the Forest Service to designate larger areas
   open to cross-country travel than in the summer-time travel planning context. The rule, however,
   requires that designated areas be “discrete,” “specifically delineated,” and “smaller . . . than a
   ranger district.” 36 C.F.R. § 212.1 (definition of “area”). Accordingly, the Forest Service must
   specifically delineate discrete areas where cross-country travel is permitted. And, as described
   above, the Forest Service must locate any such areas to minimize resource damage and
   recreational use conflicts. As the Ninth Circuit recently held, the Forest Service must “apply the
   minimization criteria to each area it designate[s] for snowmobile use” and “provide a . . .
   granular minimization analysis to fulfill the objectives of Executive Order 11644.” WildEarth
   Guardians, 790 F.3d at 930-31. Importantly, the agency “cannot rely upon a forest-wide
   reduction in the total area open to snowmobiles as a basis for demonstrating compliance with the
   minimization criteria,” which are “concerned with the effects of each particularized area.” Id. at
   932. The agency is “under an affirmative obligation to actually show that it aimed to minimize
   environmental damage when designating . . . areas.” Id. (quotations and citations omitted).
   Proper application and implementation of the minimization criteria almost certainly would not
   result in designation of open areas even close to the size of a ranger district, as sensitive
   resources and other recreational uses adversely affected by OSV use would most likely be
   present throughout the area.
   Proper designation of areas in compliance with subpart C and the minimization criteria will
   require most national forests to undergo a paradigm shift in OSV management. In general,
   forests have allocated vast areas as open to cross-country OSV travel largely by default.


   131 See generally The Wilderness Society. 2016. Achieving Compliance with the Executive Order “Minimization
   Criteria” for Off-Road Vehicle Use on Federal Public Lands: Background, Case Studies, and Recommendations.
   (Attached as Exhibit 8). The Journal of Conservation Planning recently published a literature review and BMPs for
   OSV management that provide guidelines, based on peer-reviewed science, for OSV designation decisions and
   implementation actions that are intended to minimize impacts to water quality, soils, vegetation, wildlife, and other
   recreational uses. Switalski, Adam. 2016. Snowmobile Best Management Practices for Forest Service Travel
   Planning: A Comprehensive Literature Review and Recommendations for Management. Journal of Conservation
   Planning 12: 1-28. (Attached as Exhibit 9). The Forest Service’s National Core BMP Technical Guide also includes
   relevant BMPs, such as imposing minimum snow depth and season of use restrictions; using applicable best
   practices when constructing winter trailheads, parking, and staging areas; and using suitable measures to trap and
   treat pollutants from over-snow vehicle emissions in snowmelt runoff or locating stating areas at a sufficient
   distance from waterbodies to provide adequate pollutant filtering. USDA Forest Service. 2012. National Best
   Management Practices for Water Quality Management on National Forest System Lands, Volume 1: National Core
   BMP Technical Guide. Available at
   http://www.fs.fed.us/biology/resources/pubs/watershed/FS National Core BMPs April2012.pdf. The 2012
   Planning Rule requires plans to implement these practices. 36 C.F.R. § 219.8(a)(4).

                                                            150

                                                                                     Rvsd Plan - 00005416
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 325 of 475




   According to data obtained by Winter Wildlands Alliance through a 2014 request under the
   Freedom of Information Act, approximately 94 million acres - or about 60% of national forest
   lands that receive regular snowfall - are currently open to OSV use, while only about 30 million
   acres outside of designated wilderness (where motorized use is prohibited by statute) are closed
   to that use.132 Subpart C, however, specifically rejects this default “open unless designated
   closed” approach, and instead requires the Forest Service to “designate” specific areas and trails
   for OSV use (consistent with the minimization criteria), and prohibits OSV use outside of the
   designated system. See 36 C.F.R. §§ 212.80(a), 212.81(a), 261.14. In other words, subpart C
   requires forests to make OSV designations under a consistent “closed unless designated open”
   approach.
   To satisfy these legal requirements, the Forest Service must designate as open only those
   discrete, delineated areas that are appropriate for cross-country OSV use and minimize
   environmental damage and conflicts with other recreational uses. Open areas should have easily
   enforceable boundaries using topographic or geographic features such as ridgetops, highways, or
   watershed boundaries. All other areas that are not determined to be appropriate for open
   designation then must be closed (or limited to designated routes), thus moving the forest into a
   “closed unless designated open” management regime.

        c. Trail designations

   As with area designations, the Forest Service must locate any designated routes to minimize
   resource damage and conflicts with other recreational uses. Under the plain terms of the ORV
   executive orders, the Forest Service must apply the minimization criteria to all trails designated
   for OSV use - even if those trails are located in areas of the forest that would be designated as
   open to cross-country OSV use. When designated and placed on a map, trails focus the impacts
   of OSV use to those locations and generally increase the number of OSV users visiting the area.
   This is particularly true of groomed trails within areas otherwise open to cross-country travel.
   Groomed trails are desirable for traveling faster and further into remote areas. In addition,
   grooming often results in widening the footprint of the trail, which wheeled motorized vehicles
   may then use in summer, resulting in additional impacts and conflicts.

        d. Adequate snowpack

   The new OSV rule requires designation of areas and routes for OSV use “where snowfall is
   adequate for that use to occur.” 36 C.F.R. § 212.81(a). Particularly with climate change leading
   to reduced and less reliable snowpack, low-elevation and other areas that lack regular and
   consistent snowfall should not be designated for OSV use. Closing those areas is necessary to
   comply with the plain language of the subpart C regulations and with the executive order
   minimization criteria.
   To account for variable snowpack and ensure that OSV use occurs only where and when
   snowfall is adequate, minimum snow depth restrictions are an important tool to further minimize
   impacts associated with OSV area and trail designations. The best available science shows that


   132 Winter Wildlands Alliance. 2015. Winter Recreation on National Forest Lands: A Comprehensive Analysis of
   Motorized and Non-Motorized Opportunity and Access. Available at http://winterwildlands.org/wp-
   content/uploads/2015/06/2015-Winter-Rec-Report.pdf. Attached as Exhibit 9.

                                                        151

                                                                                Rvsd Plan - 00005417
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 326 of 475




   minimum snow depths should be at least 18 inches for cross-country travel and 12 inches for
   travel on groomed trails. Switalski 2016. These depths are generally sufficient to minimize
   impacts to water quality, soils, and vegetation and to buffer for variable snow conditions (e.g.,
   while a shaded trailhead may have 12 inches of snow, south-facing slopes further up the trail
   may have little or no snow). The Forest Service should also address plans to enforce minimum
   snow depth restrictions, including protocols for monitoring snow depths, communicating
   conditions with the public, and implementing emergency closures when snowpack falls below
   the relevant thresholds. Minimum snow depths measurements should be taken at established
   locations that are representative of varying snow depths based on factors such as wind,
   orientation, slope, tree cover, etc. Depths should be reported regularly on the forest website and
   posted at popular access points.
   In addition, forests should clearly identify season of use restrictions based on wildlife needs,
   water quality considerations, average snow depth figures, and other relevant information, with
   those restrictions serving as bookends, and minimum snow depth requirements providing an
   additional limitation on use. 36 C.F.R. § 212.81(a) (OSV rule permits agency to designate areas
   or trails by “time of year” to tailor designation decisions to account for snowfall patterns).

      e. Existing decisions

   Upon public notice, subpart C permits the Forest Service to grandfather previous decisions made
   with public involvement that restrict OSV use to designated areas and routes. 36 C.F.R. §
   212.81(b). Prior to grandfathering existing winter travel management decisions by adopting them
   on an OSV use map, however, the Forest Service must ensure that those decisions were subject
   to the executive order minimization criteria and other relevant legal requirements.
   Most critically, previous decisions must have been subject to the minimization criteria, and the
   administrative records for the decisions must demonstrate that the agency applied the criteria
   when making any OSV area or route designations. If the previous decisions were not subject to
   the minimization criteria, the Forest Service may not adopt them on its OSV use map without a
   public process.
   Similarly, the Forest Service may not adopt previous decisions that rely on an “open unless
   designated closed” policy or fail to designate discrete open areas. The Forest Service also must
   ensure that previous decisions are not outdated. Older decisions likely did not account for the
   increased speed, power, and other capabilities of current OSV technology, which allow OSVs to
   travel further and faster into the backcountry and to access remote areas that were previously
   inaccessible. Older decisions also may not account for new scientific information on sensitive
   wildlife and other forest resources and how they are affected by OSV use. They may not account
   for current recreational use trends and increasing conflict between motorized and non-motorized
   winter backcountry users. And they may not account for the current and predicted impacts of
   climate change, which is, among other things, reducing and altering snowpack and increasing the
   vulnerability of wildlife and other resources to OSV-related impacts. Without this information,
   the Forest Service cannot demonstrate how those previous decisions minimize impacts based on
   current circumstances and science.




                                                   152

                                                                        Rvsd Plan - 00005418
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 327 of 475




   _    1. Elements of an OSV Framework
   The current forest planning process is the appropriate place to consider the significant impacts
   associated with OSV use in the broader recreation context and to provide for sustainable
   recreation during the winter season, as required by the 2012 Planning Rule. 36 C.F.R. §
   219.10(b)(1)(i). This is particularly important given the increasing numbers of participants in
   both motorized and human-powered winter back-country recreation, and the corresponding
   increase in conflicts between skiers, snowshoers, and snowmobilers in many areas. Below we
   provide comments on key elements of an OSV framework.

       a. Winter ROS

   We are pleased to see that the DEIS acknowledges the need for a winter ROS classification
   system and the Draft Plan includes a standard making ROS designations enforceable (S-REC-1).
   DEIS at 272, Plan at 65. We would prefer that the winter ROS be included in the land
   management plan, as it is an important element of a programmatic OSV framework. As the
   Flathead National Forest recently recognized in its draft revised forest plan:

          [ROS] settings change as snow blankets the Forest’s landscapes. While some
          settings become less accessible and more remote, others change from non­
          motorized to accommodating [OSVs]. Although the full range of settings,
          primitive to rural, are still present, their location, distribution and percentages
          change significantly during the winter months.

   Flathead National Forest, Draft Revised Forest Plan at 62. The current ROS classifications are
   best suited for managing summertime uses, with many areas traditionally classified as semi­
   primitive motorized, semi-primitive motorized, and roaded natural providing high-quality and
   popular opportunities for non-motorized recreation in the wintertime. For example, many visitors
   enjoy the opportunity to cross-country ski on snow-covered forest roads without having to
   contend with OSV activity in the area. At the same time, skiers and snowshoers do not always
   mind sharing trails or areas with OSVs so long as they expect to encounter motorized uses. ROS
   classifications provide a good tool for visitors to determine where on the forest they should go to
   achieve their desired experience. However, forest visitors’ experiences, expectations, and desires
   differ in winter as compared to summer, and ROS classifications should account for those
   distinctions.

   The Forest Service Land Management Planning Handbook recognizes that development and
   implementation winter-specific ROS may be necessary:

          Desired winter recreation opportunity spectrum classes can be developed to depict
          changes in the location, mix and distribution of setting attributes, access, and
          associated opportunities (both motorized and nonmotorized). In doing so, distinct
          seasonal changes in the recreation settings and opportunities can be integrated
          with other seasonally relevant multiple uses, resource values and management
          objectives, such as protecting crucial winter range, providing access to key winter
          destinations, or limiting access to avalanche prone areas.



                                                   153

                                                                        Rvsd Plan - 00005419
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 328 of 475




   FSH 1909.12, ch. 20, § 23.23a(1)(d)(1). The winter ROS categories included in the Flathead
   Draft Plan provide a good example for what those classifications might look like:
          Primitive and semi-primitive non-motorized backcountry settings offer solitude
          and quiet recreation for those accessing the forest on skis, snowshoes, or snow
          boards. Semi-primitive motorized settings cover large expanses of the forest,
          offering over-snow vehicles the chance to explore areas of the forest that are often
          non-motorized in the summer months. Roaded natural and rural settings continue
          to serve as convenient connections to surrounding communities and easy access to
          visitors. Facilities are operated to provide user comfort. Groomed motorized and
          non-motorized trails offer users the chance to get outside for a day trip or take
          longer, cross-country excursions. Rental cabins are available although some
          require a ski in or over-snow vehicle trip to access them.
          01 Winter recreation settings provide a range of opportunities as described by the
          recreation opportunity spectrum......
          02 Winter primitive recreation opportunity spectrum settings are large, remote,
          wild, and predominately unmodified. Winter primitive recreation opportunity
          spectrum settings provide quiet solitude away from roads, and people. There is no
          motorized activity and little probability of seeing other people. Constructed trails
          that are evident in the summer months are covered by snow, making these settings
          appear even more natural and untouched by human management.
          03 Winter semi-primitive non-motorized recreation opportunity spectrum settings
          provide backcountry skiing, snowboarding, and snowshoeing opportunities. Trails
          are un-groomed and often not marked. Rustic facilities, such as historic cabins,
          yurts may exist but are rare.
          04 Winter semi-primitive motorized recreation opportunity spectrum settings
          provide backcountry skiing and snowmobiling opportunities. Routes are typically
          un-groomed but are often signed and marked. There are vast areas to travel cross­
          country in designated areas, offering visitors an opportunity for exploration and
          challenge. Occasionally, historic rental cabins are available for overnight use and
          warming huts are available for short breaks.
          05 Winter roaded natural recreation opportunity spectrum settings support higher
          concentrations of use, user comfort, and social interaction. The road system is
          plowed and accommodates sedan travel. Winter trails are routinely groomed and
          may have ancillary facilities such as warming huts and restrooms. System roads
          and trails often provide staging to adjacent backcountry settings (primitive, semi­
          primitive non-motorized, semi-primitive motorized). Guided motorized over­
          snow vehicle use, dog sledding, skiing, and snowshoeing may also be present.
          06 Winter rural recreation opportunity spectrum settings provide high-use ski
          areas such as Blacktail Mountain and Whitefish Mountain Resort. These areas are
          accessed from paved and plowed roads and are generally close to population
          centers. User comfort facilities such as toilets, restaurants, heated shelter facilities,
          and information and education are commonly present. Parking areas are large and
          plowed. Entry points and routes are signed and direct over-snow vehicles to

                                                    154

                                                                           Rvsd Plan - 00005420
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 329 of 475




          adjacent roaded natural and semi-primitive motorized settings. Non-motorized
          trails are also typically groomed for Nordic skiing. Rural winter settings provide
          access for communities and families to celebrate holidays, conduct racing events,
          and skiing.
   Flathead National Forest, Draft Revised Forest Plan at 62-63.

   Even with a winter-specific ROS classification system, it is important to remember that OSV
   area designations and ROS categories are distinct, albeit related, management tools. While
   motorized ROS classifications provide a good starting point for where to designate OSV areas
   and trails, the Forest Service should not assume that OSV use is appropriate across the entirety of
   those areas. Instead, as part of implementation-level winter travel management planning, the
   agency needs to designate discrete, specifically delineated areas and trails within the motorized
   ROS classifications and areas suitable for OSV use that are located to minimize environmental
   damage and conflicts with other recreational uses.

       b. OSV suitability

   We are pleased to see that the RGNF determined suitable and unsuitable places for OSVs. DEIS
   at 272, 283-285. However, we are not clear how the RGNF reached these determinations. The
   DEIS does not explain its methodology, and presents conflicting information. On page 271-272,
   the DEIS says:

      Motorized Over-Snow Vehicle Use Suitability maps for alternatives A through D^. reflect
      areas on the Forest where motorized over-snow vehicle use would be suitable and unsuitable
      for each alternative. This process does address motorized and nonmotorized settings during
      the winter season to determine suitability of these activities throughout the Forest. Over­
      snow vehicle use suitability determinations were made based on considerations for recreation
      user group preferences, wilderness areas, wildlife habitat, and areas of the Forest under long­
      term closure orders where applicable.

   However, on page 284, the DEIS explains that it determined OSV suitability by management
   area, and did not use the factors listed on page 272. Moreover, page 272 sys that one of the
   factors used in determining OSV suitability was motorized and non-motorized settings, although
   we are confused how this could be if the winter ROS classifications will be developed in a
   subsequent winter travel management planning process. DEIS at 271.

   The RGNF in the final EIS should provide a clear methodology and supporting rationale that
   clearly explains how it determined OSV suitability. Further, suitability determinations should
   address more than legal suitability (e.g., OSVs are unsuitable in designated wilderness because
   the Wilderness Act prohibits motorized uses), and should also address functional suitability and
   operability. For instance, steep slopes and windswept ridgelines, low elevation areas without
   adequate snowpack, areas with dense tree cover, and important habitat for wintering wildlife
   should all be found unsuitable. The final plan should include an objective that areas found
   unsuitable for OSV use will be subject to appropriate closure orders within one year of plan
   approval.


                                                  155

                                                                       Rvsd Plan - 00005421
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 330 of 475




   The final plan and EIS should include additional clarifying language that OSVs will not
   necessarily be permitted in all suitable areas. See FSH 1909.12, ch. 20, § 22.15(1) (a suitability
   determination “is not a commitment to allow such use but only an indication that the use might
   be appropriate”). Rather, suitable areas are a starting point for conducting implementation-level
   travel planning to designate particular areas and trails in accordance with the minimization
   criteria.

   We want to bring to your attention a recent study conducted on the adjacent Grand Mesa-
   Uncompahgre-Gunnison and the San Juan National Forests that can help shed light on
   conducting OSV suitability determinations. Olsen et al (2017) modeled terrain selection of
   motorized and non-motorized recreationists, including snowmobile, backcountry ski, and
   snowmobile-assisted hybrid ski to better understand the environmental characteristics favored by
   winter recreationists, and thus predict areas of potential conflict or disturbance. Field locations
   were Vail Pass and the San Juan Mountains. Areas predicted to have only motorized recreation
   were more likely to occur further from highways, with greater forest road densities, lower
   canopy cover, and smoother, less steep terrain, while areas with only non-motorized recreation
   were closer to highways, with lower forest road densities, more canopy cover and steeper terrain.
   This work provides spatially detailed insights into terrain characteristics favored by
   recreationists, allowing managers to maintain winter recreation opportunities while reducing
   interpersonal conflict or ecological impacts to sensitive wildlife.

   Also, the DEIS at 13 says that “[t]he Forest intends to re-evaluate the suitability of its National
   Forest System lands to support other multiple uses, including over-snow vehicle use”. We are not
   sure what this means. The DEIS should clarify this statement, and explain if the RGNF intends to
   do a plan amendment to modify suitability (a plan component) in the future.

   Finally, the final plan should include an objective that areas found unsuitable for OSVs will be
   subject to appropriate closure orders within one year of plan approval.

        c. Minimum snow depth restrictions

   The RGNF should establish a minimum depth of snow required to permit safe and responsible
   travel by an OSV. OSV use on inadequate snow has the potential to damage soils, vegetation,
   rocks, infrastructure and other features. As written, the plan permits use of an OSV on any
   amount of snow, conceivably including travel on just a trace or dusting of snow.

   The adjacent San Juan National Forest plan contains the following Desired Condition:
   “2.14.37 Motorized oversnow travel should only occur when snow levels are adequate to protect
   the ground surface from disturbance due to snow machine use. For SJNF lands, 12-inch snow
   depth will be used as the standard.”133 This plan component reflects
   accepted best management practices for OSV. See (Switalski , 2016 at 11.



   133 San Juan Plan at II-118. Volume II: Final San Juan National Forest and Proposed Tres Rios Field Office Land
   and Resource Management Plan, 2013, accessed online December 2017 at
   https://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5435985.pdf .

                                                          156

                                                                                  Rvsd Plan - 00005422
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 331 of 475




            Require a minimum snow depth of at least 0.3m (12 in), or sufficient depth to protect
            water quality, soils, and vegetation before a contingency plan and implement emergency
            closures if snowpack goes below this threshold. Require a minimum snow depth of at
            least 0.45 m (18 in), or sufficient depth to protect water quality, soils, and vegetation
            before allowing snowmobiling off-trail. Have a contingency plan and implement
            emergency closures if snowpack goes below this threshold.

   We recommend, therefore, that the RGNF adopt a standard that says: “Motorized oversnow
   travel should only occur when snow levels are adequate to protect the ground surface from
   disturbance due to snow machine use. For on-trail travel, 12-inch snow depth will be used as the
   standard. For off-trail travel, 18-inch snow depth will be used as the standard.” The plan should
   also adopt a management approach that says: “Develop a method for identifying when
   designated OSV open areas or designated trails are below the minimum snow depth and
   therefore must be closed temporarily.”134

        d. Closed unless open paradigm

   The draft plan currently states “MA-INFR-5: Over-the-snow motorized vehicle use on snow is
   allowed unless specifically restricted.” Draft Plan at 60-61. This approach is inconsistent with
   the travel management rule that clearly establishes a “closed unless marked on the over-snow
   vehicle use map” management approach. This needs to be corrected in the final plan with a
   standard that says: “Over-the-snow motorized vehicle use is prohibited off the designated
   system.”

                         3. Subsequent winter travel management planning


   We are pleased that the RGNF intends to undertake travel management planning after the
   revision of the land management plan. See DEIS at 271 and 277. Travel management is an
   incredibly important element of sustainable recreation. We support this approach, provided that
   the revised forest plan establishes an adequate programmatic framework - including suitability
   determinations, winter-specific recreational opportunity spectrum (ROS) classifications,
   minimum snow depth restrictions, and other programmatic direction - for management of OSV
   use and subsequent implementation-level travel planning that will designate particular areas and
   routes based on the minimization criteria and other relevant regulatory requirements.135


   134 See Hatchett, Ben. May 15, 2017. Evaluation of Observed and Simulated Snow Depths for Commencing Over
   Snow Vehicle Operation in the Sierra Nevada, Prepared for the Winter Wildlands Alliance. The author is developing
   a method for land managers to estimate trailhead snow depth by correlating SNOWTEL data with snow conditions
   at trailheads.

   135 The Forest Service’s recently revised travel management directives encourage this approach: “Approval of a . . .
   plan revision should not include a final decision designating roads, trails, or areas for . . . OSV use or otherwise
   restricting those uses. Rather, the land management plan provides information and guidance for travel management
   decisions.” Forest Service Handbook (FSH) 7709.55, ch. 10, § 11.2(1); see also id. § 11.2(3) (“The Responsible
   Official generally should avoid including travel management decisions in land management plans prepared or
   revised under current planning regulations . . . .”).

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                                                                                     Rvsd Plan - 00005423
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 332 of 475




   The final plan and EIS should clarify that the RGNF will start winter travel management
   planning within one year of the finalization of the land management plan.136 The final plan
   should include this as an objective.

        4. OSV Trails

   Tables 53 and 73 of the DEIS (at 216 and 276) list 613 miles of snowmobile trails on the forest.
   Table 53 includes 613 miles of snowmobile trails as “Designated Routes”. Table 73 labels trails
   by the “Primary Managed Use Type”. It further states, “While there are no official snowmobile
   trails in INFRA, these trails represent those currently permitted and established.”

   The USFS defines a Trail as “A route 50 inches or less in width or a route over 50 inches wide
   that is identified and managed as a trail. A National Forest System Trail is defined as “a forest
   trail, other than a trail which has been authorized by a legally documented right-of-way held by a
   state, county, or other local public road authority.” FSM 2353.05; 36 CFR 212.1. A snow trail is
   defined as “A trail that has a surface consisting predominantly of snow or ice and that is
   designed and managed to accommodate use on that surface.” FSM 2353.05. FSM 2353.12 states
   “For each NFS trail or NFS trail segment, identify and document its TMOs, including the five
   Trail Fundamentals, Recreation Opportunity Spectrum classifications, design criteria, travel
   management strategies, and maintenance criteria.”

   Managed use is one of the five trail fundamentals, and is a term from the USFS Trail
   Classification System and is defined as “A mode of travel that is actively managed and
   appropriate on a trail, based on its design and management.” FSM 2353.05. Other Trail
   Fundamentals include trail type, trail class, designed use and design parameters. FSH 2309.18
   chapter 23.33 establishes design parameters for officially designated snowmobile trails. No
   documented information is available regarding the TMO, trail type, class, designed use and
   design parameters for these 613 miles of trails.

   A designated National Forest System trail under these definitions must be actively designed and
   managed as a trail, must be included in INFRA, and must have the five trail fundamentals
   identified in a TMO. If these 613 miles of trails are not in INFRA, and do not have completed
   Trail Management Objectives documenting the intended purpose and management of these trails,
   they are not NFS trails. If there are no official snowmobile trails on the forest, there cannot be
   any designated trails on the forest with a Primary Managed Use of snowmobiling. The creation
   or establishment of a route by mere use does not make that route a designated forest trail.

   Permitted uses are, by definition, a temporary use of forest land for a specific period of time.
   (36CFR 251.51). Permitted uses should not be included as part of the designated route system
   on the forest.



   136 In the event the Forest Service intends to make winter travel management decisions as part of or simultaneously
   with forest plan approval, it must ensure compliance with the minimization criteria and other subpart C requirements
   and adequate site-specific NEPA analysis. See id. § 11.2(3) (“If travel management decisions are approved
   simultaneously with a . . . plan revision, the travel management decisions must be accompanied by appropriate
   environmental analysis.”).

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                                                                                   Rvsd Plan - 00005424
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 333 of 475




   The RGNF should correct the tables to clearly show that there are not designated OSV trails on
   the RGNF unless documentation as discussed above is available in the administrative record.

                       5. Additional issues that need to be addressed in the DEIS and Draft Plan

   We offer the following additional comments on inaccuracies and deficiencies in the analysis
   related to OSV recreation in the DEIS.

       •   The DEIS does not discuss hybrid use (people who ride snowmobiles to access
           backcountry skiing and snowboarding). This is becoming a more popular use in Colorado
           and the west and should be discussed in the plan in terms of desired terrain, ecological
           impacts, and conflict management.
       •   The DEIS and draft plan do not mention the travel management rule’s requirement that
           motorized trails and areas must be located to minimize damage to forest resources and
           conflicts with other recreational uses. The final EIS should provide information on
           whether or how this requirement is met. The final plan should include a standard that
           reiterates this requirement.
       •   The DEIS needs to clarify that wheeled vehicles that travel over snow are not over-snow
           vehicles and are only allowed on the designated system displayed on a motor vehicle use
           map. We agree with and support a determination that only vehicles that are over snow
           vehicles are allowed to travel off designated routes over snow. See DEIS at 272. Wheeled
           vehicles, both motorized and non-motorized, are not over snow vehicles and are subject
           to the same restrictions that apply to motorized and mechanized use whether snow is
           present or not. Wheeled vehicles have a high potential of disturbing soil and vegetation
           under the snow, as they do not provide the necessary floatation provided by tracks or skis
           that over snow vehicles possess. In addition, wheeled vehicles have the potential to rut
           prepared and unprepared snow, and dig underlying soil into the snow. Rutted and or
           dirty snow can make any travel which uses skis or tracks difficult and dangerous, and
           such snow may damage skis. Wheeled vehicle use on snow surfaces can result in
           conflicts with users seeking to glide or slide using skis on those surfaces.

           The White River National Forest recognized the potential for this conflict. They state
           “Any other vehicle other than defined by 36 CFR 212 for winter use, including wheeled
           vehicles such as full-sized vehicles, all-terrain vehicles, motorcycles, mountain bikes, and
           mechanized vehicles, are prohibited, unless on a plowed or maintained road. “The intent
           of this provision is to maintain the integrity of the groomed snow surface and to protect
           the investment made in maintaining these winter routes for their intended purpose.”137

           The RGNF should clarify this in the final EIS.

       •   The RGNF needs to correct the misstatement in the DEIS at 274 that “motorized vehicle
           use is currently limited to designated routes outside wilderness or Colorado Roadless


   137 WRNF TMP ROD at 17 20ll accessed online Dec 2017 at
   http://a123.g.akamai.net/7/123/11558/abc123/forestservic.download.akamai.com/11558/www/nepa/1118 FSPLT2
   048796.pdf.

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                                                                            Rvsd Plan - 00005425
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 334 of 475




          Areas.” OSV use is currently allowed off routes, and motorized use is allowed and occurs
          in Colorado Roadless Areas.

      •   We do not understand DC-REC 2. Please clarify.

       6 . Summary of Recommendations for OSV planning
   The final plan should provide a stronger programmatic framework for management of OSV use
   and subsequent implementation-level winter travel planning that will designate particular areas
   and routes based on the minimization criteria and other relevant regulatory requirements. To
   provide for sustainable winter recreation and timely compliance with subpart C, the RGNF
   should:

      •   Develop a winter-specific ROS classifications and associated plan components;
      •   Include an objective that implementation-level winter travel planning will be completed
          within three years of forest plan approval;
      •   Include a standard setting a minimum snow depth of 18 inches for cross-country OSV
          travel and 12 inches for on-trail travel;
      •   Develop suitability determinations for OSV use based on terrain, snowpack, wildlife
          habitat, and other conditions that impact OSV travel, and provide a clear methodology
          and supporting rationale for the determination.
      •   Add an objective that unsuitable areas will be subject to appropriate closure orders within
          one year of plan approval;
      •   Include clear statements that subsequent area and route designations will be consistent
          with suitability determinations and winter ROS classifications, but that all suitable,
          motorized areas will not necessarily be open to OSV use; instead, the forest will
          designate discrete open areas and trails within those areas that are located to minimize
          resource impacts and conflicts with other recreational uses.
      •   Add a standard that says: “Over-the-snow motorized vehicle use is prohibited off the
          designated system”;
      •   The final plan and EIS should clarify that the RGNF will start winter travel management
          planning within one year of the finalization of the land management plan. The final plan
          should include this as an objective;
      •   Clarify that there are not designated OSV trails on the RGNF;
      •   Clarify that wheeled vehicles that travel over snow are not over-snow vehicles and are
          only allowed on the designated system displayed on a motor vehicle use map; and
      •   Clarify that motorized use is currently allowed in Colorado Roadless Areas.


   B. NON-OSV RECREATION ISSUES

                  1. Management of Mechanized Uses

   Mountain biking is an expanding use throughout Colorado and nationally. We agree with, and
   support, the RGNF’s proposed approach to limit mechanized travel to a designated system. See
   DEIS at 90 (“mechanized travel is only suitable on designated routes”); DEIS at 39, 40, 41 and


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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 335 of 475




   43 (“mechanized travel is suitable only on designated routes” for all draft alternatives); and DEIS
   at 273 (“mechanized use is restricted to designated routes”).

   Mechanized off route travel has a high potential to impact wildlife, natural resources, cultural
   and archaeological resources, vegetation, soils, other forest users and public safety. This is due
   to the speeds a mechanical advantage allows a user to achieve, which increases the distance
   traveled and land areas impacted. Allowing cross-country use by mechanized vehicles can also
   lead to trail proliferation. Travelers often will ride the same track repeatedly until a user-created
   route is formed. The presence and use of non-system routes can confuse responsible travelers.

   Restricting mechanized travel to designated routes will promote consistency with adjacent
   federal lands. The Gunnison National Forest138 and San Luis Valley BLM already restrict all
   mechanized travel to designated routes. The International Mountain Bike Association agrees,
   “Environmental degradation can be substantially avoided or minimized when trail users are
   restricted to designated formal trails.”139

   We believe the following statement must be corrected: “Alternatives B and D would also reduce
   mechanized dispersed recreation opportunities, such as mountain biking, when recommended
   wilderness areas are congressionally designated as wilderness study areas or wilderness areas.”
   DEIS at 373. It must be noted that the wilderness recommendations in Alternative D contain
   very few designated forest trails that allow mountain biking. The trails within the recommended
   areas that are open to mountain biking do not provide significant mountain bike opportunities or
   desired experiences. They are very short (normally ~ one mile long or less), rough, and steep
   routes. These would only provide a less than desirable short out and back ride to a designated
   Wilderness boundary and back. None of these trails are managed for mountain bike use.

   We believe the definition of “Mechanized” on page 455 of the DEIS and page 130 of the Draft
   Plan must be clarified. These definitions currently state, “Wheeled forms of transportation,
   including nonmotorized carts, wheelbarrows, bicycles, and any other nonmotorized, wheeled
   vehicle.” DEIS at 455. This definition is not a definition of mechanized per se, but of
   mechanized travel or transportation. It is possible to have a mechanized device which does not
   possess wheels and does not enable travel (such as a chainsaw). We suggest modifying this
   definition so it is a definition of “mechanized travel” and not simply “mechanized”.

   The plan components should reflect the RGNF’s approach to managing mechanized travel.
   Specifically, include: a standard that restricts mechanized travel to a designated system, an
   objective that all trails will have trail management objectives and are included in corporate data
   bases, a management approach that travel planning (to be done immediately after the land

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       The adjacent Gunnison National Forest determined that restricting mechanized travel to designated routes
   contributed to beneficial conditions for wildlife, including improved wildlife security and reduced disturbance. See
   FEIS Gunnison Basin Federal lands Travel Management, USDA Forest Service GMUG, page 3-123, 2010
   Accessed online December 2017.
   http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5182985.pdf.
   139 Environmental Impacts of Mountain Biking: Science Review and Best Practices, Conclusion 1, Accessed online
   December 2017 https://www.imba.com/resources/research/trail-science/environmental-impacts-mountain-biking-
   science-review-and-best-practices.

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                                                                                    Rvsd Plan - 00005427
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 336 of 475




   management plan is revised) will include designation of motorized and mechanized systems, an
   objective to close and obliterate un-designated routes within three years of finalizing the travel
   management plan, and a management approach that the mechanized travel designated system
   will be displayed on a map made readily available to the public.

                  a. Recreation Opportunity Spectrum
   We are pleased to see the inclusion of a standard that enforces the Recreation Opportunity
   Spectrum (ROS) classes (S-REC-1)

   It should be reworded to be consistent with the travel management rule’s language as follows:
   “Recreation development and designated systems of roads, trails, and areas shall be consistent
   with the recreation opportunity spectrum class designations.”

   While this standard is very helpful, the final plan needs to have a more robust complement of
   plan components that will contribute to achieving the desired ROS settings over the life of the
   plan. The Planning Rule requires that a plan “must include plan components, including standards
   or guidelines, for integrated resource management to provide for ecosystem services and
   multiple uses,” including outdoor recreation. 36 C.F.R. § 219.10(a)(1). In addition, plans “must
   include plan components, including standards or guidelines, to provide for: Sustainable
   recreation; including recreation settings, opportunities, and access; and scenic character.
   Recreation opportunities may include non-motorized, motorized, developed, and dispersed
   recreation on land, water, and in the air.” Id. § 219.10(b)(1)(i); see also FSH 1909.12, ch. 20, §
   23.23a(2)(g) (plans “must include plan components, including standards or guidelines, to provide
   for sustainable recreation,” including “[s]pecific standards or guidelines where restrictions are
   needed to ensure the achievement or movement toward the desired [ROS] classes”).

   The ROS classification system plays an important role in achieving the goal of sustainable
   recreation by providing the framework for where particular recreational opportunities, activities,
   and expected experiences are located across the forest. Zoning areas for quiet, non-motorized
   forms of recreation through the ROS is an important component of achieving both the
   sustainable recreation and ecological sustainability mandates of the 2012 Planning Rule.

   Offered below are examples of plan components that we recommend for inclusion in the final
   forest plan:

   DESIRED CONDITIONS
     • The primitive ROS class provides recreation opportunities in unroaded and nonmotorized
        settings. Unmodified natural and natural-appearing settings dominate the physical
        environment.

       •   The semi-primitive non-motorized ROS class provides for non-motorized recreation
           opportunities in unroaded and nonmotorized settings. A natural-appearing setting
           dominates the physical environment, with only subtle or minor evidence of human-
           caused modifications.
   OBJECTIVES

                                                   162

                                                                        Rvsd Plan - 00005428
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 337 of 475




       •   Within 10 years, all motorized roads and trails within primitive and semi-primitive
           nonmotorized ROS classes will be decommissioned or converted to non-motorized trails.

   STANDARDS
     • Roads and motorized trails that are inconsistent with primitive and semi-primitive
       nonmotorized ROS classes and will be prohibited.


   MANAGEMENT APPROACHES

       •   Evaluate the differences between current and desired ROS settings, and develop a
           strategy to move towards desired ROS settings through project-level actions.
   Lastly, we are disappointed that the DEIS does not provide an analysis of the ROS settings of
   inventoried roadless areas (IRAs) - whether existing roadless areas protected under the Colorado
   Roadless Rule or newly inventoried areas under the Chapter 70 process. Establishing primitive or
   semi-primitive non-motorized ROS settings for areas identified in the wilderness evaluation
   process as having moderate to high-upper tier ranks is a good strategy to maintain the wilderness
   and natural characteristics of areas that do not benefit from a wilderness recommendation in the
   final plan. We therefore ask that the final EIS include this analysis, and in at least one alternative
   adopt primitive or semi-primitive non-motorized settings for the majority of areas ranked
   moderate to high-UT. This may require a revised or supplemental DEIS. See 40 C.F.R. §
   1502.9(a) & (c).

                  b. Recreation niche

   In the assessment report, the RGNF identified its recreation niche as:

           Solitude in every Season

           From the Sangre de Cristo to the San Juan Mountains, the jagged peaks and rushing
           rivers of the San Luis Valley public lands wrap themselves around this Rocky Mountain
           basin. Whether viewing the mountain scenery from roads or finding challenge on trails,
           visitors discover solitude and self-reliance through uncrowded year-round recreation
           opportunities. As recreation pressures increase in other parts of Colorado, the public
           lands of the San Luis Valley maintain their remote spirit and traditional culture.

   The recreation niche statement is an important planning tool as it helps inform project level
   decisions related to recreation and access. Specifically, forest managers can evaluate proposed
   projects against the niche to ensure that they are managing to maintain the niche and not detract
   from it or shift it.

   We notice that nowhere in the DEIS or draft plan is the recreational niche statement mentioned.
   We recommend that the DEIS discuss the concept, and evaluate how well each alternative
   adheres to the niche statement. We also recommend the addition of a desired condition statement
   that reflects managing to the niche such as: “Recreational activities, settings, and experiences
   are consistent with the recreational niche.”


                                                    163

                                                                         Rvsd Plan - 00005429
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 338 of 475




           C. BALANCING RECREATION AND WILDLIFE CONSERVATION

   The final EIS must fully analyze and consider the impacts of recreational use and development
   on wildlife, and plan components must include direction to balance recreational use and
   development with the needs of wildlife.

   Increasingly, we are recognizing that human recreational use can have detrimental effect on
   wildlife, and that careful planning and management to minimize these impacts is important. This
   includes all forms of recreation and use, including non-motorized recreation such as hiking,
   biking etc., which were previously considered to have minimal or lesser impacts on wildlife.

   Increasing trail use and new trail development is a good example of the potential impacts
   recreation can have on wildlife. Trails can fragment previously undisturbed habitat. With
   increasing volumes and intensities of public land recreation and new technologies, managers
   must devote more resources to ensure that recreation is well-managed and wildlife habitat is
   maintained. A recent study, for example, found that development and use of a new trail primarily
   used by mountain bikers resulted in impacts to Bighorn Sheep at the population level.140 In
   addition, a recent literature review determined that outdoor recreation, including non-motorized
   recreation, can result in significant adverse effects on animals and biodiversity.141

   The growth of human population and associated recreation along with the resulting potential
   impacts on wildlife and habitat is recognized as a concern by Colorado Parks and Wildlife.
   Colorado Parks and Wildlife (CPW) recently updated and released the 2016-2026 Statewide
   Trails Strategic Plan, which is tied to the 2015 Colorado Parks and Wildlife Strategic Plan.142
   The importance of conserving wildlife and habitat is the top priority for the 2015 CPW Strategic
   Plan. The Statewide Trails Strategic Plan (2016) recognizes this direction for CPW and
   highlights its significance as a top priority through the objectives and actions of the Statewide
   Trails Strategic Plan."143 The Trails Strategic Plan contains numerous statements regarding
   balancing trail development and wildlife, including:

       •    “Continually strive to achieve the desired balance for trail recreation with wildlife
            habitat”144


   140 Weidmann and Bleich 2014, Demographic Responses of Bighorn Sheep to Recreational Activities: A Trial of a
   Trail, Wildlife Society Bulletin 38(4):773-782; 2014.
   https://www.researchgate.net/publication/264625966 Demographic Responses of Bighorn Sheep to Recreational
    Activities A Trial of a Trail. Accessed online December 2014.
   141 Larson CL, Reed SE, Merenlender AM, Crooks KR, 2016, Effects of Recreation on Animals Revealed as
   Widespread through a Global Systematic Review. PLoS ONE 11(12).
   http://journals.plos.org/plosone/article?id=10.1371/journal.pone.0167259. Accessed December 2017.
   142 Trails Strategic Plan at http ://cpw. state.co.us/Documents/Trails/CO-Trails- Strat-
   Plan.pdf#search=trail%20strategic%20plan and Colorado Parks and Wildlife 2015 Strategic Plan, November 2015
   available at:
   http://cpw.state.co.us/Documents/About/StrategicPlan/2015CPWStrategicPlan-11-19-15.pdf . Accessed December
   2017.
   143 Trails Strategic Plan at , available at http://cpw.state.co.us/Documents/Trails/CO-Trails-Strat-
   Plan.pdf#search=trail%20strategic%20plan.
   144 Id at 3.

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                                                                              Rvsd Plan - 00005430
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 339 of 475




       •   “Accentuate the importance of natural resources conservation, including wildlife and
           habitat, in the design, construction, maintenance, and enjoyment of trails.”145
       •   Regarding trail development, there is a “criticality of protecting wildlife and wildlife
           habitat, and in giving wildlife experts representation in where trails might be constructed
           or how trails should be managed to protect wildlife resources.”146
       •   “Develop long-range ^ trail plans” to protect “natural resources, including wildlife
           sensitive species, habitat and overall environmental quality.”147
       •   “Emphasize sustainable trails that protect the environment, sensitive species, and wildlife
           habitat.”148
       •   “Identify areas where plant and wildlife values should be prioritized”149
       •   “Prioritize trail design and development to protect important habitat, sensitive species,
           and other natural resources.”150
       •   “Accentuate the importance of natural resources conservation, including wildlife and
           habitat, in conjunction with trail recreation, in the design, construction, maintenance, and
           enjoyment of trails.”151

   CPW also uses a handbook it produced entitled Planning Trails with Wildliife in Mind.152
   CPW wildlife biologists believe that to support the goal of balancing trails and wildlife, trail
   projects in Colorado need to be informed by a landscape-level planning approach, which
   includes:

       •   Avoiding large natural areas;153
       •   Concentrating use;154
       •   Considering a “zone of influence;155
       •   Considering wildlife [stress] responses to human disturbance;156

   CPW has also developed “Best Management Practices to Minimize Adverse Impacts to
   Wildlife.”157 These offer general and species-specific recommendations developed using best
   available science, and represent preferred management actions to protect wildlife and wildlife
   habitat. Some of these actions are already incorporated into the Draft Plan such as seasonal route
   closures. Although these practices were developed for oil and gas development, they also apply


   145 Ibid.
   146 Id. at 7
   147 Id. at 11
   148 Id. at 12
   149 Id. at 14
   150 Id. at 15
   151 Id. at 16
   152 Planning Trails with Wildlife in Mind, 1998, Colorado State Parks and Hellmund Associates,
   http://cpw.state.co.us/Documents/Trails/TrailsPlanningPrimer.pdf . Accessed December, 2017.
   153 Id. at 8.
   154 Id. at 21.
   155 Id. at 6.
   156 Id. at 19.
   157 https://cogcc.state.co.us/documents/reg/OpGuidance/Colorado%20DOW%20Final%20BMPs 090309.pdf and
   https://nhnm.unm.edu/sites/default/files/nonsensitive/news-
   files/Colorado%20Final%20Species Specific%20BMPs 0ct%2017 101716.pdf Accessed December 2017.

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                                                                         Rvsd Plan - 00005431
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 340 of 475




   to recreational use. CPW Best Management Practices for wildlife should be used to guide
   suitability determinations for recreational use and plan components. It is suggested, for instance,
   that new development be precluded in specific areas, such as Bighorn Sheep production areas.
   New development could include route construction.158

   CPW has also developed a list of moderate, high and very high priority habitats for many
   wildlife species in Colorado. See Exhibit 10, House Bill 1298 Species Impact Assessment. This
   considers economic species and species considered at risk including rare, threatened and
   endangered wildlife.

   We recommend that the RGNF include additional plan components to help strike the correct
   balance between recreation and wildlife habitat conservation. CPW best management practices
   should be considered for standards and guidelines for actions such as the seasonal closure of
   routes in certain elk migration corridors. This will help the RGNF be proactive in managing
   recreational use to protect wildlife and habitat, because as once recreational use is established, it
   is difficult to modify or terminate. By the time monitoring indicates that recreation is impacting
   wildlife, it can be too late to reverse those impacts. Most members of the public are willing to
   comply with actions such as seasonal restrictions that protect wildlife as long as education is
   provided which includes reasons for the action. Please consider these specific recommendations:

         •   In order to account for dispersed recreation impacts writ large, modify the following
             forest-wide desired condition to read (red denotes added text):

                     DC-WLDF-5: Security habitat for big game and other species in winter range is
                     provided in very high and high priority habitats. Motorized and nonmotorized
                     route travel, on and off existing roads and dispersed recreation activities do not
                     negatively affect ecological conditions necessary to maintain viable populations
                     of species.” Draft Plan at 25.

         •   Modify the proposed standards as follows:

                     S-WLDF-3: Provide security habitat in winter range, winter concentration areas,
                     severe winter range, and lambing areas during big game primary use seasons from
                     December 1 to March 31 April 15. Employ access restrictions and seasonal
                     closures as necessary. Dates may vary depending upon variations in winter use.”

             Winter is typically not lambing season. CPW generally considers the winter use season
             for elk and mule deer to be between December 1 and April 15, and Bighorn Sheep



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       The presence of a route is considered surface occupancy by CPW. Surface occupancy is defined as “any
   physical object that is intended to remain on the landscape permanently or for a significant amount of time.
   Examples include houses, oil and gas wells, tanks, wind turbines, roads, tracks, etc.” (Colorado Division of Wildlife,
   2008, Recommended Buffer Zones and Seasonal Restrictions for Colorado Raptors. At 5.
   https://cpw.state.co.us/Documents/WildlifeSpecies/LivingWithWildlife/RaptorBufferGuidelines2008.pdf . Accessed
   December 2017.

                                                            166

                                                                                     Rvsd Plan - 00005432
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 341 of 475




          between November 1-April 15. See additional comments on bighorn sheep in section V E
          2.)

                  S-WLDF-8: Limit disturbance, including but not limited to rock climbing and use
                  of unmanned aerial systems, within one-half mile of:
                      • Active peregrine and prairie falcon nest sites from March 15 April 15 to
                        July 31 to maintain nest site integrity.
                      • Active golden eagle nest sites from December 15 to July 31

          The dates should be changed to match current CPW direction. (

   •   Add additional standards:

                  Provide security habitat in Bighorn Sheep lambing (production) areas from April
                  15 to June 30. Employ access restrictions and seasonal closures as necessary.
                  New development will be located outside these areas.

                  Provide security habitat in elk calving (production) areas from May 15 through
                  June 30. Employ access restrictions and seasonal closures as necessary. New
                  development will be located outside these areas.

   •   Modify MA-WLDF-22 to read:

                  Manage off-roadroute travel on big game winter range areas, including over-the-
                  snow track machines, during the primary use seasons for big game. Exceptions
                  may be authorized under special use permit.

   •   Add additional guidelines:

                  New trails and other routes within the planning area are planned and designed
                  with the goals of preserving settings, complementing the landscape, and
                  minimizing impacts on wildlife.

                  Dispersed sites or routes should be closed, rehabilitated, or otherwise mitigated if
                  there are social-use conflicts, wildlife impacts and/or resource impacts, or where
                  dispersed use conflicts with the management of developed recreation sites.

                  Timing restrictions for recreational use may be employed in wildlife habitat areas
                  or due to ground conditions (to prevent damage to soil or tread surfaces,
                  recreational snow surfaces, etc.).

                  Developed dispersed campsites will be located outside riparian zones and other
                  sensitive resource areas. Campsites may be closed, repaired, rehabilitated, and/or
                  hardened when unacceptable environmental or social impacts occur.



                                                   167

                                                                        Rvsd Plan - 00005433
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 342 of 475




     D. SUMMARY OF RECOMMENDATIONS

   The plan components should reflect the RGNF’s approach to managing mechanized travel.
   Include a standard that restricts mechanized travel to a designated system, an objective that all
   trails will have trail management objectives and are included in corporate data bases, a
   management approach that travel planning (to be done immediately after the land management
   plan is revised) will include designation of motorized and mechanized systems, an objective to
   close and obliterate un-designated routes within three years of finalizing the travel management
   plan, and a management approach that the mechanized travel designated system will be
   displayed on a map made readily available to the public.

   Include a more robust complement of plan components that will contribute to achieving the
   desired ROS settings over the life of the plan.

   ROS settings should reflect roadless values, with the large majority of IRAs ranked moderate to
   high-UT zoned for primitive or semi-primitive non-motorized uses. This may require a revised or
   supplemental DEIS. See 40 C.F.R. § 1502.9(a) & (c).

   The DEIS should discuss the recreational niche, and evaluate how well each alternative adheres
   to the niche statement. The final plan should include a desired condition statement that reflects
   managing to the niche such as: “Recreational activities, settings, and experiences are consistent
   with the recreational niche.”

   The DEIS should analyze and disclose impacts on wildlife from recreation and develop
   appropriate plan components. In doing so, the RGNF should incorporate Colorado Parks and
   Wildlife information.


   XIV. ADDITIONAL RIVER SEGMENTS NEED TO BE ANALYZED FOR
   ELIGIBILITY UNDER THE WILD AND SCENIC RIVERS ACT

   The 2012 forest planning rule requires the forest to identify the eligibility of free-flowing streams
   for potential inclusion in the National Wild & Scenic Rivers System. 36 CFR 219.7(c)(2)(vi). A
   river is eligible if it is free-flowing and has at least one river-related outstandingly remarkable
   value of national or regional significance (ORVs). Segments found eligible must include a
   preliminary classification (wild, scenic, or recreational; 16 U. S. C. 1273(b), FSH 1909.12
   section 82.8).

   Chapter 80 of Forest Service Handbook (FSH)1909.12 provides detailed guidance on the
   required inventory of eligible rivers and on interim management of those rivers to protect their
   ORVs and free-flowing nature. The forest is required to inventory all rivers named on standard
   USGs 7.5-minute quadrangle maps to determine and document their eligibility. In doing so, the
   forest must provide opportunities for public participation and utilize the best available scientific
   information. The plan must provide plan components—including standards and guidelines—for

                                                    168

                                                                         Rvsd Plan - 00005434
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 343 of 475




   all eligible river corridors “to protect the values that provide the basis for their suitability for
   inclusion” in the wild and scenic rivers system. 36 CFR 219.10(b)(1)(v). Projects and activities
   must not adversely modify eligible rivers’ free-flowing character, must protect their ORVs, and
   must maintain their preliminary classification of wild, scenic, or recreational.

   We are very pleased to see that additional segments have been considered, ones that were not
   studied for the previous plan revision, and nine segments on the Baca Tract, which the RGNF
   acquired since the last revision. Streams for which conditions have changed should also be
   identified and considered for eligibility. (See FHS 1909.12, section 82.2.)

   The draft plan revision (at 156) accurately concurs that the forest may rely on previous wild &
   scenic eligibility reviews if there are not changed circumstances. However, the draft plan’s
   assertion that no changed circumstances have occurred (ibid) is inaccurate, and additional river
   segments must be evaluated for eligibility before completing the final plan revision.

   We believe changed conditions make it appropriate to re-evaluate Wild and Scenic River
   eligibility for the upper Rio Grande, from its headwaters at Stony Pass to Rio Grande Reservoir.
   The plan revision DEIS did not undertake an updated eligibility determination of this segment
   and instead relied upon the 1996 plan eligibility baseline for the forest. However, it is not clear
   from the 1996 plan why this remote, generally pristine headwaters segment of the forest’s
   namesake river was determined not eligible as a Wild and Scenic River. We believe that updated
   CNHP inventories from the early 2000s provide justification for changed conditions to
   encourage a fresh look at eligibility.

   This 15-mile segment of the Rio Grande has an extraordinary wetland ecosystem characterized
   by expansive beaver ponds in a textbook glacial valley in the most remote section of the national
   forest. Colorado Natural Heritage Program has identified two Potential Conservation Areas
   (PCAs) on this segment of the Rio Grande, and a portion also passes through the Weminuche
   Wilderness.

   The Rio Grande at Pole Creek Mountain is a B3 high biodiversity site according to CNHP
   ranking. This PCA is recognized for its montane riparian willow carr community and extends
   along a 2-mile length of the Rio Grande. It is a wide, open glaciated valley with beaver ponds.
   CNHP notes, “Upper reaches of the site characterized by a willow carr are dominated by a
   consistent, dense tall shrub layer of Geyer's willow (Salix geyeriana) and park willow (Salix
   monticola) concentrated around large, open deep-water beaver ponds.” Nied and Jones, 2008. In
   2008, CNHP documented improvements to the site condition, “The site appears to be recovering
   from past grazing with more native species cover and less trampling and livestock use than the
   last survey in 1995.” Ibid.



                                                    169

                                                                          Rvsd Plan - 00005435
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 344 of 475




   Another 2-mile segment of the Rio Grande is located within the Pole Creek PCA, also a B3 high
   biodiversity site. The mapped site is based on field inventories from 2002 and a 2008 survey of
   critical wetlands and riparian corridors in Hinsdale County. Lyon and Culver. 2002. See also
   Neid and Jones, 2008. According to CNHP, the site is drawn for good (B-ranked) occurrences of
   two globally vulnerable (G3/S3) riparian plant communities, Booth's willow (Salix boothii) /
   mesic forbs shrubland and Wolf's willow (Salix wolfii) / mesic forbs shrubland.

   The uppermost 4 miles of this segment is within the Weminuche Wilderness, starting at Stony
   Pass. There are no private lands along the entire 15-mile segment from Stony Pass to just above
   Rio Grande Reservoir.

   Outstandingly remarkable values along the segment include wildlife, scenery, recreation,
   geology, and botanic/vegetative communities. The area likely receives use by lynx. It may
   provide denning habitat, and help foster movement between the RGNF and the San Juan
   National Forest. See DEIS at 490. The scenic values include a broad, sweeping U-shaped glacial
   valley with abundant beaver ponds and beaver lodges. The volcanic cliffs of Pole Creek
   Mountain provide a further scenic backdrop to the river corridor. Recreation values include a
   remarkable sense of isolation, emphasized by the fact this is the most remote location on the Rio
   Grande National Forest, as noted at DEIS p. 490. Scenic driving, dispersed camping, and fishing
   are all recreational activities enhanced by the setting of the valley. The geologic values include
   the textbook glacially scoured valley, which creates the conditions for abundant beaver ponds
   and a robust wetland system. The river corridor includes the northern topographic wall of the Ute
   Creek caldera and excellent exposures of the Ute Ridge Tuff. Colorado Natural Heritage
   Program has well documented the significant biodiversity value inherent in four miles of the
   segment mapped within sites of high biodiversity value primarily for outstanding condition of
   the montane riparian plant communities.

   We strongly encourage re-evaluation of the upper Rio Grande’s eligibility under as a Wild and
   Scenic River, and suggest that it easily qualifies as a scenic or recreational river segment.


   The draft plan revision notes (at 158) that additional stream segments were reviewed for possible
   wild & scenic eligibility, but that none of those segments warrant a finding of eligibility. We
   disagree with that blanket conclusion and call on the forest to more thoroughly review the
   outstandingly remarkable values found on many of those segments.

   In keeping with the planning rule requirement to consider best available scientific information,
   the forest should reconsider wild & scenic eligibility in relation to key species and plant
   communities, as provided by Colorado Natural Areas Program, Natural Heritage Program,
   Rocky Mountain Wild, among others.


                                                  170

                                                                       Rvsd Plan - 00005436
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 345 of 475




   The Colorado Natural Heritage Program (CNHP) published, in April 2016, a relevant report, Fen
   Mapping in Rio Grande National Forest. That report defines fens as ground-water fed wetlands
   that typically support sedges and low stature shrubs, and identifies potential fen areas within the
   forest, including a total of 2,532 likely fen areas in the forest. The report highlights in particular
   three watersheds with very high numbers of likely fens: Elk Creek; Headwaters of Alamosa
   River; Ute Creek.

   While these fens rely most directly on groundwater, the interplay between groundwater and
   surface flows in streams is likely sufficient that nearby streams should be carefully studied for
   protection as part of the forest’s fen assessment. Specifically, the following streams should be
   considered or retained for wild & scenic eligibility (or, if currently eligible, should retain that
   eligibility), focusing on the possible ORVs of fens and related plant communities:

   Elk Creek watershed
          • Elk Creek
          • Rio Colorado
          • South Elk Creek

          Alamosa River Headwaters
          • Bitter Creek
          • Cascade Creek
          • Cataract Creek
          • Iron Creek
          • Gold Creek
          • Prospect Creek
          • Treasure Creek

           Ute Creek watershed
           • East Ute Creek
           • Middle Ute Creek
           • West Ute Creek
           • Ute Creek


   The following alpine streams should be more carefully studied or retained for wild & scenic
   eligibility (or, if currently eligible, should retain that eligibility), focusing on stream-supported
   wetlands and the plant communities they support in order to recognize and protect those values:

           • Benito Creek


                                                    171

                                                                          Rvsd Plan - 00005437
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 346 of 475




           • Halfmoon Creek
           • Machin Creek
           • headwaters Middle Fork Saguache Creek
           • headwaters South Fork Saguache Creek
           • Spring Creek
           • Twin Peaks Creek
           • Wannamaker Creek
           • Whale Creek

           • Adams Fork
           • North Fork (Conejos)
           • Middle Fork (Conejos)
           • Rito Azul

           • Mesa Creek
           • Rito Hondo
           • Spring Creek
           • Willow Creek

           • Bear Creek
           • Pole Creek
           • Rio Grande above Rio Grande Reservoir
           • West Fork Pole Creek

   When considering streams for wild & scenic eligibility study, the forest should reference CNHP
   listings of riparian-dependent rare plants in the vicinity. For RGNF, these may include Barneby’s
   fever-few, blue-eyed grass, Bodin milkvetch, broadfruit, bur-reed, Colorado watercress, marsh­
   meadow Indian-paintbrush, mud sedge, slender spiderflower, small-winged sedge.

   The forest should also use data and analyses prepared by CNHP for Potential Conservation Areas
   location within the forest, including reports entitled Adams Fork of Conejos River, Baca Grande
   and Reserve, Conejos River at Platoro, Conejos River at Spectacle Lake, Conejos River Springs,
   El Rito Azul, Elephant Rocks, Great Sand Dunes, Pole Creek, Ra Jadero Canyons, Rio Grande at
   Pole Creek Mountain, Rito Hondo Creek, Saguache Creek, Sangre de Cristo Creek, Sangres
   Alluvial Fan, South Fork of the Conejos River and Hansen Creek, Upper Medano Creek, Upper
   Pole Creek, and Zapata Falls.

   The forest should also evaluate for wild and scenic eligibility streams that contain Rio Grande
   cutthroat trout, or that once contained that fish, or that contain habitat suitable to assisting with
   that fish’s recovery. Additional information for this purpose is available in the Rio Grande


                                                     172

                                                                           Rvsd Plan - 00005438
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 347 of 475




   Cutthroat Trout Conservation Strategy 2013, and the Conservation Agreement for Rio Grand
   Cutthroat Trout 2013, both prepared in cooperation among the states of Colorado and New
   Mexico and the U.S. Forest Service.

   Wild & scenic eligibility should also be reconsidered for Lake Fork Conejos River, similar as it
   is to other wild & scenic-eligible forks of the Conejos River.

   The revised plan should correct management prescription errors applied, in the 1996 plan, to
   wild & scenic-eligible Saguache Creek, which was classified as wild. While other wild­
   classification eligible streams included in the 1996 plan are currently managed under 1.5 Eligible
   Wild River, seven miles of Saguache Creek are managed under 3.4 Eligible Scenic River. This
   discrepancy in management prescriptions has consequences relative to mineral withdrawal, oil &
   gas leasing, ROS, motorized travel, and roadless status (including distinction between upper and
   lower tier roadless). The new plan should affirm the wild classification of eligible Saguache
   Creek and ensure that is managed as wild-eligible.


   XV. SOCIO-ECONOMIC ISSUES

   The following is our response to DEIS 270-290:


   The Rio Grande is considered to be one of the most remote forests in the southern Rockies and
   the deferred maintenance backlog has been impacting the Forest since the budgets starting
   declining in 1996. This situation is creating its own set of challenges that the Planning team has
   to contend with moving forward.

   The good news is, the RGNF has always been considered a place for remote adventure, solitude,
   scenic corridors and backways. Further inaccessibility to some remote areas may be a worthy
   attribute in some cases and might be looked at as a planning opportunity or tool, instead of an
   obstacle.

   There is still plenty of access to the Forest, with its 156 developed recreational sites and over
   3,000 miles of roads and trails. That said, it is understood that safety, access to fire mitigation,
   downed timber, and the ability to travel to existing infrastructure continue to be of major
   concern.

   These comments are not intended to minimize the responsibilities that the Forest Service faces,
   but to accept the current and expected budget limitations, and to maximize (people) management
   effectiveness by focusing efforts on the areas where populations are more likely to concentrate.

   The contribution of volunteer hours for the Rio Grande is impressive, 45,740 hours. We will
   most likely see these volunteer hours grow over the next decade. Management of volunteers and
   citizen monitoring will become a very important tool for the RGNF, so steps need to be taken

                                                     173

                                                                           Rvsd Plan - 00005439
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 348 of 475




   through the planning process to prepare for this investment of citizenry, which will include
   setting up some kind of training infrastructure.


           The following responses are editing considerations in the draft Plan:
   For starters, the Contents table does not include the italicized titles under listed sections (making
   it hard to retrieve some important content)

   For example ---270-273 — Under Sustainable Recreation Opportunities “Overview” is listed, but
   the titles underneath it are not.

   1. “Recreation Opportunity Spectrum” is an important concept but you can’t find it in the
   Contents table.

   2. We understand that the Contents table is long, but to better clarify, it needs to include the
   following:

   Sustainable Recreation Opportunities, Access, Use, Settings
    Overview
      Sustainable Recreation
      Recreation Opportunities Spectrum
      Application of the Opportunities Spectrum
    Affected Environment, Existing Conditions, and Trends

   333 — Area ofInfluence (re_ferred to in tables as “Social and Economic Area ofInfluence ”)
   This is the broader 16-county area. We understand having to use it because that is the area
   reported on in the National Visitor Use Monitoring program. This may be the only way to get
   visitation data. That’s fine, but it makes the analysis more confusing and not sure how useful it
   actually is because the broader area may not reflect the actual impact to the RGNF.

   San Luis Valley counties are included in the “secondary area of influence”. We are not sure
   how connected the SLV counties are to the larger 16-county geography. Also, Hinsdale County
   is added on to the SLV mix, but Hinsdale more likely relates to the Gunnison area.

   347 — Table 92. Forest value that is important to the American public:
   There is no mention that the forest is an important carbon sink to offset global warming.
   Ecosystem Services is not being given its just due here.

   349 — Table 98. Factors of economic sustainability in the Forest’s area of influence:
   Rio Grande County is categorized as “Nonspecialized” under the Economic Dependence
   Typology. But it may reflect more “farm dependence.”

   351-352 — The concepts of “Creative Class Employment”, Measure of Productivity”, and
   “Economic Diversity” are interesting ways to analyze the forest influence, but aren’t they more
   for urban areas?



                                                    174

                                                                          Rvsd Plan - 00005440
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 349 of 475




   355 — Figure 21. Should be in color

   358-359, Under Multiple Uses and Ecosystem Services, concept of “Final Ecosystem Goods and
   Services”. It appears that the Forest Service is trying to say the “Final Ecosystem Goods and
   Services” are only important for “people who obtain benefits from nature”, but the fact that these
   basic ecosystems are essential to maintaining the presence of the forest itself, and all the benefits
   thereon, is overlooked.

   As the reader plunges further into the document, it is clear that wherever the authors had a
   chance to put ecosystems on par in forest management with other factors, they failed to do so.

   361 — Saleable Minerals — Should also include gravel for road construction and not just stones
   for rock collectors.

   372 — “San Juan County used the majority of its water for aquaculture” --- can this be true?

   374 (and previous pages) — There is nothing about birding as a bonafide recreational activity.

   375-376 — Forest Service Presence in the Community
   Estimates seem too small, and so much more could be added. It is questionable if everything that
   should have been counted has been counted. This very important summary information should
   be given more prominence in the document. It is not clear if these estimates relate only to the 5-
   county SLV area of influence. Also, the forest contribution as the origin of water supply to the
   region for agriculture and everything else has not been given its just due.

   377 --- It is not clear what the “Key ecosystem services” are.

   Discussion of plan alternatives can get confusing, but thanks for trying. It would be ideal if the
   Forest Service would just come out and say Alternative D is best for ecosystem management and
   sustainability to keep the forest intact.

   384 — County-Level Summaries
   Seeing this analysis county-by-county is the best way to “ground-truth” the massive amount of
   examination given in the document. But it appears these county profiles are viewed through the
   eyes of the typology constructs, which is a strange sort of view to base analysis on.

   384-385 --- Alamosa County
   “The Direct Basic percentage may be the lowest among the 7-county area of influence”, but the
   absolute amount of direct may represent a very large share of all the direct in the 7-county area.

   387-388 --- Conejos County
   The context that Conejos County is “more diverse” does not make sense, in relation to the other
   SLV counties. Is this a mistake? Also, why are tourism predictions so pessimistic in this and
   other counties?




                                                    175

                                                                         Rvsd Plan - 00005441
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 350 of 475




   Overall, this section had a lot of very good, useful information. We applaud the authors for
   trying to examine the economy and forest influence from multiple data sources, but in doing so,
   it appears to be confusing, probably to most readers, and no clear conclusions can be reached.
   The challenge appears to be in tying this information and creating a conclusive summary. For
   example, we know what the Forest budget is, but we do not have a clear understanding of how
   much the Forest gives back, which is significant.

   It would be great to be able to tie this together, because the RGNF does so much for the region
   and the headwaters of the Rio Grande. It would be great to be able to say, for every dollar spent
   by the tax payer, the multiplier effect brings in another $xx.00 to the region.


   XVI. ADDITIONAL CONCERNS

   The DEIS section on Congressionally designated trails (id. at 288-290) does not disclose much
   of the impacts of the alternatives on the corridors for the Continental Divide National Scenic
   Trail and the Old Spanish National Historic Trail. Management such as salvage logging could
   adversely affect the CDNST corridor.

   DEIS p. 7 states that people in Custer County rely on the RGNF for recreation activities,
   firewood gathering, etc. However, Custer County is on the far side of the Sangre de Cristo
   mountain range. It is thus unlikely that many people from there get to the RGNF for firewood
   gathering, and only occasionally do they come to the RGNF for recreational activities.

   There are no totals of the columns in DEIS Table 14, p. 46.

   In Table, p. 40, it is not clear if prescribed fire is allowed in MA 1.1a, or if off-road game
   retrieval is allowed in MA 4.21.

   ON DEIS 106, a discussion of fire suppression states that when factors are not properly aligned,
   “fires are not typically not successfully suppressed.” We assume that to convey the proper
   meaning here, one of the “not”s should be deleted.

   On DEIS p. 234, what is meant by the following, which appears in a discussion of small game
   hunting: “Some bird species may only be hunted with hawks and falcons”?

   On DEIS p, 260, the definitions for scenery that is “moderately altered” or “heavily altered” both
   read “A viewshed where no more than 20 percent of the area is visually modified” in the
   footnote to Table 63. If this is the case, then there is no difference between moderately and
   heavily altered. The proper definitions, whatever they are, should be described here.



                                                    176

                                                                          Rvsd Plan - 00005442
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 351 of 475




   In the DEIS section describing proposed special interest areas, no acreage figure is given for the
   proposed Cumbres and Toltec National Historic Landmark SIA. See id. at 313. There is also no
   acreage given for this area in DEIS Table 28 at 84.

   DEIS suitability Tables 7 for alternative B (DEIS at 40), indicates that communication sites are
   not allowed in seven MAs: Wilderness, recommended wilderness, wild/scenic/recreational river
   segments, RNAs, SIAs, and the two roadless MAs. (The same for alternative D, which also
   would not allow them in MA 3.3. Id. at 42.)

   We agree with and support this determination. The construction, presence, and general desired
   access (likely requiring a road in each case) to use and maintain communication sites would
   significantly detract from the predominantly natural characteristics and settings in these seven
   MAs. Although the development of all communication sites is subject to project level review, we
   support the determination to prohibit communication site development in these seven areas. In
   fact, this should be a plan component, with a forest-wide standard prohibiting communication
   sites in these areas, or with such a standard in each of the MAs.

   We believe these areas should remain unsuitable to communication site development, even if the
   Forest re-evaluates the suitability of its lands to support these sites in the future. (The intent to do
   the latter is stated at DEIS p. 13.)



   CONCLUSION

   Numerous changes are needed in the plan and EIS, as described above. For example,
   management direction must be much stronger, with more standards. Lands suitable for timber
   production and the long-term sustained yield quantity of timber must be recalculated, using
   proper data and realistic assumptions. Additional areas should be recommended for wilderness
   designation and designated as special areas in the proposed action.

   A comprehensive analysis of the possible impacts of climate change on management, and how
   management would interact with climate change impacts is needed. The analysis of lands
   potentially capable and suitable for livestock grazing must be corrected. The DEIS must display
   and analyze the effects on lands where oil and gas leasing could occur that would no longer be
   subject to NSO stipulations.

   The Plan must have stronger direction to protect lynx and the connectivity of this species’
   habitat.




                                                     177

                                                                           Rvsd Plan - 00005443
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 352 of 475




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   3. Ecosystem Representation Analysis Methods and Results. Submitted by The Wilderness
   Society in Oct. 28, 2016 scoping letter and reattached here.

   4. NSO MA acres analysis

   5. Map of current MA 3.3 areas lost to less protective MAs

   6. Unauthorized Motorized use in Gunnison Sage Grouse Habitat - photo map

   7. Memo from Chris French & Robert Harper to Regional Foresters Re “Clarification on
   Conservation Watersheds in Land Management Plans” (Sept. 30, 2016)

   8. Achieving Compliance with the Executive Order “Minimization Criteria” for Off-Road
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                                                  178

                                                                      Rvsd Plan - 00005444
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 353 of 475




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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 363 of 475




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                                                 190

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 365 of 475




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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 366 of 475




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                                                 192

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 367 of 475




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                                                            APPENDIX 1
                                                       SNAGS AND DOWN WOOD

   Snags and down wood were identified as key ecosystem characteristics in the assessment for
   evaluating ecological integrity. The document used in Appendix A (Plan at 153) to set snag and
   downed wood targets is over 25 years old. While some species information published around that
   time, and even before, is still relevant, much research conducted after 1992 has provided new
   information about species’ habitat requirements and characteristics. Compare the proposed plan
   recommendations with snag and down wood targets for forest-dependent at-risk species. For
   example, we find the desired conditions that outline snag metrics for spruce-fir associated
   species must be modified to better protect snag and downed wood requirements for wildlife.

   The snag recommendations in DC-VEG-1 aren’t sufficient to provide for the habitat needs of,
   for example, the American marten and boreal owl—both potential SCC. As stated above, there is
   a need to clarify the definition of “planning unit” as applied to this DC; it must apply to the
   appropriate scale, i.e., the project scale.

   A portion of Table 5 (Plan at 37): Recommended snags and downed wood for wildlife habitat and
   ecosystem processes (Spruce-fir)
                                                                           Snags                                     Downed Wood1
                                            Minimum                Minimum/Acre
             Forest Type                                                                       Minimum height
                                           diameter at            in Planning Unit                                     Tons/Acre
                                          breast height                                             (feet)

               Spruce-fir                       212                          6                           25              10-15
     2   At least 50 percent of the required snag numbers should represent the largest size classes available


   We are especially concerned about snag desired conditions in relation to boreal owl and
   American marten needs; they do not square with BASI synthesized in the RGNF’s wildlife
   overviews (RGNF undated, Martes americana; RGNF undated, Aegolius funereus) and
   additional BASI related to the marten (Hargis et al. 1999; Powell et al. 2003; Buskirk and
   Ruggiero 1994; Buskirk and Zielinski 1997; Ruggiero et al. 1998) and owl (Ryder et al. 1987;
   Hayward et al. 1987, 1993; Hayward 1994; Herren et al. 1996).

                                                                             193

                                                                                                                Rvsd Plan - 00005459
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 368 of 475




   Boreal owls are subalpine secondary cavity nesters and the largest cavity nesting species in the
   Southern Rockies (Hayward 2008). They need large snags and trees for nesting: a minimum of 9
   snags per acre at 13 inches in diameter at breast height (dbh). To enable retention of sufficient
   snags for boreal owl nesting, projects cannot manage to the minimum. The average snag size is
   25 inches dbh, and some snags must be retained at much larger diameters than 12 inches (the
   recommendation in DC-VEG-1). The American marten requires snags greater than 16 inches
   dbh.

   American martens are depended on snags and down wood. They need at least 9 snags per acre at
   >16 inches dbh and at minimum 47 logs per acre at >16 inches in diameter (see scientific
   references above).

      DC-VEG-9: When salvaging timberfollowing wildfire, retain tall snags for snag-associated
      species and snag location in the riparian management zone. (Forestwide)

   This DC is written as a standard. As written, it doesn’t meet the planning rule requirements for a
   DC or standard. This should be a standard, because it provides a constraint on protect activities.
   We state more about this below.

      DC-SCC-5: Large log (generally greater than 18” diameter) components contribute to the
      downed woody material remaining in the post-treatment environment. Log decks and slash
      piles provide supplementary habitatfeatures for marten and other forest species. (General
      Forest Geographic Area)

   Down wood related to species’ habitat characteristics tends to be measured by metrics including
   stem and log density and stem and log size vs. by weight. Table 12 on page 38 of the Terrestrial
   Ecosystems Assessment provides a down wood metric by density. We appreciate the inclusion of
   a DC that helps capture some of the understory requirements of at-risk species, e.g., the
   American marten and also Canada lynx. Including a density target to this DC is necessary to
   better assure that the plan contributes to viability and recovery of at-risk species.

      MA-VEG-10: In areas suitable for timber production, dead or dying trees (due to fire,
      insects, disease) are salvaged to recover the economic value of the wood while providing for
      ecosystem function, including but not limited to retention of downed woody material, habitat,
      and snags as well as public safety. (General Forest Geographic Area)

   To achieve DCs (with the modifications we recommend), a standard or standards and guidelines
   must be developed to put constraints on vegetation management activities that impact snag and
   downed wood retention. This is necessary to meet requirements for at-risk species. A
   management approach is not adequate to achieve this.

   The following is an example of a standard from the Flathead National Forest’s Revised Draft
   Plan of May 2016 (at 45-46) that lays out parameters for snag retention. Though we do not
   necessarily endorse the substance of the standard, it demonstrates how a standard can be written



                                                  194

                                                                       Rvsd Plan - 00005460
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 369 of 475




   to provide clearer direction to project planners and evaluative criteria for monitoring
   achievement toward the associated DC.

          In the absence of a site-specific analysis that supports an alternative prescription for
          snags or decadent live trees, timber harvest areas shall retain at least the minimum
          number of snags and/or decadent live trees displayed in table 16. The intent is to provide
          sufficient habitat both short and long term, well distributed across the landscape, for
          wildlife species associated with snags and decadent live trees, particularly those that are
          larger and longer lasting (refer to appendix C). All western larch, ponderosa pine, and
          black cottonwood snags greater than 20 inches shall be left. If present, decadent live trees
          greater than 20 inches d.b.h., especially those with evidence of wildlife use, may be used
          as a substitute for 20 inch d.b.h. snags, to achieve minimum levels in table 16. Exceptions
          to this snag retention standard may occur, for example in areas where the minimum
          number or snags or decadent live trees are not present prior to management activities;
          where there are issues of human safety (i.e., developed recreation sites); and in areas
          within 200 feet of a road that is open to firewood cutters. Refer to appendix C for
          guidance on implementing this snag retention guideline.

          Table 16. Snag levels to retain (where they exist) in timber harvest areas
           Biophysical setting                                Minimum number of snags per acre
                                                   Greater than or equal to             Greater than or equal
                                                       15 inches d.b.h.ab                to 20 inches d.b.h. c
           Warm-Dry                         3                                        1.4
           Warm-Moist                       8                                        2
           Cool-Moist/Mod. Dry              5                                        2
           Cold                             3                                        1
           a. This minimum number includes snags greater than or equal to 20 inches d.b.h.
           b. If snags greater than 15 inches are not available, then snags greater than 12 inches should be retained.
           c. If snags greater than 20 inches are not available, then additional snags or decadent live replacement trees greater than 20 inches
           d.b.h. should be left if available.


   Below is a corresponding guideline example from the Flathead National Forest’s draft plan (at
   48). Again, we do not necessarily endorse the guideline, but it illustrates a guideline that is
   linked to a specific DC and describes the intent of the guideline and constraint.

          In the absence of a site-specific analysis that supports an alternative prescription for
          downed wood retention, retain a minimum of approximately 10 tons per acre of down
          woody material greater than 3 inches in diameter within timber harvest units, where
          available. The maximum amount of total downed woody material should generally not
          exceed 35 tons per acre. Retained material should consist of the longest and largest
          available, and where possible, consist of intact pieces of a variety of species, sizes and
          stages of decay, including cull tops and cull logs. The intent is to contribute to forest
          structural diversity and provide forest components that are important to many wildlife
          species. Exceptions may occur, for example when there is insufficient material of suitable
          size prior to harvest, within developed recreation sites, or where fuel reduction is desired
          to decrease expected fire behavior (e.g., within wildland-urban interface).

   We urge the RGNF to revised its plan components related to retaining sufficient snag and down
   wood components in forested ecosystem based on key characteristics needed by at-risk species.


                                                                      195

                                                                                                      Rvsd Plan - 00005461
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 370 of 475




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                                                  196

                                                                      Rvsd Plan - 00005462
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 371 of 475




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                                                  197

                                                                       Rvsd Plan - 00005463
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 372 of 475




   December 29, 2017

   Attn: Forest Plan Revision
   Dan Dallas, Supervisor
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144
   E-mail to: rgnf forest plan@fs.fed.us

   Dear Supervisor Dallas:

   Other than the substantive comments we have already submitted, I am writing to express a
   personal comment about the importance of reviewing the conservation designations that
   were proposed in Alternative D. This includes the 285,000 acres recommended for
   Wilderness, Carnero and Jim Creek Native Fish Areas, Chama Basin Watershed Protection
   Area, the Spruce-Osier connectivity area and the expanded La Ventana Special Interest
   Area (SIA).

   The research and best available science that was applied to our original recommendations
   submitted last October 2016, was significant. I believe those recommendations totaled in
   the neighborhood of about 500,000 acres. These areas are the current unprotected gems of
   the Rio Grande Forest that provide so much value, in the form of Ecosystem Services, to our
   forest. Carbon sequestering, watershed quantity and quality, wildlife connectivity, plant
   and wildlife movement for adaptiveness; these are the values that will determine how the
   region will be able to mitigate the real human pressures that will be placed upon it over the
   next 20 years.

   There is a tremendous opportunity here, despite the political climate, to maintain the
   pristine, solitude nature of the Rio Grande Forest, especially on the San Juan mountain side,
   which is far more accessible to human fossil fuel recreation and will become more of a
   target over the next twenty years, as other adjoining Forests become more crowded.
   Couple that with the roads that will be going in to accommodate the timber industry, and
   we will have a very different looking forest in 20 years.

   Yes, the forest has changed in the last twenty years, especially with beetle kill, but that is a
   natural occurrence, in response to climate change, that will rejuvenate itself. Bringing more




                                                                      Rvsd Plan - 00005464
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 373 of 475




   recreation and humans onto the landscape will impede that ecological process, make no
   mistake.

   At the very least, please consider establishing native fish protection areas with strong
   management requirements that will help sustain and restore the native trout populations,
   which will be very important as fish are increasingly stressed by climate change and human
   activities. Designating the Chama Basin Watershed Protection Area will protect this
   remarkably scenic and unusual basin and the water it provides to New Mexico. Designating
   the Spruce-Osier wildlife corridor connecting the Carson and Rio Grande National Forests
   will ensure management focused on protecting wildlife movement and habitat
   connectivity.

   Lastly, please consider designating the expanded La Ventana SIA will protect the larger
   footprint of a significant geologic landmark that also overlaps with areas identified by
   Colorado Natural Heritage Program for unique and rare botanical values.

   While I support the array of recommended designations in Alternative D, please at a
   minimum recommend the following places for wilderness:

   Sangre de Cristo Recommended Wilderness Additions (Butterfly Creek-Miller Creek,
   Cotton Creek, Kit Carson Peak and Blanca Peak additions). Thank you for including
   these areas in Alternatives B and D. These additions will effectively extend the wilderness to
   logical landscape boundaries to protect the scenic integrity and biodiversity of the stunning
   mountain backdrop and strengthen protection for iconic and popular peaks in the Sangres.

   Wannamaker Creek-Deep Creek addition to the La Garita Wilderness (Saguache
   Ranger District). This addition includes five miles of the South Fork of Saguache Creek.
   The area is naturally appearing, and supports a broad diversity of aquatic and terrestrial
   habitats and contains a largely undisturbed hydrological regime. There are no vehicle
   routes or past management activities within the proposed wilderness addition.

   Adams Fork Addition, Three Forks addition to South San Juan Wilderness (Conejos
   Peak Ranger District). The Adams Fork trail provides outstanding hiking, backpacking,
   horsepacking, angling, and backcountry hunting. The Adams Fork addition is a documented
   high use area for lynx and was part of one of the initial core areas lynx established after
   reintroduction. It also supports a recreation population of Rio Grande cutthroat trout.

   Antora Meadows Recommended Wilderness is a critical area for regional wildlife
   connectivity and conservation that will help fill the largest gap in protected areas in the
   Southern Rockies between La Garita Wilderness on the south and Collegiate Peaks and
   Sangre de Cristo Wilderness areas to the north. Protecting it will increase ecosystem



                                                                     Rvsd Plan - 00005465
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 374 of 475




   functions currently under-represented in the wilderness system, as well as conservation of
   imperiled or at-risk species: Rio Grande cutthroat trout; and habitat for lynx, wolverine,
   and Mexican spotted owl. In addition, it’s got lots of trails and is great for recreation.

   Saguache Creek Recommended Wilderness is mainly grasslands and ponderosa pine,
   low-elevation ecosystems that desperately need more representation in the wilderness
   system. Like Antora Meadows, it also helps fill in major gaps in regional protected area
   networks and offers outstanding recreation. The recommended area includes seven miles
   of an eligible wild river.

   Designating recommended Wilderness areas, wildlife habitat connectivity areas, native fish
   areas, and other SIAs will mean that these areas would not see industrial activities for the
   duration of the land management plan. It is especially important to me that oil and gas
   surface development is not allowed in these places to protect their special values.

   It is also important to me that the plan have enforceable provisions to protect water,
   wildlife, and other resources. In the face of ever-increasing threats of resource extraction
   and over-development, I urge you to safeguard these high value conservation lands now to
   protect our local economy, natural heritage, opportunities for outdoor recreation, and
   livelihood for future generations.

   One last comment, I just want to say that it irks me when people refer to environmental
   organizations as an “interest group”. We are representing everyone, whether they care for
   our representation or not. It’s unfortunate that we live in such an uneducated culture, in
   terms of natural resource impacts and the cause and effect of human activities.

   It’s not about what we say, it’s about what science is telling us. Please be courageous with
   this plan, and consider long term impacts and creating the opportunity for the Forests
   ability to adapt, that’s real adaptive management.

   Sincerely,




   Christine Canaly
   Director, San Luis Valley Ecosystem Council
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                                                                    Rvsd Plan - 00005466
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 375 of 475




 jcp                    Journal of Conservation Planning Vol 12 (2016) 1 - 7



Snowmobile Best Management Practices for Forest Service Travel
Planning: A Comprehensive Literature Review and Recommendations
for Management - Introduction to Snowmobile Management and Policy
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ABSTRACT: Wintertime backcountry recreation, including snowmobiles, is a large and rapidly growing use on National
Forest System lands. As the number of participants increase, so does the potential for conflict between motorized and non­
motorized uses, as well as impacts to natural resources such as wildlife, water quality, soils, and vegetation. The USDA
Forest Service has started travel analysis across forests in the snow-belt region, which will determine where motorized use
is allowed, restricted and prohibited for decades to come. For planning to be effective, managers and conservationists
must have access to the most recent data on the impacts of snowmobiles and need to be aware of successful management
strategies for mitigating those impacts. The next four articles review the environmental and social impacts of winter motorized
recreation and present a set of best management practices (BMPs). Article 1 provides context and describes the current
state of management and policy governing snowmobiles. Article 2 reviews water quality, soils, and vegetation research
and presents BMPs to reduce the impacts to these resources. Article 3 reviews research on the impact of snowmobiles on
wildlife and presents BMPs to address those impacts. Article 4 reviews the growing conflict between non-motorized users
and snowmobile users and presents BMPs to mitigate this conflict. Applying these BMPs will lead to a more socially and
environmentally sustainable system of motorized and non-motorized routes and areas on National Forest lands.



Keywords: Travel planning, snowmobiles, best management practices, BMPs, winter recreational use conflict, wildlife,
water quality, soils, vegetation, USDA Forest Service




                                                               1
                                                                                     Rvsd Plan - 00005467
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 376 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 1 - 7


INTRODUCTION                                                        These advancements and changes in use patterns have
                                                                    led to increased user conflicts and negative impacts on
Winter backcountry recreation is a popular and steadily             natural resources.      Snowmobiles can impact wildlife,
growing activity on USDA Forest Service (Forest Service)            resulting in declines in animal health, fragmentation, and
lands. Undeveloped skiing (including backcountry skiing,            potential population declines (Gaines et al. 2003). Water
cross country skiing, and snowshoeing) is projected to              quality, vegetation, and soils can also be greatly affected
be one of the top five fastest growing activities on Forest         - especially in more sensitive alpine environments.
Service lands within 50 years (Figure 1). In one scenario,          Hundreds of research papers and monitoring reports have
the number of participants in undeveloped skiing is                 quantified these impacts and have been summarized in a
predicted to double - reaching 16 million participants by           number of recent literature reviews (e.g., Stokowski and
2060 (Cordell 2012). Motorized snow activities, including           LaPointe 2000, Gaines et al. 2003, Baker and Bithmann
snowmobiling, are forecasted to grow as well, albeit at a           2005, Davenport and Switalski 2006, Ouren et al. 2007,
slower rate. Overall, more than 20 million people participate       USDI NPS 2011, WWA 2014).
in some form of backcountry winter recreation on National
Forest lands each year (Cordell 2012).
                                                                       Figure 1: Percent growth in projected number of participants
                                                                      in undeveloped skiing and motorized snowsports on Forest
Snowmobilers and skiers often seek out the same winter                Service lands in three model scenarios, 2008-2060 (adapted
backcountry setting, looking for similar experiences such             from Cordell 2012).
as solitude, fun, and the enjoyment of the natural beauty
of the mountains. As motorized and non-motorized winter
recreation grows on Forest Service lands, so does the
potential for conflicts between the two user groups and
impacts on natural resources. In terms of recreation
                                                                                                                      ■ Scenerio A
opportunity, snowmobile use adversely impacts the
recreation experience sought by many non-motorized                                                                    ■ Scenerio B
users, while the reverse is rarely true. Motorized recreation
will displace non-motorized users where use is heavy.                                                                 ■ Scenerio C
                                                                                 Undeveloped          Motorized
This has occurred in numerous places. Where actual                                  Skiing             Sports
displacement does not occur, conflicts among users still
arise from snowmobile use; the associated noise and
fumes often creates annoyance for non-motorized users -             Snowmobile Management
especially if they are seeking quite solitude.
                                                                    In recent years, the Forest Service identified “unmanaged
Additionally, advancements in technology and changes                recreation” as one of the four threats to the health of National
in use patterns of both user groups have increased the              Forests (Bosworth 2003). On most forests, snowmobile
need for proactive management. In the early years,                  activity was never formally planned or expected, but
snowmobiles were relatively slow and limited to groomed             resulted from a default policy of allowing motorized use.
trails; today’s snowmobiles can go off-trail and up very            This stance arose primarily due to the absence of a
steep slopes. “High marking” steep alpine bowls is now a            compelling reason to close or restrict motorized access,
popular riding technique, and modified motorcycles with a           as it was already deemed self-limiting due to extreme
tread and ski allow riders to negotiate even heavily wooded         terrain challenges and limitations of current technologies
areas. Backcountry skiers and snowboarders also have                of the time. As a result, more than 70 percent or 81 million
seen their sports evolve through technological changes in           acres in the western snowbelt forests are open to potential
gear, making it easier for skiers and snowshoers to climb           snowmobile use (Rivers and Menlove 2006, Figure 2).
and descend mountains in the deepest of winter, thus                While skiers (including cross country, backcountry, and
accelerating the trend of increased user participation and          snowshoers) outnumber snowmobiles on National Forest
demand.                                                             System lands (USDA FS 2014a), significantly more


                                                                2
                                                                                        Rvsd Plan - 00005468
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 377 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 1 - 7


acreage and trail miles are available for winter motorized          resources and minimize conflicts between motorized
recreation (Rivers and Menlove 2006, Figure 2). Of the              and non-motorized communities. The Executive Order
30 percent or 35 million acres closed to snowmobiles,               continues to be the primary legal authority guiding off-road
two-thirds are in designated Wilderness Areas where all             vehicle designations on public lands.
motorized use is legally prohibited, but where human-
powered winter recreation opportunities are often difficult         Executive Order 11644
or impossible to access. Furthermore, numerous existing
trailheads are weighted towards snowmobile recreation.                Section 3. Zones of Use. (a) Each respective agency head
The legacy of this unplanned “allocation” is widespread               shall develop and issue regulations and administrative
open allocation for winter motorized use that is often not            instructions, within six months of the date of this order,
based on historical use patterns or any specific rationale.           to provide for administrative designation of the specific
Furthermore, significant displacement of non-motorized                areas and trails on public lands on which the use of
users has occurred as snowmobiles expand their reach,                 off-road vehicles may be permitted, and areas in which
aided by ever-increasing technological advancements                   the use of off-road vehicles may not be permitted, and
(e.g., Stokowski and LaPointe 2000, Manning and Valliere              set a date by which such designation of all public lands
2001, Adams and McCool 2010). Addressing this allocation              shall be completed. Those regulations shall direct that the
disparity is critical to addressing recreational use conflict         designation of such areas and trails will be based upon the
(Adams and McCool 2010).                                              protection of the resources of the public lands, promotion
                                                                      of the safety of all users of those lands, and minimization
                                                                      of conflicts among the various uses of those lands. The
                                                                      regulations shall further require that the designation of such
  Figure 2: Acres open and closed to snowmobiles on National
                                                                      areas and trails shall be in accordance with the following—
  Forests in the western snowbelt region (reprinted with
  permission from Rivers and Menlove 2006).
                                                                      (1) Areas and trails shall be located to minimize damage
                                                                      to soil, watershed, vegetation, or other resources of the
                                                                      public lands.

                                                                      (2) Areas and trails shall be located to minimize harassment
                                                                      of wildlife or significant disruption of wildlife habitats.

                                                                      (3) Areas and trails shall be located to minimize conflicts
                                                                      between off-road vehicle use and other existing or
                                                                      proposed recreational uses of the same or neighboring
                                                                      public lands, and to ensure the compatibility of such uses
                                                                      with existing conditions in populated areas, taking into
                                                                      account noise and other factors.

Main Authorities Governing the Management of                          (4) Areas and trails shall not be located in officially
Snowmobiles in the National Forest System                             designated Wilderness Areas or Primitive Areas. Areas
                                                                      and trails shall be located in areas of the National Park
In the early 1970s, management of snowmobiles and                     system, Natural Areas, or National Wildlife Refuges
other motorized uses on public lands was inconsistent.                and Game Ranges only if the respective agency head
However, after a series of ecological research findings and           determines that off-road vehicle use in such locations
a rising need for conflict management, President Nixon                will not adversely affect their natural, aesthetic, or scenic
signed Executive Order 11644 on February 8, 1972. This                values.
order charged federal land managers with developing and
issuing regulations to manage off-road vehicles, including          In 1977, President Carter signed Executive Order 11989,
snowmobiles, specifically to minimize damage to natural             which amended and strengthened EO 11644 by giving



                                                                3
                                                                                       Rvsd Plan - 00005469
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 378 of 475



                            Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 1 - 7


federal public land managers the authority to close a                  the designation of roads, trails, and areas where over-snow
motorized route or area if current access “will cause or is            vehicle (OSV) use is allowed, restricted, or prohibited. A
causing considerable adverse effects” to natural resources:            final winter travel rule is expected in the near future. In
                                                                       the coming years, areas that receive enough snow to
Executive Order 11989                                                  support winter recreation will be required to have a system
                                                                       of designated routes and areas for winter motorized use,
  Section 9. Special Protection of the Public Lands.
                                                                       providing opportunity for public input as they do so. The
  (a) Notwithstanding the provisions of Section 3 of this
                                                                       BMPs presented in the next three articles are designed
  Order, the respective agency head shall, whenever he
                                                                       specifically to aid in the process of OSV route and area
  determines that the use of off-road vehicles will cause
                                                                       designation, and to improve management and monitoring
  or is causing considerable adverse effects on the soil,
                                                                       on Forest Service lands.
  vegetation, wildlife, wildlife habitat or cultural or historic
  resources of particular areas or trails of the public lands,
  immediately close such areas or trails to the type of                Best management practices (BMPs) for
  off-road vehicle causing such effects, until such time               minimizing impacts from snowmobiles
  as he determines that such adverse effects have been
  eliminated and that measures have been implemented                   Best management practices provide science-based criteria
  to prevent future recurrence.                                        and standards that land managers follow in making and
                                                                       implementing decisions that affect natural resources and
   (b) Each respective agency head is authorized to adopt
                                                                       human uses. BMPS are usually developed for a particular
  the policy that portions of the public lands within his
                                                                       land use (e.g., road building and maintenance) and are
  jurisdiction shall be closed to use by off-road vehicles
  except those areas or trails which are suitable and                  based on the best available science, legal obligations, and
  specifically designated as open to such use pursuant to              pragmatic experience (Switalski and Jones 2012).
  Section 3 of this Order.
                                                                       While some BMPs currently exist for snowmobile use,
                                                                       they are presented in a piecemeal, resource-specific
Travel Management Rule (TMR)                                           fashion, or only provide guidelines for trail building and
                                                                       maintenance.      For example, the Forest Service has
Over the last few decades, impacts resulting from                      created BMPs for protecting water quality on its lands and
unmanaged off-road vehicle use and the growth of non­                  gives some guidance on how to minimize impacts related
motorized backcountry recreation on National Forest                    to snowmobile route planning (USDA FS 2012). The Forest
System lands have led to a renewed effort to comply                    Service - as well as other land management agencies -
with the Executive Order direction. In 2005, the Forest
                                                                       also has guidance to pursue environmental collaboration
Service promulgated the Travel Management Rule (TMR)
                                                                       and conflict resolution in addressing land management
to govern the management of summer and winter off-road
                                                                       challenges generally (OMB CEQ 2012). The practice of
vehicle systems. Subpart B of the TMR requires the Forest
                                                                       collaboration and conflict resolution has been an increasing
Service to have a designated summertime off-road vehicle
                                                                       trend in recent years. For environmental collaboration to
system, while subpart C allows but does not require the
                                                                       be successful, several key aspects have been identified,
Forest Service to designate a wintertime off-road vehicle
system.                                                                including: balanced stakeholder representation, clear
                                                                       goals and objectives, information exchange, and
In 2013, a Federal court found that subpart C failed to comply         shared decision-making (Schuett et al. 2001). As the
with the direction in the Executive Order to designate a               Forest Service begins travel planning, a comprehensive
system of trails and areas that minimize impacts to natural            framework is essential to help managers implement the
resources and conflicts. In response, the Forest Service               mandate to minimize social and environmental impacts in
in 2014 issued a draft amendment to the TMR requiring                  designating winter motorized routes and areas.




                                                                   4
                                                                                         Rvsd Plan - 00005470
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 379 of 475



                            Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 1 - 7


The next three articles present the best available science
for studying the impacts of snowmobiles on recreation                   Table 1: Examples of adaptive management monitoring:
use conflict and natural resources including water quality,             affected resource, indicator, and monitoring method
                                                                        identification in Yellowstone National Park (reprinted from
soils, vegetation, and wildlife. Building off of the literature
                                                                        USDI NPS 2013).
and existing recommendations from researchers and
managers, a framework is outlined for the minimization of
snowmobile impacts. These best management practices                                                                Preliminary
                                                                       Affected
                                                                                             Indicator             Monitoring
(BMPs) provide guidelines to help Forest Service managers              Resource
                                                                                                                   Methods
designate appropriate routes and areas as open, and to
close inappropriate routes and areas. Additionally, these              Air Quality at the                          Fixed site moni­
                                                                                             Levels of: CO,
practices provide guidance on managing snowmobile use to               West Entrance                               toring for CO,
                                                                                             PM10, and NO2
be consistent with the Executive Orders minimization criteria          and Old Faithful                            PM10, and NO2
and the Forest Service Travel Management Rule.                                               Audibility:
                                                                                             decibel levels        Could include
                                                                                             (dBA) in terms of     audibility
Monitoring, enforcement, and funding                                   Soundscape
                                                                                             magnitude and         logging, digital
                                                                       directly
                                                                                             duration (con­        recordings, and
Implementing the BMPs presented here will help create a                adjacent to park
                                                                                             stant sound level     sound pressure
                                                                       roads
more sustainable and manageable system of routes and                                         or Leq) sound is      level measure­
areas that will limit impacts to natural resources and use                                   audible over an       ment
                                                                                             8-hour period
conflicts. Key to any management action is monitoring
the success or failure of a project or program and adapting                                                        Visitor survey
the management strategy to reach the goal or objectives.               Visitor
                                                                                             Satisfaction          (pending OMB
                                                                       Experience
Accordingly, the BMPs rely heavily on monitoring to ensure                                                         approval)
they are indeed reducing negative social and environmental
                                                                                             Wildlife behav­
impacts. Once management actions are implemented,                      Wildlife on or                              Observational
                                                                                             ioral responses
enforcement is essential for the success of any management             near roads                                  studies
                                                                                             to OSV
plan (Adams and McCool 2010). It is also very important
that the Forest Service allocates adequate funding and
resources to undertake travel planning efforts (Yankoviak             Climate Change
2005, Adams and McCool 2010). Education and outreach
programs that reduce conflict between uses and increase               Today’s land managers have to plan in the context of a
compliance have also been implemented (Lindberg et al.                rapidly changing climate. This includes addressing rising
2009, USDI NPS 2013). However, data is limited on the                 temperatures, thinner snow packs, more intense storms,
success of these programs, and such efforts may need to be            increased number of freeze/thaw cycles, and more rain-
supplemented with monitoring and enforcement of existing              on-snow events which can damage trail systems and add
regulations.                                                          additional management challenges (IPCC 2013). These
                                                                      changes in snow conditions as well as a receding snowpack
Yellowstone National Park has developed an extensive                  and earlier spring run-off will alter future winter backcountry
adaptive management program following the implementation              recreation use patterns.
of its winter use plan (USDI NPS 2013). Land managers
identified key resources affected by motorized recreation,            With fewer or smaller areas available (and possibly a
indicators for measuring their effects, and the most                  shortened timeframe with good snow conditions), use will
appropriate monitoring methods (Table 1). Using this                  be concentrated, which may lead to increased crowding,
framework, they are able to revisit management decisions to           recreational conflict, and resource damage. For example,
determine if they are effectively mitigating use conflicts and        it is becoming more commonplace for snowmobiles to
environmental concerns in the Park.                                   travel on dry roadbeds or snow-free trails to access the




                                                                  5
                                                                                            Rvsd Plan - 00005471
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 380 of 475



                          Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 1 - 7


receding snowline. This direct contact with the ground can         ACKNOWLEDGEMENTS
cause soil compaction, erosion, and water quality issues
and lead to a whole new set of management concerns.                This article was improved upon by thoughtful reviews from
In another example, grizzly bears may leave their dens             John Adams, Hilary Eisen, Allison Jones, Cailin O’Brien-
earlier as climate changes, making previous seasonal               Feeney, Chris Gaughan, Mark Menlove, Sarah Peters,
management decisions obsolete. The trails themselves will          Robert Rowan, Vera Smith, and two anonymous reviewers.
need increased maintenance such as grading and clearing
obstacles during snow-free months, upgrading culverts,
building larger bridges, and moving routes from areas
                                                                   LITERATURE CITED
prone to flooding or rapid melting. The quality of snow, the
                                                                   Adams, J.C., and S.F. McCool.    2010. Finite Recreation
number of days with good snow conditions, and quality of
                                                                   Opportunities: The Forest Service, the Bureau of Land
recreation experience may also be altered in some regions
                                                                   Management, and Off-Road Vehicle Management.     Natural
as there are more freeze-thaw cycles. To preserve quality
                                                                   Resources Journal 49:45-116.
recreation opportunities and minimize natural resource
damage, land managers should consider the impacts of a             Baker, E., and E. Bithmann. 2005. Snowmobiling in the Adirondack
changing climate when developing management direction.             Park: Environmental and Social Impacts. St. Lawrence University,
                                                                   Canton, NY.        http://it.stlawu.edu/~bart/Barthelmess/CB2005_
                                                                   final_papers/pdfs/snowmobiles.pdf
CONCLUSION
                                                                   Bosworth, D. 2003. Four Threats to the Health of the Nation’s
The growing number of winter backcountry users has                 Forests and Grasslands. USDA Forest Service, Washington, D.C.
increased recreational use conflicts and negative                  http://www.fs.fed.us/projects/four-threats
impacts on natural resources. Climate change may
also restrict where winter recreation takes place, further         Cordell, H.K. 2012. Outdoor recreation trends and futures: a
concentrating use and associated impacts. As the Forest            technical document supporting the Forest Service 2010 RPA
Service begins formally addressing winter recreation               assessment. General Technical Report SRS-150. USDA Forest
though OSV travel planning and determines where                    Service, Southern Research Station. Asheville, NC. http://www.
motorized use is allowed, restricted, and prohibited, it           treesearch.fs.fed.us/pubs/40453
is essential that land managers have the best available
science to guide their important decisions. Furthermore,           Davenport, J., and T.A. Switalski. 2006. Environmental Impacts
several management strategies have already been found              of Transport Related to Tourism and Leisure Activities. In: J.
to successfully mitigate these impacts.                            Davenport and J. Davenport (eds.) The Ecology of Transportation:
                                                                   Managing Mobility for the Environment.        Kluwer Academic
This series of articles presents the best available science        Publishers. Dordrecht, Netherlands. P. 333-360.
on the impacts of snowmobiles.            Based upon this
                                                                   Gaines, W.L., P.H. Singleton, and R.C. Ross. 2003. Assessing
research and the recommendations of researchers and
                                                                   the cumulative effects of linear recreation routes on wildlife
managers, and professional experience, a list of best
                                                                   habitats on the Okanogan and Wenatchee National Forests. Gen.
management practices has been developed. If these
                                                                   Tech. Rep. PNW-GTR-586. Portland, OR: USDA Forest Service,
BMPs are followed, they will help mitigate recreational
                                                                   Pacific Northwest Research Station. http://www.fs.fed.us/pnw/
use conflicts and minimize impacts to natural resources.
                                                                   pubs/gtr586.pdf
Once a system of routes is established and special
use areas are designated, effective enforcement and                IPCC. 2013. Climate Change 2013: The Physical Science Basis.
monitoring will be critical to the long-term success of any        Contribution of Working Group I to the Fifth Assessment Report of
management plan.                                                   the Intergovernmental Panel on Climate Change [Stocker, T.F., D.
                                                                   Qin, G.K. Plattner, M. Tignor, S.K. Allen, J. Boschung, A. Nauels,




                                                               6
                                                                                       Rvsd Plan - 00005472
 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 381 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 1 - 7



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Recreation: Causes and Consequences of Crowding and Conflict
Among Community Residents. Journal of Leisure Research                  USDA Forest Service (FS). 2012. National best management
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                                                                        lands - Volume 1: national core BMP technical guide FS-990a.
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Collaboration and Conflict Resolution. Washington, D.C.
9p.       http://georgewbush-whitehouse.archives.gov/ceq/joint-         USDI National Park Service (NPS). 2011. Scientific assessment
statement.html                                                          of Yellowstone National Park winter use March 2011.
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N.R. Sexton, L. Burris, T. Fancher, and Z.H. Bowen. 2007.               release_2011.pdf
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Land Management Lands: a literature synthesis, annotated                USDI National Park Service (NPS). 2013. Yellowstone National
bibliographies, extensive bibliographies, and internet resources:       Park winter use plan / supplemental environmental impact
U.S. Geological Survey, Open-File Report 2007-1353. http://             statement February 2013. Yellowstone National Park, Mammoth,
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                                                                        projectID=40806&documentID=51874
Rivers, K.E., and M. Menlove. 2006. Winter recreation on western
national forest lands: a comprehensive analysis of motorized and        Winter Wildlands Alliance (WWA). 2014. Environmental impacts
non-motorized opportunity and access. Published by Winter               from snowmobile use. Published by Winter Wildlands Alliance,
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content/uploads/2014/04/Winter-Recreation-on-Western-                   Environmental-Impacts-from-Snowmobile-Use.pdf
National-Forests-WWA_2006.pdf
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Work: Keys to Successful Collaboration in Natural Resource              Thesis: University of Montana, Missoula, MT.
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                                                                                            Rvsd Plan - 00005473
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 382 of 475




 jcp                   Journal of Conservation Planning Vol 12 (2016) 8 - 12



Snowmobile Best Management Practices for Forest Service Travel
Planning: A Comprehensive Literature Review and Recommendations
for Management - Water Quality, Soils, and Vegetation
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ABSTRACT: Since the seminal research of Wallace Wanek and his colleagues in the 1970s, it has been well established

that snowmobiles can negatively impact water quality, soils, and vegetation. However, while early researchers focused on

localized impacts of snowmobiles on groomed trails, today’s machines also travel off-trail and into many sensitive habitats

such as alpine cirques, meadows, and wetlands. Water quality can also be affected when spring runoff releases pollutants

stored in the snowpack - especially at staging areas. Furthermore, as snowmobiles become increasingly powerful, their

increased torque and reach creates a potential for greater impact on those resources. Based on this research and existing

management strategies, we present best management practices (BMPs) which will help protect water quality, soils, and

vegetation.




Keywords: Travel planning, snowmobiles, best management practices, BMPs, water quality, soils, vegetation, USDA Forest
Service




                                                            8
                                                                                  Rvsd Plan - 00005474
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 383 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 8 - 12


Water Quality Research                                               In areas of low or no snowpack, direct soil compaction
                                                                     can occur from snowmobiles leading to erosion (Gage
Protecting and enhancing water supply is a key mandate of            and Cooper 2009). On steep slopes - especially south
the USDA Forest Service (Forest Service), and a number               facing, or wind-swept slopes - vegetation and snow can be
of aquatic species and municipal watersheds depend on                mechanically removed from snowmobile tracks resulting
National Forests - especially in the West. For example,              in exposed bare ground (Stagl 1999). Soil compaction
most National Forest acres west of the Cascade Mountains             impacts nearly all properties and functions of soil including
in Oregon and Washington are municipal watersheds and                increased bulk density and reduced pore space leading
provide water to local communities (USDA FS 2000).                   to reduced permeability of water and air (Batey 2009).
During the winter, snowmobiles release toxins such as                This results in surface erosion, especially on steep slopes
ammonium, nitrate, sulfate, benzene, and toluene which               (Batey 2009). Soil erosion when located near streams can
accumulate in the snowpack (Ingersol 1999) and increase              also lead to localized stream sedimentation and increased
acidity (Musselman and Kormacher 2007). In the spring                turbidity. As climate change increases the number of snow­
runoff, accumulated pollutants are released as a pulse into          free days, erosion from snowmobiles will be an increasing
the soil, groundwater, and surrounding waterbodies.                  management concern.

A recent study found snowmobiles are polluting a tributary           Soils can also be contaminated when pollutants enter the
of Lake Tahoe, CA. Examining 168 different semi-volatile             soil from a melting snowpack. With inefficient engines,
organic compounds (SVOC), McDaniel (2013) found eight                snowmobiles release much of their oil gas mixture into the
to 20 times greater loadings on snowmobile trails than               snow unburned. Several pollutants have been recorded
background levels. He further reported that highly toxic             in the snowpack along snowmobile trails including
and persistent polycyclic aromatic hydrocarbons (PAHs)               ammonium, nitrate, sulfate, benzene, and toluene (Ingersol
had increased two to six times the background level in a             1999). In the spring, these pollutants are released into the
nearby stream (McDaniel 2013). Impacts on water quality              soil, creating local contamination and associated impacts.
can be especially pronounced at trailheads and staging
areas where snowmobiles congregate (USDA FS 2012).
Lakes can also be vulnerable because snow melts directly             Vegetation Research
into the waterbody without any vegetative buffer, and there
                                                                     Snowmobiles impact vegetation either through directly
is a risk of snowmobiles falling through thin ice and spilling
toxins directly into the water (USDA FS 2012).                       crushing and breaking vegetation, or through a number of
                                                                     indirect mechanisms. When traveling off-trail, snowmobiles
                                                                     often run over trees and shrubs causing damage or death
Soils Research                                                       - often with minimal snowmobile traffic. Although these
                                                                     impacts may not be environmentally significant when they
Snowmobiles can directly impact soils in a number of ways            occur in robust forest environments, they can be very
including soil compaction, erosion, and contamination.               significant when they occur in sensitive forest habit, such
When traveling in areas of low or no snow - such as such             as high mountain slopes or meadows.
as wind-swept ridges, snow-free access points, or during
periods of thin snowpack - snowmobiles can be particularly           A recent study on the Gallatin National Forest (MT) found
damaging. This may also be an increasingly common                    366 acres of trees damaged by snowmobiles on timber
situation as climate change leaves low-elevation access              sale units - slowing forest regeneration (WWA 2009, Table
points snow-free for longer periods of time. Snowmobiles             1). Trees such as white-bark pine (Pinus albicaulis), found
can also indirectly impact soils through snow compaction             only at high elevations and declining across its range, may
(Wanek 1971).        Weighing several hundred pounds,                be vulnerable to snowmobile damage. Trampling has also
snowmobiles easily compact the snow, which can increase              been found to result in a reduction in plant productivity,
snowpack density, reduce soil temperatures, increase soil            changes in the plant community, and a reduction in
freezing, and result in a later melt-out (Gage and Cooper            plant diversity (Masyk 1973, Wanek 1973, Wanek and
2009).                                                               Schumacher 1975).


                                                                 9
                                                                                       Rvsd Plan - 00005475
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 384 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 8 - 12


Compaction of the snow reduces the insulating air spaces              to protect the underlying vegetative cover and soil or trail
and conducts cold air to the ground (Wanek 1973).                     surface; use and enforce closure orders to mitigate effects
These lower temperatures can reduce plant density and                 when adverse effects to soil, water quality, or riparian
composition (Neumann and Merriam 1972), reduce                        resources are occurring; use suitable measures to trap
productivity and growth (Wanek and Potter 1974), delay                and treat pollutants from over-snow vehicle emissions in
seed germination and flowering (Rongstad 1980), as well               snowmelt runoff or locate the staging area at a sufficient
as affect decomposition rates, hummus formation and                   distance from nearby waterbodies to provide adequate
microbial activity (Neumann & Merriam 1972, Rongstad                  pollutant filtering” (USDA FS 2012, p. 96-97).
1980). These impacts ultimately can change community
structure and reduce the availability and duration of spring          Some Forest Service policy has also recommended
wildlife foods (Stagl 1999).                                          restricting snowmobile use to protect water quality.



Table 1. Summary of snowmobile damaged trees on the Gallatin National Forest (MT) reported during regeneration transect surveys of
previously logged timber stands (reprinted from WWA 2009).


 Area name                          Year         Year inventoried      Acres    Average # damaged Total number of trees
                                    logged                                      trees per acre    damaged
 Little Teepee Creek Drainage       1969          1995                 122      140                      17,080

 Horse Butte Road*                  1992          1995                 15       514*                     7710*

 Madison Arm                        1991          1995                 12       5                        60

 Unknown                            1960s         1983                 68       23                       1564

 Unknown*                           1960s         1983                 100      652*                     65,200*

 Cream Creek*                       1986          1995                 60       725*                    43,500*

 Total damaged trees:                                                                                    135,114


*surveys note the presence of a snowmobile trail in this stand




Water Quality, Soils, and Vegetation Management                       The Uinta-Wasatch-Cache National Forest (UT)
                                                                      does not allow recreational snowmobiling in Salt
The most common strategy for protecting water quality,
                                                                      Lake City’s municipal watershed (USDA FS 2003).
soils, and vegetation from snowmobile impacts is to
                                                                      The Inyo, Sequoia, and Sierra National Forests are
ensure that there is adequate snow cover and create
                                                                      proposing a minimum of 18” of snowpack before
a buffer around waterways. For example, the Forest
Service has developed best management practices                       allowing snowmobiling in their revised Forest Plan to
(BMPs) to protect water resources on Forest Service                   protect forest resources (USDA FS 2014). Restricting
lands from snowmobile pollution (USDA FS 2012). This                  snowmobile use in sensitive habitats such as riparian
document recommends, “Allow over-snow vehicle use                     areas and wetlands can be helpful in mitigating these
cross-country or on trails when snow depths are sufficient            impacts as well.




                                                                 10
                                                                                         Rvsd Plan - 00005476
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 385 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 8 - 12


Best Management Practices for Water Quality,                            6. Monitor closed routes and areas to ensure the measures
Soils, and Vegetation                                                      taken are effectively mitigating impacts to water quality,
                                                                           soils, and vegetation.
Designating motorized use
                                                                        7. Establish an adaptive management framework using
1. Set dates for snowmobile season opening and closure,
                                                                           monitoring to determine efficacy of current management.
   and adjust based upon adequate snow depth.
                                                                        8. Revisit plan decisions as necessary to ensure impacts
2. Require a minimum snow depth of at least 0.3m (12
                                                                           to water quality, soils, and vegetation are being minimized
   in), or sufficient depth to protect water quality, soils, and
                                                                           and motorized impacts are below accepted thresholds.
   vegetation before a contingency plan and implement
   emergency closures if snowpack goes below this
   threshold.                                                           CONCLUSION

3. Require a minimum snow depth of at least 0.45 m (18                  It has been well documented that snowmobiles can impact
   in), or sufficient depth to protect water quality, soils, and        water quality, soils, and vegetation. Alpine environments
   vegetation before allowing snowmobiling off-trail. Have a            are particularly sensitive to disturbance, and snowmobiles
   contingency plan and implement emergency closures if                 can pollute waterways, cause localized soil erosion, and
   snowpack goes below this threshold.                                  crush and break vegetation. Many of these impacts are
                                                                        compounded by climate change which is leaving many
4. Avoid locating snowmobile routes or areas in municipal               “historic” access points snow-free for much of the winter.
   watersheds.                                                          Ensuring that there is adequate snow cover and buffered
                                                                        waterways are key mitigation strategies. Restricting use
5. Restrict snowmobile use on wetlands, riparian areas, and             in sensitive habitats such as riparian areas and wetlands
   sensitive meadows and buffer snowmobile trailheads                   is also an important mitigation step. Applying BMPs in the
   and routes 45 m (150 ft) from these areas.                           development of a system of snowmobile routes and areas
                                                                        will protect water quality, soils, and vegetation on Forest
Minimizing impacts of motorized use                                     Service lands.
1. Develop public information, educational programs, and
   signage about the impacts of snowmobiles on water
   quality, soils, and vegetation and how to minimize those             ACKNOWLEDGEMENTS
   impacts.
                                                                        This article was improved upon by thoughtful reviews from
2. Ensure adequate maintenance of bridges and culverts on               John Adams, Hilary Eisen, Allison Jones, Cailin O’Brien-
   routes to help prevent erosion during the spring run-off.            Feeney, Chris Gaughan, Mark Menlove, Sarah Peters,
                                                                        Robert Rowan, Vera Smith, and an anonymous reviewer.
3. If roads are only used for snowmobile use, scarify the
   roadbed to restore hydrology.
                                                                        LITERATURE CITED
4. Encourage or require the use of best available technology
                                                                        Batey, T. 2009. Soil Compaction and Soil Management - a
   (BAT) where necessary to minimize the impacts water
                                                                        review. Soil Use and Management 25:335-345.
   quality, soils, and vegetation.
                                                                        Gage, E., and D.J. Cooper. 2009. Winter recreation impacts to
5. Close routes and areas when excessive damage to soils                wetlands: a technical review. Prepared for Arapaho-Roosevelt
   and vegetation has occurred, and/or erosion has been                 National Forests, White River National Forest, and Black Hills
   documented.                                                          National Forest. Colorado State University, Fort Collins, CO.




                                                                   11
                                                                                           Rvsd Plan - 00005477
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 386 of 475



                            Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 8 - 12


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                                                                   12
                                                                                             Rvsd Plan - 00005478
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 387 of 475




                       Journal of Conservation Planning Vol 12 (2016 ) 13 - 20



Snowmobile Best Management Practices for Forest Service Travel
Planning: A Comprehensive Literature Review and Recommendations
for Management - Wildlife
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ABSTRACT: Snowmobiles can have a number of impacts on wildlife including physiological responses such as increased
heart rate and elevated stress level, behavioral responses such as displacement and avoidance, as well as facilitating
sources of competition, and/or increasing hunting, trapping, and poaching mortality. This article highlights the impacts of
snowmobiles on three species of special concern because their populations are in decline or vulnerable, and they have state
and/or federal legal protections: grizzly bears (Ursus arctos), wolverine (Gulo gulo), and Canada lynx (Lynx canadensis).
As supported below, these three species are highly susceptible to snowmobile noise and disturbance, and need additional
management actions to ensure winter recreation does not compromise their recovery. We also highlight research on the
impact of snowmobiles on ungulates which are managed as game species and also need special management considerations.
Based on this research and current management strategies, we present a set of best management practices (BMPs) which
will help these sensitive species recover on National Forest lands.




Keywords: Travel planning, snowmobiles, best management practices, BMPs, wildlife, grizzly bear, wolverine, Canada lynx,
ungulates, USDA Forest Service




                                                             13
                                                                                  Rvsd Plan - 00005479
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 388 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20


INTRODUCTION
                                                                        Table 1. Snowmobile route associated factors for wide-
While many animals are well adapted for survival in                     ranging carnivores and ungulate focal species (adapted
                                                                        from Gaines et al. 2003).
the winter, deep snow and cold temperatures can limit
foraging opportunities and increase metabolic demands.
                                                                       Focal                            Snowmobile route associated
Snowmobiles can add to animals’ vulnerability during                                Scientific name
                                                                       species                          factors
this critical time by eliciting physiological responses
                                                                       Grizzly
such as increased heart rate and elevated stress level;                             Ursus arctos        Disturbance at a specific site
                                                                       bear
eliciting behavioral responses including displacement
and avoidance; facilitating sources of competition; and/               Wolverine    Gulo gulo           Trapping

or increasing hunting, trapping, and poaching mortality                                                 Disturbance at a specific site
(for a review see Gaines et al. 2003, Figure 1, Table 1).
                                                                       Lynx         Lynx canadensis     Route for competitors or predators
These impacts can result in declines in animal health,
fragmented wildlife populations, and potential population                                               Trapping

declines (Gaines et al. 2003). In this article, we focus on                                             Disturbance at a specific site
snowmobile impacts on three species that are in decline or
                                                                       Gray wolf    Canis lupus         Trapping
vulnerable and have special legal protections. Additionally,
we present research and management strategies for                                                       Physiological response

reducing the impacts of snowmobiles on ungulates. The                  American
                                                                                    Martes americana    Trapping
increased popularity of winter recreation and the potential            marten

for climate change concentrating their use makes mitigating            Fisher       Martes pennant      Trapping
the impacts of snowmobiles very timely.
                                                                                                        Displacement or avoidance

                                                                                    Odocoileus
                                                                       Mule deer                        Displacement or avoidance
                                                                                    hemionus
  Figure 1. Interactions between the 29 focal wildlife species
  and snowmobile routes documented from a comprehensive                                                 Disturbance at a specific site
  literature review (reprinted from Gaines et al. 2003).
                                                                       Elk          Cervus canadensis   Displacement or avoidance

                                                                                                        Disturbance at a specific site

                                                                                                        Physiological response

                                                                       Bighorn
                                                                                    Ovis canadensis     Displacement or avoidance
                                                                       sheep

                                                                                                        Disturbance at a specific site

                                                                                                        Physiological response




                                                                      Grizzly Bear

                                                                      Grizzly bears (Ursus arctos) are a Threatened Species
                                                                      under the U.S. Endangered Species Act and protected
                                                                      from harm across their range in the continental United
                                                                      States. Their denning habitat often overlaps with winter
                                                                      recreation areas, making them susceptible to disturbance,
                                                                      thus increasing energy expenditures and the potential of
                                                                      den abandonment (Linnell et al. 2000). Direct mortality is


                                                                 14
                                                                                          Rvsd Plan - 00005480
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 389 of 475



                          Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20


also possible if an avalanche is triggered on a slope where           the Skyland / Challenge snowmobile play area due to the
the bears are hibernating (Hilderbrand 2000).                         emergence of a grizzly bear in the area. As climate change
                                                                      results in bears leaving dens earlier, agency authority and
Grizzly bears typically den in relatively high elevation areas        flexibility to close areas will become increasingly important.
with more stable snow conditions and steep slopes (Linnell
et al. 2000). In general, grizzlies avoid roads (Mace et al.          Limiting open motorized route density is a key management
1996) and typically select den sites one to two kilometers            action to increase grizzly bear habitat security.      For
from human activity (Linnell et al. 2000).           However,         example, USDA FS (2011) recommends limiting open
snowmobiles can easily access these remote sites, posing              motorized route density to less than 1 mile per square
the potential for disturbance. No systematic data set exists          mile in much of the Cabinet-Yaak Recovery Area (MT).
on how denning bears react to snowmobile disturbance,                 State-level management plans also address management
but a comprehensive review on the topic found that                    of snowmobiles in grizzly bear habitat. For example, The
human disturbance within one kilometer of a den site has              Montana Forested State Trust Lands Habitat Conservation
a significant risk of abandonment, especially early in the            Plan calls for minimizing road miles and restricting public
denning season (Linnell et al. 2000).                                 access (including snowmobiles) on roads in important
                                                                      grizzly bear habitat areas and seasons (MT DNRC 2011).

Grizzly Bear Management
                                                                      Wolverine
Although grizzly bears can be susceptible to disturbance
and the risk of den abandonment, careful management                   Wolverine (Gulo gulo) are rare, long-ranging carnivores
of winter recreation can help avoid this conflict. Linnell            that spend most of their lives in high elevation areas
et al. (2000) recommended that “winter activities should              (Aubry et al. 2007). While they roam hundreds, sometimes
be minimized in suitable or traditional denning areas; if             thousands of miles seeking food and mates, in the heart
winter activity is unavoidable, it should begin around the            of the winter females dig dens in the snowpack and give
time bears naturally enter dens, so that they can choose              birth. Little has been known about this elusive carnivore
to avoid disturbed areas; and winter activity should be               until recently when it was petitioned for listing under the
confined to regular routes as much as possible” (Linnell et           Endangered Species Act, resulting in a flurry of research
al. 2000, pgs. 409-410). Podrunzney et al. (2000) modeled             studies. Wolverine are a Species of Special Concern in
the overlap of potential grizzly bear denning habitat and             Montana, classified as a Sensitive Species by the Forest
potential snowmobile use areas on the Gallatin National               Service, and trapping has been banned across their range
Forest (MT). This model was used in USDA Forest Service               in the continental United States.
(Forest Service) travel planning and allowed managers
to plan snowmobile routes and areas to avoid conflict                 In general, wolverine are sensitive to human disturbance.
with grizzly bears. Similar modeling efforts have been                Studies in Canada reveal that wolverine have been found
conducted in Alaska incorporating both motorized and                  to be much more common in protected areas than in
non-motorized recreation with bear denning habitat (see               multiple-use landscapes (Fisher et al. 2013, Whittington
Goldstein et al. 2010).                                               et al. 2014). Snowmobile use commonly overlaps with
                                                                      wolverine denning habitat, and the noise may cause
Because the grizzly bear is a federally protected Threatened          female wolverine to abandon their denning sites, potentially
Species, the U.S. Fish and Wildlife Service (USFWS)                   reducing reproductive success.
considers snowmobile disturbance as a potential “take,”
thus requiring management actions. In a recent Biological             One on-going, five-year study examines the impact of
Opinion for snowmobiling on the Flathead National                     winter recreation on wolverine in multiple mountain ranges
Forest (MT), the USFWS required Forest land managers                  in Montana and Idaho (Heinemeyer and Squires 2013).
to “quantify and monitor snowmobile use^ and ensure                   Preliminary results suggest that in areas with winter
adequate protection to known and discovered grizzly bear              backcountry use, denning female wolverine move more
den sites and post-emergent females with cubs” (USDI FWS              frequently, move at higher rates when in higher intensity
2008, p. 57). In 2014, the Flathead National Forest closed            recreation areas, and move more during the weekend when

                                                                 15
                                                                                         Rvsd Plan - 00005481
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 390 of 475



                          Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20


there is more human use (Heinemeyer and Squires 2013).              Wolverine Management
These impacts are creating “significant additive energetic
effects on wolverine during the critical winter and denning         Wolverine have very large home ranges and need large
periods” (Heinemeyer and Squires 2013, p. 5). While the             blocks of interconnected habitat. Key management schemes
majority of the research sites studied are snowmobile use           for protecting wolverine include limiting disturbance, and
areas, the ongoing study is adding more sites where non­            retaining and restoring habitat connectivity. Managers can
motorized backcountry skiers recreate as well. However,             reduce the potential conflict between snowmobiles and
researchers have noted that limitations on the distance             wolverine by identifying areas of overlap and managing
that skiers can travel often allows for core denning habitat        accordingly. For example, The Wilderness Society developed
to be available beyond the reach of backcountry skiers              the SPreAD-GIS model that can model snowmobile sound
(Heinemeyer et al. 2014).                                           propagation overlap with wolverine denning habitat (Reed et
                                                                    al. 2009, Figure 2). Two other sound propagation models,
                                                                    the Integrated Noise Model and the Noise Simulation Model
                                                                    (USDI NPS 2013), have also been used by Yellowstone
  Figure 2. An example of using the SPreAD model to identify        National Park to model over-snow vehicle audibility.
  the overlap of snowmobile noise emissions and wolverine
  habitat types (Reed et al. 2009).                                 In the face of climate change, wolverine may lose much of
                                                                    their denning habitat as persistent snowfields disappear
                                                                    (Fisher et al. 2013), and connectivity among remaining
                                                                    habitat patches will become increasingly important
                                                                    (Schwartz et al. 2009). The 2014 Management Plan for
                                                                    the Conservation of Wolverines in Idaho calls for identifying
                                                                    wolverine linkage areas at local and regional scales and
                                                                    pro-actively conserving them (IDFG 2014).


                                                                    Canada Lynx

                                                                    Canada lynx (Lynx canadensis) is a Threatened Species
                                                                    under the U.S. Endangered Species Act. They are adapted
                                                                    to deep snow conditions, allowing them to thrive in habitats
                                                                    where potential competitors and predators such as coyotes
                                                                    (Canis latrans) cannot easily survive. However, compacted
                                                                    snow trails and snowmobile play areas help facilitate
                                                                    coyote movement into Canada lynx habitat. While one
                                                                    study in Montana found limited use of snowmobile trails by
                                                                    coyotes (Kolbe et al. 2007), studies in Utah and Wyoming
                                                                    documented coyotes using compacted trails extensively,
                                                                    resulting in potential competition and displacement of
                                                                    Canada lynx (Bunnell et al. 2006, Gese et al. 2013, Dowd
                                                                    et al. 2014). The differences in results are probably
                                                                    due to distinct regional snow characteristics, predator
                                                                    communities, and snowmobile use (Bunnell et al. 2006).
                                                                    While both snowmobiles and skis create trails that coyotes
                                                                    could exploit, snowmobiles can travel an order of magnitude
                                                                    farther in a day than non-motorized users.




                                                               16
                                                                                      Rvsd Plan - 00005482
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 391 of 475



                          Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20


Canada Lynx Management                                                routes and trails away from wintering areas, and they
                                                                      recommend establishing designated travel routes to make
Both researchers and managers have recommended limiting               human use as predictable as possible. Further, Harris et
snowmobile routes in Canada lynx habitat. Following their             al. (2014) recently reviewed the impacts of winter recreation
research on coyotes’ use of snowmobile trails, Dowd et al.            on northern ungulates and highlighted the importance of
(2014) suggest that “limiting the expanse of groomed trail            limiting the duration and spatial footprint of disturbance.
systems may minimize coyote encroachment into these deep
snow environments” (p.39). The Canada Lynx Assessment                 Yellowstone National Park has implemented a number of
and Conservation Strategy set planning standards on                   policies to reduce disturbance from snowmobiles. Some of
Forest Service lands that include, “Consider not expanding            these practices include: limiting the number of snowmobiles,
designated over-the-snow routes or designated play areas              requiring best available technology (BAT), setting speedlimits
in lynx habitat, unless the designation serves to consolidate
                                                                      of 56 kph (35mph), and establishing open and closure dates
use” (ILBT 2013, p.94).
                                                                      (USDI NPS 2013). These practices have been coupled with
                                                                      monitoring and complementary research projects which can
Ungulates                                                             measure the effectiveness of the management plan. For
                                                                      example, Borkowski et al. (2006) stated that snowmobile
Ungulates are hoofed animals including deer (Odocoileus               regulations in Yellowstone, including intensities and travel
spp.), elk (Cervus canadensis), moose (Alces alces),                  routes, “were effective at reducing disturbances to bison
mountain goat (Oreamnos americanus), and bighorn sheep                and elk below a level that would cause measurable fitness
(Ovis canadensis). All of these animals are highly prized             effects” (p.1).
game species. Bighorn sheep are classified as a Sensitive
Species by the Forest Service, and two subspecies -                   Best Management Practices for Wildlife
Nelson’s Peninsular and Sierra Nevada bighorn sheep - are
listed as Endangered Species. It has been well established
                                                                      Designating motorized use
that undisturbed “winter range” is essential for ungulates
survival (Canfield et al. 1999).                                      Based on the best available scientific research and successful
                                                                      management strategies, a set of best management practices
Studies have found that snowmobiles can exhibit both a                (BMPs) has been created to guide effective and timely
physiological and behavioral response on a number of                  land management decisions and actions so that sensitive
ungulate species (Gaines et al. 2003, Table 1). Recent
                                                                      species will recover on National Forest lands.
studies in Yellowstone National Park found elk experienced
increased stress (Creel et al. 2002) and actively responded              1. Identify routes and areas where there is the potential
(Borkowski et al. 2006) when approached by snowmobiles.
                                                                            for snowmobile disturbance of key wildlife including
A recent study on moose in Scandinavia also found
                                                                            grizzly bear, wolverine, lynx, and ungulate winter range
disturbance and displacement following snowmobile activity
                                                                            using survey data or GIS modeling. Survey information
(Neumann et al. 2011). Bighorn sheep and mountain goats
                                                                            should be catalogued and regularly updated in a GIS
are particularly susceptible to the effects of disturbance
                                                                            database.
because they are limited to relatively small areas of suitable
habitat with very steep and rocky slopes (Canfield et al.
                                                                         2. Locate motorized routes and areas:
1999).
                                                                           a. where disturbance is unlikely to significantly affect
Ungulate Management                                                           viability or recovery of listed or petitioned threatened
                                                                              or endangered species:
Limiting disturbance on ungulates, especially in winter
range, is a key management strategy. For example, in                          i. limit snowmobile routes and areas in grizzly
their review of the impact of recreation on Rocky Mountain                       bear suitable denning habitat, wolverine denning
ungulates, Canfield et al. (1999) suggest keeping motorized                      habitat, and Canada lynx Critical Habitat.


                                                                 17
                                                                                         Rvsd Plan - 00005483
 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 392 of 475



                         Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20


       ii. reduce snowmobile route density to below 0.6                 3. Close snowmobile routes and areas if a grizzly bear
           km/km2 (1 mi/mi2) in occupied habitat.                          emerges from its den in the area.

    b. outside proposed Wilderness Areas, Wilderness                    4. Monitor closed and open areas to ensure they are
       Study Areas and Research Natural Areas.                             effectively mitigating impacts to wildlife, and not being
                                                                           used illegally.
    c. in discrete, specified areas bounded by natural
       features (topography and vegetative cover) to                    5. Establish an adaptive management framework
       provide visual and acoustic barriers and to ensure                  using monitoring to determine efficacy of current
       that secure habitat is maintained for wildlife.                     management.

    d. outside critical ungulate wintering habitat.                     6. Revisit plan decisions as necessary to ensure wildlife
                                                                           impacts are being minimized and motorized impacts
  3. Set dates for snowmobile season opening and                           are below accepted thresholds.
     closure, and adjust based upon seasonal wildlife
     needs including:
                                                                     CONCLUSION
    a. critical  ungulate  wintering   habitat/winter
       concentration areas (e.g., December through                   The growing number of winter backcountry users has
       March in Rockies).                                            increased the negative impacts on wildlife. Snowmobiles in
                                                                     particular can impact sensitive and hunted species. Grizzly
    b. grizzly bear denning season (mid-November), and               bears’ denning habitat overlaps with winter recreation
        emergence time (mid-April).                                  areas, and snowmobiles can increase bears’ energy
                                                                     expenditures and the risk of den abandonment. Wolverine
  4. Limit or close routes and play areas with known                 can be disturbed by snowmobiles with significant additive
     bighorn sheep and mountain goat populations.                    energetic effects during critical denning periods. Canada
                                                                     lynx are also impacted by snowmobiles by introducing
  5. Limit or close areas to off-road and over-snow vehicle          competitors into their habitat. Furthermore, ungulates, in
     use in areas where antler shed hunting is prevalent.            response to snowmobile activity, exhibit both physiological
                                                                     and behavioral responses. Climate change may alter the
  6. Limit the number of routes and restrict off-trail use in        behavior of wildlife as well, and most likely will concentrate
     key wildlife corridors.                                         snowmobile use - resulting in a need to pro-actively
                                                                     address the management of affected species. Identifying
  7. Maintain large unfragmented, undisturbed, and                   routes and areas where snowmobile activity and sensitive
     connected blocks of forestland and alpine habitat               species habitat overlap is a necessary first step, and limiting
     where no snowmobile routes are designated.                      snowmobiles in these areas is a key management action.
                                                                     Seasonal closures and use of best available technology
                                                                     can also limit impacts to these species.
Minimizing impacts of motorized use
                                                                     ACKNOWLEDGEMENTS
  1. Implement outreach programs to raise public
     awareness of winter wildlife habitat, wildlife behavior,        This article was improved upon by thoughtful reviews from
     and ways to minimize user impacts.                              John Adams, Hilary Eisen, Allison Jones, Cailin O’Brien-
                                                                     Feeney, Chris Gaughan, Mark Menlove, Sarah Peters,
  2. Encourage or require the use of best available                  Robert Rowan, Vera Smith, and an anonymous reviewer.
     technology (BAT) where necessary to limit disturbance
     on sensitive species.




                                                                18
                                                                                        Rvsd Plan - 00005484
 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 393 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20



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                                                                      19
                                                                                               Rvsd Plan - 00005485
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 394 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 13 - 20


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                                                                                              Rvsd Plan - 00005486
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 395 of 475




                      Journal of Conservation Planning Vol 12 (2016) 21 - 28



Snowmobile Best Management Practices for Forest Service Travel
Planning: A Comprehensive Literature Review and Recommendations
for Management - Winter Recreational Use Conflict
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ABSTRACT: Winter wildlands are becoming increasingly crowded, and use conflicts are on the rise. To address use

conflict and other resource impacts, the USDA Forest Service has begun Travel Planning in the snow-belt region. To assist

in this process, this article presents recent research on how snowmobile use and associated noise and fumes impact

non-motorized use. Motorized use often creates annoyance non-motorized users that has been documented to lead to

displacement. However, a well-planned and enforced system of routes and areas, as well as improved management tools

and technologies, has been shown to help reduce or eliminate conflict. Based on research and existing management

strategies, we present a set of best management practices (BMPs) to address winter recreational use conflict and to create

a more socially and environmentally sustainable system of motorized and non-motorized designations on National Forest

lands.




Keywords: Travel planning, snowmobiles, best management practices, BMPs, winter recreational use conflict, USDA Forest
Service




                                                           21
                                                                                 Rvsd Plan - 00005487
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 396 of 475



                         Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28


INTRODUCTION                                                        In “multiple-use” backcountry areas, snowmobile noise can
                                                                    be difficult to escape. While dependent on speed, type
As more people recreate in the backcountry, winter wildlands        of machine, and direction of wind, snowmobile noise can
are becoming increasingly crowded, and conflicts are on             travel up to 16 km (10 mi; Hastings et al. 2006, Burson
the rise. Backcountry skiers and other non-motorized                2008) - a distance farther than most non-motorized
users seek solitude, quiet, and undisturbed natural areas.          recreationists travel in a day. Additionally, considering that
Desirable terrain, snow conditions and access are also key          most forest roads are not plowed in the winter, the ability of
components of their recreational experience. Snowmobiles            skiers to avoid motorized noises is very restricted. Often
change the quality of this experience and create conflict           trails and areas that are considered “front-country” and
with other winter recreationists (Adams and McCool                  easily drivable in the summer are much more difficult to
2012). Conflict among motorized and non-motorized                   access in the winter. Accordingly, the user expectation in
use is typically “asymmetrical;” skiers experience conflict;        these areas is more aligned with a backcountry experience
snowmobilers do not (Knopp and Tyger 1973, Jackson                  including a quiet soundscape. This strong disconnect
and Wong 1982, Gibbons and Ruddell 1995). Quiet,                    between available recreation settings and desired user
non-motorized recreationists can have the quality of their          experience is something the USDA Forest Service
experience dramatically altered by snowmobiles, while               (Forest Service) primarily addresses in planning using the
motorized users often don’t even notice skiers using the            Recreation Opportunity Spectrum (ROS). However, ROS
same landscape. This article reviews how snowmobile                 is a classification tool that describes physical, social, and
use affects the soundscape, airshed, and viewshed of non­           managerial attributes - access, remoteness, size, user
motorized users and presents management strategies for              density, and level of development - in summer, but not
mitigating these impacts.                                           winter. Addressing these front-country multiple-use areas,
                                                                    which span a variety of ROS settings and experience high
                                                                    user conflict, is a particularly important priority for travel
Soundscape                                                          planning strategies.

Protecting quiet soundscapes has become an increasingly             Many people also travel in the winter backcountry to view
important management issue in winter landscapes.
                                                                    wildlife. However, it has been well established that noise
Snowmobile noise is one of the biggest sources of use               has a widespread and profound impact on wildlife (Barber
conflict, as an increasing number of winter recreationists          et al. 2010, Farina 2014), which limits opportunities for
seek the peace and quiet found in the backcountry as a              viewing and listening to birds and other wildlife. Most
way to escape the sounds of modern busy life (Abraham et            fundamentally, snowmobile noise creates annoyance for
al. 2010). Noise from motorized recreation is a particular          many non-motorized users that reduces the quality of
problem in winter because all use becomes restricted                backcountry experience and may lead to displacement
to a relatively small number of plowed trailheads, thus             (e.g., Stokowski and LaPointe 2000, Manning and Valliere
significantly reducing access to wilderness for non­                2001, Adams and McCool 2010).
motorized users.

Research shows that natural soundscapes assist “in                  Airshed
providing a deep connection to nature that is restorative
and even spiritual for some visitors” (Freimund et al. 2009,        Motorized and non-motorized winter backcountry
pg. 4). When recreationists have these expectations, the            recreationists are often confined to the same plowed
mechanical noise of snowmobiles in otherwise quiet areas            parking areas to prepare for their trips. However, in these
can result in a substantial diminution in non-motorized             “staging areas” snowmobile emissions can be concentrated
users’ recreation experience. This often negatively impacts         and lead to an additional source of conflict and potential
the experience of the recreationist, creates conflict, and          health concerns. While technological advances have
ultimately leads to displacement (Gibbons and Ruddell               produced cleaner four-stroke engines (and even zero
1995, Manning and Valliere 2001, Vitterso et al. 2004,              emission electric snowmobile prototypes), the vast
Adams and McCool 2010).                                             majority of snowmobiles still use highly polluting two-stroke


                                                               22
                                                                                       Rvsd Plan - 00005488
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 397 of 475



                          Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28


engine technology. Lubricating oil is mixed with the fuel,             Winter recreational use conflict management
and 20 to 30 percent of this mixture is emitted unburned
into the air and snowpack (Kado et al. 2001). Also, the                The most effective way to manage winter recreational use
combustion process itself is relatively inefficient and results        conflict is a well-planned and enforced system of routes
in high emissions of air pollutants (USDI NPS 2000). As a              and areas that separate motorized and non-motorized
result, two-stroke snowmobiles emit very large amounts of              uses as much as possible (e.g., Andereck et al. 2001,
smoke which includes carbon monoxide (CO), unburned                    Lindberg et al. 2009, Adams and McCool 2010, USDI
hydrocarbons (HC) and other toxins (Zhou et al. 2010).                 NPS 2013). Simply reducing snowmobile noise and
                                                                       smells may not be sufficient to reduce conflict or deter
Concerns over human health related to snowmobile
                                                                       displacement. However, limiting snowmobile use to best
emissions have led to extensive recent research on
                                                                       available technology (BAT) machines, as has been done
snowmobile pollution in Yellowstone National Park (e.g.,
USDI NPS 2000, Bishop et al. 2001, Kado et al. 2001,                   at Yellowstone National Park, can substantially reduce
Bishop et al. 2006, Bishop et al. 2009, Ray 2010, Zhou                 use conflict. Closing or separating the non-compatible
2010), and conclusions from these studies have led to a                uses is the most effective way to reduce conflict. For
Park ban of 2-stroke engines (USDI NPS 2013). Emissions                example, an analysis of conflict reduction strategies in
from snowmobiles release many carcinogens and can pose                 Sweden found that closing access to snowmobiles - a
dangers to human health (Eriksson et al. 2003, Riemann et              change from seeing, hearing, and smelling snowmobiles
al. 2009). Several “known” or “probable” carcinogens are               - led to significant skier welfare gains (Lindberg et al.
emitted including nitrogen oxides, carbon monoxide, ozone,             2009).
aldehydes, butadiene, benzenes, and polycyclic aromatic
hydrocarbons (PAH). While most of the acute toxic effects              Another strategy employed by the Forest Service is
of snowmobiles are limited to staging areas and parking                to separate motorized and non-motorized temporally,
lots, the smoke and fumes from snowmobiles on trails can               thereby granting all users some opportunity for use
dramatically reduce the quality of the experiences of non­             while minimizing conflict. On the Chugach National
motorized users along the trail as well.                               Forest (AK), for example, one section of the forest is
                                                                       closed to motorized use on alternating years (USDA FS
Viewshed and other impacts                                             2007a). On the Humboldt-Toiyabe National Forest (NV,
                                                                       CA), a high-elevation trailhead designated as shared
In addition to the sounds and smells of snowmobiles, the               use until lower elevation access receives enough snow
mere presence of snowmobiles on the landscape can                      for OSV use at which point it becomes non-motorized
degrade the experience of many non-motorized users.                    (USDA FS 2007b). In more popular areas, shorter
In just a few hours, snowmobiles can access almost any                 alternating closure periods, such as biweekly, may be
basin in the west and disproportionately consume a limited             more appropriate.
resource, powder snow. Slopes displaying dozens of
“high mark” tracks can take away the natural beauty of                 Mitigating snowmobile noise can also help address use
the landscape for some. The deep tracks of snowmobile                  conflict. Snowmobile noise can travel long distances in
can also create a hazard for skiers navigating a downward              the winter, and noise models have been used to identify
slope, or the tracks can quickly “track out” a slope, rendering
                                                                       areas of recreational use conflict for management
it completely un-skiable. Safety is also a concern, as there
                                                                       planning. For example, noise modeling has been used
is the possibility of collision with a snowmobile, or the
                                                                       extensively in Yellowstone National Park to estimate the
risk of a snowmobile triggering an avalanche from above.
                                                                       area affected by noise under a range of management
Alternatively, a snowmobile can diminish the sense of risk
                                                                       alternatives (Hastings et al. 2006, Hastings et al. 2010,
or wildness because they effectively reduce the real and
perceived distance from safety (Adams and McCool 2010).                USDI NPS 2013, Figure 1).




                                                                  23
                                                                                        Rvsd Plan - 00005489
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 398 of 475



                          Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28



    Figure 1. Example of noise simulation modeling used in Yellowstone National Park to identify where disturbance and conflict
    may be a management issue. Orange is the distance snowmobile and snow coach noise travels beyond the groomed roads.
    Model inputs include temperature, relative humidity, snow cover, and natural ambient sound levels. The modeling also accounts
    for the acoustic effects of topography, vehicle speeds, and vehicle group size (USDI NPS 2013).




Several studies recommend replacing two-stroke engines                  as well as a reduction in visible exhaust plumes, odor, and
with four-stroke engines to significantly reduce emissions and          noise (Bishop et al. 2006). A study of using best available
noise (e.g., Miers et al. 2000, Kado et al. 2001, Eriksson et           technology (BAT) machines in Yellowstone has resulted in a
al. 2003). Four-stroke engines are significantly less polluting         60% reduction in carbon monoxide (CO) and a 96% reduction
(Zhau et al. 2010, Figure 2), and have improved fuel efficiency,        in hydrocarbon (HC) emissions (Bishop et al. 2006).




                                                                   24
                                                                                           Rvsd Plan - 00005490
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 399 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28


  Figure 2. Average non-methane hydrocarbons exhaust emission ratios relative to ethene (ppmv/ppmv) for two-stroke and four-stroke
  engines in 2002 (Reprinted with permission from (Zhou, Y., D. Shively, H. Mao, R.S. Russo, B. Pape, R.N. Mower, R. Talbot, and B.C.
  Sive. 2010. Air toxic emissions from snowmobiles in Yellowstone National Park. Environmental Science and Technology 44(1):
  222-228. Copyright 2010 American Chemical Society).




However, if motorized use of a route or area has been                  Best Management Practices for Winter
identified as having an unacceptable impact on other user              Recreational Use Conflicts
groups, that route or area should be closed (Lindberg et
al. 2009, Adams and McCool 2010, and NYSDEC 2011).                     Designating motorized use
Furthermore, some National Forest lands have limited
                                                                          1. When necessary elements for successful collaboration
non-motorized recreation opportunities, so creating
                                                                             exist, establish a working groupwith motorized and
non-motorized areas may be needed. For example, a
                                                                             non-motorized users, conservation interests, land
snowmobile plan for Adirondack Park (NY) calls for closing
                                                                             managers, and other stakeholders to develop concepts
routes if the “opportunities for quiet, non-motorized use
                                                                             for minimizing recreational conflict.
of trails are rare or nonexistent;” (NYSDEC 2011, p.244).
Finally, in some areas - regardless of conflict - snowmobiling           2. Identify routes and areas where conflict is ongoing
should not be allowed. For example, Adams and McCool                        among motorized and non-motorized winter
(2010) argue that roadless areas should be protected from                   recreational use utilizing existing information, surveys,
motorized use because “roadless areas are exceptional                       GIS modeling, and community outreach.
for their wild and quiet recreational opportunities, their               3. Identify routes and areas of particularly high value or
habitat for threatened and endangered species, and other                     demand for motorized and non-motorized use.
values. Their character and values derive from their lack of
                                                                         4. To the degree possible, allocate separate trails,
accessibility by motor vehicles” (p. 109).
                                                                            trailheads, and areas.
To identify routes and areas that are sources of conflict,
                                                                         5. Ensure that non-motorized trails and areas are
working groups have been established. However, for
                                                                            available:
this collaboration to be successful, several key aspects
have been identified, including: balanced stakeholder                        a. close to plowed access points, groomed trails, and
representation, clear goals and objectives, information                         other access portals.
exchange, and shared decision making (Schuett et al.
2001).                                                                       b. in contiguous non-motorized blocks.




                                                                  25
                                                                                          Rvsd Plan - 00005491
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 400 of 475



                        Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28


    c. in areas where there are few non-motorized                  Minimizing impacts of motorized use
       opportunities.
                                                                   1. Undertake proactive and systematic outreach programs
    d. in both frontcountry and backcountry settings.                 in order to facilitate increased compliance of closures
                                                                      and reduce user conflicts.
    e. in areas with scenic beauty.
                                                                   2. Provide free digital and paper maps that clearly show
    f. in areas sheltered from noise emanating from                   routes, areas, and watersheds open and closed to
       motorized areas.                                               snowmobiles.

    g. cross a variety of Recreational         Opportunity         3. Encourage or require the use of best available technology
       Spectrum (ROS) categories.                                     (BAT) snowmobiles to reduce noise and local air quality
                                                                      impacts.
  6. Ensure that a fair balance of unplowed roads is set
     aside for non-motorized use.                                  4. Implement significant penalties and consequences
                                                                      for violating snowmobile regulations that will dissuade
  7. Locate motorized routes and areas:                               users from such violations.

    a. away from popular or historically used backcountry          5. Monitor closed routes and areas to ensure that
       ski areas, or areas of growing use.                            snowmobile intrusion is not occurring.

    b. outside proposed Wilderness Areas, Wilderness               6. Establish an adaptive management framework using
       Study Areas, and Research Natural Areas.                       monitoring to determine efficacy of current management.

    c. with easily enforceable boundaries using                    7. Revisit plan decisions as necessary to ensure use
       topographic or geographic features. (e.g., a ridge             conflicts are being minimized and motorized impacts are
       top or highway) - use boundary signage to provide              below accepted thresholds. Close snowmobile routes
       additional clarity, or where unauthorized use is               and areas when motorized use is leading to trespass
       occurring.                                                     onto non-motorized trails or areas.

    d. where they do not bisect non-motorized areas.
                                                                   CONCLUSION
  8. Consider temporal restrictions in areas of high-use or
     high-value to both motorized and non-motorized use.           The growing number of winter backcountry users has
     This includes both early/late season restrictions, as         increased recreational use conflicts and negative impacts
     well as alternating access.                                   on natural resources. As the Forest Service begins formally
                                                                   addressing winter recreation and determining where
  9. Where necessary to designate a motorized route                motorized use is allowed, restricted, and prohibited, it is
     through a non-motorized area, locate and manage               essential that managers have the best available science
     such route (such as speed and idling limits) to               to guide their decisions. Snowmobiles can negatively
     minimize disturbance to the non-motorized area.               affect the soundscape, airshed, and viewshed of non­
                                                                   motorized users. The most effective way to mitigate winter
10. In areas of shared use, consider requiring best                recreational use conflict is a well-planned and enforced
    available technology (BAT) to reduce conflict and              system of routes and areas. Simply reducing snowmobile
    impacts between uses.                                          noise or smells can limit snowmobile impacts to non­
                                                                   motorized users, but may not be sufficient in reducing
                                                                   conflict. Rather, closing or separating the non-compatible




                                                              26
                                                                                     Rvsd Plan - 00005492
 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 401 of 475



                         Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28



users is the best way to reduce conflict. Collaboration                Bishop, G.A., D.A. Burgard, T.R. Dalton, D.H. Stedman, and
among user groups can be successful, but there must be                 J.D. Ray. 2006. Winter Motor-Vehicle Emissions in Yellowstone
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and professional experience, we have developed a list                  Waste Management Association 59:936-942. http://www.
of best management practices. These BMPs will help                     nature.nps.gov/air/Pubs/pdf/yell/Bishop_YELL_JAWMA59_
mitigate recreational use conflicts and minimize impacts               Aug_936_2009.pdf
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   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 402 of 475



                           Switalski, Adam / Journal of Conservation Planning Vol 12 (2016) 21 - 28


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                                                                    28
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  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 403 of 475




   jcp                        Journal of Conservation Planning Vol 8 (2012) 12 - 24



Off-road vehicle best management practices for forestlands:
A review of scientific literature and guidance for managers

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ABSTRACT: Management of off-road vehicles (ORVs) on forestlands has become increasingly challenging as various user
groups compete for a finite amount of land on which to recreate. Additionally, no uniform methods exist for managing
ORVs in forests to reduce their impacts to the environment and lessen conflicts with other user groups. The objectives of
this paper are to review recent research on the environmental and social effects of ORVs in forested landscapes, and based
upon the best available science, propose Best Management Practices (BMPs) for forestlands to help minimize ORV impacts.
We found extensive scientific literature documenting the physical and ecological effects of ORVs in forestlands, ranging from
soil compaction to non-native plant dispersal. Many species of wildlife are also affected by ORV use through direct and
indirect mortality, disturbance and cumulative loss of habitat. Conflict with non-motorized users has been documented as
well, resulting in diminished recreational experience and displacement of quiet users. The BMPs presented here for ORV
management and monitoring in forestlands should help managers provide opportunity for motorized recreati’on while
protecting natural resources and reducing user conflicts.


Keywords: Cff-road vehicle, ORV, Best Management Practices, BMPs, erosion, stream sedimentation, invasive species,
wildlife disturbance, user conflicts



                                                             12
                                                                                   Rvsd Plan - 00005495
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 404 of 475



                            Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


INTRODUCTION                                                            This paper reviews recent scientific literature on ORV effects
                                                                        on forestlands, and based upon the best available science,
Management of outdoor recreation including off-road                     proposes Best Management Practices (BMPs) to aid land
vehicles (ORVs) use is becoming increasingly challenging                managers in travel planning or in any decision-making
as more people recreate on public and private forestlands.              process related to off-road vehicle management on forested
Technological advances have given ORVs more power and                   lands. Each section reviews research on a key resource
control, allowing even beginners to access remote wildlands.            impact of ORVs, and is followed by a list of BMPs for planning
This has increased the popularity of riding ORVs, and the               and decision-making, implementation and monitoring to
potential for impacts on natural resources and conflicts                mitigate the impact. These BMPs will help transportation
between off-roaders and non-motorized forest visitors. The              managers place ORV routes in areas where they can be
environmental and social impacts of their use have been                 enjoyed by motorized recreationists while minimizing harm
well documented in hundreds of research articles, extensive             to the environment and reducing user conflicts.
literature reviews (e.g., Joslin and Youmans 1999, Schubert
and Associates 1999, Gaines et al. 2003, Davenport and                  Off-road vehicle BMPs can be easily used by a manager who
Switalski 2006, Ouren et al. 2008) and books (e.g., Knight              wants to incorporate science into creating an ecologically and
and Gutzwiller 1995, Liddle 1997, Havlick 2002). While                  socially sustainable route system. For example, research
the majority of research on this topic has focused on arid              has found that the risk of stream sedimentation and negative
locations (e.g., Webb and Wilshire 1983) and more recently              impacts on aquatic habitat are highest at stream crossings.
beach environments (e.g., Lucrezi and Schlacher 2010),                  Thus, we propose the BMP to choose route locations with
many recent studies have also addressed ORV use in                      the fewest number of stream crossings when planning a
forested landscapes.                                                    route. In another example, research found that ORVs cause
                                                                        disturbance in a number of wildlife species. Accordingly, our
Best Management Practices (BMPs) provide science-based                  BMP recommends setting levels of acceptable disturbance
criteria and standards that land managers follow in making              that are compatible with maintaining species viability.
and implementing decisions about human uses and projects                Furthermore, studies have found that closing routes benefits
that affect natural resources. BMPs are usually developed               plant and wildlife populations. We further recommend that
for a particular land use and are based on ecological                   routes be closed and restored if there is an unacceptable
considerations, legal obligations and pragmatic experience,             impact to the resource.
and should be supported by the best available scientific
knowledge. Several states have adopted ORV management                   This paper is an abridged and updated version of our
plans, policies or strategic plans (e.g., Michigan Department           original report, “Best Management Practices for Off-Road
of Natural Resources 2008, California State Parks 2009,                 Vehicle Use on Forestlands,” available online at: http://
Arizona State Parks 2010) and trail design, and construction            www.wildlandscpr.org/ORV-BMPs. These BMPs have
and maintenance manuals have been written (e.g., Wernex                 already been used during environmental analyses for travel
1994, Meyer 2002, Crimmins 2006). Unfortunately, no                     management planning on many national forests (e.g., USDA
consistent broad-based guidelines have been developed                   FS 2009, USDA FS 2010, USDI BLM and USDA FS 2010).
for planning, implementing and monitoring off-road vehicle              For example, the Ashley National Forest found them to
use on forestlands based on ecological considerations. In               be useful to fill information gaps and supplement existing
addition, most of the state plans and policies, and design and          direction (USDA FS 2009). Additionally, the Forest Service
construction manuals, tend to consider ORV trail and forest             has recently included these Best Management Practices
road design, management, maintenance and monitoring                     for reference in its report, “Comprehensive Framework for
from a viewpoint centered around legal and administrative               Off-Highway Vehicle Trail Management” (Meyer 2011). This
stipulations, user needs and desires, and avoiding soil                 official Forest Service document will be widely used in all
erosion. It is very seldom that such state plans or design              future efforts to manage off-road vehicle use on national
and construction manuals take a more ecological or holistic             forest lands.
viewpoint in deciding where to site trails, or one that stresses
consideration of multiple natural resources.


                                                                   13
                                                                                           Rvsd Plan - 00005496
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 405 of 475



                            Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


METHODS                                                                (Sack and da Luz 2003, Meadows et al. 2008). This surface
                                                                       flow increases erosion of soils and can also add sediment
To identify the most current research on off-road vehicles, we         to streams (Chin et al. 2004, Ayala et al. 2005, Welsh
searched an online bibliographic database of over 20,000               2008), which degrades water quality, buries fish eggs, and
citations documenting the physical and ecological effects              generally reduces the amount and quality of aquatic habitat
of roads and off-road vehicles (http://www.wildlandscpr.org/           (Newcombe and MacDonald 1991).
bibliographic-database-search). First completed in 1995,
this database is updated every two years by Wildlands CPR              In ORV use areas, soil erosion is accelerated directly by the
by systematically searching for literature related to roads            vehicles, and indirectly by increased runoff of precipitation
and motorized recreation. The database contains a variety              and by creating conditions favorable to wind erosion.
of scientific and “grey” literature including journal articles,        Knobby and cup-shaped tires that help ORVs climb steep
conference proceedings, books, lawsuits, and agency                    slopes are responsible for major direct erosional losses
reports. The database was most recently updated in 2010                of soil. As the tire protrusions dig into the soil, forces far
using an established protocol that systematically searches             exceeding the strength of the soil are exerted, resulting
13 ecological and scientific databases. Seventeen primary              in a “rooster tail” of soil and small plants thrown behind
keywords/descriptors were used to identify research on                 the vehicle. In an Ohio forest, Sack and da Luz (2003)
any road, highway, or ORV effect (positive or negative) on             measured erosional losses in high-use ORV areas as high
ecosystems, wildlife, and natural resources. Each primary              as 209 kg/m2. Meadows et al. (2008) found that ATV trails
keyword was used alone and in Boulian combination with                 on U.S. Forest Service lands on average produced 10
89 descriptor words and phrases. Each secondary keyword                times more sediment that undisturbed soils. It has also
was used alone and in Boulian combination with primary                 been demonstrated experimentally that sediment loss
keywords and other descriptor words and phrases (for a list            increases with increased ORV traffic (Foltz 2006), and the
of keywords please contact lead author).                               greatest sediment yields occur when trails are wet (Wilson
                                                                       and Seney 1994).

Review of the Literature and Best Management                           Most soils are vulnerable to compaction and erosion
Practices                                                              due to several factors. An analysis of more than 500
                                                                       soils at more than 200 sites found that virtually all types
We found extensive research on the effects of off-road
                                                                       of soils are susceptible to ORV damage (Schubert and
vehicles (ORVs) on natural resources. Several studies
                                                                       Associates 1999). Clay-rich soils, while less sensitive to
published in the 1970s first documented the effects of
                                                                       direct mechanical displacement by ORVs, have higher
ORVs on soils in the California desert. A flurry of studies
                                                                       rates of erosion than most other soil types, and when
followed resulting in the first book dedicated to this topic,
                                                                       compacted, produce a strong surface seal that increases
Environmental Effects of Off-Road Vehicles - Impacts and
                                                                       rainwater runoff and gullying. Sandy and gravelly soils
Management in Arid Regions (Webb and Wilshire 1983).
                                                                       are susceptible to direct excavation by ORVs, and when
As ORV popularity expanded beyond the California deserts,
                                                                       stripped of vegetation, are susceptible to rapid erosion -
so did research examining its effects around the globe.
                                                                       usually by rill and gully erosion.
Impacts on streams, vegetation, and wildlife have come to
the forefront of research, as have other ecosystems such
                                                                       ORV impacts on forest soils are compounded by the loss
as beach environments and forestlands - the primary focus
                                                                       of vegetation following ORV use. Stable vegetation keeps
of this review.
                                                                       soil in place; once anchoring vegetation is removed, soil
                                                                       erosion increases. When vehicles damage or uproot
Soil Compaction and Erosion Research                                   plants, exposed soils easily become wind-blown or washed
                                                                       away by water. Wilshire et al. (1978) first described the
Weighing several hundred pounds, ORVs compress and                     direct effects of ORVs on vegetation, such as crushing and
compact soil, reducing the absorption of water into the                uprooting of foliage and root systems, as well as the indirect
soil, resulting in increased flow of water across the ground           effects caused by the concomitant erosion. The indirect


                                                                  14
                                                                                          Rvsd Plan - 00005497
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 406 of 475



                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


effects include undercutting of root systems as vehicle                Best Management Practices for soils
paths are enlarged by erosion, creation of new erosion
                                                                       planning and decision-making bmps for forest soils
channels on land adjacent to vehicle-destabilized areas
due to accelerated runoff or wind erosion, burial of plants by         •   Do not locate routes in areas with highly erodible soils.
debris eroded from areas used by vehicles, and reduction
                                                                       •   Locate routes only in areas with stable soils; avoid
of biological capability of the soil by physical modification
                                                                           locating routes in areas with biological crusts.
and stripping of the more fertile upper soil layers. Biological
soil crusts (commonly found in deserts, but also present in            •   Do not locate routes to climb directly up hillslopes.
some forestlands) are particularly sensitive to wind erosion               Route grades should be kept to a minimum and not
following ORV use and take decades to recover (Belnap                      exceed an eight degree (15 %) grade.
2003).
                                                                       •   Do not locate routes above treeline or in other high
                                                                           elevation areas that are ecologically significant and/or
Stream Sedimentation Research                                              especially prone to erosion.
                                                                       •   Locate routes a minimum distance (as listed below)
While driving on roads has long been identified as a                       from waterbodies and wetlands:
major contributor to stream sedimentation (for review
see Trombulak and Frissell 2000), recent studies have                      ◦   Fish-bearing streams and lakes - 91 m (300 ft)
found ORV use on trails to be a significant source of fine                 ◦   Permanently flowing non-fish-bearing streams - 46 m
sediment in streams (Chin et al. 2004, Ayala et al. 2005,                      (150 ft)
Welsh 2008). Stream sedimentation greatly degrades
                                                                           ◦   Ponds, reservoirs, and wetlands greater than one
aquatic habitat (Newcomb and MacDonald 1991). For                              acre - 46 m (150 ft)
example, Chin et al. (2004) found that in watersheds with
ORV use streams contained higher percentages of sands                  •   Do not designate new routes requiring stream
                                                                           crossings and prioritize closure, re-routing or creating
and fine sediment, lower depths and lower volume - all
                                                                           bridge crossings for existing routes that have stream
characteristics of degraded stream quality.
                                                                           crossings.
While forest roads often have greater erosion potential, ORV           •   Do not locate routes in areas with soils contaminated
routes often lack culverts or bridges at stream crossings,                 by mine tailings, or mine tailings reclamation sites, at
and users often simply drive across creeks. By fording                     least until they are recovered, fully stable and able
creeks, sediment is released into the water by several                     to sustain safe ORV usage. If route construction is
mechanisms including: 1) concentration of surface runoff                   necessary, reclamation activities should be completed
through the creation of wheel ruts, 2) exposed surfaces                    prior to route construction.
from the existence of tracks, 3) increased runoff from soil            •   Close and restore routes that cause high levels
compaction, 4) vehicle backwash, and 5) undercutting of                    of erosion (e.g., raise sedimentation above Total
banks from waves (Brown 1994). A modeling exercise                         Maximum Daily Loads (TMDL) and reduce native fish
found that the average annual sediment yield from one                      population potential).
ORV stream crossing in Alabama could reach 126.8 tons/
                                                                       •   Require all motorized camping to occur in designated
ha (Ayala et al. 2005). Another study in Colorado found that
                                                                           campsites. Reclaim undesignated motorized camping
ORV trails produced six times more sediment than unpaved
                                                                           sites.
roads and delivered 0.8 mg/km2 of sediment to the stream
network each year (Welsh 2008). Coe and Hartzell (2009)
                                                                       implementation bmps for forest soils
recently reported that the well-traveled Rubicon jeep trail in
California’s Sierra Nevada Mountains had rates of stream               •   Identify the type or types of soil and steepness in
sedimentation 50 times higher than adjacent forest roads.                  the area that is being affected by ORVs and use this



                                                                  15
                                                                                         Rvsd Plan - 00005498
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 407 of 475



                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


    information to prioritize mitigation efforts and create            •   Identify areas of significant amounts of bare soil or
    target management objectives to minimize erosion.                      route-widening along routes using photographs and
                                                                           route width measurements.
•   Identify where waterbodies and wetlands are located, where
    routes cross them, and whether fish are present.                   •   Monitor closed and restored routes to ensure the
                                                                           measures taken are effectively mitigating impacts to
    ◦   Prioritize stream crossing closures and route
                                                                           forest soils.
        relocations, and if necessary, determine appropriate
        sites for upgrades and/or bridge crossings.
                                                                       Trampling Impacts on Vegetation and the Spread
•   Ensure adequate maintenance of bridges and culverts                of Invasive Plants Research
    on routes to help prevent unauthorized stream
    crossings that might damage soils, streambanks,                    Riding a several hundred pound ORV off-route or cross­
    riparian vegetation, or other aquatic resources.                   country can crush, break, and ultimately reduce overall
•   Estimate the average soil loss for areas that are                  vegetative cover. Vehicular impacts on vegetation range
    currently and obviously negatively affected by ORVs                from selective kill-off of the most sensitive plants to complete
    using the Universal Soil Loss Equation. Close and                  loss of vegetation in large “staging areas.” Plants that do
    restore routes if the soils are determined to exceed               survive are weakened, malformed, and more susceptible
    standards for tolerable soil loss.                                 to disease and insect predation. Trampling by ORVs can
                                                                       also damage germinating seeds - even those in the soil.
•   If closing or moving a particularly damaging route is
                                                                       A study that examined ORV use on several U.S. National
    not possible, mitigate erosion with waterbars or other
                                                                       Forests found at least a 40 percent reduction in vegetation
    erosion control measures.
                                                                       following ORV traffic (Meadows et al. 2008). Similarly, in a
•   Close and restore areas that have become “mud                      desert example in southern California, Groom et al. (2007)
    bogging areas,” or are prone to “mud bogging.”                     found 4-5 times fewer plants in an ORV use area than a
                                                                       protected area. However, when one of the study areas was
•   Close and restore routes where it has been determined,
                                                                       closed to motorized use (and experienced a year of high
    through analysis, that cumulative impacts of erosive
                                                                       rainfall), there appeared to be a recovery of that population.
    activities (e.g., ORVs combined with fire, livestock
    grazing or other erosive stressors) are leading to a
                                                                       In addition to trampling effects, ORVs are a major vector for
    stream failing to meet erosion standards.
                                                                       non-native invasive plant species. With knobby tires and
•   Prioritize for closure renegade routes going directly up           large undercarriages, ORVs can unintentionally transport
    hillslopes, into wetland areas (including wet meadows),            invasive non-native species deep into forestlands. For
    or adjacent to designated routes.                                  example, one study found that in a single trip on a 16.1
•   Adaptively manage by closing or mitigating a damaging              km (10 mi) course in Montana, an ORV dispersed 2,000
    route if monitoring identifies that forest soil conditions         spotted knapweed (Centaurea stoebe) seeds (Montana
    are no longer in compliance with planning and decision­            State University 1992). In Wisconsin, a survey of seven
    making BMPs.                                                       invasive plant species along ORV routes found at least
                                                                       one of these exotic plant species on 88% of segments
                                                                       examined (Rooney 2005). ORVs in roadless areas pose
monitoring bmps for forest soils
                                                                       a particular risk of spreading invasive non-native species
•   Monitor for the amount of erosion occurring on all routes          because roadless areas often have less weeds present.
    (designated and renegade). Gather data needed for the              Gelbard and Harrison (2003) found that ORVs are the chief
    Universal Erosion Soil Loss Equation.                              vector for invasive species infestation in California roadless
                                                                       areas, which were shown to be very important refuges for
•   Regularly survey for and identify renegade off-route spurs.
                                                                       native plants. Furthermore, as a result of ORV use, the
•   Map stream crossings without culverts or bridges and               size and abundance of native plants may be reduced,
    note stream sedimentation levels and visible soil/                 which in turn permits invasive or nonnative plants to spread
    channel impacts in these areas.                                    and dominate the plant community (GAO 2009).


                                                                  16
                                                                                          Rvsd Plan - 00005499
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 408 of 475



                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


Impacts to vegetation can have cascading effects                         to the spread of non-native invasive plants into
throughout an ecosystem. For example, on an intensively                  relatively weed-free areas.
used ORV route in Idaho, native shrubs, bunch grasses,
                                                                     •   Use native species when revegetating a closed route.
and biological crust were greatly reduced close to the route
and replaced with rabbitbrush (Chrysothamnus spp.) and               •   Modify livestock grazing practices or halt grazing in
non-native cheat grass (Bromus tectorum.; Munger et al.                  newly restored areas where routes have been closed.
2003). Because of these habitat changes, fewer reptiles
were found alongside the route than were found 100 m                 monitoring bmps for vegetation
away (328 ft). In another example of cascading impacts,
                                                                     •   Monitor routes for sensitive, threatened, and/or
Waddle (2006) found that three out of four species of
                                                                         endangered plants in ORV use areas, as well as rare,
ground-dwelling anurans in Florida were negatively
                                                                         fragile and/or unique plant communities.
influenced by ORVs due to trampling of vegetation and
altered hydrology.                                                   •   Monitor for unauthorized spur routes into areas with
                                                                         sensitive, threatened, and endangered plant species.

Best Management Practices for vegetation                             •   Monitor routes for presence and spread of non-native
                                                                         species or the decline of native species.
planning and decision-making bmps for vegetation
                                                                     •   Monitor closed and restored routes to ensure effective
•     Locate routes in areas that do not have sensitive,                 mitigation for damaged vegetation is occurring.
      threatened or endangered plant species.
                                                                     •   Monitor the success of revegetation projects.
•     Locate routes where there are no unique plant
                                                                     •   Adaptively manage by closing or mitigating a route
      communities such as aspen stands, bogs, wetlands,
                                                                         if monitoring identifies that vegetation conditions are
      riparian areas and alpine habitat types.
                                                                         no longer in compliance with planning and decision­
                                                                         making BMPs.
implementation bmps for vegetation


•     Identify sensitive, threatened, and/or endangered              Wildlife Mortality, Disturbance, and Habitat Loss
      plants present in ORV use areas, as well as rare,              Research
      fragile and/or unique plant communities (i.e., aspen
      stands, bogs, wetlands, riparian, alpine areas).               Driving ORVs in forested environments has led to direct
      Record the survey information into a GIS (Geographic           and indirect impacts on wildlife. When driven at high
      Information System) database.                                  speeds, ORVs can collide with small animals and cause
                                                                     direct mortality. However, there are also many indirect
•     Close areas where sensitive, threatened and/or                 impacts that can increase wildlife mortality. For example,
      endangered plant species are at risk.                          in a review of research on mesocarnivores in the U.S.,
•    Remove invasive non-native plants from routes when              Weaver (1993) reported that ORV access increases
     feasible.                                                       the trapping vulnerability of American marten (Martes
                                                                     americana), fisher (Martes pennanti), and wolverine (Gulo
•     Prohibit motorized camping in areas where invasive
                                                                     gulo). Lynx (Lynx lynx) are also thought to be sensitive
      plants are a problem.
                                                                     to road density due to increased trapping pressure
•     Control invasive plants in staging areas to avoid their        (Singleton et al. 2002).
      spread onto routes.
                                                                     ORV use also increases access for illegal harvest of
•     Identify areas where invasive plants present a
                                                                     wildlife in areas that are difficult for game wardens to
      problem and require that all ORVs using such areas
                                                                     patrol. For wolves (Canis lupus), one study found that
      wash vehicles when exiting such areas.
                                                                     21 of 25 human-caused mortalities in the US Northern
•     Close and restore routes documented as contributing            Rockies occurred within 200 m (656 ft) of a motorized



                                                                17
                                                                                       Rvsd Plan - 00005500
  Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 409 of 475



                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


route (Boyd and Pletscher 1999). Wolves often travel                  ( 2008) found that low levels of ORV disturbance in northern
on roads and off-road vehicle routes where they risk                  California did not change American marten occupancy or
increased poaching pressure. Studies in the US Great                  probability of detection. However, they did not measure
Lakes region have found that wolf persistence is reduced              the behavioral, physiological, or demographic responses.
when road density exceeds approximately 0.6 km/km2 (1
mi /mi2; Wydeven et al. 2001). Grizzly bears (Ursus arctos            Disruption of breeding and nesting birds is a particularly well
horribilis) are also at risk from poaching and have been              documented problem (for review see Hamann et al. 1999).
found to avoid open roads (e.g., Mace et al. 1996).                   Several species are sensitive to human disturbance with the
                                                                      potential disruption of courtship activities, over-exposure of
Elk (Cervus canadensis) have been the most extensively                eggs or young birds to weather, and premature fledging
studied animal in relation to motorized access and ORVs.              of juveniles. Repeated disturbance can eventually lead to
While recent studies have examined the effects of ORVs on             nest abandonment and lead to long-term bird community
elk (Vieira 2000, Wisdom et al. 2004, Naylor et al. 2009),            changes. In one example, Barton and Holmes (2007)
most studies have looked more broadly at the impacts                  found greater songbird nest desertion and abandonment
of motorized travel and roads. Research has found that                close to ORV trails in northeastern California. While they
increased motorized access results in decreased elk habitat           also found less nest predation along ORV trails, some
and security, and increased elk mortality from hunter harvest         species had lower abundance than away from ORV trails.
both legal and illegal (Hayes et al. 2002, McCorquodale et
al. 2003, see Rowland et al. 2005 for review).                        To mitigate the impacts of disturbance, several authors
                                                                      have recommended spatial nest buffer zones from human
Probably the most widespread ORV impact on wildlife                   disturbance for raptors (for review see Richardson and
is disturbance. Within individual species, a number of                Miller 1997). Closing of ORV routes has been found
factors influence the degree of disturbance, including the            to successfully restore wildlife habitat. Burger et al.
animal’s breeding status, size, and the size of the group it          (2007) found lower reproductive success of pine snakes
is with (Burger et al. 1995). Studies have shown a variety            (Pituophus melanoleucus) along ORV routes in the New
of disturbance is possible from ORVs, and while these                 Jersey Pinelands. However, after closing routes near
impacts are difficult to measure, repeated harassment of              nesting sites, the number of hatchlings increased to pre­
wildlife can result in increased energy expenditure and               disturbance levels.
reduced reproduction. Noise and disturbance from ORVs
have been shown to result in a range of effects including
increased stress (e.g., elk: Millspaugh et al. 2001), altered         Best Management Practices for wildlife
movement patterns (e.g., elk: Wisdom et al. 2004, Preisler            planning and decision-making for wildlife
et al. 2006, Naylor et al. 2009), avoidance of high-use
areas or routes (e.g., Florida panthers: Janis and Clark              •   Set levels of acceptable disturbance that are compatible
2002), and disrupted nesting activities (e.g., piping plovers:            with maintaining species viability or recovery.
Strauss 1990).                                                        •   Locate routes in areas that do not have critical habitat
                                                                          (formally designated or just important for survival)
Vieira (2000) found that elk moved twice as far from ORV                  for sensitive, threatened and/or endangered wildlife
disturbance than they did from pedestrian disturbance in                  species.
Colorado. In studies in eastern Oregon, Wisdom et al.
(2004) found that elk moved when ORVs passed within                   •   Locate new routes where they are unlikely to
 1,640 m (5381 ft) but tolerated hikers within 500 m (1640                significantly affect the populations of important native
ft), and Naylor et al. (2009) found that elk increased                    wildlife species specifically regarding reproduction,
their travel time and thus reduced time spent feeding or                  nesting, or rearing.
resting in response to ORV recreation. In some instances,                 ◦   Do not locate routes in areas with concentrated or
however, low levels of disturbance do not appear to affect                    particularly important ungulate fawning or calving
certain species persistence. For example, Zielinski et al.                    areas.



                                                                 18
                                                                                         Rvsd Plan - 00005501
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 410 of 475



                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


•     Locate routes a minimum distance (as listed below)               •   If routes are already in important native wildlife
      from waterbodies and wetlands:                                       habitat, seasonally close during sensitive seasons.
     ◦    Fish-bearing streams and lakes - 91 m (300 ft)                   ◦   Calving/fawning period for known key ungulate
                                                                               calving/fawning areas (e.g., May 15 through June
     ◦    Permanently flowing non-fish-bearing streams -
                                                                               in the Rocky Mountain West).
          46 m (150 ft)
                                                                           ◦   Critical   ungulate  wintering   habitat/winter
     ◦    Ponds, reservoirs, and wetlands greater than one
                                                                               concentration areas (e.g., December through
          acre - 46 m (150 ft)
                                                                               March in the Rocky Mountain West).
•     Locate routes as far as possible, but a minimum of
                                                                           ◦   Migration corridors during migrations.
      46 m (150 ft), from natural caves, tunnels, and mines
      where bat nurseries are commonly found.                          •   Do not allow the use of ORVs off designated routes
                                                                           for game retrieval.
•     Locate routes in discrete, specified areas bounded by
      natural features (topography and vegetative cover)               •   Develop public information and educational programs
      to provide visual and acoustic barriers and to ensure                targeting ORV users to raise wildlife awareness, such as
      that secure habitat is maintained for wildlife.                      information about wildlife species in the focal area, key
                                                                           wildlife sign, and the impacts of ORVs to those species.
•     Locate routes in forest cover and not in open country.
      Long sight lines in open country make the visual                 •   Address recovering carnivores such as grizzly bears
      effects of machines more pronounced.                                 and wolves:

•    Adaptively manage routes that affect wildlife seasonal                ◦   Prohibit ORV use in grizzly bear habitats that
     habitat needs. Reduce route density to below 0.6 km/                      provide important food sources during spring
     km2 (1 mi/mi2) by permanently closing, or imposing                        and early summer (e.g., April 1 through July 15
     seasonal use restrictions.                                                in the Rocky Mountain West). These habitat
                                                                               components include riparian shrub types, aspen
                                                                               stands, wet meadows, and avalanche chutes.
implementation bmps for wildlife
                                                                           ◦   In areas with established wolf packs where there
•     Survey for sensitive, threatened, and endangered                         is a desire to reduce the potential for disturbance
      animals, as well as critical habitat (formally designated                and the risk of illegal killing, limit ORV route
      or just important for survival), in ORV use areas.                       densities to less than 0.6 km/km2 (1 mi/mi2).
      This survey information should be catalogued and
      regularly updated in a GIS database.                             monitoring bmps for wildlife
•     Prohibit ORV use in critical habitat for sensitive,
                                                                       •   Monitor routes for sensitive, threatened,            and
      threatened, and endangered species.
                                                                           endangered animals in ORV use areas.
•     Maintain large unfragmented, undisturbed blocks of
                                                                       •   Monitor routes to identify whether they are impacting
      forestland where no routes are designated.
                                                                           the reproduction, nesting or rearing of key indicator
•     Maintain and improve habitat security by protecting                  species.
      whole areas rather than individual route closures.
                                                                       •   Monitor routes to identify whether there are
•     Reduce road/route density to below 0.6 km/km2 (1 mi/                 unauthorized spur routes, especially if they approach
      mi2) in important wildlife areas.                                    waterbodies, wetlands and bogs that are key habitats
                                                                           for amphibians and reptiles; or natural caves, tunnels
•     Conduct adequate nest searches to identify raptor nest
                                                                           and mines where bat nurseries may occur.
      sites. Seasonally close ORV areas in raptor nesting
      territories during sensitive nesting phases (e.g., March         •   Monitor use concurrently with local wildlife populations
      through August in the Rocky Mountain West).                          to determine their impact on wildlife species.




                                                                  19
                                                                                         Rvsd Plan - 00005502
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 411 of 475



                            Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


•   Monitor closed and restored routes to ensure they are               •   Prioritize motorized route designations to protect public
    effectively mitigating impacts to wildlife.                             land resources and the safety of all public land users,
                                                                            and to minimize conflicts with other recreational uses
•   Manage adaptively through closure, rerouting, or
                                                                            and nearby residences.
    mitigation if monitoring identifies that wildlife conditions
    are no longer in compliance with planning and decision­             •   Ensure that ORV use does not preclude meeting the
    making BMPs. ORV use in important wildlife habitats                     demand for hiking, equestrian and other non-motorized
    should only be allowed after peer- reviewed studies or                  recreational uses.
    data from wildlife and ORV monitoring conclude that
                                                                        •   Do not locate ORV routes on trails, areas, or
    wildlife populations will not be impaired.
                                                                            watersheds primarily used by hikers, horseback
                                                                            riders, mountain bikers, hunters, birdwatchers or other
Recreational Use Conflicts Research                                         quiet recreationists and sportsmen, particularly those
                                                                            routes where unmanaged use has lead to motorized
Conflict is defined as an emotional state of annoyance with                 encroachment on non-motorized trails.
another group or person that can result in dissatisfaction
with a specific experience (Yankoviak 2005). For example,
                                                                        implementation bmps for use conflicts
a hiker seeking quiet in nature could experience conflict
after encountering an ORV user on the same trail                        •   Undertake proactive and systematic outreach to
because the ORV use could be perceived as preventing                        motorized and non-motorized visitors in order to
the hiker from attaining his or her goal of a quiet, natural                facilitate mutual understanding of the preferences and
experience. Feelings of conflict often occur among quiet                    desired experiences of public land visitors.
users when they hear motor vehicle noise, witness acts
                                                                        •   Establish trails or recreational working groups with both
of great speed and/or reckless behavior, smell exhaust,
                                                                            motorized and non-motorized stakeholders that meet
and see visible environmental damage. This all leads to
                                                                            regularly with land managers. These groups should
reduced opportunity and displacement of non-motorized
                                                                            work cooperatively to identify and resolve use conflict
recreationists from places they would normally frequent
                                                                            in a manner consistent with agency policy.
(Moore 1994, Stokowski and LaPointe 2000).
                                                                        •   Work with agency and local law enforcement to
Both motorized and quiet recreationists prefer that trails                  implement penalties and consequences for violating
be managed for multiple uses but with motorized and                         ORV regulations that will dissuade ORV users from
non-motorized activities separated (Andereck et al.                         such violations.
2001). Where trails are designated as multiple-use, heavy
                                                                        •   Conduct surveys to establish the demand and
motorized use tends to cause other trail users to pursue
                                                                            opportunities for non-motorized recreation.
opportunities at other locations in order to realize the
desired experiences. There are numerous examples of                     •   Document use conflicts in a database that is shared
non-motorized recreationists being displaced or leaving                     with the public.
an area altogether where motorized use is common (e.g.,                 •   Match ORV use to the available management and
Moore 1994, Stokowski and LaPointe 2000, Manning and                        enforcement capacity (funding and staffing). This will
Valliere 2002).                                                             assure that resources exist to guarantee adequate
                                                                            legal enforcement along all routes.
Best Management Practices for use conflicts
                                                                        monitoring bmps for use conflicts
planning and decision-making bmps for use conflicts

                                                                        •   Use monitoring to identify use conflicts on trails, areas,
•   Designate motor-free Quiet Use Zones in both backcountry
                                                                            or watersheds traditionally used by hikers, horseback
    and front-country settings that emphasize wildlife needs
                                                                            riders, mountain bikers, hunters or other quiet
    and relatively low-impact recreational activities.
                                                                            recreationists and sportsmen.




                                                                   20
                                                                                          Rvsd Plan - 00005503
    Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 412 of 475



                          Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


•     Monitor closed and restored routes to ensure that            LITERATURE CITED
      motorized use is not occurring.
                                                                   Andereck, K.L., C.A. Vogt, K. Larkin, and K. Frey. 2001.
•     Use monitoring data to limit or prohibit ORV access
                                                                   Differences between motorized and nonmotorized trail users.
      on routes where its use is leading to trespass onto
                                                                   Journal of Park and Recreation Administration 10(3):62-77.
      other non-motorized trails, areas or watersheds.
                                                                   Arizona State Parks. 2010. Arizona Trails 2010: A Statewide
•     Require that motorized users have identification on
                                                                   Motorized and Non-Motorized Trails Plan. Phoenix, AZ.
      vehicles equal in visibility to that found on highway
      vehicles.                                                    Ayala, R.D., P. Srivastava, C.J., Brodbeck, E.A. Carter, and T.P
•     Monitor and enforce ORV noise violations by                  McDonald. 2005. Modeling sediment transport from an off-road
      equipping law enforcement personnel with sound               vehicle trail stream crossing using WEPP model: In: Proceedings
      meters that can be easily calibrated and used in             of the American Society of Agricultural and Biological Engineers
      the field to test noise levels of ORVs at established        Annual International Meeting. St. Joseph, MI. Paper Number
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                                                                   Burger J., M. Gochfeld, and L.J. Niles. 1995. Ecotourism and
vehicle Best Management Practices that are grounded in
                                                                   birds in coastal New Jersey: contrasting responses of birds,
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BMPs must be accompanied by adequate funding and
staff levels in order to ensure that necessary monitoring          Burger, J., R.T. Zappalorti, M. Gochfeld, and E. DeVito. 2007.
and legal enforcement are carried out. With adequate               Effects of off-road vehicles on reproductive success of pine
funding and application of these BMPs, forest managers             snakes (Pituophus melanoleucus) in the New Jersey pinelands.
can designate routes that will provide for motorized               Urban Ecosystems 10:275-284.
recreation opportunities while managing ORVs with
                                                                   California State Parks. 2009. Off-Highway Motor Vehicle
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                                                                   Strategic Plan. Off-Highway Motor Vehicle Recreation Division.
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                                                              21
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   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 413 of 475



                              Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


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                                                                        22
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                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


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                                                                    23
                                                                                               Rvsd Plan - 00005506
   Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 415 of 475



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                                                                     24
                                                                                              Rvsd Plan - 00005507
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 416 of 475




      Ecosystem Representation in the Rio Grande National Forest

      These comments address the role of ecosystem representation in the Rio Grande
      National Forest's land management planning process - particularly its evaluation of
      areas that may be suitable for inclusion in the National Wilderness Preservation System
      (NWPS). As explained below and illustrated by the accompanying maps and data, the
      Rio Grande hosts numerous ecosystem types that are poorly represented in the NWPS
      both regionally and nationally. Given the central importance of ecosystem diversity to
      conserving biological diversity and satisfying the requirements of the 2012 National
      Forest System Land Management Planning Rule, 36 C.F.R. part 219, the upcoming plan
      revision process presents a crucial opportunity for the Rio Grande to increase the
      diversity of ecosystems that are protected as part of the NWPS or through other special
      designations. Most immediately, the Forest Service should incorporate ecosystem
      representation into its assessment of the need and opportunity for additional
      designated areas.

          I.       Ecological Importance of Ecosystem Representation in Wilderness and Other
                   Protected Areas

      Wilderness and other protected conservation areas are the cornerstones of most
      regional, national, and international efforts to conserve biological diversity and
      ecological processes of natural ecosystems (Bertzky et al. 2012). Research has shown
      that protected areas reduce the loss, degradation, and fragmentation of natural habitats
      (Bruner et al. 2001; Naughton-Treves et al. 2005) and slow the rate of extinction of
      threatened species that occur therein (Butchart et al. 2012). Conversely, federal public
      lands in the United States that are managed for a variety of uses including mining,
      logging, and motorized recreation - and not primarily for conservation purposes - do
      not have the same benefits. Recognizing the central importance of protected areas in
      conserving biological diversity, the International Convention on Biological Diversity
      recommends that at least 17% of the world's terrestrial areas be conserved by 2020
      (Woodley et al. 2012). To that end, the NWPS already serves as the world's largest
      national system of highly protected conservation areas.1

      Wilderness and other protected areas, however, can help achieve biodiversity targets
      only if they are located in the right places - that is, if they are ecologically representative
      of terrestrial ecosystems. This "representation" approach assumes that for protected
      areas to conserve genetic, species, and community diversity - as well as the
      composition, structure, function, and evolutionary potential of natural systems - they

      1 The NWPS contains 21 million hectares in 690 units, covering nearly 1/5 of what the International Union
      for Conservation of Nature (IUCN) classifies as "category 1 areas," or the most natural and highly
      protected areas worldwide. By contrast, the IUCN classifies general Forest Service matrix lands as "GAP
      Status 3" - "Area having permanent protection from conversion of natural land cover for the majority of
      area. Subject to extractive uses of either broad, low-intensity type (eg. Logging) or localized intense type
      (eg. Mining)." - which is not considered a "protected" category for biodiversity purposes.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 417 of 475




      must encompass the full variety of ecosystems (Olson & Dinerstein 1998; Margules &
      Pressey 2000). In other words, protection of distinct ecological communities in turn
      protects the species that rely on them and the natural ecological processes that are
      characteristic of those ecosystems (Rodrigues et al. 2004; Bunce et al. 2013). According
      to the Convention on Biological Diversity, the percentage of terrestrial ecosystems
      protected by 2020 (with a target of 17%) is one indicator of how well ecosystems are
      represented throughout the global network of protected conservation areas (Woodley
      et al. 2012).

      Despite its importance, our analysis of ecosystem representation in the NWPS (Dietz et
      al. 2015) - which is described in detail below - shows that the NWPS suffers from a
      significant under-representation of many ecosystems. Over 20% (117) of the 553 types
      of unique ecosystems occurring on federal lands in the contiguous United States are not
      included in the NWPS. Even more concerning is that less than half of those 553
      ecosystems are more than nominally represented: only 244 ecosystem types have at
      least 5% of their federal land area protected in the NWPS. And at a more reasonable
      20% target for biodiversity conservation purposes, that number falls to only 113
      ecosystems with at least 20% of their federal land area protected in the NWPS. 95% of
      that diversity was achieved by 1994, and wilderness designations over the past 15 years
      have added only 1 new ecosystem type above the 20% threshold. Moreover, there is
      not a clear correlation between how rare an ecosystem is on federal lands and how well
      it is represented in the NWPS. We found that there are many ecosystem types that are
      common on federal lands (covering over 100,000 hectares) but are poorly represented
      in the NWPS.

      With the Wilderness Act over 50 years old (signed into law on September 3, 1964), it is
      important to begin to remedy this under-representation of ecosystems in the
      NWPS. Human population growth, climate change, and pressure for development and
      extraction of natural resources make wilderness and other protected areas increasingly
      vital to conserve biological diversity. Given those pressures and stressors, we must
      establish a network of connected wilderness and other protected areas that represent
      the full expression of ecosystem diversity.

         II.      Regulatory Requirements to Evaluate Ecosystem Representation

      Given the regional, national, and global importance of ecosystem representation in the
      NWPS and other protected areas, the 2012 National Forest System Land Management
      Planning Rule requires the Forest Service to evaluate and incorporate ecosystem
      representation into its forest assessment and planning processes. Indeed, protecting
      ecosystem diversity is a central purpose of forest planning under the rule:

               Plans will guide management of [National Forest System] land so that they
               are ecologically sustainable and contribute to social and economic
               sustainability; consist of ecosystems and watersheds with ecological

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 418 of 475




             integrity and diverse plant and animal communities; and have the
             capacity to provide people and communities with ecosystem services and
             multiple uses that provide a range of social, economic, and ecological
             benefits for the present and into the future.

      36 C.F.R. § 219.1(c) (emphasis added).

      To satisfy the 2012 Planning Rule's ecosystem diversity mandate, forests are first
      required to identify and evaluate existing designated areas, including wilderness, and
      the potential need and opportunity for additional designated areas as part of the
      assessment phase. Id. § 219.6(b)(15). In doing so, the assessment “should identify and
      evaluate available information to answer questions such as: . . . Are there specific land
      types or ecosystems present in the plan area that are not currently represented or
      minimally represented?" Forest Service Handbook (FSH) 1909.12, ch. 10, § 14(1)(4)(c).

      Next, during the plan development or revision phase, the Forest Service is required to
      “[i]dentify and evaluate lands that may be suitable for inclusion in the [NWPS] and
      determine whether to recommend any such lands for wilderness designation." 36 C.F.R.
      § 219.7(c)(2)(v). In evaluating potential wilderness areas, the agency must, among other
      things, “[e]valuate the degree to which the area may contain ecological, geological, or
      other features of scientific, educational, scenic, or historical value." FSH 1909.12, ch. 70,
      § 72.1(4); see also 16 U.S.C. § 1131(c)(4) (wilderness, as defined by the Wilderness Act
      of 1964, “may also contain ecological, geological, or other features of scientific,
      educational, scenic, or historical value"). “Such features or values may include[ r]are
      plant or animal communities or rare ecosystems," with “rare" being “determined locally,
      regionally, nationally, or within the system of protected designations." FSH 1909.12, ch.
      70, § 72.1(4)(a).

      In addition to identifying and evaluating areas to recommend for wilderness
      designation, the 2012 Planning Rule also requires the agency to “[i]dentify existing
      designated areas other than [wilderness] and determine whether to recommend any
      additional areas for designation." 36 C.F.R. § 219.7(c)(2)(vii). Those special designations
      may include, for example, ecological areas, botanical areas, or Research Natural Areas
      (RNAs), which are designed to “[m]aintain a wide spectrum of high quality
      representative areas that represent the major forms of variability . . . that, in
      combination, form a national network of ecological areas for research, education, and
      maintenance of biological diversity . . . [and s]erve as a baseline area for measuring long­
      term ecological changes." Forest Service Manual 4063.02; see also 36 C.F.R. § 219.19
      (Forest Service may designate RNAs as part of planning process).

      Complementing the requirement to consider ecosystem representation in determining
      suitability for wilderness and other special designations, the 2012 Planning Rule directs
      that plans generally provide for ecological sustainability and integrity and “the diversity
      of plant and animal communities and the persistence of native species." 36 C.F.R.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 419 of 475




      §§ 219.8-219.9. The Forest Service cannot satisfy those substantive mandates without
      adequately protecting ecosystem diversity in the plan area. For example, plans “must
      include plan components, including standards or guidelines, to maintain or restore the
      diversity of ecosystems and habitat types[, including r]are . . . plant and animal
      communities." Id. § 219.9(a)(2). With conflicting management and resource demands
      and human-caused stressors such as climate change that threaten ecosystem diversity
      and integrity, plans simply cannot restore or maintain the diversity of plant and animal
      communities absent a robust network of protected areas that adequately represent that
      diversity.

      Collectively, these various procedural and substantive mandates commit the agency to a
      meaningful evaluation and consideration of under-represented and rare ecosystems
      throughout the planning process, starting with the assessment of the need and
      opportunity for additional designated areas. In doing so, the agency is required to use
      “the best available scientific information." Id. § 219.3. As described in the methodology
      section below, we believe our analysis of ecosystem representation represents the best
      available scientific information, and we encourage the Forest Service to incorporate it
      into its assessment, wilderness evaluation, and the broader planning process.

          III.      Methods and Analysis of Ecosystem Representation

      To inform the Rio Grande National Forest's assessment of the need and opportunity for
      additional designated areas, we conducted an analysis of ecosystem representation in
      wilderness at the national- and forest-level scales to provide the best available scientific
      information.

      According to the U.S. Geological Survey (USGS), the contiguous United States contains
      565 terrestrial, non-developed ecosystems. In this study, we analyzed representation of
      those ecosystems by comparing their areas in the NWPS with their areas on federal land
      at both the national and forest levels in order to calculate a percent representation:

                 Equation 1: (area of ecosystem in the NWPS/area cf ecosystem on federal
                 land)*1002

                 Equation 2: (area of ecosystem in the NWPS on the Rio Grande NF/area of
                 ecosystem on the Rio Grande NF)*100

      We conducted these calculations at the finest scale for which consistent, spatially-
      explicit vegetative land-cover data is available: the 6th level of the National Vegetation



      2 We used federal land, as opposed to all land, within the contiguous United States to better assess where
      ecosystems are under-represented on lands potentially available for wilderness designation.


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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 420 of 475




      Classification System (NVCS 2008).3 That data is from the USGS Gap Analysis Program
      (GAP) national land-cover data version 2 at 30-meter resolution (USGS 2011).

      We obtained spatial data of the NWPS from the University of Montana College of
      Forestry and Conservation's Wilderness Institute at wilderness.net, which maintains the
      most up-to-date spatial data on wilderness areas. To map federal land area, we used the
      U.S. Protected Areas Database (PAD-US) version 1.3 (USGS 2012), which includes
      geographic boundaries, land ownership, land management, management designation,
      parcel name, area, and protection category.4

      We overlaid the NWPS and all federal lands with land-cover data in a Geographic
      Information System (ArcGIS 10.2) to calculate and compare the total area of each
      ecosystem within the NWPS and federal land. We then calculated the percent of each
      ecosystem within the NWPS based on all area occurring on federal land (Equation 1,
      above).5 This was part of a national assessment that we conducted (Dietz et al. 2014 (in
      revision)).

      We did the same calculations at the forest level. We extracted land-cover data and
      clipped it to the forest boundary, and then calculated the percent of each ecosystem
      within the Rio Grande National Forest's four existing wilderness areas based on all
      federal land area occurring on the Forest (Equation 2, above).

      Next we classified representation for each scale into four classes (<5%, 5-9.9%, 10­
      19.9%, >20%) and mapped them across the entire national forest. We considered
      ecosystems with <19.9% of their total area in the NWPS as inadequately represented.

      We then brought the Rio Grande National Forest's Chapter 70 wilderness inventory
      areas into Arc and created a new shapefile that included only the wilderness inventory
      areas. This allowed us to focus our analysis on the areas that are potentially suitable for
      wilderness designation by tabulating the area of each ecosystem occurring within each
      wilderness inventory area (see attached matrix, Table 2 “Ecosystem Composition of
      Roadless Areas.xlsx”). Values within the matrix are the estimated acres of each
      ecosystem occurring within each wilderness inventory area unit.




      3 The NVCS classifications are as follows: 1) Class; 2) Subclass; 3) Formation; 4) Division; 5) Macrogroup; 6)
      Group (a.k.a. ecological system, to which we refer in this study as “ecosystem”); 7) Alliance; and 8)
      Association.


      4 The PAD-US is a national inventory of terrestrial and marine protected areas that are managed to
      preserve biological diversity and other natural, recreation, and cultural uses.

      5 For example, when we say "boreal aspen-birch forest has 19% representation in NWPS,” we mean that
      19% of all federal land encompassing that ecosystem type is protected as wilderness in the NWPS.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 421 of 475




      We used these data to calculate the proportion (%) of each wilderness inventory area
      that is composed of ecosystems inadequately represented in the NWPS by each of the 3
      lower representation classes (<5%, 5-9.9%, 10-19.9%) and for both scales of
      representation (Table 1).

         IV.     Results

      Our analysis shows that a significant number of Chapter 70 wilderness inventory areas
      on the Rio Grande National Forest contain high proportions of inadequately represented
      ecosystem types at both the forest-level and national scales (Tables 1 & 2; Maps 2 & 3).
      Cumulatively, we found that underrepresented ecosystems cover nearly 50% of the
      wilderness inventory areas on both forest-level and national scales. On the forest-level,
      severely under-represented ecosystem types (<5%) cover over 25% of the wilderness
      inventory areas. All the wilderness inventory units contain at least one
      underrepresented ecosystem, with some units showing over 90% areal coverage of
      these ecosystems.

      In many instances, the addition of one wilderness inventory unit would elevate specific
      ecosystems into adequate representation on the forest level (Table 4). For example, the
      addition of unit 3.f would elevate the Rocky Mountain Subalpine-Montane Mesic
      Meadow ecosystem into adequate representation. A total of 8 other ecosystems could
      be elevated into adequate representation with the addition of one wilderness inventory
      unit. If all of the final wilderness inventory units were added into wilderness, 14
      underrepresented ecosystems would be adequately represented on the forest level.

      More broadly, our analysis shows that inadequately represented ecosystem types cover
      over 40% of the Rio Grande National Forest at both the national and forest levels of
      representation. (Table 3, Tabs 2 & 3).

      At the forest level, our analysis found that only 11 of the 31 ecosystem types found on
      the Rio Grande are adequately represented (Table 3, Tabs 1 & 2; Map 3). In total, under­
      represented ecosystem types span over 43% of the forest area and approximately
      788,000 acres. Ecosystem types with less than 5% representation at the forest level
      comprise over 23% of the entire Rio Grande, while ecosystem types with less than 10%
      representation at that scale cover 27% of the forest.

      The story is similar at the national scale, with a total of 21 inadequately represented
      ecosystem types covering over 41% and 742,000 acres of the Rio Grande (Table 3, Tab 3;
      Map 2). Further, only 6% of these under-represented ecosystems are protected in
      wilderness nationally.

      Notably, two of the most prevalent ecosystems on the Rio Grande are under­
      represented both at the forest and national levels (Table 3, Tabs 2 & 3). The Southern
      Rocky Mountain Montane-Subalpine Grassland covers over 191,000 acres of the forest,

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                                                                     Rvsd Plan - 00005513
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 422 of 475




      yet only 3.4% of the ecosystem is protected as wilderness. The Rocky Mountain Aspen
      Forest and Woodland spans 209,000 acres on the Rio Grande, only 28,000 of which are
      protected in the forest's wilderness.

      The attached maps and tables depict these results in detail, showing the following:

      Map 1 “Rio Grande National Forest Wilderness Inventory Areas”: Depicts each unit
      (polygon) in the Chapter 70 wilderness inventory area inventory, outlined in black with
      cross-hatching with the forest boundary shaded deep green.

      Map 2 “Ecosystem Representation on the Federal Level“: Color depiction of the results
      of Equation 1 (above), showing the level of representation in the NWPS of each
      ecosystem type at the national scale. For example, areas shown in red depict
      ecosystems that are represented in the NWPS at less than 5% of all available federal
      land. [Chapter 70 roadless areas are outlined in black with cross-hatching]

      Map 3 “Ecosystem Representation on the Forest Level”: Color depiction of the results of
      Equation 2 (above), showing the level of representation in the NWPS of each ecosystem
      type at the forest level. [Chapter 70 wilderness inventory areas are outlined in black
      with cross-hatching]

      Table 1, Tabs 1 & 2 “Rio Grande National Forest Wilderness Inventory Area
      Representation Table”: Proportion (%) and acreage of each Chapter 70 wilderness
      inventory area composed of under-represented ecosystem types on the Rio Grande
      National Forest based on forest-level (Tab 1) or national-level (Tab 2) representation.
      Representation of each ecosystem type was quantified based on all available area on
      federal land and the individual forest. All ecosystems with <20% representation in the
      NWPS at each scale were broken into 3 levels of representation (<5%, 5-9.9%, and 10­
      19.9%). This table allows one to prioritize potential wilderness inventory units by
      proportion of land area as well as acreage that is composed of underrepresented
      ecosystems, at three levels.

      Table 2 “Ecosystem Composition of Wilderness Inventory Areas”: Values within the
      matrix are the estimated acres of each ecosystem type occurring within each Chapter 70
      wilderness inventory area unit. This table depicts the specific ecosystem composition of
      each unit.

      Table 3, Tabs 1-3 “Rio Grande National Forest Ecosystems Representation”: These tables
      depict which ecosystems are under-represented at the forest-level and national scales.
      Tab 1 shows a complete list of ecosystem types found on the Rio Grande National
      Forest, and the proportion of each type in the NWPS at the forest-level and national
      scales. Tabs 2 and 3 show representation breakdowns at the three levels (<5%, 5-9.9%,
      and 10-19.9%) at the forest-level and national scales.


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                                                                     Rvsd Plan - 00005514
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 423 of 475




      Table 4 “Chapter 70 Wilderness Inventory Unit Analysis of Ecosystem Composition": This
      table shows the estimated acres of each ecosystem type occurring within each Chapter
      70 wilderness inventory unit. This table also shows how many acres of additional
      protection are needed to elevate a specific ecosystem into adequate representation,
      and how many units would be needed (if applicable) to achieve adequate
      representation on the forest level.

          V.      Recommendations

      Sufficient ecosystem representation in the NWPS and other protected areas is crucial to
      achieving ecological integrity of the diverse plant and animal communities found in the
      Rio Grande National Forest. As described above and depicted in the attached maps and
      tables, our analysis shows that under-representation of ecosystems in the NWPS is a
      significant problem on the Rio Grande. Thus, the planning process presents the Forest
      Service with a critical opportunity to prioritize protection of ecosystem diversity and
      begin to remedy the under-representation of numerous ecosystem types in the NWPS.

      To that end, we urge the Rio Grande National Forest to use the representation
      information in the attached tables and maps and described above throughout the
      planning process. Most immediately, the information should be used to assess the need
      and opportunity for additional designated areas. Following the assessment, the
      information also should be used to evaluate areas that may be suitable for inclusion in
      the NWPS,6 and to determine which areas to carry forward for NEPA analysis and,
      ultimately, which areas to recommend for wilderness designation. In addition, the forest
      should use the information more broadly in its planning process and determinations
      whether to designate or recommend for designation other areas such as RNAs,
      ecological or botanical areas, etc. As described above, we believe that this information is
      the best available science on ecosystem representation, which the agency is legally
      required to use in its planning process.

      If you have any questions about the analysis or data, or would like to have the data in
      another format, please contact Phil Hartger (phil_hartger@tws.org ).




      6For example, Region 5 has made exceptional efforts to incorporate our analysis into the wilderness
      evaluation processes for the Inyo, Sequoia, and Sierra National Forests. The Region's wilderness team
      prepared a data summary for each inventoried unit, ranked by percent composition of under-represented
      ecosystems, to assess the relative opportunities in each unit to enhance ecosystem diversity. Those
      summaries are attached hereto.

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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 424 of 475




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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 425 of 475




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                                                                      Rvsd Plan - 00005517
                 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 426 of 475



                     Rio Grande National Forest, underrepresented Ecological Systems ("Ecosystems") at the Forest Scale



 Chapter 70
  wilderness
inventory Unit                                           Acreage                                                      Percent coverage (%)
                                                                                          Total wild. inv.
                   < 5% (Acres)   5 - 9.9% (Acres)   10 - 19.9% (Acres)   < 20% (Acres)   area acreage       < 5%     5 - 9.9% 10 - 19.9%    < 20%
      9               7,475             868                 320              8,662              10,214       73.2        8.5        3.1       84.8
      11              1,386             652                1,896             3,933              6,360        21.8        10.2      29.8      61.8
     3.i               528              15                 1,167              1,710             2,111        25.0        0.7      55.3       81.0
     20.b            15,706            1,718               5,997             23,421            35,101        44.7        4.9       17.1      66.7
      53                0                0                  81                 81              3,773         0.0         0.0        2.2       2.2
     36.b               2                0                   0                  2                 2          77.8        0.0       22.2      100.0
      61               281              111                 627               1,019             1,540        18.2        7.2       40.7      66.2
      3.b              589              521                 323              1,433              1,772        33.2       29.4       18.2      80.9
     37.b             1,111             48                  934              2,093              7,594        14.6        0.6       12.3      27.6
      39              5,435            1,700               1,726             8,861              11,637       46.7       14.6       14.8      76.1
     43.a              163              98                  244               505               6,292        2.6         1.6       3.9        8.0
     49                 2                0                  809               811               7,587        0.0         0.0       10.7      10.7
     50               7,519            1,283               4,342             13,144            15,678        48.0        8.2       27.7      83.8
      6              13,036             439               7,601              21,077            33,012        39.5        1.3       23.0      63.8
     59              3,375             1,515              10,845             15,735            36,641         9.2        4.1       29.6      42.9
     3.c                28               16                 163               207                244         11.3        6.7       66.8      84.8
     1.a              1,463             179                 259              1,901              4,025        36.3        4.5        6.4      47.2
     32                39                0                  41                80                 118         33.4        0.0       34.7      68.1
     58.c               0                0                   2                 2                  8          0.0         0.0       31.4      31.4
      4               7,260             184                4,214             11,658            15,599        46.5        1.2       27.0      74.7
      23              4,784              0                   0               4,784             5,094         93.9        0.0        0.0      93.9
     55                52                1                  691               744               7,668         0.7        0.0       9.0        9.7
     29                122               0                  310               432               6,334         1.9        0.0       4.9        6.8
      65               73                2                 1,109             1,184              2,774        2.6         0.1       40.0      42.7
     37.a              167              36                  290               494               3,667        4.6         1.0        7.9       13.5
      15              6,224            1,942               3,307             11,473            15,756        39.5       12.3       21.0      72.8
      21               28                0                  50                 78               355           7.9       0.0        14.1      22.0



                                                                                                                    Rvsd Plan - 00005518
       Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 427 of 475



 18        2,698        601          1,534        4,833        6,115     44.1       9.8   25.1    79.0
31          75           0            23            98          137      54.7       0.0   16.8    71.5
54           0           0            3              3           14      0.0        0.0   18.5    18.5
57          67           5            255          327         5,368      1.3      0.1    4.8      6.1
33          198          0            160          358          955      20.7      0.0    16.8    37.5
51         23,263       5,523        19,702      48,489       77,590     30.0      7.1    25.4    62.5
44         2,802        1,829        2,581        7,212       11,896     23.6      15.4   21.7    60.6
42           0           0            10            10         441       0.0        0.0   2.2      2.2
24           3           0            15            18         116       2.5        0.0   12.7    15.2
30.b         0           0             0            0            5       0.0        0.0     4.2   4.2
45.b        135         290          1,076        1,501       13,760     1.0        2.1   7.8     10.9
38.a       5,519        1,110        7,708        14,338      36,560     15.1       3.0   21.1    39.2
 22        9,196         313          191         9,700       10,306     89.2       3.0     1.9   94.1
63.c         7            0            7            14          23       31.4       1.0   28.6    61.0
 13        6,140        998          1,404        8,541       10,625     57.8       9.4   13.2    80.4
38.b         12          41           384          437        6,441       0.2       0.6   6.0      6.8
 52         319         359          3,768        4,447       18,527      1.7       1.9   20.3    24.0
63.a        599         382          9,758        10,739      33,903      1.8       1.1   28.8    31.7
 34          1           0             0             1         262       0.5        0.0   0.0      0.5
58.b         0            0            0            0            2       0.0        0.0   20.0    20.0
 62         101          38          3,023        3,162        5,541      1.8       0.7   54.6    57.1
63.b        92           3             14          108         203       45.1       1.5    6.7    53.3
3.d         52           16            3           71           79       65.9      20.6     3.4   89.9
12         18,806       3,161        2,136        24,103      30,298     62.1      10.4     7.0   79.6
25.a       6,235         612         4,502        11,349      28,461     21.9       2.1   15.8    39.9
25.b         75          0            465          540         1,432      5.2       0.0   32.4    37.7
 27        4,483         0           4,442        8,925       29,633     15.1       0.0   15.0    30.1
 10        6,985        886           902         8,773       12,029     58.1       7.4   7.5     72.9
58.a         0           0             3            3           57        0.0      0.0     5.8     5.8
30.c         10           0            3            12          18       53.1      0.0    16.0    69.1
 3.f        170          46           189          405         446       38.1      10.3   42.4    90.8
30.a         0           0             4            4           19        0.0       0.0   21.8    21.8
 3.a        329         213           77           619         746       44.1      28.5   10.3    83.0
20.a       14,549       746          11,558       26,853      72,324     20.1       1.0   16.0    37.1
3.g          60          4            127          191         234       25.6       1.8   54.6    82.0



                                                                                Rvsd Plan - 00005519
                 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 428 of 475



        64            6,527             270               12,267             19,063            25,898      25.2       1.0       47.4      73.6
        5             1,381              33                1,311             2,725             4,288       32.2       0.8       30.6      63.5
       3.e            1,046             459                 305              1,811             2,456       42.6       18.7      12.4      73.7
       35              363               26                 119               508              1,802       20.1       1.5       6.6        28.2
       1.b              18                0                  0                 18                18        100.0      0.0       0.0       100.0
        66             401              194                 713              1,308             1,493       26.8       13.0      47.8      87.6
         8            3,983             359                 428              4,771             5,663       70.3       6.3        7.6      84.2
       43.b             0                0                   62                62               642         0.0       0.0       9.6        9.6
        7             3,249             120                1,036             4,406             5,651       57.5       2.1       18.3      78.0
        26           12,376            1,062              11,858             25,296            69,649      17.8       1.5       17.0      36.3
        56            519               138               2,771              3,428             11,893       4.4       1.2       23.3       28.8
         2           13,563            4,077               4,995             22,635            31,731      42.7       12.8      15.7      71.3
        40           3,712             1,644               1,493              6,849            11,125      33.4       14.8      13.4      61.6
       3.h             347              29                  294                670              910        38.1       3.2       32.3      73.6
       36.a            157              73                  828               1,058            5,986        2.6        1.2      13.8      17.7
        28            4,231              0                 8,806             13,037            63,909       6.6       0.0       13.8       20.4
        60            5,105             295                 49               5,449              5,459      93.5       5.4        0.9      99.8
       45.a           1,978            1,084               1,703             4,766              7,721      25.6       14.0      22.1      61.7
        41           14,795            1,783               9,681             26,259            45,353      32.6       3.9       21.3      57.9
        46             486              224                 615              1,325             9,526        5.1       2.3       6.5        13.9

                     Rio Grande National Forest, underrepresented Ecological Systems ("Ecosystems") at the Federal Scale



Chapter 70
Wilderness
Inventory Unit                                           Acreage                                                   Percent coverage (%)
                                                                                          Total roadless
                   < 5% (Acres)   5 - 9.9% (Acres)   10 - 19.9% (Acres)   < 20% (Acres)   acreage          < 5%     5 - 9.9% 10 - 19.9%   < 20%
        9              786             2,388               5,317             1,723             10,214       7.7        23.4     52.1       16.9
        11              0               57                 2,975             3,328             6,360        0.0       0.9       46.8       52.3
        3.i             0               129                1,589              393              2,111        0.0       6.1       75.3      18.6
       20.b           3,192            1,916              16,586             13,408            35,101       9.1       5.5       47.3      38.2
        53              0               71                   1               3,702             3,773        0.0       1.9       0.0       98.1
       36.b             0                0                   2                 0                 2          0.0       0.0      100.0       0.0



                                                                                                                  Rvsd Plan - 00005520
       Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 429 of 475



 61          7          209           989          335         1,540     0.4       13.6   64.3    21.7
3.b         350         112           808          502         1,772     19.7       6.3   45.6    28.3
37.b         1          263          1,887        5,444        7,594     0.0        3.5   24.8    71.7
 39         677         2,226        4,855        3,879       11,637     5.8       19.1   41.7    33.3
43.a         0            22          483         5,786       6,292      0.0       0.3     7.7    92.0
49           0           216          506         6,865        7,587     0.0        2.8     6.7   90.5
50         1,492        1,513        10,335       2,339       15,678     9.5        9.6   65.9    14.9
  6          95         1,426        18,068       13,423      33,012     0.3        4.3   54.7    40.7
 59         684         1,295        12,779       21,883      36,641     1.9        3.5   34.9    59.7
3.c          14           4           164           61         244       5.9        1.8   67.3    24.9
1.a         644         501           641         2,239       4,025      16.0      12.4   15.9    55.6
32           0            0           42           75          118       0.0        0.0   36.0    64.0
58.c         0            0            2            5           8        0.0        0.0   31.4    68.6
 4          469         1,423        9,332        4,375       15,599      3.0       9.1   59.8    28.0
 23        2,487         224         2,075         307        5,094      48.8       4.4   40.7    6.0
 55          0          107           462         7,099        7,668     0.0        1.4   6.0     92.6
 29          0           25           319         5,990        6,334     0.0        0.4   5.0     94.6
65           2           30           548         2,193        2,774     0.1        1.1   19.7    79.1
37.a         0           68           455         3,144        3,667     0.0        1.8   12.4    85.7
 15         32          1,211        9,805        4,708       15,756     0.2        7.7   62.2    29.9
 21          0           0             44          312         355       0.0       0.0    12.3    87.7
 18          5          684          3,743        1,683       6,115      0.1       11.2   61.2    27.5
31           0           0             98          39          137       0.0        0.0   71.5    28.5
54           0           0             3            12          14       0.0        0.0   18.5    81.5
57           0          800           149         4,419       5,368      0.0       14.9    2.8    82.3
33           20         392          336           209         955       2.0       41.0   35.1    21.8
51         3,628        4,143       40,718        29,101      77,590     4.7       5.3    52.5    37.5
44          141         1,272        6,146        4,338       11,896     1.2       10.7   51.7    36.5
42           0            0            0           441         441       0.0        0.0     0.0   100.0
24           0            0            3           113         116       0.0        0.0     2.5   97.5
30.b         0            0            0            5           5        0.0        0.0     0.0   100.0
45.b         0          326          1,110        12,323      13,760     0.0        2.4     8.1   89.6
38.a        13          891         11,886        23,769      36,560      0.0       2.4   32.5    65.0
 22        4,779        704          4,126         697        10,306     46.4      6.8    40.0    6.8
63.c         0            9            14           0           23       0.0       39.0   61.0     0.0



                                                                                Rvsd Plan - 00005521
       Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 430 of 475



 13        1,171        1,726        5,849        1,880       10,625     11.0      16.2   55.0   17.7
38.b         0           77           326         6,039       6,441      0.0        1.2   5.1    93.8
 52          3           187         3,978        14,359      18,527     0.0        1.0   21.5   77.5
63.a        52          1,416        8,768        23,668      33,903     0.2        4.2   25.9   69.8
 34          0           21            1           239         262       0.0        8.1   0.5    91.4
58.b        0             0            0             2           2       0.0       20.0    0.0   80.0
 62         0            46          2,913        2,582        5,541     0.0        0.8   52.6   46.6
63.b        17           70           83           32          203       8.4       34.7   41.0   15.9
3.d         46           4            21            8          79        58.0       5.1   26.5   10.4
 12         157         5,395        17,287       7,458       30,298     0.5       17.8   57.1   24.6
25.a        57           511         8,899        18,994      28,461     0.2        1.8   31.3   66.7
25.b         0            4            96          1,333       1,432     0.0       0.2     6.7   93.0
 27          0           526         6,832        22,276      29,633     0.0        1.8   23.1   75.2
 10         16          1,272        7,316        3,424       12,029     0.1       10.6   60.8   28.5
58.a        0             0            3            54          57       0.0       0.0     5.8   94.2
30.c         0            0            12           6           18       0.0       0.0    69.1   30.9
 3.f        34           85           308           19         446       7.6       19.2   69.1   4.2
30.a         0            0            4            16          19        0.0       0.0   19.5   80.5
 3.a        207          42           353          144         746       27.8       5.6   47.3   19.3
20.a       2,886        931          19,586      48,921       72,324     4.0        1.3   27.1   67.6
3.g          0           33           171          29          234       0.0       14.1   73.3   12.6
64          234         556          12,102       13,005      25,898     0.9        2.1   46.7   50.2
 5          29          280          2,399         1,579      4,288      0.7        6.5   55.9   36.8
3.e         359          46          1,363         689         2,456     14.6       1.9   55.5   28.0
35           8           138          490         1,166        1,802     0.4        7.7   27.2   64.7
1.b          6            12           0            0            18      35.0      65.0   0.0    0.0
66           4           67          1,126         296         1,493      0.3      4.5    75.4   19.9
 8          347         1,167        3,077        1,073        5,663     6.1       20.6   54.3   19.0
43.b         0            29           0           613          642      0.0       4.6     0.0   95.4
 7          163          527         3,651        1,309        5,651     2.9        9.3   64.6   23.2
 26         39          1,102        19,952      48,555       69,649     0.1        1.6   28.6   69.7
56           4           366         2,965        8,558       11,893     0.0       3.1    24.9   72.0
 2         6,146        3,449        12,387       9,746       31,731     19.4      10.9   39.0   30.7
40          547         1,490        4,523        4,566       11,125     4.9       13.4   40.7   41.0
3.h          3           226          492          189         910       0.3       24.8   54.1   20.8



                                                                                Rvsd Plan - 00005522
       Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 431 of 475



36.a         0           43           925          5,018       5,986     0.0        0.7   15.5   83.8
28           7           583         11,116       52,202      63,909     0.0        0.9   17.4   81.7
60         1,195        3,257         1,006         0          5,459     21.9      59.7   18.4   0.0
45.a        47          737          4,404        2,533        7,721     0.6        9.5   57.0   32.8
 41        1,536        3,146       21,558        19,114      45,353     3.4        6.9   47.5   42.1
46           5           168         1,063        8,290        9,526     0.1        1.8   11.2   87.0




                                                                                Rvsd Plan - 00005523
                                                            Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 432 of 475



Table 2 - Ecosystem Composition of Wilderness Inventory Areas
  Values are the estimated acres of each ecosystem occuring within each USFS Chapter 70
                                wilderness inventory area                                 Chapter 70 wilderness inventory Areas

Ecosystem                                                                                       9            11           3.i     20.b     53     36.b   61        3.b      37.b       39

Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                   72           28            50      154      0      0     180        25      188          6
Rocky Mountain Aspen Forest and Woodland                                                        76          966          1,126    4,062      1     0     627       133      729        605
Rocky Mountain Lodgepole Pine Forest                                                          1,068         495           379       41      0      0       0        42       0          30
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                              397         1,790          265     4,751    579     0      42       251     1,623      1,588
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                 1,028         557            42     4,455    175     0      41        23     2,132      1,040
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                              205          876            28     1,102      1     0       0       131        1        790
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                    868          652            15     1,718     0      0     111       521       48       1,700
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                       1,003         424            24     2,116     0      1      70        20       79       1,037
Southern Rocky Mountain Ponderosa Pine Woodland                                               2,167          26            0      1,700     0      0      23        85       0        2,202
Colorado Plateau Pinyon-Juniper Woodland                                                        0            0             0         3      0      0       0        0        0          0
Southern Rocky Mountain Pinyon-Juniper Woodland                                                783           0             0      2,952     0      0       0         0        1        661
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                    0            0             0         4      0      0       0         0        0          3
Rocky Mountain Subalpine-Montane Riparian Woodland                                             191            0             0        0      0      0       0        21       0           2
Southern Rocky Mountain Montane-Subalpine Grassland                                           2,111         439            45     8,648     0      1     181        70     1,031      1,482
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                                3            0             0        1      0      0       6       350       0           9
Rocky Mountain Lower Montane-Foothill Shrubland                                                 0             0             0       11      0      0       0         0        0          3
Rocky Mountain Subalpine-Montane Mesic Meadow                                                   39           53            13      783       9     0       0        58      130        325
Rocky Mountain Alpine-Montane Wet Meadow                                                        0            28             0     1,147   1,705    0      55        36      235         11
Rocky Mountain Subalpine-Montane Riparian Shrubland                                             47           24            28      800     755     0     197         4      840         70
Inter-Mountain Basins Big Sagebrush Shrubland                                                   0            0             0        0       0      0       0        0        0          0
Inter-Mountain Basins Montane Sagebrush Steppe                                                 149            2            79        2      0      0       0         0        0          6
Inter-Mountain Basins Semi-Desert Grassland                                                     0            0             0         8      0      0       0         0        0         0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                  0            0              0      222      0      0       0         0        0          1
Rocky Mountain Alpine Fell-Field                                                                0            0             0       138      74     0       0         0       64         0
Rocky Mountain Alpine Turf                                                                      0             0            10       86     304     0       0         0       57         0
Rocky Mountain Cliff, Canyon and Massive Bedrock                                                 8            0             0      122      0      0       0         0      222         54
Rocky Mountain Alpine Bedrock and Scree                                                         0             0             5       23     100     0       0         0      139         0
Undifferentiated Barren Land                                                                    0             0             0        0      0      0       0         0        0         0
Cultivated Cropland                                                                             0             0             0        0      0      0       0         0        0         0
Introduced Upland Vegetation - Annual Grassland                                                 0             0             0        0      0      0       0         0        0         0
Introduced Upland Vegetation - Perennial Grassland and Forbland                                 0             0             0        0      0      0       1         0       0          0
Recently Logged Areas                                                                           0             0             0       50      71     0       0         2       73          6
Open Water (Fresh)                                                                              0             0             0        4      0      0       6         0        2          6
Quarries, Mines, Gravel Pits and Oil Wells                                                      0             0             0        0      0      0       0         0        0         0
Developed, High Intensity                                                                       0             0             0        0      0      0       0         0        0         0



                                                                                                                                                               Rvsd Plan - 00005524
                                Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 433 of 475




43.a     49      50       6        59     3.c    1.a    32     58.c     4        23       55        29      65       37.a     15     21     18

   2       6     280      67      481      2      32    0       0       257        0        0         0       8        62     238     0     42
 223     504    4,234   6,007    9,234    137     59     3      2      3,458       0      409       197     474       252    2,629    16   1,082
  22       2       3    9,623       2      0     107     0      0      3,671       0        0         0       0         4      17      1     39
2,767   2,052    559    4,603    10,539    11    328     3      4       837        0     2,558     1,218    466      1,331   1,877   218    765
2,628   1,229   1,633   3,185    6,727     0     134     2      1      1,541       0     3,109     1,507    566      1,352   2,001    42    413
   0       4      51     686      206      0     190     0      0       503        0        8         0       0         5     532      0    398
  98      0     1,283    439     1,515     16    179     0      0       184        0        1         0       2        36    1,942     0    601
  57      0     2,154    491      986      8      20     0      0       400        0        0         0       0        52    1,418     0    657
   0      0     1,209    858      662      2     463     0      0       911        0        0         0       0         0     934      0    629
   0      0        0       0        0      0       0    0       0        0        36       0         0        0         0      0      0      0
   0      0     1,466     81      671      0     596    0       0       466      655       0         0        0         0      29      0      5
   0      0        0       0        9      0       0    0       0        0         0       0         0        0         0      0      0      0
   0      0        0       8        0      0       3    0       0         3        0       0         0        0         0      0      0      0
  83      0     2,661   1,501    1,042     3     274    39      0      1,615    2,075      52       122      71       112    3,799    27   1,364
   0      0        2      11        0      14      0    0       0        0         0       0         0        0         0       3     0      0
   0      0       20       0        0      0       0    0       0         1       71       0         0        0         0      0      0      0
   7      91      34     869     1,329    26      10    38      0       189        0      171        95     612        30     131     35     45
  76    1,153      5     163     1,626    23      36     0      0        99        0      614        81     202        40      30     10     31
 123    1,476     54    1,191    1,193      1     78    32      0       520        0      491       864     348       174     130      7     23
   0      0        0       0        0      0      48    0       0        0         0       0         0        0         0      0      0      0
   0      0        0     461        0      0       0    0       0       191        0       0         0        0         0      24     0       4
   0      0        0       0        0      0       0    0       0        0       224       0         0        0         0      0      0      0
   0      0        3       0        1      0       0    0       0        0      1,722      0         0        0         0      0      0      0
  26     177       0      59        4      0       9    0       0         9        0        5       151       0         3      0      0      0
  17     290       0    1,260      14      0     119    0       0       328        0       0       1,534      0        12      0       0      0
  39     161       3      90      226      0     139    0       0       139      307      114        19       0       180      7       0      9
 104     231       0    1,317      21      0    1,196    0      0       211        0       29       520       0        17      0       0      0
   0      0        0       0        0      0       0    0       0        0         0       0         0        0         0      0      0      0
   0      0        0       3        0      0       0    0       0        0         0       0         0        0         0      0      0      0
   0      0        0       0        0      0       0    0       0        0         0       0         0        0         0      0      0      0
   0      0        0       0        2      0       0    0       0        0         0       0         0        2         0      0      0      0
  14     210      23      40       76      0       0     0      0        64        0      102        18      22         4      15      0      9
   6      0        0       0       76      0       5    0       0         0        0        4         6       0         2      0       0      0
   0      0        0       0        2      0       0    0       0         0        2       0          0       0         0      0       0      0
   0      0        0       0        0      0       0    0       0         2        1       0          0       0         0      0       0      0



                                                                                                                         Rvsd Plan - 00005525
                              Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 434 of 475




31   54    57     33     51           44     42    24    30.b   45.b     38.a     22     63.c    13     38.b     52     63.a    34

 0   0       0      1     857         466     0    0      0       50      570      26     9      313      43       7     792    21
23   3      77    160   18,632       2,448     0    0     0      698    5,553      29     7     1,277    275    3,324   7,968    0
 0   0       0      0       9          28     0     0     0        1      186       0     0       24       1       2       0     0
10   2    1,416     6   7,728        2,355   339   75     0     4,483   9,277      85     0      802    2,833   4,496   9,393   48
 1   2    1,598    15   12,097       1,573    75   16     0     2,600   10,938    333     0      883    1,181   3,466   5,095   164
 0   0       1      0     667          68      0    0     0       18     1,706    159     0      101      12      72       4     0
 0   0       5      0   5,523        1,829     0    0     0      290     1,110    313     0      998      41     359     382     0
 0   0       0      0   5,655        1,192     0    0     0       60     1,616   1,004    7     1,637      0     103     232     0
 0   0       0      0    3,067        792     0     0     0       12      274     641     0     1,337      3      23     129     0
 0   0       0      0       7           0     0     0     0        0        0       6     0        0       0      0        1     0
 0   0       0      0    3,333        139     0     0     0        0       10    4,521    0     1,146      0       2      21     0
 0   0       0      0      12           0     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0      0       6           0     0     0     0        0        0       0     0        1       0      0        0     0
75   0      67    175   10,892        650      0    3     0       62     3,421   2,780    0     1,911      9     189     186     1
 0   0       0      0      17           0     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0      0       2           0     0     0     0        0        0      64     0        0       0      0        0     0
 0   0      93      0     232          54     10   15     0      124      425       4     0       10      77     218    1,366    0
 0   6     273     34    3,364         20      3    2     0     2,082     450       0     0        2     234    3,232   4,591    0
 4   2     604     92   2,274          80     8     1     5     1,641     798      52     0       75     508    1,325   1,851   26
 0   0       0      0       0           0     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0      3       9           0     0     0     0        0       11       1     0       58       0      0        0     0
 0   0       0      0       0           0     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0      0     255           0     0     0     0        0        1     178     0       25       0      0        0     0
 0   0      66      0     587           0     0     0     0      226      48        0     0        0     212     114     192     0
 0   0      80      0     974           4     0     0     0      363       18       0     0        0     286     113      74     0
23   0     127     61     278         155     0     1     0      176      104      64     0        7     214     746     377     2
 0   0     162      0     899          28     5     3     0      609        6       0     0        0     483     576     724     0
 0   0       0      0       0           0     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0      0       0           1     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0      0       0           0     0     0     0        0        0       0     0        0       0      0        0     0
 0   0       0     16       0           0     0     0     0        0        0       0     0        0       0      0       30     0
 0   0      84      0     170          11     0     0     0      236       25       0     0       15      20     154     420     0
 0   0     716    388     41            3     0     0     0       29       11      35     0        2      10       3      75     0
 0   0       0      0       2           0     0     0     0        0        2      10     0        0       0       1       0     0
 0   0       0      3       0           0     0     0     0        0        0       0     0        0       0      0        0     0



                                                                                                                        Rvsd Plan - 00005526
               Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 435 of 475




58.b    62           63.b    3.d     12      25.a    25.b    27      10     58.a   30.c   3.f   30.a   3.a     20.a    3.g    64      5

 0       19          62      0        29       42      0      0       25     0      0     26     0      19      177    13     213      53
 0     2,773         14       2       812    2,488    21    2,359    680     3       3    185    4     40     7,647    127   5,690   1,142
 0        2           0       0       226      32      0       0    3,915    0      0     65     0      75       85    27       5     896
 0     1,245          0       0      2,838   4,162   445    6,581   2,838   42       3     0     0      86    14,343    17   2,374    213
 1      563           0       0      2,942   3,022   141    3,525    188     8      0      1     0       6    13,176    4    1,296    894
 0        0           0       0      1,066    742      2       0     126     0      0      0     0      31     1,257    0      23      27
 0       38           3      16      3,161    612      0       0     886     0      0     46     0     213      746     4     270      33
 0       35          37       0     2,237     513      0       0     272     0      0      9     0       9     1,141    0     549     218
 0        0           8       4     5,148     374      0       0    1,056    0      0      1     0     21       459     0     147       2
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        0     0       0       0
 0        0           0       0       130      54      0      0       14     0      0      0     0       0    2,787     0      14       0
 0        0           8       0         0       0      0       0       0     0      0      0     0       0       20     0      21       0
 0        0           0       1         0       0      0       0       0     0      0      0     0      11        0     0      96       1
 0       64          29       1     10,851   5,254    75    4,473   1,564    0      10     3     0       6    9,967     12   5,494    108
 0        0           9      46        25       1      0      0        3     0      0     30     0     207       18     0     189      25
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        8     0       0       1
 0      244           0       0       228    1,212   439    1,769     66     0      0      4     0       5    2,377     0    6,373    43
 0      277           0       8        75    2,072    81     256      34     4      0      7     0      16    5,180      3   1,338    162
 0      251          32       0       157    2,518    63    3,549     81     0      0      6     15      0    6,856      6   1,470    135
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        0     0       0       0
 0        0           0       0       187       6      0      10     162     0      0     58     0       0       15    20       4     126
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        0     0       0       0
 0        0           0       0         3       2      0       0       0     0      0      0     0       0       20     0       0       0
 0        0           0       0         0    1,003     0     106       0     0      0      0     0       0     1,308    0      0        4
 0        0           0       0         0    1,976    10    5,341     26     0      0      0     0       0    2,495     0      0       90
 0        2           0       0       137     705    136     740      12     0      2      0     0       0      770     0     121       3
 0        0           0       0        14    1,582    17     409      53     0      0      0     0       0     1,159    0      11       8
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        0     0       0       0
 0        0           0       0         0       0      0       0       0     0      0      4     0       0       27     0       2       3
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        0     0       0       0
 0        0           0       0         0       0      0       0       0     0      0      0     0       0        0     0       8       0
 0        5           0       0       30       60      4     314     29      0      0      0     0       1      277     0     181      99
 0       22           0       0         2      29      0     202       0     0      0      0     0       0        2     0      12       0
 0        0           0       0         0       0      0      0        0     0      0      0     0       0        5     0       0       0
 0        0           0       0         0       0      0      0        0     0      0      0     0       0        0     0       0       0



                                                                                                             Rvsd Plan - 00005527
                                 Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 436 of 475




3.e   35    1.b   66     8      43.b    7       26       56      2       40     3.h   36.a     28       60     45.a     41      46

  9    32   0      21     71      0      64      245     113     906      13     52     27      121      9      434     711     132
253   118   0     581    173      0     904    7,072    2,338   3,394   1,182   292    705    6,908     49     1,652   8,868    361
254     0   0       0   1,147     0    1,855      28       3     314      73    132      6        2      3       12     673       8
398   500   0     118    278    271     425    10,625   3,038   3,384   3,173   117   1,986   10,212     0      898    8,141   4,899
118   592   0      16    502    235     634    7,703    3,040   2,438    937     44   2,270   8,002      0     1,475   8,976   2,638
 27     0   0      16    247      0     126      717      21    1,213    285      0     46        0      0        0     121       3
459    26   0     194    359      0     120     1,062    138    4,077   1,644    29     73        0     295    1,084   1,783    224
 59    30   0      63    327      0     208     1,026    292    1,471    653     22     83        5     295    1,276   4,453    424
 27    10   12     36    910      0     419      519      26    2,474   1,469     0     10        3    3,243    263    2,349      3
  0     0   0       0      0      0       0        0       0       0       0      0      0        0      0        0       0       0
  0     0    6      4    343      0     163       23       0    5,772    544      0      0        0    1,163     38    1,499      2
  0     0   0       0      0      0       0        0       0       2       0      0      0        0      0        0      11       0
 10     0   0       0     26      0       1        0       0      44      14      0      0        0      0        0       3       0
327   316   0     288   1,045     0     563    10,764    194    3,087    957     17     57    4,200     363     380    5,777     46
358     2   0       0      0      0       0        0       4      39       0      3      0        3      5        0      14       0
  1     0   0       0      0      0       0        0       0       9       3      0      0        0      0        0       0       0
 25     1   0     117      8     39       2     3,814    271     375      19      1     76     1,529     0       47     663     223
 25     0   0      15      1     14       3     3,479    840     217      15      0     79      643      0       16     219     117
 30    72   0       3     33     56     113    6,370     683     318      62     26    306    6,674      0       86     869     214
  0     0   0       0      0      0       0        0       0      22       0      0      0        0      0        0       0       0
 10     0   0      10    185      0      40       14       0      33       0    173      0       14      0        0       3       0
  0     0   0       0      0      0       0        0       0      16       0      0      0        0      4        0       0       0
  0     0   0       0      0      0       0        0       0     298       0      0      0        0     28        0       0       0
 12     0   0       0      0      0       0     1,103    113     407       0      0     23     1,938     0        0       4       5
 19     0   0       0      0      0       0    10,051     99     302       0      0     31    16,320     0        0       3       0
  6     2   0      11      4      0       7     1,625    306      83      74      0     12      811      0       11     106     174
 28     0   0       0      0      0       0     3,068    147    1,009      0      0    189    6,072      0        0      12      18
  0     0   0       0      0      0       0        0       0       0       0      0      0        0      0        0       0       0
  0     6   0       0      0      0       0        0       0       4       0      0      0        0      0        1      11       0
  0     0   0       0      0      0       0        0       0       3       0      0      0        0      0        0       0       0
  0     0   0       0      0      0       0        1       0       0       0      0      0        4      0        8       0       3
  0     0   0       0      0     23       4      256     141      13       7      0      0      369      0        4      29      28
  0    96   0       0      0      6       0       67      87       8       1      0      6       77      0       36      53       5
  0     0   0       0      3      0       0       15       0       0       0      0      0        0      0        0       0       0
  0     0   0       0      0      0       0        0       0       0       0      0      0        0      0        0       0       0



                                                                                                                                       Rvsd Plan - 00005528
                                          Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 437 of 475



Table 3 - Rio Grande National Forest Ecosystems Representation
                                                                              Rio Grande NF        Rio Grande NF Non­ All Rio Grande   % Rio Grande   % Coverage, Rio
Ecological Group ("Ecosystem")
                                                                              Wilderness (Acres)   Wilderness (Acres) NF (Acres)       Wilderness     Grande Forest Area


Representation @ < 20%
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                     4,044              17,524            21,569           18.8              1.2
Rocky Mountain Subalpine-Montane Mesic Meadow                                        7,832               36,940            44,772           17.5              2.5
Rocky Mountain Aspen Forest and Woodland                                             28,744              180,349           209,094          13.7              11.6
Recently Logged Areas                                                                 2,809              21,751            24,560           11.4               1.4
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland           3,615              63,607            67,222            5.4              3.7
Rocky Mountain Lodgepole Pine Forest                                                  1,801              43,089            44,890            4.0              2.5
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland               2,069              56,698            58,767            3.5              3.3
Southern Rocky Mountain Montane-Subalpine Grassland                                   6,478              184,796           191,274           3.4              10.6
Introduced Upland Vegetation - Perennial Grassland and Forbland                         2                  126               128             1.6              0.0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                      22                 1,812             1,833            1.2              0.1
Inter-Mountain Basins Montane Sagebrush Steppe                                         39                 3,590             3,629            1.1              0.2
Southern Rocky Mountain Ponderosa Pine Woodland                                        634               63,099            63,733            1.0              3.5
Rocky Mountain Lower Montane-Foothill Shrubland                                         3                  567               571             0.6              0.0
Southern Rocky Mountain Pinyon-Juniper Woodland                                        244               46,843            47,087            0.5              2.6
Rocky Mountain Subalpine-Montane Riparian Woodland                                      2                  516               518             0.4              0.0
Colorado Plateau Pinyon-Juniper Woodland                                                0                  180               180             0.0              0.0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                            0                 412                412             0.0              0.0
Inter-Mountain Basins Semi-Desert Grassland                                             0                 1,265             1,265            0.0              0.1
Inter-Mountain Basins Semi-Desert Shrub Steppe                                          0                 6,470             6,470            0.0              0.4
Inter-Mountain Basins Active and Stabilized Dune                                        0                   1                 1              0.0              0.0
Total                                                                                58,339              729,636           787,975           7.4              43.7


Representation @ < 10%
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland           3,615              63,607            67,222            5.4              3.7
Rocky Mountain Lodgepole Pine Forest                                                  1,801              43,089            44,890            4.0              2.5
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland               2,069              56,698            58,767            3.5              3.3
Southern Rocky Mountain Montane-Subalpine Grassland                                   6,478              184,796           191,274           3.4              10.6
Introduced Upland Vegetation - Perennial Grassland and Forbland                         2                  126               128             1.6              0.0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                      22                 1,812             1,833            1.2              0.1



                                                                                                                                            Rvsd Plan - 00005529
                                          Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 438 of 475



Inter-Mountain Basins Montane Sagebrush Steppe                                       39              3,590          3,629      1.1          0.2
Southern Rocky Mountain Ponderosa Pine Woodland                                      634            63,099         63,733      1.0          3.5
Rocky Mountain Lower Montane-Foothill Shrubland                                       3              567            571        0.6          0.0
Southern Rocky Mountain Pinyon-Juniper Woodland                                      244            46,843         47,087      0.5          2.6
Rocky Mountain Subalpine-Montane Riparian Woodland                                    2              516            518        0.4          0.0
Colorado Plateau Pinyon-Juniper Woodland                                              0              180            180        0.0          0.0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                          0              412            412        0.0          0.0
Inter-Mountain Basins Semi-Desert Grassland                                           0              1,265         1,265       0.0          0.1
Inter-Mountain Basins Semi-Desert Shrub Steppe                                        0              6,470         6,470       0.0          0.4
Inter-Mountain Basins Active and Stabilized Dune                                      0                1             1         0.0          0.0
Total                                                                               14,910          473,072       487,981      3.1         27.1


Representation @ < 5%
Rocky Mountain Lodgepole Pine Forest                                                1,801           43,089         44,890      4.0          2.5
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland             2,069           56,698         58,767      3.5          3.3
Southern Rocky Mountain Montane-Subalpine Grassland                                 6,478           184,796       191,274      3.4         10.6
Introduced Upland Vegetation - Perennial Grassland and Forbland                        2              126           128        1.6          0.0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                     22             1,812         1,833       1.2          0.1
Inter-Mountain Basins Montane Sagebrush Steppe                                        39             3,590         3,629       1.1          0.2
Southern Rocky Mountain Ponderosa Pine Woodland                                      634            63,099         63,733      1.0          3.5
Rocky Mountain Lower Montane-Foothill Shrubland                                       3              567            571        0.6          0.0
Southern Rocky Mountain Pinyon-Juniper Woodland                                      244            46,843         47,087      0.5          2.6
Rocky Mountain Subalpine-Montane Riparian Woodland                                    2              516            518        0.4          0.0
Colorado Plateau Pinyon-Juniper Woodland                                              0               180           180        0.0          0.0
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                          0               412           412        0.0          0.0
Inter-Mountain Basins Semi-Desert Grassland                                           0              1,265         1,265       0.0          0.1
Inter-Mountain Basins Semi-Desert Shrub Steppe                                        0              6,470         6,470       0.0          0.4
Inter-Mountain Basins Active and Stabilized Dune                                      0                1             1         0.0          0.0
Total                                                                               11,295          409,465       420,759      2.7         23.3




                                                                                                                               Rvsd Plan - 00005530
                                                     Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 439 of 475



Table 4 - Chapter 70 Wilderness Inventory Unit Analysis of Ecosystem Composition


  Values are the estimated acres of each ecosystem occuring within each USFS Chapter 70
                                                                                                                           orange = if added, creates
                                wilderness inventory area
                                                                                                                           20% representation         Chapter 70 Roadless Areas
                                                                                          Forest        Acres needed for   Number of Wilderness
Ecosystem                                                                                 Ecosystem     adequate           Inventory Areas to Reach      3.g           53           30.c       3.a
                                                                                          Representatio protection in      Adequate Protection
Introduced Upland Vegetation - Perennial Grassland and Forbland                                < 5%              24                      1                0             2             1        181
Colorado Plateau Pinyon-Juniper Woodland                                                       < 5%              36                      1                0             0             0         14
Rocky Mountain Lower Montane Riparian Woodland and Shrubland                                   < 5%              82                      1               10            21            11        96
Rocky Mountain Subalpine-Montane Riparian Woodland                                             < 5%              102                     1              327            70             6       5,494
Rocky Mountain Lower Montane-Foothill Shrubland                                                < 5%              111                     1               25            58             5       6,373
Inter-Mountain Basins Semi-Desert Grassland                                                    < 5%             253                      1                0             0             0          0
Rocky Mountain Gambel Oak-Mixed Montane Shrubland                                              < 5%             345                     NA                1             0             0          0
Inter-Mountain Basins Montane Sagebrush Steppe                                                 < 5%             687                     NA                0             0             0          0
Inter-Mountain Basins Semi-Desert Shrub Steppe                                                 < 5%            1,294                     1               12             0             0          0
Rocky Mountain Lodgepole Pine Forest                                                           < 5%            7,177                     1              398           251            86       2,374
Southern Rocky Mountain Pinyon-Juniper Woodland                                                < 5%            9,173                    NA                0             0             0         21
Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland                        < 5%            9,685                     3               27            85           21         147
Southern Rocky Mountain Ponderosa Pine Woodland                                                <5%            12,112                    NA                0             0             0          0
Southern Rocky Mountain Montane-Subalpine Grassland                                            < 5%           31,777                    NA              358           350           207        189
Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland                  5 - 10%           9,829                     2               59            20             9        549
Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland                            10 - 20%           269                      1              459           521           213        270
Rocky Mountain Subalpine-Montane Mesic Meadow                                                10 - 20%          1,122                     1               25            36            16       1,338
Recently Logged Areas                                                                        10 - 20%          2,103                    26                0             0             0        12
Rocky Mountain Aspen Forest and Woodland                                                     10 - 20%         13,075                     2              254            42            75          5
Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland                                 > 20%              NA                     NA              253           133           40        5,690
Inter-Mountain Basins Big Sagebrush Shrubland                                                 > 20%              NA                     NA               10             0             0          4
Open Water (Fresh)                                                                            > 20%              NA                     NA                0             0             0          0
Rocky Mountain Alpine Bedrock and Scree                                                       > 20%              NA                     NA                0             0             0          0
Rocky Mountain Alpine Fell-Field                                                              > 20%              NA                     NA               19             0             0          0
Rocky Mountain Alpine Turf                                                                    > 20%              NA                     NA                6             0             0        121
Rocky Mountain Alpine-Montane Wet Meadow                                                      > 20%              NA                     NA               30             4            0        1,470
Rocky Mountain Cliff, Canyon and Massive Bedrock                                              > 20%              NA                     NA               28             0             0         11
Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland                             > 20%              NA                     NA              118            23             6       1,296
Rocky Mountain Subalpine Mesic Spruce-Fir Forest and Woodland                                 > 20%              NA                     NA               27           131           31          23
Rocky Mountain Subalpine-Montane Riparian Shrubland                                           > 20%              NA                     NA                0             0             0          0



                                                                                                                                                                                  Rvsd Plan - 00005531
                       Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 440 of 475




58.b     7     10    20.a      62       3.f       54       50      28    43.a     61      34       20.b      3.h     43.b      40

 0       13     0     99         30     277       170       0      29      40      6      0         0          0     141       369
 0     5,772    0      0        130    2,787     3,333      0    1,499     81     661     0         0       1,163     0         0
 1       44     0      1          0       0         6       0       3       8      2      0         0         0       0         0
 1     3,087    3    108      10,851   9,967     10,892     3    5,777   1,501   1,482    29       181       363     194      4,200
0       375     4    43         228    2,377      232      26     663     869     325     0         0          0     271      1,529
0       298     0      0          3      20       255      0        0       0       1     0         0         28      0         0
 0        9     0      1          0       8         2      0        0       0      3      0         0         0       0         0
 0       16     0      0          0       0         0      0        0       0      0       0        0         4       0         0
 0      407     0      4          0    1,308      587      0        4      59      0      0         0         0      113      1,938
0      3,384    0    213      2,838    14,343    7,728     11    8,141   4,603   1,588    0        42         0     3,038     10,212
0         2     0      0          0      20        12      0       11       0      3       8        0         0       0         0
 4     2,474    1      2      5,148     459      3,067      2    2,349    858    2,202     8       23       3,243    26          3
0         0     0       0        0        0         7       0       0       0      0       0        0         0       0         0
46       39    30      25        25      18        17      14      14      11      9       9        6          5      4         3
0      1,471    9     218     2,237    1,141     5,655      8    4,453    491    1,037    37       70        295     292         5
16     4,077   46      33     3,161     746      5,523     16    1,783    439    1,700     3       111       295     138        0
 8      217     7     162        75    5,180     3,364     23     219     163      11     0        55         0      840       643
 0       8      0       0         2       2        41       0      53       0      6       0        6         0      87         77
 0      314    65     896       226      85         9       0     673    9,623     30      0         0         3       3         2
 2     3,394   185   1,142      812    7,647     18,632    137   8,868   6,007    605     14       627       49     2,338     6,908
 0       33    58     126       187      15         9       0       3     461       6      0         0        0        0        14
 0        0     0       0         0       5         2       0       0       0       0      0         0        0        0        0
 0        0     0       0         0       0         0       0       0       0       0      0         0        0        0        0
 0      302     0      90         0    2,495      974       0       3    1,260      0      0         0        0       99      16,320
 0       83     0       3       137     770       278       0     106      90      54      0         0        0      306       811
 0      318     6     135       157    6,856     2,274      1     869    1,191     70     32       197        0      683      6,674
 0     1,009    0       8        14    1,159      899       0      12    1,317      0      0         0        0      147      6,072
 0     2,438    1     894     2,942    13,176    12,097     0    8,976   3,185   1,040     0        41        0     3,040     8,002
 0     1,213    0      27      1,066   1,257      667       0     121     686     790      0         0        0       21        0
 0       22     0       0         0       0         0       0       0       0       0      0         0        0        0        0



                                                                                                              Rvsd Plan - 00005532
                              Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 441 of 475




56     29     25.a     39      64      63.b     9      6       1.a      66         35      24       26     37.a      8       57     30.a   38.a     3.b

  0     15      29      23      0       60      50       0      64        4         0       25        7       9      256      11     0       15     14
  0     29      14    1,466     0       54    2,952    596     466      163        343      10      544       5       23     139     0     1,146      0
  0     0        0       0      0        0       0       3       3        1        26       0        14       0        0      0      0        1       0
 17   3,799   1,564   2,661    316    5,254   8,648    274    1,615     563       1,045   3,421     957    1,364   10,764    650     12    1,911     83
  1    131      66      34       1    1,212    783      10     189        2         8      425       19      45    3,814      54     0       10       7
  0     0        0       3      0        2     222      0        0        0         0        1        0       0        0       0     0       25       0
  0     0        0      20      0        0      11      0        1       0          0       0         3       0        0       0     0        0       0
  0     0        0       0      0        0       8      0        0        0         0       0         0       0        0       0     0        0       0
  0     0        0       0      0     1,003    138       9       9        0         0       48        0       0     1,103      0     0        0      26
117   1,877   2,838    559     500    4,162   4,751    328     837      425        278    9,277    3,173    765    10,625   2,355    17     802    2,767
  0     0        0       0      0        0       4      0        0        0         0       0         0       0        0       0     0        0       0
  0    934    1,056   1,209     10     374    1,700    463     911      419        910     274     1,469    629      519     792     0     1,337      0
  0     0        0       0      0        0       3      0        0        0         0       0         0       0        0       0     0        0       0
  3      3       3       2      2        1       1      0        0        0         0       0         0       0        0       0     0        0       0
 22   1,418    272    2,154    30      513    2,116     20     400      208        327    1,616     653     657     1,026   1,192    0     1,637     57
 29   1,942    886    1,283    26      612    1,718    179     184      120        359    1,110    1,644    601     1,062   1,829    4      998      98
  0     30      34       5      0     2,072   1,147     36      99        3         1      450       15      31    3,479      20     3        2      76
  0     0        0       0     96       29      4        5       0        0        0        11        1       0     67         3     0        2      6
132     17    3,915      3       0      32      41     107    3,671    1,855      1,147     186      73      39       28      28    27       24      22
292   2,629    680    4,234    118    2,488   4,062     59    3,458     904        173    5,553    1,182   1,082   7,072    2,448   127    1,277    223
173     24     162       0       0       6       2       0     191       40        185       11       0       4       14       0    20       58       0
  0     0        0       0       0       0       0      0        0        0          3       2        0       0       15       0     0        0       0
  0     0        0       0       0       0       0      0        0        0          0       0        0       0       0        0     0        0       0
  0     0       26       0       0    1,976     86     119     328        0          0       18       0       0    10,051      4     0        0      17
  0      7      12       3       2     705     122     139     139        7          4      104      74       9     1,625    155     0        7      39
 26    130      81      54      72    2,518    800      78     520      113         33      798      62      23    6,370      80     6       75     123
  0     0       53       0       0    1,582     23    1,196    211        0          0        6       0       0    3,068      28     0        0     104
44    2,001    188    1,633    592    3,022   4,455    134    1,541     634        502    10,938    937     413    7,703    1,573    4      883    2,628
  0    532     126      51       0     742    1,102    190     503      126        247     1,706    285     398      717      68     0      101       0
  0     0        0       0       0       0       0     48        0        0          0       0        0       0       0       0      0       0        0



                                                                                                                            Rvsd Plan - 00005533
                              Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 442 of 475




36.a     60       2      55                     63.c                  49        63.a     37.b          42           65        22      32

 4        28      0      4                       154                    76         5      210          236            0        20       0
  38       2      0       0                        2                   671         0        0            0            0         0     655
   0       0      0       0                       0                      0         0        0            0            0         0       0
 380      46     57      112                     189                 1,042        64        0           62           27         9    2,075
 47      223     76       30                     218                 1,329       244       91          124          35         77       0
   0       0      0       0                       0                      1         0        0           0             0         0    1,722
   0       0      0       0                       0                      0         0        0            0            0         0      71
   0       0      0       0                       0                      0         0        0            0            0         0     224
   0       5     23        3                     114                     4         0      177          226            0       212       0
 898    4,899   1,986   1,331                   4,496                10,539     1,245    2,052        4,483         218      2,833      0
   0       0      0       0                       0                      9         0        0            0            0         0       0
 263       3      10      0                       23                   662         0        0           12            0         3       0
   0       0      0       0                       0                      0         0        0            0            0         0      36
   0       0      0       0                       0                      0         0        0            0            0         0       0
1,276    424     83       52                     103                   986        35        0           60            0         0       0
1,084    224     73       36                     359                  1,515       38        0          290            0        41       0
  16     117     79      40                     3,232                1,626       277     1,153        2,082          10       234       0
 36       5       6        2                      3                   76          22        0          29            0        10        0
  12      8        6      4                        2                    2          2        2            1           1          1       0
1,652    361     705     252                    3,324                9,234      2,773     504          698          16        275       0
  0       0        0      0                        0                    0          0        0           0            0         0        0
  0       0        0      0                        1                    2          0        0           0            0         0        2
  0       0        0      0                        0                    0          0        0           0            0         0        0
  0       0       31      12                     113                   14          0      290          363           0        286       0
  11     174      12     180                     746                  226          2      161          176           0        214     307
 86      214     306     174                    1,325                1,193       251     1,476        1,641          7        508       0
  0       18     189      17                     576                   21          0      231          609           0        483       0
1,475   2,638   2,270   1,352                   3,466                6,727       563     1,229        2,600         42       1,181      0
  0       3      46        5                      72                  206          0        4           18           0         12       0
  0       0        0      0                        0                    0          0        0           0            0         0        0



                                                                                                                   Rvsd Plan - 00005534
                                     Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 443 of 475




30.b     13     36.b    3.e   45.b      3.i     5      12     58.c     18      4       11     23    3.d   33    1.b       51    38.b   25.b   15      31

  0      420      73      0    0         0      0     314     102      84       18     71     22     4     0     23        0      0     0      0       0
4,521     21       1      4    0         0       6      0        0       0      0       0       0     0    0      0        0      0     0      0       0
  0       0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
2,780    186    1,031   288    0         1      0     4,473     52      67     122      0      71    75    0     0         3      1     0     75      175
  4     1,366    130    117    0         0      0     1,769    171      93     95       9     612   439    10    39       15      0     0      0       0
 178      0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
  64      0        0     0     0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
  0       0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
  0      192     64      0     0         0       0     106       5     66      151     74       0    0     0     0         0      0     0      0       0
  85    9,393   1,623   118    0         0      0     6,581   2,558   1,416   1,218    579    466   445   339   271       75     48    42     10       6
  0       0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
 641     129       0    36     0         0      12      0        0      0       0       0       0     0    0      0        0      0     0      0       0
   6       1       0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
  0       0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
1,004    232      79     63    7         1      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
 313     382     48     194    0         0       0      0        1       5      0       0       2     0    0      0        0      0     0      0       0
  0     4,591    235     15    0         0      0      256     614     273     81     1,705   202    81    3     14        2      0     4      0      34
  35     75        2      0    0         0      0      202     4       716     6        0       0     0   0      6         0      0     0      0      388
  0       0       0       0    0         0      0       0       0       0       0       0       0     0   0      0         0      0     0      0       0
  29    7,968    729    581    7         0      0     2,359    409      77     197      1     474    21    0     0         0      0     3     23      160
   1      0        0     10    0         0      0       10       0       0      0       0       0     0    0      0        0      0     0      0       3
  10      0        0     0     0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
  0       0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0
  0       74      57      0    0         0      0     5,341      0      80    1,534    304      0    10    0     0         0      0     0      0       0
  64     377     222     11    0         0      0      740     114     127      19      0       0   136    0     0         1      2     0     23      61
  52    1,851    840      3    0         0      0     3,549    491     604     864     755    348    63    8     56        1     26     0      4      92
  0      724     139     0     0         0      0      409      29     162     520     100      0    17    5     0         3      0     0      0       0
 333    5,095   2,132    16    0         0      0     3,525   3,109   1,598   1,507    175    566   141   75    235       16     164    8      1       15
 159      4        1     16    0         0      0       0        8       1      0       1       0     2    0      0        0      0     0      0       0
  0       0        0      0    0         0      0       0        0       0      0       0       0     0    0      0        0      0     0      0       0



                                                                                                                               Rvsd Plan - 00005535
                          Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 444 of 475




3.c   59   27   21   52    58.a    44     45.a   41      46

0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0     39   10   0    0      0      0       0      0      0
0     38   0    0    0       0     0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
4      3   3    2    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    6    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
2      3   3    3    0      4      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   2    0    0      0      0       0      0      0
0     32   0    2    0      15     5       0      0      0
0      0   0    0    0      0      0       0      0      0
1      2   0    2    1      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0
0      0   0    0    0      0      0       0      0      0



                                                                                                               Rvsd Plan - 00005536
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 445 of 475
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 446 of 475
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 447 of 475
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 448 of 475




   LOSS OF BACKCOUNTY AREA DESIGNATION

   There are over 31,000 acres of land on the RGNF currently managed as Backcountry 3.3 areas
   that are being proposed to be converted to other less restrictive management prescriptions in
   Alternative B.

   These 31000+ acres were not included as inventoried roadless areas in 2001 or as a CRA in 2012

   The conversion of these areas to less restrictive management area prescriptions will now open up
   these areas to new road and trail constriction, new electronic sites and utility corridors, timber
   harvest, new facilities, off-road ATV game retrieval, and oil/gas leasing with the NSO
   stipulations removed.

   Here is a visual of the larger 3.3 areas that will be lost, depicted in red. The Conejos Peak
   District has the most areas.




   The majority of the other 3.3 areas are proposed to become Roadless type 3.5 and 3.6 area
   management areas. Some acres of MA 3.3 backcounty are proposed to be recommended for
   Wilderness. These conversions preserve the management intent of 3.3 Backcountry areas.




                                                                         Rvsd Plan - 00005540
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 449 of 475




                                         ATTACHMENT A

              Background on the Issue of Conservation Watersheds in Land Management Plans
                                              October 2016

   Background:
   There have been differences in understanding and interpretation on what is necessary or required
   in plan revisions under the 2012 Planning Rule with regard to Watershed Condition Framework
   (WCF) Priority Watersheds and Conservation Watersheds (i.e., key watersheds, critical aquatic
   refuges, etc.), and the differences between these separate designations. Clarity is needed on the
   important differences within the context of land management planning and the intent and
   expectations set forth in the 2012 Planning Rule.

   During 2015, several inquiries were made to the Watershed, Fish, Wildlife, Air, and Rare Plants
   (WFWARP) and Ecosystem Management Coordination (EMC) staffs by Regions and planning
   units seeking clarification on incorporating Conservation Watersheds into plan revisions. This
   led to the development of an August 7, 2015, Draft Q&A Document entitled “Questions and
   Answers related to Land Management Planning Priority Watersheds” (amended and provided in
   Attachment B), which resulted in further discussions between the Regions and Washington
   Office (WO) to better understand underlying concerns and develop more unifying guidance. In
   October 2015, a national conference call was hosted by WO WFWARP and EMC staffs and the
   Regions to broaden the dialogue, explore the approach of Region 6 to address differences
   between their Conservation Watersheds (in this case, specifically referred to as key watersheds)
   and WCF Priority Watersheds during plan revision, and outline next steps to provide guidance
   and clarification.


   Four follow-up items were identified from that call and subsequent briefings with WFWARP and
   EMC Directors:
          1. Develop a Joint WFWARP - EMC Directors’ Letter to highlight the issue and
             provide guidance and clarification
          2. Amend the August 7, 2015, Q&A Document to acknowledge Conservation
             Watersheds and distinguish them from WCF Priority Watersheds during land
             management planning
          3. Develop Technical Guidance on Conservation Watersheds in Land Management
             Planning to provide the underlying scientific concepts and principles, case studies,
             and policy considerations involved
          4. Host a series of webinars to explore and further broaden the dialogue, understanding,
             and engagement nationwide between FS planners, line officers, hydrologists, fisheries
             biologists, aquatic ecologists, watershed specialists, and others.
   There is a long history of Conservation Watersheds as an important component of land
   management planning going back to the early 1990s with the advent of “key watersheds” under
   the Northwest Forest Plan. Building on the science of conservation biology and examples for
   Wildlife species, aquatic ecologists and planners recognized the need for identification of key
   watersheds as one of the elements in a broader, landscape-scale Aquatic Conservation Strategy.




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Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 450 of 475



                                                                                                 Page 2


   Key Watersheds, as defined under the 1994 Northwest Forest Plan, provide “a system of large
   refugia comprising watersheds that are crucial to at-risk fish species and stocks and provide high
   quality water.”
   Under the Northwest Forest Plan covering 15 national forests in Regions 5 and 6, this network of
   key watersheds was found necessary to “maintain and restore the distribution, diversity, and
   complexity of watershed and landscape-scale features to ensure protection of the aquatic systems
   to which species, populations, and communities are uniquely adapted.” The concept and need
   for key watersheds, or more holistically termed here as Conservation Watersheds, expanded
   further into the Upper Columbia River Basin through development of the PACFISH and INFISH
   Strategies (1995), Sierra Nevada Framework (2001 and 2004), Region 6 Aquatic and Riparian
   Conservation Strategy (2008), and Updated Columbia Basin Strategy (2014).


   Conservation Watersheds under these various strategies and land management planning efforts
   are given different titles, such as critical aquatic refuges in Region 5 as part of the Sierra Nevada
   Framework; however, they all have commonalities, such as 1) conforming to sub-watershed
   boundaries and generally ranging in size from 10,000 to 40,000 acres, 2) containing threatened,
   endangered, or at-risk aquatic species, and 3) forming a connected network of aquatic habitats
   important for ensuring the long-term persistence of those species.
   Conservation Watersheds are intended to maintain multi-scale connectivity for at-risk fish and
   aquatic species, identifying important areas needed for conservation and/or restoration, ensuring
   ecosystem components needed to sustain long-term persistence of species. Conservation
   Watersheds can be of particular importance for recovery of ESA-listed species, helping to focus
   and guide our overall ESA Section 7(a) 1 responsibilities.


   Question and Answer:

    Question 1: Does the 2012 Planning Rule allow for conservation watersheds?

   Yes. The 2012 Planning Rule in 219.8 (a) (1) states “The plan must include plan components,
   including standards or guidelines, to maintain or restore the ecological integrity of terrestrial and
   aquatic ecosystems and watersheds in the plan area ^” While Conservation Watersheds are not
   specifically required, under Section 219.9 (b) (1), the rule states, “If the responsible official
   determines that the plan components required in paragraph (a) are insufficient to provide such
   ecological conditions, then additional, species-specific plan components, including standards or
   guidelines, must be included in the plan to provide such ecological conditions in the plan area.”


   Furthermore, the Preamble to the 2012 Planning Rule recognizes Conservation Watersheds,
   called key watershed networks in the Programmatic Environmental Impact Statement (PEIS),
   and referred to in the Preamble as “approaches for watershed management that have been
   demonstrated to be effective in some parts of the country.”




                                                                         Rvsd Plan - 00005542
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 451 of 475



                                                                                             Page 3


    Question 2: Do WCF Priority Watersheds replace Conservation Watersheds?
   No. WCF Priority Watersheds can best be thought of as tactical and near-term designations
   guiding the implementation of agency work priorities in the near-term, whereas Conservation
   Watersheds are more strategic and long-term designations helping to provide conditions that
   maintain or restore habitat for aquatic species in highly dynamic environments over the duration
   of a land management plan.


   For questions or additional information, please contact Dan Shively, Fisheries Program Manager,
   (dshively@fs.fed.us, 202-205-0951), WO-WFWARP; Mike Eberle, Surface Water Program
   Leader (mbeberle@fs.fed.us, 202-205-1093), WO-WFWARP; or Regis Terney, Land
   Management Planning Specialist, (rterney@fs.fed.us, 202-205-1552), WO-EMC.




                                                                      Rvsd Plan - 00005543
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 452 of 475




 HOUSE BILL 1298 SPECIES IMPACT ASSESSMENT
Consultation Species and Seasonal Activity Areas
(CDOW will consult on oil and gas development occurring in any individual or combination
of the species or seasonal activity areas listed below.)
                                      HIGH PRIORITY HABITAT
             ECONOMIC SPECIES AND SPECIES AT RISK (RARE, THREATENED AND ENDANGERED)
                           WEIGHTING FACTORS, REVISED January 29‘h, 2008

                                                                                   IMPACT   STATUS           FINAL
SPECIES         ACTIVITY AREA AND DEFINITION                                       FACTOR   FACTOR   TOTAL   RANKING

Bald Eagle      Active Nest Site                                                   5        4        9       Very High
                A specific location in which a pair of bald eagles have at least
                attempted to nest within the last five years. Any nest location
                that can be directly tied to courtship, breeding, or brooding
                behavior is considered active. A buffer zone extends .5 miles
                around a known active nest.

                Roost Site                                                         5        4        9       Very High
                Groups of or individual trees that provide diurnal and/or
                nocturnal perches for less than 15 wintering bald eagles;
                includes a buffer zone extending 1/4 mile around these sites.
                These trees are usually the tallest available trees in the
                wintering area and are primarily located in riparian habitats.

                Communal Roost Site                                                5        4        9       Very High
                Groups of or individual trees used by more than 15 eagles for
                diurnal and/or nocturnal perches.




Bighorn         Production Area                                                    5        4        9       Very High
Sheep           That part of the overall range of bighorn sheep occupied by
                pregnant females during a specific period of spring. This
                period is May 1 to June 30 for Rocky Mountain bighorn sheep
                and February 28 to May 1 for desert bighorn sheep.


                Severe Winter Range                                                5        4        9       Very High
                That part of the overall range where 90% of the individuals are
                located when the annual snow-pack is at its maximum and/or
                temperatures are at a minimum in the two worst winters out of
                ten.

                Winter Concentration Area                                          5        4        9       Very High
                That part of the winter range where densities are at least
                200% greater than the surrounding winter range density during
                the same period used to define winter range in the average
                five winters out of ten.

                Migration Corridor                                                 5        4        9       Very High
                A specific mappable site through which large numbers of
                animals migrate, and the loss of which would change
                migration routes.




Black-footed    Overall Range/Release SIte                                         5        5        10      Very High
Ferret          Those areas defined by USFWS where Black-footed Ferrets

                                                                                        Rvsd Plan - 00005544
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 453 of 475




               have been released into the wild.




Columbian      Lek Site                                                          5     4       9      Very High
Sharp-tailed   Usually an open area or area of low vegetative cover, usually
Grouse         on a ridge or knoll where sharp-tailed grouse traditionally
               display and breed. Current activity may be active, inactive or
               unknown. Buffered at 0.4 mile

               Production Area                                                   5     4       9      Very High
               An area that includes 90% of sharp-tailed grouse nesting and
               brood rearing habitat. This is mapped as a buffer zone of 1.25
               miles around dancing grounds.




Elk            Production Area                                                   5     4       9      Very High
               That part of the overall range of elk occupied by the females
               from May 15 to June 15 for calving. (Only known areas are
               mapped and this does not include all production areas for the
               DAU).

               Migration Corridor                                                5     4       9      Very High
               A specific map-able site through which large numbers of
               animals migrate and loss of which would change migration
               routes.




Greater Sage   Lek Site                                                          5     4       9      Very High
Grouse         Areas known to be used by sage-grouse within the last 10
               years from the date of mapping. “Use” is defined as 1)radio
               telemetry locations, 2) confirmed observations of birds or sign
               by reliable sources 3) documented use reported in
               unpublished reports or publications. (mapped by field
               biologists). Buffered at 0.6 miles.

               Production Areas                                                  5     4       9      Very High
               An area that would include the majority of important sage
               grouse nesting habitat. Mapped as a buffer zone of 4 miles
               around an active lek.




Greenback      Restricted Cutthroat Waters (Chapter 0, Appx. C)                  5     4       9      Very High
Cutthroat,     Stream reaches that contain populations of native cutthroat
Rio Grande,    trout, buffered to 300ft
Colorado
River
Cutthroat
Trout




Gunnison       Lek Sites                                                         5     4       9      Very High
Sage Grouse    Areas known to be used by sage-grouse within the last 10


                                                                                     Rvsd Plan - 00005545
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 454 of 475




                 years from the date of mapping. “Use” is defined as 1)radio
                 telemetry locations, 2) confirmed observations of birds or sign
                 by reliable sources 3) documented use reported in
                 unpublished reports or publications. (mapped by field
                 biologists). Buffered to 0.6 miles

                 Production Areas                                                     5     4       9      Very High
                 An area that would include the majority of important sage
                 grouse nesting habitat. Mapped as a buffer zone of four miles
                 around an active lek.




Least Tern       Production Area                                                      5     5        10    Very High
                 An area that includes nesting habitat and contains one or
                 more active or previously active and aggressively defended
                 territories.


                 Foraging Area                                                        4     5       9      Very High
                 an area which generally is associated with a nesting area and
                 which provides a source of food for Least Terns. Appropriate
                 habitat includes shallow water areas in lakes, ponds, and river
                 backwater areas with abundant small fish populations. These
                 areas generally are within 1/2 mile of the nesting area. On
                 large irrigation reservoirs, these areas fluctuate with changing
                 water levels.



Lesser Prairie   Lek Site                                                             5     4       9      Very High
Chicken          An area where lesser prairie chickens are known to have
                 displayed and bred in the past 10 years. Current activity may
                 be active, inactive or unknown. Lek sites typically, although
                 not always, are located on open ridges, grass knolls, or slight
                 rises in topography where vegetation is sparse.
                 Buffered at 0.6 miles

                 Production Area                                                      5     4       9      Very High
                 An area which includes all nesting and brood rearing habitat of
                 the lesser prairie chicken. Currently defined as a 2.2 mile
                 buffer zone around each active lek.




Lynx
                 Active Den Site                                                      5     5        10    Very High
                 A location where Lynx have denned in the last year.
                 Buffered at 2.0 miles.




Mexican          Critical Habitat                                                     4     5       9      Very High
Spotted Owl      Those areas of the species’ overall range that are considered
                 by the US Fish and Wildlife Service to be critical to the survival
                 of the species.

                                                                                      5     5        10    Very High
                 Protected Activity Areas
                 To be obtained from USFWS




Mule Deer
                 Migration Corridor                                                   5     4       9      Very High


                                                                                          Rvsd Plan - 00005546
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 455 of 475




                A specific mapable site through which large numbers of
                animals migrate and loss of which would change migration
                routes.

                Critical Winter Range                                                5     4       9      Very High
                Definition pending.




Piping Plover   Production Area                                                      5     5        10    Very High
                An area that includes nesting habitat and contains one or
                more active or previously active and aggressively defended
                territories.

                Foraging Area                                                        4     5       9      Very High
                An area generally associated with a nesting area and which
                provides a source of food for Piping Plovers. Appropriate
                habitat includes shallow water areas along exposed beach
                substrates associated with lakes, ponds, and beaches, and
                dry, barren sandbars along backwater river areas which
                provide abundant macro-invertebrate and insect populations.
                These areas fluctuate with changing water levels on large
                irrigation reservoirs.




Preble’s
                Occupied Range                                                       5     5        10    Very High
Meadow
                Those areas where Prebles are known to occur. These data
Jumping         are derived by combining known occurrences of Prebles with
Mouse           mapped riparian vegetation and applying a 1 mile linear buffer
                both upstream and downstream including both the main
                channel and side channels. Additionally, a 300ft lateral buffer
                is applied which, in general, represents foraging and
                hibernaculum habitat. This buffer serves as a general
                guideline. Site specific topographic and vegetative features
                may increase or decrease the area considered locally as
                foraging and hibernaculum habitat. Where riparian vegetation
                maps don ’ t exist, the stream centerline is buffered laterally by
                100 meters, preferably using hydrology data contained on the
                USGS 1:24,0oO topographic quadrangles.



                Migration Corridor                                                   5     4       9      Very High
Pronghorn
                A specific mapable site through which large numbers of ani­
Antelope
                mals migrate and loss of which would change migration
                routes.




SW Willow       Field Sightings (Buffered)
Flycatcher      Areas which, through ground surveys, have indicated                  5     5        10    Very High
                occurrence of SW willow flycatchers through visual, aural, or
                visual and aural survey techniques. Survey protocols are
                those developed and required by the U.S. Fish and Wildlife
                Service. A database is available that provides additional
                survey information on each sighting. 300ft buffer?


Western         Field Sighting (Buffered)                                            5     4       9      Very High
Boreal Toad     All locations where a documented observation of any life stage
                of the boreal toad (toads, tadpoles, and/or eggs) has taken
                place. These locations are represented as point data and are
                buffered by 600ft for protection purposes.



                                                                                         Rvsd Plan - 00005547
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 456 of 475




Aquatic
            Recovery/conservation waters                                      5     4       9      Very High
Habitats
            Lakes and river reaches containing non-salmonid and native
            salmonid species currently under management for population
            conservation and recovery, buffered to 100m. Includes native
            cutthroats, endangered big-river species, eastern plains native
            fish, three-species (flannelmouth sucker, bluehead sucker,
            roundtail chub) and mountain sucker. Category 100, 101,201,
            202.




                                                                                  Rvsd Plan - 00005548
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 457 of 475




Non-Consultation Wildlife Species and Seasonal Activity Areas
(These species and seasonal activity areas do not trigger consultation on their own.
However, CDOW reserves the right to make recommendations on these species and
seasonal activity areas when consultation is triggered by another species or seasonal
activity area or when consultation occurs pursuant to a requested waiver of any Standard
Operating Practice.)
                                      HIGH PRIORITY HABITAT
             ECONOMIC SPECIES AND SPECIES AT RISK (RARE, THREATENED AND ENDANGERED)
                           WEIGHTING FACTORS, REVISED January 29‘h, 2008

                                                                                   IMPACT   STATUS           FINAL
SPECIES         ACTIVITY AREA AND DEFINITION                                       FACTOR   FACTOR   TOTAL   RANKING

Bald Eagle      Inactive Nest Site                                                 4        4        8       High
                A former active nest location in which neither courtship,
                breeding, or brooding activity has been observed at any time
                during the last 5 years. A buffer zone of .5 mile extends
                around an inactive nest.

                Nest of Unknown Status                                             3        4        7       High
                A nest that is inactive for at least 10 years and has not been
                checked.

                Winter Concentration Area                                          4        4        8       High
                Areas (tree,islands, etc) within an existing winter range where
                eagles concentrate between November 15 and March 15.
                These areas may be associated with roost sites.




Bighorn         Overall Distribution                                               2        4        6       Moderate
Sheep           The area which encompasses all known seasonal activity
                areas within the observed range of a bighorn sheep
                population.

                Summer Concentration Area                                          4        4        8       High
                Those areas where bighorn sheep concentrate from mid-June
                through mid-August. High quality forage, security, and lack of
                disturbance may be characteristic of these areas to meet the
                high energy demands of lactation, lamb rearing, horn growth,
                and general preparation for the rigors of fall and winter.




Black Bear      Summer Concentration Area                                          2        4        6       Moderate
                That portion of the overall range of the species where activity
                is greater than the surrounding overall range during that period
                from June 15 to August 15.

                Fall Concentration Area                                            4        4        8       High
                That portion of the overall range occupied from August 15 until
                September 30 for the purpose of ingesting large quantities of
                mast and berries to establish fat reserves for the winter
                hibernation period.


                Movement Corridor                                                  3        4        7       High
                A subjective indication of the general direction of black bear
                movement between seasonal use areas.




                                                                                        Rvsd Plan - 00005549
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 458 of 475




Black-tailed   Active Colonies
                                                                                  4     4       8      High
Prairie Dog    An area where a colony has become established and has
               been documented to be active within the past 10 years.

               Inactive Colonies
                                                                                  2     4       6      Moderate
               An area where a colony has become established and has
               been documented to be inactive within the past 10 years.




Brazilian      Roosting Area                                                      5     2       7      High
Free-Tailed    A place occupied by Bats, including a 1/4 mile buffer, that
Bat,           provides shelter from the physical elements, and protection
Townsend’s     from predation. Roost sites for Brazilian Free-Tailed Bats
Big-eared      typically are established in caves or abandoned mines, rock
               crevices, and buildings. There are two different types of roosts
Bat, Fringed   used by Brazilian Free-Tailed Bats, depending on the season
Myotis         of use, and activity that occurs at the roost. These different
               types of roosts are listed below:

                         Day Roost: A roost occupied by males or non-
                         reproductive females, during periods of torpor or
                         inactivity, during the warm seasons.


                         Maternity Roost: A roost occupied by pregnant or
                         nursing bats, and young of the year, that can gather
                         in large numbers during the late spring and summer
                         seasons.




Burrowing      Potential Habitat
                                                                                  5     3       8      High
Owl            Known PD colonies > 5acres, restrictions between 3/1 and
               8/15



Columbian      Winter Range                                                       3     4       7      High
Sharp-tailed   Observed winter range of sharp-tailed grouse usually in a tall
Grouse         shrub vegetative type (greater than or equal to 2 meters);
               within 3 miles of lek sites. Shrub height should allow feeding
               on buds by birds above normal snow depths.



Elk            Winter Range                                                       2     4       6      Moderate
               That part of the overall range of a species where 90 percent of
               the individuals are located during the average five winters out
               of ten from the first heavy snowfall to spring green-up, or
               during a site specific period of winter as defined for each DAU.




               Severe Winter Range                                                4     4       8      High
               That part of the range of a species where 90 percent of the
               individuals are located when the annual snow-pack is at its
               maximum and/or temperatures are at a minimum in the two
               worst winters out of ten. The winter of 1983-84 is a good
               example of a severe winter

               Winter Concentration Area                                          4     4       8      High
               That part of the winter range of a species where densities are
               at least 200% greater than the surrounding winter range
               density during the same period used to define winter range in


                                                                                      Rvsd Plan - 00005550
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 459 of 475




               the average five winters out of ten.




Greater Sage   Winter Range                                                        2     4        6      Moderate
Grouse         Observed Winter Range

               Severe Winter Range                                                 3     4        7      High
               That part of the winter range where 90 percent of the
               individuals are located when annual snowpack is at its’
               maximum and/or temperatures are at a minimum in the two
               worst winters out of ten. The winters of 1983-84, or 96-97 are
               good examples.

               Core Range                                                          4     4        8      High
               That range surrounding populations considered by the
               Terrestrial Section to be most important to population stability.
                Production areas with the highest population numbers were
               linked with large patch-size sagebrush habitat, and extended
               to include 80% of nesting habitat for at least 50% of a
               population.




Greater        Lek Site                                                            8     4        8      High
Prairie        An area where greater prairie chickens are known to have
Chicken        displayed and bred in the past 10 years. Current activity may
               be active, inactive or unknown. Lek sites typically, although
               not always, are located on open ridges, grass knolls, or slight
               rises in topography where vegetation is sparse.
               Buffered at 0.6 miles

               Production Area                                                     8     4        8      High
               An area which includes all nesting and brood rearing habitat of
               the greater prairie chicken. Currently defined as a 2.2 mile
               buffer zone around each active lek.

               Winter Range                                                        3     4        7      Moderate
               Areas where greater prairie chickens concentrate during the
               winter to feed on small grain crops



Greater        Nesting Area                                                        4     3        7      High
Sandhill       Site locations where greater sandhill cranes were found to be
Crane          nesting during field surveys.




Gunnison’s     Active Colonies                                                                           High
                                                                                   4     4        8
Prairie Dog    An area where a colony has become established and has
               been documented to be active within the past 10 years.



               Inactive Colonies
                                                                                   2     4        6      Moderate
               An area where a colony has become established and has
               been documented to be inactive within the past 10 years.

               Management Focus Area                                                                     Moderate
                                                                                   2     4        6
               Draft areas developed for the in-progress conservation plan.




                                                                                       Rvsd Plan - 00005551
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 460 of 475




Gunnison         Winter Range                                                      2     4       6      Moderate
Sage Grouse      Observed winter range.


                                                                                   3     4       7       High
                 Severe Winter Range
                 That part of the winter range where 90 percent of the
                 individuals are located when annual snowpack is at its’
                 maximum and/or temperatures are at a minimum in the two
                 worst winters out of ten. The winters of 1983-84, or 96-97 are
                 good examples.



Kit Fox          Overall Range                                                     2     4       6      Moderate
                 Areas known to be utilized by kit fox in Colorado.




Lesser Prairie   Winter Range                                                      3     4       7       High
Chicken          Areas where lesser prairie chickens concentrate during the
                 winter to feed on small grain crops



Lynx             Potential Range                                                   3     5       8       High
                 Areas having the highest potential of lynx occurrences in the
                 state. These areas usually contain positive, probable, or
                 possible reports.


                 Occupied Range                                                    3     5       8       High
                 That part of the potential Range where populations of Lynx are
                 known to exist. Distributions of Lynx are determined through
                 tracking of radio-collar signals.




Massasauga       Overall Range
                                                                                   3     3       6      Moderate
                 Overall Range for Massasauga (Sistrurus catenatus) in
                 Colorado. Overall Range is defined as an area that
                 encompasses all known seasonal activity areas within the
                 range of a population of Massasauga. Massasauga are
                 typically associated with short-grass prairie habitats at
                 elevations below 1,675m (5,500ft.) in southeastern and east­
                 central Colorado.




Moose            Summer Range                                                      2     4       6      Low
                 That part of the overall range where 90% of the individuals are
                 located during the summer months. This summer time frame
                 will be delineated with specific start/end dates for each moose
                 population within the state (ex: May 1 to Sept 15). Summer
                 range is not necessarily exclusive of winter range.
                 Concentration Area
                                                                                   2     4       6      Moderate
                 That part of the range of a species where densities are 200%
                 higher than the surrounding area during a specific season.

                 Priority Habitat                                                  3     4       7       High
                 Habitat types associated with the food and cover requirements
                 of moose. Significant loss of these habitats would change
                 moose distribution and/or would adversely affect the
                 population. These habitat types include but are not limited to
                 willow dominated riparian areas, sub-climax coniferous forest

                                                                                       Rvsd Plan - 00005552
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 461 of 475




                mixed with shrub lands, and dense climax coniferous forests.


                Overall Range                                                        2     4        6      Moderate
Mountain        An area which encompasses all known seasonal activity areas
Goat            within the observed range of a population of mountain goat.



                Concentration Area                                                   3     4        7      High
                That part of the overall range where densities are at least
                200% greater than the surrounding area.

                Production Area                                                      4     4        8      High
                That part of the home range of a species occupied by the
                females during a specific period of spring. This period is May
                15 to June 30 for mountain goats



Mountain        Suitable Habitat                                                     4     3        7      High
Plover          Shortgrass w/ bare ground? See Vicki/Nicole



Mule Deer       Winter Range                                                         2     4        6      Moderate
                That part of the overall range where 90 percent of the
                individuals are located during the average five winters out of
                ten from the first heavy snowfall to spring green-up, or during a
                site specific period of winter as defined for each DAU.

                Severe Winter Range                                                  4     4        8      High
                That part of the overall range where 90% of the individuals are
                located when the annual snowpack is at its maximum and/or
                temperatures are at a minimum in the two worst winters out of
                ten.

                Winter Concentration Area                                            5     4        8      High
                That part of the winter range where densities are at least
                200% greater than the surrounding winter range density during
                the same period used to define winter range in the average
                five winters out of ten.



Northern        Field Sighting (Buffered)                                            5     3        8      High
Leopard Frog    All locations where a documented observation of any life stage
                of the Northern Leopard Frog has taken place. These
                locations are represented as point data and are buffered by
                200 meters for protection purposes.




Peregrine       Active Nest Site                                                     5     3        8      High
Falcon          A site where peregrine falcons nested or attempted to nest
                within the previous 5 years. The nest site itself is identified by
                a point location on the map. A ^ mile buffer zone is drawn
                around this point and is intended to be a zone protected from
                disturbance or habitat alteration.

                Nesting Area                                                         5     3        8      High
                An area which includes good nesting sites and contains one or
                more active or inactive nest locations. The boundaries are
                drawn based on professional judgment to include most known
                nesting habitat in the vicinity. Usually these areas are mapped
                as polygons around cliffs and include a ^ mile buffer
                surrounding the cliffs.


Plains Sharp-   Lek Site                                                             8     4        8      High

                                                                                         Rvsd Plan - 00005553
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 462 of 475




tailed Grouse   Usually an open area or area of low vegetative cover, usually
                on a ridge or knoll where sharp-tailed grouse traditionally
                display and breed. Current activity may be active, inactive or
                unknown. Buffered at 0.4 miles.

                Production Area                                                     8     4       8      High
                An area that includes 90% of sharp-tailed grouse nesting and
                brood rearing habitat. This is mapped as a buffer zone of 1.25
                miles around dancing grounds.

                Winter Range                                                        3     4       7      High
                Observed winter range of sharp-tailed grouse usually in a tall
                shrub vegetative type (greater than or equal to 2 meters);
                within 3.0 miles of lek sites. Shrub height should allow feeding
                on buds by birds above normal snow depths.



                Winter Range                                                        2     4       6      Moderate
Pronghorn
                That part of the overall range where 90 percent of the
Antelope        individuals are located during the average five winters out of
                ten from the first heavy snowfall to spring green-up, or during a
                site specific period of winter as defined for each DAU.

                Severe Winter Range                                                 4     4       8      High
                That part of the overall range where 90% of the individuals are
                located when the annual snowpack is at its maximum and/or
                temperatures are at a minimum in the two worst winters out of
                ten.

                Winter Concentration Area                                           4     4       8      High
                That part of the winter range where densities are at least
                200% greater than the surrounding winter range density during
                the same period used to define winter range in the average
                five winters out of ten.



Raptors         Active Nest Sites                                                   5     3       8      High
                A site where raptors nested or attempted to nest within the
                previous 5 years. The nest site itself is identified by a point
                location on the map. A ^ mile buffer zone is drawn around
                this point and is intended to be a zone protected from
                disturbance or habitat alteration.




River Otter     Overall Distribution                                                4     4       8      High
                An area which encompasses all mapped seasonal activity
                areas within the observed range of a population of river otters.

                Concentration Area                                                  8     4       8      High
                Areas where otters are known to concentrate. Otter sightings
                and signs of otter activity are higher in these areas than in
                overall range.



Swift Fox       Overall Distribution
                                                                                    3     3       6      Moderate
                The area which encompasses the probable range of swift fox
                in Colorado. These areas are currently modeled utilizing the
                following criteria: areas on the East Slope of Colorado less
                than 7000 feet in elevation; associated with shortgrass,
                midgrass prairie, or sandsage/bluestem prairies occuring on
                less sandy/friable soils buffered two miles into adjacent land
                use types; and with fragmented habitats less than 4 square
                miles eliminated.




                                                                                        Rvsd Plan - 00005554
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 463 of 475




SW Willow      Potential Significant Habitat:                                     2     5        7      High
Flycatcher     Areas having the highest potential of southwestern willow
               flycatcher occurrences in the state. These habitats are
               currently modeled as follows: those areas on the west slope of
               Colorado, south of the Colorado River, and in the San Luis
               Valley that are less than or equal to 8500 feet in elevation and
               are within 300ft of a stream. These habitats include areas that
               have been surveyed for flycatchers as well as areas that have
               not been surveyed.

               NOTE: MANAGEMENT RECOMMENDATIONS:
               The SW willow flycatcher is a Federal Endangered Species
               and is under protection by the US Fish and Wildlife Service
               (USFWS) through Section 7 of the Endangered Species Act.
               Consultation with the USFWS needs to occur prior to federal
               project development. Avoidance of a site reported as
               containing flycatchers is recommended and may be required
               during the breeding season (April 30-August 16).




White-tailed   Active Colonies
                                                                                  4     4       8       High
Prairie Dog    An area where a colony has become established and has
               been documented to be active within the past 10 years.

               Inactive Colonies
                                                                                  2     4       6       Moderate
               An area where a colony has become established and has
               been documented to be inactive within the past 10 years.

               Management Focus Area
                                                                                  2     4       6       Moderate
               Draft areas developed for the in-progress conservation plan.



White-tailed   Overall Range
                                                                                  2     4       6       Moderate
Ptarmigan      Overall Range is defined as the probable range of White-tailed
               Ptarmigan in Colorado as determined from the following
               criteria: Areas greater than 10,800 feet in elevation; Colorado
               GAP vegetation types Mixed Tundra, Meadow Tundra,
               Prostrate Shrub Tundra, Bare Ground Tundra, Exposed Rock,
               Shrub Dominated Wetland/Riparian, and Graminoid/Forb
               Dominated Wetland.

               Winter Range
                                                                                  3     4        7      High
               Winter Range is defined as an area utilized in winter most
               frequently where drainage basins at or above treeline and
               stream courses below treeline from 8,500 to 12,500ft elevation
                where food (willow) and roosting sites (soft snow) are readily
               available. Winter range is typically defined from late October
               thru mid-April.



Wild Turkey    Production Area                                                    4     4       8       High
               Those area(s) that are used by turkeys for nesting during the
               period from March 15 to August 15. Human activity should be
               restricted in these areas during this period.

               Roosting Area                                                      4     4       8
                                                                                                        High
               Ponderosa pine and cottonwood trees of at least 10" dbh used
               by turkeys for diurnal and nocturnal perches.

               Winter Range                                                       3     4        7      High
               That part of the overall range where 90% of the individuals are
               located from November 1 to April 1 during the average five
               winters out of ten.

               Winter Concentration Area                                          4     4       8       High

                                                                                      Rvsd Plan - 00005555
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 464 of 475




               That part of the winter range where densities are at least
               200% greater than the surrounding winter range density.


Aquatic                                                                       5            2           7   High
               Recreation waters
Habitats
               Lakes and river reaches managed for cold-water and warm
               water sport fishing. Category 301 - 507

                                                                              4            2           6   Moderate
               Non-managed waters
               Lakes and river reaches with mixed species or not managed.
               Category 600 - 700



Wetlands       Wetland Habitat                                                4            4           8   High
               Delineation to be determined




                                                        STATUS FACTORS
                              A weighting assigned to each species based upon the following criteria

NUMERIC RANK                                                                Status
           5        Federal Threatened or Federal Endangered Species

           4        State Endangered, State Threatened, State Species of Economic Importance

           3        Federal Candidate/Petitioned or State Special Concern

           2        Biological/Management Indicator Species or Sensitive Wildlife Species

           1        All Other Species




IMPACT FACTORS
Impact Factor is a subjective ranking used by CDOW biologists to assess the relative sensitivity of species or
seasonal activity areas to impact/disturbance by oil and gas activities. The ranking scale runs from 1 (low
potential for impact) to 5 (high potential for impact). Sensitivity to impact includes a combination of species
life history and behavior, including tolerance of disturbance; the relative abundance of seasonal habitat areas,
including whether the habitats are fixed points or not; differential susceptibility to disturbance between
seasons of the year; and other biological factors.




                                                                                      Rvsd Plan - 00005556
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 465 of 475




                                                    TOTAL FACTOR RANKING VALUES


                                          NUMERIC RANK                        POTENTIAL FOR
                                                                                 IMPACT
                                                      1-4                                Low

                                                    5-6                               Moderate

                                                     7-8                                 High

                                                     9-10                             Very High




DIGITAL DATA DISCLAIMER:
This wildlife distribution map is a product and property of the Colorado Division of Wildlife, a division of the Colorado Department of Natural
Resources. Care should be taken in interpreting these data. Written documents may accompany this map and should be referenced. The
information portrayed on these maps should not replace field studies necessary for more localized planning efforts. The data are typically gathered
at a scale of 1:24000 or 1:50000; discrepancies may become apparent at larger scales. The areas portrayed here are graphic representations of
phenomena that are difficult to reduce to two dimensions. Animal distributions are fluid; animal populations and their habitats are dynamic.

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The map values are based on the following species, impact and status factors. Each Activity Area is defined as stated below.

                                                                                                      Rvsd Plan - 00005557
                         Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 466 of 475



                                        Current          Current                                                                                             Change Current to
                                        Management       Management        Current Total       DEIS Alternative B DEIS Alternative B Alt B Total             Alt B
Off Limits to Leasing
 Existing Wilderness                                             392,100                                                    392,100
 Wilderness to Analyze                                                 0                                                     58,700
 Total Off Limits                                                                    392,100                                                       450,800              58,700
NSO Acres
 Roadless (not off limits to leasing)                            518,400                                                    491,900
 ^ther NSO
   RNA (not roadless or wilderness)              6,300                                                     6,100
   SIA (not roadless)                           25,500                                                    14,700
   Backcountry (not roadless)                   50,200                                                         0
   Bighorn Sheep Range (not Roadless)           60,400                                                         0
   Ski Resorts (not roadless)                    1,600                                                     1,600
   Total Other NSO                                               144,000                                                      22,400
 T^tal NSO                                                                           662,400                                                       514,300            -148,100
Total No Leasing or NSO                                                            1,054,500                                                       965,100             -89,400




                                                                                                                                       Rvsd Plan - 00005558
Case 1:21-cv-02994-REB Document 24-17 Filed 06/21/22 USDC Colorado Page 467 of 475




  British Ecological Society




 Stemwood Biomass and Production During Spruce-Fir Stand Development
 Author(s): G. H. Aplet, F. W. Smith and R. D. Laven
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          Journal of Ecology (1989), 77, 70-77

                STEMWOOD BIOMASS AND PRODUCTION DURING
                     SPRUCE-FIR STAND DEVELOPMENT
                            G. H. APLET, F. W. SMITH                       and     R. D. LAVEN

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                                       Colorado 80523, U.S.A.



                                                         SUMMARY
                    (1) A 600-year chronosequence of Engelmann spruce-subalpine fir forest was used to
                  examine the effects of changes in forest structure on stemwood biomass and production in
                  a mixed-species community.
                    (2) Fir size-class and age-class structure stabilized early in stand development, but
                  spruce size and age structure changed throughout stand development.
                    (3) Community stemwood biomass remained nearly constant through time as an
                  increase in spruce biomass compensated for mortality in the fir component.
                    (4) Fir production decreased from initially high levels with change in size-class structure,
                  but spruce production remained nearly constant.
                    (5) Stemwood production was related to leaf area in both species, but patterns of leaf­
                  area allocation differed between species.
                    (6) Constant fir leaf area and production are achieved after stand structure stabilizes,
                  but constant spruce leaf area and production occurred despite changes in stand structure.


                                                    INTRODUCTION
          Although biomass accumulation and net primary production are important components
          of vegetation change, a consensus on general patterns has not developed. Peet (1981a)
          discussed and unified three disparate descriptions of biomass accretion and net primary
          production in a model describing stand development in terms of time lags in regeneration
          and mortality. Where regeneration and mortality are continuous, biomass will rise to a
          steady state with time. Where mortality is episodic and occurs after some period of stand
          development, biomass will overshoot the steady state and then fall to an equilibrium level
          following overstorey mortality. If regeneration is excluded due to overstorey density, and
          mortality is abrupt, live biomass will fall below the expected equilibrium, and further
          stand development results in a series of damped oscillations around a steady state.
          Changes in net primary production are similarly related to regeneration and mortality in
          this model.
             This unified model incorporates population processes into a representation of
          functional as well as structural community change. Previously, changes in biomass and
          production have been attributed to differences in species composition (Horn 1971,1974),
          size structure (Margalef 1963; Odum 1969) or nutrient availability (Vitousek & Reiners
          1975). Peet’s model describes biomass and production change as a function of
          recruitment, growth and mortality. Support for this model is offered in the form of age
          sequences of biomass and net primary production levels from monospecific and mixed-
          species stands. However, the effects of individual species population dynamics on biomass
          and production in mixed-species communities are not included in Peet’s explanation. A
          population of a shade-intolerant tree species, for example, may display periods when
          there is no recruitment and when mortality is expressed; this population then behaves
                                                                 70




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                                G. H. Aplet, F. W. Smith               and    R. D. Laven               71
                 Table 1. Site description and ages for nine spruce-fir stands in north-central
                                                  Colorado.
                                           Elevation                         Spruce age     Fir age
                             Stand Age        (m)    Aspect        Slope°      range         range
                               1   125       3250     N               5        50-125        75-125
                               2   175       3150     E              11        75-175       100-175
                               3   275       3250     NW             23       175-275       125-275
                               4   275       3250     N              15       175-275       100-275
                               5   375       2900     E              25        75-375        75-325
                               6   375       3150     NE             13       200-375       100-350
                               7   575       3200     NE             13       325-575       100-450
                               8   575       3150     NE             22        50-575        50-450
                               9   700       3150     NW             15       200-700       125-400




          according to the third model of biomass dynamics. Another species which recruits
          continuously and dies over a broader range of ages may follow the first or second model.
          The predicted dynamics of a community composed of a combination of these two species
          is much less clear.
             The objective of this paper is to address the effect of population dynamics on bio­
          mass and production in a two-species community. We analyse changes in stemwood
          biomass and production as indicators of total biomass and net primary production along
          a nine-stand chrono sequence of an Engelmann spruce {Picea engelmannii (Parry)
          Engelm.)-subalpine fir (Abies lasiocarpa (Hook.) Nutt.) forest representing 600 years of
          stand development.

                                                       METHODS
                                              Community description
             This study was conducted in the Engelmann spruce-subalpine fir forests of the Cache
          La Poudre and Laramie River watersheds in north-central Colorado (40°30'N,
          105°50'W). Here the spruce-fir forest occurs on all but southerly exposures above 2800 m
          between the lodgepole pine (Pinus contorta var. latifolia Dougl.) zone and the treeline
          (Peet 1981b). Spruce and fir share dominance in the overstorey. Fir is considered the
          better species at establishing in the shade and organic substrate of the forest floor (Knapp
          & Smith 1982), but spruce has greater longevity. Engelmann spruce commonly lives
          beyond 500 years, whereas subalpine fir ages rarely exceed 300 years (Oosting & Reed
          1952; Fowells 1965; Day 1972; Veblen 1986a, b). Different interpretations of these life­
          history traits have led to characterizations of spruce-fir forests as both successional and
          climax communities (Peet 1981b, in press; Aplet, Laven & Smith 1988).
                                              Sampling and analysis
             Nine stands of differing age since initiation were selected to represent a chronosequence
          of stand development in Colorado spruce-fir forests (Table 1). Stand age was considered
          to be the age of the oldest trees in the oldest post-disturbance cohort in the stand. As
          stands approach or exceed the life expectancy of Engelmann spruce, stand age becomes
          more difficult to determine. However, even-aged remnants of the colonizing cohort are
          apparent in all but Stand 9. Stands were restricted generally to northern aspects, although
          aspect ranged from east to north-west. To minimize the effect of a third species, none of
          the chosen stands had more than 5% lodgepole pine stems.




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          72                              Spruce-fir production dynamics
             Three OT or 0-05-ha plots were established in eight of the nine selected stands. Stand 1
          was sampled using eight 0 01-ha plots. Species, diameter at breast height (dbh) and bark
          thickness were recorded for living trees > 5-cm dbh. A subsample of about 33% of the
          trees in each stand was cored for age determination, and age-class distributions were
          constructed according to the methods described in Aplet, Laven & Smith (1988).
          Additionally, a subsample of two trees of each species from each 5-cm dbh class was
          measured for height, and local height-diameter relationships were derived. Estimated
          height and dbh were then used to calculate stemwood volume using the equations of
          Myers & Edminster (1972). Stemwood volume was converted to stemwood biomass using
          densities of 368 and 433 kg m air dry wt for spruce and fir (Wenger 1984).
             In addition, each tree was cored at breast height for radial growth increment. Ten-year
          radial growth was subtracted from the radius of each tree and a new volume was
          calculated without adjusting for height growth. Ten-year stemwood volume increment
          was converted to annual stemwood biomass increment and used as the estimate of
          production. Net production was not adjusted for loss to mortality during the 10-year
          period.
             The breast-height cores were also marked in the field for sapwood length. The cross­
          sectional area of sapwood was calculated, and the amount of foliage area per tree (all­
          sided) was estimated using the regression equations of Kauffman & Troendle (1981).
          From these data, leaf area index (LAI), the amount of foliage area per unit of ground area
          occupied, was determined. Where two stands of the same age were sampled, data were
          averaged to produce single values for each stand age. Biomass, production and leaf area
          data were combined for Stands 3 and 4, Stands 5 and 6, and Stands 7 and 8.
             In utilizing a chronosequence, vegetation change is inferred by assuming that the only
          difference between study plots is time and that the constructed chronology represents the
          vegetation change that would occur on one plot over time. Inherent in this approach is the
          assumption that all variation that influences the kinds and rates of vegetation change will
          be relatively uniform from one plot to the next during the course of stand development
          (Laven 1982). In spite of restricting slope, aspect, parent material and climate in this
          study, other unknown plot-to-plot variation (e.g. initial density and species composition,
          site quality, stand history) may exist. Therefore, the results of our chronosequence should
          be interpreted with caution and limited to the specific study area.


                                                         RESULTS
          Size-class distributions at different stages of stand development differed markedly
          between species (Fig. 1). Spruce size-class distributions had a generally decreasing
          monotonic form early in stand development (Stands 1 and 2) but became unimodal after
          about 250 years (Stands 3, 4, 6, 7 and 9). In some stands (Stands 5 and 8), a bimodal
          distribution has recently developed. In contrast, fir size-class distributions maintained a
          decreasing monotonic form throughout stand development (Fig. 1).
             Age-class structures (Aplet, Laven & Smith 1988) explain much of the variability
          in size-class structure. In the youngest stands, spruce > 5-cm dbh range in age from 75
          to 175 years. Under intense competition at high densities, a decreasing monotonic
          size distribution will form even in closely even-aged populations (Harper 1977). With
          further stand development, the smallest trees die, and the size distribution becomes
          unimodal. In Stands 3, 4, 6, 7 and 9 there has been no significant recruitment of spruce
          into the > 5-cm dbh stratum for at least 200 years (Table 1) and, as a result, the unimodal




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                     G. H. Aplet, F. W. Smith and R. D. Laven                                                                                                                                                                                                                                         73




                                                                                                  F ig . 1. Size-class distributions of spruce (------) and fir (----- ) from nine stands in north-central Colorado. Sizes are grouped into 5-cm dbh classes. Trees < 5-cm
                                                                                                                                                                                                                                                                             dbh were not included.
            800




                                   (|_DM) saaJi jo jaqtunN




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          74                                 Spruce-fir production dynamics




               Fig. 2. Levels of spruce (—△—), fir (- -O- -) and total (combined) (—□—) live stemwood
               biomass (a), stemwood production (b) and leaf area index (all-sided) (c) in nine stands in north­
               central Colorado. Stands of similar age have been combined (see text). Error bars represent one
                                    standard deviation from the mean at each stand age.



          shape is retained. Only in Stands 5 and 8 have many spruce recently grown into the
          > 5-cm dbh class, resulting in a bimodal size-class distribution.
             Fir recruitment into the > 5-cm dbh class has been continuous in all stands. Abundant
          saplings <75 years old are too small to be included in the size distributions (except for
          Stand 8), but regular growth into larger classes ensures the persistence of the decreasing
          monotonic form.
             Total stemwood biomass was nearly constant over the entire range of stand ages (Fig.
          2a). Stand values varied between 12-7 and 17-5 kg m^^ and averaged 15-0 kg m^^, but the
          proportion of the total contributed by each species changed markedly over stand
          development. At 125 years, only 25% of the total stemwood biomass was spruce. By age
          175, spruce contributed 51 % of the total and averaged 64% of the total over the remaining
          500 years of stand development. In contrast, maximum fir stem wood biomass (ITO kg
          m“2) occurred in the youngest stand at age 125. Fir stemwood biomass decreased to 6-6 kg
          m “ by age 175, and averaged 5-() kg m “ in older stands.
             Stemwood production was highest early in stand development but decreased to
          a constant level by age 275 (Fig. 2b). At age 125, total annual stemwood increment was




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                               G. H. Aplet, F. W. Smith                and    R. D. Laven               75
          199 g m “ year      By age 175, production decreased to 131 g       year     and averaged
          only 88 g m “ year”’ in stands over 200 years old. Spruce production was relatively
          constant throughout stand development. Values ranged between 26 and 69 g m “ year” ’
          and averaged 44 g m “ year” ’ over the range of ages sampled. In contrast, maximum fir
          production (149 g m^^ year” ’) occurred at age 125 and decreased to a relatively constant
          level after 200 years of stand development. Fir production in six of the seven stands over
          age 200 ranged between 27 and 48 g m^^ year Only Stand 8 exceeded this range with a
          biomass increment of 83 g m “ year
             Changes in LAI relative to stand age were similar to changes in production (Fig. 2c).
          Total stand LAI was highest at age 125 with a LAI of 30-4 and decreased to 24-6 by age
           175. Stands over 200 years old maintained a relatively constant LAI, averaging 15T for
          the seven oldest stands. Spruce LAI was relatively constant over the range of ages
          sampled. The highest value (12T) occurred at age 175, the lowest in 575 year old Stand 8
          (4-5), and spruce LAI averaged 7-8 for the nine stands. In contrast, maximum fir LAI
          exceeded 23T at age 112 but was only 5-7 in Stand 3 at age 275. The average fir LAI of
          stands over 200 years old (7-6) was similar to that of spruce.
             Because 10-year growth and sapwood length were obtained from the same core, we
          examined sapwood rings to determine if radial increment and sapwood length were
          correlated. If sapwood length were highly correlated with radial increment, there would
          be a species-specific number of annual rings in the sapwood. The number of sapwood
          rings ranged from 15 to 56 for fir (x = 26T, S.E. = 10-3, n = 33) and from 12 to 135 for
          spruce (x = 63-5, S.E. = 29-6, n = 26). Thus, sapwood length does not translate directly
          into radial increment; a relationship between sapwood area and volume increment would
          not be a consequence of the method of measurement.

                                                      DISCUSSION
          Nearly constant values of total stemwood biomass (Fig. 2a) suggest that Engelmann
          spruce-subalpine fir forests maintain equilibrium biomass levels for several hundred
          years of stand development. Low mortality rates early in stand development (Aplet,
          Laven & Smith 1988) suggest that the equilibrium value is also the maximum value.
          Thus, total stemwood biomass appears to behave according to Peet’s first model; biomass
          rises asymptotically to a maximum level and is maintained through ensuing stand
          development.
             Total stem wood production, in contrast, reaches its maximum value early in stand
          development before decreasing to an asymptotic level (Fig. 2b). Whether or not this
          maximum occurs before age 125 years, or is significantly higher than that observed at 125
          years remains unresolved.
             Rather than being intrinsic to communities, these patterns result from the interactions
          of specific behaviours of two populations. Early in stand development, total biomass is
          dominated by fir but shifts with time to dominance by spruce (Fig. 2a). Stemwood
          production shifts from being strongly affected by fir production to a level equally affected
          by both species (Fig. 2b). These changes arise from differences in the timing of popula­
          tion processes during community development (Aplet, Laven & Smith 1988). Following
          disturbance which destroys a stand, both spruce and fir establish and occupy the denuded
          site. As development proceeds and density increases, spruce recruitment slows or halts,
          but fir recruitment continues. During this period, fir biomass and production reach their
          maximum levels. By the third century, however, the oldest, largest fir trees, which




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          76                                Spruce-fir production dynamics
          originally colonized the site, begin to die. The largest fir trees are lost from the stand, and
          the fir diameter distribution assumes a characteristic inverse-J shape. Fir biomass and
          production levels both decrease to equilibrium levels.
             Spruce population development proceeds differently. Reduced spruce regeneration and
          mortality in the smallest stems leads to a transformation of diameter-class structure from
          a decreasing monotonic form to a unimodal form by the third century (Fig. 1, Stands 3
          and 4). Mortality in the fir component may stimulate the establishment of spruce in the
          understorey, and continued establishment and growth eventually lead to a bimodal
          diameter-class structure (Fig. 1, Stands 5 and 8). Despite these changes in structure,
          spruce biomass and production remain relatively constant after 200 years.
             Species’ biomass and production early in stand development may be strongly
          influenced by initial conditions. The high levels of fir biomass and production in the
          youngest stand may reflect a high initial density of fir in this stand. Stands on very
          different sites or with a different initial species composition could perform differently.
             As would be expected in a community composed of such ecologically similar species,
          the two populations are not independent. Mortality in the fir component early in stand
          development allows the establishment of spruce in the understorey. Similarly, death of
          large spruce late in stand development may increase resource availability to fir, and
          increase production and biomass levels. Interspecific competition must also limit the rate
          of accumulation and amount of standing biomass of each species. Despite the population
          interactions, biomass and production levels of both species remain remarkably stable
          over much of stand development.
             The disparate population behaviours observed in this study appear to be best explained
          by changes in leaf area. Changes in fir, spruce and total production closely track changes
          in respective leaf areas. Total and fir LAIs rise early in stand development to values above
          the sustainable level (Fig. 2c). High leaf areas for young stands have been reported in
          many even-aged forests immediately preceding a period of increased mortality (Waring &
          Schlesinger 1985). This appears to occur in the fir component of the study area forests as
          well, despite its all-aged structure. Maximum fir biomass, productivity and LAI all occur
          before the period of mortality in the fir component. With the loss of the old, large firs from
          the diameter-class structure, some LAI and associated production are lost from the stand.
          The stable size-class structure exhibited throughout ensuing stand development fixes fir
          LAI and production at a reduced, equilibrium level.
             The relation between spruce size-class structure and LAI is much different. Like
          production, spruce LAI is relatively constant despite the relatively even-aged structure of
          some stands. Concurrent changes in diameter-class structure imply that LAI is
          continually being re-allocated to fewer, larger trees and then to smaller, younger trees as
          spruce reinitiation occurs. This constant level of leaf area appears to control spruce
          production as well.
             Fir and spruce stemwood production is directly related to leaf area in these stands.
          However, equilibrium leaf area occurs under different population structures in the two
          species. Equilibrium leaf area for fir is achieved and maintained in conjunction with a
          stable size-class structure. Equilibrium leaf area for spruce is achieved and maintained
          despite substantial changes in size-class structure.
             Variation in biomass and production dynamics may be due to the various behaviours of
          individual species in mixed-species communities. In the forests studied here, total biomass
          rises asymptotically despite different behaviours in the component species. Subalpine fir
          appears to follow Peet’s second model, while Engelmann spruce may behave according to




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                                     G. H. Aplet, F. W. Smith                and    R. D. Laven                         77
          the first model or as a long-period, oscillating species. A monospecific community of
          either species would behave quite differently from the current mixture. Similarly, another
          multispecies community, comprising species with alternative behaviours, may not
          develop as the community described here.

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